        USCA Case #25-5091         Document #2114200           Filed: 05/05/2025   Page 1 of 637
                       [ORAL ARGUMENT SCHEDULED MAY 16, 2025]
                                        Nos. 25-5091, 25-5132


                        IN THE UNITED STATES COURT OF APPEALS
                         FOR THE DISTRICT OF COLUMBIA CIRCUIT


                      NATIONAL TREASURY EMPLOYEES UNION, et al.,
                                                         Plaintiffs-Appellees,
                                                   v.
               RUSSELL VOUGHT, in his official capacity as Acting Director of the
                        Consumer Financial Protection Bureau, et al.,
                                                         Defendants-Appellants.

                         On Appeal from the United States District Court
                                 for the District of Columbia


                                   CORRECTED JOINT APPENDIX
                                          VOLUME I


          DEEPAK GUPTA                                  YAAKOV M. ROTH
          ROBERT FRIEDMAN                                 Acting Assistant Attorney General
          GABRIEL CHESS                                 ERIC D. MCARTHUR
            Gupta Wessler LLP                             Deputy Assistant Attorney General
            2001 K Street NW
            Suite 850 North                             MARK R. FREEMAN
            Washington, DC 20006                        MELISSA N. PATTERSON
            (202) 888-1741                              CATHERINE PADHI
                                                         Attorneys, Appellate Staff
          JENNIFER D. BENNETT                            Civil Division, Room 7712
            Gupta Wessler LLP                            U.S. Department of Justice
            505 Montgomery Street                        950 Pennsylvania Avenue NW
            San Francisco, CA 94111                      Washington, DC 20530
            (415) 573-0336                               (202) 514-5091
          Counsel for Plaintiffs                        Counsel for Defendants
                               (additional counsel listed on inside cover)


(Page 1 of Total)
        USCA Case #25-5091        Document #2114200   Filed: 05/05/2025   Page 2 of 637



         JULIE WILSON
           General Counsel
         PARAS N. SHAH
           Deputy General Counsel
         ALLISON C. GILES
          Assistant Counsel
          National Treasury Employees Union
          800 K Street NW, Suite 1000
          Washington, DC 20001
          (202) 572-5500

         WENDY LIU
         ADINA H. ROSENBAUM
          Public Citizen Litigation Group
          1600 20th Street NW
          Washington, DC 20009
          (202) 588-1000
         Counsel for Plaintiffs




(Page 2 of Total)
        USCA Case #25-5091                 Document #2114200                     Filed: 05/05/2025            Page 3 of 637



                                                TABLE OF CONTENTS

                                                           VOLUME I

         Docket Report ..................................................................................................... JA1

         Amended Complaint (Dkt. 7) ......................................................................... JA18

         Kaspar Decl. (Dkt. 14-1) .................................................................................. JA50

         Bross Decl. (Dkt. 14-3) ..................................................................................... JA56

         Meyer Decl. (Dkt. 14-4).................................................................................... JA60

         Speer Decl. (Dkt. 14-5) ..................................................................................... JA70

         Dubois Decl. (Dkt. 14-6) .................................................................................. JA77

         Second Meyer Decl. (Dkt. 18) ......................................................................... JA96

         Order (Dkt. 19) .................................................................................................. JA99

         Feb. 10 Email (Dkt. 23-4) ............................................................................... JA101

         Martinez Decl. Feb. 24 (Dkt. 31-1) .............................................................. JA102

         Alex Doe Decl. (Dkt. 38-2) ............................................................................ JA124

         Blake Doe Decl. (Dkt. 38-3) .......................................................................... JA127

         Charlie Doe Decl. (Dkt. 38-4) ....................................................................... JA129

         Drew Doe Decl. (Dkt. 38-5) .......................................................................... JA134

         Scott Decl. (Dkt. 38-6) ................................................................................... JA138

         Pfaff Decl. (Dkt. 38-7) .................................................................................... JA142

         Shearer Decl. (Dkt. 38-8) ............................................................................... JA155

         Third Meyer Decl. (Dkt. 38-9)....................................................................... JA167


(Page 3 of Total)
        USCA Case #25-5091                  Document #2114200                        Filed: 05/05/2025             Page 4 of 637



         Barnard Decl. (Dkt. 38-10) ............................................................................ JA183

         Salas Decl. (Dkt. 38-11) .............................................................................................. JA192

         Halperin Decl. (Dkt. 38-12) ........................................................................... JA197

         Frotman Decl. (Dkt. 38-13) ............................................................................ JA203

         West-Tillman Decl. (Dkt. 38-14) ................................................................... JA217

         Coll Decl. (Dkt. 38-15) .................................................................................... JA219

         Diotalevi Decl. (Dkt. 41-1) ............................................................................. JA223

         Martinez Decl. March 2 (Dkt. 47-1) ............................................................. JA240

         Second Pfaff Decl. (Dkt. 48-2) ....................................................................... JA243

         Emory Doe Decl. (Dkt. 48-3) ......................................................................... JA246

         Francis Doe Decl. (Dkt. 48-4) ........................................................................ JA248

         Greer Doe Decl. (Dkt. 48-5) ........................................................................... JA251

         CFPB Emails (Dkt. 56-1) ................................................................................ JA283

         Communications Index (Dkt. 57-1) ............................................................. JA399

         Plaintiffs’ Filed Communications (Dkt. 60-1) ............................................ JA401

         Plaintiffs’ Supplemental Communications (Dkt. 66-1)............................. JA510

         Plaintiffs’ Supplemental Index (Dkt. 67) .................................................... JA570

         Notice of Proposed Order (Dkt. 79)............................................................. JA630




(Page 4 of Total)
        USCA Case #25-5091                Document #2114200                     Filed: 05/05/2025           Page 5 of 637



                                                         VOLUME II

         Preliminary Injunction Opinion (Dkt. 87) .................................................. JA633

         Preliminary Injunction Order (Dkt. 88) ...................................................... JA745

         Notice of Appeal (Dkt. 89) ............................................................................ JA748

         Stay Order (Dkt. 102) ..................................................................................... JA750

         Paoletta Decl. (Dkt. 109) ................................................................................ JA755

         Order (Dkt. 113) .............................................................................................. JA892

         Notice of Appeal (Dkt. 115) .......................................................................... JA899

         March 10 Transcript ....................................................................................... JA900

         March 11 Transcript ..................................................................................... JA1175




(Page 5 of Total)
       USCA Case #25-5091          Document #2114200                  Filed: 05/05/2025        Page 6 of 637
                                                                                                  APPEAL,TYPE−D
                                             U.S. District Court
                                  District of Columbia (Washington, DC)
                            CIVIL DOCKET FOR CASE #: 1:25−cv−00381−ABJ

          NATIONAL TREASURY EMPLOYEES UNION v. VOUGHT                     Date Filed: 02/09/2025
          Assigned to: Judge Amy Berman Jackson                           Jury Demand: None
          Case in other court: USCA, 25−05091                             Nature of Suit: 899 Administrative
                               USCA, 25−05132                             Procedure Act/Review or Appeal of
          Cause: 28:2201 Declaratory Judgment                             Agency Decision
                                                                          Jurisdiction: U.S. Government Defendant

           Date Filed   #    Docket Text
           02/09/2025   1 COMPLAINT against RUSSELL VOUGHT ( Filing fee $ 405 receipt number
                          ADCDC−11467139) filed by NATIONAL TREASURY EMPLOYEES UNION.
                          (Attachments: # 1 Civil Cover Sheet, # 2 Summons, # 3 Summons, # 4
                          Summons)(Wilson, Julie) (Entered: 02/09/2025)
           02/10/2025   2 NOTICE of Appearance by Allison Conrey Giles on behalf of NATIONAL
                          TREASURY EMPLOYEES UNION (Giles, Allison) (Entered: 02/10/2025)
           02/10/2025   3 NOTICE of Appearance by Paras N. Shah on behalf of NATIONAL TREASURY
                          EMPLOYEES UNION (Shah, Paras) (Entered: 02/10/2025)
           02/10/2025   4 LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and Financial
                          Interests by NATIONAL TREASURY EMPLOYEES UNION (Wilson, Julie)
                          (Entered: 02/10/2025)
           02/10/2025        RESOLVED.....NOTICE of Provisional/Government Not Certified Status re 1
                             COMPLAINT against RUSSELL VOUGHT filed by NATIONAL TREASURY
                             EMPLOYEES UNION. (Wilson, Julie).

                             Your attorney renewal/government certification has not been received. As a result,
                             your membership with the U.S. District & Bankruptcy Courts for the District of
                             Columbia is not in good standing, and you are not permitted to file. Pursuant to Local
                             Civil Rule 83.9, you must immediately correct your membership status by following
                             the appropriate instructions on this page of our website:
                             https://www.dcd.uscourts.gov/attorney−renewal.

                             Please be advised that the presiding judge in this case has been notified that you are
                             currently not in good standing to file in this court. Renewal Due by 2/17/2025. (znmw)
                             Modified on 2/12/2025 (zhcn). (Entered: 02/10/2025)
           02/10/2025        RESOLVED.....NOTICE of Provisional/Government Not Certified Status re 2
                             NOTICE of Appearance by Allison Conrey Giles on behalf of NATIONAL
                             TREASURY EMPLOYEES UNION (Giles, Allison).

                             Your attorney renewal/government certification has not been received. As a result,
                             your membership with the U.S. District & Bankruptcy Courts for the District of
                             Columbia is not in good standing, and you are not permitted to file. Pursuant to Local
                             Civil Rule 83.9, you must immediately correct your membership status by following
                             the appropriate instructions on this page of our website:
                             https://www.dcd.uscourts.gov/attorney−renewal.

                             Please be advised that the presiding judge in this case has been notified that you are
                             currently not in good standing to file in this court. Renewal Due by 2/17/2025. (znmw)
                             Modified on 2/10/2025 (zhcn). (Entered: 02/10/2025)
           02/12/2025        Case Assigned to Judge Amy Berman Jackson. (znmw) (Entered: 02/12/2025)
           02/12/2025   5 SUMMONS (3) Issued Electronically as to RUSSELL VOUGHT, U.S. Attorney and
                          U.S. Attorney General (Attachments: # 1 Notice and Consent)(znmw) (Entered:
                          02/12/2025)

(Page 6 of Total)                                                                                                 JA1
       USCA Case #25-5091          Document #2114200                Filed: 05/05/2025         Page 7 of 637
           02/13/2025    6 NOTICE of Appearance by Deepak Gupta on behalf of All Plaintiffs (Gupta, Deepak)
                           (Entered: 02/13/2025)
           02/13/2025    7 AMENDED COMPLAINT against All Defendants filed by NATIONAL TREASURY
                           EMPLOYEES UNION.(Gupta, Deepak) (Entered: 02/13/2025)
           02/13/2025    8 REQUEST FOR SUMMONS TO ISSUE filed by NATIONAL ASSOCIATION FOR
                           THE ADVANCEMENT OF COLORED PEOPLE, CFPB EMPLOYEE
                           ASSOCIATION, VIRGINIA POVERTY LAW CENTER, NATIONAL TREASURY
                           EMPLOYEES UNION, NATIONAL CONSUMER LAW CENTER, EVA STEEGE.
                           Related document: 7 Amended Complaint filed by NATIONAL TREASURY
                           EMPLOYEES UNION. (Attachments: # 1 Summons, # 2 Summons, # 3
                           Summons)(Gupta, Deepak) (Entered: 02/13/2025)
           02/13/2025    9 NOTICE of Appearance by Wendy Liu on behalf of All Plaintiffs (Liu, Wendy)
                           (Entered: 02/13/2025)
           02/13/2025   10 MOTION for Temporary Restraining Order and for Administrative Stay by
                           NATIONAL TREASURY EMPLOYEES UNION, NATIONAL CONSUMER LAW
                           CENTER, NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                           COLORED PEOPLE, VIRGINIA POVERTY LAW CENTER, EVA STEEGE, CFPB
                           EMPLOYEE ASSOCIATION. (Attachments: # 1 Text of Proposed Order for
                           Temporary Restraining Order, # 2 Text of Proposed Order for Administrative
                           Stay)(Gupta, Deepak). Added MOTION to Stay on 2/14/2025 (zdp). (Entered:
                           02/13/2025)
           02/13/2025   11 NOTICE of Appearance by Allison Marcy Zieve on behalf of All Plaintiffs (Zieve,
                           Allison) (Entered: 02/13/2025)
           02/13/2025   12 NOTICE of Appearance by Robert D. Friedman on behalf of All Plaintiffs (Friedman,
                           Robert) (Entered: 02/13/2025)
           02/14/2025   13 NOTICE of Appearance by Adam R. Pulver on behalf of All Plaintiffs (Pulver, Adam)
                           (Entered: 02/14/2025)
           02/14/2025   14 SUPPLEMENTAL MEMORANDUM to re 10 MOTION for Temporary Restraining
                           Order by NATIONAL TREASURY EMPLOYEES UNION, NATIONAL
                           CONSUMER LAW CENTER, NATIONAL ASSOCIATION FOR THE
                           ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY LAW
                           CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION. (Attachments: # 1
                           Exhibit 1: Index and Kaspar Declaration, # 2 Exhibit 2: Steege Declaration, # 3
                           Exhibit 3: Bross Declaration, # 4 Exhibit 4: Meyer Declaration, # 5 Exhibit 5: Speer
                           Declaration, # 6 Exhibit 6: Dubois Declaration, # 7 Exhibit 7: Rheingold Declaration,
                           # 8 Exhibit 8: Blumenthal Declaration, # 9 Exhibit 9: Halperin Declaration)(Gupta,
                           Deepak) Modified docket text on 2/14/2025 (zdp). (Entered: 02/14/2025)
           02/14/2025   15 NOTICE by NATIONAL TREASURY EMPLOYEES UNION, NATIONAL
                           CONSUMER LAW CENTER, NATIONAL ASSOCIATION FOR THE
                           ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY LAW
                           CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION re 10 Motion for
                           TRO, (Gupta, Deepak) (Entered: 02/14/2025)
           02/14/2025   16 SUMMONS (4) Issued as to CONSUMER FINANCIAL PROTECTION BUREAU,
                           RUSSELL VOUGHT, U.S. Attorney and U.S. Attorney General (Attachments: # 1
                           Notice and Consent)(zdp) (Entered: 02/14/2025)
           02/14/2025   17 NOTICE of Appearance by Brad P. Rosenberg on behalf of All Defendants
                           (Rosenberg, Brad) (Entered: 02/14/2025)
           02/14/2025       NOTICE of Hearing: Scheduling Conference set for 2/14/2025 at 2:00 PM in
                            Courtroom 25A− In Person before Judge Amy Berman Jackson. The hearing will
                            proceed in person for the parties and by telephone for members of the public. Toll Free
                            Number 833−990−9400. Meeting ID: 208322628. (zdrf) (Entered: 02/14/2025)
           02/14/2025   18 DECLARATION of Erie Meyer by NATIONAL TREASURY EMPLOYEES
                           UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION
                           FOR THE ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY
                           LAW CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION re 14 MOTION
(Page 7 of Total)                                                                                               JA2
       USCA Case #25-5091          Document #2114200                 Filed: 05/05/2025         Page 8 of 637
                            for Temporary Restraining Order and Administrative Stay. (Gupta, Deepak) (Entered:
                            02/14/2025)
           02/14/2025       RESOLVED.....NOTICE of Provisional/Government Not Certified Status re 12
                            NOTICE of Appearance by Robert D. Friedman on behalf of All Plaintiffs (Friedman,
                            Robert).

                            Your attorney renewal/government certification has not been received. As a result,
                            your membership with the U.S. District & Bankruptcy Courts for the District of
                            Columbia is not in good standing, and you are not permitted to file. Pursuant to Local
                            Civil Rule 83.9, you must immediately correct your membership status by following
                            the appropriate instructions on this page of our website:
                            https://www.dcd.uscourts.gov/attorney−renewal.

                            Please be advised that the presiding judge in this case has been notified that you are
                            currently not in good standing to file in this court. Renewal Due by 2/21/2025. (zapb)
                            Modified on 2/18/2025 (zhcn). (Entered: 02/14/2025)
           02/14/2025       RESOLVED.....NOTICE of Provisional/Government Not Certified Status re 9
                            NOTICE of Appearance by Wendy Liu on behalf of All Plaintiffs (Liu, Wendy).

                            Your attorney renewal/government certification has not been received. As a result,
                            your membership with the U.S. District & Bankruptcy Courts for the District of
                            Columbia is not in good standing, and you are not permitted to file. Pursuant to Local
                            Civil Rule 83.9, you must immediately correct your membership status by following
                            the appropriate instructions on this page of our website:
                            https://www.dcd.uscourts.gov/attorney−renewal.

                            Please be advised that the presiding judge in this case has been notified that you are
                            currently not in good standing to file in this court. Renewal Due by 2/21/2025. (zapb)
                            Modified on 2/18/2025 (zhcn). (Entered: 02/14/2025)
           02/14/2025       Minute Entry for Scheduling Conference proceedings held on 2/14/2025 before Judge
                            Amy Berman Jackson. Order forthcoming via Chambers. (Court Reporter Janice
                            Dickman.) (zdrf) (Entered: 02/14/2025)
           02/14/2025   19 ORDER. In light of the agreement of the parties at today's scheduling conference and
                           the underlying record, the accompanying order will remain in place until the resolution
                           of plaintiffs' 10 motion for temporary restraining order, which, with the parties'
                           consent, will be deemed to be a motion for preliminary injunction. The Order provides
                           that defendants shall not: delete, destroy, remove, or impair any data, database or other
                           CFPB records; terminate any CFPB employee, except for cause related to the specific
                           employee's performance or conduct; issue any notice of reduction−in−force to any
                           CFPB employee; or transfer, relinquish, or return any money from the CFPB's reserve
                           funds. A hearing on plaintiffs' motion is SET for March 3, 2025 at 10:00 in Courtroom
                           25A. Members of the public can access the hearing via toll free number
                           833−990−9400. Meeting ID 208322628. See Order for further details. Signed by Judge
                           Amy Berman Jackson on 2/14/2025. (lcabj2) (Entered: 02/14/2025)
           02/18/2025   20 NOTICE of Proposed Order by NATIONAL TREASURY EMPLOYEES UNION,
                           NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION FOR THE
                           ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY LAW
                           CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION (Attachments: # 1
                           Text of Proposed Order)(Gupta, Deepak) (Entered: 02/18/2025)
           02/20/2025       MINUTE ORDER. Defendants are ORDERED to file with the Court by 9:30 A.M.,
                            Friday, February 21, 2025 copies of (a) the February 3, 2025 email sent by the
                            then−Acting Director Scott Bessent, titled "Instruction from Acting Director,"
                            referenced in plaintiffs' memorandum 14 at page 9; (b) the February 8, 2025
                            bureau−wide email sent by Acting Director Russell Vought referenced in plaintiffs'
                            memorandum at page 10; (c) the February 9, 2025 email sent by CFPB Chief
                            Operating Officer Adam Martinez to all CFPB staff, referenced in the amended
                            complaint 7 at paragraph 45; and (d) the February 10, 2025 email sent by Acting
                            Director Vought, titled "Additional Directives on Bureau Activities," referenced in the
                            amended complaint at paragraph 46. SO ORDERED. Signed by Judge Amy Berman
                            Jackson on 2/20/25. (DMK) (Entered: 02/20/2025)
(Page 8 of Total)                                                                                                JA3
       USCA Case #25-5091         Document #2114200                 Filed: 05/05/2025         Page 9 of 637
           02/20/2025   21 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Jennifer D. Bennett,
                           Filing fee $ 100, receipt number ADCDC−11493768. Fee Status: Fee Paid. by
                           NATIONAL TREASURY EMPLOYEES UNION, NATIONAL CONSUMER LAW
                           CENTER, NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                           COLORED PEOPLE, VIRGINIA POVERTY LAW CENTER, EVA STEEGE, CFPB
                           EMPLOYEE ASSOCIATION. (Attachments: # 1 Declaration, # 2 Exhibit (Certificate
                           of Good Standing), # 3 Text of Proposed Order)(Friedman, Robert) (Entered:
                           02/20/2025)
           02/21/2025   23 NOTICE OF FILING (AMENDED) by RUSSELL VOUGHT, CONSUMER
                           FINANCIAL PROTECTION BUREAU re Order,,,, Set Deadlines,,, (Attachments: # 1
                           Feb. 3, 2025 email, "Instructions from Acting Director", # 2 Feb. 8, 2025 email,
                           "Directives on Bureau Activities", # 3 Feb. 9, 2025 email, "Please Read: DC
                           Headquarters Building Operating Status (2/10−2/14)", # 4 Feb. 10, 2025 email,
                           "Additional Directives on Bureau Activities" (redaction added))(Rosenberg, Brad)
                           (Entered: 02/21/2025)
           02/21/2025       MINUTE ORDER granting 21 Motion for Leave of Jennifer D. Bennett to Appear Pro
                            Hac Vice only upon condition that the lawyer admitted, or at least one member of the
                            lawyer's firm, undergo CM/ECF training, obtain a CM/ECF username and password,
                            and agree to file papers electronically. No court papers will be mailed to any lawyer.
                            Counsel should register for e−filing via PACER and file a notice of appearance
                            pursuant to LCvR 83.6(a) Click for instructions. Signed by Judge Amy Berman
                            Jackson on 2/21/25. (DMK) (Entered: 02/21/2025)
           02/21/2025   24 AMICUS BRIEF In Support of Plaintiffs' Motion for a Prelimination Injunction by
                           The State of New York, the State of New Jersey, the District of Columbia, and the
                           States of Arizona, California, Colorado, Connecticut, Delaware, Hawaii, Illinois,
                           Maine, Maryland, Massachusetts, Mich. (Oser, Andrea) (Entered: 02/21/2025)
           02/21/2025   25 NOTICE of Appearance by Noah Hy Brozinsky on behalf of Tzedek DC (Brozinsky,
                           Noah) (Entered: 02/21/2025)
           02/21/2025   26 NOTICE of Appearance by William Bullock Pittard, IV on behalf of Tzedek DC
                           (Pittard, William) (Entered: 02/21/2025)
           02/21/2025   27 Unopposed MOTION for Leave to File Amicus Brief by Tzedek DC. (Attachments: #
                           1 Exhibit Amicus Brief, # 2 Text of Proposed Order Proposed Order)(Brozinsky,
                           Noah) (Entered: 02/21/2025)
           02/21/2025   28 NOTICE of Appearance by Ariel B. Levinson−Waldman on behalf of Tzedek DC
                           (Levinson−Waldman, Ariel) (Entered: 02/21/2025)
           02/24/2025   29 NOTICE of Appearance by Jennifer Bennett on behalf of All Plaintiffs (Bennett,
                           Jennifer) (Entered: 02/24/2025)
           02/24/2025   30 NOTICE of Appearance by Liam Holland on behalf of RUSSELL VOUGHT,
                           CONSUMER FINANCIAL PROTECTION BUREAU (Holland, Liam) (Entered:
                           02/24/2025)
           02/24/2025   31 Memorandum in opposition to re 10 Motion for TRO,, Motion to Stay, Defendants'
                           Opposition to Plaintiffs' Motion for a Preliminary Injunction filed by RUSSELL
                           VOUGHT, CONSUMER FINANCIAL PROTECTION BUREAU. (Attachments: # 1
                           Exhibit 1 (Martinez Decl. & Exhibits), # 2 Exhibit 2 (CFPB and NTEA
                           CBA))(Holland, Liam) (Entered: 02/24/2025)
           02/25/2025       MINUTE ORDER granting 27 Tzedek DC's unopposed motion for leave to file amicus
                            brief. The Clerk of Court is directed to file [27−1] Tzedek DC's Amicus Brief in
                            Support of Plaintiffs' Motion for a Preliminary Injunction on the docket. SO
                            ORDERED. Signed by Judge Amy Berman Jackson on 2/25/25. (DMK) (Entered:
                            02/25/2025)
           02/25/2025   32 Unopposed MOTION for Leave to File Excess Pages For Reply Memorandum by
                           NATIONAL TREASURY EMPLOYEES UNION, NATIONAL CONSUMER LAW
                           CENTER, NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                           COLORED PEOPLE, VIRGINIA POVERTY LAW CENTER, EVA STEEGE, CFPB
                           EMPLOYEE ASSOCIATION. (Gupta, Deepak) (Entered: 02/25/2025)

(Page 9 of Total)                                                                                               JA4
      USCA Case #25-5091         Document #2114200                   Filed: 05/05/2025          Page 10 of 637
          02/25/2025   33 AMICUS BRIEF by TZEDEK DC. (zdp) (Entered: 02/26/2025)
          02/26/2025       MINUTE ORDER granting 32 Plaintiffs' Unopposed Motion to Exceed Page
                           Limitation for Reply Memorandum. Plaintiffs' reply brief in further support of their
                           motion for preliminary injunction may include ten pages in excess of the page limit set
                           by the Local Civil Rules. Plaintiffs should avoid repeating arguments already
                           advanced in their initial submission. SO ORDERED. Signed by Judge Amy Berman
                           Jackson on 2/26/25. (DMK) (Entered: 02/26/2025)
          02/27/2025   34 MOTION for Leave to Appear at the Preliminary Injunction Hearing as Amicus
                          Curiae on behalf of the Amici States by The State of New York. (Reigstad, Christian)
                          (Entered: 02/27/2025)
          02/27/2025   35 NOTICE Regarding MOTION for Leave to Appear at the Preliminary Injunction
                          Hearing as Amicus Curiae on behalf of the Amici States by The State of New York
                          (Reigstad, Christian) (Entered: 02/27/2025)
          02/27/2025   36 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Andrew J. Huber,
                          Filing fee $ 100, receipt number ADCDC−11509576. Fee Status: Fee Paid. by Tzedek
                          DC. (Attachments: # 1 Declaration, # 2 Exhibit Certificate of Good Standing, # 3 Text
                          of Proposed Order)(Levinson−Waldman, Ariel) (Entered: 02/27/2025)
          02/27/2025       MINUTE ORDER granting 34 motion of amici, the States, to participate in oral
                           argument. Counsel for New York will be allowed to speak on behalf of the States
                           briefly −− no more than 10 minutes −− on the irreparable harm and public interest
                           factors to be applied to the motion for a preliminary injunction, and to address any
                           alleged important factual misrepresentations in the defendants' submissions. However,
                           the States are further directed to submit a supplemental filing explaining the relevance
                           of the complained−of harm to the States, as opposed to the public at large, given that
                           the States are not a party to this action. The supplemental filing is due by Friday,
                           February 28, 2025. SO ORDERED. Signed by Judge Amy Berman Jackson on
                           2/27/25. (DMK) (Entered: 02/27/2025)
          02/27/2025   37 TRANSCRIPT OF PROCEEDINGS before Judge Amy Berman Jackson held on
                          February 14, 2025; Page Numbers: 1−24. Date of Issuance:February 27, 2025. Court
                          Reporter: Janice Dickman, Telephone number: 202−354−3267, Transcripts may be
                          ordered by submitting the Transcript Order Form

                           For the first 90 days after this filing date, the transcript may be viewed at the
                           courthouse at a public terminal or purchased from the court reporter referenced above.
                           After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                           (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                           NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                           days to file with the court and the court reporter any request to redact personal
                           identifiers from this transcript. If no such requests are filed, the transcript will be made
                           available to the public via PACER without redaction after 90 days. The policy, which
                           includes the five personal identifiers specifically covered, is located on our website at
                           www.dcd.uscourts.gov.

                           Redaction Request due 3/20/2025. Redacted Transcript Deadline set for 3/30/2025.
                           Release of Transcript Restriction set for 5/28/2025.(Dickman, Janice) (Entered:
                           02/27/2025)
          02/27/2025   38 MOTION for Leave to File Supplemental Declarations by NATIONAL TREASURY
                          EMPLOYEES UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL
                          ASSOCIATION FOR THE ADVANCEMENT OF COLORED PEOPLE, VIRGINIA
                          POVERTY LAW CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION.
                          (Attachments: # 1 Exhibit Index of Declarations, # 2 Declaration of Alex Doe, # 3
                          Declaration of Blake Doe, # 4 Declaration of Charlie Doe, # 5 Declaration of Drew
                          Doe, # 6 Declaration of Adam Scott, # 7 Declaration of Matthew Pfaff, # 8 Declaration
                          of Brian Shearer, # 9 Declaration of Erie Meyer, # 10 Declaration of Julia Barnard, #
                          11 Declaration of Lorelei Salas, # 12 Declaration of Eric Halperin, # 13 Declaration of
                          Seth Frotman, # 14 Declaration of Juanita West−Tillman, # 15 Declaration of
                          Christina Coll, # 16 Declaration of Deepak Gupta, # 17 Declaration of A. Roston and
                          A. Scible)(Gupta, Deepak) (Entered: 02/27/2025)

(Page 10 of Total)                                                                                                   JA5
      USCA Case #25-5091         Document #2114200                 Filed: 05/05/2025          Page 11 of 637
          02/27/2025   39 NOTICE of Proposed Order by NATIONAL TREASURY EMPLOYEES UNION,
                          NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION FOR THE
                          ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY LAW
                          CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION re 38 MOTION for
                          Leave to File Supplemental Declarations (Gupta, Deepak) (Entered: 02/27/2025)
          02/27/2025   40 REPLY to opposition to motion re 10 Motion for TRO,, Motion to Stay, filed by
                          NATIONAL TREASURY EMPLOYEES UNION, NATIONAL CONSUMER LAW
                          CENTER, NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                          COLORED PEOPLE, VIRGINIA POVERTY LAW CENTER, EVA STEEGE, CFPB
                          EMPLOYEE ASSOCIATION. (Gupta, Deepak) (Entered: 02/27/2025)
          02/28/2025   41 NOTICE of Corrected Attachments by NATIONAL TREASURY EMPLOYEES
                          UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION
                          FOR THE ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY
                          LAW CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION re 38 Motion
                          for Leave to File,,, (Attachments: # 1 Declaration of Peyton Diotalevi, # 2 Declaration
                          of Deepak Gupta (Corrected))(Gupta, Deepak) (Entered: 02/28/2025)
          02/28/2025   42 NOTICE of Appearance by Christopher Michael D'Angelo on behalf of The State of
                          New York (D'Angelo, Christopher) (Entered: 02/28/2025)
          02/28/2025   43 NOTICE of Appearance by Lucia Goin on behalf of 203 Members of Congress (Goin,
                          Lucia) (Entered: 02/28/2025)
          02/28/2025   44 MOTION for Leave to File Amicus Brief by 203 Members of Congress. (Attachments:
                          # 1 Exhibit Proposed Amicus Brief, # 2 Text of Proposed Order)(Goin, Lucia)
                          (Entered: 02/28/2025)
          02/28/2025       MINUTE ORDER granting 38 plaintiffs' motion to file supplemental declarations in
                           support of their motion for a preliminary injunction. The Clerk of Court is directed to
                           file on the docket [38−1] through [38−17]. SO ORDERED. Signed by Judge Amy
                           Berman Jackson on 2/28/25. (DMK) (Entered: 02/28/2025)
          02/28/2025       MINUTE ORDER granting 36 Motion for Leave of Andrew J. Hube to Appear Pro
                           Hac Vice only upon condition that the lawyer admitted, or at least one member of the
                           lawyer's firm, undergo CM/ECF training, obtain a CM/ECF username and password,
                           and agree to file papers electronically. No court papers will be mailed to any lawyer.
                           Counsel should register for e−filing via PACER and file a notice of appearance
                           pursuant to LCvR 83.6(a) Click for instructions. Signed by Judge Amy Berman
                           Jackson on 2/28/25. (DMK) (Entered: 02/28/2025)
          02/28/2025       MINUTE ORDER granting 44 Motion for Leave to File Amicus Brief. The Clerk of
                           Court is directed to file on the docket [44−1] the Brief of 203 Members of Congress as
                           Amici Curiae in Support of Plaintiffs' Motion for a Preliminary Injunction. SO
                           ORDERED. Signed by Judge Amy Berman Jackson on 2/28/25. (DMK) (Entered:
                           02/28/2025)
          02/28/2025   45 NOTICE of Appearance by Andrew James Huber on behalf of Tzedek DC (Huber,
                          Andrew) (Entered: 02/28/2025)
          02/28/2025   46 SUPPLEMENTAL MEMORANDUM re Order on Motion for Leave to Appear,,, by
                          The State of New York, the State of New Jersey, the District of Columbia, and the
                          States of Arizona, California, Colorado, Connecticut, Delaware, Hawaii, Illinois,
                          Maine, Maryland, Massachusetts, Mich. (Reigstad, Christian) Modified docket text on
                          3/7/2025 (zdp). (Entered: 02/28/2025)
          02/28/2025   84 AMICUS BRIEF by 203 MEMBERS OF CONGRESS. (zdp) (Entered: 03/26/2025)
          03/02/2025   47 Consent MOTION for Leave to File Supplemental Declaration of Adam Martinez by
                          RUSSELL VOUGHT, CONSUMER FINANCIAL PROTECTION BUREAU.
                          (Attachments: # 1 Declaration (Supplemental) of Adam Martinez, # 2 Text of
                          Proposed Order)(Rosenberg, Brad) (Entered: 03/02/2025)
          03/02/2025   48 Consent MOTION for Leave to File Supplemental Declarations by NATIONAL
                          TREASURY EMPLOYEES UNION, NATIONAL CONSUMER LAW CENTER,
                          NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF COLORED
                          PEOPLE, VIRGINIA POVERTY LAW CENTER, EVA STEEGE, CFPB
(Page 11 of Total)                                                                                               JA6
      USCA Case #25-5091         Document #2114200                   Filed: 05/05/2025         Page 12 of 637
                           EMPLOYEE ASSOCIATION. (Attachments: # 1 Exhibit Index, # 2 Declaration of
                           Matthew Pfaff, # 3 Declaration of Emory Doe, # 4 Declaration of Francis Doe, # 5
                           Declaration of Greer Doe, # 6 Text of Proposed Order)(Gupta, Deepak) (Entered:
                           03/02/2025)
          03/03/2025       MINUTE ORDER granting 47 Defendants' Motion for Leave to File Supplemental
                           Declaration and 48 Plaintiffs' Motion for Leave to File Supplemental Declarations.
                           The Clerk of Court is directed to file on the docket [47−1] Defendants' Supplemental
                           Declaration and [48−1] through [48−5] Plaintiffs' Exhibit Index and Supplemental
                           Declarations. The parties may not file any additional declarations until further order of
                           the Court. SO ORDERED. Signed by Judge Amy Berman Jackson on 3/3/25. (DMK)
                           (Entered: 03/03/2025)
          03/03/2025   49 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as to the
                          United States Attorney. Date of Service Upon United States Attorney on 2/15/2025.
                          Answer due for ALL FEDERAL DEFENDANTS by 4/16/2025. (Gupta, Deepak)
                          (Entered: 03/03/2025)
          03/03/2025   50 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                          RUSSELL VOUGHT served on 2/14/2025 (Friedman, Robert) (Entered: 03/03/2025)
          03/03/2025   51 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                          CONSUMER FINANCIAL PROTECTION BUREAU served on 2/14/2025
                          (Friedman, Robert) (Entered: 03/03/2025)
          03/03/2025   52 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed on
                          United States Attorney General. Date of Service Upon United States Attorney General
                          2/20/2025. (Friedman, Robert) (Entered: 03/03/2025)
          03/03/2025       Minute Entry for Preliminary Injunction proceedings held on 3/3/2025 before Judge
                           Amy Berman Jackson. Arguments heard and taken under advisement. Evidentiary
                           Hearing set for 3/10/2025 at 10:00 AM in Courtroom 25A− In Person before Judge
                           Amy Berman Jackson. (Court Reporter Janice Dickman.) (zdrf) (Entered: 03/03/2025)
          03/03/2025       MINUTE ORDER. As ordered at the motions hearing held on this date, plaintiffs must
                           file a revised proposed preliminary injunction order by Wednesday, March 5, 2025,
                           and an evidentiary hearing is set for Monday, March 10, 2025 at 10:00 AM, at which
                           the government's declarant, Adam Martinez, and any of plaintiffs' declarants, who
                           must have personal knowledge of the facts they are being called to assert, that
                           plaintiffs choose to call to dispute Martinez's assertions. According to its terms, the
                           consent order 19 agreed to by the parties on February 14, 2025 remains in effect until
                           the motion for a preliminary injunction is decided. The parties advised the Court that
                           they reached a separate agreement that expires on the date of the hearing concerning
                           the cancellation of CFPB contracts. The parties are ordered to confer and advise the
                           Court today whether they can agree to extend this agreement or an agreed narrowed
                           version until the Court rules on the preliminary injunction motion, and if they can
                           agree, the parties must file by Friday, March 7 at 5:00 PM a proposed consent
                           agreement on that subject. If they cannot agree, the parties must provide the Court
                           today with a copy of the existing agreement. Since the agreement was supposed to
                           extend through the preliminary injunction hearing, if the defendants do not agree that
                           by its terms it extends through the continuation of the hearing on March 10, they must
                           explain why not, and the plaintiffs must provide the Court with the language of any
                           order they would be seeking to cover that period of time. SO ORDERED. Signed by
                           Judge Amy Berman Jackson on 3/3/25. (DMK) (Entered: 03/03/2025)
          03/03/2025   53 ENTERED IN ERROR.....NOTICE OF AGREEMENT by NATIONAL TREASURY
                          EMPLOYEES UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL
                          ASSOCIATION FOR THE ADVANCEMENT OF COLORED PEOPLE, VIRGINIA
                          POVERTY LAW CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION
                          (Friedman, Robert) Modified on 3/6/2025 (zdp). (Entered: 03/03/2025)
          03/03/2025       MINUTE ORDER. In light of the parties' notice 53 , it is ORDERED that the
                           agreement described in the notice that "[t]he Consumer Financial Protection Bureau
                           ('CFPB') has frozen and will continue to freeze any and all termination actions
                           regarding its contracts," with the understanding that the parties are not agreed as to its
                           applicability to the lease for the agency headquarters, is extended through next
                           Monday, March 10, 2025. SO ORDERED. Signed by Judge Amy Berman Jackson on
(Page 12 of Total)                                                                                                  JA7
      USCA Case #25-5091         Document #2114200                   Filed: 05/05/2025          Page 13 of 637
                           3/3/25. (DMK) (Entered: 03/03/2025)
          03/03/2025   59 MOTION to Intervene by JANICE WOLK GRENADIER. "Leave to File Granted"
                          Signe by Judge Amy B. Jackson on 3/3/2025 (zdp) (Entered: 03/05/2025)
          03/04/2025       MINUTE ORDER. As ordered at the hearing of March 3, 2025, the parties must file
                           by today, March 4, 2025, all internal emails or text messages relied upon by the
                           declarants or the parties in connection with the status or ongoing operations of the
                           CFBP. SO ORDERED. Signed by Judge Amy Berman Jackson on 03/04/2025.
                           (DMK) (Entered: 03/04/2025)
          03/04/2025   54 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Erik Goodman, Filing
                          fee $ 100, receipt number ADCDC−11518215. Fee Status: Fee Paid. by Tzedek DC.
                          (Attachments: # 1 Declaration, # 2 Exhibit Certificate of Good Standing, # 3 Text of
                          Proposed Order)(Levinson−Waldman, Ariel) (Entered: 03/04/2025)
          03/04/2025   55 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Marissa Ditkowsky,
                          Filing fee $ 100, receipt number ADCDC−11519355. Fee Status: Fee Paid. by Tzedek
                          DC. (Attachments: # 1 Declaration, # 2 Exhibit Certificates of Good Standing, # 3
                          Text of Proposed Order)(Levinson−Waldman, Ariel) (Entered: 03/04/2025)
          03/04/2025   56 NOTICE of Filing by RUSSELL VOUGHT, CONSUMER FINANCIAL
                          PROTECTION BUREAU re Order, (Attachments: # 1 Internal CFPB E−mails, # 2
                          CFPB Enforcement Action Filings, # 3 CFPB−Dept of Ed MOU)(Holland, Liam)
                          (Entered: 03/04/2025)
          03/04/2025   57 NOTICE of Filing of Communications by NATIONAL TREASURY EMPLOYEES
                          UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION
                          FOR THE ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY
                          LAW CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION (Attachments:
                          # 1 Exhibit Index, # 2 Exhibit Emails, Text Messages, and Other
                          Communications)(Gupta, Deepak) (Entered: 03/04/2025)
          03/05/2025   58 TRANSCRIPT OF PROCEEDINGS before Judge Amy Berman Jackson held on
                          March 3, 2025; Page Numbers: 1−123. Date of Issuance: March 5, 2025. Court
                          Reporter: Janice Dickman, Telephone number: 202−354−3267, Transcripts may be
                          ordered by submitting the Transcript Order Form

                           For the first 90 days after this filing date, the transcript may be viewed at the
                           courthouse at a public terminal or purchased from the court reporter referenced above.
                           After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                           (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                           NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                           days to file with the court and the court reporter any request to redact personal
                           identifiers from this transcript. If no such requests are filed, the transcript will be made
                           available to the public via PACER without redaction after 90 days. The policy, which
                           includes the five personal identifiers specifically covered, is located on our website at
                           www.dcd.uscourts.gov.

                           Redaction Request due 3/26/2025. Redacted Transcript Deadline set for 4/5/2025.
                           Release of Transcript Restriction set for 6/3/2025.(Dickman, Janice) (Entered:
                           03/05/2025)
          03/05/2025       MINUTE ORDER granting 54 55 Motions for Leave of Erik Goodman and Marissa
                           Ditkowsky to Appear Pro Hac Vice only upon condition that the lawyers admitted, or
                           at least one member of the lawyers' firm, undergo CM/ECF training, obtain a CM/ECF
                           username and password, and agree to file papers electronically. No court papers will
                           be mailed to any lawyer. Counsel should register for e−filing via PACER and file a
                           notice of appearance pursuant to LCvR 83.6(a) Click for instructions. Signed by
                           Judge Amy Berman Jackson on 03/05/2025. (DMK) (Entered: 03/05/2025)
          03/05/2025       MINUTE ORDER denying 59 Motion to Intervene. Movant has not made a showing
                           that she satisfies the requirements to intervene as of right under Fed. R. Civ. Proc.
                           24(a) because: (1) she is not given an unconditional right to intervene by any federal
                           statute, and (2) she does not claim an interest relating to any property of transaction
                           that is the subject of the action and is not so situated that disposing of the action may
(Page 13 of Total)                                                                                                     JA8
      USCA Case #25-5091        Document #2114200                  Filed: 05/05/2025         Page 14 of 637
                           as a practical matter impair or impede her ability to protect that interest. Movant has
                           also not shown that the Court should exercise its discretion to grant permissive
                           intervention under Rule 24(b)(1), since: (A) she is not given a conditional right to
                           intervene by any federal statute, and (B) she does not have a claim or defense that
                           shares a common question of law or fact with the main action. Also, movant's
                           wide−ranging complaints about the actions of multiple federal and state agencies and
                           judges, as well as numerous private actors, do not bear on this action. SO ORDERED.
                           Signed by Judge Amy Berman Jackson on 3/5/2025. (DMK) (Entered: 03/05/2025)
          03/05/2025   60 ERRATA AND CORRECTED VERSION by NATIONAL TREASURY EMPLOYEES
                          UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION
                          FOR THE ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY
                          LAW CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION re 57 Notice
                          (Other),. (Attachments: # 1 Exhibit Corrected Communications)(Gupta, Deepak)
                          (Entered: 03/05/2025)
          03/05/2025   61 NOTICE of Appearance by Marissa Ariel Ditkowsky on behalf of Tzedek DC
                          (Ditkowsky, Marissa) (Entered: 03/05/2025)
          03/05/2025   62 NOTICE of Proposed Order for Preliminary Injunction by NATIONAL TREASURY
                          EMPLOYEES UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL
                          ASSOCIATION FOR THE ADVANCEMENT OF COLORED PEOPLE, VIRGINIA
                          POVERTY LAW CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION re
                          Order,,,,,, (Gupta, Deepak) (Entered: 03/05/2025)
          03/05/2025   63 NOTICE OF SUPPLEMENTAL AUTHORITY by NATIONAL TREASURY
                          EMPLOYEES UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL
                          ASSOCIATION FOR THE ADVANCEMENT OF COLORED PEOPLE, VIRGINIA
                          POVERTY LAW CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION
                          (Gupta, Deepak) (Entered: 03/05/2025)
          03/06/2025       NOTICE OF ERROR regarding 53 Notice (Other). The following error(s) need
                           correction: Invalid attorney signature− signature on document must match PACER
                           login. Please refile. (zdp) (Entered: 03/06/2025)
          03/06/2025   64 NOTICE of Appearance− Pro Bono by Erik Goodman on behalf of Tzedek DC
                          (Goodman, Erik) (Entered: 03/06/2025)
          03/06/2025   65 NOTICE of Agreement (Corrected) by NATIONAL TREASURY EMPLOYEES
                          UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION
                          FOR THE ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY
                          LAW CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION re 53 Notice
                          (Other), Notice of Error (Gupta, Deepak) (Entered: 03/06/2025)
          03/07/2025   66 Joint MOTION for Leave to File Supplemental Emails and Communications by
                          NATIONAL TREASURY EMPLOYEES UNION, NATIONAL CONSUMER LAW
                          CENTER, NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                          COLORED PEOPLE, VIRGINIA POVERTY LAW CENTER, EVA STEEGE, CFPB
                          EMPLOYEE ASSOCIATION. (Attachments: # 1 Exhibit 1: Plaintiffs' Supplemental
                          Communications, # 2 Exhibit 2: Defendants' Supplemental Communications, # 3 Text
                          of Proposed Order)(Gupta, Deepak) (Entered: 03/07/2025)
          03/07/2025       MINUTE ORDER: As noted in the minute entry dated March 3, 2025, the parties shall
                           appear in person for an evidentiary hearing on March 10, 2025 at 10:00 AM in
                           Courtroom 25A. Members of the public can access the hearing via Toll Free Number
                           833−990−9400; Meeting ID 208322628. SO ORDERED. Signed by Judge Amy
                           Berman Jackson on 3/7/2025. (zdrf) (Entered: 03/07/2025)
          03/07/2025       MINUTE ORDER granting 66 the parties' Joint Motion for Leave to File
                           Supplemental Emails and Communications. The Clerk of Court is directed to file on
                           the docket [66−1] Plaintiffs' Supplemental Communications and [66−2] Defendants'
                           Supplemental Communications. SO ORDERED. Signed by Judge Amy Berman
                           Jackson on 3/7/2025. (DMK) (Entered: 03/07/2025)
          03/07/2025   67 PLAINTIFF SUPPLEMENTAL INDEX to re 57 Notice (Other), filed by NATIONAL
                          TREASURY EMPLOYEES UNION, NATIONAL CONSUMER LAW CENTER,
                          NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF COLORED

(Page 14 of Total)                                                                                              JA9
      USCA Case #25-5091         Document #2114200                   Filed: 05/05/2025          Page 15 of 637
                           PEOPLE, VIRGINIA POVERTY LAW CENTER, EVA STEEGE, CFPB
                           EMPLOYEE ASSOCIATION. (zdp) (Entered: 03/07/2025)
          03/07/2025   68 DEFENDANT SUPPLEMENTAL INDEX to re 57 Notice (Other), filed by
                          NATIONAL TREASURY EMPLOYEES UNION, NATIONAL CONSUMER LAW
                          CENTER, NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                          COLORED PEOPLE, VIRGINIA POVERTY LAW CENTER, EVA STEEGE, CFPB
                          EMPLOYEE ASSOCIATION. (zdp) (Entered: 03/07/2025)
          03/07/2025   69 NOTICE OF AGREEMENT CONCERNING CONTRACT TERMINATIONS (JOINT)
                          by NATIONAL TREASURY EMPLOYEES UNION, NATIONAL CONSUMER
                          LAW CENTER, NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                          COLORED PEOPLE, VIRGINIA POVERTY LAW CENTER, EVA STEEGE, CFPB
                          EMPLOYEE ASSOCIATION re Order,,,,,, (Gupta, Deepak) (Entered: 03/07/2025)
          03/10/2025       Minute Entry for proceedings held 3/10/2025 before Judge Amy Berman Jackson.
                           Evidentiary Hearing began and continued to 3/11/2025 at 1:30 PM in Courtroom 25A−
                           In Person before Judge Amy Berman Jackson. Defense Witness: Adam Martinez.
                           (Court Reporter Janice Dickman.) (zdrf) (Entered: 03/10/2025)
          03/11/2025   70 NOTICE OF FILING OF EXHIBIT LIST AND RELATED DOCUMENTS by
                          RUSSELL VOUGHT, CONSUMER FINANCIAL PROTECTION BUREAU
                          (Attachments: # 1 Exhibit Teams Exchange, # 2 Exhibit OMB−OPM Memorandum, #
                          3 Exhibit List)(Rosenberg, Brad) (Entered: 03/11/2025)
          03/11/2025       Minute Entry for proceedings held 3/11/2025 before Judge Amy Berman Jackson.
                           Evidentiary Hearing resumed and concluded. Matter taken under advisement. Defense
                           Witness: Adam Martinez; Plaintiff Witnesses: Alex Doe and Mathew Pfaff. (Court
                           Reporter Janice Dickman) (zdrf) (Entered: 03/11/2025)
          03/12/2025   71 NOTICE Joint Notice of Agreement Concerning Contract Terminations by RUSSELL
                          VOUGHT, CONSUMER FINANCIAL PROTECTION BUREAU (Holland, Liam)
                          (Entered: 03/12/2025)
          03/13/2025   72 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Sarah Hollender,
                          Filing fee $ 100, receipt number ADCDC−11538714. Fee Status: Fee Paid. by
                          TZEDEK DC. (Attachments: # 1 Declaration, # 2 Exhibit Certificate of Good
                          Standing, # 3 Text of Proposed Order)(Levinson−Waldman, Ariel) (Entered:
                          03/13/2025)
          03/13/2025       MINUTE ORDER granting 72 Motion for Leave of Sarah Hollender to Appear Pro
                           Hac Vice only upon condition that the lawyer admitted, or at least one member of the
                           lawyer's firm, undergo CM/ECF training, obtain a CM/ECF username and password,
                           and agree to file papers electronically. No court papers will be mailed to any lawyer.
                           Counsel should register for e−filing via PACER and file a notice of appearance
                           pursuant to LCvR 83.6(a) Click for instructions. Signed by Judge Amy Berman
                           Jackson on 3/13/25. (DMK) (Entered: 03/13/2025)
          03/14/2025   73 TRANSCRIPT OF PROCEEDINGS before Judge Amy Berman Jackson held on
                          March 10, 2025; Page Numbers: 1−275. Date of Issuance: March 14, 2025. Court
                          Reporter: Janice Dickman, Telephone number: 202−354−3267, Transcripts may be
                          ordered by submitting the Transcript Order Form

                           For the first 90 days after this filing date, the transcript may be viewed at the
                           courthouse at a public terminal or purchased from the court reporter referenced above.
                           After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                           (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                           NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                           days to file with the court and the court reporter any request to redact personal
                           identifiers from this transcript. If no such requests are filed, the transcript will be made
                           available to the public via PACER without redaction after 90 days. The policy, which
                           includes the five personal identifiers specifically covered, is located on our website at
                           www.dcd.uscourts.gov.

                           Redaction Request due 4/4/2025. Redacted Transcript Deadline set for 4/14/2025.
                           Release of Transcript Restriction set for 6/12/2025.(Dickman, Janice) (Entered:
(Page 15 of Total)                                                                                                 JA10
      USCA Case #25-5091         Document #2114200                   Filed: 05/05/2025          Page 16 of 637
                           03/14/2025)
          03/14/2025   74 TRANSCRIPT OF PROCEEDINGS before Judge Amy Berman Jackson held on
                          March 11, 2025; Page Numbers: 1−155. Date of Issuance: March 14, 2025. Court
                          Reporter: Janice Dickman, Telephone number: 202−354−3267, Transcripts may be
                          ordered by submitting the Transcript Order Form

                           For the first 90 days after this filing date, the transcript may be viewed at the
                           courthouse at a public terminal or purchased from the court reporter referenced above.
                           After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                           (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                           NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                           days to file with the court and the court reporter any request to redact personal
                           identifiers from this transcript. If no such requests are filed, the transcript will be made
                           available to the public via PACER without redaction after 90 days. The policy, which
                           includes the five personal identifiers specifically covered, is located on our website at
                           www.dcd.uscourts.gov.

                           Redaction Request due 4/4/2025. Redacted Transcript Deadline set for 4/14/2025.
                           Release of Transcript Restriction set for 6/12/2025.(Dickman, Janice) (Entered:
                           03/14/2025)
          03/17/2025   75 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Hannah M.
                          Kieschnick, Filing fee $ 100, receipt number ADCDC−11546045. Fee Status: Fee
                          Paid. by 203 MEMBERS OF CONGRESS. (Attachments: # 1 Exhibit H. Kieschnick −
                          Declaration, # 2 Exhibit H. Kieschnick − Certificate of Good Standing, # 3 Text of
                          Proposed Order)(Goin, Lucia) (Attachment 1 replaced on 3/18/2025) (znmw).
                          (Entered: 03/17/2025)
          03/17/2025   76 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Shelby Leighton,
                          Filing fee $ 100, receipt number ADCDC−11546086. Fee Status: Fee Paid. by 203
                          MEMBERS OF CONGRESS. (Attachments: # 1 Exhibit S. Leighton − Declaration, #
                          2 Exhibit S. Leighton − Certificate of Good Service, # 3 Text of Proposed
                          Order)(Goin, Lucia) (Entered: 03/17/2025)
          03/17/2025   77 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Douglas R. Jensen,
                          Filing fee $ 100, receipt number ADCDC−11546127. Fee Status: Fee Paid. by 203
                          MEMBERS OF CONGRESS. (Attachments: # 1 Exhibit D. Jensen − Declaration, # 2
                          Exhibit D. Jensen − Certificate of Good Standing, # 3 Text of Proposed Order)(Goin,
                          Lucia) (Entered: 03/17/2025)
          03/17/2025   78 NOTICE OF SUPPLEMENTAL AUTHORITY by RUSSELL VOUGHT,
                          CONSUMER FINANCIAL PROTECTION BUREAU (Holland, Liam) (Entered:
                          03/17/2025)
          03/19/2025   79 NOTICE of Proposed Order by NATIONAL TREASURY EMPLOYEES UNION,
                          NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION FOR THE
                          ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY LAW
                          CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION (Attachments: # 1
                          Text of Proposed Order)(Gupta, Deepak) (Entered: 03/19/2025)
          03/20/2025       MINUTE ORDER denying without prejudice 76 Motion for Leave to Appear Pro Hac
                           Vice for failure to provide the information required in a motion to proceed pro have
                           vice under Local Rule, specifically with respect to LCvR 83.2(e)(2)(6). Signed by
                           Judge Amy Berman Jackson on 3/20/25. (DMK) (Entered: 03/20/2025)
          03/20/2025       MINUTE ORDER granting 75 77 Motions for Leave of Hannah M. Kieschnick and
                           Douglas R. Jensen to Appear Pro Hac Vice only upon condition that the lawyers
                           admitted, or at least one member of the lawyers' firms, undergo CM/ECF training,
                           obtain a CM/ECF username and password, and agree to file papers electronically. No
                           court papers will be mailed to any lawyer. Counsel should register for e−filing via
                           PACER and file a notice of appearance pursuant to LCvR 83.6(a) Click for
                           instructions. Signed by Judge Amy Berman Jackson on 3/20/25. (DMK) (Entered:
                           03/20/2025)


(Page 16 of Total)                                                                                                 JA11
      USCA Case #25-5091         Document #2114200                  Filed: 05/05/2025         Page 17 of 637
          03/20/2025   80 NOTICE OF SUPPLEMENTAL AUTHORITY by NATIONAL TREASURY
                          EMPLOYEES UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL
                          ASSOCIATION FOR THE ADVANCEMENT OF COLORED PEOPLE, VIRGINIA
                          POVERTY LAW CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION
                          (Attachments: # 1 Exhibit Does 1−26 v. Musk, # 2 Exhibit Maryland v. United States
                          Department of Agriculture)(Gupta, Deepak) (Entered: 03/20/2025)
          03/21/2025   81 Amended MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Shelby
                          Leighton, Fee Status: No Fee Paid. by 203 MEMBERS OF CONGRESS.
                          (Attachments: # 1 Exhibit Declaration, # 2 Exhibit Certificate of Good Standing, # 3
                          Text of Proposed Order)(Goin, Lucia) (Entered: 03/21/2025)
          03/24/2025       MINUTE ORDER granting 81 Motion for Leave of Shelby Leighton to Appear Pro
                           Hac Vice only upon condition that the lawyer admitted, or at least one member of the
                           lawyer's firm, undergo CM/ECF training, obtain a CM/ECF username and password,
                           and agree to file papers electronically. No court papers will be mailed to any lawyer.
                           Counsel should register for e−filing via PACER and file a notice of appearance
                           pursuant to LCvR 83.6(a) Click for instructions. Signed by Judge Amy Berman
                           Jackson on 3/24/25. (DMK) (Entered: 03/24/2025)
          03/24/2025   82 RESPONSE re 63 NOTICE OF SUPPLEMENTAL AUTHORITY, 80 NOTICE OF
                          SUPPLEMENTAL AUTHORITY, filed by RUSSELL VOUGHT, CONSUMER
                          FINANCIAL PROTECTION BUREAU. (Attachments: # 1 TRO, Mayland v. USDA,
                          Civil No. JKB−25−0748 (D. MD. Mar. 13, 2025), # 2 Declaration of Adam Martinez
                          Re: Compliance with Maryland TRO)(Holland, Liam) (Entered: 03/24/2025)
          03/25/2025   83 SUGGESTION OF DEATH Upon the Record as to Eva Steege and Motion for
                          Substitution of Ted Steege by NATIONAL TREASURY EMPLOYEES UNION,
                          NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION FOR THE
                          ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY LAW
                          CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION. (Attachments: # 1
                          Declaration of Ted Steege, # 2 Declaration of Julia Barnard (Second), # 3 Text of
                          Proposed Order)(Gupta, Deepak) Modified on 3/27/2025 (zdp). (Entered: 03/25/2025)
          03/25/2025   85 MOTION to Substitute by NATIONAL TREASURY EMPLOYEES UNION,
                          NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION FOR THE
                          ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY LAW
                          CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION. (See docket entry 83
                          to view document) (zdp) Modified on 3/28/2025 (zdp). (Entered: 03/27/2025)
          03/26/2025       MINUTE ORDER. Upon consideration of plaintiffs' motion for substitution 83 , it is
                           ORDERED that the motion is GRANTED and that Ted Steege is substituted for Eva
                           Steege as a plaintiff in this matter pursuant to Federal Rule of Civil Procedure
                           25(a)(1). The caption of the case shall be amended to reflect this substitution, and the
                           Clerk of Court is directed to reflect this substitution on the docket. SO ORDERED.
                           Signed by Judge Amy Berman Jackson on 3/26/25. (DMK) (Entered: 03/26/2025)
          03/27/2025   86 NOTICE OF SUPPLEMENTAL AUTHORITY by NATIONAL TREASURY
                          EMPLOYEES UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL
                          ASSOCIATION FOR THE ADVANCEMENT OF COLORED PEOPLE, VIRGINIA
                          POVERTY LAW CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION
                          (Attachments: # 1 Exhibit A: AFGE v. OPM Opinion)(Gupta, Deepak) (Entered:
                          03/27/2025)
          03/28/2025   87 MEMORANDUM OPINION. Signed by Judge Amy Berman Jackson on 3/28/2025.
                          (DMK) Document replaced to correct formatting and numbering errors. No changes
                          were made to the text of the opinion. (Document 87 replaced on 3/29/2025) (zdrf).
                          Modified on 3/29/2025 (zdrf). (Entered: 03/28/2025)
          03/28/2025   88 ORDER. For the reasons set forth in the accompanying Memorandum Opinion 87 ,
                          Plaintiffs' Motion for a Temporary Restraining Order 10 , which was converted with
                          the parties' consent to a Motion for Preliminary Injunction on February 14, 2025, see
                          Order 19 , is GRANTED. See Order for details. Signed by Judge Amy Berman
                          Jackson on 3/28/2025. (DMK) (Entered: 03/28/2025)
          03/28/2025       MINUTE ORDER. Plaintiff is directed to inform the Court by March 31, 2025 why it
                           is no longer seeking the restriction in the February 14 consent order prohibiting
                           defendants from transferring or relinquishing money from the Reserve Fund other than
(Page 17 of Total)                                                                                               JA12
      USCA Case #25-5091        Document #2114200                  Filed: 05/05/2025        Page 18 of 637
                           to satisfy ordinary operating obligations, and whether the interim order should include
                           a restriction on using or disbursing money in the Civil Penalty Fund for anything other
                           than reimbursing consumers. Defendants are directed to inform the Court by the same
                           date of the status of the headquarters building lease, and they may inform the Court of
                           their position on the questions posed to the plaintiffs. SO ORDERED. Signed by Judge
                           Amy Berman Jackson on 3/28/2025. (DMK) (Entered: 03/28/2025)
          03/29/2025   89 NOTICE OF APPEAL TO DC CIRCUIT COURT as to 88 Order on Motion for TRO,
                          87 Memorandum & Opinion, by RUSSELL VOUGHT, CONSUMER FINANCIAL
                          PROTECTION BUREAU. Fee Status: No Fee Paid. Parties have been notified.
                          (Rosenberg, Brad) (Entered: 03/29/2025)
          03/29/2025   90 Transmission of the Notice of Appeal, Order Appealed (Memorandum Opinion), and
                          Docket Sheet to US Court of Appeals. The Court of Appeals docketing fee was not
                          paid because the appeal was filed by the government re 89 Notice of Appeal to DC
                          Circuit Court. (zjd) (Entered: 03/29/2025)
          03/31/2025       USCA Case Number 25−5091 for 89 Notice of Appeal to DC Circuit Court filed by
                           RUSSELL VOUGHT, CONSUMER FINANCIAL PROTECTION BUREAU. (zdp)
                           (Entered: 03/31/2025)
          03/31/2025   91 NOTICE of Appearance by Hannah Meredith Kieschnick on behalf of 203
                          MEMBERS OF CONGRESS (Kieschnick, Hannah) (Main Document 91 replaced on
                          4/1/2025) (zdp). (Entered: 03/31/2025)
          03/31/2025   92 MOTION for Briefing Schedule by NATIONAL TREASURY EMPLOYEES
                          UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION
                          FOR THE ADVANCEMENT OF COLORED PEOPLE, TED STEEGE, VIRGINIA
                          POVERTY LAW CENTER, CFPB EMPLOYEE ASSOCIATION (Attachments: # 1
                          Text of Proposed Order)(Gupta, Deepak) Modified event on 4/2/2025 (zdp). (Entered:
                          03/31/2025)
          03/31/2025       MINUTE ORDER in response to 92 plaintiffs' filing: To the extent clarification is
                           required, as of the time of the docketing of this order, defendants have not filed a
                           motion for a stay pending appeal in this court in accordance with Federal Rule of
                           Appellate Procedure 8(a)(1). It follows that the Court has not yet granted or denied
                           such a motion. In the absence of any motion on its docket, the Court sees no reason to
                           establish a briefing schedule or to toll compliance with any aspect of its March 28
                           Order at this time. SO ORDERED. Signed by Judge Amy Berman Jackson on
                           3/31/2025. (DMK) (Entered: 03/31/2025)
          03/31/2025   93 NOTICE of Appearance by Sarah Hollender on behalf of TZEDEK DC (Hollender,
                          Sarah) (Entered: 03/31/2025)
          03/31/2025   94 RESPONSE re 3/28/2025 Minute Order by NATIONAL TREASURY EMPLOYEES
                          UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION
                          FOR THE ADVANCEMENT OF COLORED PEOPLE, TED STEEGE, VIRGINIA
                          POVERTY LAW CENTER, CFPB EMPLOYEE ASSOCIATION re Order,, (Gupta,
                          Deepak) Modified docket text on 4/1/2025 (zdp). (Entered: 03/31/2025)
          03/31/2025   95 NOTICE IN RESPONSE TO MINUTE ORDER REGARDING THE STATUS OF
                          CFPB'S HEADQUARTERS LEASE by RUSSELL VOUGHT, CONSUMER
                          FINANCIAL PROTECTION BUREAU re Order,, (Rosenberg, Brad) (Entered:
                          03/31/2025)
          04/01/2025   96 NOTICE of Appearance by Adina H. Rosenbaum on behalf of All Plaintiffs
                          (Rosenbaum, Adina) (Entered: 04/01/2025)
          04/01/2025   97 MOTION to Stay re 88 Order on Motion for TRO, Defendants' Renewed Request for a
                          Stay Pending Appeal by RUSSELL VOUGHT, CONSUMER FINANCIAL
                          PROTECTION BUREAU. (Attachments: # 1 Text of Proposed Order)(Holland, Liam)
                          (Entered: 04/01/2025)
          04/01/2025       RESOLVED.....NOTICE of Provisional/Government Not Certified Status re 96
                           NOTICE of Appearance by Adina H. Rosenbaum on behalf of All Plaintiffs
                           (Rosenbaum, Adina).


(Page 18 of Total)                                                                                            JA13
      USCA Case #25-5091          Document #2114200                  Filed: 05/05/2025         Page 19 of 637
                            Your attorney renewal/government certification has not been received. As a result,
                            your membership with the U.S. District & Bankruptcy Courts for the District of
                            Columbia is not in good standing, and you are not permitted to file. Pursuant to Local
                            Civil Rule 83.9, you must immediately correct your membership status by following
                            the appropriate instructions on this page of our website:
                            https://www.dcd.uscourts.gov/attorney−renewal.

                            Please be advised that the presiding judge in this case has been notified that you are
                            currently not in good standing to file in this court. Renewal Due by 4/8/2025. (zhcn)
                            4/2/2025 (zapb). (Entered: 04/02/2025)
          04/02/2025        MINUTE ORDER. Any opposition to 97 defendants' motion for a stay pending appeal
                            is due by 12:00 noon today, April 2, 2025. SO ORDERED. Signed by Judge Amy
                            Berman Jackson on 4/2/25. (DMK) (Entered: 04/02/2025)
          04/02/2025    98 Memorandum in opposition to re 97 Motion to Stay filed by NATIONAL
                           TREASURY EMPLOYEES UNION, NATIONAL CONSUMER LAW CENTER,
                           NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF COLORED
                           PEOPLE, TED STEEGE, VIRGINIA POVERTY LAW CENTER, CFPB
                           EMPLOYEE ASSOCIATION. (Gupta, Deepak) (Entered: 04/02/2025)
          04/02/2025    99 NOTICE of Proposed Order by NATIONAL TREASURY EMPLOYEES UNION,
                           NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION FOR THE
                           ADVANCEMENT OF COLORED PEOPLE, TED STEEGE, VIRGINIA POVERTY
                           LAW CENTER, CFPB EMPLOYEE ASSOCIATION re 98 Memorandum in
                           Opposition, (Gupta, Deepak) (Entered: 04/02/2025)
          04/02/2025        MINUTE ORDER. The parties are directed to inform the Court of their positions on
                            whether this Court has jurisdiction to consider 97 defendants' motion to stay the
                            preliminary injunction, given the pendency of the earlier motion to stay that defendants
                            filed with the D.C. Circuit, and the fact that the Circuit −− upon consideration of not
                            only defendants' motion but also plaintiffs' motion to strike the stay motion on the
                            grounds that the defense should have moved in this Court first −− has set a briefing
                            schedule and oral argument on that motion. SO ORDERED. Signed by Judge Amy
                            Berman Jackson on 4/2/25. (DMK) (Entered: 04/02/2025)
          04/02/2025   100 RESPONSE TO ORDER OF THE COURT re Order,, filed by NATIONAL
                           TREASURY EMPLOYEES UNION, NATIONAL CONSUMER LAW CENTER,
                           NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF COLORED
                           PEOPLE, TED STEEGE, VIRGINIA POVERTY LAW CENTER, CFPB
                           EMPLOYEE ASSOCIATION. (Gupta, Deepak) (Entered: 04/02/2025)
          04/03/2025   101 RESPONSE TO ORDER OF THE COURT re Order,, filed by RUSSELL VOUGHT,
                           CONSUMER FINANCIAL PROTECTION BUREAU. (Holland, Liam) (Entered:
                           04/03/2025)
          04/03/2025   102 ORDER granting in part and denying in part 97 Motion to Stay. See order for details.
                           Signed by Judge Amy Berman Jackson on 4/3/25. (DMK) (Entered: 04/03/2025)
          04/03/2025        MINUTE ORDER denying as moot 92 Plaintiffs' Motion for Briefing Schedule.
                            Signed by Judge Amy Berman Jackson on 4/3/25. (DMK) (Entered: 04/03/2025)
          04/15/2025   103 MOTION to Stay Proceedings Pending Final Resolution of the Expedited Appeal of
                           this Court's Preliminary Injunction Order, MOTION for Extension of Time to File
                           Answer (in the alternative) until 30 days after Defendants' Motion to Stay Proceedings
                           is denied by CONSUMER FINANCIAL PROTECTION BUREAU, RUSSELL
                           VOUGHT. (Attachments: # 1 Exhibit 1−−Order Expediting Appeal, NTEU v. Vought,
                           No. 25−5091 (D.C. Cir. Apr. 11, 2025), # 2 Text of Proposed Order)(Holland, Liam)
                           (Entered: 04/15/2025)
          04/15/2025   104 MEMORANDUM re 103 MOTION to Stay Proceedings Pending Final Resolution of
                           the Expedited Appeal of this Court's Preliminary Injunction Order MOTION for
                           Extension of Time to File Answer (in the alternative) until 30 days after Defendants'
                           Motion to Stay Proceedings is denied by CONSUMER FINANCIAL PROTECTION
                           BUREAU, RUSSELL VOUGHT. (Holland, Liam) (Entered: 04/15/2025)


(Page 19 of Total)                                                                                               JA14
      USCA Case #25-5091          Document #2114200                  Filed: 05/05/2025         Page 20 of 637
          04/17/2025   105 Emergency MOTION for Order to Show Cause by CFPB EMPLOYEE
                           ASSOCIATION, NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                           COLORED PEOPLE, NATIONAL CONSUMER LAW CENTER, NATIONAL
                           TREASURY EMPLOYEES UNION, TED STEEGE, VIRGINIA POVERTY LAW
                           CENTER. (Attachments: # 1 Text of Proposed Order)(Gupta, Deepak) (Entered:
                           04/17/2025)
          04/17/2025        MINUTE ORDER. In light of 105 plaintiffs' motion for an order to show cause as to
                            why defendants have not violated the preliminary injunction in this case, the Court will
                            conduct a hearing on Friday, April 18, 2025 at 11:00 AM in Courtroom 25A. It is
                            ORDERED that defendants must have a person with personal knowledge of the scope
                            of the Reduction in Force ("RIF") and the decision to implement it, such as the CFPB
                            Chief Operating Officer or the Operations Manager or Chief of the Office of Human
                            Capital, present at the hearing. It is FURTHER ORDERED that by 10:00 AM Friday,
                            April 18, defendants must file with the Court: copies of any letters, memoranda, or
                            emails sent to CFPB staff from Chief Legal Officer Mark Paoletta and/or Acting
                            Director Russell Vought this week; representative samples of any RIF or layoff notices
                            that have been issued or will be issued on April 18; and a list of all of the employees
                            involved and their job titles. The list of employees must be filed under seal to avoid the
                            publication of personal information with a redacted version filed on the public docket;
                            an unredacted copy should be emailed to the Court's Deputy Clerk. SO ORDERED.
                            Signed by Judge Amy Berman Jackson on 4/17/25. (DMK) (Entered: 04/17/2025)
          04/18/2025   106 NOTICE of Declarations by CFPB EMPLOYEE ASSOCIATION, NATIONAL
                           ASSOCIATION FOR THE ADVANCEMENT OF COLORED PEOPLE,
                           NATIONAL CONSUMER LAW CENTER, NATIONAL TREASURY
                           EMPLOYEES UNION, TED STEEGE, VIRGINIA POVERTY LAW CENTER re
                           105 Motion for Order to Show Cause, (Attachments: # 1 Declaration of Jennifer
                           Bennett, # 2 Declaration of Matthew Pfaff (Third), # 3 Declaration of Emory Doe
                           (Second))(Gupta, Deepak) (Entered: 04/18/2025)
          04/18/2025   107 NOTICE of Appearance by Charles E.T. Roberts on behalf of All Defendants
                           (Roberts, Charles) (Entered: 04/18/2025)
          04/18/2025   108 SEALED DOCUMENT filed by CONSUMER FINANCIAL PROTECTION
                           BUREAU, RUSSELL VOUGHT re Order,,,,,, Set Hearings,,,,, (This document is
                           SEALED and only available to authorized persons.) (Attachments: # 1 a list of all of
                           the employees involved in the RIF and their job titles)(Holland, Liam) (Entered:
                           04/18/2025)
          04/18/2025   109 DECLARATION of Mark Paoletta by CONSUMER FINANCIAL PROTECTION
                           BUREAU, RUSSELL VOUGHT re Order,,,,,, Set Hearings,,,,,. (Holland, Liam)
                           (Entered: 04/18/2025)
          04/18/2025   110 DECLARATION by CFPB EMPLOYEE ASSOCIATION, NATIONAL
                           ASSOCIATION FOR THE ADVANCEMENT OF COLORED PEOPLE,
                           NATIONAL CONSUMER LAW CENTER, NATIONAL TREASURY
                           EMPLOYEES UNION, TED STEEGE, VIRGINIA POVERTY LAW CENTER.
                           (Attachments: # 1 Declaration)(Gupta, Deepak) (Entered: 04/18/2025)
          04/18/2025   111 DECLARATION of Alex Doe by CFPB EMPLOYEE ASSOCIATION, NATIONAL
                           ASSOCIATION FOR THE ADVANCEMENT OF COLORED PEOPLE,
                           NATIONAL CONSUMER LAW CENTER, NATIONAL TREASURY
                           EMPLOYEES UNION, TED STEEGE, TZEDEK DC, VIRGINIA POVERTY LAW
                           CENTER re 105 Emergency MOTION for Order to Show Cause . (Bennett, Jennifer)
                           (Entered: 04/18/2025)
          04/18/2025        Minute Entry for proceedings held before Judge Amy Berman Jackson: Show Cause
                            Hearing held on 4/18/2025. Evidentiary Hearing set for 4/28/2025 at 9:30 AM in
                            Courtroom 25 (In Person) before Judge Amy Berman Jackson. Order forthcoming via
                            chambers on the issues discussed on the record and for further proceedings. (Court
                            Reporter Jan Dickman.) (zakb) (Entered: 04/18/2025)
          04/18/2025   112 TRANSCRIPT OF PROCEEDINGS before Judge Amy Berman Jackson held on April
                           18, 2025; Page Numbers: 1−23. Date of Issuance: April 18, 2025. Court Reporter:
                           Janice Dickman, Telephone number: 202−354−3267, Transcripts may be ordered by
                           submitting the Transcript Order Form
(Page 20 of Total)                                                                                                JA15
      USCA Case #25-5091           Document #2114200                   Filed: 05/05/2025          Page 21 of 637
                             For the first 90 days after this filing date, the transcript may be viewed at the
                             courthouse at a public terminal or purchased from the court reporter referenced above.
                             After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                             (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                             NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                             days to file with the court and the court reporter any request to redact personal
                             identifiers from this transcript. If no such requests are filed, the transcript will be made
                             available to the public via PACER without redaction after 90 days. The policy, which
                             includes the five personal identifiers specifically covered, is located on our website at
                             www.dcd.uscourts.gov.

                             Redaction Request due 5/9/2025. Redacted Transcript Deadline set for 5/19/2025.
                             Release of Transcript Restriction set for 7/17/2025.(Dickman, Janice) (Entered:
                             04/18/2025)
          04/18/2025   113 ORDER. As stated on the record at the hearing held on this date, defendants are
                           ordered as follows: the Reduction in Force announced by Acting Director Vought on
                           or about April 17, 2025 is SUSPENDED and it may NOT be implemented,
                           effectuated, or completed in any way until this Court has ruled on plaintiffs' motion to
                           enforce the preliminary injunction, and the defendants are PROHIBITED from
                           discontinuing any employee's access to work systems, including email and internal
                           platforms until this Court has ruled on plaintiffs' motion. Plaintiffs may issue requests
                           for production of documents to defendants by Friday, April 18; defendants' response to
                           the motion to enforce is due by Tuesday, April 22; plaintiffs' reply is due by Thursday,
                           April 24; and a hearing is set for Monday, April 9:30 a.m. See Order for details.
                           Signed by Judge Amy Berman Jackson on 4/18/25. (DMK) (Entered: 04/18/2025)
          04/18/2025   114 MOTION to set a deadline for defendants' production by CFPB EMPLOYEE
                           ASSOCIATION, NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                           COLORED PEOPLE, NATIONAL CONSUMER LAW CENTER, NATIONAL
                           TREASURY EMPLOYEES UNION, TED STEEGE, VIRGINIA POVERTY LAW
                           CENTER. (Attachments: # 1 Text of Proposed Order)(Gupta, Deepak) (Entered:
                           04/18/2025)
          04/18/2025   115 NOTICE OF APPEAL TO DC CIRCUIT COURT as to 113 Order,,, by RUSSELL
                           VOUGHT, CONSUMER FINANCIAL PROTECTION BUREAU. Fee Status: No Fee
                           Paid. Parties have been notified. (Holland, Liam) (Entered: 04/18/2025)
          04/18/2025   116 MOTION to Clarify re 113 Order,,, by CFPB EMPLOYEE ASSOCIATION,
                           NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF COLORED
                           PEOPLE, NATIONAL CONSUMER LAW CENTER, NATIONAL TREASURY
                           EMPLOYEES UNION, TED STEEGE, VIRGINIA POVERTY LAW CENTER.
                           (Gupta, Deepak) (Entered: 04/18/2025)
          04/19/2025   117 Transmission of the Notice of Appeal, Order Appealed, and Docket Sheet to US Court
                           of Appeals. The Court of Appeals docketing fee was not paid because the appeal was
                           filed by the government re 115 Notice of Appeal to DC Circuit Court. (zjd) (Entered:
                           04/19/2025)
          04/19/2025         MINUTE ORDER granting 114 motion to set a deadline for defendants' production. It
                             is ORDERED that defendants must produce all documents responsive to the plaintiffs'
                             request for production of documents by 12:00 p.m. ET on Tuesday, April 22, 2025.
                             Signed by Judge Amy Berman Jackson on 4/19/2025. (DMK) (Entered: 04/19/2025)
          04/19/2025         MINUTE ORDER granting 116 plaintiffs' motion to clarify 113 the April 18, 2025
                             order. Given the preliminary showing made by plaintiffs that they are likely to
                             establish that the defendants have not conducted a particularized assessment that the
                             more than 1400 employees subject to the RIF are unnecessary to the agency's
                             performance of its statutory duties; that, with the RIF, the agency will be unable to
                             operate the Office of Consumer Response as required by statute and the preliminary
                             injunction order; and that the planned RIF is in violation of this Court's order as stayed
                             in part; and in light of the findings embodied in the preliminary injunction order that
                             dismantling the agency would be contrary to law and would cause the plaintiffs
                             irreparable harm, the Court temporarily enjoined the RIF pursuant to Federal Rule of
                             Civil Procedure 65 and its inherent authority to enforce its own orders. This is a
(Page 21 of Total)                                                                                                   JA16
      USCA Case #25-5091          Document #2114200                  Filed: 05/05/2025         Page 22 of 637
                            non−final, interim order to enable the Court to determine −− on the schedule requested
                            by the parties and based on sworn testimony and contemporaneous records −− whether
                            the RIF is compliant with the existing injunction or not. The order −− to which
                            defendants raised no objection at the hearing −− will remain in place for no more than
                            14 days, "unless before that time the court, for good cause, extends it for a like period
                            or the adverse party consents to a longer extension." Fed. R. Civ. Pro. 65(b)(2). It is
                            further clarified that the April 18 order prohibits defendants from discontinuing an
                            employee's access to work systems as part of the enjoined RIF, but the provisions in
                            the March preliminary injunction order that enable the agency to make individual
                            employment decisions in the ordinary course of business remain unchanged. SO
                            ORDERED. Signed by Judge Amy Berman Jackson on 4/19/2025. (DMK) (Entered:
                            04/19/2025)
          04/19/2025        USCA Case Number 25−5132 for 115 Notice of Appeal to DC Circuit Court filed by
                            RUSSELL VOUGHT, CONSUMER FINANCIAL PROTECTION BUREAU. (mg)
                            (Entered: 04/21/2025)
          04/21/2025        MINUTE ORDER. The defendants are advised that Mark Paoletta must be present at
                            the April 28, 2025 evidentiary hearing and available to testify concerning the matters
                            in his declaration 109 . Defendants must also ensure that Gavin Kliger and Adam
                            Martinez are present and available to testify. The plaintiffs must have at least one
                            member of the CFPB RIF team with personal knowledge of the events described in the
                            declaration 111 of Alex Doe present and available to testify; the witness may utilize a
                            pseudonym on the record. Neither party is limited to these witnesses, however. The
                            parties must docket any exhibits they intend to introduce or utilize during the
                            testimony of the witnesses by 12:00 noon on Saturday, April 26, 2025. SO
                            ORDERED. Signed by Judge Amy Berman Jackson on 4/21/25. (DMK) (Entered:
                            04/21/2025)
          04/22/2025   118 Joint MOTION for Order under Federal Rule of Evidence 502(d) by CONSUMER
                           FINANCIAL PROTECTION BUREAU, RUSSELL VOUGHT. (Attachments: # 1
                           Text of Proposed Order)(Holland, Liam) (Entered: 04/22/2025)
          04/22/2025   119 ORDER granting 118 joint motion for order under Federal Rule of Evidence 502(d).
                           See order for details. Signed by Judge Amy Berman Jackson on 4/22/25. (DMK)
                           (Entered: 04/22/2025)
          04/22/2025   120 Joint MOTION for Protective Order by CONSUMER FINANCIAL PROTECTION
                           BUREAU, RUSSELL VOUGHT. (Attachments: # 1 Text of Proposed
                           Order)(Holland, Liam) (Entered: 04/22/2025)
          04/22/2025   121 RESPONSE re 105 Emergency MOTION for Order to Show Cause Defendants'
                           Response to Plaintiffs' Motion to Enforce filed by CONSUMER FINANCIAL
                           PROTECTION BUREAU, RUSSELL VOUGHT. (Holland, Liam) (Entered:
                           04/22/2025)
          04/23/2025   122 PROTECTIVE ORDER. See stipulated order for details. Signed by Judge Amy
                           Berman Jackson on 4/23/25. (DMK) (Entered: 04/23/2025)
          04/23/2025   123 Unopposed MOTION for Extension of Time to File Response/Reply as to 105
                           Emergency MOTION for Order to Show Cause and to Enforce by CFPB EMPLOYEE
                           ASSOCIATION, NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                           COLORED PEOPLE, NATIONAL CONSUMER LAW CENTER, NATIONAL
                           TREASURY EMPLOYEES UNION, TED STEEGE, VIRGINIA POVERTY LAW
                           CENTER. (Attachments: # 1 Text of Proposed Order)(Gupta, Deepak) (Entered:
                           04/23/2025)
          04/23/2025        MINUTE ORDER granting 123 unopposed motion for extension of time. Plaintiffs'
                            reply in support of their motion to enforce is due Friday, April 25, 2025. SO
                            ORDERED. Signed by Judge Amy Berman Jackson on 4/23/25. (DMK) (Entered:
                            04/23/2025)




(Page 22 of Total)                                                                                               JA17
              Case 1:25-cv-00381-ABJ Document 7     Filed 02/13/25 Page 1 of 32
        USCA Case #25-5091    Document #2114200        Filed: 05/05/2025 Page 23 of 637



                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


          NATIONAL TREASURY
          EMPLOYEES UNION,
             800 K Street, NW
             Washington, DC 20001,

          NATIONAL CONSUMER LAW
          CENTER,
             7 Winthrop Square
             Boston, MA 02110
                                               Civil Action No. 25-cv-381-ABJ
          NATIONAL ASSOCIATION FOR
          THE ADVANCEMENT OF                   FIRST AMENDED COMPLAINT
          COLORED PEOPLE,
             4805 Mt. Hope Drive,              TEMPORARY RESTRAINING
             Baltimore, MD 21215               ORDER REQUESTED

          VIRGINIA POVERTY LAW
          CENTER,
             919 East Main Street
             Richmond, VA 23219,

          PASTOR EVA STEEGE,
             address omitted per LCvR 5.1,

          CFPB EMPLOYEE
          ASSOCIATION,
             1015 15th Street, NW
             Washington, DC 20005,

                     Plaintiffs,

                      v.


          RUSSELL VOUGHT, in his official
          capacity as Acting Director of the
          Consumer Financial Protection
          Bureau,
             1700 G Street NW
             Washington, DC 20552, and




(Page 23 of Total)                                                                        JA18
              Case 1:25-cv-00381-ABJ Document 7           Filed 02/13/25 Page 2 of 32
        USCA Case #25-5091    Document #2114200              Filed: 05/05/2025 Page 24 of 637



          CONSUMER FINANCIAL
          PROTECTION BUREAU,
            1700 G Street NW
            Washington, DC 20552,

                     Defendants.

                                          INTRODUCTION

                1.     In the aftermath of the 2008 financial crisis, Congress established the

         Consumer Financial Protection Bureau and charged it with supervising and

         regulating financial institutions across the country as well as assisting consumers

         harmed by those institutions. That mandate to the Executive Branch has led to the

         recovery of billions of dollars for average Americans and, as Congress required,

         produced a more “fair, transparent, and competitive” market for financial products

         and services. 12 U.S.C. § 5511. Congress established the CFPB through the exercise

         of its constitutional power to regulate commerce, and Congress has the ability to

         eliminate the CFPB through that same power. Congress has not done so.

                2.     In defiance of Congress’s role in our constitutional system and the

         separation of powers, President Trump has resolved to “totally eliminate[]” the

         CFPB.

                3.     To carry out that plan, he fired the CFPB’s director and illegally

         installed Russell Vought as the acting director on February 7. That same day, Elon

         Musk posted on his social media account “CFPB RIP.”

                4.     With a series of escalating actions beginning on February 8, Vought took

         drastic steps to make that promise a reality. First, he instructed CFPB staff and

         contractors to “immediately” stop all work that involved promulgating rules and


                                                   2

(Page 24 of Total)                                                                                JA19
              Case 1:25-cv-00381-ABJ Document 7           Filed 02/13/25 Page 3 of 32
        USCA Case #25-5091    Document #2114200              Filed: 05/05/2025 Page 25 of 637



         guidance, investigations, public communications, supervision of covered entities

         contracting, and litigation. He then informed the Federal Reserve that the CFPB

         would not take any additional funding for its operations in the next quarter. The next

         day, Vought directed staff “not [to] perform any work tasks” at all—including tasks

         mandated by statute. He also directed staff not to come into the office. Just one day

         later, February 10, Vought announced that the CFPB’s Washington, DC

         headquarters was closed—and has since taken steps to cancel the lease on the

         building.

                5.    Vought didn’t stop there. The next day, February 11, he cancelled $100

         million of contracts with companies that enabled the CFPB to do all aspects of its

         work, from processing consumer complaints to litigation to supervision. That same

         day, he took the dramatic step of firing, in indiscriminatory fashion, 70 probationary

         employees. To add insult to injury, he communicated the news via a mail-merged

         form email that didn’t bother to personally address the fired employees who viewed

         the email on their phones.

                6.    On February 12, the Bureau’s statutorily mandated consumer complaint

         went dark, cutting off one of the Bureau’s most direct links with consumers in dire

         financial straits. The Bureau’s Consumer Response function is now functioning at

         diminished capacity at best, threatening a vital lifeline that collects hundreds of

         thousands of consumer complaints a month.

                7.    Vought is not expected to stop there. On information and belief, Vought

         intends to return the CFPB’s operating reserves to the Federal Reserve. Given that



                                                   3

(Page 25 of Total)                                                                                JA20
              Case 1:25-cv-00381-ABJ Document 7          Filed 02/13/25 Page 4 of 32
        USCA Case #25-5091    Document #2114200             Filed: 05/05/2025 Page 26 of 637



         he has already informed the Federal Reserve that the CFPB will not take any

         additional funding, that would eliminate its entire budget. And Vought has planned

         another mass layoff that may occur imminently—as early as today or tomorrow.

                8.    American consumers are already suffering the consequences. Plaintiff

         Pastor Eva Steege—an 83 year old Lutheran pastor whose doctors have told her she

         has less than six months to live—can no longer discharge her student loan debt before

         she dies because the CFPB cancelled its meeting with her and the Bureau’s

         statutorily mandated Student Loan Ombudsman’s office has been forced to shut its

         doors. Meanwhile, military servicemembers and their families who are owed refund

         payments based on a consent order between a predatory car title lender and the CFPB

         are not getting those refunds because the payments must first be approved by CFPB

         employees—who, of course, cannot work.

                9.    Neither the President nor the head of the CFPB has the power to

         dismantle an agency that Congress established. By suspending the statutorily

         mandated activities of the CFPB, Trump and Vought’s shutdown of the CFPB runs

         afoul of core constitutional separation of powers principles, Congress’s express

         statutory directive, and the Administrative Procedure Act.

                10.   Trump and Vought’s actions to disable the CFPB have already caused

         mass confusion and imposed significant and irreparable harm on consumers across

         the country. Absent immediate relief, the defendants will continue to upend the lives

         of countless civil servants. Consumers who were relying on the CFPB to help resolve

         urgent financial disputes—disputes that, absent the CFPB’s intervention, can lead to



                                                  4

(Page 26 of Total)                                                                               JA21
              Case 1:25-cv-00381-ABJ Document 7           Filed 02/13/25 Page 5 of 32
        USCA Case #25-5091    Document #2114200              Filed: 05/05/2025 Page 27 of 637



         foreclosure or the inability to get a loan or rent an apartment—have been abandoned.

         Even litigation that was already pending against financial institutions that scammed

         consumers and exploited ordinary Americans has come to a halt, and the agency is

         not conducting any new enforcement actions. All supervision of financial institutions

         has been cancelled. With each day that the agency remains shut down, the financial

         institutions that seek to prey on consumers are emboldened—harming their law-

         abiding competitors and the consumers who fall victim to them.

                                   JURISDICTION AND VENUE

                11.   This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331,

         because this action arises under the laws of the United States, namely, the United

         States Constitution and the Administrative Procedure Act (APA), 5 U.S.C. §§ 702,

         706.

                12.   Venue is proper in this judicial district under 28 U.S.C. § 1391(e)(1)(A)

         because the defendants are officers and agencies of the United States.

                                              PARTIES

                13.   Plaintiff National Treasury Employees Union is the exclusive

         bargaining representative of employees at 37 federal departments and agencies, more

         than 1,000 of whom work at the CFPB. About sixty probationary employees who were

         fired were represented by NTEU.

                14.   Plaintiff National Consumer Law Center uses the tools of advocacy,

         education, and litigation to fight for economic justice for low-income and other

         vulnerable people who have been abused, deceived, discriminated against, or left



                                                   5

(Page 27 of Total)                                                                                 JA22
              Case 1:25-cv-00381-ABJ Document 7            Filed 02/13/25 Page 6 of 32
        USCA Case #25-5091    Document #2114200               Filed: 05/05/2025 Page 28 of 637



         behind in our economy. NCLC interacts with and relies on the CFPB in many ways:

         the Bureau purchases NCLC’s publications and hires NCLC to conduct trainings for

         CFPB employees; NCLC’s treatises and reports rely heavily, and link to, the CFPB’s

         reports and data; and NCLC uses the CFPB’s complaint database to draft reports.

                15.   Plaintiff National Association for the Advancement of Colored People is

         the oldest and largest civil rights organization in the United States. Its mission is to

         achieve equality, political rights, and social inclusion by advancing policies and

         practices that expand human and civil rights, eliminate discrimination, and

         accelerate the well-being, education, and economic security of Black people and all

         persons of color. The NAACP was actively working with the CFPB to address

         predatory practices targeted at its members in the wake of the Los Angeles wildfires.

                16.   Plaintiff Virginia Poverty Law Center is a 501(c)(3) nonprofit

         organization that since 1978 has worked to break down systemic barriers that keep

         low-income Virginians in the cycle of poverty through advocacy, education, litigation,

         and direct counseling and referral services. It routinely relies on the CFPB’s

         consumer response function, consumer complaint database, and CFPB research and

         publications to serve its client base.

                17.   Plaintiff Rev. Eva Steege is an 83-year-old retired pastor of the

         Evangelical Lutheran Church in America. Pastor Steege took on student loans to

         pursue higher education at a seminary, to fulfill her calling as a pastor. Because of

         her advanced chronic obstructive pulmonary disease, Pastor Steege has been told that

         she has no longer than six months to live. She is entitled to discharge her loans under



                                                    6

(Page 28 of Total)                                                                                  JA23
              Case 1:25-cv-00381-ABJ Document 7            Filed 02/13/25 Page 7 of 32
        USCA Case #25-5091    Document #2114200               Filed: 05/05/2025 Page 29 of 637



         the Public Service Loan Forgiveness Program, and the CFPB was helping her do so.

         Pastor Seege wants to ensure that she discharges her debt before she dies, so that

         she will not burden her surviving family, and because she could pass on to her family

         as much as $15,000 of overpayments. Pastor Steege had a meeting scheduled with

         the Bureau this week that was suddenly cancelled because of the CFPB’s unlawful

         closure. Absent the CFPB’s assistance, it is unlikely that she will be able to discharge

         her debt and get her overpayments returned before she passes away.

                18.   Plaintiff CFPB Employee Association is a membership organization of

         dedicated public servants committed to advocating for the interests of the Consumer

         Financial Protection Bureau. Its members include current and former employees of

         the CFPB, including probationary employees who were recently terminated.

                19.   Defendant Russell Vought is the Acting Director of the Consumer

         Financial Protection Bureau. He is sued in his official capacity.

                20.   Defendant Consumer Financial Protection Bureau is an agency of the

         United States.

                                           BACKGROUND

         Statutory Creation of the CFPB

                21.   In July 2010, Congress enacted the Dodd-Frank Wall Street Reform and

         Consumer Protection Act (Dodd-Frank Act), Pub. L. No. 111-203, 124 Stat. 1376, 1376

         (2010), “[t]o promote the financial stability of the United States by improving

         accountability and transparency in the financial system, to end ‘too big to fail’, to




                                                    7

(Page 29 of Total)                                                                                  JA24
              Case 1:25-cv-00381-ABJ Document 7             Filed 02/13/25 Page 8 of 32
        USCA Case #25-5091    Document #2114200                Filed: 05/05/2025 Page 30 of 637



         protect the American taxpayer by ending bailouts, [and] to protect consumers from

         abusive financial services practices.” Id.

                22.   Title X of the Dodd-Frank Act, titled the Consumer Financial Protection

         Act of 2010 (CFP Act), established the CFPB as an “independent bureau” within the

         Federal Reserve System. 12 U.S.C. § 5491(a). Congress tasked the CFPB with

         “implement[ing]” and “enforc[ing]” a large body of financial consumer protection laws

         to “ensur[e] that all consumers have access to markets for consumer financial

         products and services and that markets for consumer financial products and services

         are fair, transparent, and competitive.” Id. § 5511(a). Congress required the CFPB’s

         “principal office” to be located in Washington, D.C. Id. § 5491(a).

                23.   The CFPB is headed by a single Director, who is appointed by the

         President with the advice and consent of the Senate. 12 U.S.C. § 5491(b)(1)–(2).

         Congress required that the Bureau’s Deputy Director, who is “appointed by the

         Director,” shall “serve as acting Director in the absence or unavailability of the

         Director.” Id. § 5491(b)(5).

                24.   The CFP Act charges the CFPB with numerous mandatory duties to

         protect consumers and taxpayers. including duties related to the supervision of

         financial institutions, research and education, enforcement, and rulemaking. See

         generally P.L. 111-203, Title X, §§ 1001–1100H. Among other things, Congress

         required the CFPB to perform the following activities:

                      a.     Obligations     to   Monitor    and    Respond    to   Consumer

                Complaints. The CFP Act requires the CFPB to “collect[],” “monitor[],” and



                                                      8

(Page 30 of Total)                                                                                JA25
              Case 1:25-cv-00381-ABJ Document 7            Filed 02/13/25 Page 9 of 32
        USCA Case #25-5091    Document #2114200               Filed: 05/05/2025 Page 31 of 637



                “respon[d] to consumer complaints regarding consumer financial products or

                services.” Id. § 5493(b)(3)(A). The CFPB is further required to “establish …

                reasonable procedures to provide a timely response to consumers” for

                complaints or inquiries. Id. § 5534. Those complaints can and do “help

                consumers get resolution to the problems they encounter.”1

                      b.     Research, Reporting, and Information Obligations. The Act

                imposes on the CFPB numerous research, reporting, and information

                obligations. For example, the CFPB is required to “research[], analyz[e], and

                report[]” on market developments for consumer financial products or services

                and consumer understanding of and access to financial products. Id.

                § 5493(b)(1). In addition, it is required to publish and disseminate information

                about credit rates and credit cards. See 15 U.S.C. §§ 1646(a), (b); id. §

                1632(d)(3). And the CFPB must “provide staff and data processing resources”

                to the Federal Financial Institutions Examination Council, 12 U.S.C. § 2809(c),

                and to compile information on depository institutions and aggregate lending

                patterns, id. § 2809(a).

                      c.     Obligations to establish specific offices. Congress further

                required the CFPB to establish offices that perform specified tasks or aid

                specific groups of consumers. For example, the CFP Act requires that a Private

                Education Loan Ombudsman “provide timely assistance to borrowers of


                1 CFPB, Four million complaints: More than just a milestone (Sep. 29, 2023),

         https://www.consumerfinance.gov/about-us/blog/four-million-complaints-more-than-
         just-a-milestone/.

                                                    9

(Page 31 of Total)                                                                                 JA26
              Case 1:25-cv-00381-ABJ Document 7             Filed 02/13/25 Page 10 of 32
        USCA Case #25-5091    Document #2114200                Filed: 05/05/2025 Page 32 of 637



                private education loans.” Id. § 5535(a). Among other things, the Ombudsman

                is required to “compile and analyze data on borrower complaints regarding

                private education loans” and, in accordance with regulations, “receive, review,

                and attempt to resolve informally complaints” from loan borrowers. Id. §§

                (c)(1)(3).

                       In addition, the statute requires the CFPB to establish an Office of

                Financial Protection for Older Americans that “shall … monitor certifications

                or designations of financial advisors who advise seniors and alert the

                Commission and State regulators of certifications or designations that are

                identified as unfair, deceptive, or abusive” and “conduct research … to educate

                and counsel seniors about personal finance management.” Id. §§ (g)(3)(B), (D).

                       The Act also requires the establishment of several other offices,

                including the Office of Service Members Affairs, which “shall be responsible for

                developing and implementing initiatives for service members and their

                families,” id. § (e)(1); the Office of Financial Education, which is mandated to

                “implement a strategy to improve the financial literacy of consumers” through

                various “activities including providing opportunities for consumers to access”

                services, information, and assistance,” id. § (d)(2); and the Office of Fair

                Lending and Equal Opportunity, which provides oversight and enforcement of

                various federal laws and “work[s] with private industry, fair lending, civil

                rights, consumer and community advocates on the promotion of fair lending

                compliance and education,” id. § 5493(c).



                                                   10

(Page 32 of Total)                                                                                 JA27
              Case 1:25-cv-00381-ABJ Document 7           Filed 02/13/25 Page 11 of 32
        USCA Case #25-5091    Document #2114200              Filed: 05/05/2025 Page 33 of 637



                      d.     Supervision. The Dodd-Frank Act gives the CFPB broad

                supervisory authority to examine financial institutions for compliance with

                federal consumer financial laws. 12 U.S.C. §§ 5514, 5515. For example, the

                CFPB “shall require reports and conduct examinations on a periodic basis” of

                payday lenders and private education lenders. Id. § 5514(b)(1). In addition, for

                insured depository institutions and credit unions with more than $10 billion in

                assets, the CFPB “shall have exclusive authority to require reports and conduct

                examinations on a periodic basis” to “assess[] compliance” with federal law,

                “obtain information” about the activities, systems and procedures of the entity,

                and “detect[] and assess[] risks to consumers and to markets for consumer

                financial products and services.” 12 U.S.C. § 5515(b)(1).

                25.   The Act also confers rulemaking authority on the CFPB. See 12 U.S.C.

         § 5512(b). The CFPB has the authority to prescribe rules identifying acts or practices

         that are “unfair, deceptive, or abusive,” id. § 5531(b), and rules imposing disclosure

         requirements to help consumers understand the terms, benefits, costs, and risks of

         financial products and services, id. § 5532; see also id. § 5533. The CFPB also has

         rulemaking authority pursuant to 19 federal statutes that govern numerous

         consumer activities and services, including debt collection practices, debit card

         transfers, overdraft services, consumer leases, mortgage lending, credit card lending,




                                                   11

(Page 33 of Total)                                                                                 JA28
              Case 1:25-cv-00381-ABJ Document 7            Filed 02/13/25 Page 12 of 32
        USCA Case #25-5091    Document #2114200               Filed: 05/05/2025 Page 34 of 637



         mortgage appraisals, real estate settlement practices, and credit reporting. See 12

         U.S.C. §§ 5581(a)(1)(A), (b).2

                26.   Since its inception in 2010, the CFPB has fulfilled its statutorily

         mandated duties by creating the requisite administrative apparatuses and enacting

         dozens of rules and regulations. The agency has published hundreds of fact sheets,

         studies, and technical assistance documents that are used by financial services

         providers, consumers, advocates, and researchers. And the agency has helped

         millions of consumers obtain relief, both through formal enforcement actions, and

         through informal dispute resolution mechanisms required by Congress.

                27.   On average, the Bureau’s statutorily-mandated complaint resolution

         system receives approximately 350,000 complaints per month. In January 2025, the

         number was closer to 500,000. Although some complaints are automatically sent to


                2 See also Alternative Mortgage Transaction Parity Act, 12 U.S.C. §§3801, et

         seq.; the Consumer Leasing Act of 197615 U.S.C. §§1667, et seq.; the Electronic Funds
         Transfer Act, 15 U.S.C. §§1693, et seq., except with respect to section 920; the Equal
         Credit Opportunity Act, 15 U.S.C. §§1691, et seq.; the Fair Credit Billing Act, 15
         U.S.C. §§1666, et seq.; the Fair Credit Reporting Act, 15 U.S.C. §§1681, et seq., except
         with respect to sections 1681m(e) and 1681w; the Homeowners Protection Act of 1998,
         12 U.S.C. §§4901, et seq.; the Fair Debt Collection Practices Act, 15 U.S.C. §§1692, et
         seq.; subsections (b) through (f) of section 43 of the Federal Deposit Insurance Act, 12
         U.S.C. §§ 1831t(c)-(f); sections 502 through 509 of the Gramm-Leach-Bliley Act, 15
         U.S.C. §§6802-6809, except for section 6805 as it applies to section 6801(b); the Home
         Mortgage Disclosure Act of 1975, 12 U.S.C. §§2801, et seq.; the Home Ownership and
         Equity Protection Act of 1994, 15 U.S.C. §1639; the Real Estate Settlement
         Procedures Act of 1974, 12 U.S.C. §§2601, et seq.; the S.A.F.E. Mortgage Licensing
         Act of 2008, 12 U.S.C. §§5101, et seq.; the Truth in Lending Act (TILA), 15 U.S.C.
         §§1601, et seq.; the Truth in Savings Act, 12 U.S.C. §§4301, et seq.; section 626 of the
         Omnibus Appropriations Act, 2009, P.L. 111-8 §626; the Interstate Land Sales Full
         Disclosure Act, 15 U.S.C. §§1701, et seq.; and many provisions of the Mortgage
         Reform and Anti-Predatory Lending Act, Dodd-Frank Act Title XIV, Subtitles A, B,
         C, and E, and §§1471, 1472, 1475, and 1476).

                                                   12

(Page 34 of Total)                                                                                  JA29
              Case 1:25-cv-00381-ABJ Document 7           Filed 02/13/25 Page 13 of 32
        USCA Case #25-5091    Document #2114200              Filed: 05/05/2025 Page 35 of 637



         companies, many have to be referred manually by a CFPB employee. CFPB

         employees also monitor the complaints to ensure that companies respond to

         consumers in a timely fashion and refer some complaints to the Bureau’s enforcement

         division. And some complaints—including ones related to imminent actions like

         foreclosures—are investigated by the Bureau’s Escalated Case Management Team.

         More than 1,000 of these complaints filed each year require attention from the

         Escalated Management.

                28.   Regardless of whether a complaint is sent to the Escalated Case

         Management Team, they are very often urgent. The majority relate to consumer

         credit reports, and most people do not become aware of an error on their reports until

         they are trying to secure a loan. Consumers also file complaints when they have been

         “debanked”—denied access to their accounts because of their past financial history—

         and face banks who are unwilling to help them restore their accounts. The CFPB is

         often the only resource available to help them regain access. Consumers also

         complain regularly about surprise fees and interest attached to payday loans.

         Consumers who need payday loans typically have little-to-no expendable income, and

         these surprise costs can mean missing the bus to work and therefore losing your job,

         skipping or rationing medications, or losing child-care.

                29.   The Dodd-Frank Act specifies that funding of the CFPB come from “the

         combined earnings of the Federal Reserve System.” See 12 U.S.C. § 5497.

                30.   The Act directs that, each quarter, the Board of Governors of the Federal

         Reserve will transfer “the amount determined by the Director [of the Bureau] to be



                                                   13

(Page 35 of Total)                                                                                JA30
              Case 1:25-cv-00381-ABJ Document 7             Filed 02/13/25 Page 14 of 32
        USCA Case #25-5091    Document #2114200                Filed: 05/05/2025 Page 36 of 637



         reasonably necessary to carry out the authorities of the Bureau,” subject to a

         statutory cap of 12% of the total operating expenses of the Federal Reserve (inflation

         adjusted). Id. § 5497(a)(1); see id. § 5497(a)(2)(A)–(B). In addition, the CFPB Director

         may request additional funds from Congress if necessary to carry out the authorities

         of the Bureau. See id. § 5497(e).

                31.      For Fiscal Year 2025, “[t]he CFPB’s projected budget estimate for its

         operations … [was] $810.6 million.”3

                32.      By letter to the Federal Reserve on October 8, 2024, then-CFPB Director

         Rohit Chopra requested a monetary transfer in the amount of $248,900,000, stating

         that he had “determined [it] is the amount necessary to carry out the authorities of

         the Bureau for FY2025 Q1.”4 Three days later, the Federal Reserve confirmed by

         letter that the requested funds had been transferred to the CFPB.5

                33.      By letter to the Federal Reserve on December 19, 2024, then-Director

         Chopra requested a monetary transfer of $245,100,000 to the CFPB, stating that he

         had “determined [it] is the amount necessary to carry out the authorities of the




                3 Cong. Research Service, R48295, The Consumer Financial Protection Bureau

         Budget:      Background,       Trends,      and    Policy     Options,  at   6,
         https://crsreports.congress.gov/product/pdf/R/R48295/2#:~:text=The%20CFPB's%20
         projected%20budget%20estimate,director%20or%20in%20CFPB's%20priorities.
                4 https://files.consumerfinance.gov/f/documents/cfpb_funds-transfer-request-
         fy-2025-q1.pdf.
                5     https://files.consumerfinance.gov/f/documents/cfpb_letter-from-frb-fy-2025-
         q1.pdf.

                                                     14

(Page 36 of Total)                                                                                  JA31
              Case 1:25-cv-00381-ABJ Document 7               Filed 02/13/25 Page 15 of 32
        USCA Case #25-5091    Document #2114200                  Filed: 05/05/2025 Page 37 of 637



         Bureau for FY 2025 Q2.”6 On January 2, 2025, the Federal Reserve confirmed by

         letter that the requested funds had been transferred to the CFPB.7

         Treasury Secretary Bessent named Acting Director of the CFPB and halts
         the CFPB’s Work

                34.       On February 1, 2025, President Trump fired then-Director of the CFPB

         Rohit Chopra as Director of the CFPB. Pursuant to Dodd-Frank, the CFPB’s then-

         Deputy Director, Zixta Martinez, then became Acting Director of the CFPB. See 12

         U.S.C. § 5491(b)(5).

                35.       Two days later, President Trump appointed Treasury Secretary Bessent

         as the Acting Director of the CFPB.

                36.       On February 3, 2025, then-Acting Director Bessent sent an email, titled

         “Instructions from Acting Director,” directing all CFPB staff and contractors to

         “immediately” suspend activities in six areas of work. Specifically, the February 3

         email stated that unless expressly approved by Bessent, all CFPB workers were

         required:

                      •   “[n]ot to approve or issue any proposed or final rules or formal or
                          informal guidance”;

                      •   “[t]o suspend the effective dates of all final rules that have been
                          issued or published but that have not yet become effective”;

                      •   “[n]ot to commence, take additional investigative activities
                          related to, or settle enforcement actions”;



                6 https://files.consumerfinance.gov/f/documents/cfpb-12-19-letter-from-cfpb-to-

         frb_2025-01.pdf.
                7https://files.consumerfinance.gov/f/documents/cfpb_01-02-letter-from-frb-to-
         cfpb_2025-01.pdf.

                                                      15

(Page 37 of Total)                                                                                  JA32
              Case 1:25-cv-00381-ABJ Document 7              Filed 02/13/25 Page 16 of 32
        USCA Case #25-5091    Document #2114200                 Filed: 05/05/2025 Page 38 of 637



                      •   “[n]ot to issue public communications of any type, including
                          publication of research papers”;

                      •   “[n]ot to approve or execute any material agreements, including
                          related to employee matters or contractors”; and

                      •   “[n]ot to make or approve filings or appearances by the Bureau in
                          any litigation, other than to seek a pause in proceedings.”

         Id. The February 3 email stated that Acting Director Bessent was issuing these

         directives “to promote consistency with the goals of the Administration.” Id.

                37.       By email to all CFPB staff and contractors on February 4, 2025, Acting

         Director Bessent “[u]pdate[d]” his February 3 directive halting another category of

         work. He instructed CFPB employees “[n]ot to initiate supervisory designation

         proceedings or designate any nondepository institution for supervision.”

         Defendant Vought named Acting Director and halts CFPB’s Work

                38.       On Friday, February 7, 2025, President Trump named Russell Vought,

         the Director of the Office of Management and Budget, as Acting Director of the CFPB.

                39.       That same day, Elon Musk and other members of the so-called

         “Department of Government Efficiency” (DOGE) accessed CFPB’s headquarters and

         computer systems.8 Several hours later, Musk posted “CFPB RIP” with a tombstone

         emoji on his social-media site X.9




                8  https://www.politico.com/news/2025/02/07/elon-musk-team-cfpb-00203119;
         https://www.forbes.com/sites/saradorn/2025/02/10/trump-vs-cfpb-russ-vought-
         orders-consumer-financial-protection-bureau-to-stop-work/.
                9 https://x.com/elonmusk/status/1887979940269666769.


                                                      16

(Page 38 of Total)                                                                                 JA33
              Case 1:25-cv-00381-ABJ Document 7              Filed 02/13/25 Page 17 of 32
        USCA Case #25-5091    Document #2114200                 Filed: 05/05/2025 Page 39 of 637



                40.       Also on February 7, the CFPB’s official X account was deleted,10 and the

         CFPB’s website homepage was replaced with a banner stating, “404: Page not

         found.”11

                41.       On February 8, 2025, Acting Director Vought sent an email titled

         “Directives on Bureau Activities.” The email stated that Vought was “committed to

         implementing the President’s policies” and that “[t]o that end,” he directed all CFPB

         staff and contractors to comply “immediately” with nine directives to cease work,

         unless expressly approved by Vought:

                      •   “[n]ot approve or issue any proposed or final rules or formal or
                          informal guidance”;

                      •   “[s]uspend the effective dates of all final rules that have been
                          issued or published but that have not yet become effective”;

                      •   “[n]ot commence, take additional investigative activities related
                          to, or settle enforcement actions”;

                      •   “[n]ot open any new investigation in any manner, and cease any
                          pending investigations”;

                      •   “[n]ot issue public communications of any type, including
                          publication of research papers and compliance bulletins”;

                      •   “[n]ot approve or execute any material agreements, including
                          related to employee matters or contractors”;

                      •   “[n]ot make or approve filings or appearances by the Bureau in
                          any litigation, other than to seek a pause in proceedings”;

                      •   “[c]ease all supervision and examination activity”;



                10   https://www.forbes.com/sites/saradorn/2025/02/08/cfpbs-x-account-goes-
         dark-as-russell-vought-takes-over-elon-musk-posts-cfpb-rip/.
                11  https://www.forbes.com/sites/eriksherman/2025/02/09/consumer-financial-
         protection-bureau-adds-error-message-to-home-page/.

                                                      17

(Page 39 of Total)                                                                                   JA34
              Case 1:25-cv-00381-ABJ Document 7             Filed 02/13/25 Page 18 of 32
        USCA Case #25-5091    Document #2114200                Filed: 05/05/2025 Page 40 of 637



                      •   “[c]ease all stakeholder engagement.”

                42.       Approximately one hour later, Acting Director Vought stated in a social

         media post on X that he “ha[d] notified the Federal Reserve that CFPB will not be

         taking its next draw of unappropriated funding because it is not ‘reasonably

         necessary’ to carry out its duties.” 12

                43.       In the absence of taking a draw from the Federal Reserve, the Bureau

         must rely on its reserve fund.

                44.       On information and belief, Defendant Vought intends to imminently

         return the funds in the CFPB’s reserves to the Federal Reserve. Although Vought has

         stated that in his view, that money is not “necessary to fulfill the Bureau’s mandate,”

         without that money, the Bureau will be unable to fund its operations.

                45.       On the evening of February 9, 2025, CFPB Chief Operating Officer

         Adam Martinez sent an email to all CFPB staff stating that the CFPB’s headquarters

         would close the next day and instructing “[e]mployees and contractors … to work

         remotely unless instructed otherwise from our Acting Director or his designee.”13 No

         reason was given for the closure.

                46.       On the morning of Monday, February 10, 2025, Vought sent an email

         with the subject line “Additional Directives on Bureau Activities,” reiterating that

         the CFPB’s “DC headquarters building is closed this week.” The February 10 email



                12 https://x.com/russvought/status/1888423503537360986

                13  https://www.nytimes.com/2025/02/09/us/russell-vought-consumer-bureau-
         protect-hq-close.html; see https://www.reuters.com/world/us/cfpbs-headquarters-be-
         closed-coming-week-email-says-2025-02-09/.

                                                     18

(Page 40 of Total)                                                                                  JA35
              Case 1:25-cv-00381-ABJ Document 7          Filed 02/13/25 Page 19 of 32
        USCA Case #25-5091    Document #2114200             Filed: 05/05/2025 Page 41 of 637



         directed all CFPB staff “not [to] perform any work tasks” at all and that “employees

         should stand down from performing any work task.” The email stated that “[i]f there

         are any urgent matters,” CFPB staff should “alert [Vought] through Mark Paoletta,”

         who is the Office of Management and Budget General Counsel and who was identified

         in the email as the CFPB’s Chief Legal Officer, “to get approval in writing before

         performing any work task.”

                47.   Later that day, reporters speaking with President Trump asked him to

         confirm that “his goal was to have [the CFPB] totally eliminated.” President Trump

         stated, “I would say, yeah, because we’re trying to get rid of waste, fraud, and

         abuse.”14 President Trump further stated, “[W]e did the right thing. [The CFPB] was

         a very important thing to get rid of, and it was also a waste. I mean, number one, it

         was a bad group of people running it, but it was also a waste.”15 President Trump

         reportedly “praised his administration for shutting the CFPB and used the past tense

         to describe the [CFPB].”16




                14 https://x.com/joeygarrison/status/1889132023933022283?mx=2.

                15       https://www.facebook.com/ANINEWS.IN/videos/shes-a-nasty-woman-
         trump-slams-senator-elizabeth-warren-after-her-cfpb-neutraliz/1227075188971091/;
         see also Alejandra Jaramillo, Trump confirms goal to “totally eliminate” the Consumer
         Financial      Protection    bureau,    CNN      Politics       (Feb.    10,    2025),
         https://www.cnn.com/politics/live-news/trump-doge-presidency-news-02-10-
         25/index.html (quoting President Trump).
                16 https://www.americanbanker.com/news/president-trump-confirms-his-goal-
         is-to-eliminate-the-cfpb

                                                  19

(Page 41 of Total)                                                                                JA36
              Case 1:25-cv-00381-ABJ Document 7            Filed 02/13/25 Page 20 of 32
        USCA Case #25-5091    Document #2114200               Filed: 05/05/2025 Page 42 of 637



         Defendants’ Additional Actions to Shut Down the CFPB

                48.   By email on the evening of February 11, 2025, approximately 70 CFPB

         employees who were newly hired and subject to a two-year probationary period were

         terminated.17 The email stated, “Unfortunately, the Agency finds that that [sic] you

         are not fit for continued employment because your ability, knowledge and skills do

         not fit the Agency’s current needs.”18

                49.   In the past few days, the CFPB has cancelled more than 150 vendor

         contracts. The canceled contracts reportedly include “102 vendor contracts for the

         CFPB’s enforcement division, 33 contracts linked to the director’s office, and 16

         contracts for the agency’s supervision unit.”19 The Bureau also cancelled nearly all

         contracts that underlie the consumer complaint function.

                50.   The defendants have reportedly informed the General Services

         Administration that they are terminating the lease of the CFPB’s headquarters office

         in Washington, D.C.

                51.   The defendants are also preparing to conduct another mass firing, this

         time of over 95% of the Bureau’s employees. That would make it impossible for the

         Bureau to fulfill any of its statutorily required functions.




                17   https://news.bloomberglaw.com/banking-law/cfpb-fires-70-enforcement-
         lawyers-other-probationary-employees
                18   https://news.bloomberglaw.com/banking-law/cfpb-fires-70-enforcement-
         lawyers-other-probationary-employees.
                19   https://news.bloomberglaw.com/banking-law/cfpb-cancels-more-than-100-
         million-in-contracts-amid-doge-probe.

                                                    20

(Page 42 of Total)                                                                               JA37
              Case 1:25-cv-00381-ABJ Document 7          Filed 02/13/25 Page 21 of 32
        USCA Case #25-5091    Document #2114200             Filed: 05/05/2025 Page 43 of 637



         Consequences of Defendants’ Stop-Work Orders

                52.   By freezing the CFPB’s work, the defendants have put an immediate

         halt to the CFPB’s performance of its statutorily mandated functions.

                53.   The defendants’ orders to halt work at the CFPB have had devastating

         consequences. Among countless other consequences, halting CFPB work has

         suspended oversight of the biggest banks to ensure that they comply with the law;

         pending rulemakings, including a rulemaking to stop data brokers from selling

         sensitive personal data to scammers, stalkers, and spies;20 and enforcement actions

         against institutions violating consumer financial protection laws.21

                54.   Shuttering the agency has also severely disrupted the CFPB’s consumer

         complaint operation: The hotline consumers call to submit complaints went offline,

         despite Congress’s clear command that the CFPB “establish[] a single, toll-free

         telephone number” for use in collecting complaints. 12 U.S.C. § 5493(b)(3)(A).

         Although the Bureau may now have reinstated the contractors who operate the

         hotline, the operation remains severely diminished. The CFPB cancelled the contract

         for the contractors that processed mailed-in complaints and complaints referred to

         the CFPB by other federal agencies and Congress. Complaints submitted online can’t



                20  https://www.consumerfinance.gov/about-us/newsroom/cfpb-proposes-rule-
         to-stop-data-brokers-from-selling-sensitive-personal-data-to-scammers-stalkers-
         and-spies/
                21 See Press Release, National Consumer Law Center, Unlawful Shut Down of

         Consumer Agency Endangers Working Families, Honest Businesses, and the Economy
         (Feb. 10, 2025), https://www.nclc.org/unlawful-shut-down-of-consumer-agency-
         endangers-working-families-honest-businesses-the-economy/ (identifying various
         impacted enforcement actions).

                                                  21

(Page 43 of Total)                                                                             JA38
              Case 1:25-cv-00381-ABJ Document 7           Filed 02/13/25 Page 22 of 32
        USCA Case #25-5091    Document #2114200              Filed: 05/05/2025 Page 44 of 637



         be sent to companies unless those companies are already in the CFPB’s system.

         Particularly devastating is that the Escalated Case Management Team—which

         responds to extremely time sensitive complaints, like those involving foreclosures—

         is not working. And consumers who filed complaints related to other time-sensitive

         matters—like correcting a credit report so that they can obtain a loan, or regaining

         access to a bank account after being frozen out—can’t rely on the CFPB to ensure

         they receive timely responses to their complaints, either.

                55.   The shutdown has had a similar effect on the Student Loan

         Ombudsman’s Office. The Office receives thousands of complaints a year, and its staff

         resolve hundreds of complaints each month. 2024 Annual Report of the CFPB

         Student Loan Ombudsman at 9.22

                56.   The complaints concern inaccurate billing statements, yearslong

         processing delays, inability to reach lenders to lodge complaints directly, and missing

         refunds of hundreds to tens of thousands of dollars.

                57.   The complaints are submitted through a telephone hotline, an electronic

         submission process and referrals from congressmembers and direct service

         organizations. Complaints are screened by contractors and Bureau staff before being

         routed to lenders, who are required to respond within 15 days.




                22 https://files.consumerfinance.gov/f/documents/cfpb_2024-annual-student-
         loan-ombudsmans-report_2024-11.pdf.

                                                   22

(Page 44 of Total)                                                                                 JA39
              Case 1:25-cv-00381-ABJ Document 7            Filed 02/13/25 Page 23 of 32
        USCA Case #25-5091    Document #2114200               Filed: 05/05/2025 Page 45 of 637



                58.    Because of the stop-work order, complaints are not being addressed by

         staff and not being routed to lenders, who sometimes resolve issues without the need

         for intervention from the CFPB.

                59.    The Ombudsman’s work has had profound impact on the borrowers it

         served. For instance, CFPB staff has successfully resolved complaints that involve

         schools withholding college transcripts and thereby preventing borrowers from

         pursuing employment. One borrower described the hold on her transcript as like a

         “hold on [her] life.”

                60.     Another borrower, had nearly $5,000 erroneously drawn from her

         account for a loan payment. She was given conflicting information and then told a

         refund could take 12 weeks. After lodging a complaint with the Ombudsman, she

         received a refund.

                61.    Another borrower had loans cancelled and was due a $20,000 refund.

         After contacting the lender directly and waiting nearly two years, the borrower lodged

         a complaint with the CFPB. The lender issued a refund shortly after.

                62.    Stories like this abound, and borrowers just like this will be left to the

         long delays, conflicting information, and denials of refunds that the Ombudsman’s

         office, when functioning, has helped others avoid.

                63.    These immediate consequences have already harmed each of the

         plaintiffs.

                64.    The National Treasury Employees Union’s more than 775 members at

         the CFPB face severe uncertainty and stress about their job security. Seventy CFPB



                                                    23

(Page 45 of Total)                                                                                  JA40
              Case 1:25-cv-00381-ABJ Document 7          Filed 02/13/25 Page 24 of 32
        USCA Case #25-5091    Document #2114200             Filed: 05/05/2025 Page 46 of 637



         employees, many of whom were NTEU members, have already been fired. Those who

         have not yet been fired understandably fear for their jobs. Indeed, they have good

         reason to believe a mass layoff is imminent. And given the instructions to stop work,

         they lack clarity about their job status and their ability to comply with their usual

         work obligations.

                65.   The National Consumer Law Center has already had multiple of its

         contracts with the CFPB cancelled. Those cancellations will cost NCLC thousands of

         dollars. The CFPB’s subscription to NCLC’s publication, for example, funds much of

         the organization’s publishing work. CFPB employees have also withdrawn as

         panelists from trainings organized by NCLC. And NCLC relies extensively on data

         and reports published by the CFPB. Stopping the CFPB’s work will deprive NCLC of

         this important information going forward.

                66.   Pastor Steege has, over the years, had great difficulty in attempting to

         enroll in Public Service Loan Forgiveness. In late 2024, however, the pastor sought

         help from the CFPB. After an initial meeting with the Bureau in January 2025,

         Pastor Steege was hopeful that she might finally enroll in the program, have her

         loans forgiven, and, in fact, be returned $15,000 in overpayments. She scheduled a

         follow-up meeting with the Bureau for February 10, 2025. But the night before the

         meeting Pastor Steege learned that President Trump had taken steps to shut down

         the CFPB. Then, on the morning of the scheduled meeting, CFPB staff emailed Pastor

         Steege and informed her that, “due to new guidance CFPB employees recently

         received,” the meeting was cancelled. No new meeting was scheduled, and Pastor



                                                  24

(Page 46 of Total)                                                                               JA41
              Case 1:25-cv-00381-ABJ Document 7            Filed 02/13/25 Page 25 of 32
        USCA Case #25-5091    Document #2114200               Filed: 05/05/2025 Page 47 of 637



         Steege has no reason to believe that the CFPB—with its worked indefinitely

         stopped—will ever be able to help her.

                67.   The inability to seek loan forgiveness and a refund of $15,000 would be

         a devastating consequence standing alone. But it is even more dire for Pastor Steege.

         Because of her advanced cancer diagnosis, Pastor Steege has been told she has no

         more than six months to live. She hoped to have her loans forgiven so that she would

         not burden her surviving family with her debt, and so that they could use the $15,000

         refund for basic needs after she passes. If the CFPB isn’t able to help her, Pastor

         Steege will spend her final six months in great duress, worried that she is leaving her

         family with a financial burden and without the monetary help to which they are

         entitled. And if the loan is not forgiven while she is alive her family will be forced to

         pursue a death discharge that will not provide them with the $15,000 refund.

                68.   The NAACP was actively working with the CFPB to protect NAACP

         members who live in Altadena, California. Those members have been targeted by

         predatory financial practices in the wake of the Los Angeles wildfires. The complete

         freeze on the CFPB’s work has halted that collaboration and harmed both the NAACP

         members and the NAACP itself, which now must assist its members without the

         CFPB’s assistance.

                69.   The Virginia Poverty Law Center operates a Predatory Loan Helpline

         that consumers can call when they need help with unfair and predatory loans. The

         phone number is featured prominently on the Center’s website. Because of the

         Center’s limited staffing, even the CEO helps to answer the hotline.



                                                    25

(Page 47 of Total)                                                                                   JA42
              Case 1:25-cv-00381-ABJ Document 7          Filed 02/13/25 Page 26 of 32
        USCA Case #25-5091    Document #2114200             Filed: 05/05/2025 Page 48 of 637



                70.    The Center routinely directs consumers who call the hotline to use the

         CFPB’s consumer response complaint function. It even notes this resource on the

         Center’s website.

                71.    This process takes Center staff approximately 10 minutes and gets

         timely and helpful results. In September, for example, the Center received a

         complaint about an out-of-state lender that had been claiming that it was not subject

         to Virginia law. The Center helped the consumer submit a complaint to the CFPB,

         and it quickly resulted in a reduction of the interest rate on the loan from 118% to

         36%, with a 50% reduction in payments. This is just one example of success the

         Center’s client base has seen from referrals. There are many others.

                72.    Before the CFPB’s existence, the Center used to handle these complaints

         entirely itself. It consumed far more resources to replicate what the CFPB now does

         in minutes. Because the Center’s staff is so limited, if it had to return to handling

         complaints itself, it would be unable to commit resources to other work.

                73.    The Center also uses the CFPB’s consumer response database to inform

         its work. If that database were not updated, or trustworthy, the Center would lose

         an important tool that it relies on to set its organizational priorities on what to

         advocate about and how to educate consumers.

                74.    Plaintiff CFPB Employee Association’s members include probationary

         employees who have already been fired, as well as current employees who rightly fear

         for their jobs.




                                                  26

(Page 48 of Total)                                                                               JA43
              Case 1:25-cv-00381-ABJ Document 7           Filed 02/13/25 Page 27 of 32
        USCA Case #25-5091    Document #2114200              Filed: 05/05/2025 Page 49 of 637



                                         CAUSES OF ACTION

                                             Count One
                          (Non-statutory review of official and agency action)

                75.   Plaintiffs have a non-statutory right of action to enjoing and declare

         unlawful official action that is ultra vires.

                76.   The Constitution vests executive power in the President. U.S. Const.,

         art. II, and imposes on the President a duty to “take Care that the Laws be faithfully

         executed.” U.S. Const. art. II, § 3.

                77.   The President of the United States has only those powers conferred on

         him by the Constitution and federal statutes.

                78.   Federal legislation must be passed by both chambers of Congress before

         it may be presented to the President, and, if signed, become law. U.S. Const., art. I.

         The President and Executive Branch have no authority under the Constitution to

         amend statutes unilaterally.

                79.   The CFPB was established as a federal agency by Congress by statute,

         the Dodd Frank Act, signed into law in 2010, and can be eliminated only by Congress.

                80.   Defendants’ actions to eliminate the CFPB exceed executive authority,

         usurp legislative authority conferred upon Congress by the Constitution, defendant

         Vought was not lawfully appointed, and his actions are ultra vires and should be

         enjoined.




                                                     27

(Page 49 of Total)                                                                                JA44
              Case 1:25-cv-00381-ABJ Document 7                Filed 02/13/25 Page 28 of 32
        USCA Case #25-5091    Document #2114200                   Filed: 05/05/2025 Page 50 of 637



                                                   Count Two
                                (Non-statutory review of official and agency action)

                 81.      The Constitution mandates that the President obtain “the Advice and

         Consent of the Senate” before appointing “Officers of the United States.” U.S. Const.

         art. II, § 2, cl. 2.

                 82.     The Director of the CFPB is an Officer of the United States.

                 83.     President Trump appointed Defendant Vought as acting Director

         without the advice and consent of the Senate.             Defendant Vought was neither

         nominated nor confirmed by the Senate to that position.

                 84.     President Trump purported to appoint Defendant Vought under the

         Federal Vacancies Reform Act, which allow for temporary appointments without the

         advice and consent of the Senate when the prior holder of a Senate-confirmed office

         “dies, resigns, or is otherwise unable to perform the functions and duties of the office.”

         5 U.S.C. § 3345(a).

                 85.     But President Trump fired the last Senate-confirmed Director, Rohit

         Chopra. Chopra did not die, he did not resign, and he was not unable to perform the

         functions and duties of the office. He continued to perform them until the day he was

         fired, over a week into President Trump’s term.

                 86.     The President’s appointment of Defendant Vought as Acting Director of

         the CFPB is therefore unconstitutional and Defendant Vought has no power to direct

         the agency.




                                                        28

(Page 50 of Total)                                                                                    JA45
              Case 1:25-cv-00381-ABJ Document 7           Filed 02/13/25 Page 29 of 32
        USCA Case #25-5091    Document #2114200              Filed: 05/05/2025 Page 51 of 637



                87.   Congress has provided that, when the Bureau is missing a director, the

         deputy director shall lead the agency. See 5 U.S.C. § 5491(b)(5). The deputy director,

         not Defendant Vought, therefore has the authority to exercise the Bureau’s powers.

                88.   In addition, Congress has charged the Secretary of Education, not the

         Director, with responsibility for designating the Private Education Loan

         Ombudsman. 12 U.S.C. § 5535(a). The authority to control who holds that office rests

         with the Secretary. By functionally removing the ombudsman from the office by

         prohibiting her from doing any work, Defendant Vought has exercised power of the

         Secretary without being confirmed by the Senate to do so.

                89.   Because defendant Vought was not lawfully appointed, his actions are

         ultra vires and should be enjoined.

                                            Count Three
                               (Administrative Procedure Act—706(2)(C)

                90.   Under the APA, a court shall “hold unlawful and set aside agency action

         … in excess of statutory jurisdiction, authority, or limitations, or short of statutory

         right.” 5 U.S.C. § 706(2)(C).

                91.   Defendants’ actions and intended further actions to suspend or

         terminate CFPB’s statutorily mandated activities—including by issuing stop-work

         instructions, cancelling contracts, declining and returning funding, firing employees,

         and terminating the lease for its headquarters—constitute final agency action under

         the APA.




                                                   29

(Page 51 of Total)                                                                                 JA46
              Case 1:25-cv-00381-ABJ Document 7            Filed 02/13/25 Page 30 of 32
        USCA Case #25-5091    Document #2114200               Filed: 05/05/2025 Page 52 of 637



                92.   No defendant possesses the statutory authority to require CFPB to cease

         work on the activities it is statutorily required to perform. Defendants’ actions exceed

         their statutory authority.

                                              Count Four
                                (Administrative Procedure Act—706(2)(A)

                93.   The APA authorizes this Court to hold unlawful and set aside final

         agency action that is “arbitrary, capricious, an abuse of discretion, or otherwise not

         in accordance with law.” 5 U.S.C. § 706(2)(A).

                94.   Defendants’ actions and intended further action to suspend or terminate

         CFPB’s statutorily mandated activities and to return the funding that the CFPB

         needs to sustain its operations constitute final agency actions under the APA.

                95.   Defendants’ actions were taken without notice, reasoned explanation, or

         reasonable recourse.

                96.   Defendants’ actions were arbitrary, capricious, unconstitutional, and

         not in accordance with law.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs pray that this Court:

                (A)   Declare that the defendants’ actions to dismantle the CFPB and their

         suspension of CFPB’s statutorily mandated activities are unlawful;

                (B)   Declare unlawful and set aside the defendants’ actions and intended

         further actions to dismantle the CFPB, including issuance of stop-work instructions,

         cancellation of contracts, declining and returning funding, reductions in force, firing

         of employees, and termination of the lease for its headquarters, as arbitrary,

                                                   30

(Page 52 of Total)                                                                                  JA47
              Case 1:25-cv-00381-ABJ Document 7             Filed 02/13/25 Page 31 of 32
        USCA Case #25-5091    Document #2114200                Filed: 05/05/2025 Page 53 of 637



         capricious, an abuse of discretion, or otherwise not in accordance with law under 5

         U.S.C. § 706(2)(A), contrary to constitutional right, power, privilege, or immunity

         under 5 U.S.C. § 706(2)(B), and in excess of statutory jurisdiction, authority, or

         limitations, or short of statutory right under 5 U.S.C. § 706(2)(C);

                (C)    Issue an injunction barring Defendants Vought and CFPB from

         implementing or complying with the directions to cease work absent the

         authorization of Congress;

                (D)    Order Defendants Vought and CFPB to resume immediately all

         activities that CFPB is required by statute to perform;

                (E)    Issue a temporary restraining order and preliminary injunction

         directing Defendants Vought and CFPB to cease immediately actions to cease CFPB’s

         operations;

                (F)    Award Plaintiffs their costs, reasonable attorney’s fees, and other

         disbursements as appropriate; and

                (G) Grant such other relief as the Court deems necessary, just, and proper.


          Dated: February 13, 2025                      Respectfully submitted,

          /s/ Deepak Gupta                               /s/ Wendy Liu
          Deepak Gupta (DC Bar No. 495451)              Wendy Liu (DC Bar No. 1600942)
          Robert Friedman (D.C. Bar. 1046738)           Adam R. Pulver (DC Bar No. 1020475)
          Gabriel Chess (DC Bar No. 90019245)           Allison M. Zieve (DC Bar No. 424786)
          Gupta Wessler LLP                             Public Citizen Litigation Group
          2001 K Street, NW                             1600 20th Street NW
          North Tower, Suite 850                        Washington, DC 20009
          Washington, DC 20006                          (202) 588-1000
          (202) 888-1741
                                                        Counsel for Plaintiffs
          Jennifer D. Bennett*
          Gupta Wessler LLP

                                                   31

(Page 53 of Total)                                                                                JA48
              Case 1:25-cv-00381-ABJ Document 7          Filed 02/13/25 Page 32 of 32
        USCA Case #25-5091    Document #2114200             Filed: 05/05/2025 Page 54 of 637



          505 Montgomery Street
          San Francisco, CA 94111
          (415) 573-0335

          * motion for pro hac vice
          admission forthcoming

          Counsel for Plaintiffs

          Julie M. Wilson
          General Counsel
          Paras N. Shah
          Deputy General Counsel
          Allison C. Giles
          Assistant Counsel
          National Treasury Employees Union
          800 K Street, NW, Suite 1000
          Washington, DC 20001
          (202) 572-5500

          Counsel for Plaintiff National Treasury
          Employees Union




                                                    32

(Page 54 of Total)                                                                             JA49
             Case 1:25-cv-00381-ABJ Document 14-1   Filed 02/14/25 Page 2 of 7
        USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 55 of 637




                     Exhibit 1




(Page 55 of Total)                                                                     JA50
             Case 1:25-cv-00381-ABJ Document 14-1                      Filed 02/14/25 Page 3 of 7
        USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 56 of 637




                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

           NATIONAL TREASURY
           EMPLOYEES UNION, eta!.,
                         Plaintijjs,
                v.

           RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-381-ABJ
           as Acting Director of the Consumer Financial
           Protection Bureau, et al.,

                                  Defendants.


                                  DECLARATION OF DANIELJ. KASPAR

                 I, Daniel]. Kaspar, declare as follows:

              1. I am the Director of Field Operations and Organizing at the National Treasury Employees
                 Union (NTEU). I have worked at NTEU since 2011.

              2. NTEU represents approximately 160,000 bargaining-unit employees across 37 federal
                 departments and agencies. lv'lore than 775 of our members work at the Consumer Financial
                 Protection Bureau (CFPB) . NTEU's mission is to ensure that all federal employees are
                 treated with dignity and respect, and to fight for their fair pay, benefits and working
                 conditions.

              3. As Director of Field Operations, I am responsible for overseeing NTEU's eight field offices
                 across the country. Each field office employs one National Counsel and approximately five
                 to seven field representatives. Every chapter (local) is assigned to a field office and field
                 representative. NTEU field representatives serve as chapters ' and members' first line of
                 contact with NTEU on a day-to-day basis.

              4. By virtue of my job duties, I am familiar with the details of NTEU's relationships with its
                 chapters, chapter leaders, members, and bargaining-unit employees.

              5. Our members at the CFPB have faced rapidly increasing uncertainty about their ability to
                 retain, let alone perform, their jobs. On February 3, 2025, the CFPB's Office of the
                 Director emailed the Bureau's entire staff notifying them that they were not allowed to
                 perform several basic and core agency functions "unless expressly approved by the Acting
                 Director."

              6. Members of the Department of Government Efficiency (DOGE) entered the CFPB on
                 February 6, 2025, and, by the next day, had gained access to all non-classified CFPB
                 systems. Some of these systems contain CFPB employees' personal identifying information.




(Page 56 of Total)                                                                                               JA51
             Case 1:25-cv-00381-ABJ Document 14-1                       Filed 02/14/25 Page 4 of 7
        USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025 Page 57 of 637




                 Bargaining-unit employees reasonably fear that DOGE team members or their
                 presumptive leader, Elon Niusk, will leak employees' personal information to the public,
                 leading to harassment. That fear is founded, in significant part, on Musk's proclivity to
                 using his social media site to denigrate the Bureau. On February 7, 2025, for example, he
                 posted "CFPB RIP" accompanied by a tombstone emoji to his personal X account.

              7. On February 8, 2025- without any communication with NTEU- the CFPB's just-
                 appointed Acting Director, Russell Vought, ordered CFPB staff"to 'cease all supervision
                 and examination activity," "cease all stakeholder engagement,' pause all pending
                 investigations, not issue any public communications and pause 'enforcement
                 actions.'" These are the core functions of the Bureau and nearly every bargaining-
                 unit employee performs work in support of one or more of these functions.

             8. On February 9, 2025- again without any pre- or post-implementation notice or
                consultation with the union-all staff were informed that the CFPB's \Nashington, D.C .
                headquarters would be closed from February IO until February 14. Employees were left
                uncertain because they were not directed to work but also had not been put on any type of
                leave.

              9. The next day, Februa1y I 0, Acting Director Vought halted the CFPB's work entirely,
                 writing in a message to staff: "Employees should not come into the office. Please do not
                 perform any work tasks." "[U]rgent matters" could be handled onfy with the approval of
                 the Bureau's Chief Legal Officer. "Otherwise," the email continues, "employees should
                 stand down from performing any work task."

              I 0. This stop-work order has caused enormous confusion and stress among the bargaining unit
                   and, specifically, NTEU's members. Staff inside the Bureau did not know how to
                   implement the order. Some managers told staff that the directive broadly covers all
                   activities, including individual meetings and training. Another supervisor told an employee
                   that they were not allowed to check work emails. Several CFPB employees were told to
                   shut off their laptops and not to work at all.

              11. There has also been mass confusion about how the stop-work order affects employees'
                  ability to comply with their obligations under existing laws, rules and policies. For example,
                  employees do not knovv whether, or how, to comply with imminent financial disclosure
                  deadlines or if they should seek approval for participating in the kinds of outside activities
                  they are normally allowed to do on behalf of the Bureau.

              12. CFPB attorneys are particularly concerned that they will violate their ethical obligations
                  because they are not allowed to take any action under the stop-work order unless they get
                  specific permission. For example, they wony that the stop-work order will cause them to
                  fail to obey court orders that require them to make appearances or file papers.

              13. The stop-work order has also interfered with the CFPB's internal harassment and bullying
                  policies. Complaints that were filed under those policies have not been allowed to proceed.
                  Employees have no way of knowing if those grievances-which often involve ve1y sensitive
                  matters- will ever be processed.

                                                            2


(Page 57 of Total)                                                                                                 JA52
             Case 1:25-cv-00381-ABJ Document 14-1                       Filed 02/14/25 Page 5 of 7
        USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025 Page 58 of 637




              14. Particularly given the confusion surrounding the stop-work orders, our members are afraid
                  of retaliation for even accidentally doing something that might later be considered a
                  violation. The CFPB has set up a Twitter account urging companies to report CFPB
                  employees who have purportedly violated the stop-work order. Employees are afraid that
                  companies will report employees not only for purportedly working, but out of retaliation
                  for having previously done their job of supervision or enforcement.

              15. One day after the stop-work order, on February 11, the CFPB 's acting chief human capital
                  officer sent an email to approximately 70 CFPB employees telling them that they were
                  fired.

              16. NTEU's members are profoundly affected by the CFPB's closure. The overwhelming
                  majority of the 70 fired employees were NTEU members. These members relied on their
                  continued employment at the CFPB for their livelihood and are now suddenly unemployed.

              17. :Members who are terminated will lose their health insurance and ability to pay for
                  medicine and health care. One probationary employee has serious health conditions that
                  are kept in remission by expensive medications and is already facing an $8,000 out of pocket
                  bill for medication to keep them alive. If this employee does not receive treatment according
                  to the prescribed schedule, their disease will recur, and they may develop antibodies that
                  would mean they could never use their lifesaving medication again. Other probationary
                  employees need their health insurance for chronic medical conditions and preventative
                  testing for high-risk conditions, for recovery from surgeries they recently had, or for
                  immediate fertility procedures (vvhich, if delayed, diminishes the employees' health and
                  chance of fertility).

              18. Many members will also lose health insurance coverage for their entire families. One
                  employee reports that both their spouse and their child received cancer diagnoses of
                  differing types within the last 30 days, and without medical benefits they will not be able to
                  continue with treatments or obtain necessary surgeries, which could ultimately result in
                  their deaths. Those recent diagnoses will also prevent them from being eligible for future
                  coverage for life insurance which had been established under the employee's employment
                  with CFPB, and possibly prevent them from obtaining other medical coverage.

              19. Members have relocated to ·washington, D.C. from lower cost-of-living areas to take
                  positions at the CFPB , and they now have leases and mortgages they have no way of paying.
                  Employees report being unable to afford housing in their current neighborhoods where
                  their children go to school, necessitating a move where they will need to remove their
                  children from their current schools, communities and friends. Another employee purchased
                  their first home in September 2024 and will not be able to pay their mortgage without their
                  job. Employees report that they will have no choice but to take on high-interest debt, to sell
                  their homes at a loss, or to default on financial obligations.

              20. lVIembers will face reputational harm to their careers because they were terminated from
                  federal employment, which harms their ability to obtain new jobs in the private sector.
                  Employees have already been told by private sector recruiters that there is a "stigma"

                                                            3


(Page 58 of Total)                                                                                                 JA53
             Case 1:25-cv-00381-ABJ Document 14-1                       Filed 02/14/25 Page 6 of 7
        USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025 Page 59 of 637




                 around their terminations, because the terminations vvere labeled "for cause." "For cause"
                 terminations generally must be disclosed in response to questions in job application,
                 interview, or background check processes, and they are materially damaging to employees'
                 job prospects.

             21. One terminated employee is seven months pregnant, and thus her chance of getting new
                 employment in the next several months is severely hindered. The employee submitted her
                 request for maternity leave with the CFPB before her termination. Without new
                 employment, her family will not be able to afford their mortgage. Additionally, she is risking
                 recovery time and bonding time with her new infant because soon after giving birth, she
                 will need to start looking for new employment.

             22. Multiple members at the CFPB were eligible for Public Service Loan Forgiveness (PSLF),
                 and because they have lost their federal employment, they may not be able to complete the
                 required 10 years of public service to have their student loans forgiven. One employee
                 reports that they were very close to completing ten years in government prior to their
                 termination, and because they may not find another qualifying public service job, they will
                 lose a major financial benefit upon which they were relying, even though they faithfully
                 completed the terms of the program. Even if they can secure another public service job,
                 any months they are out of work will set back their progress in making qualifying payments.

              23. Another employee reports that they were planning to take the California bar in July 2025.
                  As a result of the "for cause" termination, they now must disclose that they were dismissed
                  for cause to the California bar.

              24. Pursuant to the CFPB's ethical requirements, one employee recently divested stock
                  holdings that were intended to secure their retirement. They cannot regain those positions.
                  Because of their loss in income, they will need to use those proceeds as they search for
                  another position and will not be able to take advantage of the certificate of divestiture
                  program, which means they will lose a portion of these forced-sale proceeds to tax
                  obligations.

              25. Bargaining-unit employees who vvere not fired on February 11 remain in a precarious
                  position. Several NTEU members report being told by managers that a mass layoff of the
                  Bureau's employees will soon be announced. As I write this declaration, it appears this mass
                  firing has begun, with termination letters starting to go out on the evening of February 13,
                   2025. My understanding is that the Bureau could ultimately be shrunk down to as few as
                  five people. Members also report being told that the CFPB headquarters building lease in
                  , 1Vashington, D.C. has not been renewed. NTEU's records show that 1,050 employees are

                  assigned to the headquarters office. Those employees will face the same severe
                  consequences as individuals who have already been fired.

              26. In addition to the extraordinary harm inflicted on NTEU's members by the CFPB's
                  closure, there is direct harm to the Union. The CFPB bargaining unit is 1,054. Within the
                  bargaining unit, 776 are dues-paying NTEU members. That number continues to increase
                  daily as employees fear for their jobs.


                                                           4


(Page 59 of Total)                                                                                                JA54
             Case 1:25-cv-00381-ABJ Document 14-1                       Filed 02/14/25 Page 7 of 7
        USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025 Page 60 of 637




              27. Reductions to the CFPB's workforce will decrease the Union's dues revenue. NTEU
                  collected $569,456 in dues from CFPB members in fiscal year 2024. Even if former CFPB
                  employees remain in the Union after their termination, their dues rates will be significantly
                  reduced.

              28. Based on my experience and discussions with unions who have been through similar
                  challenges, I expect that a substantial portion of NTEU's CFPB members will not remain
                  in the Union after being fired, regardless of NTEU's efforts, offers of assistance and
                  encouragement.

          I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true and
          correct.

          Executed in Washington, D.C. on February 13, 2025.




                                                           5


(Page 60 of Total)                                                                                                JA55
             Case 1:25-cv-00381-ABJ Document 14-3   Filed 02/14/25 Page 1 of 4
        USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 61 of 637




                     Exhibit 3




(Page 61 of Total)                                                                     JA56
             Case 1:25-cv-00381-ABJ Document 14-3                  Filed 02/14/25 Page 2 of 4
        USCA Case #25-5091    Document #2114200                    Filed: 05/05/2025 Page 62 of 637


                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA

          NATIONAL TREASURY
          EMPLOYEES UNION, et al.,
                        Plaintiffs,
               v.

          RUSSELL VOUGHT, in his official capacity             Case No. 25-cv-381-ABJ
          as Acting Director of the Consumer Financial
          Protection Bureau, et al.,

                                Defendants.


                                  DECLARATION OF KEISHA D. BROSS

                I, Keisha D. Bross, declare as follows:

             1. I am the Director of Opportunity, Race, and Justice at the National Association for the

         Advancement of Colored People (“NAACP”). The statements made in this declaration are based

         on my personal knowledge and information available to me through my duties at the NAACP.

             2. The NAACP is the oldest and largest civil rights organization in the United States. Its

         mission is to achieve equality, political rights, and social inclusion by advancing policies and

         practices that expand human and civil rights, eliminate discrimination, and accelerate the well-

         being, education, and economic security of Black people and all persons of color.

             3. The NAACP was actively working with the Consumer Financial Protection Bureau

         (“CFPB”), particularly CFPB’s Natural Disaster Team, to address predatory practices for NAACP

         members who were victims of the Los Angeles wildfires in Altadena, California in 2025. The

         NAACP reached out to the Natural Disaster Team because NAACP members who were victims

         of the fires were being further victimized by the financial scams that were rampant post-fire. The

         NAACP was working with the CFPB employees to help individual members who had been

         harmed. The CFPB was helping the NAACP educate its members to avoid post-fire financial fraud.



                                                          1
(Page 62 of Total)                                                                                            JA57
             Case 1:25-cv-00381-ABJ Document 14-3                    Filed 02/14/25 Page 3 of 4
        USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 63 of 637


         And the CFPB was helping NAACP members affected by the wildfires make connections to other

         resource groups across California. All of these efforts were ongoing when the CFPB was shut down.

         The CFPB stopped helping individual fire victims. For example, although the CFPB

         communicated that it would send to the NAACP educational materials, it did not do so because of

         the shutdown.

             4. Furthermore, a member of the Natural Disaster Team was planning to fly to Los Angeles

         to help hundreds of fire victims in-person, but could not do so because of the stop-work order,

         which instructed CFPB staff to stop performing their work duties.

             5. Many victims of the Los Angeles fires were entitled to mortgage forbearance. The CFPB

         was helping to ensure that mortgage companies provided the forbearance they are required to

         provide. But absent that enforcement, the NAACP is seeing its members struggle with mortgage

         companies that refuse to provide forbearance or tack on unnecessary fees.

             6. The impact of the CFPB’s shutdown on the NAACP and its members is not limited to the

         recent fires. Shortly, before the shutdown, in 2025, the NAACP met with the CFPB to plan a state-

         by-state approach for helping NAACP members across the country. The NAACP members state

         conferences throughout the country. The NAACP had been working with the CFPB on a plan to

         provide resources to each state conference to protect members in the respective state from financial

         harm. This is especially important for older members, who are particularly vulnerable to financial

         fraud. Because of the stop-work order, the NAACP has been unable to move forward on the plan

         to work in conjunction with the CFPB to help protect these members.

             7. Before the shutdown, the NAACP regularly collaborated with the CFPB to educate

         NAACP members in other ways as well. In 2024, for example, the NAACP partnered with the

         CFPB to hold three education calls for NAACP members across the country. The calls were

         focused on housing discrimination, CFPB financial protection, and how to protect financial rights.


                                                          2
(Page 63 of Total)                                                                                              JA58
             Case 1:25-cv-00381-ABJ Document 14-3                  Filed 02/14/25 Page 4 of 4
        USCA Case #25-5091    Document #2114200                    Filed: 05/05/2025 Page 64 of 637


         CFPB Director Rohit Chopra attended one of the calls and answered direct questions from our

         members. The NAACP anticipated continuing a similar collaboration this year, but the CFPB’s

         shutdown has prevented us from doing so.

                I declare under penalty of perjury under the laws of the United States of America that the

         foregoing is true and correct.



         Executed on February 13, 2025, in Baltimore, MD.

                                                                    /s/
                                                                            Keisha D. Bross




                                                        3
(Page 64 of Total)                                                                                           JA59
             Case 1:25-cv-00381-ABJ Document 14-4   Filed 02/14/25 Page 1 of 10
        USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 65 of 637




                     Exhibit 4




(Page 65 of Total)                                                                      JA60
             Case 1:25-cv-00381-ABJ Document 14-4      Filed 02/14/25 Page 2 of 10
        USCA Case #25-5091    Document #2114200         Filed: 05/05/2025 Page 66 of 637



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

          NATIONAL TREASURY
          EMPLOYEES UNION, et al.,
                      Plaintiffs,
              v.

          RUSSELL VOUGHT, in his official
                                                     Case No. 25-cv-381-ABJ
          capacity as Acting Director of the
          Consumer Financial Protection
          Bureau, et al.,

                            Defendants.


                              DECLARATION OF ERIE MEYER

                I, Erie Meyer, declare the following under penalty of perjury:

                1.   I served as the Chief Technologist and Senior Advisor to the

         Director at the Consumer Financial Protection Bureau from October 2021

         until February 7, 2025, when I resigned. Prior to my most recent position, I

         served as a founding member of the Technology and Innovation Unit at the

         Bureau from March 2011 to September 2013. Based on that work, I have

         personal knowledge of numerous aspects of the Bureau’s work.

                2.   That includes how the Bureau’s Consumer Response and

         Education Division works. As a Senior Advisor, my portfolio included the

         work of Consumer Response.

                3.   Consumer Response was established to provide consumers with a

         way to lodge complaints that the Bureau then monitors and ensures receive a

         timely and appropriate response from the company that is the subject of the


                                                1
(Page 66 of Total)                                                                         JA61
             Case 1:25-cv-00381-ABJ Document 14-4      Filed 02/14/25 Page 3 of 10
        USCA Case #25-5091    Document #2114200         Filed: 05/05/2025 Page 67 of 637



         complaint. The Bureau also posts for public consumption a database of

         complaints. Both Bureau staff and contractors perform different aspects of

         this work.

                 4.   The Bureau receives consumer complaints about everything

         from credit reporting to debt collection to imminent foreclosures.

                 5.   For example, consumers often file credit reporting complaints

         when they are seeking a car or home loan, and false credit reporting is

         preventing them from getting that loan. These complaints are frequently

         very time-sensitive because the consumer’s home purchase will fall through

         if they cannot get a mortgage in time or because they urgently need a car to

         get to work or drive their kids to school, which they cannot get without a car

         loan.

                 6.   The majority of complaints about debt collection are about

         attempts to collect debt not owed. Medical debt, for example, can be riddled

         with errors, involve many parties (the medical provider, the insurance, the

         debt collector, a credit reporting agency, etc.), and consumers often report

         getting the runaround in nailing down the facts between those parties. Again,

         debt collection complaints can be quite time-sensitive because absent

         resolution, they can     result in negative credit reporting, which impedes

         consumers’ ability to rent an apartment, get a mortgage, or buy a car.

                 7.   Most complaints about mortgages are focused on trouble during

         the payment process, specifically successfully submitting payment. There


                                               2
(Page 67 of Total)                                                                         JA62
             Case 1:25-cv-00381-ABJ Document 14-4      Filed 02/14/25 Page 4 of 10
        USCA Case #25-5091    Document #2114200         Filed: 05/05/2025 Page 68 of 637



         have been outages, security issues, and other system problems at mortgage

         servicing companies that have left consumers in a lurch. If the problem is not

         resolved in time with the help of a complaint, the consumer can receive

         negative information on their credit reports for something beyond their

         control. Those credit report errors are extremely hard to prove without the

         documentation that comes from a timely complaint submitted when the

         system error occurred.

                  8.    Additionally, consumers who are filing complaints about

         foreclosures typically have worked with their servicer and come to a dead

         end. This is a last effort to get to the bottom of what is going on with their

         mortgage and save their home. Those complaints being delayed or stuck can

         devastate a family who is forced to leave a home they should not be forced to

         leave.

                  9.    Consumer Response accepts complaints online, by phone, by

         mail, by referral from other agencies (including OCC, FDIC, NCUA, and the

         White House), and by referral from members of Congress.

                  10.   It is common for members of Congress to refer complaints to

         Consumer Response, and this happens daily when constituents call

         congressmembers seeking help with consumer financial issues. There is no

         other mechanism in place for Congressmembers to seek help from the

         Bureau for constituents.




                                               3
(Page 68 of Total)                                                                         JA63
             Case 1:25-cv-00381-ABJ Document 14-4      Filed 02/14/25 Page 5 of 10
        USCA Case #25-5091    Document #2114200         Filed: 05/05/2025 Page 69 of 637



                 11.   Consumer Response receives on average approximately 350,000

         complaints per month. That number is sometimes higher: In January 2025, it

         was approximately 500,000.

                 12.   When a complaint is filed, it is sent to the company about whom

         the complaint was lodged. That company is generally required to respond

         within 15 days. And it must report its response to the CFPB.

                 13.   Although many complaints are sent automatically to companies,

         many require the intervention of CFPB staff or contractors. For example, if a

         complaint is filed about a company that is already listed in the CFPB’s

         consumer complaint system, the complaint can be automatically routed to

         the company for a response. But if the company is not yet listed, a CFPB

         employee must onboard        the company to the Consumer Response system

         before the complaint can be processed. Similarly, if a consumer mistypes the

         name of a company or inputs the company’s name in a way that does not

         match the company’s name in the system, a CFPB employee or contractor

         must process the complaint.

                 14.   If a consumer files a complaint but does not have an email

         address, a contractor      must communicate with the consumer via postal

         mail.

                 15.   Additionally, there is no automated processing for complaints

         lodged through the Bureau’s hotline, made by referral, or sent in through the




                                                4
(Page 69 of Total)                                                                         JA64
             Case 1:25-cv-00381-ABJ Document 14-4      Filed 02/14/25 Page 6 of 10
        USCA Case #25-5091    Document #2114200         Filed: 05/05/2025 Page 70 of 637



         mail. A CFPB employee or contractor is required to process each of these

         complaints.

                16.     Only CFPB employees can make determinations on which

         companies to onboard to the system. Contractors work on how to route

         referrals or more complex complaints. This means that even with a work

         stoppage of a few days, thousands of consumers are stuck in limbo. Not only

         will they not get help or answers on their complaints; other law enforcement

         agencies that depend on information from the CFPB’s database will not have

         access to that information.

                17.    In addition to the CFPB employees and contractors that process

         complaints, CFPB employees also help ensure that complaints get a response

         —and facilitate      resolution of many complaints. For example, there is a

         team of CFPB employees that monitors whether companies provide timely

         responses and can contact the companies if they don’t. There is an Escalated

         Case Management Team that helps consumers who, for example, are subject

         to imminent foreclosure and, more generally, helps facilitate complaint

         resolution when a company fails to respond or when its response is

         inadequate. The Escalated Case Management Team          handles roughly     a

         thousand complaints a year.

                18.    Consumer Response also monitors the complaint database and

         brings companies to the attention of the enforcement division for potential

         investigation.


                                               5
(Page 70 of Total)                                                                         JA65
             Case 1:25-cv-00381-ABJ Document 14-4      Filed 02/14/25 Page 7 of 10
        USCA Case #25-5091    Document #2114200         Filed: 05/05/2025 Page 71 of 637



                19.   Filing a complaint with the CFPB is often successful in resolving

         consumers’ issues. Indeed, the Bureau frequently gets reports that filing a

         complaint with the CFPB was the only thing that successfully stopped false

         credit reporting or halted an erroneous foreclosure, despite the consumer

         having previously tried themselves to solve the problem directly with the

         company.

                20.   When the Consumer Response department is operating,

         consumers receive a response in 15 days or less in 98 percent of complaints

         sent to the company.

                21.   Consumer complaints are often urgent to the consumer,

         regardless of whether they go to the Escalated Case Management Team.

                22.   For example, the majority of complaints filed relate to consumer

         credit reports, and most people do not become aware of an error on their

         reports—and thus lodge a complaint—until they are trying to secure a loan.

                23.   Another example is consumers who lose access to their accounts

         via “debanking”—when a consumer is denied access to their account —and

         face banks unwilling to work with them to restore the accounts or address

         what happened. Consumer Response is often the only resource available for

         them to get more information or re-access their accounts.         Consumers

         otherwise have no access to their accounts and no information about what

         went wrong.




                                               6
(Page 71 of Total)                                                                         JA66
             Case 1:25-cv-00381-ABJ Document 14-4      Filed 02/14/25 Page 8 of 10
        USCA Case #25-5091    Document #2114200         Filed: 05/05/2025 Page 72 of 637



                24.   Consumers who complain about payday loans are primarily

         reporting that there are fees or interest they didn’t expect. Consumers who

         use payday loans typically do not have other options available to them, and

         are experiencing severe liquidity issues. Unexpected charges, and not being

         able to submit a complaint, for a person in this situation can mean not having

         enough bus fare to make it to work on time and losing a job, skipping or

         rationing medications that are dangerous to skip or ration, or losing a badly-

         needed childcare slot due to insufficient funds.

                25.   In the past week, Russel Vought directed Bureau staff to stop all

         work. I understand that not only have all Bureau employees been ordered to

         stop working, but all contracts for the companies that provide the

         infrastructure and the additional workforce        needed to staff Consumer

         Response were cancelled.

                26.   That means that the Escalated Case Management team is not

         working—and therefore nobody is helping consumers with imminent

         foreclosures or to facilitate other time-sensitive complaint resolution when

         the company does not adequately respond. Complaints submitted online

         about companies that are not already in the system or where the company

         name inputted by the consumer does not match the one in the system are not

         being processed at all. Nobody is reviewing the mail to process mailed-in

         complaints or referrals, no one is processing referrals from agencies or

         Congress, and no one is sending mail to complainants without email


                                                7
(Page 72 of Total)                                                                         JA67
             Case 1:25-cv-00381-ABJ Document 14-4      Filed 02/14/25 Page 9 of 10
        USCA Case #25-5091    Document #2114200         Filed: 05/05/2025 Page 73 of 637



         addresses. By now, there are likely thousands of complaints that have gone

         unprocessed. In addition, no one is monitoring company response times to

         the complaints that continue to be forwarded automatically online, ensuring

         that companies respond at all to those complaints, or bringing companies to

         the attention of the enforcement division.

                27.   The hotline normally available for people to lodge complaints

         from 8:00 a.m. to 8:00 p.m. was down for the first time since we launched the

         CFPB without anyone able to work on the continuity of operations plan that

         this mission essential function requires. And this happened on a day it should

         have been open and was no longer accepting complaints. Although I

         understand that there is some possibility that this contract—and only this

         contract—has been un-terminated, that limited restoration would still leave

         Consumer Response non-functional.

                28.   Even the automated complaint forwarding is likely to break

         down soon. CFPB employees that manage the data pipeline for automated

         forwarding have been ordered to stop work. Contractors are responsible for

         continuously managing the functionality of the online system that

         consumers use and that takes on more than a million      complaints a year. I

         understand that that contract, too, was cancelled. Without regular

         maintenance of that system, it will cease to function and crash.

                29.   When I reviewed the complaints database the evening of February

         13, the most recent complaint posted is from January 29. That is a change


                                               8
(Page 73 of Total)                                                                         JA68
            Case 1:25-cv-00381-ABJ Document 14-4        Filed 02/14/25 Page 10 of 10
        USCA Case #25-5091    Document #2114200          Filed: 05/05/2025 Page 74 of 637



         from earlier today when the database showed complaints from February.

         This means that the system is already experiencing a significant error and

         likely breaking down.

                I declare under penalty of perjury under the laws of the United States of

         America that the foregoing is true and correct.

         Executed on February 13, 2025                                /s/
                           ________________
                                                                Erie Meyer




                                                9
(Page 74 of Total)                                                                          JA69
             Case 1:25-cv-00381-ABJ Document 14-5   Filed 02/14/25 Page 1 of 7
        USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 75 of 637




                     Exhibit 5




(Page 75 of Total)                                                                     JA70
             Case 1:25-cv-00381-ABJ Document 14-5               Filed 02/14/25 Page 2 of 7
        USCA Case #25-5091    Document #2114200                 Filed: 05/05/2025 Page 76 of 637



                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

          NATIONAL TREASURY
          EMPLOYEES UNION, et al.,
                       Plaintiffs,
              v.
                                                            Case No. 25-cv-381-ABJ
          RUSSELL VOUGHT, in his official
          capacity as Acting Director of the
          Consumer Financial Protection Bureau,
                              Defendants.


                                  DECLARATION OF JAMES SPEER

         I, James Speer, declare as follows:

                1.     I am the Chief Executive Officer of the Virginia Poverty Law Center (VPLC).

         I am also a consumer rights attorney. The statements made in this declaration are based

         on my personal knowledge and information available to me through my duties at VPLC.

                2.     VPLC is a 501(c)(3) nonprofit organization that since 1978 has worked to

         break down systemic barriers that keep low-income Virginians in the cycle of poverty

         through advocacy, education, litigation, and direct counseling and referral services.

                3.     At VPLC, we organize our work into three centers, one of which is the Center

         for Economic Justice. The Center seeks to ensure that consumers’ rights—and in particular

         the rights of those living in low-income households—are respected and protected when

         those consumers shop for and use necessary products and services from credit unions,

         banks, loan companies, rental companies, and many others.

                4.     VPLC’s work on consumer issues is central to our mission and takes a

         number of forms.

                                                      1

(Page 76 of Total)                                                                                    JA71
             Case 1:25-cv-00381-ABJ Document 14-5               Filed 02/14/25 Page 3 of 7
        USCA Case #25-5091    Document #2114200                 Filed: 05/05/2025 Page 77 of 637



                5.     One part of our consumer work is advocating for fairer laws in the state

         legislature. During the last General Assembly session, for example, we were able to stop

         legislation that unfairly limited Virginians’ access to unemployment benefits.

                6.     We also do everything we can to get legal information about consumer issues

         to those who need it most. For example, we conduct regular training workshops on

         consumer-related issues for attorneys who are new to the legal aid network or who are

         doing pro bono work for legal aid clients.

                7.     We also partner with credit unions and credit-counseling agencies to provide

         information and training directly to diverse groups, including low-income men and women,

         the elderly, and youth in foster care. We train them on financial literacy and developing

         strong financial practices such as learning how to save and to avoid predatory loans.

                8.     VPLC takes other steps too to help people to deal with problems like those

         arising from predatory loans or debt collection. For example, we field phone calls and other

         inquiries from consumers nearly every day seeking help with these issues. Where we can

         offer guidance or point them to relevant information, we do so. Where appropriate, we

         help connect them with legal representation.

                9.     For many years, VPLC has operated a Predatory Loan Helpline that

         consumers can call when they run into problems with unfair and predatory loans. The

         phone number is featured prominently on our website. I frequently answer the helpline

         myself.

                10.    We routinely direct people calling the helpline or who otherwise contact us

         to file a complaint about their issue with the Consumer Financial Protection Bureau. We

                                                      2

(Page 77 of Total)                                                                                      JA72
             Case 1:25-cv-00381-ABJ Document 14-5               Filed 02/14/25 Page 4 of 7
        USCA Case #25-5091    Document #2114200                 Filed: 05/05/2025 Page 78 of 637



         even provide a link to the CFPB's website on the “consumer advocacy” page of our website,

         and tell consumers they can go there to file complaints. When needed, we will help them

         to file the complaint.

                11.    Especially compared to other options like fighting directly with the debt

         collector or lender, or going to litigation, filing a complaint with CFPB is easy. It costs

         nothing and can usually be completed in less than 10 minutes.

                12.    Filing a complaint with CFPB can get real and immediate results too. To give

         one example: Last September, I got a call from a woman with a car title loan made by a

         predatory lender that allegedly was partnering with a Utah bank and therefore felt they

         could ignore Virginia state law. I advised her to file a complaint with CFPB. CFPB shared

         the complaint with the lender and the FDIC. The lander denied any wrongdoing but

         lowered her interest rate from 118% to 36% and cut her payments in half and saved her

         car from repossession.

                13.    One reason we tell folks to file CFPB complaints is that they can file once and

         it will be shared with the appropriate state attorney general’s office and any other relevant

         federal agency to avoid having to file multiple complaints for the same issue with all the

         pertinent entities. Also, filing a complaint routes the complaint to the company and forces

         it to acknowledge and respond.

                14.    In short, being able to refer people to the CPFB complaint system and help

         them file complaints that can get them real results is a very important tool we have in our

         work directly counseling people on consumer issues. These complaints don’t just go into



                                                      3

(Page 78 of Total)                                                                                       JA73
             Case 1:25-cv-00381-ABJ Document 14-5               Filed 02/14/25 Page 5 of 7
        USCA Case #25-5091    Document #2114200                 Filed: 05/05/2025 Page 79 of 637



         the circular file—they are an important way we can help people get solutions that put them

         in a better situation than they were before.

                15.    My understanding is that the CFPB’s complaint system and hotline were

         entirely down for the entire day yesterday as a result of the cancellation of the CFPB’s

         contract with the vendor. If the complaint system goes away entirely or becomes so

         unreliable that it cannot be depended upon, it will make fulfilling our consumer-protection

         mission much harder. I can remember answering our helpline before CFPB and the

         complaint database even existed. Handling the same types of consumer complaints then

         consumed far more resources of my limited staff than it does today because there was no

         option then to quickly and easily file a complaint that we could count on to reach the right

         people.

                16.    Going back to those days would require VPLC to devote more time, and

         ultimately money, just to be able to deliver the same help we can now. Especially compared

         to big banks and other financial companies, we have limited resources, and any time spent

         making up for the loss of the CFPB complaint tool would be time not spent on other work.

         To replicate what the complaint tool does—sending the complaint to the company, backed

         by a federal agency and with a deadline to respond, while also sending it to other state and

         federal agencies that may be able to help—would be difficult if not impossible and would

         strain our already limited resources.

                17.    The same goes for if the complaint system were to be compromised in some

         way where we couldn’t trust that people’s information would remain safe. It’s generally

         necessary when submitting a complaint to provide information so the company can identify

                                                        4

(Page 79 of Total)                                                                                      JA74
             Case 1:25-cv-00381-ABJ Document 14-5               Filed 02/14/25 Page 6 of 7
        USCA Case #25-5091    Document #2114200                 Filed: 05/05/2025 Page 80 of 637



         you and your accounts. This can include private personal information and things like

         account numbers.

                19.    I could not in good conscience tell people to send their private personal and

         financial information to a system that others could then use to exploit them. A lot of the

         callers to our Predatory Loan Helpline called about fraudulent debt collection. We soon

         discovered that the internet lenders were selling their information and then the fraudsters

         used it to appear to be collecting a loan they had actually made. This is the same type of

         information that is in the CFPB database that could be exploited if not protected.

                20.    We use the complaint system to help people in others way too. CFPB gives

         people the option to make public redacted versions of their complaints, which you can

         access on the CFPB’s website. When someone comes in with an issue, that online database

         allows us to look up the same issue and even the same company to see whether the problem

         is widespread. That information helps us not only to assist the person with their own

         complaint, it helps us to understand bigger picture issues so we can focus our other

         consumer-protection efforts, like on advocacy and education, where they’re needed most.

                21.    While the FTC and state attorneys general accept consumer complaints, they

         don’t offer any similar way for the public to see what has been submitted. In other words,

         if the CFPB complaint system went away or became compromised or manipulated in some

         way we could no longer trust, there would be no way to substitute for that lost information.

                22.    I have read reports about so-called “DOGE” staffers at CFPB. I do not trust

         that these people know or care to follow the law or that they will do anything to protect the

         communities we serve from being taken advantage of.

                                                      5

(Page 80 of Total)                                                                                       JA75
             Case 1:25-cv-00381-ABJ Document 14-5               Filed 02/14/25 Page 7 of 7
        USCA Case #25-5091    Document #2114200                 Filed: 05/05/2025 Page 81 of 637



                23.    An important part of our work is education. That includes both education of

         other legal aid staff around the state, other nonprofits and agencies that advocate for

         consumers, and the public. Whenever we receive information from the CFPB about trends

         or widespread illegal activities that they have discovered through their consumer complaint

         process, we share that information with our network and the public. It would be extremely

         time-consuming and likely impossible for us to get this information and recognize these

         dangers if we did not have access to the consumer complaint database.

                24. CFPB has become such an integral part of the advocacy and education work we

         do. Without the CFPB complaint system and the educational tools we would likely be

         forced to hire additional staff or divert another staff member’s time to provide our current

         level of consumer service.

             I declare under penalty of perjury under the laws of the United States of America that

         the foregoing is true and correct.

         Executed on February 13, 2025, in Richmond, VA.

                                                                 /s/ James Speer
                                                                 ___________________________________

                                                                  James Speer




                                                      6

(Page 81 of Total)                                                                                      JA76
             Case 1:25-cv-00381-ABJ Document 14-6   Filed 02/14/25 Page 1 of 19
        USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 82 of 637




                     Exhibit 6




(Page 82 of Total)                                                                      JA77
             Case 1:25-cv-00381-ABJ Document 14-6                   Filed 02/14/25 Page 2 of 19
        USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 83 of 637



                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA


          NATIONAL TREASURY
          EMPLOYEES UNION, et al.,
                        Plaintiffs,
                 v.


          RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-381-ABJ
          as Acting Director of the Consumer Financial
          Protection Bureau, et al.,


                                 Defendants.




                                  DECLARATION OF RICHARD DUBOIS

         I, Richard Dubois, declare:

                1.      I am the Executive Director at the National Consumer Law Center (NCLC), and

         have held this position since 2016. Prior to becoming the Executive Director, I served as the

         Deputy Director and Director of Development and Project Planning, as well as a staff attorney at

         NCLC. I have been with the organization for 27 years. I have personal knowledge of the matters

         set forth herein and could and would testify competently about them if called upon to do so. This

         Declaration identifies and describes the harm that the recent shut down of the Consumer

         Financial Protection Bureau (CFPB) has had and will have on the work, operations, and budget

         of NCLC.

                2.      NCLC is a non-partisan, nonprofit organization governed by a volunteer national

         board of directors that has included a past president of the American Bar Association, a former



                                                          1

(Page 83 of Total)                                                                                           JA78
             Case 1:25-cv-00381-ABJ Document 14-6                    Filed 02/14/25 Page 3 of 19
        USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 84 of 637



         Arizona Solicitor General, as well as bar association representatives and clients for low-income

         communities.

                3.      Since 1969, NCLC has used its expertise in consumer law and energy policy to

         work for consumer justice and economic security for low-income and other disadvantaged people

         in the United States. NCLC’s expertise includes policy analysis and advocacy; consumer law and

         energy publications; litigation; expert witness services; and training and advice for advocates.

         NCLC works with nonprofit and legal services organizations, private attorneys, policymakers,

         and federal and state government and courts across the nation to stop exploitative practices, help

         financially stressed families build and retain wealth, and advance economic fairness. NCLC

         publishes a 21-book series of manuals on all major aspects of consumer law, which it updates

         regularly. It also conducts multiple training sessions nationally on consumer law for attorneys,

         paralegals, and other counselors.

                4.      Since the CFPB was created, NCLC has relied on its work to further its mission.

         As described in more detail below, NCLC depends on the research, reports, consumer complaint

         database, trainings, and staff at the CFPB as essential resources to support NCLC’s core work.

                5.      These resources support NCLC’s financial well-being and ability to operate,

         including by ensuring that NCLC’s paid publications and trainings are well-informed and backed

         by expertise and data. The resources provided by the CFPB also enable NCLC to produce

         quality advice, support, and free materials that enable NCLC to obtain financial support from

         foundations and donors.

                6.      On February 8, 2025, newly appointed CFPB Acting Director Russell Vought

         ordered all work at the CFPB to cease, including issuing a directive to CFPB staff not to issue

         public communications of any type, including publication of research papers and compliance

         bulletins, not to approve or execute any material agreements, including relating to contractors

                                                          2

(Page 84 of Total)                                                                                            JA79
             Case 1:25-cv-00381-ABJ Document 14-6                    Filed 02/14/25 Page 4 of 19
        USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 85 of 637



         and to cease all stakeholder engagement. A true and correct copy of the email from Acting

         Director Vought, obtained from Philip Melanchthlon Wegmann (@PhilipWegmann), X,

         https://perma.cc/4KLT-C9M6, is attached as Exhibit 1. On February 11, 2025, President Trump

         confirmed his goal of eliminating the CFPB. Kate Berry, President Trump confirms his goal is to

         eliminate the CFPB, Am. Banker, Feb. 11, 2025, https://perma.cc/FYB5-QNHS (video at 1:26).

                7.      The impact of Acting Director Vought’s directives on NCLC was immediate. On

         February 11, 2025, NCLC received a Stop Work Order relating to its contract with the CFPB for

         subscription to NCLC’s publications. A true and correct copy of the February 11, 2025, Stop Work

         Order is attached as Exhibit 2. On February 12, 2025, NCLC received a second mail with a

         subject line, “Termination for Convenience of the Government,” from the Bureau of Fiscal

         Service on behalf of the CFPB, notifying NCLC that the CFPB “…hereby terminates in its

         entirety the subject contract, effective 02/12/2025,” and instructing NCLC to take various

         actions. A true and correct copy of the “Termination for Convenience of the Government,”

         email is attached as Exhibit 3 (emphasis in original). The CFPB has been a subscriber to

         NCLC’s manuals for more than a decade. The CFPB’s contract is the largest single publications

         contract for NCLC and significant assists in funding NCLC’s publications work.

                8.      This week, the CFPB canceled a training contract with NCLC. NCLC entered

         into a contract with the CFPB on January 30, 2025, under which the CFPB would pay NCLC

         $10,000 for a three-part training series for CFPB staff, which was scheduled to begin on

         Wednesday, February 12, 2025, and end on June 18, 2025. A true and correct copy of the contract

         letter dated January 30, 2025 is attached as Exhibit 4. The CFPB canceled the training on

         Monday, February 10, 2025, after NCLC staff already spent time organizing and preparing a

         presentation for the training. The CFPB has paid $2,760 of the total contract price, which NCLC

         may have to refund if the training series is canceled entirely, and NCLC will lose the balance of

                                                           3

(Page 85 of Total)                                                                                           JA80
             Case 1:25-cv-00381-ABJ Document 14-6                    Filed 02/14/25 Page 5 of 19
        USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 86 of 637



         the contract funds it was set to receive if the remainder of the training is canceled. Other

         trainings also have been impacted. For example, a NCLC staff member organized a training for

         the Practicing Law Institute to take place on March 13 and 14, 2025, which included CFPB staff

         members as panelists. She and others now need to substitute themselves in for the absent CFPB

         the panelists, and spend time to prepare to do these presentations.

                9.      NCLC’s comprehensive digital treatise series is intertwined with CFPB website

         materials. All of NCLC’s treatises link extensively to CFPB materials on the CFPB’s website. If

         the CFPB’s website is scrubbed or ceases to exist, NCLC’s staff will need to spend considerable

         time and effort replacing all of these links. NCLC will either have to link to archive.org or

         download all the material from that website and host it as companion material. Over time, much

         of this material will go out of date and not be replaced by updated CFPB resources.

                10.     NCLC relies heavily on CFPB publicly available resources and data to support its

         work, including writing NCLC’s reports and manuals, and developing advocacy initiatives.

         These resources include periodic CFPB reports, its consumer complaint database and the

         materials to which the CFPB provides access online, including its regulations and their

         commentary. This work is core to NCLC’s mission and a significant amount of NCLC’s

         fundraising efforts go to support this work.

                11.     By way of example, with respect to NCLC’s manuals, NCLC uses the CFPB’s

         annual Fair Debt Collection Practices (FDCPA) report and the CFPB’s bi-annual report on the

         credit card market (which the CFPB is required to publish pursuant to the CARD Act of 2009

         and is next due to be published in 2025) for its FDCPA and other manuals. NCLC relies on the

         CFPB’s Supervisory Highlights for NCLC’s Consumer Banking & Payments Law manual,

         among others. The CFPB periodically implements the inflation adjustment for certain dollar



                                                           4

(Page 86 of Total)                                                                                         JA81
             Case 1:25-cv-00381-ABJ Document 14-6                   Filed 02/14/25 Page 6 of 19
        USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 87 of 637



         figures in TILA (i.e., for the scope of consumer credit covered) and other statutes, and NCLC

         includes those adjustments in its manuals.

                12.     NCLC also relies on the CFPB’s publicly available complaint database to draft its

         reports. Some examples of NCLC’s reports that have used the complaint database include,

         “Digital Denials,” (2023) available at, https://perma.cc/7DLL-QHWT, “Unfair Debts With No

         Way Out: Consumers Share Their Experiences With Rental Debt Collectors” (2022), available at

         https://perma.cc/Y7D9-52YN, and “Automated Injustice Redux,” (2019), available

         at https://perma.cc/5WHE-63FT.

                13.     NCLC also uses the complaint database to develop training materials for its

         conferences. For example, for NCLC’s most recent national Consumer Rights Litigation

         Conference held in October 2024, NCLC staff used the complaint database to provide examples

         of mortgage servicer abuses for one of its panels. This is just one example. NCLC staff frequently

         uses the complaint database for this reason, in presentations, seminars and in providing guidance

         to other advocates that rely on NCLC’s work.

                14.     If Acting Director Vought’s stop work orders to CFPB staff continue and/or the

         CFPB is permanently shuttered, NCLC will lose access to essential resources upon which it has

         relied to do its core work. NCLC will not be able to inform those who rely on it on current trends

         in consumer issues and, as a result, its work supporting other advocates and, ultimately,

         supporting consumers will be detrimentally impacted.

                15.     In addition to what NCLC has lost and stands to lose, NCLC’s work will increase

         in the absence of the CFPB, including by organizing more trainings and publishing more written

         materials such as issue briefs. Without the CFPB engaging in oversight and enforcement and

         administering its consumer complaint function, the private bar and legal services community will

         see a dramatic increase in need from consumers, which will lead to a strain on its one-on-one

                                                          5

(Page 87 of Total)                                                                                            JA82
             Case 1:25-cv-00381-ABJ Document 14-6                    Filed 02/14/25 Page 7 of 19
        USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 88 of 637



         intake and support of these legal service providers. NCLC will have to engage in dramatically

         increased advocacy in the states to fill the gaps left by elimination of federal consumer protection

         resources, and redirect our other advocacy to multiple agencies and litigation that would

         otherwise not be necessary.

                I declare under penalty of perjury under the laws of the United States of America that the

         foregoing is true and correct.

         February 13, 2025                                     s/Richard Dubois
                                                               Richard Dubois, Executive Director
                                                               National Consumer Law Center




                                                          6

(Page 88 of Total)                                                                                              JA83
           Case 1:25-cv-00381-ABJ Document 14-6   Filed 02/14/25 Page 8 of 19
      USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 89 of 637




                          Exhibit 1




(Page 89 of Total)                                                                JA84
           Case 1:25-cv-00381-ABJ Document 14-6   Filed 02/14/25 Page 9 of 19
      USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 90 of 637
         Dear Colleagues,                                        EExhibit 1
         Ta1n honored that President Trun1p dcsignali:d inc as
         .i\cting Director of the □ ureau on February 7, 2025.
         J\s ,\cting Director, I an1 con1n1itted to in1plen1enting
         the President's policies, consistent with the !av.-·, and
         acting as a faithful ste,vard of the Bw·eau 's
         resources. To that end, I m11 directing that, effective
         in1n1ediately, unless expressly approved by the
         .!\cling Direr:tor or required by la\\', all employees,
         contractors, and other personnel of the □ ureau shall:


               • Not approve or issue any proposed or Jina!
                     1ules or forn1al or informal guidance.
               • Suspend the effective dates of all final rules
                     that have been issued or published but that
                     have not yet become elTer:tive
               • Not con11nence, take additional investigative
                     activities related to, or settle enforcen1ent
                     actions.
               • Not open tu1y nev.-· investigation in any
                     1nanner, and cease any pending investigations.
               • ]\Tot issue public con1n1unications of any type,
                     inr:luding publication of research papers and
                     con1pliancc bulletins .
(Page 90 of Total)                                                                JA85
          Case 1:25-cv-00381-ABJ Document 14-6   Filed 02/14/25 Page 10 of 19
      USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 91 of 637




         • Not approve or execute any 1naterial
              agree1nents, including related to e1nployee
              n1atters or contractors.
         • Not 111ake or approve filings or appearances by
               the Bureau in any litigation, other than to seek
              a pause in proceedings.
         • ('ease all supervision and exar11ination
              activity.
         • ('ease all stakeholder engagen1ent.


   If you have any questions, please raise issues
   through your existing 1nanage111ent for co11sideration
   by the Acting Director.


   Tl1ank you.


   Russell T. Vought



(Page 91 of Total)                                                               JA86
            Case 1:25-cv-00381-ABJ Document 14-6   Filed 02/14/25 Page 11 of 19
        USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 92 of 637




                           Exhibit 2




(Page 92 of Total)                                                                     JA87
               Case 1:25-cv-00381-ABJ
2/12/25, 9:09 AM                             Document
                                  National Consumer         14-6
                                                    Law Center           Filed
                                                               Mail - Stop       02/14/25
                                                                           Work Notice              Page 12 of 19
                                                                                       - Contract 20343021C00006
           USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025               Page 93 of 637
 I  I              National
 NCLC              Consumer Law
                   Center
                                                                                                         Katie Eelman <keelman@nclc.org>
 I           I
  Stop Work Notice - Contract 20343021C00006
  Braden K. Sanner <braden.sanner@fiscal.treasury.gov>                                Tue, Feb 11, 2025 at 10:27 PM
  To: "keelman@nclc.org" <keelman@nclc.org>
  Cc: "Jawad.Syedain@cfpb.gov" <Jawad.Syedain@cfpb.gov>, Kathy Sanders <Kathy.Sanders@cfpb.gov>


     Good Evening,



     You might have received a blanket Stop Work Order from the Consumer Financial Protection Bureau (CFPB), Office of
     Finance and Procurement yesterday, 02/10/2025. Please note that this is your official notice, in accordance with FAR
     52.242-15, with instruction to stop work on the subject contract immediately, incurring no additional costs, until otherwise
     instructed by the Contracting Officer. Fiscal Service Procurement will follow up if there are any additional changes in
     direction. This notice is effective immediately, 02/11/2025.



     Please confirm receipt of this email as soon as possible.



     Braden K. Sanner
     Supervisory Contracting Officer

     Bureau of the Fiscal Service

     braden.sanner@fiscal.treasury.gov

     304-480-7858




(Page 93 of Total)                                                                                                                       JA88
https://mail.google.com/mail/u/0/?ik=c603e04c6b&view=pt&search=all&permmsgid=msg-f:1823820621020077020&simpl=msg-f:1823820621020077020      1/1
            Case 1:25-cv-00381-ABJ Document 14-6   Filed 02/14/25 Page 13 of 19
        USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 94 of 637




                           Exhibit 3




(Page 94 of Total)                                                                     JA89
I  I          Case 1:25-cv-00381-ABJ Document 14-6
                  National                                                Filed 02/14/25 Page 14 of 19
NCLC Consumer
      USCA Case #25-5091
                  Center
                             Law
                                Document #2114200                                    Shennan Kavanagh
                                                                           Filed: 05/05/2025    Page <skavanagh@nclc.org>
                                                                                                      95 of 637
I             I
Fwd: Termination for Convenience of the Government – Contract 20343021C00006
1 message

Katie Eelman <keelman@nclc.org>                                                                     Wed, Feb 12, 2025 at 4:17 PM
To: RapidResponse@nclc.org

    FYI on the below.

    Can someone let me know if I should respond to confirm receipt?

    Thanks!

    ---------- Forwarded message ---------
    From: Mark A. Board <Mark.Board@fiscal.treasury.gov>
    Date: Wed, Feb 12, 2025 at 3:19 PM
    Subject: Termination for Convenience of the Government – Contract 20343021C00006
    To: keelman@nclc.org <keelman@nclc.org>
    Cc: Syedain, Jawad (CFPB) <Jawad.Syedain@cfpb.gov>, Sanders, Kathy (CFPB) <Kathy.Sanders@cfpb.gov>, Braden K. Sanner
    <braden.sanner@fiscal.treasury.gov>



    Good Afternoon,

    On 02/11/2025, you were notified to stop work. Pursuant to FAR clause 52.212-4(l), Fiscal Service Procurement on the
    behalf of the Consumer Financial Protection Bureau (CFPB) hereby terminates in its entirety the subject contract,
    effective 02/12/2025. As such, you are directed to immediately stop all work under the subject contract, terminate all
    subcontracts, and place no further orders. You are also directed to provide by electronic means similar instructions to
    all subcontractors and suppliers. You are required to keep detailed, individual records of your steps taken and
    expenditures, if any, you intend to claim as a result of the CFPB terminating this contract. We request that you provide
    within 30 days the entirety of the termination settlement proposal(s), if any, you will be submitting for the subject
    contract.

    Finally, it is necessary that you immediately confirm receipt of this termination for convenience notice via an electronic
    mail (e-mail) response to me, the Contracting Officer for the subject contract.




    Thanks,

    Mark Board
    Lead Contracting Officer
    Bureau of the Fiscal Service
    Office of Shared Services/DPS
    Office: (304)-480-8356




     (Page 95 of Total)                                                                                              JA90
--
                Case 1:25-cv-00381-ABJ Document 14-6          Filed 02/14/25 Page 15 of 19
           USCAKatie
                 Case    #25-5091
                     Eelman (she/her/hers)Document #2114200    Filed: 05/05/2025 Page 96 of 637
     I  I Publishing Operations Manager
     NCLC National Consumer Law Center®
          7 Winthrop Square, Boston, MA 02110
     I      I 901.231.5681 | www.nclc.org/library




 (Page 96 of Total)                                                                               JA91
            Case 1:25-cv-00381-ABJ Document 14-6   Filed 02/14/25 Page 16 of 19
        USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 97 of 637




                           Exhibit 4




(Page 97 of Total)                                                                     JA92
            Case 1:25-cv-00381-ABJ Document 14-6                      Filed 02/14/25 Page 17 of 19
        USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 98 of 637




           ....                                                         NATIONAl HEADQUARTERS
                                                                        7 W nthrop Square, Boston, MA 02110




           -....
                                                                        (6171 542·8010



           NCLC
                              National                                  WASHINGTON OFFICE
                              Consumer Law                              Spanogle ,nstitute for Consumer Advocacy
                                                                        1001 Connecticut Avenue, NW, Suite 510
                              Center                                    Washington, DC 20036
                                                                        (2021452 6252

                                                                        NCLC.ORG


           January 30, 2025

           Theresa Burton
           Resource Management Officer· Consumer Financial Protection Bureau
           Consumer Financial Protection Bureau
           1700 G Street, NW
           Washington, DC 20553
           Theresa.Burton@cfpb.org

           Re: Cost Proposal for Spring Training

           Dear Theresa:

           The National Consumer Law Center (NCLC) agrees to develop and deliver a series of three 90-
           minute consumer law webinars for the Consumer Financial Protection Bureau (CFPB) in the
           Spring of 2025. The training will cover the following topics on the designated dates and times:

                 • Is it a loan? Strategies for challenging alternative financing products: February 12,
                   2025 from 1 :00-2:30pm EST
                 • Junk Fees in Auto Sales and Finance: April 16, 2025 from 1 :00-2:30pm EST
                 • The New Payday Loans and other Usury Evasion Developments: June 18, 2025 from
                   1 :00-2:30pm EST

           The training agenda will include background and current developments on the issue and
           relevant law and provide time for a question and answer discussion with the attendees. The
           presenters will prepare powerpoint slide material that incorporates references and links to all
           major relevant developments so participants will be able to keep this material as a resource.
           They will also continue to research ongoing developments in the particular subject area to
           share with attendees. The final agenda for each program session will be finalized in
           consultation with the CFPB Enforcement Training Coordinator.

           Personnel: Each training session will be presented by at least one NCLC attorney who is an
           expert in the particular topic. For some sessions, we will engage consumer rights attorneys
           outside of NCLC who specialize in the subject area to co-present.

           Cost: The proposed cost for the training series is as follows:




(Page 98 of Total)                                                                                                 JA93
            Case 1:25-cv-00381-ABJ Document 14-6                        Filed 02/14/25 Page 18 of 19
        USCA Case #25-5091    Document #2114200                          Filed: 05/05/2025 Page 99 of 637



           Each 90-minute training session will include having presenters log in at least 15 minutes
           beforehand and staying to either answer additional questions or debrief for about 15 minutes
           after for a total of 2-hours for each actual session. There will also be preparation time for a
           comprehensive powerpoint presentation with additional materials where relevant. Each
           advocate, other than those who work for the CFPB or FTC, will be billed at $230 per hour for
           2025.

           The breakdown of costs for the training series is as follows:

                  •     Is it a Loan? Strategies for Challenging Alternative Financing Products

                      We propose having 3 main speakers plus Lauren Saunders, Associate Director of
                      NCLC, who will be the organizer and moderator. NCLC will invoice for 3 attorneys for a
                      total of 6 hours for the actual presentation. $230 x 6= $1,380

                      We estimate 8 total hours of preparation time: $230 x 8 = $1,840

                      The total for this session would be $3,220

                  •     Junk Fees in Auto Sales and Finance

                      We propose 2 speakers, including John Van Alst, Senior attorney at NCLC. That would
                      be a total of 4 hours for the presentation. $230 x 4= $920

                      We estimate 8 total hours of preparation time: $230 x 8 = $1,840

                      The total for this session would be $2,760
              •       The New Payday Loans and other Usury Evasion Developments.

                      We propose 2 speakers, including Lauren Saunders. That would be a total of 4 hours for
                      the presentation. $230 x 4= $920

                      We estimate 6 total hours of preparation time: $230 x 6 = $1,380

                      The total for this session would be $2,300

           Andrea Bopp Stark, senior attorney at NCLC, will help organize, coordinate, make arrangements
           with outside speakers, and attend each session to help moderate, monitor the chat and Q&A,
           troubleshoot issues or help with anything else. We estimate that would be a total of 7.5 hours x
           $230 = $1725

           TOTAL COST: $ 10,000 (rounded down from $10,005)

           Payment: NCLC will invoice as follows:

           $3,500 upon execution of this contract

           $3,S00when a final agenda with topics and speakers has been determined,




(Page 99 of Total)                                                                                             JA94
                            Case 1:25-cv-00381-ABJ           Document 14-6        Filed 02/14/25    Page 19 of 19




                         $3,000 is upon completion of the final session on June 18, 2025.

                         NCLC will provide a full refund for any work that is not performed.

                         We are very pleased to have the opportunity to work with you and provide training for the
Page 100 of 637




                         CFPB. Please let me know when you would like to discuss this proposal. Thank you!




                         Richard Dubois, Executive Director, National Consumer Law Center
                                                       ,-
Filed: 05/05/2025




                         Date: ( -   ~ 9-- d O;;) ~


                     ~
                             ~
                             esaBurton
                         Resource Management Officer· Consumer Financial Protection Bureau



                         Date: January 30, 2025
Document #2114200
USCA Case #25-5091




                                                                                                                       (Page 100 of Total)




                                                                                                                     JA95
              Case 1:25-cv-00381-ABJ Document 18                    Filed 02/14/25 Page 1 of 3
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 101 of 637



                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA

          NATIONAL TREASURY
          EMPLOYEES UNION, et al.,
                        Plaintiffs,
               v.

          RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-381-ABJ
          as Acting Director of the Consumer Financial
          Protection Bureau, et al.,

                                 Defendants.


                                      SECOND DECLARATION OF ERIE MEYER

                I, Erie Meyer, declare as follows:

            1. My name is Erie Meyer.

            2. I served as the Chief Technologist and Senior Advisor to the Director at the Consumer

         Financial Protection Bureau until February 7, 2025.

            3. I am preparing this declaration to ensure that the Court is aware of the imminent risk that

         twelve years’ of critical CFPB records, which belong to the public, will be irretrievably lost and

         cause serious and sweeping damage unless the Court takes action to preserve the status quo in the

         face of efforts to dismantle the CFPB.

            4. I have direct knowledge of the CFPB’s data management practices and the vital role that

         its data plays in protecting consumers and ensuring fairness in the financial system.

            5. The CFPB manages a wide range of sensitive data critical to the enforcement of federal

         consumer protection laws. This data includes, but is not limited to, supervisory and examination

         records of financial institutions, enforcement action data, consumer complaints, personal consumer

         information, and market research records. The CFPB’s databases hold information regarding the




(Page 101 of Total)                                                                                           JA96
              Case 1:25-cv-00381-ABJ Document 18                      Filed 02/14/25 Page 2 of 3
       USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 102 of 637



         activities of large financial institutions, including details about compliance, enforcement actions,

         consumer experiences, and financial products.

            6. Public reporting and reports that I have received from within the Bureau reliably indicate

         that databases holding the CFPB’s data will soon be deleted.

            7. If that happens, it would result in the immediate and irrevocable loss of data essential to

         the agency's core mission. I believe this loss would have catastrophic effects, including:

                •     Incapacitation of the Bureau’s Public Facing Obligations: The loss of this data

                      will make the Consumer Response database unavailable and/or unreliable, severely

                      hamper—if not entirely take down—the Bureau’s website, and likely result in the loss

                      of mandatory public reporting the Bureau has previously done.

                •     Loss of Consumer Protection Information: A significant portion of the CFPB's

                      data comprises sensitive consumer information, including personally identifiable

                      information (PII). The loss of such data would severely disrupt the Bureau's ability to

                      investigate and take enforcement actions against violations of consumer protection

                      laws. In addition, it would leave consumers without critical recourse in the event of

                      financial harm caused by institutions under the Bureau's jurisdiction.

                •     Financial System Instability: The deletion of data that tracks the financial

                      behavior of institutions, including compliance and enforcement records, would impair

                      the Bureau's ability to identify risks and respond to emerging threats within the financial

                      system. This could destabilize markets, allow bad actors to exploit weaknesses in

                      financial institutions, and undermine public trust in the financial system.

                •     Competitive Disadvantages and Market Manipulation: If such data were

                      deleted, there would be no way to ensure that it was not accessed or misused by


                                                            2

(Page 102 of Total)                                                                                                 JA97
              Case 1:25-cv-00381-ABJ Document 18                     Filed 02/14/25 Page 3 of 3
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 103 of 637



                      unauthorized parties. For example, tech companies moving into financial services could

                      gain an illegal competitive advantage by accessing sensitive consumer financial data or

                      enforcement records, and the audit logs of that activity could be deleted. This could

                      result in unfair competition and undermine market integrity.

            8. The deletion of these records, particularly without proper safeguards in place, would have

         lasting and serious consequences. Not only would it harm consumers and financial institutions, but

         it would also undermine the integrity of federal financial laws. In the absence of this data, it would

         be nearly impossible for the CFPB to fulfill its statutory obligations to protect consumers from

         fraudulent practices and ensure fair treatment in financial markets.

            9. Based on my experience and expertise, I believe that the deletion of the CFPB's databases

         and contracts would cause irreversible damage, not only to the Bureau's mission but also to

         consumer protection and the financial system as a whole. Any such action would severely impair

         the Bureau's ability to safeguard the public interest.

            10. Over the past 24 hours, I have learned from many well informed Bureau officials that

         leadership intends to fire massive numbers of Bureau staff today and into the weekend, threatening

         the decimation of the Bureau. These firings are troubling in themselves but they will also make it

         even more difficult to ensure the preservation of the Bureau’s data. The loss of the Bureau’s staff

         further threatens the Bureau’s existence.

                I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

         and correct.



         Executed in Washington, D.C. on February 14, 2025.



                                                                       Erie Meyer

                                                           3

(Page 103 of Total)                                                                                               JA98
              Case 1:25-cv-00381-ABJ Document 19                    Filed 02/14/25 Page 1 of 2
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 104 of 637



                                     UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA

         ____________________________________
                                             )
         NATIONAL TREASURY                   )
         EMPLOYEES UNION, et al.,            )
                                             )
                                 Plaintiffs, )
                                             )
                 v.                          )
                                             )                 Civil Action No. 25-0381 (ABJ)
         RUSSELL VOUGHT                      )
         in his official capacity as         )
         Acting Director of the              )
         Consumer Financial                  )
         Protection Bureau, et al.,          )
                                             )
                                 Defendants. )
         ____________________________________)


                                                      ORDER

                  In light of the agreement of the parties at the scheduling conference held on today’s date,

         February 14, 2025, and the underlying record, it is hereby ORDERED that until the resolution of

         plaintiffs’ motion for temporary restraining order [Dkt. # 10], which, with the parties’ consent,

         will be deemed to be a motion for preliminary injunction, the following orders shall remain in

         place:

                  It is ORDERED that Defendants, including their officers, agents, servants, employees, and

         attorneys, (hereafter collectively, “Defendants”) shall not delete, destroy, remove, or impair any

         data or other CFPB records covered by the Federal Records Act (hereinafter “agency data”) except

         in accordance with the procedures described in 33 U.S.C. § 44. This means that defendants shall

         not delete or remove agency data from any database or information system controlled by, or stored

         on behalf of, the Consumer Financial Protection Bureau (CFPB), and the term “agency data”




(Page 104 of Total)                                                                                             JA99
              Case 1:25-cv-00381-ABJ Document 19                    Filed 02/14/25 Page 2 of 2
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 105 of 637



         includes any data or CFPB records stored on the CFPB’s premises, on physical media, on a cloud

         server, or otherwise.

                It is further ORDERED that Defendants shall not terminate any CFPB employee, except

         for cause related to the specific employee’s performance or conduct; nor shall Defendants issue

         any notice of reduction-in-force to any CFPB employee.

                And, it is further ORDERED that Defendants shall not: (i) transfer money from the CFPB’s

         reserve funds, other than to satisfy the ordinary operating obligations of the CFPB; (ii) relinquish

         control or ownership of the CFPB’s reserve funds, nor grant control or ownership of the CFPB’s

         reserve funds to any other entity; (iii) return any money from the CFPB’s reserve funds to the

         Federal Reserve or the Department of Treasury; or (iv) otherwise take steps to reduce the amount

         of money available to the CFPB below the amount available as of 4:00 pm on February 14, 2025,

         other than to satisfy the ordinary operating obligations of the CFPB.

                Plaintiffs’ motion for a temporary restraining order is hereby deemed to be a motion for a

         preliminary injunction. Defendants must file any opposition to plaintiffs’ motion on or before

         February 24, 2025, and plaintiffs’ reply must be filed on or before February 27, 2025.

                The Court will hold a hearing on plaintiffs’ motion on March 3, 2025 at 10:00 AM



         SO ORDERED.




                                                              AMY BERMAN JACKSON
                                                              United States District Judge
         DATED: February 14, 2025




(Page 105 of Total)                                                                                             JA100
             Case 1:25-cv-00381-ABJ Document 23-4                        Filed 02/21/25 Page 1 of 1
       USCA Case #25-5091    Document #2114200                           Filed: 05/05/2025 Page 106 of 637

           From:            Vought, Russell
           To:               DL CFPB AllHands
           Subject:         Additional Directives on Bureau Activities
           Date:            Monday, February 10, 2025 8:30:43 AM


          Good morning, CFPB staff,
          As you have been informed by the Chief Operating Officer in an email yesterday, the Bureau’s DC
          headquarters building is closed this week. Employees should not come into the office. Please do not
          perform any work tasks. If there are any urgent matters, please alert me through Mark Paoletta,
          Chief Legal Officer, to get approval in writing before performing any work task. His email is
                                     . Otherwise, employees should stand down from performing any work task.
          Thank you for your attention on this matter.
          Best,
          Russ Vought
          Acting Director
          Bureau of Consumer Financial Protection




(Page 106 of Total)                                                                                             JA101
            Case 1:25-cv-00381-ABJ Document 31-1   Filed 02/24/25 Page 1 of 22
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 107 of 637




                      Exhibit 1




(Page 107 of Total)                                                                JA102
            Case 1:25-cv-00381-ABJ Document 31-1                   Filed 02/24/25 Page 2 of 22
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 108 of 637



                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA


          NATIONAL TREASURY EMPLOYEES
          UNION, et al.,

                 Plaintiffs,                                           No. 1:25-cv-00381-ABJ
          v.

          RUSSELL VOUGHT, in his official
          capacity as Acting Director of the
          Consumer Financial Protection Bureau,
          et al.,
                 Defendants.



                                   DECLARATION OF ADAM MARTINEZ

                 1.     My name is Adam Martinez. I am currently employed at the Consumer Financial
         Protection Bureau (“CFPB” or “the Bureau”) serving as the Chief Operating Officer (“COO”) and
         Acting Chief Human Capital Officer. As the COO, I am responsible for leading the Operations
         Division in executing all operational functions including finance, procurement, human resources,
         information technology and development, facilities, security, records management, Freedom of
         Information Act (“FOIA”), and data governance. I started serving as the COO on February 20,
         2023, and have been with the federal government for 25 years. The following is based on my
         personal knowledge or information provided to me in the course of performing my duties.
         Events Occurring After Changes in Bureau Leadership and Events Related to the CFPB
         Building Closure
                2.      On February 3, 2025, CFPB employees and contractors were notified by email that
         the Secretary of the Treasury had been named Acting Director of the CFPB, effective January 31,
         2025. The email also identified six areas where, “unless expressly approved by the Acting Director
         or required by law,” Bureau employees were to refrain from taking further action “[i]n order to
         promote consistency with the goals of the Administration.” This email was sent in order to allow
         the new, incoming political leadership to assess the CFPB’s current operations and evaluate
         CFPB’s priorities in light of the new Administration. A copy of that email is attached hereto as
         Exhibit A.

                 3.     Based on my 25 years of government experience, this is a common practice at the
         beginning of a new administration and/or during the transition of a new head of agency. As it
         relates to operations, during these transitions I immediately prepare and expect for a freeze on




(Page 108 of Total)                                                                                           JA103
            Case 1:25-cv-00381-ABJ Document 31-1                    Filed 02/24/25 Page 3 of 22
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 109 of 637



         travel, speaking engagements, conference attendance, hiring/recruitment, human resource
         processing, contracts, and certain mission actions.

                4.      While the Secretary of the Treasury was the Acting Director, his team engaged in
         the evaluation of CFPB’s current D.C. Headquarters. On February 4, 2025, Treasury’s Deputy
         Assistant Secretary (“DAS”) for Operations contacted CFPB’s Chief Administrative Officer
         (“CAO”) to coordinate a tour of the building that same evening for personnel of the General
         Services Administration (“GSA”) and the Office of Personnel Management (“OPM”). In addition,
         on the same day the DAS requested the Office of the Comptroller of the Currency (“OCC”) to
         provide him with a copy of the CFPB lease and occupancy agreement.

                 5.      The CFPB Headquarters Building has provided the potential for greater efficiency
         and cost savings over the past couple of years. For example, in 2023 and 2024, the former CFPB
         Director under the last Administration instructed the Operations Division to explore options to
         sublease office space and parking to other financial regulators and/or federal agencies. Since the
         pandemic, the building has largely remained unoccupied, so this would have provided an
         opportunity to share costs with other partners. The CAO coordinated with the OCC to determine
         the process to sublease if the CFPB found an interested party. Interest was identified from at least
         a half dozen agencies.

                6.      Officials representing the Department of the Treasury notified CFPB officials on
         the evening of February 6, 2025, that two United States DOGE Service (“USDS”) officials would
         need access to CFPB Headquarters located at 1700 G St. NW.

                 7.      A follow-up meeting was held at CFPB Headquarters on the morning of February
         7, 2025, between CFPB Management and USDS Personnel. During the meeting, a CFPB
         employee who was not an attendee at the meeting began taking pictures of attendees through a
         conference room window. The attendees moved to an adjacent conference room with a covered
         window due to privacy and safety concerns, but the same employee entered that conference room
         and began to disrupt the meeting. The employee questioned the personnel in the conference room,
         demanded to know who they were, began to take pictures and video of open laptops and attendees’
         faces around the conference table, and demanded that the attendees show her their identification
         cards. A CFPB physical security specialist and approximately four security officers were called to
         the scene to mitigate the problem. A copy of the Incident Report describing these events is attached
         hereto as Exhibit B.

                8.     On the same day, CFPB employees began protesting outside of the CFPB
         Headquarters building. The protest activities included following and questioning staff about who
         they were and at times making staff feel harassed.

                9.    On the evening of February 7, 2025, the National Treasury Employees Union
         (“NTEU”) local chapter president emailed the CFPB’s Chief Information Officer (“CIO”) and
         copied the CFPB Legal Team. She stated that she was made aware of messages being sent to



(Page 109 of Total)                                                                                             JA104
            Case 1:25-cv-00381-ABJ Document 31-1                     Filed 02/24/25 Page 4 of 22
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 110 of 637



         employees that orders were being received from the “Whitehouse” directly that, in her view,
         contradict and circumvent CFPB policy and procedures. Further, the NTEU President reminded
         the CIO that the CFPB is an independent agency and stated that “Whitehouse officials” “are not
         your supervisor” and “have no authority to order you to carry out orders as a CFPB government
         employee; only the [Chief Operating Officer] and the Director have that authority.” A copy of that
         email is attached hereto as Exhibit C.

                10.      On February 7, 2025, shortly after receipt of the NTEU President’s email to the
         CIO, the President named Russell Vought, the Office of Management and Budget (“OMB”)
         Director, as the CFPB’s Acting Director.

                 11.     On February 8, 2025, the Acting Director emailed CFPB employees stating his
         commitment to “implementing the President’s policies, consistent with the law, and acting as a
         faithful steward of the Bureau’s resources.” The email also consisted of eight functions from which
         CFPB employees should refrain, absent approval “by the Acting Director or required by law.” The
         email also invited employees to raise any questions that they may have “through your existing
         management for consideration by the Acting Director.” This email was sent in order to allow the
         new Acting Director and political leadership to assess the CFPB’s current operations and evaluate
         the CFPB’s priorities in light of the new Administration. It is not unusual for these types of steps
         to be taken at an agency at the beginning of a new administration and during the transition period
         for new leadership. A copy of this email is attached hereto as Exhibit D.

                 12.     On February 9, 2025, I was advised by our new leadership that the Headquarters
         building would be closed the week of February 10, 2025, due to safety concerns, and employees
         and contractors would need to work remotely unless instructed otherwise from our Acting Director
         or his designee. This would provide an opportunity for employees needing access to the building
         to do so safely given the disruptions caused on February 7, 2025. As the Chief Operating Officer,
         I sent an email to CFPB employees advising them of the office building closure. A copy of my
         email is attached hereto as Exhibit E.

                 13.     On February 9, 2025, CFPB management became aware of additional, planned
         protests at CFPB Headquarters from 4:15 to 6:00 p.m. and included representatives from
         Indivisible, Progress Change Institute, MoveOn, and Americans for Financial Reform.

                 14.    On February 10, 2025, the Acting Director sent an email providing validation of
         the building closure and instructions regarding work tasks. A copy of the email is attached hereto
         as Exhibit F.

                 15.     On February 10, 2025, additional protests occurred at CFPB Headquarters. Those
         protests consisted of hundreds of people, making the opening of the building unsafe. CFPB
         Security Staff advised that, due to the protests, the building should remain closed, and as the Chief
         Operating Officer, I support the continued closure of the building due to ongoing security concerns.




(Page 110 of Total)                                                                                              JA105
            Case 1:25-cv-00381-ABJ Document 31-1                    Filed 02/24/25 Page 5 of 22
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 111 of 637



                16.    On February 12, 2025, staff protests occurred in front of the CFPB building at
         approximately 12:00 pm as reported by CFPB security personnel.

                 17.    The building closure should have limited impact to the Bureau and its employees.
         Approximately 900 employees currently primarily telework from home full time in the National
         Capital Region. An estimated 350 employees and contractors are currently assigned an office or
         cubicle in the building, but not all of them enter the building five days a week. The CFPB
         Headquarters building currently has a capacity of 1,221 seats and the annual operational costs are
         greater than $25.7 million.

                  18.     After considering the Bureau’s priorities to run a more streamlined and efficient
         Bureau, current CFPB leadership determined that it did not need the footprint associated with its
         current office space and decided to cancel CFPB’s Headquarters lease. As of the date of this
         declaration, the cancelation of the lease has not been fully executed. After the cancelation of the
         lease, CFPB will have thirty days to move out. CFPB leadership is evaluating and assessing
         CFPB’s future office space needs. The Bureau, in consultation with USDS, will evaluate options
         for alternative office space once the Bureau has ascertained the amount of office space it will need
         to carry out its more streamlined operations. In the meantime, CFPB employees will continue to
         telework. The termination of CFPB’s lease will not prevent the CFPB from performing the
         statutory functions described below, as employees have become accustomed to either working
         from home or remotely and the Bureau’s informational technology supports it.
         The CFPB is Committed to Performing Statutory Obligations
                19.     Since the arrival of the Acting Director, the new leadership is engaging in ongoing
         decision-making to assess how to make the Bureau more efficient and accountable. Our leadership
         has worked to comply with statutorily required functions, and my operations team has been
         mindful of this as we advise on operational related issues.

                  20.      The closure of the CFPB’s Headquarters pursuant to the February 9 and 10 emails
         has not prevented the CFPB from performing statutory functions as described in this declaration.
         As mentioned, the approximately 350 employees who have assigned cubicle or office space have
         the ability to work from home and not all of them came to the office five days a week before the
         office building closure as reflected in the February 9 and 10 emails. I or the Chief Legal Officer
         have approved access for employees that require onsite access to perform their jobs. Personnel
         that have been approved for access include newly appointed personnel, security personnel,
         facilities staff, information technology personnel, mailroom personnel, and cleaning contractors.
         For example, employees working in mail services have been permitted to access the building and
         have continued to process consumer complaints that are mailed in.

                21.     Work requests have been approved to allow the CFPB to maintain operations
         required by statute. For example, the CIO was provided approval to onboard new political
         leadership with service desk support, perform security monitoring tasks for CFPB networks, and
         perform maintenance tasks needed to ensure the continuation of the Home Mortgage Disclosure



(Page 111 of Total)                                                                                             JA106
            Case 1:25-cv-00381-ABJ Document 31-1                   Filed 02/24/25 Page 6 of 22
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 112 of 637



         Act (“HMDA”) application, Consumer Complaint Database, ServiceNow, and Microsoft365
         platforms. Other approvals included maintaining the CFPB Call Centers and the processing of
         payments through the Civil Penalty Fund. While the Student Loan Ombudsman position is
         currently vacant, consumers have other options to receive support from the CFPB including
         utilizing the CFPB Consumer Complaint Center and/or the CFPB Ombudsman Office, which
         houses five employees. The CFPB Ombudsman Office is an independent, impartial, and
         confidential resource to help consumers, financial entities, consumer or trade groups, or anyone
         else interacting with the CFPB. These functions help ensure that the CFPB continues to engage in
         statutorily required work.

                 22.      Since the February 3 email, I have never had a work request be denied. The Bureau
         is committed to performing its statutory obligations, including those listed in 12 U.S.C.
         § 5493(b)(3)(A), entitled “Collecting and tracking complaints.” The Bureau is maintaining a
         single, toll-free telephone number, a website, and a Consumer Complaint Database to facilitate the
         centralized collection of, monitoring of, and response to consumer complaints regarding consumer
         financial products or services. Operations related to the Consumer Complaint Database are
         continuing. Contracts needed for work related to the Consumer Complaint Database have
         remained intact and operational.

                 23.     Additionally, as required by the HMDA, the Bureau is providing information
         technology technical assistance to enable filers to submit their data and enabling the Federal
         Financial Institutions Examination Council to compile and publish information about applications
         for mortgage loans that is reported to the Bureau by mortgage lenders. 12 U.S.C. § 2809(a). In
         short, operations related to the CFPB’s statutory requirements under HMDA are continuing.
         Contracts needed for work related to the HMDA have remained intact and operational.
         CFPB’s Funding Structure and the Funding Request from Acting Director Vought
                 24.    With respect to funding, the Bureau maintains two types of funds: (1) the Bureau
         of Consumer Financial Protection Fund (“Bureau Fund”) and (2) the Civil Penalty Fund. The
         Federal Reserve funds the Bureau Fund through transfers administered by the Board of Governors
         of the Federal Reserve System, and this money is used for the Bureau’s operations and expenses.
         Entirely separate from the Bureau Fund, the Civil Penalty Fund is funded by civil penalties
         imposed and collected by the Bureau—not the Federal Reserve. The Civil Penalty Fund is used
         to redress harmed consumers. Issuance of approved payments to affected consumers has continued
         to be processed.

                 25.      At the Bureau, new leadership is engaged in ongoing decision-making to assess
         how to make the Bureau more efficient and accountable, consistent with this Administration’s
         goals of reforming the federal bureaucracy, reducing wasteful spending, and streamlining
         efficiencies in the federal government.

                26.    Shortly after becoming Acting Director, Mr. Vought reviewed the sums available to
         the Bureau in its Bureau and Civil Penalty Funds. After considering the Bureau’s total current



(Page 112 of Total)                                                                                           JA107
            Case 1:25-cv-00381-ABJ Document 31-1                     Filed 02/24/25 Page 7 of 22
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 113 of 637



         balance and the projected expenses for the upcoming quarter, Acting Director Vought determined
         that these currently available funds were sufficient for the Bureau to carry out its statutory
         mandates for the next fiscal quarter.

                 27.      In making that determination, Acting Director Vought considered the President’s
         priorities of running a more streamlined and efficient Bureau, the public’s interest in a streamlined
         and efficient Bureau, the impact of government spending on the federal deficit, the impact of
         anticipated efficiency initiatives at the Bureau, and the consumer interest. Based on his
         determination, Acting Director Vought sent Chairman Powell a letter requesting $0 for the Third
         Quarter of Fiscal Year 2025. A copy of that letter is attached as Exhibit G.

                28.   The Bureau has made no attempts to transfer any of its Funds back to the Federal
         Reserve. Indeed, I am not aware of a mechanism to transfer Funds back to the Federal Reserve.


                                                         ***

                I declare under penalty of perjury that the foregoing is true and correct.

                Executed in Washington, DC this 24th day of February.
                                                                                 Digitally signed by
                                                                ADAM             ADAM MARTINEZ
                                                                MARTIN Ez Date: 2025.02.24
                                                               __________________________
                                                                               17:45:53 -05'00'

                                                               Adam Martinez
                                                               Chief Operating Officer




(Page 113 of Total)                                                                                              JA108
            Case 1:25-cv-00381-ABJ Document 31-1   Filed 02/24/25 Page 8 of 22
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 114 of 637




                      Exhibit A




(Page 114 of Total)                                                                JA109
            Case 1:25-cv-00381-ABJ Document 31-1                             Filed 02/24/25 Page 9 of 22
       USCA Case #25-5091    Document #2114200                               Filed: 05/05/2025 Page 115 of 637

           From:          CFPB_OfficeOfTheDirector
           To:            _DL_CFPB_AllHands; _DL_CFPB_AllHands_Contractors
           Subject:       Instructions from Acting Director
           Date:          Monday, February 3, 2025 10:59:59 AM


          Colleagues,

          Secretary of the Treasury Bessent has been named Acting Director of the CFPB,
          effective January 31, 2025. As Acting Director, Secretary Bessent is committed to
          appropriately stewarding the agency pending new leadership. In order to promote
          consistency with the goals of the Administration, effective immediately, unless
          expressly approved by the Acting Director or required by law, all employees,
          contractors, and other personnel of the Bureau are directed:

               • Not to approve or issue any proposed or final rules or formal or informal
                 guidance.
               • To suspend the effective dates of all final rules that have been issued or
                 published but that have not yet become effective.
               • Not to commence, take additional investigative activities related to, or settle
                 enforcement actions.
               • Not to issue public communications of any type, including publication of
                 research papers.
               • Not to approve or execute any material agreements, including related to
                 employee matters or contractors.
               • Not to make or approve filings or appearances by the Bureau in any litigation,
                 other than to seek a pause in proceedings.

          If you have any questions, please raise issues through your existing management for
          consideration by the Acting Director.

          Thank you.




(Page 115 of Total)                                                                                          JA110
            Case 1:25-cv-00381-ABJ Document 31-1   Filed 02/24/25 Page 10 of 22
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 116 of 637




                      Exhibit B




(Page 116 of Total)                                                                 JA111
            Case 1:25-cv-00381-ABJ Document 31-1                    Filed 02/24/25 Page 11 of 22
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 117 of 637



         Febrnary 21, 2025
         fufo1mation Memo for the Chief Operating Officer

          FROM                                    , Director of Security, 202-

          THROUGH                                   , Physical Security Specialist, 202-

          SUBJECT                    Employee fucident Repo1i on Friday, Febrnary 7, 2025


          Select           IZI Situational   D Request for    □ Reply to         □ Draft
          Applicable       Awar·eness        Directional      fuquiiy from       Document
          fufo1mation                        Feedback         Director/PO        Feedback
          Type(s)                                                                Request

         Issue
         On Friday, Febrnary 7, 2025, at approximately 11 :09 am,
         Security Specialist, received a call from Special Police 0
         disrnptive employee near· Room B ~          on arTival, Mr.
         in front of Room Bl 18. When Mr . - approached Ms.                      , she appeare agitate an
         stated she had the ri~          w who the people in the room are and what they ar·e doing. Mr.
         -        noticed Ms. -           was not displaying her PIV car·d in accordan ce with Bureau policy,
         and inquii·ed if she was an employee and if he could see her PIV car·d. Ms. -            removed her
         PIV car·d from her pocket and showed it to Mr. _         , then quickly put it back in her pocket. Mr.
         -        info1med her that CFPB polic re uii·e~ display a PIV card while in CFPB space,
         but she did not ~          t that time              from the Legal Division arTived and asked to
         speak with Ms. -           · They proceed down the hallway to have a private conversation.

         At that oint, _               , T&I fufrastrncture Dii·ector, exited Room B 118 and info1med Mr.
                  that i~               otified security regarding her disrnptive and harassin behavior. Mr.
                   stated h~ i n Room Bl 16 with CFPB CIO                                             , along
         with DOGE staff_                        ,              and                , who were recently assigned
         to CFPB. While in the meeting in Room B 116, Mr.               noticed Ms. -         pushing a baby
         caITiage past the room on several occasions with a telephone pointing towards the window
         apparently attempting to capture pictures or video of staff in the room. Mr. -          offered, and
         the team agreed, to move the meeting to Room Bl 18 because the windows were covered. Mr.
         -         then stated that when he was exiting Room B 118, Ms. -              confronted him in the
         hallw
             -    and was pointing her phone carnera yelling at him about what he was doing. He requested
         Ms.             to stop pointing the camera at him when she responded, 'don't touch me ' . She then
         entere Room B 118 and staried recording and taking pictures of the computers and people in the
         room.

         The incident was captured on CFPB security foota.ge, Camera 13 at 11 :04 am.

         Timing Considerations



(Page 117 of Total)                                                                                               JA112
            Case 1:25-cv-00381-ABJ Document 31-1             Filed 02/24/25 Page 12 of 22
       USCA Case #25-5091    Document #2114200                Filed: 05/05/2025 Page 118 of 637


         No timing considerations.

         fufo1mation Memo Reviewer Sheet

          Subject/Document Title
          Employee fucident Repo1t

          Name of Document Owner       Office                        Telephone Extension
                                       Office of Administrative      202-
                                       Operations




          Office                                                     Date
          Office of Administrative                                   2/21/2025
          Operations
          Office                       Name of Reviewer              Date
          [fuse1t office]              [fuseit name of reviewer]     [fuseit date]




                                                    2
(Page 118 of Total)                                                                           JA113
            Case 1:25-cv-00381-ABJ Document 31-1   Filed 02/24/25 Page 13 of 22
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 119 of 637




                      Exhibit C




(Page 119 of Total)                                                                 JA114
            Case 1:25-cv-00381-ABJ Document 31-1                                   Filed 02/24/25 Page 14 of 22
       USCA Case #25-5091    Document #2114200                                      Filed: 05/05/2025 Page 120 of 637

           From:           Farman, Catherine (CFPB)
           To:             Chilbert, Christopher (CFPB); Martinez, Adam (CFPB); Schafer, Jessica (CFPB); Scott, Adam (CFPB); Doguin, John
                           Paul (CFPB); White, Sonya (CFPB); Belasco, Lisa (CFPB); Heiser, Nicole (CFPB); Rice, Kevin (CFPB); Smith, Jarid
                           (CFPB); Noble, Erin (CFPB)
           Subject:        Reminder you take orders from CFPB officials
           Date:           Friday, February 7, 2025 6:37:32 PM
           Importance:     High



          Chris,

          I’ve been made aware of messages you’re sending employees that you are receiving orders from the
          “Whitehouse” directly that contradict and circumvent CFPB policy and procedure. As a reminder the
          CFPB is an independent agency; DOGE officials and Whitehouse officials are not your supervisor and
          have no authority to order you to carry out orders as a CFPB government employee; only Adam
          Martinez and the Director have that authority.

          If you are being asked and/or pressured by people other than your chain of command, ask your
          supervisor in writing to verify or clarify the request and cc CFPB Legal. Congress, CFPB Union and
          news reports have warned federal officials of well-documented pressure tactics from staff outside of
          independent agencies designed to manipulate government employees into circumventing law and
          standard operating procedure at their request and you should heed these warnings.

          Thank you,

          --

          Catherine Farman (they/them, she/her/hers)
          Web Developer | Technology & Innovation
          President | CFPB Union NTEU 335
          Mobile:
          #Solidarity
          consumerfinance.gov
          nteu335.org




(Page 120 of Total)                                                                                                                          JA115
            Case 1:25-cv-00381-ABJ Document 31-1   Filed 02/24/25 Page 15 of 22
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 121 of 637




                      Exhibit D




(Page 121 of Total)                                                                 JA116
            Case 1:25-cv-00381-ABJ Document 31-1                    Filed 02/24/25 Page 16 of 22
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 122 of 637

           From:           Vought, Russell
           To:             _DL_CFPB_AllHands
           Subject:        Directives on Bureau Activities
           Date:           Saturday, February 8, 2025 8:50:28 PM


          Dear Colleagues,
          I am honored that President Trump designated me as Acting Director of the Bureau on
          February 7, 2025. As Acting Director, I am committed to implementing the President’s
          policies, consistent with the law, and acting as a faithful steward of the Bureau’s resources. To
          that end, I am directing that, effective immediately, unless expressly approved by the Acting
          Director or required by law, all employees, contractors, and other personnel of the Bureau
          shall:

               • Not approve or issue any proposed or final rules or formal or informal guidance.
               • Suspend the effective dates of all final rules that have been issued or published but that
                 have not yet become effective.
               • Not commence, take additional investigative activities related to, or settle enforcement
                 actions.
               • Not open any new investigation in any manner, and cease any pending investigations.
               • Not issue public communications of any type, including publication of research papers
                 and compliance bulletins.
               • Not approve or execute any material agreements, including related to employee matters
                 or contractors.
               • Not make or approve filings or appearances by the Bureau in any litigation, other than to
                 seek a pause in proceedings.
               • Cease all supervision and examination activity.
               • Cease all stakeholder engagement.
          If you have any questions, please raise issues through your existing management for
          consideration by the Acting Director.

          Thank you.

          Russell T. Vought




(Page 122 of Total)                                                                                           JA117
            Case 1:25-cv-00381-ABJ Document 31-1   Filed 02/24/25 Page 17 of 22
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 123 of 637




                      Exhibit E




(Page 123 of Total)                                                                 JA118
            Case 1:25-cv-00381-ABJ Document 31-1                               Filed 02/24/25 Page 18 of 22
       USCA Case #25-5091    Document #2114200                                  Filed: 05/05/2025 Page 124 of 637

           From:         Martinez, Adam (CFPB)
           To:           _DL_CFPB_AllHands
           Subject:      Please Read: DC Headquarters Building Operating Status (2/10-2/14)
           Date:         Sunday, February 9, 2025 1:39:00 PM


          (This message is for DC Headquarters Staff and Contractors)

          Dear Colleagues:

          The DC Headquarters Building will be closed this week (2/10-2/14). Employees and
          contractors are to work remotely unless instructed otherwise from our Acting Director
          or his designee.

          Thank you.

          Adam

          Adam Martinez
          Chief Operating Officer




(Page 124 of Total)                                                                                             JA119
            Case 1:25-cv-00381-ABJ Document 31-1   Filed 02/24/25 Page 19 of 22
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 125 of 637




                      Exhibit F




(Page 125 of Total)                                                                 JA120
            Case 1:25-cv-00381-ABJ Document 31-1                         Filed 02/24/25 Page 20 of 22
       USCA Case #25-5091    Document #2114200                            Filed: 05/05/2025 Page 126 of 637

           From:            Vought, Russell
           To:              _DL_CFPB_AllHands
           Subject:         Additional Directives on Bureau Activities
           Date:            Monday, February 10, 2025 8:30:43 AM


          Good morning, CFPB staff,
          As you have been informed by the Chief Operating Officer in an email yesterday, the Bureau’s DC
          headquarters building is closed this week. Employees should not come into the office. Please do not
          perform any work tasks. If there are any urgent matters, please alert me through Mark Paoletta,
          Chief Legal Officer, to get approval in writing before performing any work task. His email is
                                     . Otherwise, employees should stand down from performing any work task.
          Thank you for your attention on this matter.
          Best,
          Russ Vought
          Acting Director
          Bureau of Consumer Financial Protection




(Page 126 of Total)                                                                                             JA121
            Case 1:25-cv-00381-ABJ Document 31-1   Filed 02/24/25 Page 21 of 22
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 127 of 637




                      Exhibit G




(Page 127 of Total)                                                                 JA122
            Case 1:25-cv-00381-ABJ Document 31-1                   Filed 02/24/25 Page 22 of 22
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 128 of 637




      February 8, 2025

      The Honorable Jerome H. Powell
      Chairman, Board of Governors of the Federal Reserve System
      20th Street and Constitution Avenue, NW
      Washington, D.C. 20551

      Dear Chairman Powell:

      The Consumer Financial Protection Act requires the Board of Governors of the Federal Reserve
      System to transfer each quarter an “amount determined by the Director to be reasonably necessary” for
      the Bureau of Consumer Financial Protection to carry out its authorities under law. 12 U.S.C.
      5497(a)(1). In determining this amount, the Director must “take into account such other sums made
      available to the Bureau from the preceding year” or quarter. Id.

      This letter is to inform you that for the Third Quarter of Fiscal Year 2025, the Bureau is requesting $0.

      During my review of the Bureau’s finances, I have learned that the Bureau has a balance of
      $711,586,678.00 in the Bureau of Consumer Financial Protection Fund. By law, I must take account
      of this sum when determining the amount “reasonably necessary” for the Bureau to fulfill its statutory
      authorities. Id. I have determined that no additional funds are necessary to carry out the authorities of
      the Bureau for Fiscal Year 2025. The Bureau’s current funds are more than sufficient—and are, in
      fact, excessive—to carry out its authorities in a manner that is consistent with the public interest.

      In the past, the Bureau has at times opted to maintain a “reserve fund” for financial contingencies. But
      no such fund is required by statute or necessary to fulfill the Bureau’s mandate. The Bureau’s new
      leadership will run a substantially more streamlined and efficient bureau, cut this excessive fund, and
      do its part to reduce the federal deficit.

      Sincerely,

      /s/ Russell T. Vought
      Russell T. Vought, Acting Director

      cc:    Patrick J. McClanahan, Chief Operating Officer, Board of Governors of the Federal Reserve
             System

(Page 128 of Total)                                                                                           JA123
             Case 1:25-cv-00381-ABJ Document 38-2                 Filed 02/27/25 Page 1 of 3
       USCA Case #25-5091    Document #2114200                    Filed: 05/05/2025 Page 129 of 637



                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLUMBIA

          NATIONAL TREASURY
          EMPLOYEES UNION, et al.,
                         Plaintiffs,
               v.

          RUSSELL VOUGHT, in his official capacity             Case No. 25-cv-0381-ABJ
          as Acting Director of the Consumer Financial
          Protection Bureau, et al.,

                                 Defendants.


                                           DECLARATION OF ALEX DOE

                I, Alex Doe, declare as follows:

                1.      I am a federal employee who attended meetings between the Office of Personnel

         Management and the CFPB. The statements made in this declaration are based on my personal

         knowledge.

                2.      I am submitting this declaration pseudonymously because I fear retaliation. But if

         the Court would like to know my name or job position, I would be willing to provide it ex parte

         and under seal.

                3.      Around February 13th, my team was directed to assist with terminating the vast

         majority of CFPB employees as quickly as possible. The termination was to proceed in phases, to

         be completed in rapid succession. First, the Bureau fired all probationary and term employees.

         Next, the Bureau would fire approximately 1,200 additional employees, by eliminating whole

         offices, divisions, and units. Finally, the Bureau would “reduce altogether” within 60-90 days by

         terminating most of its remaining staff, leaving a Bureau that could not actually perform any

         functions, or no Bureau at all.




                                                         1
(Page 129 of Total)                                                                                          JA124
             Case 1:25-cv-00381-ABJ Document 38-2                   Filed 02/27/25 Page 2 of 3
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 130 of 637



                4.      The CFPB sought to effectuate the second step of this large-scale termination—the

         firing of more than 1,000 employees—within 36 hours. Doing so required bypassing several

         ordinary procedures, safeguards, and rules. Jordan Wick, a DOGE employee, specifically stated

         that DOGE wanted formal termination notices to be sent by February 14th. The Bureau intended

         to comply and fire the vast majority of remaining employees on February 14th. The only reason it

         did not do so is because of this Court’s order temporarily prohibiting it from doing so.

                5.      We met again after the Court’s order. Adam Martinez stated that he asked the

         CFPB’s leadership whether they had been thinking about what agency would inherit the CFPB’s

         administrative portfolios—human resources, FOIA, records management, and data systems—once

         the CFPB itself was no longer operating. There are statutory requirements to maintain those

         systems even once an agency no longer exists. The only experience the CFPB had with this was

         in 2010-2011, when the Dodd-Frank Act dissolved the Office of Thrift Supervision. In that case,

         Adam explained, the administrative functions were transferred to the Office of the Comptroller of

         the Currency. And OCC retained the files and records previously held by the Office of Thrift

         Supervision, along with the funding and staff to support legacy administrative functions like FOIA

         and record management. Mr. Martinez stated that he did not yet know what agency would perform

         a similar role for the CFPB or whether the Bureau itself would technically continue to exist with a

         small staff to perform those functions.

                6.      Later in the meeting, Mr. Martinez was asked if an agency or department had been

         identified to perform those legacy administrative functions. He answered that that is exactly what

         he had just asked the CFPB’s Chief Legal Officer and new leadership that morning because he

         didn’t know if DOGE had thought about that. He stated that there are a lot of administrative




                                                          2
(Page 130 of Total)                                                                                            JA125
             Case 1:25-cv-00381-ABJ Document 38-2                  Filed 02/27/25 Page 3 of 3
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 131 of 637



         functions still left to do after the “wind down” of an agency but CFPB did not yet know who would

         handle those, and he didn’t know if DOGE did.

                7.      Mr. Martinez stated that during phase 2 of the three-phase termination process (the

         phase when the CFPB would lay off the vast majority of its employees), the CFPB would keep the

         specific positions necessary to carry out the “closure of the agency.” But that many of those

         employees would then eventually be fired themselves.

                8.      During at least one of the meetings in which both I and Mr. Martinez were present,

         Mr. Martinez referenced Acting Director Vought’s “stop work” order.

                9.      I have worked in federal government for many years, and I have never seen most

         of an agency’s workforce be placed on administrative leave after a change in administration. Nor

         have I received an email requiring an agency’s employees to stop all work tasks.

            I declare under penalty of perjury under the laws of the United States of America that the

         foregoing is true and correct.



         Executed on February 26, 2025, in Washington, D.C.

                                                                     /s/ Alex Doe
                                                                     Alex Doe




                                                         3
(Page 131 of Total)                                                                                           JA126
             Case 1:25-cv-00381-ABJ Document 38-3                   Filed 02/27/25 Page 1 of 2
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 132 of 637



                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA

          NATIONAL TREASURY
          EMPLOYEES UNION, et al.,
                         Plaintiffs,
               v.

          RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-0381-ABJ
          as Acting Director of the Consumer Financial
          Protection Bureau, et al.,

                                Defendants.


                                       DECLARATION OF BLAKE DOE

                I, Blake Doe, declare as follows:

                1.      I am a federal employee who was present at a February 13, 2025 meeting about

         “winding down” the CFPB. The statements made in this declaration are based on my personal

         knowledge.

                2.      I am submitting this declaration pseudonymously because I fear retaliation. But if

         the Court would like to know my name or job position, I would be willing to provide it ex parte

         and under seal.

                3.      On February 13th, 2025, I was present at a meeting, at which CFPB Chief Operating

         Officer Adam Martinez explained that the CFPB was in “wind down mode.” He then laid out the

         plan for how that “wind down” would occur. Term employees would be fired that day. The agency

         was preparing Reduction in Force notices for most other employees, who would be terminated

         soon after. Mr. Martinez said that the CFPB’s statutorily-required functions would be transferred

         to other agencies.

                4.      I have read Mr. Martinez’s declaration filed in this lawsuit. That declaration states

         that consumers who would be served by the CFPB Student Loan Ombudsman can seek help from


                                                          1
(Page 132 of Total)                                                                                             JA127
             Case 1:25-cv-00381-ABJ Document 38-3                 Filed 02/27/25 Page 2 of 2
       USCA Case #25-5091    Document #2114200                    Filed: 05/05/2025 Page 133 of 637



         the CFPB’s general Ombudsman Office, now that the Student Loan Ombudsman has been

         terminated. ECF 31-1 ¶ 21. That is not possible, however, because the employees of the general

         Ombudsman Office have been ordered not to perform any work.

                5.      Mr. Martinez’s declaration also states that the “Bureau has made no attempts to

         transfer any of its Funds back to the Federal Reserve.” ECF 31-1 ¶ 28. But I have seen an email

         dated February 11, 2025, in which Mr. Martinez stated that Chief Financial Officer Jafnar Gueye

         was in communications with the Federal Reserve about how to return money to either the Federal

         Reserve or the Treasury.



                I declare under penalty of perjury under the laws of the United States of America that the

         foregoing is true and correct.



         Executed on February 26, 2025, in Washington, D.C.

                                                                    /s/ Blake Doe
                                                                    Blake Doe




                                                        2
(Page 133 of Total)                                                                                          JA128
             Case 1:25-cv-00381-ABJ Document 38-4                   Filed 02/27/25 Page 1 of 5
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 134 of 637



                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA

          NATIONAL TREASURY
          EMPLOYEES UNION, et al.,
                         Plaintiffs,
               v.

          RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-0381-ABJ
          as Acting Director of the Consumer Financial
          Protection Bureau, et al.,

                                 Defendants.


                                      DECLARATION OF CHARLIE DOE

                I, Charlie Doe, declare as follows:

                1.      I am a Contracting Officer at the Consumer Financial Protection Bureau.

         A Contracting Officer negotiates, administers, and terminates contracts on behalf of the United

         States. The statements made in this declaration are based on my personal knowledge.

                2.      I am submitting this declaration pseudonymously because I fear retaliation. But if

         the Court would like to know my name, I would be willing to provide it ex parte and under seal.

                3.      I have been a contracting officer for many years, through multiple changes in

         administration. The events of the past few weeks are unlike anything I’ve ever seen at any agency

         during any change in administration (or at any other time). The instructions to contracting officers

         did not reflect a change in policy direction, but rather a wholesale termination of the contracts

         needed to keep the CFPB running.

                4.      On February 11, 2025, all contracting officers received an email ordering us to log

         in and begin terminating the vast majority of the CFPB’s contracts. We were directed to “terminate

         all Enforcement (102 contracts), Supervision (16 contracts), External Affairs (3 contracts),

         Consumer Response (20 contracts), Office of Director (33 Contracts), and Legal Division (all


                                                          1
(Page 134 of Total)                                                                                             JA129
             Case 1:25-cv-00381-ABJ Document 38-4                   Filed 02/27/25 Page 2 of 5
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 135 of 637



         except 2 contracts – FD Online licenses and litigation data).” We were directed to “get these

         Termination Notifications out ASAP.” The Bureau repeatedly authorized overtime for us to be

         able to terminate the contracts within a few days.

                5.      Following this directive, between February 11, 2025 and February 14, 2025, the

         CFPB issued notices of termination for over one-hundred contracts that supported the Bureau’s

         work. The Bureau terminated almost all of the contracts it had with vendors, including all contracts

         related to enforcement, supervision, external affairs, and consumer response. Among many other

         things, these contracts included contracts for storing, maintaining, and transferring data. They

         included contracts for maintaining the consumer complaint database; scrubbing the database of

         personally identifiable information; enabling consumer complaint information to be shared with

         the public and with states, localities, and other federal agencies; and protecting the complaint

         database from computer viruses. All expert contracts, including contracts with experts in pending

         litigation, were canceled. Contracts for training examiners who supervise banks and for

         administering the test that employees must take to become examiners were canceled. Contracts for

         ensuring that the CFPB’s website and publicly available information is accessible as required

         under the Americans with Disabilities Act. Contracts for the tools necessary for CFPB employees

         to do their jobs were canceled.

                6.      Before issuing contract termination notices, the Bureau asked CFPB employees to

         provide feedback on what contracts were necessary for the Bureau to continue to carry out its

         statutorily required functions. But the Bureau decided to ignore this feedback, instead issuing an

         urgent directive to the contracting department to cancel all of the agency’s contracts. I am aware

         of only two exceptions to this initial directive: the contract for storing litigation data and the

         database that houses employees’ financial disclosure information.




                                                          2
(Page 135 of Total)                                                                                             JA130
             Case 1:25-cv-00381-ABJ Document 38-4                   Filed 02/27/25 Page 3 of 5
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 136 of 637



                7.        A very small number of contracts have been reinstated. For example, following

         widespread media attention on the cancellation of the consumer complaint hotline, that contract

         was reinstated. But because the contract to maintain the database that houses those complaints

         remains canceled, the database is quickly degrading. And I understand that there is a backlog of

         thousands of complaints that have not been forwarded to financial institutions. The vast majority

         of the contracts the Bureau needs to perform its functions remain terminated, and they have not

         been replaced.

                8.        The contract termination notices sent the week of February 11, 2025 informed

         contractors that they should stop work on the contract, that the Bureau intended to terminate the

         contract, and that the contractor had 30 days to report to the Bureau any outstanding costs or costs

         related to terminating the contract.

                9.        These stop-work orders do not themselves complete the termination of a contract.

         In order to complete a contract’s termination, the vendor must report its settlement costs, the

         Bureau must pay those costs, and there must be what’s called a “closeout modification” of the

         contract, signed by both the vendor and a Bureau contracting officer.

                10.       If a contract is fully terminated, that termination cannot simply be rescinded.

         Federal Acquisition Regulations govern the process agencies must go through to requisition goods

         or services, and once a contract is fully terminated, procurement must go through that process.

         Unless the agency can justify awarding the contract without having a competitive bidding process,

         it will need to go through that entire process again. That process often takes six months to a year

         or more. Even the process of justifying an exemption from competitive bidding can take months.

         Re-procuring services for the CFPB to get up and running again would likely take even longer

         than usual here because the CFPB’s contracting office is already understaffed. The Bureau was




                                                          3
(Page 136 of Total)                                                                                             JA131
             Case 1:25-cv-00381-ABJ Document 38-4                     Filed 02/27/25 Page 4 of 5
       USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 137 of 637



         slated to hire additional Contract Specialists, but following a directive from Acting Director

         Vought, those offers were rescinded.

                11.     This full contract termination process is ordinarily completed within 30 days of the

         notice of termination, sometimes sooner.        The Bureau recently began issuing directives to

         contracting officers that we should complete the termination process for the more than one hundred

         contracts for which it had issued stop-work notices as quickly as possible. We were directed to

         complete contract termination, even if the ordinary, required steps, such as consulting with legal,

         receiving and approving settlement costs, and even getting the vendor’s signature, had not been

         completed. Following what I understand was a temporary agreement between the plaintiffs and

         the Government pending this Court’s hearing on March 3, we were directed to pause the

         finalization of contract terminations. Absent that agreement, many of the CFPB’s contracts would

         have been fully and irrevocably terminated by the end of this week. Once that agreement expires

         after the hearing, if there is no order prohibiting the continuation of contract terminations, I expect

         the vast majority of the CFPB’s contracts to be fully terminated within the week.

                12.     To my knowledge, the Bureau has not taken any efforts to preserve CFPB data that

         is possessed by vendors whose contracts are terminated. Previously, when I issued a final contract

         termination, I would include a data preservation notice to ensure that Bureau data was not deleted.

         But none of the stop-work notices or other termination paperwork that I am aware of contains a

         provision requiring data preservation, requiring the return of data to the CFPB, or anything else

         governing data. We are being required to use form language that does not include anything about

         data preservation, and are not permitted to add that (or anything else) to the language provided.

                13.     As someone has been working in government procurement for 25 years, I have been

         a stalwart protector against waste, fraud, and abuse. I pride myself on being an excellent steward




                                                           4
(Page 137 of Total)                                                                                                JA132
             Case 1:25-cv-00381-ABJ Document 38-4                     Filed 02/27/25 Page 5 of 5
       USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 138 of 637



         of the tax payers’ dollars, which is a cornerstone of government procurement. That is what

         contracting officers do. The wholesale termination of contracts will not prevent waste, fraud, or

         abuse. Instead, the government will incur—and already has incurred—substantial expense because

         the government will have to pay contractors their costs to terminate a contract, and then pay them

         again the costs to re-start that contract (such as re-hiring employees, re-creating or re-starting any

         databases or software, re-purchasing any necessary tools etc.). In addition, if the contracts are fully

         terminated, it will require substantial work from government employees to re-procure the services

         they provided.



                I declare under penalty of perjury under the laws of the United States of America that the

         foregoing is true and correct.



         Executed on February 27, 2025, in Washington, D.C.

                                                                        /s/ Charlie Doe
                                                                        Charlie Doe




                                                           5
(Page 138 of Total)                                                                                                JA133
             Case 1:25-cv-00381-ABJ Document 38-5                    Filed 02/27/25 Page 1 of 4
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 139 of 637



                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLUMBIA

          NATIONAL TREASURY
          EMPLOYEES UNION, et al.,
                         Plaintiffs,
               v.

          RUSSELL VOUGHT, in his official capacity               Case No. 25-cv-0381-ABJ
          as Acting Director of the Consumer Financial
          Protection Bureau, et al.,

                                 Defendants.


                                        DECLARATION OF DREW DOE

                 I, Drew Doe, declare as follows:

                 1.     I am an employee at the Consumer Financial Protection Bureau (CFPB). This

         declaration is being written to establish a written record of conditions that I observed over the past

         month. The statements in this declaration are based on my personal knowledge.

                 2.     I am filing this declaration pseudonymously because I fear retaliation. If requested,

         I would be willing to share my name and position at the CFPB with the Court ex parte and under

         seal.

                 3.     On Thursday, February 6, and Friday, February 7, 2025, employees of the United

         States DOGE Service visited the CFPB and were given CFPB laptops. Contrary to the affidavit of

         Adam Martinez filed in AFL-CIO v. Dep’t of Labor (No. 25-339), those DOGE employees had

         not—and to this day, still have not—completed the required cybersecurity and privacy training. In

         addition, contrary to CFPB policy, they were allowed access to the CFPB’s systems and data

         before any agreement between the CFPB and DOGE regarding their work was signed.

                 4.     On February 7, DOGE employees were given full privileged access to CFPB

         systems and data, without following the process that the CFPB ordinarily requires to do so. For


                                                           1
(Page 139 of Total)                                                                                               JA134
             Case 1:25-cv-00381-ABJ Document 38-5                  Filed 02/27/25 Page 2 of 4
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 140 of 637



         example, the DOGE employees did not sign the documents that outline the rules governing the use

         of CFPB systems and data. They did not complete the training required for users who have such a

         high level of access to CFPB systems and data. Nor was any document waiving these requirements

         signed by an official with the power to authorize such a waiver.

                5.      On multiple occasions between Friday, February 7, 2025 and Tuesday, February

         25, 2025, multiple Senior Executives shared that the intention of the leadership was to fire

         everyone but the five positions required by the Dodd-Frank Act. They also shared that all five of

         the CFPB’s buildings (the headquarters in DC and all of the agency’s regional offices) were being

         returned to the agencies that had leased the buildings to CFPB. On multiple occasions, staff were

         told by Senior Executives that “the writing was on the wall” and that “it was all over but the

         terminations.” By Thursday, February 13th, most of the CFPB’s contracts had been terminated, all

         of the probationary employees had been fired (via a failed mail merge), and all term employees

         who had not already agreed to resign were fired. It was clear to internal staff that this was not a

         pause, nor audit, nor any form of analysis.

                6.      The CFPB terminated all contracts for Supervision, Enforcement, Consumer

         Response, Regulations, Front Office, and most of Operations contracts—approximately $200

         million terminated contracts out of approximately $227 million total contracts. The hasty

         termination of almost all of the Bureau’s contracts resulted in systems and services being turned

         off before CFPB or contract personnel returned CFPB data. Because not all systems have off-line

         backups, some of the CFPB’s data may have been deleted. Among other things, this data may

         include CFPB Human Resource records, Reasonable Accommodation records, Ombudsman

         records, and Equal Employment Opportunity records. The data may not be recoverable and as of

         February 25th, CFPB is trying to now figure out which systems and services have records.




                                                         2
(Page 140 of Total)                                                                                            JA135
             Case 1:25-cv-00381-ABJ Document 38-5                   Filed 02/27/25 Page 3 of 4
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 141 of 637



                7.      During meetings about the CFPB’s shut-down that took place between Monday,

         February 18 and Tuesday, February 25, staff were told by Senior Executives that the CFPB would

         be eliminated except for the five statutorily mandated positions; that the CFPB would exist in name

         only; and that, once this Court’s injunction was over, everything would need to be either removed

         from the building or destroyed. Staff were told by Senior Executives that the CFPB would no

         longer have an employee location and that data could not be stored at any CFPB location because

         there wouldn’t be any locations left. Staff were told that no DHS, OIG, GAO, OMB, Internal

         Controls, Congressional, or other compliance would be necessary because the CFPB would “not

         exist” and it would no longer be “our problem.”

                8.      Senior Executives explained that the work stoppage on February 10 was

         characterized as a work stoppage to avoid the 10-day legal limit on administrative leave. Because

         of the work stoppage, only the barest of information intake has been happening, and full data

         handling has been slowed if not eliminated due to the contract terminations and reversals. There

         has been no attempt internally to hide the fact that the disassembly of the CFPB continues despite

         the Court’s order. The status quo as of February 14th has not been maintained.

                9.      When Senior Executives were approached by staff about the inaccuracies in

         affidavits provided by Adam Martinez, the Senior Executives stated that they were not going to

         discuss the facts, and staff were told to stop asking. The majority of operations have been

         terminated. Moreover, for those few systems that have been allowed to continue, their operations

         staff have been largely terminated. Given the stop work order, the CFPB’s systems may be able to

         detect and log an ongoing issue, but may not be able to maintain secure operations or respond to a

         problem, as most of the contract staff are gone with no transfer of institutional knowledge.




                                                           3
(Page 141 of Total)                                                                                            JA136
             Case 1:25-cv-00381-ABJ Document 38-5                   Filed 02/27/25 Page 4 of 4
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 142 of 637



                10.     Because of the stop-work order, the work required to maintain the security and

         stability of the CFPB’s computer systems—including systems that collect and maintain CFPB

         data—is not happening.      Requests to perform this necessary work were denied by Senior

         Executives. Multiple iterations of cuts have left the CFPB systems with unclear support and

         maintenance. If this continues, almost all CFPB systems will be ended, with the few remaining

         systems reported to be transferred to another agency. The direction given was not to conduct

         streamlining but instead mandated that programs, staff, and contracts be pared beyond what can

         sustain any effective operation. One Senior Executive said that CFPB will become a “room at

         Treasury, White House, or Federal Reserve with five men and a phone in it.” Concerns raised to

         the Senior Executives have been largely ignored, even when positions or requirements are

         mandated by statutes other than Dodd-Frank. I am unaware of any effort to assess whether these

         actions have or will create any streamlining or efficiency gains.



                I declare under penalty of perjury under the laws of the United States of America that the

         foregoing is true and correct.



         Executed on February 26, 2025, in Washington, D.C.

                                                                      /s/ Drew Doe
                                                                      Drew Doe




                                                          4
(Page 142 of Total)                                                                                          JA137
             Case 1:25-cv-00381-ABJ Document 38-6                  Filed 02/27/25 Page 1 of 4
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 143 of 637



                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA

           ATIO AL TREASURY
          EMPLOYEES UNION, et al.,
                         Plaintiffs,
                 V.


          RUSSELL VOUGHT, in his official capacity             Case    o. 25-cv-0381-ABJ
          as Acting Director of the Consumer Financial
          Protection Bureau, et al.,

                                Defendants.


                                     DECLARATION OF ADAM SCOTT

                I, Adam Scott, declare as follows:

                1.      I am the Director of Digital Services at the Consumer Financial Protection Bureau.

         The statements made in this declaration are based on my personal knowledge.

                2.      On February 18, 2025, I was cced on an email from another employee to Chief

         Operating Officer Adam Martinez and Chief Information Officer Christopher Chilbert, requesting

         authorization to work to repair the CFPB's homepage. The employee repo1ted that members of the

         "DOGE Organization" had "delet[ed] the homepage for some unknown reason." And he detailed

         the ways in which the "broken homepage ha[ d] damaged several aspects of our technical

         operations already."

                3.      I was also cced on Mr. Chilbert' s response, sent approximately an hour later. Mr.

         Chilbert denied authorization, stating "My understanding is that the decision to delete the

         homepage was made by Acting Director Vought, and it was not an en-or made by the members of

         the DOGE team. We do not have authorization at this time to restore the homepage[.]"

                4.      The email chain containing the initial email requesting wor~k authorization and Mr,

         Chilbert's response are attached as Exhibit A.



(Page 143 of Total)                                                                                           JA138
             Case 1:25-cv-00381-ABJ Document 38-6                 Filed 02/27/25 Page 2 of 4
       USCA Case #25-5091    Document #2114200                    Filed: 05/05/2025 Page 144 of 637




                I declare w1der penalty of pe1jury under the laws of the United States of America that the

         foregoing is true and correct.



         Executed on February 27, 2025, in Washington, D.C.


                                                                    Adam Scott




                                                        2
(Page 144 of Total)                                                                                          JA139
             Case 1:25-cv-00381-ABJ Document 38-6   Filed 02/27/25 Page 3 of 4
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 145 of 637




                      Exhibit A




(Page 145 of Total)                                                                 JA140
              Case 1:25-cv-00381-ABJ Document 38-6                                         Filed 02/27/25 Page 4 of 4
        USCA Case #25-5091    Document #2114200                                            Filed: 05/05/2025 Page 146 of 637




     RE: Requesting uthorizatlon to repair the cf.gov homepage

                                                                                                                                       TOllav at 9.3:z. M




      My underst.1nd1ng is that h dl!C1s.Jcn lo d I t th hom page was mad by Acting O rector Vought, and it was not an error mode by t he memben
      of the OOGE team. We do not have authoriu on at this t1   to restore th homepage or ngage the DOGE team In an AAR,

      Oirls C:hllben



     From:                                             >
       nt: Tuesday Fe
     To: Martinel, Adam                                      Chllb rt, Chrl toph r
     Cc: Scott, Adam (CFPB
     Subj ect: Requesting au

     Adem and Chns,

     Apologies for the unusual emaH address. These are unusual times, · and I have a request for outhonzatlon to work that I'm nol sure should
      e addressed to one or lhe oth r o you, so I figured I would keep you t101h In the loop. I h ve also cc'ed my m nager for vlslblllty, so ne can
     be aware if such v.-ork Is author11ed

     Based on news reports hat Gav n Kligeris now a the IRS, it seems like the DOGE Organization is largely done with its technical work at the
     agency to •improve the quality and elflciency of government-wide software, n twork inlrastructure, and inlormaTion technology (IT)
     systems.~

     A part of ttus wor on improving q aUty, they also damaged the website by deleting the homepage for some unknown rea$on. I have heard
     tho CFPBsuiff were able to persuade them to not dole10 everything ont,rely (es they did lor USAID). I struggle to understand why this
     del t10n was necessary a ell and why they demanded access to the website with extrem urgency la1e on a Friday night. Despi1e hei1 stated
     assurances, it seems they did not follow our processes, nor d d they welt for 1;1n employee signing on under ownl me to onboard them Into
     our w bshe's CMS, Wagtail. From what I understand, It seems thal they instead used global ad min privileges on our SSO Identity provider to
     fo1co occo88 into our aystorn ond moko tho change on their own. I havo many quootiono stlll, but I hope to be oble to explore thern through o
     more establlshed process rather than relying on hearsay (see below).

     I know some teams have been recerved authorization to cont nue working despite the general stop• ork order from tile Act ng Director. I
     would like t-o request authorizouon for two scopes of work:

        1 . I would like for my teen, 10 repalrthe webs te's homepage. The rest of the site does remain accessible o the generelpublic, but having
            a broken homepage has damaged several aspects ol our technical operations already:
               a. $110 c,awlIng by search Indices like Google is likely not hoppenlng, lh s wlll dem ge our SEO ondvts bll1tyto the world and couso
                  our content to become less v slble 1n search 011er time
               b. I av confirmed also hat our automated eocesslblUty conning is now malfunctioning and is un ble to verify our site still
                  meets its mandal d 508 compliance for accessibility




(Page 146 of Total)                                                                                                                                    JA141
            Case 1:25-cv-00381-ABJ Document 38-7                     Filed 02/27/25 Page 1 of 13
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 147 of 637



                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRJCT O F COLUMBIA


           ATIONAL T REASURY
          EMPLOYEES UNION, et al.,
                          Plaintijf:Y,

          V.
                                                                Case No. 25-cv-381-ABJ
          RUSSELL VOUGHT, in his official capacity
          as Acting Director of the Consumer Financial
          Protection Bureau, et al.,
                                Defendants.


                                    DECLARATION OF MATTHEW PFAFF

                I, Matthew Pfaff, declare as follows:
                 1.     I am employed at the Consumer Financial Protection Bureau, where I currently

         serve as the Chief of Staff for the Office of Consumer Response. Consumer Response is the unit

         responsible for "the centralized collection of, monitoring of, and response to consumer

         complaints," as well as sharing data, as required by 12 U.S.C. § 5493(b)(3)(A)-{D). It is also

         responsible for executing one of the CFPB's primary fitnctions of ..collecting, inve-stigating, and

         responding to consumer complaints" and providing "timely regulator response to consumers" as

         required by 12 U.S.C. § 551 l(c)(2) and 12 U.S.C. § 5534(a), respectively. As the Chief of Staff, I

         am responsible for leading the Office's efforts to meet its statutory obligations and support CFPB

         priorities and initiatives. I started serving as the Chief of Staff on February 14, 2021. I have been

         with the CFPB since October 2013, and I have worked in the Office of Consumer Response the

         entire time. The following is base<! on my personal knowledge or infom1ation provide<! to me while

         performing my duties.




(Page 147 of Total)                                                                                              JA142
            Case 1:25-cv-00381-ABJ Document 38-7                     Filed 02/27/25 Page 2 of 13
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 148 of 637



                                   The CFPB's Cons umer Complaint Process
                2.      The CFPB's consumer complaint process is the primary way that the CFPB hears

         from individuals and famil ies about problems they experience with bank accounts, mortgages,

         cred it repo1ting, and other consumer financial products. These complaints come from active-duty

         military members, veterans, rural consumers, older Americans, and students. They come from all

         50 states. They come from individuals of all backgrounds and all socio-economic statuses.

                3.      Submitting a complaint is simple. Consumers can submit complaints online, over

         the phone, and by mail. Other federnl agencies (e.g., Office of the Comptroller of the Currency,

         Federal Deposit Insurance Corporation, Federal Trade Commission, Federal Reserve, National

         Credit Union Administration), states, congressional offices, and the Vlhile House cru1 also refer

         complaints to the CFPB for processing.

                4.      Processing complaints a t scale, however, is much more complex. Once the CFPB

         is in receipt of a complaint, it will ensure that the complaint is complete and direct the complaint

         to a company for a response or to another federal agency for handling. Complaints meeting the

         CFPB 's publication criteria are elig ible fo r inclusion in the publ ic Consumer Complaint Database.

                5.      The complaint process has proven lo be an efficient and effective forum for

         everyday people to have their problems addressed. indeed, of the more than 2. 7 million complaints

         published in the CfPB 's Consumer Complaint Database last year, companies provided a timely

         response 99.7% of the time and reported providing money back or other relief (e.g., corrections to

         consumer reports) in about half of those complaints. Since the CFPB opened its doors, companies

         have reported returning more than $300 mi llion dollars in response to complaints. Compan ies have

         also repo1ted that they discontinued mortgage forec losure proceedjngs, cancelled stude11t loans,

         refimded incorrect late fees, and reversed transactions for consumers who were scammed.




                                                          2
(Page 148 of Total)                                                                                              JA143
            Case 1:25-cv-00381-ABJ Document 38-7                   Filed 02/27/25 Page 3 of 13
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 149 of 637



                                      The Declaration of Adam Martinez
                6.      I have reviewed the declaration that the CFPB's ChiefOperating Officer and Acting

         Chief Human Capital Officer, Adam Martinez, submitted in this case. ECF No. 31 -1. Mr. Mru1inez

         summru-i ly concludes that "[t]he Bureau is performing its statutory obligations, including those

         listed in 12 U.S.C. § 5493(b)(3)(A)." id. at ~I 22. Mr. Martinez also declares that "[o]perations

         related to the Consumer Complaint Database are continuing and that ''[c]ontracts needed for work

         related to the Consumer Complaint Database have remained intact and operational." Id.

                7.     Mr. Ma1tinez's statements are misleading, inaccurc1.te, or both.

                8.      Mr. Martinez's statements further demonstrate a lack of understanding about the

         consumer complai11t program. When i11dividuals or their representatives submit a complaint to the

         CfPB, the complaint is submitted to and included in a case management system. This case

         management system allows consumers, companies, and the CFPB to securely share information

         and engage in the complaint process. This case management system is also how both the CFPB

         and companies can deliver timely responses to consumers as required by law. Information from

         the case management system populates other systems to meet data sharing requireme11ts with

         federal ru1d state agencies, as well as with the public via the Consumer Complaint Database.

         People- both federal employees and contractors- make this entire operation run succecgsfolly.

                9.     On Monday, February LO, 2025, Acting CFPB Director Russell Vought directed

         staff to "not perfonn any work tasks" and to "stand down from performing any work task." Id. at

         Ex. F. Consumer Response staff complied with the Acting Director's order. As a result of this

         compliance, the "operations related to the Consumer Complaint Database" are 1101 "continuing."

         A11d many of the "conlracts needed for work related to the Consumer Complaint Database" have

         not "remained intact and operational."




                                                         3
(Page 149 of Total)                                                                                          JA144
            Case 1:25-cv-00381-ABJ Document 38-7                    Filed 02/27/25 Page 4 of 13
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 150 of 637



                           Operations Related to the Consumer Complaint Program
                                      and Database are Not Continuing

                 10.    Consumer Response is composed of several teams, each tasked with carrying out

         one (or a set of) the CFPB's statutory obligations. On February 13, 2025, members of the

         .. Department of Government Efficiency'' (DOGE) requested that Consumer Response define

         competitive areas- areas explicitly required by statute-for purposes of a Reduction in Force

         (RJF). I drafted a memo that provided infonnation about the teams within Consumer Response

         that align to specific statutory obligations. Mr. Marti11ez was provided a copy ofthis memo. A copy

         of that memo is attached hereto as Exhibit A.

                11 .    None of the teams listed in the memo. which align to statutory obligations. have

         been activated to work. As a result, the complaint hand ling operation has experienced a significant

         dismption.

                12.     Complaints refened by congressional offices, states, and most federal agencies are

         not being reviewed and sent to companies. T hese complaints require federal staff to review and

         process.

                13.     Complaints about companies that are not yet participating in the complaint program

         are not being addressed. These complaints require federal staff review and a manual invitation to

         participate in the program.

                14.     Complaints in which consumers misspelled the name of the company are not being

         sent to companies. These complaints require federal staff review and manual processing.

                 15.    Incomplete complaints are not being processed or worked by anyo11e. These

         complaints require federal staff to conduct outreach to consumers for additional information.

                16.     Taken together, in these categories alone, l expect that more than L0,000 complaints

         are currently awaiting federal staff review. This is a large and unprecedented backlog.



                                                          4
(Page 150 of Total)                                                                                             JA145
            Case 1:25-cv-00381-ABJ Document 38-7                     Filed 02/27/25 Page 5 of 13
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 151 of 637



                17.     Complaints are not being "monitored." Consumer Response has a team of subject

         matter experts who monitor complaints to ensure that consumers are receiving timely, accurate,

         and complete respo11ses to their complaints. Subject matter experts also monitor complaints for

         emergent issues across market and at companies. This ongoing monilo1ing provides a necessary

         check on the complaint program to ensure that consumers receive meaningful responses. Without

         this work, company responses are likely dedining in quality.

                18.     Complaints are not being "investigated," In addition to monitoring complaints,

         subject matter experts perfonn targeted investigations on certain complaints. These investigations

         typically involve asking companies follow-up questions to ensure rules and regulations have been

         followed. And often, these targeted investigations yield additional relief for consumers.

                19.     Escalated issues are not being addressed. Consumer Response's Escalated Case

         Management team responds to consumers who are facing imminent foreclosure, may be a risk to

         others or themselves, and other sensitive issues.

                20.     Complaint sy5terns, including the case management system and systems for sharing

         data, are not being maintained. Complaint systems require federal and contractor staff to monitor

         and respond to issues affecting system health. Automatically generated error notices indicate the

         system has already experienced problems. lf these errors are not addressed, at some point, the

         system will break entirely. Additionally, companies that receive complaints through this system

         have received error notices that they are unable to export complaints out of the system, which will

         impede their ability to review and respond to complaints.

                21.     Stakeholder support tickets are not being resolved. Consumer Response receives

         hundreds of suppo11: tickets every month from company, congressional, and government

         stakeholders. Support tickets range from cornpanks trying to remedy potential privacy concerns




                                                             5
(Page 151 of Total)                                                                                            JA146
            Case 1:25-cv-00381-ABJ Document 38-7                     Filed 02/27/25 Page 6 of 13
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 152 of 637



         to resetting passwords. These tickets are not being reviewed and resolved, which is almost certainly

         frustrating the ability of stakeholders to complete their work.

                22.     Coordination with other federal regulators is not occurring. Indeed, I am aware of

         al least one federal agency that has noted the disruption in complaint processing. This disruption

         in timely referrals mean that other federal agencies will not be able to initiate their investigative

         processes.

                23 .    Complaints submitted by servicemembers and their families are not being

         monitored. It is my understanding that no one from the Office of Servicemember Affairs has been

         activated to work.

                24.     Student loan complaints are not being reviewed and informally resolved. The

         Student Loan Ombudsman role is v acant. Mr. Martinez seemingly suggests that the CFPB

         Ombudsman is an appropriate substitute. Yet again, this reflects a basic misunderstanding of the

         functions of that office and the authorities !,'l'anted to the CFPB Ombudsman by the Consumer

         Financial Protection Act. The CFPB Ombudsman does not assist in resolving any issues between

         consumers and compan ies; rather, it merely ensures that the CFPB is followi11g its own internal

         processes and procedures.

                25.     Audits and quality controls have halted. Consumer Response maintains an audit

         function that ensures complaint processes and procedures are being followed, and vendors are

         appropriately interacting with members of the public. This function also responds to oversight

         inquiries, such as those from the CFPB Ombudsman and the Office of Inspector General. There is

         currently no one per forming these essential functions.




                                                          6
(Page 152 of Total)                                                                                              JA147
            Case 1:25-cv-00381-ABJ Document 38-7                     Filed 02/27/25 Page 7 of 13
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 153 of 637



                26.      Activities to monitor and safeguard the system to prevent bad actors from misusing

         it have stopped. Tbis risks overwhelming the system and wastes the CFPB's technical resources

         and the resources of companies responding to complai11ts.

                  Contracts Needed for Work Related to the Consumer Complaint Program
                         and Database Haye Not Remained Intact and Operational

                27.      On February 11, 2025, the CFPB 's Chief Financial Officer, Jafuar Gueye, requested

         that offices review a list of contracts to detennine which, if any, directly supported a statutory

         requirement. I reviewed the list of contracts managed by Consumer Response and dete1mined that

         five contracts directly supported a statutory requirement. All five contracts were nevertheless

         terminated for convenience-after it was determined that they were necessary to support statutory

         requirements.

                28.      Since those terminations, following inquiries on the shutdown of Consumer

         Response, the contract for the Consumer Resource Center has been reactivated. This contract

         enables the CFPB to operate its toll-free telephone 11Umber. The Consumer Resource Center, which

         handles several thousand calls 011 any given day, recently had an outage lasting an entire day,

         meaning that nobody who called the CFPB's toll-free number to speak to someone to have their

         question answered, submit a complaint, or obtain a status update. Additionally, there is currently

         no oversight of the Consumer Resource Center by the CFPB.

                29.      Contracts for the maintenance of complaint systems, including the case

         management system and systems for sharing data, remain terminated.

                30.      Contracts ma11aged by other offices but that affect complaint systems have also

         been terminated. Among these contracts was a subscription to virus scanning software. Withou t

         this software, most comp laints cannot be sent to companie.s for review and response. Similarly,

         consumers cannot access any attachments that companies may upload in response to the complaint.



                                                         7
(Page 153 of Total)                                                                                           JA148
            Case 1:25-cv-00381-ABJ Document 38-7                     Filed 02/27/25 Page 8 of 13
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 154 of 637



         Although this contract was recently reinstated, the disruption in virus sca1ming software meant that

         tens of thousands of complaints were not been promptly sent to companies and are now instead

         part of a large backlog.

                                             WhistleblO'wer Disclosure

                31.     I have provided a copy of this declaration to the Office of Special Counsel pursuant

         to the Whistleblower Protection Act. I am making this whistleblower disclosure based on my

         reasonable belief that tl1e conduct described in this declaration constitutes a violation of a federal

         law and an abuse of authority. 5 U.S.C. § 2302(b)(8)(A).

                                                          ***

                I declare under penalty of perjury, pursuant to 28 U.S.C. § l 746, that the foregoing is true
         and COlTeCL

                Executed in Washi11gto11, DC this 26th day of February, 2025.




                                                           8
(Page 154 of Total)                                                                                               JA149
            Case 1:25-cv-00381-ABJ Document 38-7   Filed 02/27/25 Page 9 of 13
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 155 of 637




                                    Exhibit A




(Page 155 of Total)                                                                JA150
           Case 1:25-cv-00381-ABJ Document 38-7                   Filed 02/27/25 Page 10 of 13
      USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 156 of 637



         February 13. 20251
         lnfmmation Memo for the .Acting Director
                                                                              Consumct Response &
          FROM

          SUBJECT                   Divisional Staffing



          Sc1ect           □Situational     □Request for    181Reply to       □ Draft
          A_pplialble      Awaren~          Directional     lnquity from     DocumcDl
          Infcmnation                       Feedback        Director/FO      Feedback
          Typc(s)                                                            Request


         muc
         This purpose of this memorandum is to provide i.n.formalion about bow 1be staffofthe Consumer
         Response and Education Division align to the Consumer Financial Protection Bureau•s (CFPB' s)
         statutmy obligations.
         Dividoml Background
         The Consumer Response and Education Division (CRE) is responsible for executing the CFPB's
         first two statutoiy functions: (1) cood11mng financial education programs. and (2) collecting.
         invcstigating1 and responding co oomumer complaints. See 12 USC 551 l(cX:1}{2). CRE is the
         public face of die CFPB to individuals and their families, 4,:livering scalable services and tools
         designed to empower consumers to share their experienct.s m1he marketplace, respond to
         clJallenges, and make better informed financial decisions.

         There are two offices within CRE: the Office ofF.ina:ncial Education Bild the Office of Consumer
         Response. Financial Education is respomible for managing a suite ofmore than SO edllcational
         tools aod resources, <mtdbuting those tools to users, and researching 1hc effectivcn~ of financial
         c:ducation.~        -.Financial &iucation is also respom1l>le for supporting1he Director's
         membership in the Financial Litm0y and.Fduc,tion Commission. Financial Education's content
         is some of the most frequently visited content on the CFPB's website.

         Consmner Response is responsible for answering qwsti~ handling complainJs., and sharing data
         aod insights. O : , ~ R.espome rnaoag,'!S the CPPB's toll-he number and complaint program
         from end-to-end C.Omumet Response is al.so responsible for assisting complaint process
         sabbolders (e.g., responding to congxcssional mcmbets with their constituents' corq,laints.,
         misting QmJpany Portal users as they respond to their customer's concerns) and sharing
         complaint information. with Fedmal and State agencies.
        The current headcount for CRE Is appro:rlmately tS0-155 full-time employees. The,
        fundfonal ares1 Uded below aligned to statutory responslbilities toW approximately 80 to
        85.




(Page 156 of Total)                                                                                           JA151
           Case 1:25-cv-00381-ABJ Document 38-7                    Filed 02/27/25 Page 11 of 13
      USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 157 of 637



         omce of Finandll Education
        12 USC S493(d) requires the Director to "establish an Office of Pinancia1 F.ducation, which shall
        be responsible for developing and itl'.1)1ementing initiates intended to educate and empower
        conswners to make better informed financial decisions.u There is one competitive &ml within the
        Fmancial F.ducation, rcspomiblc for delivering several statutory obligations:

            • Developing and implementing initiatives intended to educate and enp,wer consumers to
              make better infom1ed financial decisions. Su 12 USC 5493(d)(l).
            • Developing and implementing a strategy to improve the financial literacy of consumers
              lb.at includes meuurable goals and objectives, in consultation with the Financial Literacy
              and Education Commission. See 12 USC S493(d)(2).
            • Coordinating wilh other units within.the Bureau in carrying out its functiom, including
              working with the Cmmnmity Affiun Office to implement the strategy to iq,rovc financial
              literacy of consumers; aod wodcmg wilh the research unit established by the Director to
              conduct research related to oonsumer financial education and 001D1Seling. See 12 USC
                S493(d)(3).
            •   Submitting a rcpod on its financial literacy activities and strategy to improve financial
                literacy of comumers See 12 USC S493(d)(4).

         The current headcolDlt for this area is 12.

         Office of Consumer Response
         12 USC 5493(b)(3)(A) requires lhe Director to "establish a wlit whose functions shall include
         establishing f\ single, toll-free telephone number, a website, and a d a ~ ... to facilitate the
         centralized collection ot: monitoring of, a n d ~ to consumer complaints regarding consumer
         financial products and or services." 12 USC 5534(a) requires the CFPB "to provide a timely
         respome to collSUIJlefS, in writing where appropriate, to complaints against, or inquiries
                                                                                                          ..
         amceming, a cov~ person." 15 USC 168li(e) establishes a process by which th~ CFPB mmt
         act and report out on certain credit and consumer reporting corq,laints. Consumer Response must
         coordinate with certain CFPB offices and persoone4 including the Private Student Loan
         Ombudmwiand Officeof Sc:rv:icemember Affairs. See 12 USC 5493(e), 12 USC 5535.

         Consumer Response bas several competitive affilS:

         Co1Ulllller Resoura Cmter
         12 USC S493(b)(3)(A) directs the CFPB to aeate establish a single, toll-free number. This team
         mana~ a Omsmner Resource Ceoter (CRC), which receives more than 40.000 calls per month.
         The CRC amwcrs oonsumers' inquiries, accepts and provides s ~ updates on complaints, and
         directs consumers resources such as state and local services.

         The current headcount for this area is 3.

         Complaint Ham/Jing
         12 USC SS34(a) requires the CFPB to timely respood to consumers, including any responses
         received by the regulator from the covered person. This team directs the complaints to companies
         for a response.


(Page 157 of Total)                                                                                         JA152
          Case 1:25-cv-00381-ABJ Document 38-7                   Filed 02/27/25 Page 12 of 13
     USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 158 of 637




         The CUITCllt headcount for this area is 7.

         P"'1lll Opaati,ons
         12 USC 5534(b) requires certain covered persons to provide a timely respome to the :regu]ator.
         This team is responsible for responding to stakebolder support tickets, including ti~ submitted
         by company, congressional, and government portal users.

         The current headcount for this area is 7.

         Mosaic Prognun
         12 USC S493(b)(3)(A) directs theCFPB to a-eate est.ablim a database to facilitate the centrali7.ed
         oollection ofcomplaints. 12 USC S493(b)(3)(D) requires the CFPB to share oonsumer complaint
         information with prudential regulators. the Federal Trade,Connnission, other Federal agencies, and
         State agencies. This team manages 1he technology that facilitates the handling ofmore than
         350,000 complain~ per month

         The C\DTCllt headcount for this area is S.
         bwatlgatwns (Regulillo,y O,,np/i1111Up Co.,,,,tmnt Monitoring, Raearch tRUI~
         Esoalado• Case Mam,gmu11t)
         12 USC :551 t(cX2) rc<(Uffl the CFPB to "investigate0 complaints. Additionally, 12 USC •
         S493(bX3XA) requires the CFPB to "monitor" complaints. This team is responsible for
         monitoring and investigating the more than three million complaints the CFPB receives annually.
         This team conducts investigative inquiries received by the Director's Office. This team also
         conducts ~ that support the Chiefof Staff's team efforts to meet the publication of statutozy
         reports and supports rule lookback ~essments as required by 12 USC 5512.    I
                                                                                                         •




         The cuneot headoount for this area is S.




(Page 158 of Total)                                                                                      JA153
            Case 1:25-cv-00381-ABJ Document 38-7                  Filed 02/27/25 Page 13 of 13
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 159 of 637



         C1defofSt.a.ff Team
         Consumer Response is responsible for publishing or contributing to the publication of several
         ~rts. Those reports inolude:
             •   Consumer Respome Annual Report (as required by 12 use S493(bX3)(D))
             •   Fair Credit Reporting Act 611 (e) Report (as required by 1S USC 168 Ii(e)(S))
             •   Fair Debt Collection Practices Act Report (as required by 15 USC 1692m)
             •   CFPB Semi-Annual Rq,orts (required by 12 USC 5496)

         This team is MSpOnSibJe for the production and publication of these report,, inc1uding any follow-
         up questions from oversight bodies.

         The CUD'Ctlt headcount for this area is S.

         Managanent ud Open.dons
         This team provided the executive direction for both offices within the division. The ament
         divisional executives each have a dual role both division and office level executives. The office
         level executive positions remain vacant The team also provides centralized support to each office
         regarding resource managemcm functions including budget, acquisition management, training,
         management reporting. and coordination with inmmal and external stakeholders, and oversight
         bodies such as GAO and OIG.

         Toe C\D"l'eDt heaa;.ount for this area is 5.




                                                                                                                 •I



                                                                 I Ii




                                                                                                                 I    I




(Page 159 of Total)                                                                                           JA154
            Case 1:25-cv-00381-ABJ Document 38-8                     Filed 02/27/25 Page 1 of 12
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 160 of 637



                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLUMBIA

          NATIONAL TREASURY
          EMPLOYEES UNION, et al.,
                         Plaintiffs,
               v.

          RUSSELL VOUGHT, in his official capacity               Case No. 25-cv-381-ABJ
          as Acting Director of the Consumer Financial
          Protection Bureau, et al.,

                                 Defendants.


                                      DECLARATION OF BRIAN SHEARER

         I, Brian Shearer, declare:

                1.      I currently serve as the Assistant Director in charge of the Office of Policy Planning

         and Strategy at the Consumer Financial Protection Bureau (CFPB). The Office of Policy Planning

         and Strategy is a sub-office within the Director’s Front Office that manages and coordinates the

         policy functions of the agency consistent with statutory restrictions and responsibilities.

                2.      I have been in this role since March 2024. Before that, I served in senior roles in

         the CFPB’s Front Office. I was on the CFPB agency review team for the last presidential transition

         and part of the “landing team” for the CFPB in 2020. Starting on January 20, 2021, I served as the

         lead advisor on enforcement and supervision for Acting Director David Uejio. When Director

         Rohit Chopra was confirmed in October 2021, I became his lead advisor on regulatory policy.

                3.      I also worked at the CFPB from September 2011 to July 2018. I spent most of that

         time as an attorney in the Office of Supervision Policy, but from early 2017 up until his departure

         from the agency in November 2017, I was Director Richard Cordray’s Senior Advisor. For the

         first several months of Acting Director Mick Mulvaney’s tenure, I was a Senior Advisor to




(Page 160 of Total)                                                                                              JA155
            Case 1:25-cv-00381-ABJ Document 38-8                  Filed 02/27/25 Page 2 of 12
       USCA Case #25-5091    Document #2114200                    Filed: 05/05/2025 Page 161 of 637



         Associate Director of Supervision, Enforcement, and Fair Lending Chris D’Angelo, until leaving

         the CFPB in July 2018.

                 4.    I have been personally involved in every presidential administration change that the

         CFPB has experienced since its inception. During the transition from President Obama to President

         Trump appointees in 2017, I was one of the staffers who briefed the Trump appointees as they

         took over leadership of the agency. For example, I helped brief then Acting Director Mulvaney on

         the then-existing enforcement docket, and briefed the first Trump Administration’s new political

         appointees on the CFPB’s supervision work. During the transition from President Trump to

         President Biden appointees, I was one of the appointees who arrived at the CFPB after Director

         Kraninger resigned, and I advised Acting Director Uejio during that transition before Director

         Chopra was confirmed by the Senate. And I have now observed the recent transition from Director

         Chopra to Acting Director Bessent and Acting Director Vought.

                5.     The typical actions of a transition, which both Acting Directors Mulvaney and

         Uejio immediately took, include (1) requiring new approval for publication of materials that have

         not been approved by the new leadership, (2) postponing the effective dates of outstanding rules

         pending reconsideration, (3) instructing the CFPB to pursue new projects consistent with new

         priorities, (4) receiving briefings on the outstanding enforcement docket and examination

         calendars in order to begin to steer the enforcement docket and examination calendar towards new

         priorities and to make decisions on individual investigations and exams, (5) fielding voluminous

         memoranda and briefings on whether to start, continue, or discontinue various projects, and (5)

         holding meetings to introduce themselves and convey priorities to the staff and management chain

         of command.




(Page 161 of Total)                                                                                           JA156
            Case 1:25-cv-00381-ABJ Document 38-8                      Filed 02/27/25 Page 3 of 12
       USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 162 of 637



                6.      More specifically, in a normal transition, the CFPB’s consumer complaint function

         continues largely unaffected because it is statutorily required and does not implicate ideology or

         matters of policy. Examinations that have already started continue, but the incoming

         administration makes adjustments to the future examination calendar. Enforcement matters in

         active litigation in court continue to be prosecuted. Enforcement investigations continue, though

         over time new investigative priorities are conveyed to staff to realign the work, and the Acting

         Director decides on a case-by-case basis whether to grant the enforcement staff authority to seek

         settlements, file lawsuits, reach out to targets of investigations, or close investigations. Economists

         continue to conduct research, but the Acting Director and his appointees review the research

         reports before approving them for publication. And other internal work of the agency continues in

         a similar vein. This is what Acting Director Mulvaney did under the prior Trump Administration.

                7.      In short, transitionary Acting Directors that serve between confirmed Directors

         have no legitimate need to bring the agency to a complete stop in order to shift the agency’s policy

         priorities—and, indeed, they have never done so at any prior point in the agency’s history. Instead,

         the agency’s work continues. And transition periods are busy times. Agency staff have many

         meetings with new leadership and write many memos seeking new direction. Staff seek guidance

         from the new administration’s leadership, and the new agency leadership reviews and approves,

         adjusts, or rejects individual investigations, regulations, exam reports, research reports, and other

         output before they are published. The new administration also starts new projects at the direction

         of the new agency leadership, and over a short amount of time the back-log of projects started

         under the prior administration are replaced by projects started by the new administration.




(Page 162 of Total)                                                                                                JA157
            Case 1:25-cv-00381-ABJ Document 38-8                     Filed 02/27/25 Page 4 of 12
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 163 of 637



                8.      Based on my personal experience with CFPB transitions, including the differences

         between this transition and the beginning of the first Trump administration, the current transition

         is not normal and does not appear designed to redirect the agency towards new policy priorities.

         The incoming Trump appointees have not held all-hands or all-manager meetings. They have not

         communicated with most managers at the agency, including me. They have not even announced

         themselves to the agency.

                9.      The incoming administration has not approved the publication of any materials.

         They have not instructed the CFPB to pursue any new affirmative projects that I am aware of.

         They have not expressed the agency’s new priorities to the staff.

                10.     Notably, I have informed the incoming administration that I will be resigning and

         I have not heard of any plans to replace me. I occupy a position that guides policy across the agency

         under the Director’s vision. The fact that this administration has not bothered to fill my position

         suggests they are not engaged in a serious effort to redirect the agency’s policy work.

                11.      What the incoming administration has done is take the unprecedented action of

         putting everyone on paid administrative leave with limited exceptions. That means that

         examinations that were underway have been canceled, even though the American taxpayers are

         still paying the examiners. It means that the Office of Enforcement has stopped investigating cases,

         even though the taxpayers are still paying the investigators. It means that many of the actions

         necessary to keep the CFPB’s consumer complaint process fully functional have ceased. It means

         that the CFPB’s Markets teams are being paid to not meet with industry representatives. It means

         that the CFPB’s Research team is paid to not conduct ongoing, nonpartisan research. It means that

         the CFPB has stopped processing Freedom of Information Act (FOIA) requests, even though we

         still pay for employees whose sole job is to help the CFPB comply with FOIA, and even though




(Page 163 of Total)                                                                                              JA158
            Case 1:25-cv-00381-ABJ Document 38-8                     Filed 02/27/25 Page 5 of 12
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 164 of 637



         the law requires that we respond to such requests. And the CFPB has stopped reviewing comments

         on open proposed regulations, which it is obligated to review under the Administrative Procedure

         Act even if the incoming administration does not wish to finalize those rules (something one should

         not assume given that many of the open rulemakings have broad bipartisan consensus).

                12.     If one actually wanted to quickly re-align the CFPB to new priorities, the best (and

         most obvious) way to do so would be to put the agency staff to work briefing the leadership on the

         various available options on pending matters. CFPB staff often work overtime during transition

         periods to handle the workload necessary to quickly re-align priorities and policy in a responsible

         manner. And CFPB staff are professionals who put their personal views aside to present all

         available options to leadership—policy approaches taken under Director Chopra regularly

         involved debate and disagreement, but staff never let that get in the way of ensuring that the agency

         pursues the Director’s policy priorities. Placing staff on paid administrative leave en masse makes

         it impossible to perform this process at the volumes necessary to responsibly steer the agency

         towards new policy objectives.

                13.     Notably, leadership does not need to put everyone on paid leave to stop them from

         making announcements or taking public actions without permission. CFPB staff are accustomed

         to obtaining permission from leadership before speaking publicly or issuing anything on behalf of

         the CFPB. A great deal of the CFPB’s work is preparatory and non-public. For example, you do

         not need to cease work on document review in pending investigations in order to ensure the agency

         does not reach out to the target of the investigation without permission. You do not need to stop

         internal memo writing, comment review, or case law research to ensure that a regulation is not

         issued without permission. In fact, that is the very work necessary to brief the incoming leadership

         so that they are informed when making a decision on whether to proceed with those matters.




(Page 164 of Total)                                                                                              JA159
            Case 1:25-cv-00381-ABJ Document 38-8                      Filed 02/27/25 Page 6 of 12
       USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 165 of 637



                14.     The incoming administration has also taken the unprecedented step of immediately

         laying off employees in their probationary period or with time-limited employment contracts. And

         it has rushed to cancel contracts, including the CFPB’s lease. They have removed the CFPB

         signage from the agency’s DC headquarters building. They have closed the CFPB’s offices. They

         immediately, on the very first day of Acting Director Vought’s tenure, sent a letter to the Federal

         Reserve System determining that the funds in the CFPB’s operating account were sufficient to

         cover CFPB’s expenses through the 2025 fiscal year (i.e. to September 31, 2025).

                15.     The combination of (1) indiscriminately putting staff on administrative leave, (2)

         not setting up a process to make a high volume of individual decisions on discrete, ongoing matters,

         (3) immediately laying off tranches of employees with fewer employment protections, (4)

         terminating the lease and removing the CFPB’s signage from the building, (5) canceling contracts

         in a hasteful manner, (6) never introducing new members of leadership staff to existing staff or

         conveying any message at all to the agency about what it should be affirmatively working on, (7)

         telling the Federal Reserve System they would not ask for further funding for the rest of the fiscal

         year, (8) closing the agency’s offices amid an administration wide push to return to the office, (9)

         public statements by the President of the United States and the head of the new Department of

         Government Efficiency that the CFPB is being shut down, and (10) the unexplainable speed and

         urgency of each of those steps, suggests that the current acting leadership is attempting to shut

         down the CFPB expeditiously. In fact, I have heard from several other CFPB employees that they

         were directly told by the new leadership that we are in “wind down mode.”

                16.     The speed with which these actions are being taken is extraordinary. If the agency’s

         leadership wanted to marginally or even significantly shrink the agency’s headcount, redirect the

         agency’s efforts, and cut costs, it could do so in an orderly fashion over time, considering contracts,




(Page 165 of Total)                                                                                                JA160
            Case 1:25-cv-00381-ABJ Document 38-8                     Filed 02/27/25 Page 7 of 12
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 166 of 637



         investigations, and projects on an individual basis, after staffing up the political leadership

         structure of the agency in order to perform those tasks responsibly. This would not require a work

         stoppage, and in fact would require a substantial portion of the agency’s staff. The speed with

         which these efforts are being taken, and the fact that the leadership is not using the staff to make

         these decisions, suggests that the temporary acting leadership is attempting to “wind down” the

         agency before a court can enjoin their efforts. I cannot think of any other reason for this reckless

         speed given that the current presidential administration has four years—plenty of time—to

         accomplish its goals.

                17.     In particular, I would like to draw attention to a number of statements made in a

         declaration by Adam Martinez on February 24 that are either misleading by omission or are

         outright falsehoods:

            •   The declaration, at paragraph 11, references the Acting Director’s February 8 email to
                employees and describes it as communicating “eight functions” that CFPB staff should
                refrain from unless it is approved by the Acting Director or required by law. This email is
                framed in the declaration as suggesting that the CFPB is still performing functions required
                by law, which is false to a significant extent. He omits that this email was followed up by
                another email on February 10 directing staff to stop all work. Mr. Martinez states that this
                step was “not unusual,” but it is a step that has never been taken before in the history of the
                agency. The CFPB has never stopped substantially all work during a transition, and has
                never put the majority of agency staff on administrative leave.

            •   The declaration appears to focus on a caveat in the February 8th email about “statutorily
                required” work, but does not acknowledge that the February 10th email eliminated that
                caveat. Nor does it acknowledge the basic fact that the CFPB’s core statutory
                responsibilities have, in fact, completely ceased, including the full supervision and
                enforcement divisions. The full division of the CFPB tasked with managing the consumer
                complaint function is on administrative leave (some of the automated processes are still
                live, but the manual maintenance and work has ceased). Staff in statutorily required offices
                or positions (e.g. student loan ombudsman, Office of Fair Lending and Equal Opportunity,
                Office of Research, Office of Financial Education) have been fired or put on administrative
                leave.

            •   The declaration falsely suggests that the entire headquarters building was closed for safety,
                citing small union protests and one incident where an employee pushing a baby stroller
                took pictures of White House staff. The CFPB’s employee union has picketed the agency



(Page 166 of Total)                                                                                               JA161
            Case 1:25-cv-00381-ABJ Document 38-8                    Filed 02/27/25 Page 8 of 12
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 167 of 637



                before, including recently during a labor dispute with management during Mr. Martinez’s
                tenure at the CFPB. The CFPB’s office is near the White House, and thus, the streets around
                the office are often filled with protestors advocating for a variety of causes. The CFPB has
                security guards capable of handling this security environment, locks on doors, and the
                ability to take individual personnel actions in response to incidents or to turn off
                individuals’ access to the building. The cited security reasons for closing the building are
                simply not credible and were not articulated at the time of the closure.1

            •   In paragraph 21, the declaration claims that leadership has approved the following tasks:
                (1) onboarding political leadership, (2) data security, (3) maintaining a discrete set of
                systems, (4) maintaining a consumer complaint call center contract, and (5) and processing
                Civil Penalty Fund payments to consumers. Of course, the CFPB has many other statutory
                obligations, including the obligations to enforce federal consumer financial law, conduct
                examinations of regulated entities, and many other functions. The CFPB has turned off
                whole divisions tasked with performing those statutory duties.

            •   In particular, in paragraph 21, Mr. Martinez claims that even though the Student Loan
                Ombudsman position is currently vacant, consumers can seek support from the CFPB’s
                Ombudsman Office for their student loan related issues. This is patently false. Both
                positions are statutorily required, but their functions are completely different. The CFPB
                Ombudsman Office is, by statute, a liaison between the CFPB and effected persons. 12
                USC 5493(a)(5). In other words, it is an office outside parties can use if they have
                complaints or concerns about the CFPB, not if they need help dealing with a regulated
                entity. Only the Student Loan Ombudsman performs the statutorily required work of
                assisting consumers with individual student loan related issues. This mistake is particularly
                concerning because it suggests a lack of familiarity with the functions of the agency—it
                appears to be a mistake based on the fact that the names of the roles are similar.

            •   In paragraph 22, Mr. Martinez states that the agency has not pulled down the CFPB’s
                complaint website, and has not canceled contracts relating to the complaint database,
                without mentioning that the whole Consumer Response division that maintains the CFPB’s
                complaint function is currently on administrative leave.

            •   In paragraph 26, Mr. Martinez states that Acting Director Vought determined that the
                current operating balance of the CFPB was enough to cover projected expenses for the
                upcoming quarter. But Acting Director Vought said that the funds were sufficient to cover
                expenses through the end of the fiscal year, not just the upcoming quarter. And Mr.
                Martinez neglected to convey that the Acting Director claimed that the CFPB had a balance
                of $711 million, when in fact a large percentage of that money is obligated and unavailable
                for future CFPB expenses. For example, $100 million in the account is from a settlement


                1
                    See Kate Berry, Justice Dept. insists ‘there will continue to be a CFPB’, The American
         Banker, Feb. 25, 2025 (reporting that the government’s legal filings in this case “falsely claimed
         that it closed the CFPB's Washington D.C. headquarters in response to protests by employees —
         even though the protests happened only after the office was shuttered.”).


(Page 167 of Total)                                                                                             JA162
            Case 1:25-cv-00381-ABJ Document 38-8                    Filed 02/27/25 Page 9 of 12
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 168 of 637



                with Navient Corp. and must be distributed as redress to victims once the CFPB takes the
                applicable employees off administrative leave.

            •   In paragraph 27, Mr. Martinez states that Acting Director Vought considered a variety of
                factors including the impact of anticipated efficiency initiatives at the CFPB and consumer
                interests, before deciding that the funds in the operating account are enough to cover the
                agency’s expenses through September 31, 2025. If that were true, and the agency had a
                concrete plan about the specific budget and expenses necessary to continue the functions
                it intends to continue, the agency would be able to articulate that concrete spending plan to
                the court. These kinds of financial plans are not confidential—the CFPB publishes its
                financial reports, and I would expect that the agency would publish this information in the
                Chief Financial Officer’s next update, which is due to be published right around now.

                18.     Lastly, I wish to highlight the ongoing harm to the public associated with the

         continued work stoppage at the CFPB. Every day, CFPB staff work to investigate cases, conduct

         examinations of regulated entities, produce valuable research, and publish data about consumer

         finance in the United States, review public comments and issue regulations, provide guidance to

         industry, and facilitate complaints. On a relatively small budget of just over $800 million per year

         (none of which comes directly from appropriations), the CFPB produces billions of dollars in

         quantifiable savings to the American people every year. For example:

            •   The CFPB’s enforcement team has returned over $20 billion ill-gotten gains to consumers
                since the agency’s founding.

            •   In December, the CFPB returned double the agency’s annual budget, $1.6 billion, to
                victims of a single debt relief scam.

            •   The CFPB’s recent “junk fee” initiatives have reduced fees by up to $21 billion annually,
                including $10 billion from the CFPB’s credit card late fee rule, $6 billion in contracting
                overdraft and non-sufficient fund fees in response to the agency’s policy and law
                enforcement work, and $5 billion from the CFPB’s recent overdraft rule.

            •   The CFPB’s Qualified Mortgage Rule, issued under Director Kraninger, saves at least $4
                billion annually.

            •   The CFPB’s Regulation X, issued in 2014, continues to save $45 million every year in
                forced-placed insurance premiums.

            •   The CFPB’s complaint function processes over one million consumer complaints annually,
                which, for comparison, is more than 10 times the volumes handled by the Better Business



(Page 168 of Total)                                                                                             JA163
            Case 1:25-cv-00381-ABJ Document 38-8                    Filed 02/27/25 Page 10 of 12
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 169 of 637



                Bureau. Over the course of the CFPB’s short existence, the CFPB has closed over 2.5
                million complaints with non-monetary relief, and in over 171,000 complaints, the company
                reported to the CFPB that it provided monetary relief.

            •   In the last two years alone, the CFPB’s supervision function returned $350 million to
                consumers harmed by various illegal fee practices.

                19.     As with any other effective law enforcement agency, the CFPB’s work creates an

         undeniable deterrence effect. When companies know that there is an active supervision program

         to examine for compliance with the law, a robust enforcement team investigating lawbreaking, and

         a complaint function that consumers use, very large bureaucratic corporations invest in compliance

         efforts to ensure compliance with the law. Right now, companies are almost certainly

         deprioritizing compliance in light of the news of the agency’s work stoppage, planting the seeds

         for a white-collar financial crime spree that will likely manifest in the coming years.

                20.     In addition to the monetary relief, each investigation or examination has a chance

         to produce value for American consumers in the form of illegal practices that are stopped. For

         example, before the CFPB was created, many banks used deceptive practices to attach “add-on”

         services to credit cards, which consumers paid for but never benefited from. A sweep of CFPB

         enforcement actions in 2014 put an end to that practice. The CFPB’s enforcement team, under

         leadership appointed by Presidents Obama, Trump, and Biden also ended the widespread practice

         of banks opening fake checking accounts in people’s names (sometimes leading to consumer

         charges) in order to inflate account-opening metrics. As has been publicly revealed in editions of

         Supervisory Highlights, the CFPB’s supervision team, under leadership appointed by Presidents

         Obama, Trump, and Biden, stopped auto loan companies from accidentally repossessing cars when

         the loan was not in default, and stopped auto loan companies from withholding consumers’

         personal property found in repossessed vehicles until the consumer paid a fee. CFPB enforcement

         and supervision teams stop hundreds of harmful law violations every year.



(Page 169 of Total)                                                                                           JA164
            Case 1:25-cv-00381-ABJ Document 38-8                    Filed 02/27/25 Page 11 of 12
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 170 of 637



                21.     The CFPB’s complaint function saves consumers unquantifiable amounts of

         money, through both monetary relief granted by companies in response, non-monetary relief, and

         the incentive created to provide higher quality customer service. In particular, the CFPB

         automatically escalates complaints involving a pending home foreclosure for manual attention to

         prevent an unnecessary foreclosure if possible, something that is not currently happening. And

         agency staff spot-check the complaint database for complaints that would benefit from

         individualized, manual handling, which is also currently not happening.

                22.     The CFPB’s research and data releases are foundational to the public’s

         understanding of the financial markets. For example, the CFPB releases data on consumer credit

         trends that outside researchers regularly use. And the CFPB publishes the most detailed data on

         the credit card market available, something that is statutorily required but currently halted.

                23.     The agency only has so much capacity to handle enforcement investigations,

         examinations, complaints, research reports, and other work. We will not be able to make up for

         lost production caused by the current work stoppage, even if any individual case or examination

         or report can be finished later. An examination that is not occurring now, and is pushed off to next

         year, would occupy capacity that could have been used for another examination. If you shut down

         a car factory, you can restart it a month later and finish the car you didn’t complete before shutting

         down the factory, but you can’t make up the lost aggregate production of cars. The same is true

         for enforcement investigations, for complaints filed with the CFPB that require manual processing,

         for supervisory examinations, for research reports, and for nearly every other function of the CFPB

         that produces output for the benefit of the public and American consumers.

                24.     The CFPB was created in response to the predatory mortgage crisis that caused the

         Great Recession. When a small number of primarily nonbank mortgage lenders started originating




(Page 170 of Total)                                                                                               JA165
            Case 1:25-cv-00381-ABJ Document 38-8                    Filed 02/27/25 Page 12 of 12
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 171 of 637



         loans that set consumers up to fail in the 2000s, federal regulators failed to respond due to a lack

         of authority and the competing priorities of bank safety and soundness and monetary policy. The

         CFPB was established by an act of Congress to fill that gap and Congress assigned the CFPB with

         the responsibility and duty to police the market so that this never happens again. Since the creation

         of the CFPB, the United States has not experienced another economic recession caused by the

         consumer finance sector. But if the agency does not perform its statutory duties, I am concerned

         history will repeat itself.

                 I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

         and correct.

         Executed in Washington, DC                                           /s/ Brian Shearer
         February 27, 2025                                                    Brian Shearer




(Page 171 of Total)                                                                                              JA166
            Case 1:25-cv-00381-ABJ Document 38-9                     Filed 02/27/25 Page 1 of 16
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 172 of 637



                                    IN THE UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF COLUMBIA

           ATIO AL TREASURY
          EMPLOYEES UNIO , et al.,
                         Plaintiffs,
                    V.
                                                                   Case   o. 25-cv-0381-ABJ
          RUSSELL VOUGHT, in his official capacity
          as Acting Director of the Consumer Financial
          Protection Bureau, et al.,
                                 Defendants.


                                     THIRD DECLARATION OF ERIE MEYER

         I, Erie Meyer, declare the following under penalty of pe1jury:

                   1.      I served as the Chief Technologist and Senior Advisor to the Director at the

         Consumer Financial Protection Bureau from October 2021 until February 7, 2025, when I resigned.

         Because of my experience in that role, I have expertise regarding the agency 's website

         management, data protocols, contract oversight, and the impact of contract te1minations.

         Mishandled Data Retention Practices

                   2.      I have reviewed the declaration of Charlie Doe, a Contracting Officer at the

         CFPB, regarding the mass te1mination of contracts between Februaiy 11, 2025, and February 14,

         2025- and the CFPB ' s effort to finalize those terminations as quickly as possible.

                   3.      The highly irregular actions that the Bureau has taken within the past few days to

         rush the final termination of virtually all of its contracts across the full range of functions raises

         serious concerns about data preservation and the Bureau's ability to function at all. Final

         cancellation of the Bureau 's contracts will result in the irretrievable impai1ment and loss of Bureau

         data. I am also troubled that the Bureau appears not have taken appropriate steps to ensure

         compliance with this CoUI1's Februai·y 14 Order on data preservation.

              4.         The information in Charlie Doe's declaration accords with info1mation that I have

         received from several other current Bureau employees- former colleagues of mine- who are in a
(Page 172 of Total)                                                                                   JA167
            Case 1:25-cv-00381-ABJ Document 38-9                       Filed 02/27/25 Page 2 of 16
       USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025 Page 173 of 637


         position to know this information. They have expressed grave concern that the Bureau's rush to

         finalize the termination of the vast majority of the CFPB 's contracts risks the imminent loss of

         essential data and records. I understand that the government, upon the insistence of the plaintiffs in

         this case that these actions were not in compliance with the Comi's February 14 Order, has agreed

         to tempora1ily suspend cancellation of contracts through the Court's March 3 hearing, but no

         further. If the government is not immediately prevented from proceeding with contract terminations

         efforts thereafter, it will be too late to forestall permanent loss of the Bureau's data.

                 5.      My understanding is that the contracts that the Bureau seeks to fully terminate

         include- among others-contracts with experts (who have sensitive litigation data), with other

         litigation contractors, and with companies that store, transmit, and maintain Bureau data. That data

         is crucial to everything from identifying and assisting victims of consumer fraud and providing

         them court-ordered relief, to tracking the financial information that is critical to the Bureau's role

         in helping to stabilize financial markets, to responding to consumer complaints. As I explained in

         my prior supplemental declaration, if the data possessed or maintained by these vendors is deleted

         or impaired, that would be a catastrophic loss for the Bureau and seriously impair its ability to carry

         out its obligations.

                 6.      The rush to finalize the te1mination of the vast majority of the Bureau's contracts is

         very likely to cause irretrievable data deletion, and to impair the data and records that are not

         deleted. It is standard indushy practice that following contract terminations, contractors delete any

         government data, because ordinarily contractors are not permitted to retain that data once they no

         longer have a contract to perfo,m work that requires it. Particularly in the absence of a data

         preservation clause in the termination notice, contract termination will almost ce1tainly result in the

         deletion of data either immediately or after a very short pe1iod (typically days or weeks). Even if

         the final termination modification contained a data preservation clause, this rush to terminate

(Page 173 of Total)                                                                                                JA168
            Case 1:25-cv-00381-ABJ Document 38-9                         Filed 02/27/25 Page 3 of 16
       USCA Case #25-5091    Document #2114200                           Filed: 05/05/2025 Page 174 of 637


         contracts is still very likely to result in the deletion of data and records the Bureau will be unable

         to lawfully get back. For example, if the retention pe1iod elapses before a functioning, approved

         government System of Record is available to accept and process that data, if there are not enough

         contracting officers to oversee that the firms are complying with the retention clauses, if the files

         are con11pted before a CFPB employee is able to detect and act on that emergency, a band-aid of a

         retention clause will not fully remediate the harm.

                7.      In addition, in the absence of continuous maintenance of CFPB databases-

         contracts that I understand the Bureau is seeking to fully tenninate~ there is a serious risk that the

         data they contain will be impaired. Without the benefit of vims scanning and other security

         software, audit logs to ensure that if data is improperly accessed that there is forensic evidence of

         that access and any manipulation, a continuity of operations protocol or staffing to address any

         unexpected outages or failures, or meaningful backups to compare data to for authenticating

         accuracy of the information, the data is at existential risk.

                 8.      Some contracts also provide suppo1t for CFPB-maintained data. Those contracts

         exist because in those cases, the CFPB does not have the capability to maintain the data on its own.

         Although the CFPB can manage temporary fixes for a limited period of time, if the contracts are

         permanently terminated and the CFPB must go without support for months or more while those

         services are re-procured, data will inevitably be impaired.

                9.      The data possessed and maintained by CFPB contractors includes the personal

         information of consumers and employees, as well as sensitive infonnation about financial markets

         and corporations. In addition to the risk of deletion, the msh to terminate the CFPB's contracts puts

         this data at serious risk of misuse or access by unauthorized parties.

                 10.    I urge the Court to consider the significant and long-term consequences of data loss

         that could arise from these contract terminations, especially where no clear measures have been

(Page 174 of Total)                                                                                               JA169
            Case 1:25-cv-00381-ABJ Document 38-9                     Filed 02/27/25 Page 4 of 16
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 175 of 637



         taken to ensure data retention or retrieval.

         Mass Cancellation of Cyber Security Contracts

                   11.    I have reviewed the February 24, 2025 declaration of Adam Martinez, the CFPB' s

         Chief Operating Officer. As previously stated in my earlier declaration, I worked alongside Mr.

         Martinez for several years and respected him as a colleague. In his declaration, he claimed security

         monitoring tasks were being performed and operations were being maintained. Unfortunately,

         based on the following facts, I have reason to believe that claim to be false.

                   12.    In recent days, 32 cybersecurity contracts have been cancelled, as reported on

         doge.gov/savings. Of these, five contracts have been posted in detail on the Federal Procurement

         Data System (FPDS), with a cancellation date of February 13th. The remaining 27 contracts,

         however, have not yet been published in detail due to what doge.gov has described as a "lag" in

         FPDS publications. A chart listing all 32 contracts, the cybersecmity impact of that contract, and

         the date of cancellation, is attached to this declaration as Exhibit A.

                   13. On Februa1y 14th, doge.gov/sav ings read simply "Receipts coming soon, no later than

         Valentine's day     " 1 Then starting Februaiy 15th, doge.gov/savings read "Receipts coming over

         the weekend!" 2 Ultimately, on Tuesday Februaiy 17th, doge.gov/savings was populated with

         content including cancelled contracts, including those back-dated to Februaiy 14th.

                   13.    I understand that a coUit order was issued on Februaiy 14th, directing the CFPB to

         preserve and not impair any data held by the Bmeau. I am particularly concerned that the

         cancellation of the 27 remaining contracts may have occun-ed after the issuance of the order, which

         raises serious questions about whether the Bureau is taking the steps necessa1y to ensme

         compliance with the order.



         1   https://web.archive.org/web/20250214152452/https://doge .gov/savings
         2 https://web.ai·chive.org/web/20250215213222/https://doge .gov/savings

(Page 175 of Total)                                                                                             JA170
            Case 1:25-cv-00381-ABJ Document 38-9                      Filed 02/27/25 Page 5 of 16
       USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 176 of 637


                 14.       As of the date of this declaration, it remains unclear when these 27 cancellations

         occurred, aside from the fact that they must have taken place after February 13th, and were touted

         on doge.gov no sooner than February 18th. The lack of clarity regarding the cancellation timeline

         and backdating exacerbates my concerns.

                 15.       The cancelled contracts cover a wide range of critical cybersecurity semces,

         including but not limited to:

                       o Application security (code vulnerability scanning, penetration testing)

                       o Centralized management and enforcement of security configurations across IT

                           infrastructure

                       o Cyber vulnerability tracking/reporting across hardware and software

                       o Certified Information System Auditor training

                       o Cybersecurity audit/event log analysis

                       o Cybersecurity contractors for the Security Authorization Environment

                       o Email server security and encryption

                       o Identity and access management (including single sign-on and software)

                       o IT network, systems, and applications management

                       o Network/application vulnerability scanning

                       o   Secure equipment disposal

                       o Virus scanning and cybersecurity for SaaS services

                       o VPN deployment on employee laptops

                       o Website and file virus scanning, among others.

                 16.       In light of these abrupt cancellations, I am particularly concerned that bureau data

         and systems are at serious risk of compromise, or have already been compromised.

                 17.       The revocation of contracts for cybersecurity audit and event log analysis rs

(Page 176 of Total)                                                                                               JA171
            Case 1:25-cv-00381-ABJ Document 38-9                    Filed 02/27/25 Page 6 of 16
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 177 of 637


         particularly concemmg, because it cou ld mean that there will be no evidence available if

         unauthorized users are accessing Bureau systems and data. The CFPB would not be able to tell what

         happened, and it could compromise ongoing litigation, trade secrets, and even implicate market

         stability.

         Blocking Consumers from Help

                 18.    During my tenure as Chief Technologist and Senior Advisor to the Director at CFPB,

         I worked closely with the consumerfinance.gov and consumer education teams to develop strategies

         that ensured that the Bureau's content reached people when they most needed it, even if they had

         not heard of CFPB. Using desk research, the team identified the key areas where consumers

         commonly sought out information about topics such as avoiding scams and shopping for mortgages

         - most consumers start on search engines. To address this, we implemented an open standard

         schema that allowed search engines to index CFPB's content, ensuring that the most common

         consumer questions appeared prominently in search results, including "Position Zero" or "PO"

         rankings. Search results with "PO" ranking are often featured snippets that directly answer consumer

         queries on the results page, and were critically important in preventing and inte1rupting fraud and

         scams by making reliable, government-backed information the top result.

                 19.    On Febrnary 7th, 2025, the CFPB homepage at consumerfinance.gov- the launching

         pad for most American consumers' interactions with the CFPB-was changed to a "404 - Site Not

         Found" error message.

                 20.    I have been reliably informed that the decision to delete the CFPB homepage was an

         intentional decision by Acting Director Vought and that efforts by staff to repair the homepage were

         expressly rebuffed by senior management, citing Voght's authority.

                 21.    This eITor, particularly when it affects the homepage of a website, can have severe

         repercussions. Specifically, it significantly haims the accessibility of impmtant consumer

         information that the CFPB provides. A "404 error" on a homepage results in the following
(Page 177 of Total)                                                                                             JA172
            Case 1:25-cv-00381-ABJ Document 38-9                     Filed 02/27/25 Page 7 of 16
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 178 of 637


         detrimental effects:


                      o Poor Experience: When someone lands on a 404 page on the homepage, they are

                         immediately presented with a frustrating experience. Consumers, particularly those

                         seeking important financial information or assistance, will likely abandon the site.

                      o Indexing Issues: Search engine crawlers rely on accessible pages to index and

                         rank content. A 404 error on the homepage can prevent crawlers from properly

                         accessing the site, thereby hindering the search engines' ability to index the

                         Bureau's impo1tant financial resources. This directly impacts the site's ability to

                         appear in search results, making it more difficult for consumers to find reliable,

                         government-backed financial information.


                22.      Since the implementation of the 404 error on the homepage of consumerfinance.gov

         on February 7th, 2025, the Bureau's web content- ranging from important in-the-moment guidance

         on financial abuse for victims of domestic violence, to help for military servicemembers to assert

         their 1ights under the Servicemembers' Civil Relief Act- has been removed from the most visible

         resu lts despite no other changes to the site or schema. Those top results have been replaced in some

         cases by content farms or worse, scam sites. This is a direct consequence of the 404 error disrupting

         CFPB's search engine visibility, leaving vulnerable consumers to be targeted by fraudulent actors

         instead of receiving accurate, reliable information from the Bureau. This disruption is not just a

         technical oversight; it is a direct 1isk to consumer protection effo1ts, as the Bureau's content is now

         being supplanted by potentially haimful, deceptive websites.

                23.      These changes are in direct opposition to the statutory goal of providing consumers

         with timely and understandable information to make responsible decisions about financial

         transactions under 12 U.S.C. § 51 l(b). This unnecessary action- breaking the homepage of this

        federal consumer protection agency to a 404 e1TOr page-has had a profoundly negative impact on
(Page 178 of Total)                                                                                    JA173
            Case 1:25-cv-00381-ABJ Document 38-9                    Filed 02/27/25 Page 8 of 16
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 179 of 637


         the ability of the CFPB to meet consumers where they are in their moments of need, especially

         when they are seeking to protect themselves from fraud and make infonned financial decisions. My

         years of experience and working directly with consumers looking for help info1m my belief that

         people are being in-eparably harmed when they are looking for help and instead find scams.

                24.     I am concerned that by breaking functionality of the website and in fact making it

         harder for consumers to access the critical financial infmmation that they seek, recent actions have

         made it impossible for the Bureau to comply with its statutory obligation to maintain a consumer-

         facing website under 12 U.S.C. § 5493(b)(3).


         "Your R ecent or Impending Separation[sj "


                25.     In recent days, when employees have emailed the Bureau's Human Relations (HR)

         staff with questions, they have received an unusual mass auto-response email indicating that the

         office will eventually address "your recent or impending separation." A trne and correct PDF copy

         of such an auto-response email that I received in response to an inquiry is attached as Exhibit B.



                I declare under penalty of perjmy under the laws of the United States of America that the

         foregoing is true and correct.

         Executed in Washington, DC on Febrnary 27, 2025             Isl Erie Meyer
                                                                     Erie Meyer




(Page 179 of Total)                                                                                             JA174
            Case 1:25-cv-00381-ABJ Document 38-9                           Filed 02/27/25 Page 9 of 16
       USCA Case #25-5091    Document #2114200                             Filed: 05/05/2025 Page 180 of 637




                                                   EXHIBIT A

         Mass Cancellation of CFPB Cyber Security Contracts
         Prepared 2/27 /25


         The list below is taken from doge.gov/savings and reflects 32 cyber security contracts they report having
         mass cancelled. The confirmed dates are as listed in the Federal Procurement Data System, and the w1known
         dates appear to have been cancelled sometime after 2/13. The doge site is experiencing lags and has evidence
         of backdating. The contracts below are listed on the doge site as having been "uploaded" on 2/14, but they
         were not listed before 2/18 ..


         The work these contracts included protecting personally identifiable information, system integrity, and
         maintaining audit logs, among other critical security services.




                Contract                                  Cybersecurity Impact                        Date of
                                                                                                      cancellation

          1     BEYONDTRUST LICENSES                      Identity and access management software      2/13/25

          2     YUBIENTERPRISE COMPLIANCE                 Physical 2FA keys issued to employees +      2/13/25
                TIER PLUS PLAN                            software

          3     C:Y.6EB.SEC!IB.IIY S!!££QB.I              Cybersecurity contractors                    2/13/25
                SERVICES - INFORMATION
                SE~IrBII:Y SI6.I::H:26E.QS (ISS)
          4     CYBERSECURITY SUPPORT                     Cybersecurity contractors                    2/13/25
                SERVICES BPA ORDER -
                SAFEGUARDS AND RISK
                M.a:t:L.~ GEMENI (SB.Ml

          5     CYBERSECURITY SUPPORT                     Cybersecurity contractors for SAE - team     2/13/25
                SEID::'.I~ES !U;!6 QBQEE. -               that performs cybersecurity review of new
                SECURITY ARCHITECTURE AND                 systems & sets required mitigations for
                ENGINEERING (SAE)                         ATO

          6     CLQlll2 IB..al:t::HI':IG                  Technical training on cloud environments    Unknown
                                                          including cyber / cloud security and
                                                          certification courses




(Page 180 of Total)                                                                                                     JA175
            Case 1:25-cv-00381-ABJ Document 38-9                              Filed 02/27/25 Page 10 of 16
       USCA Case #25-5091    Document #2114200                                 Filed: 05/05/2025 Page 181 of 637



          7    CERTIFIED INFORMATION                         CISA training                                Unknown
               SYSIEMS 6!!CllIQB. (GIS6l
               IN-PERSON TRAINING

          8    EZl!B.QIEGI SEE.J:'.IGES                      Virus scanning and cybersecurity for SaaS    Unknown
                                                             services

          9    CENTRALIZED PLATFORM                          Cybersecurity contractors                    Unknown
               C!;:n:!IB.QL SI6:t:ID6B. ClS srn~£Q BI
               SERVICES

          10   ANQM6LI LIGEl:::ISES EQB. CE£B                Security Event & Infonnation                 Unknown
                                                             Management (SIEM) platform

          11   SOLARWINDS MAINTENANCE                        IT network, systems, and applications        Unknown
               Al:::!Cl Sl!££QB.I                            management

          12   NUTANIX HARDWARE DESKTOP                      Management platfonn for IT hardware          Unknown
               ENGil:::IEEB.Il:::IG LAB SYSIEM               deployment and configuration
               UPGRADE

          13   !:;lS!:;Q SMARTNEI                            Security alerts, updates, and tech support   Unknown
               MAINTENANCE                                   for core network equipment

          14   ZIXGATEWAY ENTERPRISE                         Email server security & encryption           Unknown
               LICENSE RENEWAL

          15   ACCELLION KITEWORKS                           Secure file share / transfer services        Unknown
               ENTERPRISE

          16   VERACODE SERVICE BUNDLE                       Application security - code vulnerability    Unknown
               SUBSCRIPTION                                  scanning and penetration testing

          17   SECUREAUTH IDP LICENSE                        Identity and access management - single      Unknown
               RENEWAL                                       sign on

          18   AXQl:::II!IS SEC!lB.IIY 6SSBI                 Centralized tracking / reporting for cyber   Unknown
               MANAGEMENT PLATFORM                           vulnerability across IT hardware and
                                                             software

          19   CISCQ Al:::IYCQNNECI LICENSE                  VPN on laptops issued to employees           Unknown
               AND SUPPORT RENEWAL

          20   Al:::Il:::I!l.AI. S!!BSCB.l£IIQl:::I TO IHE   Third Party Risk Management (TPRM) -         Unknown
               BITSIGHT LARGE TPRM                           vendor security assessment, monitoring,
               PACKAGE                                       and reporting




(Page 181 of Total)                                                                                                 JA176
            Case 1:25-cv-00381-ABJ Document 38-9                Filed 02/27/25 Page 11 of 16
       USCA Case #25-5091    Document #2114200                   Filed: 05/05/2025 Page 182 of 637



          21   CYBERARK ENTERPRISE              Identity security - manage, rotate, and    Unknown
               LICENSES tiNQ MtiINIENtiNCE      monitor application credentials / secret
                                                keys

          22   E.612181:il U:2~:iIC LI!:ENSES   Identity data management and audit         Unknown

          23   PUPPET LABS RENEWAL              Centralized management, tracking, and      Unknown
                                                enforcement of security configuration
                                                across IT infrastructure

          24   CISCO AND NUTANIX                Network, hardware, and datacenter          Unknown
               HABQ~BE tiNQ SQETW6E.E           management

          25   SAFECONSOLE ENTERPRISE           Provision, manage, and audit secure        Unknown
               LICENSES                         encrypted USB drives

          26   VIRUSTOTAL BASIC                 Website and file virus scanning            Unknown
               SUBSCRIPTION

          27   QMULOS AUDIT /COMPLIANCE         Cybersecurity audit/ event log analysis    Unknown
               APPS

          28   IENA.61.E LICENSES ANQ           Network and application vulnerability      Unknown
               SCANNER                          scanning

          29   IT DEVICE DESTRUCTION            Secure equipment disposal                  Unknown

          30   SAFECONSOLE LICENSES             Provision, manage, and audit secure        Unknown
                                                encrypted USB drives

          31   KNOWB4 SUBSCRIPTION              Online provider of bureau-wide             Unknown
                                                mandatory cybersecurity training

          32   QE.DEE.l-!:r.6EE.£RQ~R~M         Cybersecurity contractors                  Unknown
               MANAGEMENT




(Page 182 of Total)                                                                                  JA177
            Case 1:25-cv-00381-ABJ Document 38-9                             Filed 02/27/25 Page 12 of 16
       USCA Case #25-5091    Document #2114200                                Filed: 05/05/2025 Page 183 of 637




                                                    EXHIBIT B

           Automatic reply: Question about my HR docs                                            lnbox x


           CFPBHROps <CFPBH ROps@fiscaLtreasury.go•n Wed. Feb 19, 12:30PM iB days ago)
           to me ...
                                                                                                   * Q              ~


           We are working diligently wil'h the agency during this transition to provide necessary docu ents related lo
           your rece tor impe·nding separa ·on.


           Please provide a personal email address and updated mailing address to ensur,e timely and effective
           co munica·Hons.


           AH separated employees will be receivi g a copy of their SF-50, otice of Personnel Action, as ,,ell as a
           separation packet v ·t information regardi g un employment, be efits a d lump sum annual leave, payment, if
           appf cable.


           Employees will have a 3 -day exte sion of their health insurance from the date of separatio provided by your
           health insurance carr"er at no cost to you. Dental and Vision benefits will terminate upon the date of
           separation.


           Thank you for your patie ce.




           (   ~ Reply ) ( ,-+ Forward ) @)




(Page 183 of Total)                                                                                                       JA178
            Case 1:25-cv-00381-ABJ Document 38-9                           Filed 02/27/25 Page 13 of 16
       USCA Case #25-5091    Document #2114200                              Filed: 05/05/2025 Page 184 of 637




                                                   EXHIBIT A

         Mass Cancellation of CFPB Cyber Security Contracts
         Prepared 2/27 /25


         The list below is taken from doge.gov/savings and reflects 32 cyber security contracts they report having
         mass cancelled. The confirmed dates are as listed in the Federal Procurement Data System, and the w1known
         dates appear to have been cancelled sometime after 2/13. The doge site is experiencing lags and has evidence
         of backdating. The contracts below are listed on the doge site as having been "uploaded" on 2/14, but they
         were not listed before 2/18 ..


         The work these contracts included protecting personally identifiable information, system integrity, and
         maintaining audit logs, among other critical security services.




                Contract                                  Cybersecurity Impact                        Date of
                                                                                                      cancellation

          1     BEYONDTRUST LICENSES                      Identity and access management software      2/13/25

          2     YUBIENTERPRISE COMPLIANCE                 Physical 2FA keys issued to employees +      2/13/25
                TIER PLUS PLAN                            software

          3     C:Y.6EB.SEC!IB.IIY S!!££QB.I              Cybersecurity contractors                    2/13/25
                SERVICES - INFORMATION
                SE~IrBII:Y SI6.I::H:26E.QS (ISS)
          4     CYBERSECURITY SUPPORT                     Cybersecurity contractors                    2/13/25
                SERVICES BPA ORDER -
                SAFEGUARDS AND RISK
                M.a:t:L.~ GEMENI (SB.Ml

          5     CYBERSECURITY SUPPORT                     Cybersecurity contractors for SAE - team     2/13/25
                SEID::'.I~ES !U;!6 QBQEE. -               that performs cybersecurity review of new
                SECURITY ARCHITECTURE AND                 systems & sets required mitigations for
                ENGINEERING (SAE)                         ATO

          6     CLQlll2 IB..al:t::HI':IG                  Technical training on cloud environments    Unknown
                                                          including cyber / cloud security and
                                                          certification courses




(Page 184 of Total)                                                                                                     JA179
            Case 1:25-cv-00381-ABJ Document 38-9                              Filed 02/27/25 Page 14 of 16
       USCA Case #25-5091    Document #2114200                                 Filed: 05/05/2025 Page 185 of 637



          7    CERTIFIED INFORMATION                         CISA training                                Unknown
               SYSIEMS 6!!CllIQB. (GIS6l
               IN-PERSON TRAINING

          8    EZl!B.QIEGI SEE.J:'.IGES                      Virus scanning and cybersecurity for SaaS    Unknown
                                                             services

          9    CENTRALIZED PLATFORM                          Cybersecurity contractors                    Unknown
               C!;:n:!IB.QL SI6:t:ID6B. ClS srn~£Q BI
               SERVICES

          10   ANQM6LI LIGEl:::ISES EQB. CE£B                Security Event & Infonnation                 Unknown
                                                             Management (SIEM) platform

          11   SOLARWINDS MAINTENANCE                        IT network, systems, and applications        Unknown
               Al:::!Cl Sl!££QB.I                            management

          12   NUTANIX HARDWARE DESKTOP                      Management platfonn for IT hardware          Unknown
               ENGil:::IEEB.Il:::IG LAB SYSIEM               deployment and configuration
               UPGRADE

          13   !:;lS!:;Q SMARTNEI                            Security alerts, updates, and tech support   Unknown
               MAINTENANCE                                   for core network equipment

          14   ZIXGATEWAY ENTERPRISE                         Email server security & encryption           Unknown
               LICENSE RENEWAL

          15   ACCELLION KITEWORKS                           Secure file share / transfer services        Unknown
               ENTERPRISE

          16   VERACODE SERVICE BUNDLE                       Application security - code vulnerability    Unknown
               SUBSCRIPTION                                  scanning and penetration testing

          17   SECUREAUTH IDP LICENSE                        Identity and access management - single      Unknown
               RENEWAL                                       sign on

          18   AXQl:::II!IS SEC!lB.IIY 6SSBI                 Centralized tracking / reporting for cyber   Unknown
               MANAGEMENT PLATFORM                           vulnerability across IT hardware and
                                                             software

          19   CISCQ Al:::IYCQNNECI LICENSE                  VPN on laptops issued to employees           Unknown
               AND SUPPORT RENEWAL

          20   Al:::Il:::I!l.AI. S!!BSCB.l£IIQl:::I TO IHE   Third Party Risk Management (TPRM) -         Unknown
               BITSIGHT LARGE TPRM                           vendor security assessment, monitoring,
               PACKAGE                                       and reporting




(Page 185 of Total)                                                                                                 JA180
            Case 1:25-cv-00381-ABJ Document 38-9                Filed 02/27/25 Page 15 of 16
       USCA Case #25-5091    Document #2114200                   Filed: 05/05/2025 Page 186 of 637



          21   CYBERARK ENTERPRISE              Identity security - manage, rotate, and    Unknown
               LICENSES tiNQ MtiINIENtiNCE      monitor application credentials / secret
                                                keys

          22   E.612181:il U:2~:iIC LI!:ENSES   Identity data management and audit         Unknown

          23   PUPPET LABS RENEWAL              Centralized management, tracking, and      Unknown
                                                enforcement of security configuration
                                                across IT infrastructure

          24   CISCO AND NUTANIX                Network, hardware, and datacenter          Unknown
               HABQ~BE tiNQ SQETW6E.E           management

          25   SAFECONSOLE ENTERPRISE           Provision, manage, and audit secure        Unknown
               LICENSES                         encrypted USB drives

          26   VIRUSTOTAL BASIC                 Website and file virus scanning            Unknown
               SUBSCRIPTION

          27   QMULOS AUDIT /COMPLIANCE         Cybersecurity audit/ event log analysis    Unknown
               APPS

          28   IENA.61.E LICENSES ANQ           Network and application vulnerability      Unknown
               SCANNER                          scanning

          29   IT DEVICE DESTRUCTION            Secure equipment disposal                  Unknown

          30   SAFECONSOLE LICENSES             Provision, manage, and audit secure        Unknown
                                                encrypted USB drives

          31   KNOWB4 SUBSCRIPTION              Online provider of bureau-wide             Unknown
                                                mandatory cybersecurity training

          32   QE.DEE.l-!:r.6EE.£RQ~R~M         Cybersecurity contractors                  Unknown
               MANAGEMENT




(Page 186 of Total)                                                                                  JA181
            Case 1:25-cv-00381-ABJ Document 38-9                             Filed 02/27/25 Page 16 of 16
       USCA Case #25-5091    Document #2114200                                Filed: 05/05/2025 Page 187 of 637




                                                    EXHIBIT B

           Automatic reply: Question about my HR docs                                            lnbox x


           CFPBHROps <CFPBH ROps@fiscaLtreasury.go•n Wed. Feb 19, 12:30PM iB days ago)
           to me ...
                                                                                                   * Q              ~


           We are working diligently wil'h the agency during this transition to provide necessary docu ents related lo
           your rece tor impe·nding separa ·on.


           Please provide a personal email address and updated mailing address to ensur,e timely and effective
           co munica·Hons.


           AH separated employees will be receivi g a copy of their SF-50, otice of Personnel Action, as ,,ell as a
           separation packet v ·t information regardi g un employment, be efits a d lump sum annual leave, payment, if
           appf cable.


           Employees will have a 3 -day exte sion of their health insurance from the date of separatio provided by your
           health insurance carr"er at no cost to you. Dental and Vision benefits will terminate upon the date of
           separation.


           Thank you for your patie ce.




           (   ~ Reply ) ( ,-+ Forward ) @)




(Page 187 of Total)                                                                                                       JA182
            Case 1:25-cv-00381-ABJ Document 38-10 Filed 02/27/25 Page 1 of 9
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 188 of 637



                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLUMBIA

          NATIONAL TREASURY
          EMPLOYEES’ UNION, et al.,
                         Plaintiffs,
               v.

          RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-381-ABJ
          as Acting Director of the Consumer Financial
          Protection Bureau, et al.,

                                 Defendants.


                                    DECLARATION OF JULIA BARNARD

         I, Julia Barnard, declare as follows:

                1.      I have served at the Consumer Financial Protection Bureau as the agency’s

         designated Student Loan Ombudsman since 2024 and as a Markets & Policy Fellow since 2022.

                2.      Starting in February 2022 and until February 13th, 2025, when my contract was

         abruptly terminated, I was employed by the CFPB as a Markets & Policy Fellow. The termination

         notice that I received, from Chief Operating Officer Adam Martinez, said that my employment

         was “terminated effective at the close of business on February 13, 2025, due to Executive Order

         Implementing The President’s ‘Department of Government Efficiency’ Workforce Optimization

         Initiative - The White House dated February 11, 2025.” No other reason was provided.

                3.      Separately, I was also designated as the Student Loan Ombudsman of the CFPB by

         Janet Yellen in her capacity as the Secretary of the U.S. Treasury on February 12, 2024. I have not

         received notice that the current Secretary of the Treasury, Scott Bessent, has de-designated me or

         made any another designation. 1 There was no reference to this designation in my termination notice


         1 See 12 U.S.C. § 5535 (providing that the Ombudsman is designated by the Secretary of the

         Treasury, in consultation with the Director of the CFPB).


(Page 188 of Total)                                                                                            JA183
            Case 1:25-cv-00381-ABJ Document 38-10 Filed 02/27/25 Page 2 of 9
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 189 of 637



         or in any other communications that I have received. For that reason, it is not entirely clear to me

         whether I have been formally removed as the Student Loan Ombudsman. Regardless, as a practical

         matter, I have been unable to carry out any of the statutory duties of the Student Loan Ombudsman

         since my termination, and no other person has been designated to perform those duties.

                4.      In my role as the Student Loan Ombudsman, I worked with only one other

         colleague to fulfill the statutory requirements of the position. There were other colleagues who, on

         an ad hoc basis, helped review and analyze complaints, reached out to borrowers and financial

         companies to resolve complaints through case work, and built processes to scale our work. Myself,

         my colleague, and the colleagues on the ad hoc team who had recently been involved with the

         complaint review and case work functions were terminated on February 13, 2025.

                5.      In my role as the Student Loan Ombudsman, I was responsible for providing timely

         assistance to borrowers of both private and federal education loans. The Consumer Financial

         Protection Act specifies that the Student Loan Ombudsman shall “resolve complaints in

         collaboration with the Department of Education” and “ensure coordination in providing assistance

         to and serving borrowers seeking to resolve complaints related to their private education or Federal

         student loans.”2 Because of this responsibility, I met regularly with senior staff at the Department

         of Education including the Student Loan Ombudsman and their staff at the Office of Federal

         Student Aid. In fact, all prior Ombudsmen serving during the Obama, Trump, and Biden

         Administrations dealt with federal student loan issues regularly. 3 The contrary suggestion in the

         defendants’ opposition to the motion for preliminary injunction (ECF 31 at 23)—that the



         2 12 U.S.C. § 5535.
         3 See, e.g., Consumer Financial Protection Bureau, (Nov. 2024), Annual Report of the Student

         Loan Ombudsman, https://files.consumerfinance.gov/f/documents/cfpb_2024-annual-student-
         loan-ombudsmans-report_2024-11.pdf at 38 (establishing recurring patterns in prior annual
         reports related to federal student loans).


(Page 189 of Total)                                                                                             JA184
            Case 1:25-cv-00381-ABJ Document 38-10 Filed 02/27/25 Page 3 of 9
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 190 of 637



         Ombudsman only assists works on private student loans—thus reflects an elementary

         misunderstanding about the functions of the position.

                6.      To select which of the thousands of complaints we received each year to address

         through case work, my team and I read thousands of complaints each month, sorted complaints by

         issue type, and read through company complaint responses. The complaints that we selected for

         case work were those that received a response that we found to be incomplete, inaccurate, or

         missing entirely—and that we felt were actionable—meaning that we felt that an intervention from

         us could actually help the borrower resolve their problem. In many instances, we were successful

         in resolving borrower complaints using this process. 4

                7.      For example, we were in the middle of a project that included review and case work

         of approximately 900 complaints related to the cancellation of private student loans based on

         school misconduct.5 For several weeks, I had been communicating directly with private student

         lenders to inquire about the status of borrowers’ private loans that were likely eligible for

         discharge. In some cases, this outreach resulted in the cancellation of borrowers’ loans and, in

         other cases, we were engaged in conversation with the lenders to work towards an informal

         resolution, as is required by the statute. 6 That work has now been suspended.




         4 Consumer Financial Protection Bureau, (Nov. 2024), Annual Report of the Student Loan
         Ombudsman, https://files.consumerfinance.gov/f/documents/cfpb 2024-annual-student-loan-
         ombudsmans-report 2024-11.pdfhttps://files.consumerfinance.gov/f/documents/cfpb 2024-
         annual-student-loan-ombudsmans-report 2024-11.pdf at 57 (“The Student Loan Ombudsman’s
         Office worked directly with colleges and schools to resolve transcript withholding complaints.
         Several colleges released transcripts after being contacted directly by the Student Loan
         Ombudsman, enabling borrowers to apply to jobs or other programs. One borrower who
         received their transcript with help from the Ombudsman’s Office said: ‘[I] cried [when the
         transcript was released], it was as if it was a hold on my life, over the years I became desperate
         for an education.... I am still in disbelief.’”)
         5 Id, at 53.
         6 12 U.S.C. § 5535(c)(1).




(Page 190 of Total)                                                                                           JA185
            Case 1:25-cv-00381-ABJ Document 38-10 Filed 02/27/25 Page 4 of 9
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 191 of 637



                8.      In fact, we were in the middle of making our process more efficient and increasing

         our case load. During the week of February 10th, we were in the process of identifying hundreds

         of borrowers with private and federal loans to assist through case work but were unable to continue

         this work after the directive on February 10th and our terminations on February 13th.

                9.      The responsibility to provide timely assistance to borrowers is why I was working

         with Pastor Eva Steege and many other borrowers to help them seek relief or navigate repayment

         related to federal and private student loans. Her story is one of many similar stories, and the

         systemic failure that has led to this tragic outcome for her family continues to impact millions of

         other borrowers.7

                10.     The Department of Education and its subcontractors have not provided adequate

         assistance to many borrowers like Pastor Steege. 8 I submitted my annual report to Congress last

         November and reported that student loan servicers routinely make blunders, oversights, and errors

         that harm millions of borrowers and likely cost them millions of dollars. Borrowers told us through

         their complaints that these servicing errors were enormously consequential. They reported that

         servicing issues made them late on rent, miss their car payments, lose eligibility for mortgages and

         homeownership, forego saving for retirement, change employment, and even put some borrowers

         at risk of homelessness.9 Borrowers also reported substantial emotional distress and described the




         7 Consumer Financial Protection Bureau, (Nov. 2024), Annual Report of the Student Loan

         Ombudsman, https://files.consumerfinance.gov/f/documents/cfpb_2024-annual-student-loan-
         ombudsmans-report_2024-11.pdfhttps://files.consumerfinance.gov/f/documents/cfpb_2024-
         annual-student-loan-ombudsmans-report_2024-11.pdf.
         8 Id.
         9 Id, at 4-5.




(Page 191 of Total)                                                                                             JA186
            Case 1:25-cv-00381-ABJ Document 38-10 Filed 02/27/25 Page 5 of 9
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 192 of 637



         student loan experience as a “nightmare,” told us that they felt “hopeless and taken advantage of,”

         and were trapped in a “death loop to nowhere.” 10

                11.     Many of the issues that borrowers like Pastor Steege face related to federal student

         loans are, in fact, related to the acts and practices of private student loan servicing companies. One

         such company, Navient, was recently banned from student loan servicing by the CFPB due to past

         misconduct.11 Other student loan servicers are subject to ongoing supervision by the CFPB, 12 and

         their practices related to long call hold times and extended delays were recently described as unfair,

         deceptive, and abusive by the CFPB’s Office of Supervision.13 Similarly, the Office of Supervision

         also identified several unfair and deceptive acts and practices related to the administration of the

         Public Service Loan Forgiveness program. 14




         10 Consumer Financial Protection Bureau, (Nov. 2024), Annual Report of the Student Loan

         Ombudsman, https://files.consumerfinance.gov/f/documents/cfpb_2024-annual-student-loan-
         ombudsmans-report_2024-11.pdfhttps://files.consumerfinance.gov/f/documents/cfpb_2024-
         annual-student-loan-ombudsmans-report_2024-11.pdf at 5.
         11 Consumer Financial Protection Bureau, (Sep. 2024), CFPB Bans Navient from Federal

         Student Loan Servicing and Orders the Company to Pay $120 Million for Wide-Ranging Student
         Lending Failures, https://www.consumerfinance.gov/about-us/newsroom/cfpb-bans-navient-
         from-federal-student-loan-servicing-and-orders-the-company-to-pay-120-million-for-wide-
         ranging-student-lending-failures/.
         12 See, e.g., Consumer Financial Protection Bureau, (Jan. 2024), Issue Spotlight: Federal Student

         Loan Return to Repayment, https://www.consumerfinance.gov/data-research/research-
         reports/issue-spotlight-federal-student-loan-return-to-repayment/ (“The Consumer Financial
         Protection Act directs the CFPB to conduct risk-based supervision that considers the dangers to
         consumers created by the provision of consumer financial products or services and focuses
         resources toward areas with greater risk. The CFPB determined that the return to repayment of
         federally owned student loans presents significant consumer risks and initiated its supervisory
         response due to the number of impacted consumers [over 28 million], consumer complaints and
         other field market intelligence, and the history of compliance issues by student loan servicers.”).
         13 Consumer Financial Protection Bureau, (Dec. 2024), Supervisory Highlights: Special Edition

         Student Lending (Issue 36), https://files.consumerfinance.gov/f/documents/cfpb_supervisory-
         highlights-special-ed-student-lending-issue-36-winter_2024-12.pdf at 16-20.
         14 Consumer Financial Protection Bureau, (Jun. 2021), Supervisory Highlights (Issue 24),

         https://files.consumerfinance.gov/f/documents/cfpb_supervisory-highlights_issue-24_2021-
         06.pdf at 34-37.


(Page 192 of Total)                                                                                               JA187
            Case 1:25-cv-00381-ABJ Document 38-10 Filed 02/27/25 Page 6 of 9
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 193 of 637



                12.     It is my understanding that Pastor Steege had reached out to her student loan

         servicer and the Office of Federal Student Aid for help but, like many other borrowers, was

         experiencing long delays and was unable to understand the guidance provided. 15 It is my belief

         that, without urgent escalation and cooperation between the parties involved in the administration

         of the federal student loan system, Pastor Steege’s family will be forced to pursue a death discharge

         after her death and will lose the opportunity to receive over $15,000 in refunds of overpayments.

         This causes harm of a very significant magnitude to one family. Still, it is only one example in a

         much larger group of borrowers who have served the public faithfully for decades but are unable

         to actually achieve Public Service Loan Forgiveness due to the complex program requirements

         and program and servicer failures that result in “doom loops” where many borrowers are unable

         to get useful information or navigate the program despite their best efforts.16

                13.     After receiving guidance on February 8th, 2025 from Acting Director Vought

         specifying that work should cease “unless expressly…required by law,” I determined that my work

         could proceed because it was expressly required by law.



         15 Consumer Financial Protection Bureau, (Nov. 2024), Annual Report of the Student Loan

         Ombudsman, https://files.consumerfinance.gov/f/documents/cfpb_2024-annual-student-loan-
         ombudsmans-report_2024-11.pdfhttps://files.consumerfinance.gov/f/documents/cfpb_2024-
         annual-student-loan-ombudsmans-report_2024-11.pdf; See also Consumer Financial Protection
         Bureau, (Sep. 2022), Supervisory Highlights: Student Loan Servicing Special Edition,
         https://files.consumerfinance.gov/f/documents/cfpb_student-loan-servicing-supervisory-
         highlights-special-edition_report_2022-09.pdf at 19 (explaining the CFPB’s recent determination
         that excessive PSLF processing delays can be unfair and cause harm to borrowers).
         16 Consumer Financial Protection Bureau, (Nov. 2024), Annual Report of the Student Loan

         Ombudsman, https://files.consumerfinance.gov/f/documents/cfpb_2024-annual-student-loan-
         ombudsmans-report_2024-11.pdfhttps://files.consumerfinance.gov/f/documents/cfpb_2024-
         annual-student-loan-ombudsmans-report_2024-11.pdf at 15-18 (Outlining common problems
         faced by borrowers related to PSLF) and 32 (explaining that the term “doom loop” describes the
         common experience where automated or otherwise insufficient servicer responses fail to resolve
         a customer’s issue and instead lead them in continuous loops of repetitive, unhelpful jargon or
         legalese, which can leave borrowers unable to access their basic financial information and
         increase their frustration.)


(Page 193 of Total)                                                                                              JA188
            Case 1:25-cv-00381-ABJ Document 38-10 Filed 02/27/25 Page 7 of 9
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 194 of 637



                14.     However, after receiving additional guidance from Acting Director Vought two

         days later, on February 10th, specifying that all employees should “stand down from performing

         any work task”—this time without any mention of an exception for statutorily-required activities—

         we cancelled our meeting with Pastor Steege and other upcoming meetings. I did not seek approval

         on any urgent matters on February 10th prior to being terminated on February 13th because the

         prior carve-out for statutorily required work had been clearly rescinded. Like many of my

         colleagues,17 I was unsure whether requesting an exception or compiling information to explain

         my in-process work would themselves be violations of the order.

                15.     It is unclear to me how the CFPB could currently be capable of performing these

         statutory duties, as Mr. Martinez claims in his declaration. I cannot imagine how all of this work

         could be continuing if the Student Loan Ombudsman position is vacant (or if I am currently serving

         in the position without pay and without the ability to use email, the files we were using to organize

         our work, the internal complaint database) and if employees, including the Student Loan

         Ombudsman, are unable to perform work tasks.

                16.     The Consumer Complaint system cannot replace the work of a dedicated team of

         experts focused on resolving borrowers’ problems. Mr. Martinez’s declaration states that, in the

         absence of a Student Loan Ombudsman, borrowers can still seek relief through the Consumer

         Complaint system. In fact, our case work process was built on a review of those complaints and




         17 Cowley, S., (Feb. 10, 2025), “Confusion Reigns as ‘a Wrecking Ball’ Hits the Consumer

         Bureau,” The New York Times, https://www.nytimes.com/2025/02/10/business/cfpb-shutdown-
         confusion.html (“[E]mployees spent Monday[, February 10th,] in a state of deep confusion about
         what they should - or should not - be doing…. Could they talk to one another on the bureau’s
         Microsoft Teams messaging system? Could they read their email, or would that be a violation of
         the stop-work command?.... No answers were forthcoming, said several agency employees….
         Department leaders were left to field questions from alarmed employees without any guidance
         from their new bosses on what to say.”).


(Page 194 of Total)                                                                                              JA189
            Case 1:25-cv-00381-ABJ Document 38-10 Filed 02/27/25 Page 8 of 9
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 195 of 637



         the associated company responses. 18 The cases that were resolved through that system were not

         the cases we were involved with, so this process is not a substitute for our escalated case work

         process. Furthermore, it is my understanding that my colleagues, including those in Consumer

         Response, are not able to perform work tasks and, thus, the complaint process is significantly

         degraded. Indeed, an early analysis of publicly available information indicates that thousands of

         consumer complaints are not being processed. 19

                17.     The defendants’ opposition to the motion for preliminary injunction (ECF 31 at 23

         n.6) reflects yet another elementary misunderstanding of the Bureau’s operations when it suggests

         that the CFPB’s general Ombudsman’s Office could somehow provide assistance to consumers

         like Pastor Steege. That office is entirely distinct from, and is no way a replacement for, a team of

         issue experts focused on consumer redress. To be clear, I did not have any affiliation with that

         Office or with the staff located there. In fact, the CFPB’s website explicitly states that the general

         Ombudsman’s Office does “not assist in resolving issues as between consumers and financial

         entities” (emphasis added).20 Rather, the Ombudsman’s Office “review[s] whether the CFPB is




         18 We also regularly monitored complaint responses by student loan servicers and lenders to

         ensure student loan lenders and servicers were providing timely, accurate, and complete
         responses. To my knowledge, this function is now suspended.
         19 Minority Staff of the U.S. Senate Committee on Banking, Housing, and Urban Affairs, (Feb.

         2025), Left in Limbo: How President Trump’s Efforts to Dismantle the Consumer Financial
         Protection Bureau Force Consumers to Face Corporate Greed Alone,
         https://www.banking.senate.gov/imo/media/doc/left_in_limbo_how_president_trumps_efforts_to
         _dismantle_the_consumer__financial_protection_bureau_force_consumers_to_face_corporate_g
         reed_alone.pdf (“Analysis of the Consumer Complaint Database in recent days suggests that the
         agency is uploading an average of just 2,234 of the complaints it receives each day to the
         Database. Furthermore, the Database shows the agency submitting an average of just 2,067
         complaints per day to companies. This represents an 80 percent reduction in complaints
         submitted to companies.”).
         20 Consumer Financial Protection Bureau, CFPB Ombudsman Frequently Asked Questions

         Webpage, (accessed Feb. 26, 2025), https://www.consumerfinance.gov/cfpb-
         ombudsman/ombudsman-faqs/.


(Page 195 of Total)                                                                                               JA190
            Case 1:25-cv-00381-ABJ Document 38-10 Filed 02/27/25 Page 9 of 9
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 196 of 637



         following its own processes and procedures.”21 By contrast, in my capacity as the Student Loan

         Ombudsman, I was seeking to substantively resolve consumer complaints.22

                18.     Furthermore, I have been developing my own knowledge of the student loan system

         for over a decade and do not believe that this critical role can be performed by someone with little

         or no prior knowledge of our notoriously complicated student loan system. Even more and

         especially without the benefit of an orderly transition and in a situation where the staff members

         previously engaged in the work were suddenly terminated.

                19.     Finally, the Student Loan Ombudsman is meant to do more than resolve consumer

         complaints. The case work and analyses are meant to power insights, improve the case work

         process, develop policy recommendations, identify illegal conduct, and ultimately to improve the

         broader student loan system. For example, prior to my termination, I was working with my

         colleagues on non-public law enforcement matters and was meeting regularly with the state-based

         Student Loan Ombudsmen to help share knowledge, provide technical assistance, and increase

         collaboration. The Student Loan Ombudsman is also statutorily required to prepare an annual

         report.23 Neither the Martinez declaration nor the defendants’ opposition to the preliminary

         injunction motion explain how they contemplate the continuation of these statutorily required

         functions.

                I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

         and correct.

         Executed on February 26, 2025                                _______________
                                                                      Julia Barnard


         21 Consumer Financial Protection Bureau, CFPB Ombudsman Frequently Asked Questions

         Webpage, (accessed Feb. 26, 2025), https://www.consumerfinance.gov/cfpb-
         ombudsman/ombudsman-faqs/.
         22 12 U.S.C. §5535.
         23 12 U.S.C. §5535.




(Page 196 of Total)                                                                                             JA191
            Case 1:25-cv-00381-ABJ Document 38-11 Filed 02/27/25 Page 1 of 5
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 197 of 637



                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLUMBIA

          NATIONAL TREASURY
          EMPLOYEES UNION, et al.,
                         Plaintiffs,
               v.

          RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-381-ABJ
          as Acting Director of the Consumer Financial
          Protection Bureau, et al.,

                                  Defendants.


                                      DECLARATION OF LORELEI SALAS

         I, Lorelei Salas, declare:

                 1.      I served as the Supervision Director at the Consumer Financial Protection Bureau

         from November 8, 2021 to February 11, 2025. I am preparing this declaration to inform this Court

         about the irreversible and lasting effects of the unprecedented decision to halt all of the Bureau’s

         statutorily required supervision activity.

                2.       As the Supervision Director, I was the senior executive responsible for management

         of the Bureau’s 550-person Supervision Division. Until its operations came to abrupt and complete

         halt as a result of Mr. Vought’s February 8, 2025 stop-work order, the Supervision Division

         conducted supervisory activities for the purposes of assessing compliance with Federal consumer

         financial law, obtaining information about a supervised institution’s activities and compliance

         systems and procedures, and detecting and assessing risks to consumers and to markets for

         consumer financial products and services.

                3.       In the most recent two years, the Supervision Division advised banks and mortgage

         companies to refund more than $350 million dollars that were charged in illegal junk fees to

         people’s accounts. This is just one example of the far-reaching impact of the Bureau’s supervisory



(Page 197 of Total)                                                                                             JA192
            Case 1:25-cv-00381-ABJ Document 38-11 Filed 02/27/25 Page 2 of 5
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 198 of 637



         activities. We discuss our findings in an anonymized manner in Supervisory Highlights editions

         that are published periodically and that bring transparency to the consumer financial markets over

         which we have oversight. So, in addition to the millions of consumers we have touched directly

         via our examinations, millions more benefit from our work when market participants make

         changes to their practices because we have called out unlawful and unfair practices in our guidance.

         The supervision staff work behind the scenes to protect the financial lives and futures of all

         American families, but most people will never know that we were behind the unsolicited refund

         that they received by mail from their mortgage company, or the credit that was made to their

         account that they did not ask for. Neither the companies we supervise, nor the Bureau, discuss

         publicly who is under supervision, but that critical work is happening every day—or at least it was,

         until now.

                4.      Under the Consumer Financial Protection Act, enacted as part of the Dodd-Frank

         Wall Street Reform and Consumer Protection Act of 2010, the Bureau has the exclusive authority

         to conduct examinations and other supervisory activities for compliance with Federal consumer

         financial laws for insured depository institutions with over $10 billion in assets and is the only

         federal agency with supervisory authority over certain non-bank entities—such as debt collectors

         and payday lenders—that provide consumer financial products and services. These supervisory

         activities are required under the CFPA and are critical to carrying out Congress’s intent.

                5.      On February 8, 2025, the Bureau’s Supervision staff received a stop-work order

         that remains in effect.

                6.      In direct response to this order, the Supervision staff immediately halted all

         supervision-related activity.




(Page 198 of Total)                                                                                             JA193
            Case 1:25-cv-00381-ABJ Document 38-11 Filed 02/27/25 Page 3 of 5
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 199 of 637



                7.      While I was Supervision Director under Acting Director Russell Vought, all

         Supervision activity had come to a complete and indefinite stop. I am reliably informed by current

         Supervision staff and by public reporting that this continues to be true.

                8.      The Supervision Division has the smallest examination workforce of all the Federal

         bank regulators. Every year, the Division conducts a risk assessment and planning process to

         determine which entities to prioritize for examination. Supervision examiners require specialized

         training and certification, making it difficult to hire and replace qualified staff. Before February 8,

         the Supervision Division was already short staffed and we were in the process of training a dozen

         new examiners. These examiners, along with a number of attorneys and analysts that support the

         examinations, were included on the list of probationary employees that were terminated from the

         Bureau en masse.

                9.      The stoppage of supervision that is occurring now is causing irreversible harm.

         Because there is a limited team of examiners, halting the training and work of new people and

         firing or halting the work of experienced people will have lasting ripple effects. Even if activities

         resume, it will take a long time to even have the necessary complement of trained examiners at all.

         Moreover, in the interim, while supervision is stopped, society is not catching predatory,

         fraudulent, or otherwise illegal practices. And once it restarts, if it does, the Bureau cannot possibly

         examine all of the institutions that would have been examined in the interim along with whatever

         other institutions would be examined ordinarily upon restarting. There just aren’t enough

         examiners in the workforce for that to be feasible. And so consumers will be at much higher risk

         of losing money from their bank accounts in the form of junk overdraft fees, simply because their

         banks use complex payment ordering processes that make it impossible to track one’s expenses.

         They will be more vulnerable to the deceptive and unfair practices we have uncovered in




(Page 199 of Total)                                                                                                 JA194
            Case 1:25-cv-00381-ABJ Document 38-11 Filed 02/27/25 Page 4 of 5
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 200 of 637



         companies that advertise “no fee” loans but are actually extracting money from consumers via the

         use of dark patterns and other deceptive tactics. Student borrowers will be subjected to poor

         servicing of their loans and will be sold repayment plans that take away their basic rights. Car

         owners and home owners will be at the mercy of lenders that underinvest in their compliance

         operations and lack well trained staff who can answer questions and update their accounts

         promptly. Service members and their families will be more likely to be targeted with predatory

         loan products that exceed the interest rate capped by law. When the Bureau is functioning, the

         supervision staff is constantly monitoring risks to consumer and enforcing key laws that protect

         consumers’ most precious assets and that bring financial safety to the marketplace. These laws and

         regulations include the Equal Credit Opportunity Act, the Fair Debt Collection Practices Act, the

         Truth in Lending Act, the Electronic Fund Transfer Act, the Fair Credit Reporting Act, among

         others, and the prohibition on Unfair, Deceptive, or Abusive Acts or Practices.

                 9.     As of late January 2025, there were a half-dozen exams about to kick-off where the

         Bureau was working in close partnership with state regulators. These coordinated exams promote

         efficiency and reduce the burden on entities that are under supervision by both the Bureau and the

         states. Exams covered mortgage lenders, auto finance companies, and debt collection agencies,

         among other important markets where the data shows risks to consumers are high. There were

         another six or more exams planned for the second half of 2025. Now all those examinations are

         suspended and state partners likely cannot get in touch with the examiners scheduled to work with

         them.

                 10.    I have also learned that the Bureau is planning to cancel the credit cards for all of

         the examiners within the Bureau. Some examiners report that their available credit was recently

         lowered to $1 and it was later restored. An examiner’s role is to travel to various financial




(Page 200 of Total)                                                                                             JA195
            Case 1:25-cv-00381-ABJ Document 38-11 Filed 02/27/25 Page 5 of 5
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 201 of 637



         institutions to perform supervisory duties; examiners cannot do their jobs if they do not have the

         means to book travel and in fact canceling an examiner’s credit card is generally quickly followed

         by their termination.

                11.     The complete and unprecedented shutdown of the Supervision Division will result

         in incalculable and irreparable injury to consumers, organizations that serve consumers, state and

         local governments, and other Bureau stakeholders. As mandated by statute, the Supervision

         Division identifies and addresses consumer harm through the supervisory process and acts to

         prevent such harm before it happens. When the Bureau staff were issued the stop-work order on

         February 8, there were dozens of exams taking place across the country. Examiners were looking

         into companies that offer medical credit cards. They were scrutinizing new types of lenders such

         as Buy Now Pay Later companies and payroll advance companies. They were reviewing new credit

         decisioning models that use artificial intelligence to process credit card applications. They were

         responding to the millions of complaints from consumers that pointed to errors in their credit

         reports. None of that important work is happening right now and consumers are at higher risk of

         losing their homes, their cars, and their savings because the one agency whose job is to protect all

         American consumers has been shut down.


                I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

         and correct.


         Executed in New York, NY                                             /s/ Lorelei Salas
         February 27, 2025                                                    Lorelei Salas




(Page 201 of Total)                                                                                             JA196
            Case 1:25-cv-00381-ABJ Document 38-12 Filed 02/27/25 Page 1 of 6
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 202 of 637



                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLUMBIA

          NATIONAL TREASURY
          EMPLOYEES’ UNION, et al.,
                         Plaintiffs,
               v.

          RUSSELL VOUGHT, in his official capacity                Case No. KL-cv-NOP-ABJ
          as Acting Director of the Consumer Financial
          Protection Bureau, et al.,

                                 Defendants.


                               SECOND DECLARATION OF ERIC HALPERIN

         I, Eric Halperin, declare:

                1.      I served as the Enforcement Director of the Consumer Financial Protection Bureau

         from October 24, 2021 to February 11, 2025. As the Enforcement Director, I was the senior

         executive responsible for management of the Bureau’s Enforcement Division. This declaration

         supplements my February 13, 2025 declaration. ECF 14-9.

                2. The enforcement of Federal consumer financial law is a primary function of the

         Consumer Financial Protection Bureau mandated by the Dodd-Frank Act, which was passed in the

         wake of the 2008 financial crisis and Great Recession.

                3.      Before the creation of the CFPB, consumer financial protection had not been the

         primary focus of any federal agency, and no agency had effective tools to set the rules for and

         oversee the entire market for consumer financial products and services. The Dodd-Frank Act

         consolidated consumer financial protection authorities that had existed across several different

         federal agencies and centralized them in the CFPB. Congress also provided by law that the CFPB

         is the primary enforcer of the more than a dozen Federal consumer financial laws with respect to

         many non-depository financial institutions and is the primary enforcer of the Federal consumer



(Page 202 of Total)                                                                                         JA197
            Case 1:25-cv-00381-ABJ Document 38-12 Filed 02/27/25 Page 2 of 6
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 203 of 637



         financial laws with respect to all very large banks, savings associations, and credit unions. See 12

         U.S.C. § 5515(c); see also 12 U.S.C. § 5481(12), (14). Section 1031 of the Dodd Frank Act

         prohibits entities under the CFPB’s jurisdiction from engaging in abusive acts and practices and

         granted the CFPB the authority to bring enforcement actions to prevent and stop this conduct. The

         CFPB is the primary enforcer of this prohibition for very large financial institutions, and for

         thousands of non-bank consumer financial service providers, no other federal agency possesses

         this authority.

                 4.        The Act further requires the CFPB to enforce Federal consumer financial law

         consistently as it applies to depository entities and non-depository entities—or, in common

         parlance, banks and “non-banks” such as payday lenders, auto title lenders, debt collectors, digital

         payment platforms, and consumer reporting agencies. The CFPB is the only federal financial

         regulatory enforcement agency with broad jurisdiction over both banks and non-banks. Moreover,

         a significant number of non-banks are not subject to the CFPB’s supervisory jurisdiction but are

         subject to the CFPB’s enforcement authority.

                 5.        The dismantling of the CFPB’s enforcement function thus means that there is a

         large gaping hole in the legal regime mandated by Congress. The federal government’s capacity

         to enforce more than a dozen Federal consumer financial protection laws against both banks and

         non-banks will be completely eviscerated—leaving regulatory oversight of the financial sector

         even weaker than it was before the financial crisis.

                 6.        While many enforcement matters arise through CFPB’s ongoing supervision, most

         of Enforcement’s investigations, especially of non-banks and service providers to financial

         institutions, arise through other sources—consumer complaints, referrals, whistleblower tips, and




(Page 203 of Total)                                                                                             JA198
            Case 1:25-cv-00381-ABJ Document 38-12 Filed 02/27/25 Page 3 of 6
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 204 of 637



         the CFPB’s other market risk monitoring tools. The Enforcement Division evaluates this

         information and determines if enforcement action is warranted.

                7.      Enforcement actions, whether they originate from the CFPB’s supervision process

         or otherwise, require significant resources to take appropriate actions to address violations of

         Federal consumer financial protection laws, including securing relief for consumers who have been

         harmed by entities that have broken the law. Over the last thirteen years of the CFPB’s existence

         it has returned nearly $21 billion to consumers as a result of enforcement actions. In recent years,

         the market for consumer financial products and services has grown explosively, particularly in the

         non-bank sector. This growth has underlined the need for an Enforcement Division with the

         capacity to conduct ever-more-complex investigations and litigations.

                8.      Over the last two years, to address this need, the Enforcement Division hired

         additional highly qualified attorneys, data analysts, technologists, investigators, and legal support

         specialists. The CFPB expended significant time and resources in hiring and training to fill these

         specialized roles.

                9.      During the week of February 10th, many of these staffers were terminated en masse

         by Acting Director Russell Vought when he terminated staff who were on probation or who were

         hired to serve for a fixed term of years.

                10.     Firing Enforcement staff hired to meet the need to respond to the rapidly evolving

         marketplace for consumer financial products and services will have a serious adverse impact on

         the CFPB’s ability to enforce Federal consumer financial law.

                11.     My understanding is that the Acting Director may dismiss all or almost all the

         Enforcement staff. If that unprecedented event should occur, it would cause irreparable harm. The

         CFPB’s capacity to enforce the Federal consumer financial laws cannot be recreated or rebuilt




(Page 204 of Total)                                                                                              JA199
            Case 1:25-cv-00381-ABJ Document 38-12 Filed 02/27/25 Page 4 of 6
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 205 of 637



         quickly. Even if staff were ultimately rehired much of the capacity and expertise would be lost

         permanently. When there is no enforcement of the law, there will be no recourse or remedies for

         consumers that are injured and there will be less incentive for companies to comply with the law,

         harming law-abiding companies and consumers.

                  12.     The Enforcement Division has already been directed to stop performing all work

         tasks, with, apparently, the sole exception of dismissing enforcement actions that are currently

         being litigated.     Stopping all work tasks would likely stop payment of redress to consumers in

         some cases where entities have been ordered to make payments to consumers since Enforcement

         staff must review redress plans submitted by the entity and those plans must be approved by the

         Enforcement Director.

                  13.       It has also been publicly reported that the CFPB has cancelled all contracts with

         all expert witnesses in all existing enforcement litigation. See Evan Weinberger, CFPB Nixes All

         Expert         Witness      Contracts      in     Enforcement       Halt,     Bloomberg        Law,

         https://news.bloomberglaw.com/banking-law/cfpb-nixes-all-expert-witness-contracts-in-

         enforcement-shutdown, Feb. 13, 2025. A mass cancellation of expert contracts makes it impossible

         for the CFPB to successfully prosecute its claims in many cases.

                  14.     The CFPB has additionally mass cancelled contracts for services that provide

         litigation support and management. See https://doge.gov/savings. In a typical investigation or

         litigation, the CFPB collects a large volume of information and data, including confidential

         business information and, when necessary, consumers’ personal identifiable information. Without

         critical services to manage that data, it would be impossible to effectively conduct investigations,

         or meet the CFPB’s discovery obligations in litigation.




(Page 205 of Total)                                                                                             JA200
            Case 1:25-cv-00381-ABJ Document 38-12 Filed 02/27/25 Page 5 of 6
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 206 of 637



                15.     As of February 27, 2025, the Acting Director of the CFPB has voluntarily

         dismissed, with prejudice, six active litigations that the CFPB was prosecuting in federal

         court. Before this, the CFPB had voluntarily dismissed only one case in its entirety without relief

         to consumers in the previous 13 years of its existence, which spanned three presidential

         administrations (Obama, Trump, and Biden). And that case was dismissed without prejudice.

                16.     The cases dismissed by the CFPB sought relief on behalf of students who were

         subject to illegal collections on loans that had been discharged in bankruptcy; borrowers who were

         deceived about the true cost of loans made on a peer-to-peer nonbank lending platform; people

         shopping for a mortgage loan that were victims of an illegal scheme to steer them to a specific

         lender; manufactured home buyers who were set up to fail with unaffordable loans; struggling

         customers of small dollar loans who were induced into a fee-harvesting and loan-churning scheme;

         and consumers who were deceived about their personal savings accounts. The CFPB’s complaints

         had alleged that consumers in these cases experienced billions of dollars of harm.

                17.     Should the Acting Director continue to voluntarily dismiss the active cases

         currently being litigated by the CFPB, millions of consumers injured by banks and non-banks will

         not receive a remedy for harm that they have suffered. This includes servicemembers and their

         families who were charged illegal interest rates by their lenders; disabled and older Americans who

         receive Social Security, and coal miners with black lung disease who receive federal benefits;

         delivery drivers who were forced to open high-cost deposit accounts in order to receive their pay;

         students who were subjected to illegal debt collection practices; people attempting to correct errors

         on their credit reports; and the hundreds of thousands of consumers who experienced fraud on the

         peer-to-peer payment network operated by the nation’s largest banks.




(Page 206 of Total)                                                                                              JA201
            Case 1:25-cv-00381-ABJ Document 38-12 Filed 02/27/25 Page 6 of 6
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 207 of 637



                I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

         and correct.


         Executed in Washington, DC                                          /s/ Eric Halperin
         February 27, 2025                                                   Eric Halperin




(Page 207 of Total)                                                                                            JA202
            Case 1:25-cv-00381-ABJ Document 38-13                   Filed 02/27/25 Page 1 of 14
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 208 of 637



                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA

          NATIONAL TREASURY
          EMPLOYEES UNION, et al.,
                         Plaintiffs,
               v.

          RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-381-ABJ
          as Acting Director of the Consumer Financial
          Protection Bureau, et al.,

                                Defendants.


                                     DECLARATION OF SETH FROTMAN

         I, Seth Frotman, declare:

                1.      I served as General Counsel and Senior Advisor to the Director of the Consumer

         Financial Protection Bureau from 2021 through Friday, February 7, 2025. In those capacities, I

         was the chief legal officer of the CFPB and was also extensively involved in the day-to-day

         management of the agency, including by sitting on many senior leadership committees devoted to

         agency administration. I also previously served at the CFPB from 2015 to 2018 as the Student

         Loan Ombudsman and Assistant Director for the Office of Students and from 2011 to 2015 in the

         Office of Servicemember Affairs.

                2.      I have reviewed the filings in this case, including the defendants’ opposition to the

         preliminary-injunction motion, ECF 31, and the declaration attached to that opposition. I am

         preparing this declaration to address statements or implications in those two documents that are,

         to the best of my knowledge, either inaccurate or misleading, or both.

                3.      In my role as General Counsel and Senior Advisor to the Director, I communicated

         frequently with members of the CFPB Legal Division’s senior leadership team; senior

         management and staff in all CFPB departments, including specifically the CFPB’s Offices of



(Page 208 of Total)                                                                                             JA203
            Case 1:25-cv-00381-ABJ Document 38-13                  Filed 02/27/25 Page 2 of 14
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 209 of 637



         Operations, Information & Technology, and Human Capital (i.e., human resources); the CFPB’s

         Deputy Director; and eventually with staff at the Department of Treasury operating on behalf of

         then-Acting CFPB Director Secretary Scott Bessent.

                  4.     It is my understanding—based on firsthand accounts from within the Bureau,

         screen shots of emails sent within the Bureau that have been published, and public news reports—

         that CFPB employees were directed “not [to] perform any work tasks,” with no reference to

         performing duties required by law, at the beginning of the first business day (February 10, 2025)

         following my last day as General Counsel (February 7, 2025) and have been directed to adhere to

         that directive since that time. I also reviewed public statements from President Trump later in the

         day on February 10 indicating that the CFPB “was a very important thing to get rid of.” See CNN,

         Trump confirms goal to “totally eliminate” the Consumer Financial Protection Bureau (Feb. 10,

         2025).1 These facts are inconsistent with the picture painted in the defendants’ opposition

         memorandum.

                  5.     I have also reviewed public statements from Acting CFPB Director Russel Vought

         specifically instructing CFPB employees not to perform statutorily mandated duties. For example,

         I have observed an X (formerly Twitter) account named “CFPB Tip Line,” with markings

         indicating a confirmed government-affiliated account, that included the following text: “Are you

         being pursued by CFPB enforcement or supervision staff, in violation of Acting Director Russ

         Vought’s stand down order? If so, DM us or send an email.”




         1
             https://www.cnn.com/politics/live-news/trump-doge-presidency-news-02-10-25/index.html


(Page 209 of Total)                                                                                            JA204
            Case 1:25-cv-00381-ABJ Document 38-13                  Filed 02/27/25 Page 3 of 14
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 210 of 637




                  6.      This “CFPB Tip Line” raises a number of significant legal issues. First,

         enforcement and supervision are both core activities that Congress has required the agency, by

         statute, to perform. Second, the establishment of this unusual “Tip Line” is inconsistent with the

         notion that Mr. Vought’s “stand down order” is some kind of ordinary, transitional “pause” of the

         kind portrayed in the defendants’ opposition and accompanying declaration. Instead, it suggests

         an unprecedented campaign to frighten Bureau employees out of performing their statutory

         duties—clearly confirming that the “stand down order” applies to all activities of “CFPB

         enforcement or supervision staff,” with no mention of activities required by law. Indeed, I served

         at the CFPB during the previous leadership transition to Acting Director Mick Mulvaney, and

         nothing remotely similar occurred at that time. Third, this bizarre project has Mr. Vought’s direct

         approval—I reviewed a message from Vought himself on X (Twitter) confirming his personal

         involvement in this “tip line.” See American Bankers Association (ABA) Banking Journal, CFPB

         launches ‘tip line’ to report on bureau employees (Feb 20, 2025).2




         2
             https://bankingjournal.aba.com/2025/02/cfpb-launches-tip-line-to-report-on-bureau-employees/


(Page 210 of Total)                                                                                            JA205
            Case 1:25-cv-00381-ABJ Document 38-13                   Filed 02/27/25 Page 4 of 14
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 211 of 637



          Indiscriminate Leave or Terminations of CFPB Employees, Contractors, or Contracts Would
                           Result in the CFPB Failing to Meet Its Legal Obligations

                7.      In Title X of the Dodd-Frank Act, Congress imposed a number of specific legal

         requirements on the CFPB, including with respect to administration and management of the

         agency, as well as obligations to maintain certain departments and perform certain functions. As a

         federal government agency, the CFPB is also subject to many other statutory requirements and

         legal obligations, including, e.g., records retention requirements under the Federal Records Act,

         disclosure requirements under the Freedom of Information Act, cybersecurity obligations pursuant

         to the Federal Information Security Management Act and other statutes, and requirements related

         to the protection of confidential and personally identifiable information under the Privacy Act, the

         Trade Secrets Act, and CFPB regulations, 12 C.F.R. Subpart D. The CFPB is also subject to

         obligations arising from judicial proceedings, such as active litigation holds. Some of these

         requirements have criminal liability for noncompliance.

                8.      In my role as General Counsel and Senior Advisor to the CFPB Director, I was

         extensively involved with the staffing and management of the agency. Specifically, I served on

         nearly every committee of agency senior leadership dedicated to agency staffing during my tenure.

         I also was extensively involved with agency budgeting, contracting, and related decisions.

                9.      In my extensive experience with management of the CFPB as well as my familiarity

         with the agency’s legal obligations as General Counsel, the CFPB relies on a combination of

         employees, contractors, and contracts to meet its legal obligations.

                 10.    Based on my extensive experience with management of the CFPB as well as my

         familiarity with the agency’s legal obligations, the agency cannot possibly be meeting its legal

         obligations if employees and contractors are not “perform[ing] any work tasks,” nor could the




(Page 211 of Total)                                                                                             JA206
            Case 1:25-cv-00381-ABJ Document 38-13                    Filed 02/27/25 Page 5 of 14
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 212 of 637



         agency do so if the vast majority of its employees were indiscriminately put on leave or terminated.

         To give just some of the many available examples:

                 11.       Exclusive Federal Examiner and Primary Enforcer: As of my departure, a very

         significant portion of the CFPB’s staff—in the range of 500 employees, i.e., 30-40% of all

         employees—was dedicated to examination activity, which Congress required the CFPB by law to

         conduct. See, e.g., 12 U.S.C. § 5514(b)(1) (“The Bureau shall require reports and conduct

         examinations on a periodic basis of [nondepository covered persons] . . . .”).

                 12.       As of my departure, a significant portion of the CFPB’s staff—in the range of 200

         employees, i.e., 10-20% of all employees—was dedicated to enforcement activity, which Congress

         required the CFPB by law to conduct. See, e.g., 12 U.S.C. § 5511(a)(1) (“The Bureau shall seek to

         implement and, where applicable, enforce Federal consumer financial law consistently for the

         purpose of ensuring that all consumers have access to markets for consumer financial products and

         services and that markets for consumer financial products and services are fair, transparent, and

         competitive.”).

                 13.       Thousands of institutions meet the definition of “nondepository covered persons”

         that the CFPB is required to “conduct examinations [of] on a periodic basis.” 12 U.S.C. §

         5514(b)(1). The CFPB is the only federal regulator that can examine many of these nondepository

         financial institutions, such as credit reporting agencies, debt collectors, and payday lenders.

                 14.       Congress also provided by law that the CFPB is the exclusive federal examiner for

         consumer financial protection law of all very large banks, savings associations, and credit unions

         (i.e., insured depository institutions and credit unions with total assets of more than $10 billion

         and their affiliates). See 12 U.S.C. § 5515(a)(1). As of September 2024, there were about 180 very

         large banks, savings associations, and credit unions meeting these criteria.




(Page 212 of Total)                                                                                             JA207
            Case 1:25-cv-00381-ABJ Document 38-13                   Filed 02/27/25 Page 6 of 14
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 213 of 637



                 15.    Congress also provided by law that the CFPB is the primary enforcer of the more

         than a dozen federal consumer financial laws with respect to many nondepository financial

         institutions and is the primary enforcer of the federal consumer financial laws with respect to all

         very large banks, savings associations, and credit unions. See 12 U.S.C. § 5515(c); see also 12

         U.S.C. § 5481(12), (14).

                 16.    CFPB examination staff is responsible for supervising compliance with numerous

         court and administrative orders. See, e.g., Stipulated Final Judgment and Order, CFPB v. Navient,

         No. 3:17-CV-00101-RDM (M.D. Pa. Sept. 12, 2024) (requiring regular submissions to the CFPB

         Supervision Director).

                 17.    Based on my extensive experience with management of the CFPB as well as my

         familiarity with the agency’s legal obligations, a work stoppage or indiscriminate mass layoff of

         the staff dedicated to examination activity would make it impossible to continue to meet the

         agency’s legal obligations with respect to the thousands of institutions that the CFPB, and only the

         CFPB, examines at the federal level. If the CFPB were to terminate most of its staff, I do not

         believe the CFPB would be able to meet its legal obligations with respect to examinations and

         enforcement.

                 18.    Additionally, Acting Director Vought’s order “not [to] perform any work tasks”

         and subsequent creation of the “CFPB Tip Line” to inform on any activity by “CFPB enforcement

         or supervision staff” is obviously an instruction not to perform the supervision and enforcement

         activities that Congress required by law. Indeed, I understand from court filings in this case that

         Acting Director Vought specifically instructed CFPB employees to “[c]ease all supervision and

         examination activity” and “[n]ot [to] commence, take additional investigative activities related to,

         or settle enforcement actions.” I also understand that the agency has ceased ongoing work on




(Page 213 of Total)                                                                                             JA208
            Case 1:25-cv-00381-ABJ Document 38-13                  Filed 02/27/25 Page 7 of 14
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 214 of 637



         examinations, has failed to begin exams that were already scheduled, and has fired expert

         witnesses, missed deadlines, and dropped active enforcement matters.

                 19.    Consumer Complaints: As of my departure, a very significant portion of the

         CFPB’s staff—more than 100 full-time equivalent employees—was dedicated to the CFPB’s

         statutory obligations with respect to receiving, responding to, and otherwise handling consumer

         complaints.

                 20.    Congress required the CFPB to establish a unit “to facilitate the centralized

         collection of, monitoring of, and response to consumer complaints regarding consumer financial

         products or services.” 12 U.S.C. § 5493(b)(3)(A). The CFPB is required by law “to provide a

         timely response to consumers, in writing where appropriate, to complaints against, or inquiries

         concerning, a covered person, including– (1) steps that have been taken by the regulator in

         response to the complaint or inquiry of the consumer. . . .” 12 U.S.C. § 5534(a)(1). The CFPB is

         also required “to present an annual report to Congress not later than March 31 of each year on the

         complaints received by the Bureau in the prior year regarding consumer financial products and

         services” and to “share consumer complaint information with prudential regulators, the Federal

         Trade Commission, other Federal agencies, and State Agencies.” 12 U.S.C. § 5493(b)(3)(C), (D).

                 21.    Congress also put various other legal requirements on the CFPB and other entities

         with respect to consumer complaints received by the Bureau. See, e.g., 12 U.S.C. § 5493(e)(1)(B)

         (requiring the CFPB’s Office of Service Member Affairs to, among other things, “coordinate with

         the unit of the Bureau established [by law to receive consumer complaints] in order to monitor

         complaints by service members and their families and responses to those complaints by the Bureau

         or other appropriate Federal or State Agency”); 12 U.S.C. § 5535(c)(3) (requiring the CFPB

         Student Loan Ombudsman to “compile and analyze data on borrower complaints”); 15 U.S.C. §




(Page 214 of Total)                                                                                           JA209
            Case 1:25-cv-00381-ABJ Document 38-13                     Filed 02/27/25 Page 8 of 14
       USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 215 of 637



         1681i (requiring preparation of annual report about consumer complaints related to consumer

         reporting and transmittal of those complaints to consumer reporting agencies, which are required

         to review them).

                 22.    The number of complaints to the CFPB has grown consistently from year to year.

         During the period of April 1, 2023, through March 31, 2024, the CFPB received approximately

         1.8 million consumer complaints.

                 23.    Based on my extensive experience with management of the CFPB as well as my

         familiarity with the agency’s legal obligations, the agency would need significant staff dedicated

         to receiving, responding to, and otherwise handling consumer complaints to continue to meet these

         legal obligations.

                 24.    Indeed, according to press accounts, the CFPB is currently telling consumers that

         it is not meeting its legal obligations with respect to complaints, such as responding to or otherwise

         handling complaints that it has received. See National Public Radio, Personal Finance columnist

         says CFPB is important 'one stop shop' to protect consumers (Feb. 19, 2025) (“I actually called

         their hotline and a person did answer. . . . what she told me was that she could still take complaints,

         but they have stopped action.”).3

                 25.    Student Loan Ombudsman: As noted above, I was previously the CFPB’s Student

         Loan Ombudsman—designated, as Congress required by law, by the Secretary of the Treasury,

         “in consultation with the [CFPB] Director, . . . to provide timely assistance to borrowers of private

         education loans.” 12 U.S.C. § 5535(a). Congress required the CFPB Student Loan Ombudsman

         by law to perform certain specific duties, including, for example, to “receive, review, and attempt




         3
          https://www.npr.org/2025/02/19/nx-s1-5297840/personal-finance-columnist-says-cfpb-is-
         important-one-stop-shop-to-protect-consumers


(Page 215 of Total)                                                                                                JA210
            Case 1:25-cv-00381-ABJ Document 38-13                    Filed 02/27/25 Page 9 of 14
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 216 of 637



         to resolve informally complaints from borrowers of loans,” to “make appropriate

         recommendations” to federal government agencies and Congress, and to prepare annual reports.

         12 U.S.C. § 5535(c), (d).

                    26.   It is my understanding from her public statements that the current CFPB Student

         Loan Ombudsman, Julia Barnard, was recently unlawfully terminated and that no replacement has

         been designated by the Secretary of the Treasury. The statutory duties of the Student Loan

         Ombudsman are not being fulfilled during a work stoppage or with no one in the position. For

         instance, borrowers who attempt to contact the CFPB Student Loan Ombudsman will not be able

         to have her “receive, review, and attempt to resolve informally” such complaints. 12 U.S.C. §

         5535(a).

                    27.   Regulations: One of the core mandates that Congress required of the CFPB is to

         ensure that consumer financial regulations are not “outdated, unnecessary, or unduly burdensome,”

         12 U.S.C. § 5511(b)(3), and one of the primary functions of the CFPB is “issuing rules, orders,

         and guidance implementing Federal consumer financial law,” 12 U.S.C. § 5511(c)(5).

                    28.   As part of those obligations, Congress required the CFPB to promulgate a host of

         regulations. For example, Congress required the CFPB to complete several mortgage-related

         regulations that the agency finalized shortly after the agency’s creation. Congress also required the

         CFPB to promulgate a small business lending data rule in Section 1071 of the Dodd-Frank Act,

         and the CFPB completed that rule in recent years under a court order requiring its completion.

         That rule has not yet gone into effect. Congress also required the CFPB to complete an open

         banking rule in Section 1033 of the Dodd-Frank Act. The CFPB recently completed that rule, but

         it has not yet gone into effect. Both of those rules will require ongoing implementation work—to

         administer the data collection and recognize standard-setting bodies, respectively.




(Page 216 of Total)                                                                                              JA211
           Case 1:25-cv-00381-ABJ Document 38-13                      Filed 02/27/25 Page 10 of 14
       USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 217 of 637



                 29.    Since passage of the Dodd-Frank Act, Congress has assigned additional regulatory

         tasks to the CFPB as well. For example, Congress recently passed the Financial Data Transparency

         Act of 2022, which requires the CFPB to conduct multiple rulemakings. The CFPB continues to

         be legally obligated to perform this important work.

                 30.    The CFPB also has half a dozen open rulemakings. Under the Administrative

         Procedure Act, the CFPB has a legal obligation to review comments it receives in those

         rulemakings and complete the rulemaking process for each. And the CFPB has dozens of open

         rulemaking petitions that the CFPB is legally obligated under the Administrative Procedure Act to

         respond to.

                 31.    The CFPB has an Office of Regulations and Legal Division that maintain existing

         regulations that are required by statute to ensure that they do not become outdated over time and

         that industry has appropriate guidance on how to comply. This is ongoing work under the statutory

         mandate to perform this function, as well as to maintain the regulations that were created by

         Congressional separately. For example, the CFPB has to update its regulations to adjust various

         monetary figures for inflation, based in some cases on specific statutory direction, and in other

         cases based on regulatory obligations.

                 32.    Based on my extensive experience with management of the CFPB as well as my

         familiarity with the agency’s legal obligations, the agency is not fulfilling its legal obligations with

         respect to regulations under the work stoppage and would not be able to meet these legal

         obligations if the defendants were to carry out their planned indiscriminate mass layoff.

                 33.    Specific Functional Units: As of my departure, a significant portion of the CFPB’s

         staff was dedicated to meeting legal obligations of “specific functional units” that Congress

         required by law to perform certain specific functions. See generally 12 U.S.C. § 5493 (mandating




(Page 217 of Total)                                                                                                 JA212
           Case 1:25-cv-00381-ABJ Document 38-13                     Filed 02/27/25 Page 11 of 14
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 218 of 637



         the creation of and specific obligations for Offices of Research; Consumer Complaints;

         Community Affairs; Fair Lending and Equal Opportunity; Financial Education; Service Member

         Affairs, and Financial Protection for Older Americans).4

                 34.    Based on my extensive experience with management of the CFPB as well as my

         familiarity with the agency’s legal obligations, the agency cannot possibly be meeting the

         obligations of these units under the current work stoppage, and could not meet the legal obligations

         of these offices if the defendants were to carry out their planned indiscriminate mass layoff.

         Further, to the degree that the CFPB has indiscriminately terminated contracts, it raises questions

         about whether the agency intends to meet other continuous legal obligations in the Dodd-Frank

         Act, such as to monitor markets, on an ongoing basis.5


         4
           See 12 U.S.C. § 5493(b)(1) (mandating the creation of the Office of Research, “whose
         functions shall include researching, analyzing, and reporting on” certain specific topics); id. §
         5493(b)(2) (mandating the creation of the Office of Community Affairs, “whose functions shall
         include providing information, guidance, and technical assistance regarding the offering and
         provision of consumer financial products or services to traditionally underserved consumers and
         communities”); id. § 5493(c) (mandating the creation of the Office of Fair Lending and Equal
         Opportunity, whose functions must include, among other things, “providing oversight and
         enforcement of Federal laws intended to ensure the fair, equitable, and nondiscriminatory access
         to credit,” “working with private industry, fair lending, civil rights, consumer and community
         advocates on the promotion of fair lending compliance and education,” and “providing annual
         reports to Congress on the efforts of the Bureau to fulfill its fair lending mandate”); id. § 5493(d)
         (mandating the creation of the Office of Financial Education, “which shall be responsible for
         developing and implementing initiatives intended to educate and empower consumers to make
         better informed financial decisions,” among other duties); id. § 5493(e) (mandating the creation
         of the Office of Service Member Affairs, “which shall be responsible for developing and
         implementing initiatives for service members and their families” for various specific purposes);
         id. § 5493(g) (mandating the creation of the Office of Financial Protection for Older Americans,
         which “shall,” among several other things, “coordinate consumer protection efforts of seniors
         with other Federal agencies and State regulators, as appropriate, to promote consistent, effective,
         and efficient enforcement” and “work with community organizations, non-profit organizations,
         and other entities that are involved with educating or assisting seniors”).
         5
           For example, the law indicates that “[i]n order to support its rulemaking and other functions,
         the Bureau shall monitor for risks to consumers in the offering or provision of consumer
         financial products or services, including developments in markets for such products or services.”




(Page 218 of Total)                                                                                              JA213
           Case 1:25-cv-00381-ABJ Document 38-13                   Filed 02/27/25 Page 12 of 14
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 219 of 637



                 35.    Other Legal Obligations: Finally, generally stopping work or indiscriminately

         putting on leave or terminating CFPB employees, contractors, or contracts would be extremely

         likely to cause the agency to immediately be violating its other legal obligations, including

         specifically requirements related to active litigation holds, record retention, responding to FOIA

         requests, requirements related to the protection of trade secrets, personally identifiable

         information, and confidential supervisory information, and cybersecurity requirements.

                 36.    Indeed, if the CFPB has already indiscriminately terminated CFPB employees,

         contractors, or contracts, it would be extremely likely that agency leadership has created the

         potential for widespread exposure of industry trade secrets and confidential supervisory

         information, as well as consumers’ personally identifiable information, in violation of law, among

         other violations of the agency’s legal obligations.

                 37. The statutory obligations that I have mentioned in this declaration are not exhaustive.

         Generally speaking, the CFPB’s staff is almost entirely oriented towards the statutorily required

         functions of enforcement, supervision, complaints, financial education, research, market

         monitoring, regulations (including statutorily required regulations), specific functional units,

         complying with legal obligations applicable across government agencies, and the basic

         administrative, management, legal, accounting, and technology staff that is necessary to support

         the work of those teams. This is not surprising, as these are the “primary functions” Congress

         provided for in law for the CFPB. See 12 U.S.C. § 5511(c).




         12 U.S.C. § 5512(c)(1). The CFPB had various contracts with industry providers to be able to
         perform this market-monitoring function. I have reviewed public statements from the
         “Department of Governmental Efficiency” indicating that it has canceled contracts that are
         crucial to this function, such as the Consumer Credit Information Panel.


(Page 219 of Total)                                                                                            JA214
           Case 1:25-cv-00381-ABJ Document 38-13                   Filed 02/27/25 Page 13 of 14
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 220 of 637



          Termination of CFPB Probationary Employees Was Considered and Rejected by the Agency

                38.     As CFPB General Counsel and Senior Advisor to the Director, I was involved in

         many decisions involving management of CFPB employees.

                39.     Specifically, with respect to probationary employees, I had primary responsibility

         for advising CFPB management on agency decisions, where appropriate and at the direction of the

         CFPB Director, to carry out the U.S. Office of Personnel Management’s January 20, 2025

         memorandum entitled “Guidance on Probationary Periods, Administrative Leave and Details.” In

         particular, that memorandum directed agencies to (1) “identify all employees on probationary

         periods, who have served less than a year in a competitive service appointment, or who have served

         less than two years in an excepted service appointment” and (2) “promptly determine whether

         those employees should be retained at the agency.”

                40.     At the time of my departure from the agency, the CFPB employed many employees

         on probationary periods—employees whose appointment “becomes final,” 5 U.S.C § 3321(a), only

         after a period of time that has not yet elapsed. This included both employees in and outside of the

         CFPB’s collective bargaining unit (i.e. eligible to be a member of the CFPB union).

                41.     In response to OPM’s January 20, 2025 guidance, I consulted formally, orally and

         in writing, with agency leaders about the CFPB’s employees on probationary periods, to determine

         whether those employees were necessary for ensuring compliance with the agency’s statutory

         objectives and whether there were any performance issues with those employees or any other non-

         political reasons for their termination.

                42.     Based on those consultations, the CFPB’s assessment was that those employees are

         indeed necessary to support the CFPB’s ongoing functioning, including to meet its legal

         obligations. The agency did not identify any employees on probationary periods with performance




(Page 220 of Total)                                                                                            JA215
           Case 1:25-cv-00381-ABJ Document 38-13                   Filed 02/27/25 Page 14 of 14
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 221 of 637



         or conduct issues that would have justified their termination. Indeed, in my consultation with

         agency leadership, not a single reason for terminating any employees on probationary periods was

         raised from January 20, 2025 through my last day as General Counsel on February 7, 2025.

                43.     Accordingly, from January 20, 2025 through February 7, 2025, no employees on

         probationary periods were terminated by the CFPB.

                44.     The New York Times has reported on a memorandum, attributed to me, providing

         the CFPB’s determination about whether employees on probationary periods should be retained at

         the agency. See The New York Times, Trump Names 2 New Top Financial Regulators (Feb 11,

         2025).6 The Times article indicated that this memorandum by me “to agency leaders” explained

         the CFPB’s reasoned justification for retaining employees on probationary periods, who “helped

         the bureau obtain more than $30 million in remedies for consumers.” Based on my personal

         knowledge of the facts, I would not dispute the accuracy of these assertions.

                I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

         and correct.

         Executed in Washington, DC                                          /s/ Seth Frotman
         February 27, 2025                                                   Seth Frotman




         6
          https://www.nytimes.com/2025/02/11/us/politics/trump-financial-regulators-jonathan-
         mckernan-gould.html


(Page 221 of Total)                                                                                            JA216
            Case 1:25-cv-00381-ABJ Document 38-14 Filed 02/27/25 Page 1 of 2
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 222 of 637



                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA

          NATIONAL TREASURY
          EMPLOYEES UNION, et al.,
                         Plaintiffs,
               v.

          RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-0381-ABJ
          as Acting Director of the Consumer Financial
          Protection Bureau, et al.,

                                 Defendants.


                              DECLARATION OF JUANITA WEST-TILLMAN

                I, Juanita West-Tillman, declare as follows:

                1.      I am a member of the National Association for the Advancement of Colored People

         (“NAACP”) and the former Secretary of the Pasadena branch. I am more than 18 years of age and

         competent to testify about the facts contained in this declaration. The statements made in this

         declaration are based on my personal knowledge.

                2.       I live in Altadena, California, which was recently devastated by a fire that

         destroyed thousands of buildings and took nearly twenty lives. I, and other members of my

         NAACP branch, lost everything in the Altadena fire, including my house and all my possessions

         therein.

                3.      Following the fire, there were numerous financial scams and predatory schemes

         targeted at fire victims—fraudulent loans, loans with illegal terms, mortgage scams. A multitude

         of types of financial fraud was, and is, being targeted at people who, like me, have just lost their

         homes. I had a difficult time determining what assistance was legitimate and what was fraudulent.

         I know other members of the Altadena Branch of the NAACP who had the same experience.




                                                          1
(Page 222 of Total)                                                                                             JA217
            Case 1:25-cv-00381-ABJ Document 38-14 Filed 02/27/25 Page 2 of 2
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 223 of 637


                4.      When the Consumer Financial Protection Bureau stopped work in early February

         2025, NAACP members were already taking advantage of the Bureau’s assistance to help them

         avoid predatory financial schemes, educate fellow members about them, and provide direct

         assistance, including connecting us with resources that could help us get back on our feet. I was

         intending to take advantage of and rely on such assistance. But the CFPB abruptly stopped offering

         it. Without the CFPB, I and other NAACP members who are victims of the Altadena fire will be

         unable to recover money lost to financial predators.



                I declare under penalty of perjury under the laws of the United States of America that the

         foregoing is true and correct.




         Executed on February 27, 2025, in Los Angeles, CA.


                                                                     Juanita West-Tillman




                                                         2
(Page 223 of Total)                                                                                           JA218
            Case 1:25-cv-00381-ABJ Document 38-15 Filed 02/27/25 Page 1 of 4
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 224 of 637



                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLUMBIA

          NATIONAL TREASURY
          EMPLOYEES UNION, et al.,
                         Plaintiffs,
               v.

          RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-381-ABJ
          as Acting Director of the Consumer Financial
          Protection Bureau, et al.,

                                 Defendants.


                                    DECLARATION OF CHRISTINA COLL

         I, Christina Coll, declare as follows:

                1.      I am an officer and board member of the CFPB Employee Association. The

         statements made in this declaration are based on my personal knowledge and information available

         to me through my duties at the Employee Association.

                2.      The Employee Association is a membership organization of dedicated public

         servants committed to advocating for the interests of the Consumer Financial Protection Bureau’s

         mission and employees.1

                3.      Our members are current and former employees of the CFPB, including employees

         who are not represented by the National Treasury Employees Union. Our non-union members

         currently include probationary and term employees who were terminated during the week of

         February 10, 2025, and include current employees who fear losing their jobs as part of a future

         mass firing.




                1
                  Paragraph 18 of the Amended Complaint, ECF #7, which describes the Employee
         Association’s mission, inadvertently omits the words “mission and employees.”


                                                         1
(Page 224 of Total)                                                                                         JA219
            Case 1:25-cv-00381-ABJ Document 38-15 Filed 02/27/25 Page 2 of 4
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 225 of 637



                4.     Some Employee Association members supervised probationary and term

         employees who were fired the week of February 10th. The supervisors did not identify poor

         performance or misconduct before the firings; to the contrary many of those fired were top

         performers.

                5.     The firings of probationary and term employees have harmed the Employee

         Association’s members. Members who were fired lost their income and have lost, or will soon

         lose, important benefits, such as health insurance. One Employee Association member who was

         fired as part of the firing of probationary employees, for example, is now unable to pay her

         mortgage loan. She is also now unable to provide for her two children and so has been relying on

         food banks to feed her family.

                6.     Another Employee Association member who was fired as part of the firing of term

         employees recently learned that she could have a chronic auto-immune condition. At her doctor’s

         recommendation, she was planning to have further testing completed in late March or early April.

         When she learned of her termination and that she would lose her health insurance in mid-March,

         she scheduled an ultrasound and a biopsy to be sooner and closer together than recommended by

         her doctor. She expects that she will lose her CFPB health insurance during the critical stage of

         setting up a treatment plan with her doctor; if diagnosed, her care could range from prescription

         medication to an organ transplant.

                7.     If the CFPB conducts further mass layoffs, Employee Association members who

         have not yet been fired will face the same harms as those who were already terminated. For

         example, an Employee Association member who is still employed but is at risk of being terminated

         has a spouse who has been on full medical leave with an ongoing serious medical condition. This

         Employee Association member is the insurance provider for the family, and any potential lapse in




                                                        2
(Page 225 of Total)                                                                                          JA220
            Case 1:25-cv-00381-ABJ Document 38-15 Filed 02/27/25 Page 3 of 4
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 226 of 637



         coverage would result in the inability to provide necessary medical care for her spouse. Her

         employment situation is so stressful that she is now suffering from chronic migraines.

                                        The Work Stoppage of the CFPB

                8.      On February 10th, Acting Director Vought directed all CFPB staff to “not perform

         any work tasks” unless they received approval in writing from the Chief Legal Officer for an urgent

         matter. Martinez Decl. Ex. F. Members noticed that Acting Director Vought’s February 10th email

         did not contain an exception for activities required by law. As reported by Banking

         Dive (bankingdive.com), on February 10th, the Chief Legal Officer emailed the Enforcement

         Division, directing employees “not make any further communications… to parties that are subject

         to any pending enforcement matter or prospective enforcement matter without getting my approval

         in writing,” and that “[f]ailure to abide by these instructions constitutes insubordination and we

         will take appropriate personnel action.” Around the same time, members also reported that a

         “cfpb_tipline” account on X asked people to report work done by CFPB enforcement or

         supervision staff, and a CFPB spokesperson stated that any employees found to be in violation of

         the stop-work order “will be dealt with accordingly.” To the best of my knowledge, nearly all of

         the Employee Association’s members who are still employed at the CFPB remain on

         administrative leave.

                9.      The sudden shutdown of the CFPB’s work has harmed the Employee Association’s

         members. Members report that the stop-work order has negatively impacted their ability to comply

         with professional and ethical obligations. Members report that the totality of the new

         administration’s actions has created an atmosphere of fear and uncertainty about what constitutes

         a “work task.” Members worry that they will be fired for even checking their email to see if there

         are any new directives.




                                                         3
(Page 226 of Total)                                                                                            JA221
            Case 1:25-cv-00381-ABJ Document 38-15 Filed 02/27/25 Page 4 of 4
       USCA Case #25-5091    Document #2114200    Filed: 05/05/2025 Page 227 of 637



                10.     Some of the Employee Association’s members have worked at the CFPB through

         each administration change since the CFPB’s inception, and some members have worked at other

         government agencies through earlier administrative transitions, as well. According to these

         members, the effect of the stop-work order on the ability of Bureau to perform its statutory

         functions is unlike anything they have witnessed before in federal service. For example, according

         to these members, previous transitions did not involve the mass firing of probationary and term

         employees for reasons unrelated to performance, the placement of nearly all remaining employees

         on administrative leave, the closure of agency offices, the widespread cancellation of contracts

         that are necessary to carry out statutory functions, an order to stop all work tasks unless specifically

         authorized, or the complete or near-complete stoppage of core statutory functions like enforcement

         and supervision work.



                I declare under penalty of perjury under the laws of the United States of America that the

         foregoing is true and correct.



         Executed on February 27, 2025, in El Cerrito, CA.

                                                                        /s/ Christina Coll
                                                                                Christina Coll




                                                            4
(Page 227 of Total)                                                                                                 JA222
            Case 1:25-cv-00381-ABJ Document 41-1                  Filed 02/28/25 Page 1 of 17
       USCA Case #25-5091    Document #2114200                    Filed: 05/05/2025 Page 228 of 637



                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA

          NATIONAL TREASURY
          EMPLOYEES UNION, et al.,
                         Plaintiffs,
               v.

          RUSSELL VOUGHT, in his official capacity             Case No. 25-cv-0381-ABJ
          as Acting Director of the Consumer Financial
          Protection Bureau, et al.,

                                 Defendants.


                                  DECLARATION OF PEYTON DIOTALEVI

         I, Peyton Diotalevi, declare as follows:

                1.      I am National Counsel for the National Treasury Employees Union in NTEU’s

         Washington, D.C. Field Office. I have worked at NTEU since 2010.

                2.      NTEU represents approximately 160,000 bargaining-unit employees across 37

         departments and agencies. I supervise a staff of five attorneys in NTEU’s Washington, D.C. Field

         Office who provide representational advice and guidance to bargaining-unit employees in 28

         NTEU chapters, including NTEU Chapter 335. NTEU Chapter 335 exclusively represents

         bargaining-unit employees at the Consumer Financial Protection Bureau.

                3.      By virtue of my job duties, I am familiar with the details of NTEU’s relationships

         with the chapter leaders, members, and bargaining-unit employees of NTEU Chapter 335. The

         statements made in this declaration are based on my personal knowledge or information available

         to me through my duties at NTEU.

                4.      Mass Firings and Administrative Leave. On February 13, 2025, as the

         memorandum in support of a temporary restraining order in this case was being finalized, NTEU

         began receiving word that mass firings at the CFPB had already begun. The Bureau had already


                                                         1
(Page 228 of Total)                                                                                          JA223
            Case 1:25-cv-00381-ABJ Document 41-1                   Filed 02/28/25 Page 2 of 17
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 229 of 637



         fired all of its probationary employees on February 11. And by the end of February 13, it had fired

         all of its term employees. My understanding, based on the accounts of multiple people with direct

         knowledge, was that the Bureau was planning to fire virtually all of its remaining employees the

         next day, February 14. That was forestalled only by this Court’s order that same day, temporarily

         prohibiting the CFPB and Acting Director Russell Vought from initiating any further mass

         terminations. Following the issuance of this Court’s order, Human Capital Operations Manager

         Roland Jacob sent an email to all remaining CFPB staff placing them on “administrative leave

         until otherwise instructed.” A true and correct copy of that email is attached as Exhibit A. Most

         CFPB employees remain on administrative leave.

                5.      I am aware that some employees have requested authorization to work despite the

         stoppage, and those requests have gone ignored.

                6.      “Tip Line.” The CFPB has now set up a “Tip Line” to report any “violation[s] of

         Acting Director Russ Vought’s stand down order.”1 Inverting the ordinary situation, in which the

         public might complain about fraud or deceit by lenders or debt collectors, this tip line asks the

         lenders or debt collectors to report if they are “being pursued by CFPB enforcement or supervision

         staff.” In all of my years representing federal employees, I have never before seen an agency ask

         the public to report a government employee for doing their job. In response to a reporter

         questioning whether it was really true that “the CFPB appears to have set up” such a tip line,

         Vought responded, “Yes, we have.”2




                1
                  https://x.com/cfpb_tipline/ (“Are you being pursued by CFPB enforcement or
         supervision staff, in violation of Acting Director Russ Vought's stand down order? If so, DM us
         or send an email.”).
                2
                  https://x.com/russvought/status/1890105212230349130.


                                                         2
(Page 229 of Total)                                                                                            JA224
            Case 1:25-cv-00381-ABJ Document 41-1                    Filed 02/28/25 Page 3 of 17
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 230 of 637



                 7.      “Impending Separation[s].” Following the mass terminations of term and

         probationary employees—and while this Court’s order prohibiting further mass firings was in

         place—anyone who sent an email to CFPB’s Human Resources received an auto-reply stating that

         Human Resources was “working diligently with the agency during this transition to provide

         necessary documents related to your recent or impending separation.” That auto-reply still appears

         to be on as of this writing. A true and correct copy of that email is attached as Exhibit B.

                 8.      D.C. Headquarters Closure. On February 9, 2025, a Sunday, the CFPB closed its

         D.C. headquarters, with no notice to the union or to employees. Some NTEU members were still

         in the building working when it was closed down. Because the closure took place on a Sunday,

         though, most employees who regularly work at headquarters were not in the building. As a result,

         they could not recover any of their personal belongings, identify important records for document-

         retention purposes, or secure data. The headquarters building has remained closed to CFPB

         employees since. However, the daycare and coffee shop remained open and were open as of the

         date of the filing of this declaration.

                 9.      I have reviewed Adam Martinez’s declaration, filed in support of the defendants’

         opposition to a preliminary injunction. He states that he was “advised by” unspecified “new

         leadership” that the D.C. headquarters “would be closed” starting February 10, 2025, “due to safety

         concerns.” ECF 31-1 ¶ 12. The email sent by Mr. Martinez to employees advising them of the

         building closure did not mention anything about safety concerns. Id., Ex. E. The leadership of the

         CFPB bargaining unit—which ordinarily would be informed of such concerns—was also not




                                                          3
(Page 230 of Total)                                                                                            JA225
            Case 1:25-cv-00381-ABJ Document 41-1                     Filed 02/28/25 Page 4 of 17
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 231 of 637



         notified of any safety concerns. The closure did, however, coincide with the presence of DOGE

         employees in the building going through the agency’s records.3

                10.     Mr. Martinez states that on February 7, 2025, a single employee disrupted a

         meeting. Id. ¶ 7. Mr. Martinez was not present at the meeting. He instead relies on an incident

         report, created shortly before his declaration was submitted to this Court—weeks after the incident

         took place. Id., Ex. B. NTEU was informed about the incident soon after it occurred, and my

         understanding of the events diverges from Mr. Martinez’s recounting. I am not aware of (and

         neither Mr. Martinez nor the incident report identifies) any actual threat posed by this employee—

         or any reason that a single employee interrupting a single meeting would necessitate closing a

         major federal agency’s Washington, D.C. headquarters building for weeks. In fact, the building

         remained open the rest of that day and the following day.

                11.     Mr. Martinez states that on February 7, 2025, NTEU “employees began protesting

         outside of the CFPB Headquarters building.” ECF 31-1 ¶ 8. I believe that statement to be false. To

         my knowledge, no CFPB employees protested outside the building that day. There were a few

         members of the public—less than a dozen—who, on February 7, protested the shutdown of the

         CFPB. A reporter took a picture of the protest, which shows about four unidentified people in front

         of the building.4

                12.     Indeed, the day after the government’s response brief was filed in this case, the

         American Banker—a banking-industry trade publication that closely tracks events at the CFPB—

         reported that the government, in reliance on the Martinez declaration, had “falsely claimed that it


                3
                   See Nancy Cook and Joshua Green, Musk Team’s Blitz on Consumer Financial Agency
         Unsettles Trump Allies, Bloomberg (Feb. 22, 2025),
         https://www.bloomberg.com/news/articles/2025-02-22/trump-allies-unsettled-by-musk-s-doge-
         blitz-on-cfpb .
                 4
                   https://bsky.app/profile/hamiltonnolan.bsky.social/post/3lhmc5xlx7k2r.


                                                         4
(Page 231 of Total)                                                                                            JA226
            Case 1:25-cv-00381-ABJ Document 41-1                     Filed 02/28/25 Page 5 of 17
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 232 of 637



         closed the CFPB's Washington D.C. headquarters in response to protests by employees — even

         though the protests happened only after the office was shuttered.”5

                13.     The other protests that Mr. Martinez identifies were attended by NTEU members,

         but they took place after the building had already been closed. And, to my knowledge, they were

         entirely peaceful. Members of Congress even participated. Mr. Martinez does not identify—and I

         am unaware of—any evidence that these peaceful protests posed any safety threat to the CFPB, its

         employees, or the public. If they had, CFPB Facilities would have been required to notify chapter

         leadership, who would, in turn, have alerted NTEU. Moreover, as a practical matter, the CFPB

         headquarters building is located directly across the 17th street security gate to the White House

         complex, at 17th and G Streets. If a safety or security threat were posed by any nearby protest, one

         would expect a rapid police response given such close proximity to the White House—and no such

         response occurred during these protests.

                14.     Closure of All CFPB Regional Offices. Mr. Martinez’s declaration omits that not

         only did the CFPB close its headquarters, it also closed its four regional offices across the country.

         The email from Mr. Martinez announcing the closures did not identify any safety concern, or any

         other rationale, that would justify closing these regional offices. A true and correct copy of that

         email is attached as Exhibit C.

                15.     Termination of D.C. and Regional Leases. I have seen an email sent on February

         21, 2025, from a CFPB Realty Officer, stating that by that date, the “CFPB’s main focus” was

         “moving out of [its] large headquarters building” on a “a very, very tight timeframe ... (30 days).”

         The February 21 email also states that the Bureau will move out “of the regional offices with San


                5
                 Kate Berry, Justice Dept. insists there will continue to be a CFPB, American Banker,
         February 25, 2025, https://www.americanbanker.com/news/justice-dept-insists-there-will-
         continue-to-be-a-cfpb


                                                           5
(Page 232 of Total)                                                                                               JA227
            Case 1:25-cv-00381-ABJ Document 41-1                     Filed 02/28/25 Page 6 of 17
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 233 of 637



         Francisco being the first one.” The CFPB has since admitted that it is seeking to quickly terminate

         its lease on the D.C. headquarters.

                16.      On February 26, 2025, the Bureau allowed some managers entry into the

         headquarters building to identify records, collect their personal belongings, and, if they wished, to

         collect their employees’ belongings. To my knowledge, the managers were only informed that day

         that they would be permitted into the building.

                17.      Bargaining-unit employees were not given an opportunity to enter the building.

         Some NTEU members have been told that their personal belongings will be boxed up, and at some

         point they will be given a fifteen-minute time slot in which they can come pick them up. Others

         have been given no guidance at all. To my knowledge, there has been no instruction about what to

         do about any sensitive records or data.

                18.      Just this morning, CFPB Facilities sent an email to the terminated probationary and

         term employees stating that “the Operations team has packed up your personal belongings for

         pickup at” the headquarters building. It instructs that “[t]o retrieve your personal belongings, you

         must schedule an appointment by emailing” “[y]our full name,” where the property is located, and

         a time during business hours on March 3-6 (i.e. next week). The email states that items cannot be

         shipped. And “[e]xcept in special situations, items that are not picked up by March 6, 2025 will be

         considered abandoned and will be disposed of.” A true and correct copy of this email is attached

         as Exhibit D.

                19.      Although the email instructs former employees that they may return CFPB

         equipment like laptops, iPhones, and secure thumb drives during the same window, it does not

         provide any instructions for those who cannot do so. Nor does it say anything about record

         retention, data preservation, or data security.




                                                           6
(Page 233 of Total)                                                                                              JA228
            Case 1:25-cv-00381-ABJ Document 41-1                    Filed 02/28/25 Page 7 of 17
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 234 of 637



                20.     This morning, CFPB employees also received an advisory that as of February 28,

         2025, the CFPB’s Virtual Desktop—that is, the program that allows employees to securely log in

         to the CFPB system when they are not at a CFPB computer—will no longer be available. A true

         and correct copy of this email is attached as Exhibit E.



                I declare under penalty of perjury under the laws of the United States of America that the

         foregoing is true and correct.



         Executed on February 27, 2025, in Alexandria, Virginia.

                                                                     /s/ Peyton Diotalevi
                                                                     Peyton Diotalevi




                                                         7
(Page 234 of Total)                                                                                          JA229
            Case 1:25-cv-00381-ABJ Document 41-1   Filed 02/28/25 Page 8 of 17
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 235 of 637




                      Exhibit A




(Page 235 of Total)                                                                JA230
            Case 1:25-cv-00381-ABJ Document 41-1                             Filed 02/28/25 Page 9 of 17
       USCA Case #25-5091    Document #2114200                               Filed: 05/05/2025 Page 236 of 637

        From:
      Subject: Updated Timekeeping Instructions for PP03
         Date: February 14, 2025 at 4:15 PM
           To:
          Cc:


             Colleagues,

             On Monday, February 10th CFPB’s Acting Director issued guidance for Bureau staff to
             pause work tasks. In accordance with the Acting Director’s guidance employees should
             exercise administrative leave until otherwise instructed. For staff who have been asked to
             work by the Acting Director, the Chief Legal Officer, or another designee (i.e. through their
             leadership chain, etc.) they should record that time as they normally would. All time not in a
             working status should be reflected in webTA under the “Admin/Excused Absence” leave
             transaction category.

             Please refer questions to the CFPB_WorkLife@cfpb.gov box so the Office of Human
             Capital can provide clarifying guidance as needed.

             V/R

             Roland Jacob
             Human Capital Operations Manager
             Systems and Operations | Office of Human Capital


             Consumer Financial Protection Bureau
             consumerfinance.gov
             Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and
             delete the email and any attachments. An inadvertent disclosure is not intended to waive any privileges.




(Page 236 of Total)                                                                                                           JA231
            Case 1:25-cv-00381-ABJ Document 41-1   Filed 02/28/25 Page 10 of 17
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 237 of 637




                      Exhibit B




(Page 237 of Total)                                                                 JA232
            Case 1:25-cv-00381-ABJ Document 41-1                                           Filed 02/28/25 Page 11 of 17
       USCA Case #25-5091    Document #2114200                                              Filed: 05/05/2025 Page 238 of 637

        From: CFPBHROps CFPBHROps@fiscal.treasury.gov
      Subject: Automatic reply: question re separation papers
         Date: February 27, 2025 at 9:27 AM
           To:

             We are working diligently with the agency during this transition to provide necessary documents related to your recent or impending
             separation.

             Please provide a personal email address and updated mailing address to ensure timely and effective communications.

             All separated employees will be receiving a copy of their SF-50, Notice of Personnel Action, as well as a separation packet with information
             regarding unemployment, benefits and lump sum annual leave payment, if applicable.

             Employees will have a 31-day extension of their health insurance from the date of separation provided by your health insurance carrier at no
             cost to you. Dental and Vision benefits will terminate upon the date of separation.

             Thank you for your patience.




(Page 238 of Total)                                                                                                                                   JA233
            Case 1:25-cv-00381-ABJ Document 41-1   Filed 02/28/25 Page 12 of 17
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 239 of 637




                      Exhibit C




(Page 239 of Total)                                                                 JA234
            Case 1:25-cv-00381-ABJ Document 41-1                                   Filed 02/28/25 Page 13 of 17
       USCA Case #25-5091    Document #2114200                                      Filed: 05/05/2025 Page 240 of 637

        From:
      Subject: Please Read: CFPB Regional Office Operating Status (Week of 2/17)
         Date: February 17, 2025 at 1:21 PM
           To:




             (This message is sent on behalf of Adam Martinez, Chief Operating Officer, for
             CFPB Regional Office Staff and Contractors)

             Dear Colleagues:

             The CFPB Regional Offices will remain closed this week (2/17-2/21). Employees
             and contractors approved to work should do so remotely unless otherwise
             instructed.

             Thank you.

             Adam

             Adam Martinez
             Chief Operating Officer




             consumerfinance.gov

             Confidentiality Notice: If you received this email by mistake, you should notify the sender of
             the mistake and delete the email and any attachments. An inadvertent disclosure is not
             intended to waive any privileges.




(Page 240 of Total)                                                                                                 JA235
            Case 1:25-cv-00381-ABJ Document 41-1   Filed 02/28/25 Page 14 of 17
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 241 of 637




                      Exhibit D




(Page 241 of Total)                                                                 JA236
            Case 1:25-cv-00381-ABJ Document 41-1                                                 Filed 02/28/25 Page 15 of 17
       USCA Case #25-5091    Document #2114200                                                    Filed: 05/05/2025 Page 242 of 637
          ~~~==
              " ""'g al11 Mi&
          Subject: Pickup of Personal Belongings and Return of Equipment from the CFPB HQ
          To :
          CC:


          Good afternoon,
          We recognize that you have personal property, work materials, and federal records in your office or cubicle. To prepare to vacate the
          building, the Operations team has packed up your personal belongings for pickup at 1700 G Street. They are working closely with your
          division's leadership to take great care with your personal property, confidential matters, federal records, and other items.

          To retrieve your personal belongings, you must schedule an appointment by emailing the following information to

                •   Your full name
                •   Your designee, if needed (see below for additional details)
                •   Where your property is located (e.g., office/cubicle number, 6th floor locker number, pantry)
                •   A time on March 3 rd, 4th, 5th , or 6th between 8am-4pm
                •   Any additional details related to your personal property that can help us identify or properly handle them (e.g., medications in the
                    refrigerator that need to remain cold , personal papers that contain private information, etc.)


          If you have equipment to return to the CFPB, you may return your IT equipment and PIV card during this visit. Please note that you will:
                 • Need to return all laptops, iPhones, secure thumb drives and any other equipment with an asset tag
                 • Not need to return printers, keyboard, mice, monitors, docking stations, laptop bags/backpacks, headsets, laptop locks, filing
                    cabinets, paper shredders, or cables
                 • Receive a hardware asset receipt identifying the equipment you return


          After scheduling an appointment, you will receive a confirmation email with additional details. Except in special situations, items that are not
          picked up by March 6, 2025 will be considered abandoned and will be disposed of. While we cannot ship items to you, you may designate
          another staff member with a valid identification to pick up your items on your behalf.

          If driving , consider parking at a public parking garage, on the street, or the loading dock area on F Street. The parking garage at 1700 G
          Street will not be open for these pickups.

          We recognize that this is a difficult situation and here to support your transition.




(Page 242 of Total)                                                                                                                                        JA237
            Case 1:25-cv-00381-ABJ Document 41-1   Filed 02/28/25 Page 16 of 17
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 243 of 637




                      Exhibit E




(Page 243 of Total)                                                                 JA238
            Case 1:25-cv-00381-ABJ Document 41-1                                Filed 02/28/25 Page 17 of 17
       USCA Case #25-5091    Document #2114200                                   Filed: 05/05/2025 Page 244 of 637

           From:        Service Desk (CFPB)
           Subject:     Service Advisory: Virtual Desktop Access Unavailable After 2/28/2025
           Date:        Wednesday, February 26, 2025 10:14:16 AM




          What's Happening? The Citrix Virtual Desktop will be unavailable after Friday,
          February 28, 2025, at 11:59 PM EST. You are receiving this notification because you
          logged into the Virtual Desktop in the past 90 days. Access to the Virtual Desktop via
          https://work.cfpb.gov and https://csf.cfpb.local will no longer be available.

          When: Friday, February 28, 2025, at 11:59 PM EST

          Need More Info? Please refer any questions or concerns regarding this event to the
          CFPB Service and Support Portal, the CFPB Service Desk at 202-435-7777 (external),
          x57777 (internal), or email ServiceDesk@cfpb.gov.




(Page 244 of Total)                                                                                              JA239
             Case 1:25-cv-00381-ABJ Document 47-1                  Filed 03/02/25 Page 1 of 3
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 245 of 637



                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA


          NATIONAL TREASURY EMPLOYEES
          UNION, et al.,

                 Plaintiffs,                                           No. 1:25-cv-00381-ABJ
          v.

          RUSSELL VOUGHT, in his official
          capacity as Acting Director of the
          Consumer Financial Protection Bureau,
          et al.,
                 Defendants.



                        SUPPLEMENTAL DECLARATION OF ADAM MARTINEZ

                 1.     My name is Adam Martinez. I am currently employed at the Consumer Financial
         Protection Bureau (“CFPB” or “the Bureau”) serving as its Chief Operating Officer (“COO”) and
         Acting Chief Human Capital Officer. I previously submitted a declaration in this matter dated
         February 24, 2025. I make this declaration based upon my personal knowledge and information
         provided to me in the course of my official duties.

                  2.     For purposes of this declaration, I have reviewed Plaintiffs’ Reply Memorandum in
         Support of Plaintiffs’ Motion for Preliminary Injunction, ECF No. 40; all of the supplemental
         declarations attached to Plaintiffs’ Motion for Leave to File Supplemental Attachments in Support
         of their Motion for a Preliminary Injunction, ECF No. 38; as well as the supplemental declarations
         attached to Plaintiffs’ Notice of Corrected Attachments, ECF No. 41. I provide this declaration to
         clarify and expand upon my previous testimony in light of these materials.

                 3.      I have reviewed the declaration that Alex Doe submitted in this case. In her
         testimony, A. Doe describes deliberative and predecisional events occurring during the week of
         February 10, 2025, including a statement where I referenced the “closure of the agency.” I have
         also reviewed the declaration that Blake Doe submitted in this case. In his testimony, B. Doe also
         describes deliberative and predecisional events occurring during the week of February 10, 2025,
         including a statement where I referenced a “wind down mode.” A. Doe’s testimony and B. Doe’s
         testimony regarding my statements are not inaccurate. Prior to Russell Vought’s designation as
         Acting Director of CFPB, agency staff had received guidance from DOGE-associated personnel
         consistent with those statements, which I believed at the time to reflect the position of agency
         leadership, and continued to believe to reflect agency leadership’s position for a brief time
         thereafter.



(Page 245 of Total)                                                                                           JA240
             Case 1:25-cv-00381-ABJ Document 47-1                    Filed 03/02/25 Page 2 of 3
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 246 of 637




                  4.     In the short time since then, and by the date that I submitted my earlier declaration,
         a great deal has evolved at the CFPB. On the evening of February 7, 2025, Russell Vought was
         named Acting Director of the agency. Rather than a closure of the agency, Acting Director
         Vought’s new leadership has focused on running a substantially more streamlined and efficient
         bureau, refocusing its priorities, and “right sizing” the agency. But, from my perspective, a very
         fluid situation continued during the week of February 10, 2025, as new leadership started to take
         control. Time was needed for new leadership to refocus the Bureau. By the time of my earlier
         declaration, however, the situation was somewhat more stable. And now, the Acting Director and
         Chief Legal Officer are taking time to assess, listen, and explore the state of the Bureau. Based on
         that assessment, new leadership continues to believe that there are substantially more employees
         than appropriate for a “right-sized” CFPB. But the new leadership, including the Chief Legal
         Officer, have taken a methodical approach to handling the Bureau’s operations and responding to
         senior executives who have recommended or requested guidance to perform each of the CFPB’s
         critical statutory responsibilities. Moreover, I have personally engaged with several of my
         colleagues to guide them through navigating the change and seeking clarification where and when
         its needed.

                 5.     Notably, the President has nominated Jonathan McKernan to serve as a permanent
         Director of the CFPB. Mr. McKernan testified before the Senate Banking, Housing, and Urban
         Affairs Committee on February 27. I believe that having a Senate-confirmed permanent Director
         for the CFPB will further ensure that the Bureau carries out its statutory responsibilities.

                 6.      B. Doe’s testimony refers to an email dated February 11, 2025, in which I stated
         that the agency’s Chief Financial Officer (CFO) had been in communication with the Federal
         Reserve. As stated in my original declaration, the Bureau has not attempted to transfer any of its
         funds back to the Federal Reserve. Moreover, I am not aware of a mechanism to transfer funds
         back to the Federal Reserve. That said, CFPB’s CFO did receive an inquiry about whether
         “excess” funds from the Bureau Fund could be transferred back to the Federal Reserve. He shared
         that as far as he was aware, it could not, and that the only mechanism in statute to account for
         unobligated funds is to offset future requests but, pursuant to that inquiry, he would conduct
         research, including communicating with the Federal Reserve to determine if there was any
         authority or mechanism from the Federal Reserve’s perspective that he was unaware of. Based on
         that research, he determined that there indeed is no authority or mechanism to transfer excess funds
         back to the Federal Reserve, to transfer excess funds to the Federal Reserve’s control, or to transfer
         excess funds to the control of any other entity. The agency has therefore not attempted to do so.
         The Bureau only transfers funds for the payment of expenditures incurred in the normal course of
         Bureau activities pursuant to its statutory obligations. In fact, pursuant to Dodd Frank, the Bureau
         Fund is a separate fund established in the Federal Reserve, and most of the CFPB funds (both the
         Bureau Fund and the Civil Penalty Fund) reside at the Federal Reserve. Routinely the Federal
         Reserve completes cash disbursements at the CFPB’s request to Treasury-held CFPB accounts for
         CFPB operating expenses.




(Page 246 of Total)                                                                                               JA241
             Case 1:25-cv-00381-ABJ Document 47-1                    Filed 03/02/25 Page 3 of 3
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 247 of 637



                  7.      I have reviewed the declaration that Drew Doe submitted in this case. D. Doe
         testifies that unnamed “Senior Executives” told staff that the CFPB would “not exist[.]” D. Doe
         Decl. ¶ 7. In addition to not identifying the individuals, D. Doe does not identify the date when
         he claims these statements were made. D. Doe does not testify that those statements were premised
         on directives from Acting Director Vought or the CFPB Chief Legal Officer and I understand those
         statements to be inconsistent with their directives. It is also inconsistent with the President
         nominating a permanent Director of CFPB.

                 8.      I have reviewed the declaration that Matthew Pfaff submitted in this case, which is
         dated February 26, 2025. On February 27, 2025, the CFPB Chief Legal Officer activated work
         related to compliance with the agency’s critical statutory responsibilities in the area of the Office
         of Consumer Response. Thus, as of February 27, 2025, members of the Escalated Case
         Management team, for example, are working. These actions and others are inconsistent with D.
         Doe’s testimony suggesting that the agency will eliminate all positions except for five positions
         identified in the Dodd-Frank Act. Again, I am not aware of the identity of the “multiple Senior
         Executives” referenced in D. Doe’s testimony, and D. Doe does not testify that those statements
         were premised on directives from Acting Director Vought or the CFPB Chief Legal Officer. I
         understand the statement referenced in paragraph five of D. Doe’s declaration regarding an
         “intention of the leadership” to reduce CFPB staff to “everyone but the five positions required by
         the Dodd-Frank Act” to be inconsistent with Acting Director Vought and the Chief Legal Officer’s
         directives.

                 9.       It is correct that the CFPB Ombudsman Office may not replace or directly resolve
         work conducted by the Student Loan Ombudsman position. And as I have previously testified,
         that position is currently vacant. But consumers may always utilize the CFPB Ombudsman Office
         for support. For example, if a consumer attempts to contact the Student Loan Ombudsman and
         receives no response, the consumer may always contact the CFPB Ombudsman to point out the
         non-responsiveness of the office and seek support. Again, the CFPB Ombudsman Office helps
         ensure that the CFPB continues to engage with the public.

                                                         ***

                I declare under penalty of perjury that the foregoing is true and correct.

                Executed in Washington, DC this 2nd day of March, 2025.



                                                               __________________________
                                                               Adam Martinez
                                                               Chief Operating Officer




(Page 247 of Total)                                                                                              JA242
             Case 1:25-cv-00381-ABJ Document 48-2                    Filed 03/02/25 Page 1 of 3
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 248 of 637



                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA

          NATIONAL TREASURY
          EMPLOYEES UNION, et al.,
                         Plaintiffs,

          v.
                                                                Case No. 25-cv-381-ABJ
          RUSSELL VOUGHT, in his official capacity
          as Acting Director of the Consumer Financial
          Protection Bureau, et al.,
                                 Defendants.


                              SECOND DECLARATION OF MATTHEW PFAFF

                I, Matthew Pfaff, declare as follows:

                1.      I am employed at the Consumer Financial Protection Bureau, where I currently

         serve as the Chief of Staff for the Office of Consumer Response. I have been with the CFPB since

         October 2013. The purpose of this second declaration is to supplement testimony provided in my

         first declaration and whistleblower disclosure. ECF 38-7. The following is based on my personal

         knowledge or information provided to me while performing my duties.

                2.      I have reviewed the Supplemental Declaration of Adam Martinez. ECM 47-1.

         Consistent with his first declaration, Mr. Martinez’s statements are misleading, inaccurate, or both.

                3.      Mr. Martinez states that “[o]n February 27, 2025, the CFPB Chief Legal Officer

         activated work related to compliance with the agency’s critical statutory responsibilities in the area

         of the Office of Consumer Response. Thus, as of February 27, 2025, members of the Escalated

         Case Management team, for example, are working.” ECF 47-1 at ¶ 8. The first sentence is

         misleading. The second sentence is blatantly false.




(Page 248 of Total)                                                                                               JA243
             Case 1:25-cv-00381-ABJ Document 48-2                   Filed 03/02/25 Page 2 of 3
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 249 of 637



                4.      None of the activities listed in my original declaration, including responding to

         escalated issues via the Escalated Case Management Team, are currently happening. ECF 38-7 at

         ¶¶ 12-26.

                5.      This is concerning. Many consumers are not receiving timely responses to their

         complaints as required by 12 U.S.C. § 5534(a). And for those who face urgent situations—e.g., a

         person who submits a complaint about losing their home to an imminent foreclosure—there is

         simply no one at the CFPB to help.

                6.      Mr. Martinez suggests that he is guiding colleagues “through navigating the change

         and seeking clarification where and when its needed.” ECF 47-1 at ¶ 4. As I explained in my prior

         declaration, I drafted a memo that described key statutory work and teams most directly aligned

         to these statutory obligations. ECF 38-7 at ¶ 10 and Ex. A. Mr. Martinez received that memo more

         than two weeks ago. Id. at ¶ 10. As of the time of Mr. Martinez’s Supplemental Declaration, he has

         not inquired about—or provided guidance on—this statutory work.

                7.      Mr. Martinez’s non-response is not limited to the consumer complaint function.

         Indeed, I am aware of several inquiries to Mr. Martinez, requesting authorization to perform

         statutorily authorized work, which have been ignored. On February 27, Mr. Martinez wrote to

         certain CFPB executives—who all work outside of Consumer Response—that “statutorily

         required work and/or work required by law are authorized” and “teams are authorized to continue

         carrying out these responsibilities.” I am aware of at least two CFPB executives who sent requests

         to Mr. Martinez following that email, seeking to activate staff to perform statutory work. Those

         requests, however, have been ignored.

                                                        ***

                I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true
         and correct.



                                                          2
(Page 249 of Total)                                                                                            JA244
             Case 1:25-cv-00381-ABJ Document 48-2                Filed 03/02/25 Page 3 of 3
       USCA Case #25-5091    Document #2114200                   Filed: 05/05/2025 Page 250 of 637



                Executed in Washington, DC this 2nd day of March, 2025.




                                                          Matthew Pfaff




                                                      3
(Page 250 of Total)                                                                              JA245
             Case 1:25-cv-00381-ABJ Document 48-3                 Filed 03/02/25 Page 1 of 2
       USCA Case #25-5091    Document #2114200                    Filed: 05/05/2025 Page 251 of 637



                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA

          NATIONAL TREASURY
          EMPLOYEES UNION, et al.,
                         Plaintiffs,
               v.

          RUSSELL VOUGHT, in his official capacity             Case No. 25-cv-0381-ABJ
          as Acting Director of the Consumer Financial
          Protection Bureau, et al.,

                                Defendants.


                                      DECLARATION OF EMORY DOE

                 I, Emory Doe, declare as follows:

                 1.     I have supervision over the Escalated Case Management team at the CFPB. The

         statements made in this declaration are based on my personal knowledge.

                 2.     I am submitting this declaration pseudonymously because I fear retaliation. But if

         the Court would like to know my name and position, I am willing to provide it ex parte and under

         seal.

                 3.     On February 10, 2025, Acting Director Russell Vought sent an agency-wide email,

         instructing all employees to “stand down from performing any work task.” That directive had no

         exception for statutorily mandated functions. Accordingly, neither I, nor any member of the

         Escalated Case Management Team, has performed any work since that order.

                 4.     I read the supplemental declaration of Chief Operating Officer Adam Martinez,

         filed today, March 2, 2025. Mr. Martinez testified that, “as of February 27, 2025, members of the

         Escalated Case Management team, for example, are working.” That is false.

                 5.     No member of the Escalated Case Management has performed any work since at

         least the February 10th stop-work order. Neither I, nor any member of the Escalated Case


                                                         1
(Page 251 of Total)                                                                                          JA246
             Case 1:25-cv-00381-ABJ Document 48-3                   Filed 03/02/25 Page 2 of 2
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 252 of 637



         Management team, was asked (or authorized) to work on February 27th, or any date before or after

         that. To confirm my understanding, I contacted each member of the Escalated Case Management

         team, all of whom confirmed that they remained unauthorized to work. I also checked my email

         inbox, as well as the shared team inbox, and neither contains any directive or authorization for the

         Escalated Case Management team to resume working.

                6.      The Escalated Case Management (ECM) team serves as a single point of contact

         for executives and other colleagues across the Bureau who are contacted directly by consumers

         regarding consumer complaint-related issues. These issues are referred to ECM in accordance with

         instructions published on the Bureau’s intranet, and ECM responds to consumers on the Bureau’s

         behalf, with ad hoc guidance from the team’s chain of command or Legal Division, as needed. The

         team also handles requests from the Consumer Resource Center (CRC or call center) to evaluate

         disability accommodation requests that the CRC could not resolve itself. In most cases, ECM

         provides guidance to the CRC for handling the request, while in other instances ECM handles the

         necessary consumer follow up directly. Additionally, ECM team members review foreclosure-

         related complaints when the consumer has entered an imminent foreclosure date in the appropriate

         field during the complaint submission process.

                I declare under penalty of perjury under the laws of the United States of America that the

         foregoing is true and correct.

         Executed on March 2, 2025, in Washington, D.C.

                                                                      /s/ Emory Doe
                                                                      Emory Doe




                                                          2
(Page 252 of Total)                                                                                             JA247
             Case 1:25-cv-00381-ABJ Document 48-4                   Filed 03/02/25 Page 1 of 3
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 253 of 637



                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLUMBIA

          NATIONAL TREASURY
          EMPLOYEES UNION, et al.,
                         Plaintiffs,
               v.

          RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-0381-ABJ
          as Acting Director of the Consumer Financial
          Protection Bureau, et al.,

                                 Defendants.


                                      DECLARATION OF FRANCIS DOE

                 I, Francis Doe, declare as follows:

                 1.     I am a Financial Analyst in the Research, Monitoring, and Regulations division of

         the CFPB. The statements made in this declaration are based on my personal knowledge.

                 2.     I am submitting this declaration pseudonymously because I fear retaliation. But if

         the Court would like to know my name, I am willing to provide it ex parte and under seal.

                 3.     On February 10, 2025, Acting Director Russell Vought sent an agency-wide email,

         instructing all employees to “stand down from performing any work task.” The email made clear

         that even work on “urgent matters” could not be performed without “approval in writing,” which

         it directed could only be secured by alerting the Acting Director himself through “Mark Paoletta,

         Chief Legal Officer.” There were no exceptions to this stop-work order for statutorily required

         work.

                 4.     I, my colleagues, and my manager all understood this email as an order to stop all

         work, regardless of whether it was required by statute. Accordingly, we have not performed any

         work, since it was sent. My office is responsible for statutorily mandated reports, for which I have




                                                          1
(Page 253 of Total)                                                                                             JA248
             Case 1:25-cv-00381-ABJ Document 48-4                     Filed 03/02/25 Page 2 of 3
       USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 254 of 637



         upcoming deadlines. I have not worked on these reports (or anything else) since we received the

         February 10 stop-work order.

                5.      On the morning of Friday, February 28, 2025, I became aware that the prior

         afternoon (February 27, 2025), CFPB Chief Operating Officer Adam Martinez had sent an email

         to the leadership of my division, including the assistant director responsible for overseeing my

         team, John McNamara. That email stated that Mr. Martinez and Acting Director Vought “wanted

         to ensure that [staff is] aware that statutorily required work and/or work required by law are

         authorized.” Although Mr. Martinez cited a February 8, 2025 email from Acting Director Vought,

         he did not mention the subsequent February 10 email, which had explicitly directed all employees

         to stop all work—without any exception for work required by law.

                6.      I learned of Mr. Martinez’s February 27 email from a colleague. When I learned of

         the email, I had not received any authorization from my management to resume work. Seeking

         clarification, I sent an email from my CFPB email account to Mr. McNamara, and cc-ed my direct

         manager. That email sought clarification about whether I should resume work on the statutorily

         mandated reports for which I am responsible. My direct manager responded, stating that Mr.

         McNamara “will be reaching out to you shortly.” Immediately thereafter, my direct manager texted

         me and two of my colleagues on our personal cell phones, stating: “In response to Adam

         Martinez’s email, John [McNamara] has instructed us to stand down until further notice.” In

         response to my manager’s text, I asked that Mr. McNamara “provide written guidance to our CFPB

         emails.”

                7.      Mr. McNamara then sent an email just to me and my direct manager (to our CFPB

         emails), stating that he would “like to get started” on statutorily mandated reports, but that I should




                                                           2
(Page 254 of Total)                                                                                                JA249
             Case 1:25-cv-00381-ABJ Document 48-4                  Filed 03/02/25 Page 3 of 3
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 255 of 637



         “[s]tay tuned for guidance.” Separately, he sent an email to my whole team, which said that he had

         emailed “Adam Martinez letting him know that [he planned] to recommence work on all areas.”

                8.      Confused, I then emailed Mr. McNamara again, asking “To clarify, should I get

         started or wait for guidance?” Mr. McNamara responded that I should “[w]ait for guidance.”

                9.      Having not received any further guidance, I continue to remain unauthorized to

         perform any work. Despite Mr. Martinez’s February 27 email, my understanding is that the stop-

         work order issued on February 10th remains in effect.



                I declare under penalty of perjury under the laws of the United States of America that the

         foregoing is true and correct.



         Executed on March 2, 2025, in Washington, D.C.

                                                                     /s/ Francis Doe
                                                                     Francis Doe




                                                         3
(Page 255 of Total)                                                                                           JA250
            Case 1:25-cv-00381-ABJ Document 48-5                  Filed 03/02/25 Page 1 of 32
       USCA Case #25-5091    Document #2114200                    Filed: 05/05/2025 Page 256 of 637



                                   IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF COLUMBIA

             NATIONAL TREASURY
             EMPLOYEES UNION, et al.,
                            Plaintiffs,
                  v.

             RUSSELL VOUGHT, in his official capacity          Case No. 25-cv-381-ABJ
             as Acting Director of the Consumer Financial
             Protection Bureau, et al.,

                                  Defendants.


                                        DECLARATION OF GREER DOE
         I, Greer Doe, declare:

                   1.     I am a management official at the Consumer Financial Protection Bureau (CFPB).

         The statements in this declaration are based on my personal knowledge. I am making this

         declaration to offer a written record of what I have observed concerning the unprecedented,

         ongoing stoppage of critical and statutorily required work by the CFPB up through today and to

         respond to the incorrect suggestion in the Second Declaration of Adam Martinez that the Bureau

         is ”perform[ing] each of CFPB’s critical statutory responsibilities.” ECF 47-1 ¶ 4. I make this

         declaration pseudonymously out of concern for retaliation. If requested, I will share my name and

         position ex parte and under seal.

                   2.     The Consumer Financial Protection Act of 2010, the part of the Dodd-Frank Act

         that establishes the CFPB, mandates that the Bureau continuously carry out certain functions to

         protect consumers and serve the public.1 Among other things, the CFPB is required to have a

         consumer-complaint collection and response system and a public-facing website. See 12 U.S.C. §


         1
          A partial list is available here: Statutory Requirements for Continuous Operation of the CFPB,
         Feb. 13, 2025, https://protectborrowers.org/wp-content/uploads/2025/02/CFPB-Statutory-
         Requirements-2.13.25.pdf (attached as Exhibit A)


(Page 256 of Total)                                                                                          JA251
            Case 1:25-cv-00381-ABJ Document 48-5                     Filed 03/02/25 Page 2 of 32
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 257 of 637



         5493(b)(3). The CFPB is also required by statute to have specific named offices with key functions.

         Among other things, the statute requires the Bureau to have an Office of Student Loan Ombudsman

         (12 U.S.C. § 5535(a)), an Office of Servicemember Affairs (12 U.S.C. § 5493(e)(1)), an Office for

         Older Americans (12 U.S.C. § 5493(f)(1)), an Office of Financial Education (12 U.S.C. §

         5493(d)(1)), and an Office of Community Affairs (12 U.S.C. § 5493(b)(2))—all offices that must

         provide specified services to consumers and other Bureau stakeholders, such as consumer groups

         and state and local governments and federal government partners, on a timely basis.

                3.      Since Acting Director Vought’s work-stoppage directive on February 10, to the best

         of my knowledge, no work has been done in the offices named above—and that remains true as of

         today. This means that the Office of Service Member Affairs is not assisting military service

         members, veterans, and their families. Nobody is performing the statutorily required complaint

         monitoring function for service members and veterans who are entitled to our help when they are

         scammed or defrauded, sometimes because they are deployed overseas or are otherwise rendered

         vulnerable as a result of their service to the Nation. The Office of Older Americans is not providing

         any services to older consumers who may be victims of elder abuse. The Student Loan

         Ombudsman was terminated on February 13 without the naming of a replacement, which means

         that people with student-loan problems cannot receive the timely assistance that the statute

         requires. The Office of Financial Education and the Office of Community Affairs are likewise at

         a standstill. As described in the declaration of Director of Digital Services Adam Scott, the CFPB’s

         homepage—most Americans’ first point of contact with the CFPB—was deleted at the direction

         of Acting Director Vought and remains down. And, as detailed in the declaration of Matthew Pfaff,

         the Chief of Staff of the Office of Consumer Response, the CFPB’s consumer-complaint and

         response system remains inoperable because of the work stoppage. For individual consumers;




(Page 257 of Total)                                                                                              JA252
            Case 1:25-cv-00381-ABJ Document 48-5                     Filed 03/02/25 Page 3 of 32
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 258 of 637



         consumer groups and legal aid providers; federal, state, and local government partners; and other

         CFPB stakeholders, the Bureau has gone dark.

                4.        On February 10, 2025, all CFPB employees—including myself—received an email

         from Acting Director Vought directing all CFPB employees to “not perform any work tasks” and

         to “stand down from performing any work tasks.” The February 10 email directed employees that,

         “If there are any urgent matters, please alert me through Mark Paoletta, Chief Legal Officer, to get

         approval in writing before performing any work task.” This February 10 email followed an earlier

         email on February 8, 2025 from Acting Director Vought —also sent to all CFPB employees—

         ordering a stoppage of CFPB work, “unless expressly approved by the Acting Director or required

         by law.” This February 10 email prohibited “any work tasks” and did not include any exception

         for work “required by law” and it directed all employees to otherwise “stand down from

         performing any work tasks.” This lack of any exception for legally required work was widely noted

         and implemented across the Bureau. Following the February 8 email, virtually all work stopped,

         including statutorily required functions. Nobody believed they truly had authority to continue tasks

         unless specifically authorized to do so by Vought. The Febraury 10 email then cemented this

         understanding.

                5.        Acting Director Vought’s February 10 email was not ambiguous. Like my

         colleagues in my office and across the Bureau, I interpreted the email as an express directive to

         cease any and all work, regardless of whether it was required by statute. Other CFPB management

         repeatedly expressed to me the same understanding.

                6.        Upon receipt of Acting Director Vought’s February 10, 2025 email, all work in my

         office ceased, including all work statutorily required under the CFPA. This has meant that critically

         important work that is required of the CFPB has been subject to a complete work stoppage,




(Page 258 of Total)                                                                                              JA253
            Case 1:25-cv-00381-ABJ Document 48-5                    Filed 03/02/25 Page 4 of 32
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 259 of 637



         including key areas of work on which consumers and other Bureau stakeholders depend. The

         terminations of nearly 200 CFPB employees that followed on February 11 and 13 further ensured

         that no work would proceed, with staff expressing concern to me that they might be fired for even

         checking their email or requesting authorization to complete statutorily required work.

                7.      Seventeen days later, late on Friday, February 27, 2025, Adam Martinez, the Chief

         Operating Officer (COO) of the CFPB sent an email regarding work authorization. This email was

         addressed only to senior management and, to my best of my knowledge, only to senior

         management in a single CFPB division (Research, Monitoring, and Regulations). The email was

         sent on the evening that the plaintiffs’ reply brief and supplemental declarations in this case were

         due to be filed. In this new email, COO Martinez stated that “statutorily required work and/or work

         required by law are authorized.” COO Martinez explicitly referenced Acting Director Vought’s

         February 8 email ordering a stoppage of work “unless expressly approved by the Acting Director

         or required by law,” but did not reference Acting Director Vought’s February 10 email ordering

         all work to stop, with no distinction or exception for statutorily required work. The February 10

         email, however, has not been rescinded or modified, and so COO Martinez’s email has generated

         confusion.

                8.      Because of uncertainty about the meaning of COO Martinez’s February 27 email—

         particularly its failure to address the complete work stoppage order from the Acting Director’s

         February 10 email—no work in my office has restarted.

                9.      Staff in my office have privately reported extreme anxiety to me about performing

         any work not expressly authorized by the Acting Director, out of concern that they may be

         terminated for insubordination in light of his February 10 work stoppage order, particularly given

         the chilling effect of the mass terminations on February 11 and 13, for no apparent cause, and




(Page 259 of Total)                                                                                             JA254
            Case 1:25-cv-00381-ABJ Document 48-5                    Filed 03/02/25 Page 5 of 32
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 260 of 637



         internal reports that mass layoffs were imminent. They have specifically expressed concern that

         they might be terminated for insubordination in light of the February 10 work stoppage order.

                10.     I do not take COO Martinez’s February 27 email as a sincere attempt to ensure that

         the Bureau fulfills its statutory requirements under the CFPA. Rather, I interpret COO Martinez’s

         email as a somewhat transparent effort—in advance of a hearing in this Court—to create the

         appearance that statutorily required work is taking place across the Bureau when in fact it is not.

                I declare under penalty of perjury under the laws of the United States of America that the

         foregoing is true and correct.

         Executed on March 2, 2025.                                           /s/ Greer Doe
                                                                              Greer Doe




(Page 260 of Total)                                                                                            JA255
            Case 1:25-cv-00381-ABJ Document 48-5                       Filed 03/02/25 Page 6 of 32
       USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025 Page 261 of 637




                      Statutory Requirements for Continuous Operation of the CFPB

         February 13, 2025

         Persis Yu, Student Borrower Protection Center
         Erin Witte, Consumer Federation of America

         The Consumer Financial Protection Bureau (CFPB), created in the devastating wake of the
         2008 financial crisis, is an independent agency that enforces consumer protection laws and
         protects people who have been cheated by financial companies. This memorandum
         summarizes the many responsibilities and obligations that the CFPB is legally obligated to
         perform. Listed below are 87 such provisions in Title 12 of the U.S. Code – a non-exhaustive list
         of the CFPB’s legal responsibilities and obligations, with a short description of each. In addition
         to those on this list, there are additional responsibilities and obligations, including in Title 15 of
         the U.S. Code. See, e.g., 15 U.S.C. § 1603 note (requiring the CFPB annually to make certain
         inflation adjustments).

         The overwhelming majority of these items are responsibilities or obligations that the law requires
         the CFPB to continuously satisfy, while a relatively small number are one-time mandates that
         the CFPB has already satisfied. Additionally, the list does not include certain rulemakings that
         the CFPB has interpreted as required under sections 1033 (personal financial data rights) and
         1071 (small business lending) of the Consumer Financial Protection Act. 1

         Of the 87 provisions surveyed:
             - 13 require the CFPB to continuously operate specific offices/departments (such as an
                Office of Servicemember Affairs and Office of Financial Protection for Older Americans);
             - 14 involve required rulemaking activities (such as issuing a notice of proposed
                rulemaking when a majority of States has enacted a resolution);
             - 13 involve required reports or reporting (such as reporting at least annually on emerging
                risks to consumers);
             - 10 involve required public engagement activities (such as responding timely to consumer
                complaints);



         1
           Although the CFPB has interpreted these provisions as imposing mandatory rulemaking requirements,
         stakeholders have made strong arguments that covered entities that are not currently in compliance with
         these statutory provisions are plainly in violation of federal law. See Loper Bright Enterprises v.
         Raimondo, 603 U.S. 369 (2024) (declining to defer to agency’s interpretation of statutory language).



(Page 261 of Total)                                                                                                JA256
            Case 1:25-cv-00381-ABJ Document 48-5                       Filed 03/02/25 Page 7 of 32
       USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025 Page 262 of 637


             -   8 involve requirements for the Bureau’s enforcement, supervision, or examination
                 activities (such as conducting periodic examinations of nonbank entities);2
             -   7 obligate assumption of other federal agencies’ responsibilities (such as duties of the
                 former Office of Thrift Supervision);
             -   6 involve mandatory consumer disclosures (such as periodically creating materials for
                 consumers to understand the nature and costs of real estate settlement services).
             -   5 involve required inter-agency coordination;
             -   3 involve required intra-Bureau coordination;
             -   5 include mandatory labor protections for Bureau employees;
             -   3 impose civil rights-related obligations; and
             -   1 provides funding-related obligations.




         2
          Statutes categorized below as pertaining to “enforcement” include those dealing with supervision and
         examinations.


                                                            2
(Page 262 of Total)                                                                                              JA257
                                  Case 1:25-cv-00381-ABJ Document 48-5                      Filed 03/02/25 Page 8 of 32
                             USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 263 of 637


                             Provisions Enacted in 12 U.S.C. ch. 53, sub-ch. V “Bureau of Consumer Financial Protection”


          Class              Statutory Mandate                 Statutory Citation       Language
                                                                                        [The Bureau] shall regulate the offering and provision of consumer
                             Regulate all financial products                            financial products or services under the Federal consumer
          Rulemaking         and services                      12 U.S.C. § 5491(a)      financial laws
                            Comply with federal labor                                   Chapter 71 of title 5 shall apply to the Bureau and the employees
          Labor protections protections                        12 U.S.C. § 5493(a)(4)   of the Bureau.
                                                                                        (B) The ombudsman appointed in accordance with subparagraph
                                                                                        (A) shall—
                                                                                        (i) act as a liaison between the Bureau and any affected person
                                                                                        with respect to any problem that such party may have in dealing
                                                                                        with the Bureau, resulting from the regulatory activities of the
                                                                                        Bureau; and
                                                                                        (ii) assure that safeguards exist to encourage complainants to
          Statutory office   Maintain an ombudsman             12 U.S.C. § 5493(a)(5)   come forward and preserve confidentiality.
                                                                                        The Director shall establish a unit whose functions shall include
                                                                                        researching, analyzing, and reporting on—
                                                                                        (A) developments in markets for consumer financial products or
                                                                                        services, including market areas of alternative consumer financial
                                                                                        products or services with high growth rates and areas of risk to
                                                                                        consumers;
                                                                                        (B) access to fair and affordable credit for traditionally underserved
                                                                                        communities;
                                                                                        (C) consumer awareness, understanding, and use of disclosures
                                                                                        and communications regarding consumer financial products or
                                                                                        services;
                                                                                        (D) consumer awareness and understanding of costs, risks, and
                                                                                        benefits of consumer financial products or services;
                                                                                        (E) consumer behavior with respect to consumer financial
                                                                                        products or services, including performance on mortgage loans;
                                                                                        and
          Statutory office   Maintain a Research Office        12 U.S.C. § 5493(b)(1)   (F) experiences of traditionally underserved consumers, including



                                                                                 3
(Page 263 of Total)                                                                                                                                              JA258
                                  Case 1:25-cv-00381-ABJ Document 48-5                       Filed 03/02/25 Page 9 of 32
                             USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025 Page 264 of 637



                                                                                          un-banked and under-banked consumers.




                                                                                          The Director shall establish a unit whose functions shall include
                                                                                          providing information, guidance, and technical assistance
                                                                                          regarding the offering and provision of consumer financial
                             Maintain a Community Affairs                                 products or services to traditionally underserved consumers and
          Statutory office   Office                              12 U.S.C. § 5493(b)(2)   communities.
                                                                                          The Director shall establish a unit whose functions shall include
                                                                                          establishing a single, toll-free telephone number, a website, and a
                                                                                          database or utilizing an existing database to facilitate the
                                                                                          centralized collection of, monitoring of, and response to consumer
                                                                                          complaints regarding consumer financial products or services. The
                             Maintain an Office for collecting                            Director shall coordinate with the Federal Trade Commission or
                             and tracking consumer                                        other Federal agencies to route complaints to such agencies,
          Statutory office   complaints                          12 U.S.C. § 5493(b)(3)   where appropriate.
                                                                                          The Director shall present an annual report to Congress not later
                                                                                          than March 31 of each year on the complaints received by the
                                                                                          Bureau in the prior year regarding consumer financial products
                                                                                          and services. Such report shall include information and analysis
                             Report to Congress annually re:     12 U.S.C. §              about complaint numbers, complaint types, and, where applicable,
          Reporting          received complaints                 5493(b)(3)(C)            information about resolution of complaints.




                                                                                   4
(Page 264 of Total)                                                                                                                                             JA259
                                  Case 1:25-cv-00381-ABJ Document 48-5                     Filed 03/02/25 Page 10 of 32
                             USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 265 of 637



                                                                                        To facilitate preparation of the reports required under
                                                                                        subparagraph (C), supervision and enforcement activities, and
                                                                                        monitoring of the market for consumer financial products and
                                                                                        services, the Bureau shall share consumer complaint information
                                                                                        with prudential regulators, the Federal Trade Commission, other
                                                                                        Federal agencies, and State agencies, subject to the standards
                                                                                        applicable to Federal agencies for protection of the confidentiality
                             Share complaint data with other   12 U.S.C. §              of personally identifiable information and for data security and
          Reporting          regulators                        5493(b)(3)(D)            integrity.
                             Maintain an Office of Fair                                 The Director shall establish within the Bureau the Office of Fair
          Statutory office   Lending and Equal Opportunity     12 U.S.C. § 5493(c)(1)   Lending and Equal Opportunity.
                                                                                        The Office of Fair Lending and Equal Opportunity shall have such
                                                                                        powers and duties as the Director may delegate to the Office,
                                                                                        including—
                                                                                        (A) providing oversight and enforcement of Federal laws intended
                                                                                        to ensure the fair, equitable, and nondiscriminatory access to
                                                                                        credit for both individuals and communities that are enforced by
                                                                                        the Bureau, including the Equal Credit Opportunity Act [15 U.S.C.
                                                                                        1691 et seq.] and the Home Mortgage Disclosure Act [12 U.S.C.
                                                                                        2801 et seq.];
                                                                                        (B) coordinating fair lending efforts of the Bureau with other
                                                                                        Federal agencies and State regulators, as appropriate, to promote
                                                                                        consistent, efficient, and effective enforcement of Federal fair
                                                                                        lending laws;
                                                                                        (C) working with private industry, fair lending, civil rights,
                                                                                        consumer and community advocates on the promotion of fair
                                                                                        lending compliance and education; and
                             Execute duties related to Fair                             (D) providing annual reports to Congress on the efforts of the
          Enforcement        Lending and Equal Opportunity     12 U.S.C. § 5493(c)(2)   Bureau to fulfill its fair lending mandate.
                                                                                        There is established the position of Assistant Director of the
                                                                                        Bureau for Fair Lending and Equal Opportunity, who—
                             Appoint an Assistant Director for                          (A) shall be appointed by the Director; and
          Statutory office   Fair Lending & Equal Opportunity 12 U.S.C. § 5493(c)(3)    (B) shall carry out such duties as the Director may delegate to




                                                                                 5
(Page 265 of Total)                                                                                                                                            JA260
                                  Case 1:25-cv-00381-ABJ Document 48-5                     Filed 03/02/25 Page 11 of 32
                             USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 266 of 637



                                                                                        such Assistant Director.




                                                                                        The Director shall establish an Office of Financial Education,
                                                                                        which shall be responsible for developing and implementing
                             Maintain an Office of Financial                            initiatives intended to educate and empower consumers to make
          Statutory office   Education                         12 U.S.C. § 5493(d)(1)   better informed financial decisions.
                                                                                        The Office of Financial Education shall develop and implement a
                                                                                        strategy to improve the financial literacy of consumers that
                                                                                        includes measurable goals and objectives, in consultation with the
                                                                                        Financial Literacy and Education Commission, consistent with the
                                                                                        National Strategy for Financial Literacy, through activities including
                                                                                        providing opportunities for consumers to access—
                                                                                        (A) financial counseling, including community-based financial
                                                                                        counseling, where practicable;
                                                                                        (B) information to assist with the evaluation of credit products and
                                                                                        the understanding of credit histories and scores;
                                                                                        (C) savings, borrowing, and other services found at mainstream
                                                                                        financial institutions;
                                                                                        (D) activities intended to—
                                                                                        (i) prepare the consumer for educational expenses and the
                                                                                        submission of financial aid applications, and other major
                                                                                        purchases;
                                                                                        (ii) reduce debt; and
                                                                                        (iii) improve the financial situation of the consumer;
                                                                                        (E) assistance in developing long-term savings strategies; and
          Public             Execute duties related to                                  (F) wealth building and financial services during the preparation
          engagement         Financial Education               12 U.S.C. § 5493(d)(2)   process to claim earned income tax credits and Federal benefits.




                                                                                 6
(Page 266 of Total)                                                                                                                                              JA261
                                  Case 1:25-cv-00381-ABJ Document 48-5                     Filed 03/02/25 Page 12 of 32
                             USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 267 of 637



                                                                                        The Office of Financial Education shall coordinate with other units
                                                                                        within the Bureau in carrying out its functions, including—
                                                                                        (A) working with the Community Affairs Office to implement the
                                                                                        strategy to improve financial literacy of consumers; and
                                                                                        (B) working with the research unit established by the Director to
                             Coordinate with other units re:                            conduct research related to consumer financial education and
          Coordination       Financial Education               12 U.S.C. § 5493(d)(3)   counseling.
                                                                                        Not later than 24 months after the designated transfer date, and
                                                                                        annually thereafter, the Director shall submit a report on its
                                                                                        financial literacy activities and strategy to improve financial literacy
                                                                                        of consumers to—
                                                                                        (A) the Committee on Banking, Housing, and Urban Affairs of the
                                                                                        Senate; and
                             Report to Congress annually re:                            (B) the Committee on Financial Services of the House of
          Reporting          financial literacy activities     12 U.S.C. § 5493(d)(4)   Representatives.
                                                                                        The Director shall establish an Office of Service Member Affairs,
                                                                                        which shall be responsible for developing and implementing
                                                                                        initiatives for service members and their families intended to—
                                                                                        (A) educate and empower service members and their families to
                                                                                        make better informed decisions regarding consumer financial
                                                                                        products and services;
                                                                                        (B) coordinate with the unit of the Bureau established under
                                                                                        subsection (b)(3), in order to monitor complaints by service
                                                                                        members and their families and responses to those complaints by
                                                                                        the Bureau or other appropriate Federal or State agency; and
                                                                                        (C) coordinate efforts among Federal and State agencies, as
                                                                                        appropriate, regarding consumer protection measures relating to
                             Maintain an Office of Service                              consumer financial products and services offered to, or used by,
          Statutory office   Member Affairs                    12 U.S.C. § 5493(e)(1)   service members and their families.




                                                                                 7
(Page 267 of Total)                                                                                                                                                JA262
                                  Case 1:25-cv-00381-ABJ Document 48-5                       Filed 03/02/25 Page 13 of 32
                             USCA Case #25-5091    Document #2114200                          Filed: 05/05/2025 Page 268 of 637



                                                                                          Before the end of the 180-day period beginning on the designated
                                                                                          transfer date, the Director shall establish the Office of Financial
                                                                                          Protection for Older Americans, the functions of which shall
                                                                                          include activities designed to facilitate the financial literacy of
                                                                                          individuals who have attained the age of 62 years or more (in this
                                                                                          subsection, referred to as “seniors”) on protection from unfair,
                                                                                          deceptive, and abusive practices and on current and future
                             Maintain an Office of Financial                              financial choices, including through the dissemination of materials
          Statutory office   Protection for Older Americans      12 U.S.C. § 5493(f)(1)   to seniors on such topics.
                                                                                          The Office of Financial Protection for Older Americans (in this
                             Appoint an Assistant Director for                            subsection referred to as the “Office”) shall be headed by an
          Statutory office   Protection of Older Americans       12 U.S.C. § 5493(f)(2)   assistant director.




                                                                                   8
(Page 268 of Total)                                                                                                                                             JA263
                            Case 1:25-cv-00381-ABJ Document 48-5                    Filed 03/02/25 Page 14 of 32
                       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 269 of 637



                                                                                 The Office shall—
                                                                                 (A) develop goals for programs that provide seniors financial
                                                                                 literacy and counseling, including programs that—
                                                                                 (i) help seniors recognize warning signs of unfair, deceptive, or
                                                                                 abusive practices, protect themselves from such practices;
                                                                                 (ii) provide one-on-one financial counseling on issues including
                                                                                 long-term savings and later-life economic security; and
                                                                                 (iii) provide personal consumer credit advocacy to respond to
                                                                                 consumer problems caused by unfair, deceptive, or abusive
                                                                                 practices;
                                                                                 (B) monitor certifications or designations of financial advisors who
                                                                                 advise seniors and alert the Commission and State regulators of
                                                                                 certifications or designations that are identified as unfair,
                                                                                 deceptive, or abusive;
                                                                                 (C) not later than 18 months after the date of the establishment of
                                                                                 the Office, submit to Congress and the Commission any legislative
                                                                                 and regulatory recommendations on the best practices for—
                                                                                 (i) disseminating information regarding the legitimacy of
                                                                                 certifications of financial advisers who advise seniors;
                                                                                 (ii) methods in which a senior can identify the financial advisor
                                                                                 most appropriate for the senior’s needs; and
                                                                                 (iii) methods in which a senior can verify a financial advisor’s
                                                                                 credentials;
                                                                                 (D) conduct research to identify best practices and effective
                                                                                 methods, tools, technology and strategies to educate and counsel
                                                                                 seniors about personal finance management with a focus on—
                                                                                 (i) protecting themselves from unfair, deceptive, and abusive
                                                                                 practices;
                                                                                 (ii) long-term savings; and
                                                                                 (iii) planning for retirement and long-term care;
                                                                                 (E) coordinate consumer protection efforts of seniors with other
                       Execute duties related to                                 Federal agencies and State regulators, as appropriate, to promote
          Public       Financial Protection for Older                            consistent, effective, and efficient enforcement; and
          engagement   Americans                        12 U.S.C. § 5493(f)(3)   (F) work with community organizations, non-profit organizations,




                                                                          9
(Page 269 of Total)                                                                                                                                     JA264
                            Case 1:25-cv-00381-ABJ Document 48-5                Filed 03/02/25 Page 15 of 32
                       USCA Case #25-5091    Document #2114200                   Filed: 05/05/2025 Page 270 of 637



                                                                             and other entities that are involved with educating or assisting
                                                                             seniors (including the National Education and Resource Center on
                                                                             Women and Retirement Planning).




                                                                             (a) Establishment required
                                                                             The Director shall establish a Consumer Advisory Board to advise
                                                                             and consult with the Bureau in the exercise of its functions under
                                                                             the Federal consumer financial laws, and to provide information on
                                                                             emerging practices in the consumer financial products or services
          Public       Establish a Consumer Advisory                         industry, including regional trends, concerns, and other relevant
          engagement   Board                           12 U.S.C. § 5494(a)   information.




                                                                        10
(Page 270 of Total)                                                                                                                               JA265
                              Case 1:25-cv-00381-ABJ Document 48-5                     Filed 03/02/25 Page 16 of 32
                         USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 271 of 637



                                                                                    In appointing the members of the Consumer Advisory Board, the
                                                                                    Director shall seek to assemble experts in consumer protection,
                                                                                    financial services, community development, fair lending and civil
                                                                                    rights, and consumer financial products or services and
                                                                                    representatives of depository institutions that primarily serve
                                                                                    underserved communities, and representatives of communities
                                                                                    that have been significantly impacted by higher-priced mortgage
                                                                                    loans, and seek representation of the interests of covered persons
                         Seek out and appoint a range of                            and consumers, without regard to party affiliation. Not fewer than 6
          Public         consumer stakeholders to                                   members shall be appointed upon the recommendation of the
          engagement     Consumer Advisory Board            12 U.S.C. § 5494(b)     regional Federal Reserve Bank Presidents, on a rotating basis.
                         Hold regular meetings of the                               The Consumer Advisory Board shall meet from time to time at the
          Public         Consumer Advisory Board, at                                call of the Director, but, at a minimum, shall meet at least twice in
          engagement     least twice a year                 12 U.S.C. § 5494(c)     each year.
                                                                                    The Bureau shall coordinate with the Commission, the Commodity
                                                                                    Futures Trading Commission, the Federal Trade Commission, and
                                                                                    other Federal agencies and State regulators, as appropriate, to
          Inter-agency                                                              promote consistent regulatory treatment of consumer financial and
          Coordination   Coordinate with other regulators   12 U.S.C. § 5495        investment products and services.
                                                                                    The Bureau shall, concurrent with each semi-annual hearing
                                                                                    referred to in subsection (a), prepare and submit to the President
                                                                                    and to the Committee on Banking, Housing, and Urban Affairs of
                                                                                    the Senate and the Committee on Financial Services and the
                                                                                    Committee on Energy and Commerce of the House of
                                                                                    Representatives, a report, beginning with the session following the
                                                                                    designated transfer date. The Bureau may also submit such report
                         Report to Congressional                                    to the Committee on Commerce, Science, and Transportation of
          Reporting      Committees semi-annually           12 U.S.C. § 5496(b)     the Senate.




                                                                               11
(Page 271 of Total)                                                                                                                                         JA266
                            Case 1:25-cv-00381-ABJ Document 48-5                     Filed 03/02/25 Page 17 of 32
                       USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 272 of 637



                                                                                  The reports required by subsection (b) shall include—
                                                                                  (1) a discussion of the significant problems faced by consumers in
                                                                                  shopping for or obtaining consumer financial products or services;
                                                                                  (2) a justification of the budget request of the previous year;
                                                                                  (3) a list of the significant rules and orders adopted by the Bureau,
                                                                                  as well as other significant initiatives conducted by the Bureau,
                                                                                  during the preceding year and the plan of the Bureau for rules,
                                                                                  orders, or other initiatives to be undertaken during the upcoming
                                                                                  period;
                                                                                  (4) an analysis of complaints about consumer financial products or
                                                                                  services that the Bureau has received and collected in its central
                                                                                  database on complaints during the preceding year;
                                                                                  (5) a list, with a brief statement of the issues, of the public
                                                                                  supervisory and enforcement actions to which the Bureau was a
                                                                                  party during the preceding year;
                                                                                  (6) the actions taken regarding rules, orders, and supervisory
                                                                                  actions with respect to covered persons which are not credit
                                                                                  unions or depository institutions;
                                                                                  (7) an assessment of significant actions by State attorneys general
                                                                                  or State regulators relating to Federal consumer financial law;
                                                                                  (8) an analysis of the efforts of the Bureau to fulfill the fair lending
                                                                                  mission of the Bureau; and
                                                                                  (9) an analysis of the efforts of the Bureau to increase workforce
                       Address specific topics in semi-                           and contracting diversity consistent with the procedures
          Reporting    annual Congressional Reports       12 U.S.C. § 5496(c)     established by the Office of Minority and Women Inclusion.
                                                                                  Funds obtained by, transferred to, or credited to the Bureau Fund
                                                                                  shall be immediately available to the Bureau and under the control
                                                                                  of the Director, and shall remain available until expended, to pay
                       Expend funds transferred by Fed                            the expenses of the Bureau in carrying out its duties and
          Funding      on Agency Activities            12 U.S.C. § 5497(c)        responsibilities.
                                                                                  The Bureau shall, by rule, adopt data standards for all collections
                                                                                  of information that are regularly filed with or submitted to the
          Rulemaking   Maintain data standards            12 U.S.C. § 5498        Bureau.




                                                                             12
(Page 272 of Total)                                                                                                                                          JA267
                              Case 1:25-cv-00381-ABJ Document 48-5                       Filed 03/02/25 Page 18 of 32
                         USCA Case #25-5091    Document #2114200                          Filed: 05/05/2025 Page 273 of 637



                                                                                      All public data assets published by the Bureau shall be—
                                                                                      (1) made available as an open Government data asset (as defined
                         Maintain public access to all                                in section 3502 of title 44);
          Reporting      published data sets                 12 U.S.C. § 5499         (2) freely available for download;
                                                                                      In order to support its rulemaking and other functions, the Bureau
                                                                                      shall monitor for risks to consumers in the offering or provision of
                         Actively monitor emerging risks to                           consumer financial products or services, including developments
          Enforcement    consumers                          12 U.S.C. § 5512(c)(1)    in markets for such products or services.
                         Issue reports on emerging risks                              The Bureau shall publish not fewer than 1 report of significant
                         to consumers, no less than                                   findings of its monitoring required by this subsection in each
          Reporting      annually                            12 U.S.C. § 5512(c)(3)   calendar year...
                                                                                      The Bureau shall prescribe rules regarding the confidential
                                                                                      treatment of information obtained from persons in connection with
                         Prescribe rules for maintaining                              the exercise of its authorities under Federal consumer financial
          Rulemaking     consumer confidentiality            12 U.S.C. § 5512(c)(6)   law.
                                                                                      The Bureau shall require reports and conduct examinations on a
                                                                                      periodic basis of persons described in subsection (a)(1) for
                                                                                      purposes of—
                                                                                      (A) assessing compliance with the requirements of Federal
                                                                                      consumer financial law;
                                                                                      (B) obtaining information about the activities and compliance
                                                                                      systems or procedures of such person; and
                         Regularly examine covered                                    (C) detecting and assessing risks to consumers and to markets for
          Enforcement    entities                            12 U.S.C. § 5514(b)(1)   consumer financial products and services.
                                                                                      To minimize regulatory burden, the Bureau shall coordinate its
                                                                                      supervisory activities with the supervisory activities conducted by
                                                                                      prudential regulators, the State bank regulatory authorities, and
                                                                                      the State agencies that licence, supervise, or examine the offering
                                                                                      of consumer financial products or services, including establishing
                                                                                      their respective schedules for examining persons described in
          Inter-agency   Coordinate supervisory activities                            subsection (a)(1) and requirements regarding reports to be
          Coordination   with other regulators               12 U.S.C. § 5514(b)(3)   submitted by such persons




                                                                                13
(Page 273 of Total)                                                                                                                                          JA268
                             Case 1:25-cv-00381-ABJ Document 48-5                     Filed 03/02/25 Page 19 of 32
                        USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 274 of 637



                                                                                   The Bureau shall prescribe rules to facilitate supervision of
                                                          12 U.S.C. §              persons described in subsection (a)(1) and assessment and
          Rulemaking    Prescribe rules for supervision   5514(b)(7)(A)            detection of risks to consumers.
                                                                                   Except as provided in paragraph (3) and section 5581 of this title,
                                                                                   with respect to any person described in subsection (a)(1), to the
                                                                                   extent that Federal law authorizes the Bureau and another Federal
                                                                                   agency to enforce Federal consumer financial law, the Bureau
                        Exercise exclusive enforcement                             shall have exclusive authority to enforce that Federal consumer
          Enforcement   authority                         12 U.S.C. § 5514(c)(1)   financial law.
                                                                                   Notwithstanding any other provision of Federal law and except as
                                                                                   provided in section 5581 of this title, to the extent that Federal law
                                                                                   authorizes the Bureau and another Federal agency to issue
                                                                                   regulations or guidance, conduct examinations, or require reports
                                                                                   from a person described in subsection (a)(1) under such law for
                                                                                   purposes of assuring compliance with Federal consumer financial
                                                                                   law and any regulations thereunder, the Bureau shall have the
                                                                                   exclusive authority to prescribe rules, issue guidance, conduct
                                                                                   examinations, require reports, or issue exemptions with regard to
                        Exercise exclusive rulemaking                              a person described in subsection (a)(1), subject to those
          Rulemaking    authority                         12 U.S.C. § 5514(d)      provisions of law.
                                                                                   The Bureau shall have exclusive authority to require reports and
                                                                                   conduct examinations on a periodic basis of persons described in
                                                                                   subsection (a) for purposes of—
                                                                                   (A) assessing compliance with the requirements of Federal
                                                                                   consumer financial laws;
                                                                                   (B) obtaining information about the activities subject to such laws
                                                                                   and the associated compliance systems or procedures of such
                                                                                   persons; and
                        Exercise exclusive examination                             (C) detecting and assessing associated risks to consumers and to
          Enforcement   authority                         12 U.S.C. § 5515(b)(1)   markets for consumer financial products and services.




                                                                           14
(Page 274 of Total)                                                                                                                                         JA269
                              Case 1:25-cv-00381-ABJ Document 48-5                     Filed 03/02/25 Page 20 of 32
                         USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 275 of 637



                                                                                    To minimize regulatory burden, the Bureau shall coordinate its
                                                                                    supervisory activities with the supervisory activities conducted by
                                                                                    prudential regulators and the State bank regulatory authorities,
                                                                                    including consultation regarding their respective schedules for
                         Coordinate examination activities                          examining such persons described in subsection (a) and
          Coordination   with other regulators             12 U.S.C. § 5515(b)(2)   requirements regarding reports to be submitted by such persons.
                                                                                    The Bureau shall provide the Commissioner of Internal Revenue
                                                                                    with any report of examination or related information identifying
          Enforcement    report tax law noncompliance      12 U.S.C. § 5515(b)(5)   possible tax law noncompliance.
                                                                                    (1) A prudential regulator and the Bureau shall, with respect to
                                                                                    each insured depository institution, insured credit union, or other
                                                                                    covered person described in subsection (a) that is supervised by
                                                                                    the prudential regulator and the Bureau, respectively—
                                                                                    (A) coordinate the scheduling of examinations of the insured
                                                                                    depository institution, insured credit union, or other covered
                                                                                    person described in subsection (a);
                                                                                    (B) conduct simultaneous examinations of each insured depository
                                                                                    institution or insured credit union, unless such institution requests
                                                                                    examinations to be conducted separately;
                                                                                    (C) share each draft report of examination with the other agency
                                                                                    and permit the receiving agency a reasonable opportunity (which
                                                                                    shall not be less than a period of 30 days after the date of receipt)
                                                                                    to comment on the draft report before such report is made final;
                                                                                    and
                                                                                    (D) prior to issuing a final report of examination or taking
                                                                                    supervisory action, take into consideration concerns, if any, raised
                                                                                    in the comments made by the other agency.

                                                                                    (2) Coordination with State bank supervisors
                         Coordinate simultaneous /                                  The Bureau shall pursue arrangements and agreements with State
                         overlapping examination activities                         bank supervisors to coordinate examinations, consistent with
          Coordination   with other regulators              12 U.S.C. § 5515(e)     paragraph (1).




                                                                            15
(Page 275 of Total)                                                                                                                                         JA270
                                  Case 1:25-cv-00381-ABJ Document 48-5                Filed 03/02/25 Page 21 of 32
                             USCA Case #25-5091    Document #2114200                   Filed: 05/05/2025 Page 276 of 637



                                                                                   The Bureau, by rule, shall prescribe standards applicable to
                                                                                   covered persons to promote the development and use of
                                                                                   standardized formats for information, including through the use of
          Public             Establish data formats for                            machine readable files, to be made available to consumers under
          engagement         consumer information requests   12 U.S.C. § 5533(d)   this section.
                                                                                   The Bureau shall establish, in consultation with the appropriate
                                                                                   Federal regulatory agencies, reasonable procedures to provide a
                                                                                   timely response to consumers, in writing where appropriate, to
                                                                                   complaints against, or inquiries concerning, a covered person,
                                                                                   including—
                                                                                   (1) steps that have been taken by the regulator in response to the
                                                                                   complaint or inquiry of the consumer;
                                                                                   (2) any responses received by the regulator from the covered
                                                                                   person; and
          Public             Respond timely to consumer                            (3) any follow-up actions or planned follow-up actions by the
          engagement         complaints                      12 U.S.C. § 5534(a)   regulator in response to the complaint or inquiry of the consumer.
                                                                                   The Bureau shall enter into a memorandum of understanding with
                                                                                   any affected Federal regulatory agency regarding procedures by
                                                                                   which any covered person, and the prudential regulators, and any
                                                                                   other agency having jurisdiction over a covered person, including
                             Coordinate with other federal                         the Secretary of the Department of Housing and Urban
          Public             agencies re: consumer                                 Development and the Secretary of Education, shall comply with
          engagement         complaints                      12 U.S.C. § 5534(d)   this section.
                                                                                   The Secretary, in consultation with the Director, shall designate a
                                                                                   Private Education Loan Ombudsman (in this section referred to as
                             Maintain a Private Education                          the “Ombudsman”) within the Bureau, to provide timely assistance
          Statutory Office   Loan Ombudsman                  12 U.S.C. § 5535(a)   to borrowers of private education loans.




                                                                              16
(Page 276 of Total)                                                                                                                                      JA271
                            Case 1:25-cv-00381-ABJ Document 48-5                  Filed 03/02/25 Page 22 of 32
                       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 277 of 637



                                                                               The Ombudsman designated under this subsection shall—
                                                                               (1) in accordance with regulations of the Director, receive, review,
                                                                               and attempt to resolve informally complaints from borrowers of
                                                                               loans described in subsection (a), including, as appropriate,
                                                                               attempts to resolve such complaints in collaboration with the
                                                                               Department of Education and with institutions of higher education,
                                                                               lenders, guaranty agencies, loan servicers, and other participants
                                                                               in private education loan programs;
                                                                               (2) not later than 90 days after the designated transfer date,
                                                                               establish a memorandum of understanding with the student loan
                                                                               ombudsman established under section 1018(f) of title 20, to
                                                                               ensure coordination in providing assistance to and serving
                                                                               borrowers seeking to resolve complaints related to their private
                                                                               education or Federal student loans;
                                                                               (3) compile and analyze data on borrower complaints regarding
                                                                               private education loans; and
                                                                               (4) make appropriate recommendations to the Director, the
                                                                               Secretary, the Secretary of Education, the Committee on Banking,
                                                                               Housing, and Urban Affairs and the Committee on Health,
                       Execute consumer outreach,                              Education, Labor, and Pensions of the Senate and the Committee
          Public       complaint handling, education,                          on Financial Services and the Committee on Education and Labor
          engagement   and reporting re: education loans 12 U.S.C. § 5535(c)   of the House of Representatives.
                                                                               (1) In general
                                                                               The Ombudsman shall prepare an annual report that describes the
                                                                               activities, and evaluates the effectiveness of the Ombudsman
                                                                               during the preceding year.
                                                                               (2) Submission
                                                                               The report required by paragraph (1) shall be submitted on the
                                                                               same date annually to the Secretary, the Secretary of Education,
                                                                               the Committee on Banking, Housing, and Urban Affairs and the
                                                                               Committee on Health, Education, Labor, and Pensions of the
                                                                               Senate and the Committee on Financial Services and the
                       Report to Congress re: education                        Committee on Education and Labor of the House of
          Reporting    loan activities                  12 U.S.C. § 5535(d)    Representatives.



                                                                          17
(Page 277 of Total)                                                                                                                                   JA272
                            Case 1:25-cv-00381-ABJ Document 48-5                       Filed 03/02/25 Page 23 of 32
                       USCA Case #25-5091    Document #2114200                          Filed: 05/05/2025 Page 278 of 637



                                                                                    The Office [of Financial Literacy] shall establish a program under
                                                                                    which the Office may make grants to States or eligible entities—
                                                                                    (1) to hire staff to identify, investigate, and prosecute (through civil,
                                                                                    administrative, or criminal enforcement actions) cases involving
                                                                                    misleading or fraudulent marketing;
                                                                                    (2) to fund technology, equipment, and training for regulators,
                                                                                    prosecutors, and law enforcement officers, in order to identify
                                                                                    salespersons and advisers who target seniors through the use of
                                                                                    misleading designations;
                                                                                    (3) to fund technology, equipment, and training for prosecutors to
                                                                                    increase the successful prosecution of salespersons and advisers
                                                                                    who target seniors with the use of misleading designations;
                                                                                    (4) to provide educational materials and training to regulators on
                                                                                    the appropriateness of the use of designations by salespersons
                                                                                    and advisers in connection with the sale and marketing of financial
                                                                                    products;
                                                                                    (5) to provide educational materials and training to seniors to
                                                                                    increase awareness and understanding of misleading or fraudulent
                                                                                    marketing;
                                                                                    (6) to develop comprehensive plans to combat misleading or
                                                                                    fraudulent marketing of financial products to seniors; and
          Public       Maintain a grant program for                                 (7) to enhance provisions of State law to provide protection for
          engagement   enhanced protection of seniors      12 U.S.C. § 5537(b)      seniors against misleading or fraudulent marketing.
                                                                                    The Bureau shall issue a notice of proposed rulemaking whenever
                                                                                    a majority of the States has enacted a resolution in support of the
                       Initiate rulemaking when a                                   establishment or modification of a consumer protection regulation
          Rulemaking   majority of the states so request   12 U.S.C. § 5551(c)(1)   by the Bureau.
                                                                                    whenever the Bureau determines not to prescribe a final
                                                                                    regulation, shall publish an explanation of such determination in
                                                                                    the Federal Register, and provide a copy of such explanation to
                                                                                    each State that enacted a resolution in support of the proposed
                                                                                    regulation, the Committee on Banking, Housing, and Urban Affairs
                       Explain any decision not to         12 U.S.C. §              of the Senate, and the Committee on Financial Services of the
          Rulemaking   prescribe a final regulation        5551(c)(3)(B)            House of Representatives.



                                                                            18
(Page 278 of Total)                                                                                                                                             JA273
                               Case 1:25-cv-00381-ABJ Document 48-5                      Filed 03/02/25 Page 24 of 32
                          USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025 Page 279 of 637



                                                                                      The Bureau shall prescribe regulations to implement the
                                                                                      requirements of this section and, from time to time, provide
                          Prescribe regulations for                                   guidance in order to further coordinate actions with the State
          Rulemaking      information sharing with states    12 U.S.C. § 5552(c)      attorneys general and other regulators.
                                                                                      No rule established by the Bureau regarding the confidentiality of
                                                                                      materials submitted to, or otherwise obtained by, the Bureau shall
                          Not interfere with Congressional                            be intended to prevent disclosure to either House of Congress or
          Reporting       access to submitted materials      12 U.S.C. § 5562(d)(2)   to an appropriate committee of the Congress,
                          Prescribe rules for hearings and                            The Bureau shall prescribe rules establishing such procedures as
          Rulemaking      adjudication proceedings           12 U.S.C. § 5563(e)      may be necessary to carry out this section.
                          Assume all duties formerly
          Assumption of   assigned to the Board of                                    The Bureau shall have all powers and duties that were vested in
          other agency    Governors related to consumer      12 U.S.C. §              the Board of Governors, relating to consumer financial protection
          powers          financial protection               5563(b)(1)(B)            functions, on the day before the designated transfer date.
                          Assume all duties formerly                                  The Bureau shall have all powers and duties that were vested in
          Assumption of   assigned to the Comptroller of                              the Comptroller of the Currency, relating to consumer financial
          other agency    the Currency related to consumer 12 U.S.C. §                protection functions, on the day before the designated transfer
          powers          financial protection             5563(b)(2)(B)              date.
                          Assume all duties formerly
                          assigned to the Director of the                             The Bureau shall have all powers and duties that were vested in
          Assumption of   Office of Thrift Supervision                                the Director of the Office of Thrift Supervision, relating to
          other agency    related to consumer financial      12 U.S.C. §              consumer financial protection functions, on the day before the
          powers          protection                         5563(b)(3)(B)            designated transfer date.
                          Assume all duties formerly                                  The Bureau shall have all powers and duties that were vested in
          Assumption of   assigned to the Federal Deposit                             the Federal Deposit Insurance Corporation, relating to consumer
          other agency    Insurance Corporation related to   12 U.S.C. §              financial protection functions, on the day before the designated
          powers          consumer financial protection      5563(b)(4)(B)            transfer date.
                          Assume joint responsibility for                             The Bureau shall have all powers and duties under the
                          duties formerly assigned                                    enumerated consumer laws to prescribe rules, issue guidelines, or
          Assumption of   exclusively to the Federal Trade                            to conduct studies or issue reports mandated by such laws, that
          other agency    Commission related to consumer 12 U.S.C. §                  were vested in the Federal Trade Commission on the day before
          powers          financial protection             5563(b)(5)(B)(i)           the designated transfer date.



                                                                              19
(Page 279 of Total)                                                                                                                                        JA274
                                Case 1:25-cv-00381-ABJ Document 48-5                        Filed 03/02/25 Page 25 of 32
                           USCA Case #25-5091    Document #2114200                           Filed: 05/05/2025 Page 280 of 637



                                                                                         To avoid duplication of or conflict between rules prescribed by the
                                                                                         Bureau under section 5531 of this title and the Federal Trade
                                                                                         Commission under section 18(a)(1)(B) of the Federal Trade
                                                                                         Commission Act [15 U.S.C. 57a(a)(1)(B)] that apply to a covered
                                                                                         person or service provider with respect to the offering or provision
                                                                                         of consumer financial products or services, the agencies shall
                                                                                         negotiate an agreement with respect to rulemaking by each
          Inter-agency      Coordinate joint responsibilities   12 U.S.C. §              agency, including consultation with the other agency prior to
          Coordination      with FTC                            5563(b)(5)(D)            proposing a rule and during the comment period.
                            Assume all duties formerly                                   The Bureau shall have all powers and duties that were vested in
          Assumption of     assigned to the National Credit                              the National Credit Union Administration, relating to consumer
          other agency      Union Administration related to     12 U.S.C. §              financial protection functions, on the day before the designated
          powers            consumer financial protection       5563(b)(6)(B)            transfer date.
                                                                                         The Bureau shall have all powers and duties that were vested in
                                                                                         the Secretary of the Department of Housing and Urban
                                                                                         Development relating to the Real Estate Settlement Procedures
                                                                                         Act of 1974 (12 U.S.C. 2601 et seq.), the Secure and Fair
                                                                                         Enforcement for Mortgage Licensing Act of 2008 (12 U.S.C. 5101
          Assumption of     Assume all duties formerly                                   et seq.), and the Interstate Land Sales Full Disclosure Act (15
          other agency      assigned to HUD related to          12 U.S.C. §              U.S.C. 1701 et seq.), on the day before the designated transfer
          powers            consumer financial protection       5563(b)(7)(B)            date.
                                                                                         [Re: all foregoing transfers of duties,] Section 5581(b)(X) of this
                                                                                         title does not affect the validity of any right, duty, or obligation of
                                                                                         the United States, [X Agency], or any other person that—
                                                                                         (A) arises under any provision of law relating to any consumer
          Inter-agency      Honor broad savings provisions      12 U.S.C. §              financial protection function of the [X Agency] transferred to the
          Coordination      re: transferred duties              5583(b)(7)(B)            Bureau by this title; [1] and[
                                                                                         [Re: all foregoing transferrs of duties,] The Bureau and each of the
                                                                                         transferor agencies (except the Federal Trade Commission) shall
                                                                                         jointly determine the number of employees and the types and
                                                                                         grades of employees necessary to perform the functions of the
                            Maintain appropriate staffing to                             Bureau under part A, including consumer education, financial
          Labor protections execute the transferred duties      12 U.S.C. § 5583(a)(7)   literacy, policy analysis, responses to consumer complaints and



                                                                                 20
(Page 280 of Total)                                                                                                                                                JA275
                               Case 1:25-cv-00381-ABJ Document 48-5                       Filed 03/02/25 Page 26 of 32
                          USCA Case #25-5091    Document #2114200                          Filed: 05/05/2025 Page 281 of 637



                                                                                       inquiries, research, and similar functions. All employees jointly
                                                                                       identified under this paragraph shall be transferred to the Bureau
                                                                                       for employment.



                                                                                       If the Bureau determines, at any time after the 3-year period
                            Fulfill the requirements of 5                              beginning on the designated transfer date, that a reorganization of
                            U.S.C. § 35 when executing any    12 U.S.C. §              the staff of the Bureau is required, any resulting reduction in force
          Labor protections reduction in force                5583(h)(2)(A)            shall be governed by the provisions of chapter 35 of title 5,
                                                                                       The Bureau shall submit a workforce flexibility plan that includes,
                                                                                       to the extent practicable—
                                                                                       (i) telework;
                                                                                       (ii) flexible work schedules;
                                                                                       (iii) phased retirement;
                                                                                       (iv) reemployed annuitants;
                                                                                       (v) part-time work;
                                                                                       (vi) job sharing;
                                                                                       (vii) parental leave benefits and
                                                                                       childcare assistance;
                                                                                       (viii) domestic partner benefits;
                                                                                       (ix) other workplace flexibilities; or
                            Make flexible work arrangements 12 U.S.C. §                (x) any combination of the items de-
          Labor protections available to Bureau staff       5587(b)(2)(B)              scribed in clauses (i) through (ix).
                                                                                       As part of its [2] duties as members of the Financial Literacy and
                                                                                       Education Commission, the Bureau, the Federal banking
                                                                                       agencies, and the National Credit Union Administration shall assist
                                                                                       the Financial Literacy and Education Commission in executing the
          Inter-agency     Assist Financial Literacy                                   Strategy for Assuring Financial Empowerment (or the “SAFE
          Coordination     Commission                         12 U.S.C. § 5601(c)(2)   Strategy”), as it relates to remittances.
                           Maintain rules and/or programs                              the Bureau shall, consistent with part B, propose regulations or
                           concerning exchange facilitation                            otherwise establish a program to protect consumers who use
          Rulemaking       and reverse mortgages              12 U.S.C. § 5603(c)      exchange facilitators.




                                                                               21
(Page 281 of Total)                                                                                                                                            JA276
                             Case 1:25-cv-00381-ABJ Document 48-5                       Filed 03/02/25 Page 27 of 32
                        USCA Case #25-5091    Document #2114200                          Filed: 05/05/2025 Page 282 of 637


                                                     Additional Provisions Enacted in 12 U.S.C.

                                                                                             (c) Manner and content of disclosure
                                                                                             To ensure that current and prospective customers
                                                                                             understand the risks involved in foregoing Federal
                                                                                             deposit insurance, the Bureau, by regulation or order,
                                                                                             shall prescribe the manner and content of disclosure
                                                                                             required under this section, which shall be presented in
                        Regulate disclosures required of depository                          such format and in such type size and manner as to be
          Rulemaking    institutions lacking Federal deposit insurance   12 U.S.C. § 1831t   simple and easy to understand
                                                                                             The Bureau shall publish a single, integrated disclosure
                                                                                             for mortgage loan transactions (including real estate
                                                                                             settlement cost statements) which includes the
                                                                                             disclosure requirements of this section and section 2604
                                                                                             of this title, in conjunction with the disclosure
                                                                                             requirements of the Truth in Lending Act [15 U.S.C.
                                                                                             1601 et seq.] that, taken together, may apply to a
                                                                                             transaction that is subject to both or either provisions of
                                                                                             law. The purpose of such model disclosure shall be to
                                                                                             facilitate compliance with the disclosure requirements of
                                                                                             this chapter 1 and the Truth in Lending Act, and to aid
                                                                                             the borrower or lessee in understanding the transaction
                                                                                             by utilizing readily understandable language to simplify
                                                                                             the technical nature of the disclosures. Such forms shall
                                                                                             conspicuously and clearly itemize all charges imposed
                                                                                             upon the borrower and all charges imposed upon the
                                                                                             seller in connection with the settlement and shall indicate
                                                                                             whether any title insurance premium included in such
          Consumer      Maintain model disclosure forms for mortgage                         charges covers or insures the lender’s interest in the
          Disclosures   loan transactions                            12 U.S.C. § 2603(a)     property, the borrower’s interest, or both.




                                                                             22
(Page 282 of Total)                                                                                                                                        JA277
                             Case 1:25-cv-00381-ABJ Document 48-5                     Filed 03/02/25 Page 28 of 32
                        USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 283 of 637



                                                                                              The Director of the Bureau of Consumer Financial
                                                                                              Protection (hereafter in this section referred to as the
                                                                                              ‘‘Director’’) shall prepare, at least once every 5 years, a
                                                                                              booklet to help consumers applying for federally related
                                                                                              mortgage loans to understand the nature and costs of
                                                                                              real estate settlement services. The Director shall
                                                                                              prepare the booklet in various languages and cultural
                                                                                              styles, as the Director determines to be appropriate, so
                                                                                              that the booklet is understandable and accessible to
                                                                                              homebuyers of different ethnic and cultural backgrounds.
                                                                                              The Director shall distribute such booklets to all lenders
                                                                                              that make federally related mortgage loans. The Director
                                                                                              shall also distribute to such lenders lists, organized by
                                                                                              location, of homeownership counselors certified under
          Consumer                                                                            section 1701x(e) of this title for use in complying with the
          Disclosures   Maintain home buying information booklets      12 U.S.C. § 2604       requirement under subsection (c) of this section.
                                                                                              The Bureau shall establish any requirements necessary
                                                                                              to carry out this section. Such regulations shall include
                        Regulate servicing of mortgage loans and       12 U.S.C. §            the model disclosure
          Rulemaking    administration of escrow accounts              2605(j)(3)             statement required under subsection (a)(2).
                                                                                              Subject to subsection (h), the Bureau shall prescribe a
          Consumer      Regulate disclosures required of all depository                       standard format for the disclosures required under this
          Disclosures   institutions that handle mortgage loans         12 U.S.C. § 2803(e)   section.
                                                                                              The Bureau shall prescribe such regulations as may be
                                                                                              necessary to carry out the purposes of this chapter.
                                                                                              These regulations may contain such classifications,
                                                                                              differentiations, or other provisions, and may provide for
                                                                                              such adjustments and exceptions for any class of
                                                                                              transactions, as in the judgment of the Bureau are
                                                                                              necessary and proper to effectuate the purposes of this
          Consumer      Regulate disclosures required for all mortgage                        chapter, and prevent circumvention or evasion thereof,
          Disclosures   loans                                          12 U.S.C. § 2804(a)    or to facilitate compliance therewith.




                                                                            23
(Page 283 of Total)                                                                                                                                          JA278
                                Case 1:25-cv-00381-ABJ Document 48-5                        Filed 03/02/25 Page 29 of 32
                           USCA Case #25-5091    Document #2114200                           Filed: 05/05/2025 Page 284 of 637



                                                                                                   The Director of the Bureau of Consumer Financial
                                                                                                   Protection, with the assistance of the Secretary, the
                                                                                                   Director of the Bureau of the Census, the Board of
                                                                                                   Governors of the Federal Reserve System, the Federal
                                                                                                   Deposit Insurance Corporation, and such other persons
                                                                                                   as the Bureau deems appropriate, shall develop or
                                                                                                   assist in the improvement of, methods of matching
                             Develop and refine systems for matching                               addresses and census tracts to facilitate compliance by
                             addresses to census tracts for civil rights     12 U.S.C. §           depository institutions in as economical a manner as
          Civil rights       reporting                                       2806(a)(1)            possible with the requirements of this chapter.
                                                                                                   The Bureau, in consultation with the Secretary of
                                                                                                   Housing and Urban Development, shall report annually
                                                                                                   to the Congress on the utility of the requirements of
                                                                                                   section 2803(b)(4) of this title. [the number and dollar
                                                                                                   amount of mortgage loans and completed applications
                                                                                                   involving mortgagors or mortgage applicants grouped
                             Report to Congress annually regarding utility                         according to census tract, income level, racial
          Civil rights       of civil rights reporting                       12 U.S.C. § 2807      characteristics, age, and gender]
                                                                                                   The Council shall also produce tables indicating, for
                                                                                                   each primary metropolitan statistical area, metropolitan
                                                                                                   statistical area, or consolidated metropolitan statistical
                                                                                                   area that is not comprised of designated primary
                                                                                                   metropolitan statistical areas, aggregate lending patterns
                                                                                                   for various categories of census tracts grouped
                             Compile statistics, on an ongoing basis, on                           according to location, age of housing stock, income
          Reporting          mortgage issuance                               12 U.S.C. § 2809(a)   level, and racial characteristics.
                                                                                                   The Bureau shall provide staff and data processing
                            Provide staff and resources for civil rights                           resources to the Council to enable it to carry out the
          Labor protections reporting                                        12 U.S.C. § 2809(b)   provisions of subsection (a).
                                                                                                   The data and tables required pursuant to subsection (a)
                                                                                                   shall be made available to the public by no later than
                             Make mortgage issuance data available to the                          December 31 of the year following the calendar year on
          Reporting          public                                       12 U.S.C. § 2809(c)      which the data is based.



                                                                                 24
(Page 284 of Total)                                                                                                                                             JA279
                                  Case 1:25-cv-00381-ABJ Document 48-5                      Filed 03/02/25 Page 30 of 32
                             USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025 Page 285 of 637



                                                                                                   There shall be within the Council a subcommittee to be
                                                                                                   known as the ‘‘Appraisal Subcommittee’’, which shall
                                                                                                   consist of the designees of the heads of the Federal
                                                                                                   financial institutions regulatory agencies, the Bureau of
                                                                                                   Consumer Financial Protection, and the Federal Housing
                             Send a qualified delegate to the Appraisal                            Finance Agency. Each such designee shall be a person
                             Subcommittee of the Federal Financial                                 who has demonstrated knowledge and competence
          Statutory office   Institutions Examination Council                12 U.S.C. § 3310      concerning the appraisal profession.
                                                                                                   Each depository institution shall maintain a schedule of
                                                                                                   fees, charges, interest rates, and terms and conditions
                                                                                                   applicable to each class of accounts offered by the
                                                                                                   depository institution, in accordance with the
                                                                                                   requirements of this section and regulations which the
                                                                                                   Bureau shall prescribe. The Bureau shall specify, in
                                                                                                   regulations, which fees, charges, penalties, terms,
                                                                                                   conditions, and account restrictions must be included in
                                                                                                   a schedule required under this subsection. A depository
          Consumer           Specify required elements of consumer                                 institution need not include in such schedule any
          Disclosures        disclosures for savings accounts (TISA)         12 U.S.C. § 4303(a)   information not specified in such regulation.
                                                                                                   The Bureau shall require, in regulations which the
                                                                                                   Bureau shall prescribe, such modification in the
                                                                                                   disclosure requirements under this chapter relating to
                                                                                                   annual percentage yield as may be necessary to carry
                                                                                                   out the purposes of this chapter in the case of—
                                                                                                   (1) accounts with respect to which determination of
                                                                                                   annual percentage yield is based on an annual rate of
                                                                                                   interest that is guaranteed for a period of less than 1
                                                                                                   year;
                                                                                                   (2) variable rate accounts;
                                                                                                   (3) accounts which, pursuant to law, do not guarantee
                                                                                                   payment of a stated rate;
                             Prescribe special regulations for depository                          (4) multiple rate accounts; and
                             accounts that provide interest that cannot be                         (5) accounts with respect to which determination of
          Rulemaking         accurately expressed as a simple APR            12 U.S.C. § 4304      annual percentage yield is based on an annual rate of



                                                                                 25
(Page 285 of Total)                                                                                                                                            JA280
                             Case 1:25-cv-00381-ABJ Document 48-5                    Filed 03/02/25 Page 31 of 32
                        USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 286 of 637



                                                                                            interest that is guaranteed for a stated term.




                                                                                            ...the Bureau, after consultation with each agency
                                                                                            referred to in section 4309(a) of this title and public
                                                                                            notice and opportunity for comment, shall prescribe
                        Prescribe regulations to enforce all          12 U.S.C. §           regulations to carry out the purpose and provisions of
          Rulemaking    substantive provisions of TISA                4308(a)(1)            this chapter.
                                                                                            The Bureau shall publish model forms and clauses for
                                                                                            common disclosures to facilitate compliance with this
                                                                                            chapter. In devising such forms, the Bureau shall
          Consumer      Publish model forms to support all substantive 12 U.S.C. §          consider the use by depository institutions of data
          Disclosures   provisions of TISA                             4309(b)(1)           processing or similar automated machines.
                                                                                            Subject to subtitle B of the Consumer Financial
                                                                                            Protection Act of 2010 [12 U.S.C. 5511 et seq.],
                                                                                            compliance with the requirements imposed under this
                                                                                            chapter shall be enforced under— ...(4) subtitle E of the
                                                                                            Consumer Financial Protection Act of 2010 [12 U.S.C.
                                                                                            5561 et seq.], by the Bureau of Consumer Financial
                        Enforce all substantive requirements for                            Protection, with respect to any person subject to this
          Enforcement   mortgage disclosures                          12 U.S.C. § 4909(a)   chapter.
                                                                                            The Bureau shall develop and maintain a system for
                                                                                            registering employees of a depository institution,
                                                                                            employees of a subsidiary that is owned and controlled
                                                                                            by a depository institution and regulated by a Federal
                        Maintain a registration system for loan       12 U.S.C. §           banking agency, or employees of an institution regulated
          Enforcement   originators                                   5106(a)(1)            by the Farm Credit Administration, as registered loan



                                                                           26
(Page 286 of Total)                                                                                                                                     JA281
                                  Case 1:25-cv-00381-ABJ Document 48-5                 Filed 03/02/25 Page 32 of 32
                             USCA Case #25-5091    Document #2114200                    Filed: 05/05/2025 Page 287 of 637



                                                                                              originators with the Nationwide Mortgage Licensing
                                                                                              System and Registry.




                                                                                              Not later than 1 year after July 30, 2008, and annually
                                                                                              thereafter, the Director shall submit a report to Congress
                                                                                              on the effectiveness of the provisions of this chapter,
                                                                                              including legislative recommendations, if any, for
                                                                                              strengthening consumer protections, enhancing
                                                                                              examination standards, streamlining communication
                                                                                              between all stakeholders involved in residential
                                                                                              mortgage loan origination and processing, and
                             Report to Congress annually: re: loan                            establishing performance based bonding requirements
                             originator registration and bonding                              for mortgage originators or institutions that employ such
          Reporting          requirements                               12 U.S.C. § 5115(a)   brokers.
                                                                                              A) In general
                                                                                              ...each agency shall establish an Office of Minority and
                                                                                              Women Inclusion that shall be responsible for all matters
                                                                                              of the agency relating to diversity in management,
                                                                                              employment, and business activities.
                                                                                              (B) Bureau
                                                                                              The Bureau shall establish an Office of Minority and
                                                                                              Women Inclusion not later than 6 months after the
                             Maintain an Office of Minority and Women   12 U.S.C. §           designated transfer date established under section 5582
          Statutory office   Inclusion                                  5452(a)(1)            of this title.
                                                                                              The Director of each Office shall develop and implement
                                                                                              standards and procedures to ensure, to the maximum
                                                                                              extent possible, the fair inclusion and utilization of
                                                                                              minorities, women, and minority-owned and women-
                                                                                              owned businesses in all business and activities
                             Prioritize minority and women-owned        12 U.S.C. §           of the agency at all levels, including in procurement,
          Civil rights       businesses and activities                  5452(c)(1)            insurance, and all types of contracts.




                                                                            27
(Page 287 of Total)                                                                                                                                        JA282
            Case 1:25-cv-00381-ABJ Document 56-1                        Filed 03/04/25 Page 1 of 116
       USCA Case #25-5091    Document #2114200                           Filed: 05/05/2025 Page 288 of 637


  --------------
  From:
  Sent:
                                    Martinez, Adam (CFPB) <
                                    Monday, February 10, 2025 12:00 PM
                                                                                       >

  To:                               Chilbert, Christopher (CFPB); Chang, Jean (CFPB)
  Cc:                               Broeksmit, Samuel (CFPB); Gueye, Jafnar (CFPB)
  Subject:                          RE: Additional Directives on Bureau Activities



  Yes, I think that is a wise thing to do. Please feel free to create the list and provide to our contracting
  team. AO did something similar this weekend.

  Thank you.

  Adam

  Adam Martinez
  Chief Operating Officer

  From: Chilbert, Christopher (CFPB) <                                 >
  Sent: Monday, February 10, 2025 11:58 AM
  To: Martinez, Adam (CFPB) <                             >; Chang, Jean (CFPB) <                       >
  Cc: Broeksmit, Samuel (CFPB) <                               >; Gueye, Jafnar (CFPB) <                          >
  Subject: RE: Additional Directives on Bureau Activities

  Adam,
  I have received a request whether it is an acceptable work task to proactively identify a list of contractors who would be
  necessary to support operational emergencies. I’ve done this before when there have been government shut-downs in
  other agencies. If there are contractual stop work orders, then we would not get their support in case of an emergency,
  and I’d like to get in front of that.


  Chris Chilbert



  From: Martinez, Adam (CFPB)
  Sent: Monday, February 10, 2025 8:54 AM
  To: Chilbert, Christopher (CFPB)                                   ; Chang, Jean (CFPB) <                       >
  Subject: RE: Additional Directives on Bureau Activities

  That is all correct. The USDS Team will let you or me know if any other work is needed. We’ll do the
  same level of support as we have the past couple of days.

  Adam Martinez
  Chief Operating Officer

  From: Chilbert, Christopher (CFPB) <                                 >
  Sent: Monday, February 10, 2025 8:53 AM
  To: Martinez, Adam (CFPB) <                             >; Chang, Jean (CFPB)                         >
  Subject: FW: Additional Directives on Bureau Activities

                                                               1
(Page 288 of Total)                                                                                  CFPB_00001 JA283
               Case 1:25-cv-00381-ABJ Document 56-1                      Filed 03/04/25 Page 2 of 116
          USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025 Page 289 of 637

  Adam/Jean,
  I want to clarify the level of support we should be providing based on this email. I think the minimum is:
      1) Onboarding new political leadership and providing them with necessary service desk support to them
      2) Performing security monitoring tasks for our networks
      3) Supporting US DOGE members with requests
      4) Perform any maintenance tasks needed to ensure that the HMDA application, Consumer Complaint Database
          operate, ServiceNow, and Microsoft365 platform (email/SharePoint) continue to operate.
      5) Support any other requests from the Acting Director or new political leadership.

  I think this is the minimum, but I want to confirm before giving the team direction.


  Chris Chilbert



  From: Vought, Russell <                           >
  Sent: Monday, February 10, 2025 8:30 AM
  To: _DL_CFPB_AllHands <                                  >
  Subject: Additional Directives on Bureau Activities

  Good morning, CFPB staff,

  As you have been informed by the Chief Operating Officer in an email yesterday, the Bureau’s DC headquarters building
  is closed this week. Employees should not come into the office. Please do not perform any work tasks. If there are any
  urgent matters, please alert me through Mark Paoletta, Chief Legal Officer, to get approval in writing before performing
  any work task. His email is                        . Otherwise, employees should stand down from performing any
  work task. Thank you for your attention on this matter.

  Best,

  Russ Vought

  Acting Director

  Bureau of Consumer Financial Protection




                                                               2
(Page 289 of Total)                                                                                 CFPB_00002 JA284
            Case 1:25-cv-00381-ABJ Document 56-1                                      Filed 03/04/25 Page 3 of 116
       USCA Case #25-5091    Document #2114200                                         Filed: 05/05/2025 Page 290 of 637

          From:               Johnson. Christopher (CFPB)
          To:                 Elliott. Shannon (CFPB): Aujla. Lucky (CFPB); Russell. Kesa (CFPB): Galicki. Joshua (CFPB); Gueye. Jafnar
                              (CFPB): Martinez. Adam (CFPB)
          Cc:                 Dorsey. Darian (CFPB): Pfaff. Matthew (CFPB): Kothari. Anand (CFPB): Chilbert. Christopher (CFPB): Rogers.
                              Morgan (CFPB): Bark. David (CFPB); Beres. Tonya (CFPB)
          Subject:            Contracts in support of the Bureau"s complaint handling operations
          Date:               Monday, February 10, 2025 1:55:38 PM



          Hello team,

          I underst and from discussions with the COO, Adam Martinez, t hat t he work stoppage will not apply
          to t he Bureau's Consumer Resource Center aka Contact Center Services Cont ract. Thank you for
          resolving t his matt er.


          Per conversations, t he Deloitte Mosaic O&M contract for operations, maintenance, monitoring of
          the complaint syst em is crit ical t o ensure consumers and companies can submit and respond to
          consumer complaint s, as well as t he contact cent er agents can address caller inquiries, including
          intaking of complaints by phone and sharing st at us of complaints. In addition, we have a f ew
          subscription services t hat support t he complaint management syst em, t hey include Adaptus
          (EZProtect virus scan of consumer attachments, Address Doct or t o support statutorily required
          communications to consumers t hroughout t he complaint process, Provar automated testing tool).
          As these contracts are critical to support t he complaint management syst em, we would like t o
          request approval to continue to move forward wit h these invest ment s a well.


          Thank you, and please let me know if you have any questions. We will await guidance from t he
          Operations Division's Office of Finance and Procurement.



          Christopher Jolmson
          Associate Director I Division of Conswner Response and Education
          Office                  I Mobile:

          Bureau of Consumer Financial Protection
          consumerfinance,gov


          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.




(Page 290 of Total)                                                                                                        CFPB_00003 JA285
            Case 1:25-cv-00381-ABJ Document 56-1                                   Filed 03/04/25 Page 4 of 116
       USCA Case #25-5091    Document #2114200                                      Filed: 05/05/2025 Page 291 of 637

          From:             Brown. Jason (CFPB)
          To:               Paoletta. Mark (CFPB)
          Cc:               Dietrich. Jason (CFPB): Pappalardo. Janis (CFPB): Martinez. Adam (CFPB)
          Subject:          RE: APOR work paused
          Date:             Tuesday, February 11, 2025 12:23:07 PM


          Confirmed.


          From: Paoletta, Mark (CFPB)
          Sent: Tuesday, February 11, 2025 12:02 PM
          To: Brown, Jason (CFPB)
          Cc: Diet rich, Jason (CFPB)                                      ; Pappalardo, Janis (CFPB)
                                            ; Martinez, Adam (CFPB)
          Subject: RE: APOR work paused

          Jason,


          The APOR and all work associated wit h gathering and publishing t his informat ion on a weekly basis
          are exempt indefinitely from t his st op work order. I am specifically direct ing you (and any other
          colleague necessary to publish the APOR) t o cont inue indefinit ely to perform all t asks necessary t o
          publish t he APOR on weekly basis.
          Please confirm receipt and your acknowledgment of my directive.
          Thank you.
          Mark Paoletta
          Chief Legal Officer
          CFPB


          From: Brown, Jason (CFPB)
          Sent: Tuesday, February 11, 2025 9:26 AM
          To: Paoletta, Mark (CFPB)
          Cc: Diet rich, Jason (CFPB)                                      ; Pappalardo, Janis (CFPB)
                                            ; Martinez, Adam (CFPB
          Subject: RE: APOR work paused

          Message received. We will cont inue publication of t he APOR this Thursday. If you have f urther
          guidance on future publicat ions of the APOR, please let us know. Otherw ise, we w ill assume t hat t he
          APOR may be published for this week only and we w ill need to seek permission again next week and
          going forward.


          From: Paoletta, Mark
          Sent: Monday, February 10, 2025 7:15 PM
          To: Brown, Jason (CFPB)
          Cc: Diet rich, Jason (CFPB)                                      ; Pappalardo, Janis (CFPB)
                                              Martinez, Adam (CFPB)
          Subject: RE: APOR work paused



(Page 291 of Total)                                                                                     CFPB_00004 JA286
            Case 1:25-cv-00381-ABJ Document 56-1                         Filed 03/04/25 Page 5 of 116
       USCA Case #25-5091    Document #2114200                            Filed: 05/05/2025 Page 292 of 637


          Good evening, Jason,


          Thanks for email. The task of doing t he work t o publish the Average Prime Offer Rate (APOR) and
          publishing it are exempted from the st op work order. Specifically, you are direct ed to continue the
          work t o t ake in data from ICE Mortgage Technology and t o contin ue t o const ruct t he weekly APOR
          for publication t his Thursday. You are directed to perform any work t hat needs t o be done to
          publish t he APOR by Thursday.
          Please confirm your receipt of this email and t hat you will perform t he necessary work t o publish t he
          APOR by Thu rsday.
          Thank you.


          Ma rk Paoletta
          Chief Legal Officer
          CFPB


          From: Brown, Jason (CFPB)
          Sent: Monday, February 10, 2025 4:43 PM
          To: Paoletta, M
                                                                  ; Pappalardo, Janis (CFPB)


          Subject: APOR work paused

          Hi Mark,


          Just an FYI that, per t he Acting Director's directives t o stop work t asks and issuance of st op work
          orders for cont ractors, t he Office of Research is pausing the int ake of dat a from ICE Mort gage
          Technology and the const ruction of the weekly average prime offer rates (APOR), w hich are used for
          various f edera l mortgage rules. These APO Rs are usually updat ed every Thursday. Please let Jason
          (cc'd here) or me know if t here are any questions.


          Jason Brown
          Assistant Director, Research
          Consumer Financial Protect ion Bureau




(Page 292 of Total)                                                                                    CFPB_00005 JA287
            Case 1:25-cv-00381-ABJ Document 56-1                                 Filed 03/04/25 Page 6 of 116
       USCA Case #25-5091    Document #2114200                                    Filed: 05/05/2025 Page 293 of 637

           From:           Paoletta, Mark (CFPB)
           To:             Gueye, Jafnar (CFPB)
           Cc:             Young, Christopher (CFPB); Martinez, Adam (CFPB); Wick, Jordan (CFPB)
           Subject:        Cancellation of CFPB contracts
           Date:           Tuesday, February 11, 2025 4:32:33 PM


          Good afternoon, Jafnar,

          On behalf of Acting Director Vought, I have reviewed CFPB contracts and authorize and direct the
          cancellation of all contracts in the following divisions: Enforcement (102 contracts), Supervision (16
          contracts), External Affairs (3 contracts), Consumer Response (20 contracts), Office of Director (33
          contracts),and Legal Division (all except 2 contracts – FD Online Licenses and litigation data).
          Further, on behalf of the Acting Director, I direct the cancellation of the contract for concrete
          repairs.

          Mark Paoletta
          Chief Legal Officer
          CFPB




(Page 293 of Total)                                                                                   CFPB_00006 JA288
            Case 1:25-cv-00381-ABJ Document 56-1                                  Filed 03/04/25 Page 7 of 116
       USCA Case #25-5091    Document #2114200                                     Filed: 05/05/2025 Page 294 of 637

           From:           Martinez, Adam (CFPB)
           To:             White, Sonya (CFPB)
           Cc:             Paoletta, Mark (CFPB); Shapiro, Daniel (CFPB)
           Subject:        RE: Legal Assistance with Procurement Template for Contract Termination
           Date:           Friday, February 21, 2025 11:30:00 AM


          Hi Sonya – (+Mark P. and Dan for Situational Awareness)

          Legal Division is authorized to support all operational matters being exercised on
          behalf of our new leadership and our regulatory/statutorily requirements including:

          Procurement/Contract Actions
          Financial Management Actions
          Human Capital Actions
          Labor Relations Actions
          Employee Relations Actions
          Ethics Actions including vetting of new PAS/SCH Cs
          Technology and Infrastructure Support
          Administrative Operations Actions (Security, facilities, maintenance)
          Data Governance/Administration
          EEO Processing Counsel Support
          Reasonable Accommodation Counsel Support

          Mission related support should be coordinated directly through Mark or Dan.

          Adam


          Adam Martinez
          Chief Operating Officer

          From: White, Sonya (CFPB)                         >
          Sent: Friday, February 21, 2025 11:15 AM
          To: Martinez, Adam (CFPB)
          Subject: Legal Assistance with Procurement Template for Contract Termination

          Hi Adam

          Josh reached for a legal review on the contract termination template. Confirming that LD is
          authorized to assist?

          Thanks
          Sonya

          Sonya A. White (she/her/hers)
          Deputy General Counsel
          General Law & Ethics | Legal Division
          Office:                | Mobile:


(Page 294 of Total)                                                                                    CFPB_00007 JA289
            Case 1:25-cv-00381-ABJ Document 56-1                      Filed 03/04/25 Page 8 of 116
       USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025 Page 295 of 637


          Consumer Financial Protection Bureau
          consumerfinance.gov

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the
          mistake and delete the e-mail and any attachments. An inadvertent disclosure is not intended to
          waive any privileges.




(Page 295 of Total)                                                                               CFPB_00008 JA290
            Case 1:25-cv-00381-ABJ Document 56-1                        Filed 03/04/25 Page 9 of 116
       USCA Case #25-5091    Document #2114200                           Filed: 05/05/2025 Page 296 of 637

          From:             Chilbert, Christopher (CFPB)
          To:               Martinez, Adam (CFPB)
          Subject:          RE: FDIC request for HMDA status update
          Date:             Friday, February 21, 2025 3:18:59 PM


          We're going to request that FDIC go through Mark Paoletta if they want an update. We are doing
          our best effort to support the data collection, but it is at risk due to several contracts being
          terminated . We've requested that three of them be turned on, at least temporarily.


          Chris Chil bert



          From: Martinez, Adam (CFPB)
          Sent: Friday, February 21, 2025 2:58 PM
          To: Chilbert, Christopher (CFPB)
          Subject: RE: FDIC request for HMDA status update


          If it's a technical assistance meeting, I would say, yes, he should attend. If it's policy,
          reg, enf, etc. related, then it should go through Mark. We should not commit to
          anything.

          Adam Martinez
          Chief Operating Officer

          From: Chilbert, Christopher (CFPB)
          Sent: Friday, February 21, 2025 2:55 PM
          To: Martinez, Adam (CFPB)
          Subject: FW: FDIC request for HMDA status update


          Adam,
          FDIC reached out to Eric Spry requesting for him to join a meeting regarding the status of HMDA
          collection. Is it ok for him to attend this meeting, or do we need Mark Paoletta's approval?


          Chris Chil bert



          From: Spry, Eric (CFPB)
          Sent: Friday, February 21, 2025 2:48 PM
          To: Chilbert, Christopher (CFPB)
          Cc: Shelton, Monica (CFPB)
          Subject: FDIC request for HMDA status update


          Hi Chris,


          I was contacted via Teams chat by Chris Rangert at FDIC. He requested a meeting with myself,


(Page 296 of Total)                                                                                   CFPB_00009 JA291
           Case 1:25-cv-00381-ABJ Document 56-1                                                   Filed 03/04/25 Page 10 of 116
       USCA Case #25-5091    Document #2114200                                                     Filed: 05/05/2025 Page 297 of 637

          Stuart Hoff (FDIC HMDA Subcommittee member) and Paul Robin (FDIC).

          Chris Rangert said,

          “My supervisor, Paul Robin and Stuart Hoff will reach out to you for a meeting at 3:00 (I
          won't be able to attend). They are trying to figure out the situation with HMDA filings,
          Help response lines and such.”

          I am happy to provide simple status update. Normally the HMDA Subcommittee chair at CFPB,
          Hallie Ryan, would be the primary contact. I’m checking to see if Hallie is available.

          Please let me know if I should join the FDIC meeting today at 3p ET or if I should ask FDIC to
          make a request to the CFPB Acting Director.

          Best,
          -Eric
          --
          Eric W. Spry
          Regulatory Technology Program Manager
          CFPB Technology & Innovation
          Office: Remote / Pacific Time

          Consumer Financial Protection Bureau
          consumerfinance.gov

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the email and any attachments. An
          inadvertent disclosure is not intended to waive any privileges.




(Page 297 of Total)                                                                                                                           CFPB_00010 JA292
           Case 1:25-cv-00381-ABJ Document 56-1                                    Filed 03/04/25 Page 11 of 116
       USCA Case #25-5091    Document #2114200                                      Filed: 05/05/2025 Page 298 of 637

          From:             Chilbert, Christopher (CFPB)
          To:               Fiano, Liane (CFPB): Martinez, Adam (CFPB): Warren, Lashaun (CFPB)
          Cc:               Gilford, Samuel (CFPB): Gueye, Jafnar (CFPB): Michalosky, Martin (CFPB): Shapiro, Daniel (CFPB): Licata,
                            Anthony
          Subject:          RE: Sprinklr - Social Media Records
          Date:             Tuesday, February 25, 2025 4:48:22 PM



          Hi Liane,
          If t he contract with Sprinklr has our standard cybersecurity t erms and conditions, t hey are req uired
          to provide us wit h any CFPB data upon request at the t ermination of the cont ract.
          Thanks,


          Chris Chilbert



          From: Fiano, Liane (CFPB)
          Sent: Tuesday, February 25, 2025 1:43 PM
          To: Martinez, Adam (CFPB)                                             ; Warren, Lashaun (CFPB)


                                                                                  hilbert, Christopher (CFPB)


                                                                      hapiro,
          Licata, Ant hony
          Subject: RE : Sprinklr - Social Media Records

          Social media is not a legally required function. However, maintaining the records is required.


          I don't believe we have any other systems t hat fall into that category. I w ill acknowledge t hat we will
          still have a gap in records prior t o 2017 (when I joined t he CFPB and we began using t he system),
          though I am unclear how far back the records schedule requires we maint ain social media records.


          From: Martinez, Adam (CFPB
          Sent: Tuesday, February 25, 2025 1:38 PM
          To: Fiano, Liane (CFPB)                                      Warren, Lashaun (CFPB)




          Licata, Ant hony
          Subject: RE: Sprinklr - Social Media Records


          Was the account part of a statuto1ily required function and/or legally required?

          What other systems does your office maintain that may store data outside of the CFPB
          servers or cloud?



(Page 298 of Total)                                                                                                       CFPB_00011 JA293
           Case 1:25-cv-00381-ABJ Document 56-1                            Filed 03/04/25 Page 12 of 116
       USCA Case #25-5091    Document #2114200                              Filed: 05/05/2025 Page 299 of 637

          I would advise that you work with J afnar's t eam to find out if the company will
          provide you with a download of your records.

          Adam Martinez
          Chief Operating Officer

          From: Fiano, Liane (CFPB
          Sent: Tuesday, February 25, 2025 1:34 PM
          To: Martinez, Adam (CFPB)                                      ; Warren, Lashaun (CFPB)


                                                                          hilbert, Christopher (CFPB)
                                                                                                         M ichalosky,


          Subject: RE: Sprinklr - Social Media Records

          Sprinklr is a software license that manages our social media accounts, it is not a social media channel
          itself. Our primary records were on t he social media channels themselves. Our backup records were
          in Sprinklr as our software publishing t ool. They could be searched and exported at any point, which
          makes it more effective for records retention. I have had several discussions with the records team
          over t ime, but I don't know w ith what level of specificity t hey may recall those discussions.


          Had we known that t he channels were going to be deleted, we could have taken steps to preserve a
          hard copy on CFPB systems. I was unaware t hat our backup system was also being compromised. I
          am not sure if t he contract was cut, but that would be my guess as to why we are not able to access
          it anymore. If that's not t he case, I may seek authorization wit h t he Legal t eam t o investigate further.


          From: Martinez, Adam (CFPB)
          Sent: Tuesday, February 25, 2025 1:28 PM
          To: Fiano, Liane (CFPB)                            ; Warren, Lashaun (CFPB)


                                                                     • Chilbert, Christopher (CFPB)
                                                                     )                                  ; M ichalosky,


          Subject: RE: Sprinklr - Social Media Records


          Could you provide additional background? Is Sprinklr a subsc1iption? Was the
          Records Team aware that records were being held on this social media site?

          Adam Martinez
          Chief Operating Officer

          From: Fiano, Liane (CFPB)
          Sent: Tuesday, February 25, 2025 1:25 PM
          To: Warren, LaShaun (CFPB)
          Cc: Martinez, Adam (CFPB)                                      ; Gilford, Samuel (CFPB)



(Page 299 of Total)                                                                                         CFPB_00012 JA294
           Case 1:25-cv-00381-ABJ Document 56-1                                       Filed 03/04/25 Page 13 of 116
       USCA Case #25-5091    Document #2114200                                         Filed: 05/05/2025 Page 300 of 637


          Subject: Sprinklr - Social Media Records

          Hi Lashaun -


          I no longer have access to Sprinklr, which is w here are social media backup records are maintained.
          We have hard copy exports for Director Chopra's account, but everything else lived w ithin Sprinklr
          and on our public channel.

          As the public channels were removed unexpectedly, we may not be in compliance w ith our records
          retention requirements.




          Liane Fiano
          St aff Director, Digit al Communications I Office of Communications
          Office:                       I Mobile:

          Consumer Financial Protect ion Bureau
          consumerfinance.gov


          Confidentiality Notice : If you received this email by mistake, you shou ld notify the sender of the m istake and delete the e-mail
          and any attachments. An inadvertent disclosure is not intended to waive any privileges.




(Page 300 of Total)                                                                                                         CFPB_00013 JA295
           Case 1:25-cv-00381-ABJ Document 56-1                                  Filed 03/04/25 Page 14 of 116
       USCA Case #25-5091    Document #2114200                                    Filed: 05/05/2025 Page 301 of 637

           From:           Martinez, Adam (CFPB)
           To:             Dasgupta, Richa (CFPB); Gueye, Jafnar (CFPB); Chilbert, Christopher (CFPB)
           Cc:             Petersen, Cara (CFPB); Gelfond, Rebecca (CFPB); Licata, Anthony; Shapiro, Daniel (CFPB)
           Subject:        RE: Consumer Sentinel Account Deactivation Warning...
           Date:           Tuesday, February 25, 2025 5:05:00 PM


          Richa –

          Please work through Rebecca and Cara to coordinate with Jafnar’s Team. If there are
          concerns regarding data preservation issues and/or application to statute or legal
          requirements I’d recommend that Enforcement also work with Mark P. to advise him
          on what is needed.

          Adam

          Adam Martinez
          Chief Operating Officer

          From: Dasgupta, Richa (CFPB)
          Sent: Tuesday, February 25, 2025 9:55 AM
          To: Martinez, Adam (CFPB)
          Cc: Petersen, Cara (CFPB)                           ; Gelfond, Rebecca (CFPB)
                                      >; Dasgupta, Richa (CFPB)
          Subject: FW: Consumer Sentinel Account Deactivation Warning...

          Adam -

          Are you able to advise about this?

          Thanks,
          Richa


          From: Smullin, Rebecca (CFPB)
          Sent: Tuesday, February 25, 2025 8:53 AM
          To: Dasgupta, Richa (CFPB)
          Subject: FW: Consumer Sentinel Account Deactivation Warning...

          Richa:

          I am forwarding you an email that explains that, with some time sensitivity, I need to log into my
          Consumer Sentinel account to preserve my access.

          I am flagging this time-sensitive account issue because my Sentinel account is connected to several
          holds that I placed on searches of Sentinel data related to Bureau matter(s) for which Bureau
          litigation holds in place.

          For further reference:

(Page 301 of Total)                                                                                                  CFPB_00014 JA296
           Case 1:25-cv-00381-ABJ Document 56-1                               Filed 03/04/25 Page 15 of 116
       USCA Case #25-5091    Document #2114200                                 Filed: 05/05/2025 Page 302 of 637

              1. Sentinel has a function to allow users to put holds on data that Sentinel would otherwise
                 purge. I do not know what would happen to these holds if my account expired, since the holds
                 are ones attached to my account.
              2. To prevent my account from expiring, all I need to do is log in (which could also require
                 resetting my password); I would not need to undertake any substantive use of data.
              3. The email I received on Sat Feb 22 says I have two weeks to address this. To err on the safe
                 side (and in case I need to call anyone for help resetting a password), I would recommend
                 addressing this during business hours, prior to March 7.

          Do you have authority to provide me permission to login to the system to preserve my account? If
          not, could I ask someone else?

          Thank you.

          Best,

          Rebecca Smullin
          Senior Litigation Counsel | Office of Enforcement
          Office:                 Mobile:

          Consumer Financial Protection Bureau
          consumerfinance.gov

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.


          From: no-reply@consumersentinel.gov <no-reply@consumersentinel.gov>
          Sent: Saturday, February 22, 2025 2:16 AM
          To: Smullin, Rebecca (CFPB)
          Subject: Consumer Sentinel Account Deactivation Warning...

          Your Consumer Sentinel Network account will expire in two weeks due to inactivity. Please login to
          https://www.consumersentinel.gov to retain your access.

          Please do not reply to the email, as its inbox is not being monitored.

          The Consumer Sentinel Network Team.




(Page 302 of Total)                                                                                            CFPB_00015 JA297
           Case 1:25-cv-00381-ABJ Document 56-1                                    Filed 03/04/25 Page 16 of 116
       USCA Case #25-5091    Document #2114200                                      Filed: 05/05/2025 Page 303 of 637

          From:             Johnson. Christopher (CFPB)
          To:               Paoletta. Mark (CFPB)
          Cc:               Martinez. Adam (CFPB): Dorsey. Oarian (CFPB): Chilbert. Christopher (CFPB): Barrett. Katy (CFPB): Shapiro.
                            Daniel (CFPB)
          Subject:          RE: 20250213 CFPB Information Memo_CRE
          Date:             Thursday, February 27, 2025 8 :06:01 AM


          Thank you for your confirmation, sir. Darian and I w ill begin to mobilize appropriate team mem bers
          against each requests this AM . Take care.


          From: Paoletta, Mark (CFPB)
          Sent: Thursday, February 27, 2025 6:03 AM
          To: Johnson, Christopher (CFPB)
          Cc: Martinez, Adam (CFPB)                               ; Dorsey, Daria n (CFPB)
                                     ; Chilbert, Christopher (CFPB)
                                                      Shapiro, Daniel (CFPB)
          Subject: RE: 20250213 CFPB Information Memo_CRE


          Good morning, Christopher,


          Than ks for email. Your requests (1,2,3 b elow ) are approved.


          Mark


          From: Johnson, Christopher (CFPB)
          Sent: Wednesday, February 26, 2025 11:01 AM
          To: Paoletta, Mark (CFPB)
          Cc: Martinez, Adam (CFPB)                              ; Dorsey, Darian (CFPB)
                                    ; Chilbert, Christopher (CFPB)                                                            ; Barrett,


          Subject: FW: 20250213 CFPB Information Memo_CRE

          Hello Chief Legal Officer Paoletta,


          I hope all is well. First, I want ed to take moment to int roduce myself. My name is Chris Johnson and
          I current ly serve as t he Associate Director wit hin t he Division of Consumer Response of Educat ion.
          For background, t he division brings together two of the Bu reau's six primary f unctions and at it s
          most consumer facing capabilit ies - assisting consumers w ith complaints and providing consumers
          w it h unbiased financial education content, tools, and resources. Per t he email chain below, I was
          invited to part icipat e in a brief meeting wit h Jordan and Jeremy to share an overview of t he CFPB's
          statutory obligat ions as it relat es to the division's work in support of defining competit ive areas,
          those that could aid in accurately defining critical areas for purposes of a RIF process. The attached
          memorandum was requested t he same day and produced by my team.


          I'm reaching out today, as we (Darian and I) received a question from our complaint handling
          counterparts at t he FDIC seeking to underst and w hether and to what extend we're still processing


(Page 303 of Total)                                                                                                       CFPB_00016 JA298
           Case 1:25-cv-00381-ABJ Document 56-1                      Filed 03/04/25 Page 17 of 116
       USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 304 of 637

          complaints and referrals. As referenced in the memorandum, and thanks to approvals from the
          Acting Director and his leadership team, the Consumer Resource Center (aka call center services
          contract) and online complaint form are operational. However, a subset of Consumer Response
          federal staff historically performs many other complaint tasks. I shared with Jordan and Jeremy
          during our discussion while several aspects of the complaint handling operation have been built to
          scale through years of work focused on automation and efficiency, there remain critical areas that
          require human intervention by our federal employees and a subset of contractors.

          The Ask:

             1. Per our Office of Procurement this AM (see attached), there is a request to activate the
                Contracting Officer Representative and two Program Managers that provide oversight of the
                call center contractor to address billing, technical, and governance requests. In addition, the
                technical issues that have arisen are typically addressed through a contract with Deloitte,
                “CUSTOMER RELATIONSHIP MANAGEMENT (CRM) OPERATIONS, MAINTENANCE AND
                DEVELOPMENT SUPPORT”. The technical issues involve the manual process performed by
                contractors to remove or redact PII from complaints. Please let me know if you are amenable
                to reactivating up to three federal employees supporting this contact center program as well
                as the vendor/contractor that provides technical operations and maintenance support for the
                Complaint Management System. I have also copied my colleagues, Chris Chilbert, CIO, and
                Katy Barrett, EPT Lead, for awareness.


             2. To assess complaint handling with a focus on identifying any processing backlogs or system
                issues, I’m seeking approval to activate a team of no more than 10 staff for up to 24 hours
                each (I can provide a list of employees if helpful). Some examples of the work this team
                would perform includes:

                  •   Assessing the volume and nature of backlogs across various work in progress queues
                      (e.g., congressional and regulator referrals, portal support tickets)
                  •   Assessing our complaint related systems (Mosaic, Complaint Analytics, and the
                      Consumer Complaint Database) to ensure important application programming interfaces
                      (APIs) are operational to ensure sharing of data with the prudential regulators and the
                      FTC, data pipelines in support of complaint sharing tools that are utilized by more than
                      125 state and federal agencies are operational, and monitoring licensing and other user
                      limits related to the Salesforce Mosaic complaint management system in partnership
                      with our colleagues in the Technology and Innovation Office.

              The above would require what I’m referring to as Phase 1 – Assessment. This work would
              commence later today or tomorrow with your approval and likely conclude by end of business
              Monday or Tuesday of next week. Divisional leadership would then summarize the current
              state. Phase 2 – within 24 to 48 hours of the conclusion of Phase 1, would include divisional
              leadership preparing a recommendation and sharing at your request, if desired. The
              recommendation may include a subset of Consumer Response federal staff, and potential
              contractors to activate to address any backlogs aligned narrowly to statutorily related complaint


(Page 304 of Total)                                                                               CFPB_00017 JA299
           Case 1:25-cv-00381-ABJ Document 56-1                           Filed 03/04/25 Page 18 of 116
       USCA Case #25-5091    Document #2114200                             Filed: 05/05/2025 Page 305 of 637

              tasks. This would include a description of the work to be performed, estimated hours per week,
              and staff.

             3. Finally, the Office of Consumer Response, per section 1013(b)(3)(C) is required to produce a
                report to Congress each year. The good news is our team completed a good portion of the
                work in January. However, to ensure the Bureau meets is statutory deadline of March 31,
                2025, I would like to request to activate up to approximately (8) Consumer Response staff
                throughout the month of March for up to (16) hours per week to finalize the report. We also
                want to ensure we provide sufficient lead time for the Acting Director and his leadership to
                review and provide feedback, prior to the Bureau submitting the report to the required
                committees in Congress. Please let me know if you are supportive of this request as well.


           1013(b)    (C) REPORTS TO THE CONGRESS.—The              Consumer Response cited to this authority
           (3)(C)     Director shall present an annual report to    in Federal Register notice 2012-15161.
                      Congress not later than March 31 of each      Consumer Response publishes an annual
                      year on the complaints received by the        report, in accordance with this mandate.
                      Bureau in the prior year regarding            Additionally, the Bureau’s semi-annual
                      consumer financial products and               reports to Congress have a section devoted
                      services. Such report shall include           to discussion of Consumer Response.
                      information and analysis about complaint
                      numbers, complaint types, and, where
                      applicable, information about resolution
                      of complaints.


          Below are a few prior year reports for reference, if helpful.

          https://www.consumerfinance.gov/data-research/research-reports/consumer-response-annual-
          report-2023/

          https://www.consumerfinance.gov/data-research/research-reports/2022-consumer-response-
          annual-report/

          https://www.consumerfinance.gov/data-research/research-reports/2021-consumer-response-
          annual-report/

          https://www.consumerfinance.gov/data-research/research-reports/2020-consumer-response-
          annual-report/


          Upon your approval/guidance, we will quickly mobilize team members to initiate work on the three
          items described above. If you have any questions, our team is happy to discuss further at your
          convenience, sir.


          Christopher Johnson

(Page 305 of Total)                                                                               CFPB_00018 JA300
           Case 1:25-cv-00381-ABJ Document 56-1                               Filed 03/04/25 Page 19 of 116
       USCA Case #25-5091    Document #2114200                                 Filed: 05/05/2025 Page 306 of 637

          Associate Director I Division of Consumer Response and Education
          Office:                 I Mobile:




          Bureau of Consumer Financial Protection
          consumerfinance.gov


          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadve1t ent disclosure is not intended to waive any plivileges.




          From: Johnson, Christopher (CFPB)
          Sent: Th ursday, February 13, 2025 4:42 PM
          To: Wick, Jordan (CFPB)                                                                                   >
          Cc: Martinez, Adam (CFPB)
          Subject: 20250213 CFPB Information Memo_CRE


          Hello Jeremy and Jordon,


          As requested, I have identified those teams/f unct ions across the CRE division t hat are aligned to the
          division's statutory mandat es. I have omitted t hose team/functions that do not to make the is easier
          to digest. The division has approximat ely 150 t o 155 full-time employees. The current staffing for
          the statut ory functions t ota ls approximately 80 to 85. We could t hen apply t he RIF framework to
          each of t hese areas and further adjust staffing as needed. Feel free to give me a call to assist w ith
          any fu rt her adjustments or refinement s as needed. I will remain on standby throughout t he night for
          quest ions or direction.



          Ch1istopher J olmson
          Associat e Director I Division of Consumer Response and Education
          Office:                  I Mobile:




          Bureau of Consumer Financial Protection
          consumerfinance.gov



          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadve1tent disclosure is not intended to waive any plivileges.




(Page 306 of Total)                                                                                            CFPB_00019 JA301
           Case 1:25-cv-00381-ABJ Document 56-1                     Filed 03/04/25 Page 20 of 116
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 307 of 637


         Febmaiy 13, 2025
         Info1mation Memo for the Acting Director

                                     Christopher Johnson, Associate Director, Consumer Response &
          FROM
                                     Education
          SUBJECT                    Divisional Staffing



          Select           D Situational     D Request for     ~ Reply to       □ Draft
          Applicable       Awareness         Directional       lnquny from      Document
          Info1mation                        Feedback          Director/PO      Feedback
          Type(s)                                                               Request


         Issue
         This purpose of this memorandum is to provide infonnation about how the staff of the Consumer
         Response and Education Division align to the Consumer Financial Protection Bureau's (CFPB 's)
         statut01y obligations.

         Divisional Background
         The Consumer Response and Education Division (CRE) is responsible for executing the CFPB 's
         first two statuto1y functions: (1) conducting financial education programs, and (2) collecting,
         investigating, and responding to consumer complaints. See 12 USC 55 11(c)(l )-(2). CRE is the
         public face of the CFPB to individuals and then· families, delivering scalable se1v ices and tools
         designed to empower consumers to share then· experiences in the mai·ketplace, respond to
         challenges, and make better info1med financial decisions.

         There ai·e two offices within CRE: the Office of Financial Education and the Office of Consumer
         Response. Financial Education is responsible for managing a suite of more than 50 educational
         tools and resources, distributing those tools to users, and reseai·ching the effectiveness of financial
         education programs. Financial Education is also responsible for suppo1i ing the Director 's
         membership in the Financial Literacy and Education Commission. Financial Education 's content
         is some of the most frequently visited content on the CFPB 's website.

         Consumer Response is responsible for answering questions, handling complaints, and shai·ing data
         and insights. Consumer Response manages the CFPB 's toll-free number and complaint program
         from end-to-end. Consumer Response is also responsible for assisting complaint process
         stakeholders (e.g., responding to congressional members with their constituents' complaints,
         assisting Company Polial users as they respond to then· customer's concerns) and sharing
         complaint information with Federal and State agencies.

         ifhe current headcount for CRE is approximately 150-155 full-time employees. The
         ifunctional areas listed below aligned to statutory responsibilities total approximately 80 to
         85.




(Page 307 of Total)                                                                              CFPB_00020 JA302
           Case 1:25-cv-00381-ABJ Document 56-1                 Filed 03/04/25 Page 21 of 116
       USCA Case #25-5091    Document #2114200                   Filed: 05/05/2025 Page 308 of 637



         Office of Financial Education
         12 USC 5493(d) requires the Director to “establish an Office of Financial Education, which shall
         be responsible for developing and implementing initiates intended to educate and empower
         consumers to make better informed financial decisions.” There is one competitive area within the
         Financial Education, responsible for delivering several statutory obligations:

            x   Developing and implementing initiatives intended to educate and empower consumers to
                make better informed financial decisions. See 12 USC 5493(d)(1).
            x   Developing and implementing a strategy to improve the financial literacy of consumers
                that includes measurable goals and objectives, in consultation with the Financial Literacy
                and Education Commission. See 12 USC 5493(d)(2).
            x   Coordinating with other units within the Bureau in carrying out its functions, including
                working with the Community Affairs Office to implement the strategy to improve financial
                literacy of consumers; and working with the research unit established by the Director to
                conduct research related to consumer financial education and counseling. See 12 USC
                5493(d)(3).
            x   Submitting a report on its financial literacy activities and strategy to improve financial
                literacy of consumers See 12 USC 5493(d)(4).

         The current headcount for this area is 12.

         Office of Consumer Response
         12 USC 5493(b)(3)(A) requires the Director to “establish a unit whose functions shall include
         establishing a single, toll-free telephone number, a website, and a database … to facilitate the
         centralized collection of, monitoring of, and response to consumer complaints regarding consumer
         financial products and or services.” 12 USC 5534(a) requires the CFPB “to provide a timely
         response to consumers, in writing where appropriate, to complaints against, or inquiries
         concerning, a covered person.” 15 USC 1681i(e) establishes a process by which the CFPB must
         act and report out on certain credit and consumer reporting complaints. Consumer Response must
         coordinate with certain CFPB offices and personnel, including the Private Student Loan
         Ombudsman and Office of Servicemember Affairs. See 12 USC 5493(e), 12 USC 5535.

         Consumer Response has several competitive areas:

         Consumer Resource Center
         12 USC 5493(b)(3)(A) directs the CFPB to create establish a single, toll-free number. This team
         manages a Consumer Resource Center (CRC), which receives more than 40,000 calls per month.
         The CRC answers consumers’ inquiries, accepts and provides status updates on complaints, and
         directs consumers resources such as state and local services.

         The current headcount for this area is 3.

         Complaint Handling
         12 USC 5534(a) requires the CFPB to timely respond to consumers, including any responses
         received by the regulator from the covered person. This team directs the complaints to companies
         for a response.



(Page 308 of Total)                                                                        CFPB_00021 JA303
           Case 1:25-cv-00381-ABJ Document 56-1                   Filed 03/04/25 Page 22 of 116
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 309 of 637




         The current headcount for this area is 7.

         Portal Operations
         12 USC 5534(b) requires certain covered persons to provide a timely response to the regulator.
         This team is responsible for responding to stakeholder support tickets, including tickets submitted
         by company, congressional, and government portal users.

         The current headcount for this area is 7.

         Mosaic Program
         12 USC 5493(b)(3)(A) directs the CFPB to create establish a database to facilitate the centralized
         collection of complaints. 12 USC 5493(b)(3)(D) requires the CFPB to share consumer complaint
         information with prudential regulators, the Federal Trade Commission, other Federal agencies, and
         State agencies. This team manages the technology that facilitates the handling of more than
         350,000 complaints per month

         The current headcount for this area is 5.

         Investigations (Regulatory Compliance, Complaint Monitoring, Research and Analysis,
         Escalation Case Management)
         12 USC 5511(c)(2) requires the CFPB to “investigate” complaints. Additionally, 12 USC
         5493(b)(3)(A) requires the CFPB to “monitor” complaints. This team is responsible for
         monitoring and investigating the more than three million complaints the CFPB receives annually.
         This team conducts investigative inquiries received by the Director’s Office. This team also
         conducts analyses that support the Chief of Staff’s team efforts to meet the publication of statutory
         reports and supports rule lookback assessments as required by 12 USC 5512.

         The current headcount for this area is 30.

         Data Reporting
         12 USC 5493(e) and 12 USC 5535 requires Consumer Response to coordinate with the Office of
         Servicemember Affairs and the Private Student Loan Ombudsman, respectively. This team is
         responsible for working with these offices for their complaint monitoring work.

         The current headcount for this area is 4.

         Stakeholder Engagement
         12 USC 5493(b)(3)(A) directs the CFPB to “coordinate with the Federal Trade Commission or
         other Federal agencies to route complaints to such agencies, where appropriate.” Additionally, 12
         USC 5493(b)(3)(D) requires the CFPB to “share consumer complaint information with prudential
         regulators, the Federal Trade Commission, other Federal agencies, and State agencies …”. This
         team is responsible for working with federal and state agencies, including state Attorneys General.

         The current headcount for this area is 5.




(Page 309 of Total)                                                                           CFPB_00022 JA304
           Case 1:25-cv-00381-ABJ Document 56-1                   Filed 03/04/25 Page 23 of 116
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 310 of 637



         Chief of Staff Team
         Consumer Response is responsible for publishing or contributing to the publication of several
         reports. Those reports include:

            x   Consumer Response Annual Report (as required by 12 USC 5493(b)(3)(D))
            x   Fair Credit Reporting Act 611(e) Report (as required by 15 USC 1681i(e)(5))
            x   Fair Debt Collection Practices Act Report (as required by 15 USC 1692m)
            x   CFPB Semi-Annual Reports (required by 12 USC 5496)

         This team is responsible for the production and publication of these reports, including any follow-
         up questions from oversight bodies.

         The current headcount for this area is 5.

         Management and Operations
         This team provided the executive direction for both offices within the division. The current
         divisional executives each have a dual role both division and office level executives. The office
         level executive positions remain vacant. The team also provides centralized support to each office
         regarding resource management functions including budget, acquisition management, training,
         management reporting, and coordination with internal and external stakeholders, and oversight
         bodies such as GAO and OIG.

         The current headcount for this area is 5.




(Page 310 of Total)                                                                          CFPB_00023 JA305
             Case 1:25-cv-00381-ABJ Document 56-1                     Filed 03/04/25 Page 24 of 116
         USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 311 of 637


  --------------
  From:                            Paoletta, Mark (CFPB)                            >
  Sent:                            Thursday, February 27, 2025 12:07 PM
  To:                              Vespa-Papaleo, Frank (CFPB)
  Cc:                              Sutton, Jocelyn (CFPB); Miller, Samuel (CFPB); Martinez, Adam (CFPB); Shapiro, Daniel
                                   (CFPB)
  Subject:                         RE: Request to Commence Fair Lending Activity


  Good afternoon, Frank,

  Thanks for email. You are authorized to perform the statutory functions set forth in 12 U.S.C. 5493(c)(2), including
  the four examples you identified below. Any action or communication to an outside party should be send to me
  and Daniel Shapiro for review and approval before being transmitted.

  Thanks.

  Mark

  From: Vespa-Papaleo, Frank (CFPB)
  Sent: Thursday, February 27, 2025 11:51 AM
  To: Paoletta, Mark (CFPB)                          >
  Cc: Sutton, Jocelyn (CFPB)                           ; Miller, Samuel (CFPB)                            ; Martinez,
  Adam (CFPB)
  Subject: Request to Commence Fair Lending Activity

  Hi Mark,

  Acting Director Vought instructed CFPB staff to not perform any work tasks. The email also specified that if
  there were any urgent matters, staff must alert Acting Director Vought through you and obtain written approval
  before working on them. The Office of Fair Lending requests approval to perform the statutory functions
  expressly identified in 12 U.S. Code § 5493(c)(2).

  These functions include: (A): providing oversight and enforcement of federal laws that ensure the fair,
  equitable, and nondiscriminatory access to credit for both individuals and communities, including the Equal
  Credit Opportunity Act and the Home Mortgage Disclosure Act; (B) coordinating the fair lending efforts of the
  Bureau with other federal agencies and state regulators; (C) working with private industry, fair lending, civil
  rights, consumer and community advocates on the promotion of fair lending compliance and education; and (D)
  providing annual reports to Congress on the efforts of the Bureau to fulfill its fair lending mandate.

  As a result, I hereby request authorization to re-commence work consistent with these statutory provisions.
  Some examples of pending work include: (1) supporting fair lending examinations and enforcement activity and
  research related to access to credit; (2) coordinating HMDA compliance efforts with the FFIEC’s HMDA
  Subcommittee; (3) responding to previously-received requests to participate in educational programming with
  private industry and other advocates; and (4) completing the drafting of the 2024 Annual Report to Congress.

  Thank you for your consideration; please advise if you need anything else from me regarding this request.

  J. FRANK VESPA-PAPALEO
  Assistant Director, Office of Fair Lending
                                                             1
(Page 311 of Total)                                                                                 CFPB_00024 JA306
            Case 1:25-cv-00381-ABJ Document 56-1                                Filed 03/04/25 Page 25 of 116
        USCA Case #25-5091    Document #2114200                                  Filed: 05/05/2025 Page 312 of 637
  1700 G Street, NW
  Washington, DC 20552
  Mobile:

  Consumer Financial Protection Bureau
  consumerfinance.gov

  Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the e-mail and any
  attachments. An inadvertent disclosure is not intended to waive any privileges.




                                                                      2
(Page 312 of Total)                                                                                               CFPB_00025 JA307
           Case 1:25-cv-00381-ABJ Document 56-1                                  Filed 03/04/25 Page 26 of 116
       USCA Case #25-5091    Document #2114200                                    Filed: 05/05/2025 Page 313 of 637

           From:           Paoletta, Mark (CFPB)
           To:             Martin, Angela (CFPB)
           Cc:             Martinez, Adam (CFPB); Petersen, Cara (CFPB); Rice, Jim (CFPB); Liu, Wen (CFPB); Shapiro, Daniel (CFPB)
           Subject:        RE: (Responding to military requests) FW: Additional Directives on Bureau Activities
           Date:           Thursday, February 27, 2025 12:14:49 PM



          Hello, Angela,

          Thanks for email. You are authorized and directed: to attend the March 6th meeting; to attend the
          March 15 meeting in Houston; to provide virtual training on the MLA on March 27; to accept other
          requests for virtual training from Army JAG School, Naval Justice School, and USAF Legal Assistance
          Division; and to reply to any email query from the JAG field.

          Thanks.

          Mark

          From: Martin, Angela (CFPB)
          Sent: Thursday, February 27, 2025 11:38 AM
          To: Paoletta, Mark (CFPB)
          Cc: Martinez, Adam (CFPB)                                          ; Petersen, Cara (CFPB)
                                     Rice, Jim (CFPB)                                     ; Liu, Wen (CFPB)

          Subject: (Responding to military requests) FW: Additional Directives on Bureau Activities

          Dear Mr. Paoletta (cc Mr. Martinez/Ms. Peterson for situational awareness and Mr. Jim Rice and Mr.
          Wen Liu in OSA),

          I’ve written previously on other issues, please do not take this email as insubordination.

          I request permission to perform the following urgent work tasks. I don’t want to leave others,
          particularly military attorneys, in abeyance while awaiting a response from me. I also make this
          request so external stakeholders will know to clear their calendars or find a substitution.

              1. Send immediate notice of cancellation of next Thursday’s (March 6) CFPB Military Legal
                 Assistance Working Group Meeting. External members include DOD/DHS Military Legal
                 Assistance Service Chiefs, DOJ Civil Division SCRA team, DOJ Consumer Protection Branch, JAG
                 school professors, Service field representatives, and military legal assistance field offices.
              2. Send immediate notice to the National Guard Bureau that I will not be presenting at the 2025
                 National Guard All States Legal Update in Houston (March 15). They have sent repeated
                 requests for materials. They should also be informed to remove the Bureau block of
                 instruction from their schedule.
              3. Send immediate notice that I will not provide virtual training on the MLA in support of the
                 Navy’s Personal Financial Manager Townhall (March 27).
              4. Reply to any other requests for virtual training with a decline of the same (currently pending:


(Page 313 of Total)                                                                                                    CFPB_00026 JA308
           Case 1:25-cv-00381-ABJ Document 56-1                                     Filed 03/04/25 Page 27 of 116
       USCA Case #25-5091    Document #2114200                                       Filed: 05/05/2025 Page 314 of 637

                 Army JAG School, Naval Justice School, and USAF Legal Assistance Division).
              5. Reply to any email queries from the JAG field. Note: I request permission to respond
                 substantively but if you decline to grant that request, then at least respond that I won’t be
                 responding and suggest the military attorneys file a consumer complaint. I have pending
                 queries from multiple locations.

          For your reference, I’ve attached a copy of the Joint Statement of Principles (JSOP) which overlaps to
          some extent with OSA’s statutory mission. I serve as Enforcement’s single point of contact in
          providing technical guidance on military consumer law and Bureau resources to military legal staff
          worldwide. The request for guidance generally comes via email from the JAG field. The JSOP also
          established a Military Legal Assistance Working Group “with the goal of achieving a coordinated
          response to unlawful conduct targeted at servicemembers and their families” which meets
          quarterly. Lastly, the JSOP set up an avenue for the Bureau (OSA and ENF) to have training and
          outreach opportunities with the JAG community, especially the JAG schools. Mr. Liu and I train
          military lawyers and legal staff on Bureau resources, including OSA, the mechanics of submitting
          consumer complaints, and military consumer law basics, with an emphasis on the MLA. We have
          recurring engagements.

          I thank you in advance for considering this request to continue to serve those who serve our
          country.
          Respectfully,
          Angela

          Angela Martin
          Senior Enforcement Attorney/Military Affairs Liaison | Enforcement Division
          Typical availability: 0600-0730; 1000-1430; 1600-1900 (Eastern time zone) with accommodation
          possible for all time zones
          Consumer Financial Protection Bureau
          Mobile:
          consumerfinance.gov
          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the e-mail
          and any attachments. An inadvertent disclosure is not intended to waive any privileges.




          From: Vought, Russell <
          Sent: Monday, February 10, 2025 8:30 AM
          To: _DL_CFPB_AllHands
          Subject: Additional Directives on Bureau Activities

          Good morning, CFPB staff,


(Page 314 of Total)                                                                                                      CFPB_00027 JA309
           Case 1:25-cv-00381-ABJ Document 56-1                     Filed 03/04/25 Page 28 of 116
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 315 of 637

          As you have been informed by the Chief Operating Officer in an email yesterday, the Bureau’s DC
          headquarters building is closed this week. Employees should not come into the office. Please do not
          perform any work tasks. If there are any urgent matters, please alert me through Mark Paoletta,
          Chief Legal Officer, to get approval in writing before performing any work task. His email is
                                      Otherwise, employees should stand down from performing any work task.
          Thank you for your attention on this matter.
          Best,
          Russ Vought
          Acting Director
          Bureau of Consumer Financial Protection




(Page 315 of Total)                                                                             CFPB_00028 JA310
           Case 1:25-cv-00381-ABJ Document 56-1                                  Filed 03/04/25 Page 29 of 116
       USCA Case #25-5091    Document #2114200                                    Filed: 05/05/2025 Page 316 of 637

           From:           Vespa-Papaleo, Frank (CFPB)
           To:             Paoletta, Mark (CFPB)
           Cc:             Sutton, Jocelyn (CFPB); Miller, Samuel (CFPB); Martinez, Adam (CFPB); Shapiro, Daniel (CFPB)
           Subject:        Re: Request to Commence Fair Lending Activity
           Date:           Thursday, February 27, 2025 12:21:28 PM


          Understood. Thanks for your prompt response.

          From: Paoletta, Mark (CFPB)
          Sent: Thursday, February 27, 2025 12:07:12 PM
          To: Vespa-Papaleo, Frank (CFPB)
          Cc: Sutton, Jocelyn (CFPB)                         >; Miller, Samuel (CFPB)
                                     ; Martinez, Adam (CFPB)                                                 >; Shapiro, Daniel
          (CFPB)
          Subject: RE: Request to Commence Fair Lending Activity

          Good afternoon, Frank,

          Thanks for email. You are authorized to perform the statutory functions set forth in 12 U.S.C. 5493(c)
          (2), including the four examples you identified below. Any action or communication to an outside
          party should be send to me and Daniel Shapiro for review and approval before being transmitted.

          Thanks.

          Mark

          From: Vespa-Papaleo, Frank (CFPB)
          Sent: Thursday, February 27, 2025 11:51 AM
          To: Paoletta, Mark (CFPB)
          Cc: Sutton, Jocelyn (CFPB)                                         Miller, Samuel (CFPB)
                                     ; Martinez, Adam (CFPB)
          Subject: Request to Commence Fair Lending Activity

          Hi Mark,

          Acting Director Vought instructed CFPB staff to not perform any work tasks. The email also
          specified that if there were any urgent matters, staff must alert Acting Director Vought
          through you and obtain written approval before working on them. The Office of Fair
          Lending requests approval to perform the statutory functions expressly identified in 12
          U.S. Code § 5493(c)(2).

          These functions include: (A): providing oversight and enforcement of federal laws that ensure
          the fair, equitable, and nondiscriminatory access to credit for both individuals and
          communities, including the Equal Credit Opportunity Act and the Home Mortgage Disclosure
          Act; (B) coordinating the fair lending efforts of the Bureau with other federal agencies and
          state regulators; (C) working with private industry, fair lending, civil rights, consumer and
          community advocates on the promotion of fair lending compliance and education; and (D)
          providing annual reports to Congress on the efforts of the Bureau to fulfill its fair lending

(Page 316 of Total)                                                                                                       CFPB_00029 JA311
           Case 1:25-cv-00381-ABJ Document 56-1                               Filed 03/04/25 Page 30 of 116
       USCA Case #25-5091    Document #2114200                                 Filed: 05/05/2025 Page 317 of 637

          mandate.

          As a result, I hereby request authorization to re-commence work consistent with these
          statutory provisions. Some examples of pending work include: (1) supporting fair lending
          examinations and enforcement activity and research related to access to credit; (2)
          coordinating HMDA compliance efforts with the FFIEC’s HMDA Subcommittee; (3)
          responding to previously-received requests to participate in educational programming with
          private industry and other advocates; and (4) completing the drafting of the 2024 Annual
          Report to Congress.

          Thank you for your consideration; please advise if you need anything else from me regarding
          this request.

          J. FRANK VESPA-PAPALEO
          Assistant Director, Office of Fair Lending
          1700 G Street, NW
          Washington, DC 20552
          Mobile:

          Consumer Financial Protection Bureau
          consumerfinance.gov

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.




(Page 317 of Total)                                                                                            CFPB_00030 JA312
           Case 1:25-cv-00381-ABJ Document 56-1                              Filed 03/04/25 Page 31 of 116
       USCA Case #25-5091    Document #2114200                                Filed: 05/05/2025 Page 318 of 637

           From:           Martinez, Adam (CFPB)
           To:             Michalosky, Martin (CFPB)
           Cc:             Adams, Danielle (CFPB); Nguyen, Hoan (CFPB)
           Subject:        RE: Processing FOIA and Privacy Act Requests
           Date:           Thursday, February 27, 2025 1:29:00 PM


          Hi Marty. Approved to move forward. Thank you!

          Adam

          Adam Martinez
          Chief Operating Officer

          From: Michalosky, Martin (CFPB)
          Sent: Thursday, February 27, 2025 1:29 PM
          To: Martinez, Adam (CFPB)                                       >
          Cc: Adams, Danielle (CFPB)                                       ; Nguyen, Hoan (CFPB)
                                  v>
          Subject: Processing FOIA and Privacy Act Requests
          Importance: High

          Hi Adam,
          The FOIA statute (5 U.S.C. § 552) requires agencies to process requests for records from the public.
          FOIA has a specific timeframe (20 working days) for federal agencies, including the CFPB, to respond
          to requests. There is a risk of litigation for agencies that are not able to respond in this timeframe,
          which excludes federal holidays. Additionally, the Privacy Act provides the public to request records
          about them. The FOIA team processes both FOIA and Privacy Act requests, and responds to inquires
          related to those requests.

          I recommend that the FOIA team be able to continue their work processing FOIA and Privacy Act
          requests.

          Thanks,
          Marty




(Page 318 of Total)                                                                                CFPB_00031 JA313
           Case 1:25-cv-00381-ABJ Document 56-1                                   Filed 03/04/25 Page 32 of 116
       USCA Case #25-5091    Document #2114200                                     Filed: 05/05/2025 Page 319 of 637

          From:            Martinez. Adam (CFPB)
          To:              Russell. Jessica (CFPB); Pham. Danny (CFPB)
          Cc:              Spry. Eric (CFPB); Liu. Feng (CFPB): Brown. Jason (CFPB): Pappalardo. Janis (CFPB)
          Subject:         RE: Requests to approve HMDA data access
          Date:            Thursday, February 27, 2025 3:55:00 PM


          Hi J essica - Good afternoon!

          J ason's Team has auth01ity to execute our HMDA legal and statutory authority/legal
          requirements.

          Thank you.

          Adam

          Adam Martinez
          Chief Operating Officer

          From: Russell, Jessica {CFPB)
          Sent: Thursday, February 27, 2025 3:10 PM
          To: Pham, Danny {CFPB)                                       Martinez, Adam {CFPB)


                                                          >; Liu, Feng (CFPB)
          Subject: RE: Requests to approve HMDA data access


          Ok, I will just leave them in the system until I have authorization to reject them.


          Thanks,
          Jessica


          From: Pham, Danny (CFPB)
          Sent: Thursday, February 27, 2025 3:03 PM
          To: Russell, Jessica (CFPB)                                      ; Martinez, Adam (CFPB)


                                                              Liu, Feng (CFPB)
          Subject: RE: Requests to approve HMDA data access


          Hi Jessica,


          Is my fault on clicking the wrong one when I was working with ICAM team to make sure
          Sai lPoint auto configure the user profile. So just reject the request.


          Thank you,
          Danny


          From: Russell, Jessica (CFPB)

(Page 319 of Total)                                                                                             CFPB_00032 JA314
           Case 1:25-cv-00381-ABJ Document 56-1                               Filed 03/04/25 Page 33 of 116
       USCA Case #25-5091    Document #2114200                                 Filed: 05/05/2025 Page 320 of 637

          Sent: Thursday, February 27, 2025 3:02 PM
          To: Martinez, Adam (CFPB)                                        ; Pham, Danny (CFPB)

                                                 ; Li u, Feng (CFPB)
          Subject: Requests to approve HMDA data access


          Hi Adam,

          I am the data steward for the HMDA datasets, which means that I review requests for access
          to t he HMDA data. Danny Pham submitted severa l requests on behalf of others. Do I have
          authorization to work on this?


          @Pham, Danny (CFPB) - Cou ld you provide justifications for t hese access requests?


          Thanks,
          Jessica

          Jessica Russell
          Mort a e Markets
          Tel:
          Mob:


          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.




(Page 320 of Total)                                                                                             CFPB_00033 JA315
           Case 1:25-cv-00381-ABJ Document 56-1                                Filed 03/04/25 Page 34 of 116
       USCA Case #25-5091    Document #2114200                                  Filed: 05/05/2025 Page 321 of 637

           From:          Martinez, Adam (CFPB)
           To:            Pappalardo, Janis (CFPB); Sokolov, Dan (CFPB); Epstein, Ann (CFPB); Hedgespeth, Grady (CFPB); Brown, Jason
                          (CFPB); McArdle, Mark (CFPB); McNamara, John (CFPB); Brown, Desmond (CFPB); Cole, Lisa (CFPB); Royster,
                          Deborah (CFPB); Rice, Jim (CFPB); Dodd-Ramirez, Daniel (CFPB)
           Bcc:           Paoletta, Mark (CFPB); Shapiro, Daniel (CFPB)
           Subject:       Statutory/Legal Required Work
           Date:          Thursday, February 27, 2025 4:18:00 PM
           Attachments:   Directives on Bureau Activities.msg


          Hi RMR Colleagues – Good afternoon.

          Thank you for your patience as we continue through transition and our new
          leadership’s review of the Bureau.

          On February 8 (email attached), our Acting Director outlined several areas where
          work stoppage was being implemented at the Bureau. He did exclude areas approved
          by him or required by law. We want to ensure that you are aware that statutorily
          required work and/or work required by law are authorized.

          Your teams are authorized to continue carrying out these responsibilities. Any actions
          or communications with outside parties must be sent to Mark Paoletta, Chief Legal
          Officer and Daniel Shapiro, Deputy Chief Legal Officer.

          Should you have any questions at all, please feel free to contact our Chief Legal Officer
          as directed by the Acting Director. Alternatively, you are always welcome to reach out
          to me if needed. I am happy to share guidance provided to other leaders and
          employees regarding authorized work, including my own team.

          Thank you for your support.

          Adam

          Adam Martinez
          Chief Operating Officer




(Page 321 of Total)                                                                                                  CFPB_00034 JA316
           Case 1:25-cv-00381-ABJ Document 56-1                           Filed 03/04/25 Page 35 of 116
       USCA Case #25-5091    Document #2114200                             Filed: 05/05/2025 Page 322 of 637

           From:          Martinez, Adam (CFPB)
           To:            Warren, LaShaun (CFPB)
           Bcc:           Paoletta, Mark (CFPB); Shapiro, Daniel (CFPB)
           Subject:       Statutory/Legal Required Work
           Date:          Thursday, February 27, 2025 4:47:00 PM
           Attachments:   Directives on Bureau Activities.msg


          Hi LaShaun – Good afternoon.

          Thank you for your patience as we continue through transition and our new
          leadership’s review of the Bureau.

          On February 8 (email attached), our Acting Director outlined several areas where
          work stoppage was being implemented at the Bureau including work conducted by
          External Affairs. He did exclude areas approved by him or required by law including
          statutory requirements.

          We want to ensure that you are aware that you may reach out to Mark Paoletta, Chief
          Legal Officer with any questions regarding required reports or products you believe
          should continue at this time. Any actions or communications with outside parties
          must be sent to Mark and Daniel Shapiro, Deputy Chief Legal Officer.

          Should you have any questions at all, please feel free to contact our Chief Legal Officer
          as directed by the Acting Director. Alternatively, you are always welcome to reach out
          to me if needed. I am happy to share guidance provided to other leaders and
          employees regarding authorized work, including my own team.

          Thank you for your support.

          Adam

          Adam Martinez
          Chief Operating Officer




(Page 322 of Total)                                                                            CFPB_00035 JA317
           Case 1:25-cv-00381-ABJ Document 56-1                                     Filed 03/04/25 Page 36 of 116
       USCA Case #25-5091    Document #2114200                                       Filed: 05/05/2025 Page 323 of 637

          Fro m:                Chilbert. Christopher (CFPB)
          To:                   GeWond,Rebecca(CFPB)
          Cc:                   Martinez, Adam (CFPB)
          Subject:              RE: Cf PB Data / Record Analysis and Return
           Dat e :              Thursday, February 27, 2025 6:03:33 PM
          Attachments:          image001.png
                                image002.png
                                image003.png



          Hi Rebecca,
          Yes, ret rieving Bureau data and records from contractors in accordance with the terms and
          conditions of t he contracts is authorized work. We need to ensure t hat it is preserved.


          Chris Chilbert



          From: Gelfond, Rebecca (CFPB)
          Sent: Thursday, February 27, 2025 5:54 PM
          To: Chilbert, Christopher (CFPB)
          Subject: FW: CFPB Data/ Record Analysis and Ret urn

          Hi Chris,

          Tiina suggested I check with you. Can you please confmn this is autho1ized work?

          Thanks!
          Rebecca

          CFPB Enforcement Chief of Staff
          Office:             I

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the e-
          mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.



          From: Gelfond, Rebecca (CFPB)
          Sent: Thursday, February 27, 2025 5:43 PM
          To: Rodrigue, Tiina (CFPB)
          Cc: Malik, lrfan (CFPB)                      ; Lazier, Raynell (CFPB
          Subject: RE: CFPB Data/ Record Analysis and Return

          Hi Tiina,

          Thanks for the email. Can you please confinn that the Acting Director has autholized this work?

          Thanks!
          Rebecca

          CFPB Enforcement Chief of Staff
          Office:             I Mobile:


(Page 323 of Total)                                                                                                      CFPB_00036 JA318
           Case 1:25-cv-00381-ABJ Document 56-1                                     Filed 03/04/25 Page 37 of 116
       USCA Case #25-5091    Document #2114200                                       Filed: 05/05/2025 Page 324 of 637


          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the e-
          mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.



          From: Rodrigue, Tiina (CFPB)
          Sent: Thursday, February 27, 2025 5:41 PM
          To: Rodrigue, Tiina (CFPB)
          Cc: Malik, Irfan (CFPB)                      ; Lazier, Raynell (CFPB)
          Subject: CFPB Data / Record Analysis and Return
          Importance: High

          Dear Business, System, Service, or Application Owner,

          Please work with your CORs/PoCs to identify if CFPB data or records are at risk of being
          deleted due to contract cancellations, memorandum/agreement terminations, or other causes.
          Please note that per the CFPB standard cybersecurity clause language and CFPB Policy, all
          CFPB data must be returned at the end of a contract/agreement. Any deviations must be
          signed off by the Authorizing Official.

          If you need T&I assistance to store the returned CFPB data/records, please reach out to me. I
          will help you find the a secure storage solution.

          Please let me know if you have any questions. I am on Teams.

          Dr. Tiina K.O. Rodrigue (hear pronunciation here)
          CISSP, PMP, Compliance Mapper,
          CEA, CSM, ITIL, A+, FAC P/PM III, Female
          ADKAR Change Management Practitioner

          Chief Information Security Officer – CISO
          Cyberstar: Level 5

          *****
          My workday might not be the same as yours. Unless I indicate this is an emergency,
          please do not feel pressure to respond to this message outside of your standard work
          hours.




          C                     Consumer Financial
                                 Protection Bureau




(Page 324 of Total)                                                                                                      CFPB_00037 JA319
           Case 1:25-cv-00381-ABJ Document 56-1              Filed 03/04/25 Page 38 of 116
       USCA Case #25-5091    Document #2114200                Filed: 05/05/2025 Page 325 of 637




              SERVE           Director's Mission
               LEAD           Achievement Award
           INNOVATE
                              Recipient

          1700 G Street NW #6022
          Washington, DC 20552
          Email –                       v
          Telephone –
          Telework Days- Every Day

          consumerfinance.gov

          Confidentiality Notice: If you received this e-mail by mistake, you should notify the
          sender of the error and delete the e-mail and any attachments. Inadvertent disclosure
          does not waive any privileges.

          CYBERSECURITY AWARENESS
          Increasing cybersecurity awareness for the Bureau’s personnel is vital to ensuring the
          successful execution of CFPB’s mission.

          You should report phishing if you believe the e-mail has malicious intent. If you think
          that you have received a phishing e-mail: STOP. THINK before you CLICK.

          Do not click any links or attachments included in any suspicious e-mail. Immediately
          report the suspicious e-mail to the CFPB Suspect Inbox using the Report Phishing
          button to send the e-mail to suspect@cfpb.gov for immediate analysis.

          Become a Cyberstar. For more information, see
          https://team.cfpb.local/wiki/index.php/CFPB Phishing Awareness




(Page 325 of Total)                                                                   CFPB_00038 JA320
           Case 1:25-cv-00381-ABJ Document 56-1                                    Filed 03/04/25 Page 39 of 116
       USCA Case #25-5091    Document #2114200                                      Filed: 05/05/2025 Page 326 of 637

           From:            Martinez, Adam (CFPB)
           To:              Gueye, Jafnar (CFPB); Brand, Melissa (CFPB); Galicki, Joshua (CFPB)
           Cc:              Grant, Lori (CFPB)
           Bcc:             Paoletta, Mark (CFPB); Shapiro, Daniel (CFPB)
           Subject:         RE: CFPB Data / Record Analysis and Return
           Date:            Friday, February 28, 2025 8:54:00 AM
           Attachments:     image001.png
                            image002.png
                            image003.png


          (bcc: Mark Paoletta and Daniel Shapiro for situational awareness)

          Good morning.

          I would advise that we should reinstate the ETK contract if it is still available in the
          short term. ETK will help us prevent further litigation and/or settlements as a result
          of the data base being down. The system is the database and workstream for:

          EEO Cases
          Reasonable Accommodation Cases
          Anti-Harassment/Bullying Cases

          These are all required to be processed by law. However, long term I would encourage
          OCR, OHC, and OMWI to work with T&I on an alternative secured solution going
          forward such as SharePoint or something similar to store data and process
          complaints.

          Adam Martinez
          Chief Operating Officer

          From: Gueye, Jafnar (CFPB)
          Sent: Friday, February 28, 2025 8:30 AM
          To: Brand, Melissa (CFPB)                            ; Galicki, Joshua (CFPB)
                                    >
          Cc: Grant, Lori (CFPB)                       ; Martinez, Adam (CFPB)
          Subject: RE: CFPB Data / Record Analysis and Return

          Good morning Melissa,

          I defer to Adam but I would recommend reaching out to Mark Paoletta. We’ve frozen all termination
          actions on contracts until next week and we’re working on getting an answer for the actual contract.

          Respectfully,

          Jafnar

          From: Brand, Melissa (CFPB)
          Sent: Friday, February 28, 2025 8:19 AM
          To: Gueye, Jafnar (CFPB)                                           Galicki, Joshua (CFPB)



(Page 326 of Total)                                                                                     CFPB_00039 JA321
           Case 1:25-cv-00381-ABJ Document 56-1                         Filed 03/04/25 Page 40 of 116
       USCA Case #25-5091    Document #2114200                           Filed: 05/05/2025 Page 327 of 637

          Cc: Grant, Lori (CFPB)                       ; Martinez, Adam (CFPB)
          Subject: RE: CFPB Data / Record Analysis and Return
          Importance: High

          Good morning Jafnar and Josh.

          Cyber told me to have my CORs identify if CFPB data or records are at risk of being deleted due to
          contract cancellations. I highlighted to Vanessa our inability to access EEO complaints data in ETK,
          who advised me to reach out to those above me regarding contracts that I need to have active again.
          Since I report directly to the Director, I was wondering who you suggest I reach out to? Is there a main
          POC that you have been collaborating with that I should reach out to? Or is this something that is
          already being worked on and me reaching out is not necessary?

          Thank you.

          Melissa

          From: Del Toro, Vanessa (CFPB)
          Sent: Friday, February 28, 2025 8:12 AM
          To: Brand, Melissa (CFPB)
          Cc: Grant, Lori (CFPB)                       ; Stroud, Renita (CFPB)
          Villano, Michael (CFPB)
          Subject: RE: CFPB Data / Record Analysis and Return

          HI Melissa,

          Adding Mike Villano who is the contracting officer for the Entellitrak contract. That contract,
          9531CB23F0046, was on the list we were directed to terminate.

          We stopped doing the modification to terminate and have mostly sent out the stope work/
          termination notices. If you need this one to be active again, please reach out to those above you.
          Some vendors that were asked to “turn back on” operations were able to, others cannot be back on
          so easily. And as we stopped work and sent the termination notice as directed by those above us, this
          also means that the vendor does not have to necessarily comply with the request to continue to
          provide services they were previously told were terminated.

          Sorry, it is a bit of a mess, but we can only do what directed to. If you need this, please reach out to
          leadership above you so that we in Procurement can get different direction.

          Thanks,



          Vanessa del Toro
(Page 327 of Total)                                                                                    CFPB_00040 JA322
           Case 1:25-cv-00381-ABJ Document 56-1                                      Filed 03/04/25 Page 41 of 116
       USCA Case #25-5091    Document #2114200                                        Filed: 05/05/2025 Page 328 of 637

          Contracting Officer | Office of Finance and Procurement
          Mobile:




          Consumer Financial Protection Bureau
          consumerfinance.gov


          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the email
          and any attachments. An inadvertent disclosure is not intended to waive any privileges.


          From: Brand, Melissa (CFPB)
          Sent: Friday, February 28, 2025 7:18 AM
          To: Del Toro, Vanessa (CFPB)
          Cc: Grant, Lori (CFPB)                      ; Stroud, Renita (CFPB)
          Subject: FW: CFPB Data / Record Analysis and Return
          Importance: High

          Hi Vanessa. Renita works with Ludy on the ETK contract, however Renita is out today and I am not
          sure of Ludy’s work status. I am hoping you can help.

          I want to make sure that we are flagging that Entellitrak is our system of record for EEO cases, and we
          cannot do our work without it. We are struggling right now with our current and past cases without
          access to this data in the ETK system, and we will not be able to run statutorily required reports
          without it. We definitely need the data that was put into ETK – but beyond that, we really need ETK to
          make use of the data.

          Thank you,

          Melissa

          From: Rodrigue, Tiina (CFPB)
          Sent: Thursday, February 27, 2025 5:41 PM
          To: Rodrigue, Tiina (CFPB)
          Cc: Malik, Irfan (CFPB)                      ; Lazier, Raynell (CFPB)
          Subject: CFPB Data / Record Analysis and Return
          Importance: High

          Dear Business, System, Service, or Application Owner,

          Please work with your CORs/PoCs to identify if CFPB data or records are at risk of
          being deleted due to contract cancellations, memorandum/agreement terminations,
          or other causes. Please note that per the CFPB standard cybersecurity clause
          language and CFPB Policy, all CFPB data must be returned at the end of a


(Page 328 of Total)                                                                                                       CFPB_00041 JA323
           Case 1:25-cv-00381-ABJ Document 56-1             Filed 03/04/25 Page 42 of 116
       USCA Case #25-5091    Document #2114200               Filed: 05/05/2025 Page 329 of 637

          contract/agreement. Any deviations must be signed off by the Authorizing Official.

          If you need T&I assistance to store the returned CFPB data/records, please reach out
          to me. I will help you find the a secure storage solution.

          Please let me know if you have any questions. I am on Teams.

          Dr. Tiina K.O. Rodrigue (hear pronunciation here)
          CISSP, PMP, Compliance Mapper,
          CEA, CSM, ITIL, A+, FAC P/PM III, Female
          ADKAR Change Management Practitioner

          Chief Information Security Officer – CISO
          Cyberstar: Level 5

          *****
          My workday might not be the same as yours. Unless I indicate this is an emergency,
          please do not feel pressure to respond to this message outside of your standard work
          hours.



                          Consume Fi nancial
          C               Protection Bure 1u




              SERVE           Director's Mission
               LEAD           Achievement Award
           INNOVATE
                              Recipient

          1700 G Street NW #6022
          Washington, DC 20552
          Email –
          Telephone –
          Telework Days- Every Day

          consumerfinance.gov

          Confidentiality Notice: If you received this e-mail by mistake, you should notify the
          sender of the error and delete the e-mail and any attachments. Inadvertent disclosure
          does not waive any privileges.

          CYBERSECURITY AWARENESS
          Increasing cybersecurity awareness for the Bureau’s personnel is vital to ensuring the
          successful execution of CFPB’s mission.



(Page 329 of Total)                                                                  CFPB_00042 JA324
           Case 1:25-cv-00381-ABJ Document 56-1              Filed 03/04/25 Page 43 of 116
       USCA Case #25-5091    Document #2114200                Filed: 05/05/2025 Page 330 of 637

          You should report phishing if you believe the e-mail has malicious intent. If you think
          that you have received a phishing e-mail: STOP. THINK before you CLICK.

          Do not click any links or attachments included in any suspicious e-mail. Immediately
          report the suspicious e-mail to the CFPB Suspect Inbox using the Report Phishing
          button to send the e-mail to suspect@cfpb.gov for immediate analysis.

          Become a Cyberstar. For more information, see
          https://team.cfpb.local/wiki/index.php/CFPB Phishing Awareness




(Page 330 of Total)                                                                   CFPB_00043 JA325
           Case 1:25-cv-00381-ABJ Document 56-1                               Filed 03/04/25 Page 44 of 116
       USCA Case #25-5091    Document #2114200                                 Filed: 05/05/2025 Page 331 of 637

          From:               Martinez. Adam (CFPB)
          To:                 Pappalardo. Janis (CFPB)
          Subject:            RE: Guidance ...
          Date:               Friday, February 28, 2025 10:20:00 AM



          Hi J an. That is correct.

          If there are any mission/statutory concerns, you may always reach out to Mark for
          guidance as well. But you the management responsibilities are all good.

          Let me know if I can help in any way.

          Adam

          Adam Martinez
          Chief Operating Officer

          From: Pappalardo, Janis (CFPB)
          Sent: Friday, February 28, 2025 10:18 AM
          To: Martinez, Adam (CFPB)
          Subject: Guidance ...


          HiAdam,


          I hope you are well!


          In light of your e-mail and discussion yesterday, my understanding is that we can resume all
          regu lar work related to fulfilling statutory obligations, including regular management
          activities. Is that correct?


          With appreciation,
          Jan




          Janis K. Pappalardo
          Deputy Associate Director and Acting Associate Director
          Researc~                d Regulations
          Mobile: ~

          Consumer Financial Protection Bureau
          consumerfinance.gov


          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadve1tent disclosure is not intended to waive any plivileges.




(Page 331 of Total)                                                                                            CFPB_00044 JA326
           Case 1:25-cv-00381-ABJ Document 56-1   Filed 03/04/25 Page 45 of 116
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 332 of 637




(Page 332 of Total)                                                    CFPB_00045 JA327
           Case 1:25-cv-00381-ABJ Document 56-1                                         Filed 03/04/25 Page 46 of 116
       USCA Case #25-5091    Document #2114200                                           Filed: 05/05/2025 Page 333 of 637

          From:                 Martinez. Adam (CFPB)
          To:                   Chilbert. Christopher (CFPB): Gelfond. Rebecca (CFPB)
          Subject:              RE: Cf PB Data / Record Analysis and Return
          Date:                 Friday, February 28, 2025 12:48:00 PM
          Attachments:          image001.png
                                image002.png
                                image003.png



          That is my understanding as well.

          Adam Martinez
          Chief Operating Officer

          From: Chilbert, Christopher (CFPB)
          Sent: Friday, February 28, 2025 12:39 PM
          To: Gelfond, Rebecca (CFPB)                                                   ; Martinez, Adam (CFPB)


          Subject: RE : CFPB Data/ Record Analysis and Ret urn


          My understanding is that he has aut horized us t o retain federal records and perform cont ract
          c lose-out activities for contracts t hat have been terminated.


          Chris Chilbert



          From: Gelfond, Rebecca (CFPB)
          Sent: Friday, February 28, 2025 12:32 PM
          To: Chilbert, Christopher (CFPB)                                                    ; Martinez, Adam (CFPB)


          Subject: RE : CFPB Dat a/ Record Ana lysis and Ret urn

          Hi Chris and Adam.

          Has the Acting Director or Mark P specifically authorized this work?

          Thanks!
          Rebecca

          CFPB Enforcement Chief of Staff
          Office:             I Mobile:
          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the e-
          mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.



          From: Chilbert, Christ opher (CFPB)
          Sent: Th ursday, February 27, 2025 6:04 PM
          To: Gelfond, Rebecca (CFPB)
          Cc: Martinez, Adam (CFPB)

(Page 333 of Total)                                                                                                      CFPB 00046 JA328
           Case 1:25-cv-00381-ABJ Document 56-1                                     Filed 03/04/25 Page 47 of 116
       USCA Case #25-5091    Document #2114200                                       Filed: 05/05/2025 Page 334 of 637

          Subject: RE: CFPB Data/ Record Analysis and Ret urn


          Hi Rebecca,
          Yes, retrieving Bureau data and records f rom contractors in accordance with the terms and
          conditions of the contracts is authorized work. We need to ensure that it is preserved.


          Chris Chilbert



          From: Gelfond, Rebecca (CFPB)
          Sent: Th ursday, February 27, 2025 5:54 PM
          To: Chilbert, Christopher (CFPB
          Subject: FW: CFPB Data/ Record Analysis and Return

          Hi Chris,

          Tiina suggested I check with you. Can you please confnm this is auth01ized work?

          Thanks!
          Rebecca

          CFPB Enforcement Chief of Staff
          Office:             I Mobile:

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete thee-
          mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.



          From: Gelfond, Rebecca (CFPB)
          Sent: Thursday, February 27, 2025 5:43 PM
          To: Rodrigue, Tiina (CFPB
          Cc: Malik, lrfan (CFPB)                      ; Lazier, Raynell (CFPB)
          Subject: RE: CFPB Data/ Record Analysis and Ret urn

          Hi Tiina,

          Thanks for the email. Can you please confinn that the Acting Director has authorized this work?

          Thanks!
          Rebecca

          CFPB Enforcement Chief of Staff
          Office:             I Mobile:

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the e-
          mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.




(Page 334 of Total)                                                                                                      CFPB_00047 JA329
           Case 1:25-cv-00381-ABJ Document 56-1                    Filed 03/04/25 Page 48 of 116
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 335 of 637

          From: Rodrigue, Tiina (CFPB)
          Sent: Th ursday, February 27, 2025 5:41 PM
          To: Rodrigue, Tiina (CFPB)
          Cc: Malik, lrfan (CFPB                        Lazier, Raynell (CFPB)
          Subject: CFPB Data/ Record Analysis and Return
          Importance: High

          Dear Business, System, Service, or Application Owner,

          Please work with your CORs/PoCs to identify if CFPB data or records are at risk of being
          deleted due to contract cancellations, memorandum/agreement tenninations, or other causes.
          Please note that per the CFPB standard cybersecurity clause language and CFPB Policy, all
          CFPB data must be returned at the end of a contract/agreement. Any deviations must be
          signed off by the Authorizing Official.

          If you need T&I assistance to store the returned CFPB data/records, please reach out to me. I
          will help you find the a secure storage solution.

          Please let me know if you have any questions. I am on Teams.

          Dr. Tiina K.O. Rodrigue (hearpronunciationhere)
          CISSP, PMP, Compliance Mapper,
          CEA, CSM, ITIL, A+, FAC P/PM III, Female
          ADKAR Change Management Practitioner

          Chief Information Security Officer - CISO
          Cyberstar: Level 5



          My workday might not be the same as yours. Unless I indicate this is an emergency,
          please do not feel pressure to respond to this message outside of your standard work
          hours.


                           Consumer Financial
                           Protection Bureau




                                 Director's Mission

                            I
              SERVE
               LEAD .            Achievement Award
           INNOVATE              Recipient

          1700 G Street NW #6022
          Washin
          Email

(Page 335 of Total)                                                                         CFPB_00048 JA330
           Case 1:25-cv-00381-ABJ Document 56-1              Filed 03/04/25 Page 49 of 116
       USCA Case #25-5091    Document #2114200                Filed: 05/05/2025 Page 336 of 637




          consn1nerfinance.gov
          Confidentiality Notice: If you received this e-mail by mistake, you should notify the
          sender of the error and delete the e-mail and any attachments. Inadvertent disclosure
          does not waive any privileges.

          CYBERSECURITYAWARENESS
          Increasing cybersecurity awareness for the Bureau's personnel is vital to ensuring the
          successful execution of CFPB's mission.

          You should report phishing if you believe the e-mail has malicious intent. If you think
          that you have received a phishing e-mail: STOP. THINK before you CLICK.

          Do not click any links or attachments included in any suspicious e-mail. Immediately
          repo1t the suspicious e-mail to the CFPB Suspect Inbox using the Rep01t Phishing
          button to send the e-mail to suspect@cfpb.gov for immediate analysis.

          Become a Cyberstar. For more information, see
          https: //tea1n.cfpb.local/wiki/index.php/CFPB Phishing Awareness




(Page 336 of Total)                                                                   CFPB_00049 JA331
           Case 1:25-cv-00381-ABJ Document 56-1                    Filed 03/04/25 Page 50 of 116
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 337 of 637

  _ i . . , . . _ _ _ _ _ _ _ _ _ _ _ _ _ __


  From:                           Hagins, Calvin (CFPB)                        >
  Sent:                           Friday, February 28, 2025 1:19 PM
  To:                             Huggins, Cassandra (CFPB); Martinez, Adam (CFPB)
  Cc:                             Hagins, Calvin (CFPB)
  Subject:                        RE: Statutory/Legal Required Work


  Adam:

  Thanks for the confirmation.

  Casey:

  I have not changed by thinking about NOT starting/continuing any “supervision” work (i. e. examination related
  activities).

  Calvin R. Hagins
  Principal Deputy Assistant Director for the OƯice of Supervision Examinations

  Supervision (SUP)
  OƯice of Supervision Examinations (OSE)


  OƯice Location: OƯice Primary – Monday – Friday
  Room: 3036

  OƯice:
  Mobile:

     SE VE      Director's Mission
      LEAD      Achievement Award
    NOVATE
                 Recipient


  Consumer Financial Protection Bureau
  consumerfinance.gov

  Confidentiality Notice: If you receive this email by mistake, you should notify the sender of the mistake and
  delete the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.

  From: Huggins, Cassandra (CFPB)
  Sent: Friday, February 28, 2025 11:09 AM
  To: Martinez, Adam (CFPB)                             Hagins, Calvin (CFPB)
  Subject: Re: Statutory/Legal Required Work

  This is all very helpful, thanks Adam. Much appreciated.

  From: Martinez, Adam (CFPB)
  Sent: Friday, February 28, 2025 10:58:08 AM
                                                          1
(Page 337 of Total)                                                                            CFPB_00050 JA332
            Case 1:25-cv-00381-ABJ Document 56-1                                Filed 03/04/25 Page 51 of 116
        USCA Case #25-5091    Document #2114200                                  Filed: 05/05/2025 Page 338 of 637
  To: Huggins, Cassandra (CFPB)                                           ; Hagins, Calvin (CFPB)
  Subject: RE: Statutory/Legal Required Work

  That is correct. If there are any reports to congress per statute or anything like that, I’d recommend
  reaching out to Mark. Other divisions are raising questions about reports or other statutory
  requirements. I’m personally trying to be helpful to just ensure people know they can ask questions
  or seek clarification, even it’s just on operational issues.

  Thank you, Casey.

  Adam Martinez
  Chief Operating Officer

  From: Huggins, Cassandra (CFPB)
  Sent: Friday, February 28, 2025 10:33 AM
  To: Martinez, Adam (CFPB)                                       ; Hagins, Calvin (CFPB)
  Subject: RE: Statutory/Legal Required Work

  Adam,

  To be clear, the Feb. 8 email directed us to cease all supervision and examination activity. Am I correct that directive still
  stands?

  Thanks,
  Casey

  Cassandra Huggins

  Mobile:
            -
  Principal Deputy Assistant Director | Supervision Policy & Operations



  Consumer Financial Protection Bureau
  consumerfinance.gov



  Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the e-mail and any
  attachments. An inadvertent disclosure is not intended to waive any privileges.


  From: Martinez, Adam (CFPB)
  Sent: Thursday, February 27, 2025 4:35 PM
  To: Huggins, Cassandra (CFPB)                                           ; Hagins, Calvin (CFPB)
  Subject: Statutory/Legal Required Work

  Hi Casey and Calvin – Good afternoon.

  Thank you for your patience as we continue through transition and our new leadership’s review of the
  Bureau.

  On February 8 (email attached), our Acting Director outlined several areas where work stoppage was
  being implemented at the Bureau including specific work conducted by Supervision. He did exclude
  areas approved by him or required by law including statutory requirements.

                                                                      2
(Page 338 of Total)                                                                                               CFPB_00051 JA333
             Case 1:25-cv-00381-ABJ Document 56-1 Filed 03/04/25 Page 52 of 116
      USCA Case #25-5091        Document #2114200            Filed: 05/05/2025    Page 339 of 637
  We want to ensure that you are aware that you may reach out to Mark Paoletta, Chief Legal Officer
  with any questions regarding required reports or products you believe should continue at this
  time. Any actions or communications with outside parties must be sent to Mark and Daniel Shapiro,
  Deputy Chief Legal Officer.

  Should you have any questions at all, please feel free to contact our Chief Legal Officer as directed by
  the Acting Director. Alternatively, you are always welcome to reach out to me if needed. I am happy
  to share guidance provided to other leaders and employees regarding authorized work, including my
  own team.

  Thank you for your support.

  Adam

  Adam Martinez
  Chief Operating Officer




                                                      3
(Page 339 of Total)                                                                     CFPB_00052 JA334
           Case 1:25-cv-00381-ABJ Document 56-1                        Filed 03/04/25 Page 53 of 116
       USCA Case #25-5091    Document #2114200                          Filed: 05/05/2025 Page 340 of 637

          From:           Martinez. Adam (CFPB)
          To:             Herndon. Michael (CFPB)
          Subject:        RE: Statutory/ Legal Required Work
          Date:           Friday, February 28, 2025 3:20 :00 PM



          Hi Michael - you are authorized to coordinate with your leadership or management
          on work matters. Thank you.

          Adam Martinez
          Chief Operating Officer

          From: Herndon, Michael (CFPB)
          Sent: Friday, February 28, 2025 2:49 PM
          To: Martinez, Adam (CFPB)
          Subject: Fw: Stat utory/Legal Required Work


          Dear Adam Martinez,


          I have been, based upon t he ema il chai n below, asked to attend a meeting on Monday to
          discuss t he rollout of t his guidance.


          Can you confirm I am authorized to perform t he work task of attending t his meet ing.


          If so, I will need f urther guidance on what work stat us to enter into a timesheet.


          Rega rds,


          Michael




          From: Pappalardo, Jan is {CFPB)
          Sent: Thursday, February 27, 2025 5 :35 PM
          To: Sokolov, Dan {CFPB)                                 • Epst ein, Ann {CFPB)
                                                                  B)



                                                                                       ; Royst er, Deborah
                                                                                               ; Dodd-




          Subject: RE: Statut ory/Legal Required Work




(Page 340 of Total)                                                                                CFPB_00053 JA335
           Case 1:25-cv-00381-ABJ Document 56-1                               Filed 03/04/25 Page 54 of 116
       USCA Case #25-5091    Document #2114200                                 Filed: 05/05/2025 Page 341 of 637

          Greetings, All!


          I just talked to Adam (cc'd) and thanked him for this clarification (thanks Adam!).

          Adam confirmed that you are free to cascade his email with your managers, and managers are
          free to cascade t o their staff. I think this cascade approach makes sense.

          I imagine that there will be many questions as this guidance gets rolled out.
          Please keep track of questions and share them. I will work with you and RMRFO to summarize
          issues to seek coordinated additional clarification from leadership, which we can then share
          back out.

          Of course, if you have an urgent question for leadership, do not wait for me -- ask away.
          However, please cc me so I understand the flow of issues and responses in RMR.

          The idea is to ensure that information flows efficiently, both horizontally and vertically.


          Have a nice evening!


          With appreciation,
          Jan




          Janis K. Pappalardo
          Deputy Associate Director and Acting Associate Director
          Resear·c~               d Regulations
          Mobile: - - -

          Consumer Financial Protection Bureau
          consumerfinance.gov


          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.




          From: Martinez, Adam (CFPB)
          Sent: Thursday, February 27, 2025 4:18 PM
          To: Pappalardo, Janis (CFPB)                                  ; Sokolov, Dan (CFPB)
                                    ; Epstein, Ann (CFPB)                              Hedgespeth, Grady (CFPB)
                                           ; Brown, Jason (CFPB)                              McArdle, Mark
                                                McNamara, John (CFPB
                                                         >; Cole, Lisa (CFPB)
                                                           Rice, Jim (CFPB)


(Page 341 of Total)                                                                                            CFPB_00054 JA336
           Case 1:25-cv-00381-ABJ Document 56-1               Filed 03/04/25 Page 55 of 116
       USCA Case #25-5091    Document #2114200                 Filed: 05/05/2025 Page 342 of 637

          Ramirez, Dan iel (CFPB)
          Subject: Statutory/Legal Required Work

          Hi RMR Colleagues - Good afternoon.

          Thank you for your patience as we continue through transition and our new
          leadership's review of the Bureau.

          On February 8 (email attached), our Acting Director outlined several areas where
          work stoppage was being implemented at the Bureau. He did exclude areas approved
          by him or required by law. We want to ensure that you are aware that statutorily
          required work and/or work required by law are auth01ized.

          Your teams are authorized to continue canying out these responsibilities. Any actions
          or communications with outside parties must be sent to Mark Paoletta, Chief Legal
          Officer and Daniel Shapiro, Deputy Chief Legal Officer.

          Should you have any questions at all, please feel free to contact our Chief Legal Officer
          as directed by the Acting Director. Alternatively, you are always welcome to reach out
          to me if needed. I am happy to share guidance provided to other leaders and
          employees regarding authorized work, including my own team.

          Thank you for your support.

          Adam

          Adam Martinez
          Chief Operating Officer




(Page 342 of Total)                                                                    CFPB_00055 JA337
           Case 1:25-cv-00381-ABJ Document 56-1                         Filed 03/04/25 Page 56 of 116
       USCA Case #25-5091    Document #2114200                           Filed: 05/05/2025 Page 343 of 637

           From:           Martinez, Adam (CFPB)
           Cc:             Paoletta, Mark (CFPB)
           Subject:        All Hands Message re: Work Required by Law
           Date:           Sunday, March 2, 2025 3:33:06 PM



          Message from Mark Paoletta, Chief Legal Officer

          On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out
          any statutorily required work, as he set forth in his February 8th email.

          On February 8, 2025, you received an email from Acting Director Vought directing you to halt
          several classes of work unless “required by law” or expressly approved by the Acting Director.
          On February 10, 2025, you received an email from Acting Director Vought directing you to
          reach out to me for the authorization required by the February 8 email. These measures were
          intended to ensure that new leadership could establish operational control over the agency
          while ensuring that it would continue to fulfill its statutory duties. Many of you understood this
          and continued to perform functions required by law and sought approval from me to perform
          work, which I have promptly granted.

          It has come to my attention, however, that some employees have not been performing
          statutorily required work. Let me be clear: Employees should be performing work that is
          required by law and do not need to seek prior approval to do so. If you have any questions,
          please reach out to me immediately, and I will promptly give you an answer and authorization
          if warranted. If you are aware of other employees that are needed to assist you in performing a
          statutorily required task but are not doing so, please raise this with me immediately.

          Thank you for your attention to this matter.

          Mark Paoletta
          Chief Legal Officer
          CFPB




(Page 343 of Total)                                                                             CFPB_00056 JA338
           Case 1:25-cv-00381-ABJ Document 56-1                              Filed 03/04/25 Page 57 of 116
       USCA Case #25-5091    Document #2114200                                Filed: 05/05/2025 Page 344 of 637

          From:             Paoletta. Mark (CFPB)
          To:               McNamara. John {CFPB): Martinez. Adam {CFPB)
          Cc:               Shapiro. Daniel {CFPB)
          Subject:          RE: All Hands Message re: Work Required by Law
           Date:            Sunday, March 2, 2025 4:10:37 PM


          No objections. Please proceed.


          Thank you.


          From: McNamara, John (CFPB)
          Sent: Sunday, March 2, 2025 4:09 PM
          To: Martinez, Adam (CFPB)
          Cc: Paolet ta, Mark (CFPB)
          Subject: RE: All Hands Message re: Work Required by Law


          Unless you have objections, Markets will contact CARD Act 1022
          targets to respond to their requests.

          We will work on the FDCPA Annual report with a planned delivery date
          in early to mid-May.

          We will conduct statutorily required market monitoring, copying you,
          Mark and Dan Shapiro on substantive matters but not scheduling and
          maintenance issues. We also plan to make you both (Dan and Mark)
          aware of market monitoring meetings.

          Thanks in advance for your help.

          John McNamara
          Principal Assistant Director, Market
          Division of Research, Monitoring & Regulat ions


          Consumer Financial Protection Bureau
          1700 G Street NW
          Washi ngton, DC 20552
          Office
          Mobile




          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the



(Page 344 of Total)                                                                                  CFPB_00057 JA339
           Case 1:25-cv-00381-ABJ Document 56-1                      Filed 03/04/25 Page 58 of 116
       USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 345 of 637

          mist ake and delete the e-mail and any attachment s. An inadvertent disclosure is not intended t o
          waive any privileges.




          From: Martinez, Adam (CFPB)
          Sent: Sunday, March 2, 2025 3:33 PM
          Cc: Paoletta, Mark (CFPB)
          Subject: All Hands Message re: Work Required by Law


          Message from M ark Paoletta . Chief Legal Officer


          On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out
          any statutorily required work, as he set forth in his February 8th email.

          On February 8, 2025, you received an email from Acting Director Vought directing you to ha lt
          several classes of work un less "required by law" or expressly approved by the Acting Director.
          On February 1o, 2025, you received an email from Acting Director Vought directing you to
          reach out to me for the authorization required by the February 8 email. These measures were
          intended to ensure that new leadership could establish operational control over the agency
          while ensuring that it would continue to fu lfill its statutory duties. Many of you understood this
          and continued to perform functions required by law and sought approval from me to perform
          work, which I have promptly granted.


          It has come to my attention, however, that some employees have not been performing
          statutorily required work. Let me be clear: Employees should be performing work that is
          required by law and do not need to seek prior approval to do so. If you have any questions,
          please reach out to me immediately, and I will promptly give you an answer and authorization
          if warranted. If you are aware of other employees that are needed to assist you in perfo rming a
          statutorily required task but are not doing so, please raise this with me immediately.

          Thank you for your attention to this matter.


          Mark Paoletta
          Chief Legal Officer
          CFPB




(Page 345 of Total)                                                                                CFPB_00058 JA340
           Case 1:25-cv-00381-ABJ Document 56-1                               Filed 03/04/25 Page 59 of 116
       USCA Case #25-5091    Document #2114200                                 Filed: 05/05/2025 Page 346 of 637

           From:           Paoletta, Mark (CFPB)
           To:             Warren, LaShaun (CFPB); Martinez, Adam (CFPB)
           Cc:              DL CFPB EA Mgmt; Shapiro, Daniel (CFPB)
           Subject:        RE: Statutory/Legal Required Work
           Date:           Sunday, March 2, 2025 5:13:01 PM



          Good afternoon, LaShaun,

          Thanks for reaching out. I will review your request in Number One and get back with you this week.
          Your requests 2-18 are approved.

          Thank you.

          Mark

          Mark Paoletta
          Chief Legal Officer
          CFPB




          From: Warren, LaShaun (CFPB)                                         >
          Sent: Sunday, March 2, 2025 3:41 PM
          To: Paoletta, Mark (CFPB)                                        Martinez, Adam (CFPB)

          Cc: _DL_CFPB_EA_Mgmt
          Subject: RE: Statutory/Legal Required Work

          Good afternoon,

          As a follow up to Adam’s request to identify work areas that should continue at this time,
          EA is submitting the following. Please note the first item was previously submitted on
          Thursday, February 27th and requires submission by March 14, 2025

              1. Pursuant to the Federal Advisory Committee Act (5 U.S.C. § 10), the Consumer
                 Advisory Board’s (CAB) charter and Membership Balance Plan (MBP) are required to
                 be updated and submitted to the General Services Administration (GSA) by March 14,
                 2025. Attached are the draft documents for review and approval. The approval should
                 be from CFPB’s Director and Chief Legal Officer prior to submitting to the General
                 Services Administration’s Committee Management Secretariat, the CFPB’s House and
                 Senate authorizing committees, and the Librarian of Congress by March 14th. The
                 CFPB must also issue a Federal Register notice and post the two documents on the
                 CFPB’s public website as part of satisfying this obligation. Kimberley Medrano is
                 CFPB’s Committee Management Officer for the CAB and will liaise with GSA. Once

(Page 346 of Total)                                                                                CFPB_00059 JA341
           Case 1:25-cv-00381-ABJ Document 56-1                 Filed 03/04/25 Page 60 of 116
       USCA Case #25-5091    Document #2114200                   Filed: 05/05/2025 Page 347 of 637

                the attached documents have been approved, EA requests approval for Kimberley
                Medrano, Patrick O’Brien and LaShaun Warren to complete this request.
             2. The Digital Communications team has identified CFPB data and records that are at
                risk of being deleted due to the contract termination. EA requests approval for Liane
                Fiano (Staff Director, Digital Communications) to work with Cybersecurity,
                Procurement and Finance to restore CFPB’s social media records and ensure
                compliance to the records retention requirements [44 U.S.C. §3301]
             3. External Affairs seeks approval to monitor EA mailboxes for official correspondence
                from stakeholders, including letters to the Acting Director, petitions, and meeting
                requests; acknowledge receipt of official correspondence from stakeholders; and to
                draft CFPB updates to the Acting Director summarizing requests and proposed
                response. [12 U.S.C. § 5493(f)(3), 12 U.S.C. § 5493(c)(2), 12 U.S.C. § 5493(d)(2), 12
                U.S.C. § 5493(e)(1), and 12 U.S.C. §5493(e)]. This will also allow us to ensure that any
                emails that should be construed as FOIA requests are properly handled in accordance
                with our statutory transparency obligations. [5 U.S.C. §552]
             4. EA seeks approval to review and process incoming messages from the news media to
                ensure that any emails that should be construed as FOIA requests are properly
                handled in accordance with our statutory transparency obligations. [5 U.S.C. §552]
             5. External Affairs seeks approval to monitor EA mailboxes for official correspondence
                from stakeholders, including letters to the Acting Director, petitions, and meeting
                requests; acknowledge receipt of official correspondence from stakeholders; and to
                draft CFPB updates to the Acting Director summarizing requests and proposed
                response. [12 U.S.C. § 5493(f)(3), 12 U.S.C. § 5493(c)(2), 12 U.S.C. § 5493(d)(2), 12
                U.S.C. § 5493(e)(1), and 12 U.S.C. §5493(e)]. This will also ensure that any emails
                construed as FOIA requests are properly handled in accordance with our statutory
                transparency obligations. [5 U.S.C. §552]
             6. External Affairs seeks approval to work with Consumer Response to coordinate with
                FTC and other federal and state agencies to route complaints and access the
                consumer portal, where appropriate [(12 U.S.C. § 5493(b)(3)]
             7. External Affairs seeks approval to facilitate sharing consumer complaint information
                with prudential regulators, the Federal Trade Commission, other Federal agencies,
                and State agencies, subject to the standards applicable to Federal agencies for
                protection of the confidentiality of personally identifiable information and for data
                security and integrity [12 U.S.C. § 5493(b)(3)(D)]
             8. External Affairs seeks approval to coordinate with colleagues in the Office of Older
                Americans, the Office of Fair Lending and Equal Opportunity, the Office of Financial
                Education, and the Office of Servicemember Affairs, to fulfill statutory enforcement
                and public engagement requirements to work with other federal agencies and State
                regulators, private industry, fair lending, civil rights, consumer and community
                advocates on the promotion of fair lending compliance and education, consumer
                advocates, community organizations, civil rights organizations, non-profit
                organizations, and other relevant entities that fall under the responsibility of EA [12
                U.S.C. § 5493(f)(3), 12 U.S.C. § 5493(c)(2), 12 U.S.C. § 5493(d)(2), 12 U.S.C. § 5493(e)
                (1), and 12 U.S.C. §5493(e)].
             9. External Affairs seeks approval to coordinate with colleagues approved for work in


(Page 347 of Total)                                                                        CFPB_00060 JA342
           Case 1:25-cv-00381-ABJ Document 56-1                 Filed 03/04/25 Page 61 of 116
       USCA Case #25-5091    Document #2114200                   Filed: 05/05/2025 Page 348 of 637

                CRE, SEFL, Enforcement, and RMR to support their market monitoring
                requirements in Dodd-Frank. The Digital Communications team is responsible for
                social media monitoring and may need to reinstate the social media monitoring
                contract to ensure that teams are appropriately able to monitor trends in the market.
                [12 U.S.C. § 5512(c)(1)
            10. External Affairs seeks approval to coordinate with colleagues in Design and
                Development to continue work required under the 21st Century IDEA Act and
                supporting OMB guidance which dictates requirements for all government websites,
                including related to accessibility from Section 508 of the Rehabilitation Act of 1973.
                [29 U.S.C. 794d, 44 U.S.C. §3501 and OMB Memo M-23-22]
            11. External Affairs seeks approval to coordinate with colleagues in Design and
                Development to continue work to ensure the public can access statutorily required
                web content. [See attached]
            12. External Affairs seeks approval to coordinate with colleagues in Financial Education
                to implement initiatives intended to educate and empower consumers, such as a
                digital financial toolkit for recently terminated financial employees seeking financial
                assistance with bills, in alignment with Financial Education requirements within
                Dodd-Frank. [12 U.S.C. § 5493(d)(2)]
            13. External Affairs seeks approval to coordinate with other regulators including the
                Commission, the Commodity Futures Trading Commission, the Federal Trade
                Commission, and other Federal agencies and State regulators, as appropriate, to
                promote consistent regulatory treatment of consumer financial and investment
                products and services [12 U.S.C. § 5495 and 12 U.S.C. § 5496(c)].
            14. External Affairs seeks approval to collaborate with colleagues in Supervision and
                Examinations to coordinate examinations and supervisory activities with the
                supervisory activities conducted by prudential regulators and the State bank
                regulatory authorities [12 U.S.C. §5514(b); 12 U.S.C. §5515(a), 12 U.S.C. §5515(e)].
            15. External Affairs seeks approval to coordinate with Regulations once rulemaking
                recommences to allow for information flow between stakeholders and Bureau
                decision makers regarding agency rules (in proposed and finalized form) [12 U.S.C.
                §5512(b)].
            16. External Affairs seeks approval to engage stakeholders to support markets teams in
                their statutorily mandated market monitoring activities [12 U.S.C. §5493(b) and 5512
                (c)].
            17. External Affairs seeks approval to collaborate with Supervision and Enforcement staff
                to identify opportunities for stakeholders to share information about patterns and
                practices consumers are experiencing that may violate the law [12 U.S.C. §5515 and
                §5516].
            18. External Affairs seeks approval to work with offices within RMR who have been
                approved by CFPB leadership to begin market monitoring functions including by
                conducting outreach to stakeholders that fall under the responsibility of EA [12 U.S.C.
                § 5493(f)(3), 12 U.S.C. § 5493(c)(2), 12 U.S.C. § 5493(d)(2), 12 U.S.C. § 5493(e)(1),
                and 12 U.S.C. §5493(e)].

          We look forward to hearing your thoughts on continuing the work outlined above.


(Page 348 of Total)                                                                        CFPB_00061 JA343
           Case 1:25-cv-00381-ABJ Document 56-1                    Filed 03/04/25 Page 62 of 116
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 349 of 637

          Thanks,

          LaShaun Warren
          Deputy Associate Director, External Affairs
                          - Mobile


          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the
          mistake and delete the e-mail and any attachments. An inadvertent disclosure is not intended
          to waive any privileges.

          From: Warren, LaShaun (CFPB)
          Sent: Thursday, February 27, 2025 7:12 PM
          To: Martinez, Adam (CFPB)
          Cc: O'Brien, Patrick (CFPB)
          Subject: RE: Statutory/Legal Required Work

          Hi Adam,

          Thanks for sending the email.

          While the February 8, 2025 email from Acting Director Russ Vought outlined specific
          activities employees could not participate in unless expressly approved, the February 9,
          2025 email from Acting Director Vought (attached and copied below) indicated employees
          should “not perform any work tasks.”

          Over the last few weeks, External Affairs received and supported several “approved”
          requests including (1) reviewing contracts for termination, (2) terminating the advisory
          councils and (3) prepping and packing 1700 G Street due to the termination of the lease. In
          addition, earlier today Patrick O’Brien and I discussed the requirement to update the
          Consumer Advisory Boards charter and Membership Balance Plan by March 15, 2025. As a
          result, Patrick sent an email to Mark Paoletta (copied) at 2:47pm seeking guidance.
          Unfortunately, you were not copied on the email so please accept my apologies. The
          documents must be reviewed and approved by CFPB’s Director and Chief Legal Officer
          prior to submitting to the General Services Administration’s Committee Management
          Secretariat, the CFPB’s House and Senate authorizing committees, and the Librarian of
          Congress by March 14th. The CFPB must also issue a Federal Register notice and post the
          two documents on the CFPB’s public website as part of satisfying this obligation. The
          documents were previously cleared several weeks ago but recognize current leadership will
          likely want to review. Please let us know who these documents should be submitted to and
          the desired process to obtain approval.

          This is the only immediately required statutorily required activity that I am aware of. I have
          polled my leadership team to see if there are any other urgent requests.

          As you are aware, we are dedicated public servants ready to engage and serve the American
          people at any time. In the meantime, unless otherwise directed, we will abide by the
          guidance issued and will continue to raise items that are statutorily mandated.

          Thank you for your continued support.

          From: Vought, Russell

(Page 349 of Total)                                                                            CFPB_00062 JA344
           Case 1:25-cv-00381-ABJ Document 56-1                      Filed 03/04/25 Page 63 of 116
       USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 350 of 637

          Sent: Monday, February 10, 2025 8:30 AM
          To: _DL_CFPB_AllHands <
          Subject: Additional Directives on Bureau Activities

          Good morning, CFPB staff,



                                                                                                 -
          As you have been informed by the Chief Operating Officer in an email yesterday, the Bureau’s DC
          headquarters building is closed this week. Employees should not come into the office. Please do not
          perform any work tasks. If there are any urgent matters, please alert me through Mark Paoletta,
          Chief Legal Officer, to get approval in writing before performing any work task. His email is
                                      Otherwise, employees should stand down from performing any work task.
          Thank you for your attention on this matter.
          Best,
          Russ Vought
          Acting Director
          Bureau of Consumer Financial Protection



          LaShaun Warren
          Deputy Associate Director, External Affairs
                          - Mobile

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the
          mistake and delete the e-mail and any attachments. An inadvertent disclosure is not intended to
          waive any privileges.

          From: Martinez, Adam (CFPB)
          Sent: Thursday, February 27, 2025 4:47 PM
          To: Warren, LaShaun (CFPB)
          Subject: Statutory/Legal Required Work

          Hi LaShaun – Good afternoon.

          Thank you for your patience as we continue through transition and our new
          leadership’s review of the Bureau.

          On February 8 (email attached), our Acting Director outlined several areas where
          work stoppage was being implemented at the Bureau including work conducted by
          External Affairs. He did exclude areas approved by him or required by law including
          statutory requirements.

          We want to ensure that you are aware that you may reach out to Mark Paoletta, Chief
          Legal Officer with any questions regarding required reports or products you believe
          should continue at this time. Any actions or communications with outside parties
          must be sent to Mark and Daniel Shapiro, Deputy Chief Legal Officer.

          Should you have any questions at all, please feel free to contact our Chief Legal Officer

(Page 350 of Total)                                                                                CFPB_00063 JA345
           Case 1:25-cv-00381-ABJ Document 56-1             Filed 03/04/25 Page 64 of 116
       USCA Case #25-5091    Document #2114200               Filed: 05/05/2025 Page 351 of 637

          as directed by the Acting Director. Alternatively, you are always welcome to reach out
          to me if needed. I am happy to share guidance provided to other leaders and
          employees regarding authorized work, including my own team.

          Thank you for your support.

          Adam

          Adam Martinez
          Chief Operating Officer




(Page 351 of Total)                                                                  CFPB_00064 JA346
           Case 1:25-cv-00381-ABJ Document 56-1                                 Filed 03/04/25 Page 65 of 116
       USCA Case #25-5091    Document #2114200                                   Filed: 05/05/2025 Page 352 of 637

           From:           Paoletta, Mark (CFPB)
           To:             Johnson, Christopher (CFPB); Martinez, Adam (CFPB)
           Cc:             Dorsey, Darian (CFPB)
           Subject:        Re: All Hands Message re: Work Required by Law
           Date:           Sunday, March 2, 2025 8:10:41 PM


          Hi Christopher,
          Thanks for reaching out. Yes, please reactivate staff to support your work and to reach out to
          stakeholders.
          Thanks.
          Mark

          From: Johnson, Christopher (CFPB)
          Sent: Sunday, March 2, 2025 8:06:01 PM
          To: Martinez, Adam (CFPB)
          Cc: Paoletta, Mark (CFPB)                                      ; Dorsey, Darian (CFPB)

          Subject: RE: All Hands Message re: Work Required by Law

          Hi Mark,

          Thank you for providing clarity about performing work required by law.

          Consistent with your direction and in light of our statutory obligations to conduct financial education
          programs (Section 1021(c)(1)) and to collect, investigate, and respond to consumer complaints
          ((Section 1021(c)(2)), the Division of Consumer Response and Education will take steps to reactivate
          all staff full-time. This includes staff that perform statutorily mandated work and the small number
          of staff that provide critical support for these efforts (e.g., quality assurance audits, access
          management). I plan to communicate this direction to staff early tomorrow morning.

          Those staff activated with your approval last Thursday (see attached) are continuing that work. From
          the complaint handling assessment, we have already determined that we have a backlog of requests
          from complaint process stakeholders, including companies, federal and state agencies, congressional
          offices, and others. Consistent with Acting Director’s February 8th email, we are seeking your
          approval to engage these external stakeholders to address their concerns.

          Please let me know if you have questions or concerns.



          Christopher Johnson
          Associate Director | Division of Consumer Response and Education
          Office:                 | Mobile:

          Bureau of Consumer Financial Protection
          consumerfinance.gov




(Page 352 of Total)                                                                                  CFPB_00065 JA347
           Case 1:25-cv-00381-ABJ Document 56-1                               Filed 03/04/25 Page 66 of 116
       USCA Case #25-5091    Document #2114200                                 Filed: 05/05/2025 Page 353 of 637

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.




          From: Martinez, Adam (CFPB)
          Sent: Sunday, March 2, 2025 3:33 PM
          Cc: Paoletta, Mark (CFPB)                         >
          Subject: All Hands Message re: Work Required by Law

          Message from Mark Paoletta, Chief Legal Officer

          On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out any
          statutorily required work, as he set forth in his February 8th email.

          On February 8, 2025, you received an email from Acting Director Vought directing you to halt several
          classes of work unless “required by law” or expressly approved by the Acting Director. On February
          10, 2025, you received an email from Acting Director Vought directing you to reach out to me for the
          authorization required by the February 8 email. These measures were intended to ensure that new
          leadership could establish operational control over the agency while ensuring that it would continue
          to fulfill its statutory duties. Many of you understood this and continued to perform functions required
          by law and sought approval from me to perform work, which I have promptly granted.

          It has come to my attention, however, that some employees have not been performing statutorily
          required work. Let me be clear: Employees should be performing work that is required by law and do
          not need to seek prior approval to do so. If you have any questions, please reach out to me
          immediately, and I will promptly give you an answer and authorization if warranted. If you are aware
          of other employees that are needed to assist you in performing a statutorily required task but are not
          doing so, please raise this with me immediately.

          Thank you for your attention to this matter.

          Mark Paoletta
          Chief Legal Officer
          CFPB




(Page 353 of Total)                                                                                            CFPB_00066 JA348
            Case 1:25-cv-00381-ABJ Document 56-1                                Filed 03/04/25 Page 67 of 116
        USCA Case #25-5091    Document #2114200                                  Filed: 05/05/2025 Page 354 of 637


  ------------------
  From:                                   Paoletta, Mark (CFPB)
  Sent:                                   Sunday, March 02, 2025 8:11 PM
  To:                                     Johnson, Christopher (CFPB); Martinez, Adam (CFPB)
  Cc:                                     Dorsey, Darian (CFPB)
  Subject:                                Re: All Hands Message re: Work Required by Law



  Hi Christopher,
  Thanks for reaching out. Yes, please react ivate staff to support your work and to reach out to
  stakeholders.
  Thanks.
  Mark

  From: Johnson, Christopher (CFPB)
  Sent: Sunday, March 2, 2025 8:06:01 PM
  To: Martinez, Adam (CFPB)
  Cc: Paoletta, Mark (CFPB)                          ; Dorsey, Darian (CFPB)
  Subject: RE: All Hands Message re: Work Required by Law

   Hi Mark,

  Thank you for providing clarity about performing work required by law.

  Consistent with your direction and in light of our statutory obligations to conduct financial education programs (Section
  1021(c}{1}) and to collect, investigate, and respond to consumer complaints ((Section 1021(c}{2}), the Division of
  Consumer Response and Education will take steps to reactivate all staff full-time. This includes staff that perform
  statutorily mandated work and the small number of staff that provide critical support for these efforts (e.g., quality
  assurance audits, access management). I plan to communicate this direction to staff early tomorrow morning.

  Those staff activated with your approval last Thursday (see attached) are continuing that work. From the complaint
  handling assessment, we have already determined that we have a backlog of requests from complaint process
  stakeholders, including companies, federal and state agencies, congressional offices, and others. Consistent with Acting
  Director's February 8th email, we are seeking your approval to engage these external stakeholders to address their
  concerns.

   Please let me know if you have questions or concerns.



  Christopher Johnson
  Associate Director I Division of Consumer Response and Education
  Office: I             11Mobile:     I         I
  Bureau of Consumer Financial Protection
  consumerfinance.gov



  Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the e-mail and any
  attachments. An inadvertent disclosure is not intended to waive any privileges.

                                                                      1
(Page 354 of Total)                                                                                               CFPB_00067 JA349
           Case 1:25-cv-00381-ABJ Document 56-1                      Filed 03/04/25 Page 68 of 116
       USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 355 of 637




  From: Martinez, Adam (CFPB) <
  Sent: Sunday, March 2, 2025 3:33 PM
  Cc: Paoletta, Mark (CFPB)


  Message from Mark Paoletta, Chief Legal Officer

  On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out any statutorily
  required work, as he set forth in his February 8th email.

  On February 8, 2025, you received an email from Acting Director Vought directing you to halt several classes of
  work unless “required by law” or expressly approved by the Acting Director. On February 10, 2025, you received an
  email from Acting Director Vought directing you to reach out to me for the authorization required by the February 8
  email. These measures were intended to ensure that new leadership could establish operational control over the
  agency while ensuring that it would continue to fulfill its statutory duties. Many of you understood this and
  continued to perform functions required by law and sought approval from me to perform work, which I have
  promptly granted.

  It has come to my attention, however, that some employees have not been performing statutorily required work.
  Let me be clear: Employees should be performing work that is required by law and do not need to seek prior
  approval to do so. If you have any questions, please reach out to me immediately, and I will promptly give you an
  answer and authorization if warranted. If you are aware of other employees that are needed to assist you in
  performing a statutorily required task but are not doing so, please raise this with me immediately.

  Thank you for your attention to this matter.

  Mark Paoletta
  Chief Legal Officer
  CFPB




                                                            2
(Page 355 of Total)                                                                               CFPB_00068 JA350
           Case 1:25-cv-00381-ABJ Document 56-1                                    Filed 03/04/25 Page 69 of 116
       USCA Case #25-5091    Document #2114200                                      Filed: 05/05/2025 Page 356 of 637

          From:               Correal, Dubis (CFPB)
          To:                 Martinez, Adam (CFPB): Carmer. Alan (CFPB): Johnson. Christopher (CFPB)
          Cc:                 Paoletta, Mark (CFPB): DL CFPB CRE FinEd FinEd All
          Subject:            RE: All Hands Message re: Work Required by Law
          Date:               Monday, March 3, 2025 8:20:30 AM



          Hi Adam and Alan,

          Chris sent an email this morning reactivating the work of the Division, including the Office of
          Financial Education.



          Dubis Correa!
          Deputy Assistant Director I Office of Financial Education
          Mobile:

          Consumer Financial Protection Bureau
          consumerfinance.gov

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.




          From: Martinez, Adam (CFPB)
          Sent: Monday, March 3, 2025 8:16 AM
          To: Carmer, Alan (CFPB)                                        Johnson, Christopher (CFPB)

                                                                            ; _DL_CFPB_CRE_FinEd_FinEd_AII

          Subject: RE: All Hands Message re: Work Required by Law


          Alan-

          I'd recommend that you check-in with your Associate Director this morning to
          discuss. Chris has the autholity needed to continue the statut01ily required work
          under his division.

          Adam

          Adam Martinez
          Chief Operating Officer

          From: Carmer, Alan (CFPB)
          Sent: Monday, March 3, 2025 3:15 AM
          To: Martinez, Adam (CFPB)
          Cc: Paoletta, Mark (CFPB)                                         ; _DL_CFPB_CRE_FinEd_FinEd_AII




(Page 356 of Total)                                                                                            CFPB_00069 JA351
           Case 1:25-cv-00381-ABJ Document 56-1                       Filed 03/04/25 Page 70 of 116
       USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025 Page 357 of 637

          Subject: RE: All Hands Message re: Work Required by Law

          Mr. Martinez,

          I believe all the work in the Office of Financial Education is statutolily authorized and mandated.
          Please make clear whether the Office of Financial Education staff should resume their assigned
          duties to improve the financial literacy of consumers. A general outline of statutory responsibilities
          follows:

             • 12 USC§ 5411 (c)(l) states that "conducting financial education programs" is the first of
               several "primary fhnctions" of the CFPB. This work has been halted and should resume.
             • 12 USC.§ 5493(d) requires the Office of Financial Education to develop and ;mplement a
               strategy to improve the financial literacy of consumers. This work has been halted and
               shoulcl resume.
             • 12 U.S.C. § 5493(d)(2) states the office shall implement activities in several areas including
               financial counseling, savings, understanding credit scores, and debt strategies. This work has
               been halted and shoulcl resume.
             • 12 USC. 5493(d)(2) (D)(W) states the office shall implement activities to "improve the
               financial siniation of the consumer." This work has been haltecl ancl should resume.
             • 12 USC. 5493(d)(3) requires staff to coordinate with other units in the bureau and
               specifically lists the Consumer Affairs Office and the resear·ch unit. This work has been
                haltecl ancl should resume.
             • (see 20 US. C § 9702) Financial Literacy and Education Commission (FLEC).
                   o 20 USC§ 9702(d) states that the Director of the CFPB serves as the co-Chair of the
                      Financial Literacy and Education Comrnission (FLEC) with the Treasmy Secreta1y as
                      the chair.
                   o 20 USC. § 9702(c)(l) states that the FLEC comprises representatives from 23 federal
                      agencies and the White House Domestic Policy Council.
                   o 20 USC§ 9702(e) states the FLEC must hold a public meeting eve1y 4 months. The
                      last meeting was on 11/ l 4/2024. Staff planning for the next m eeting has been
                       halted ancl should resume.
                      o 12 US.C. § 5493(d)(2) states the Office of Financial Education must work in
                        consultation with the FLEC. This work has been haltecl and should resume.
             • 12 US. C. § 5493(d)(4) requires ar1 annual repo1t to Congress on the CFPB's strategy and
               activities to improve financial literacy. This work has been haltecl and should resume.

          I have se1ved through each change of administration in the CFPB and folly expect any new director
          or acting director to communicate new p1iolities through management. Indeed, the Office of
          Financial Education has experienced multiple reorgartizations and has been in at least 3 different
          divisions as p1iolities evolve with changes in leadership. Each reorganization was dismptive in its
          own way, but our work was never halted entirely as it seems to be now.

          Again, please clar·ify that Office of Financial Education staff should resume their assigned duties to
          improve the financial literacy of consumers until new leadership is able to clearly co1nnnmicate a
          change in financial education p1io1ities.

          The plima1y stanite relied upon to establish the Office of Financial Education is copied below the

(Page 357 of Total)                                                                                 CFPB_00070 JA352
           Case 1:25-cv-00381-ABJ Document 56-1                               Filed 03/04/25 Page 71 of 116
       USCA Case #25-5091    Document #2114200                                 Filed: 05/05/2025 Page 358 of 637

          signature for reference.

          Alan S. Carmer
          Attorney-Advisor
          Office of Financial Education
          Mobile:

          Consumer Financial Protection Bureau
          consumerfinance.gov

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadve1tent disclosure is not intended to waive any p1ivileges.




          12 U.S.C. § 5493(d)
          (J)Estabhshment
          The Director shall establish an Office ofFinancial Education, which shall be responsible for
          developing and implementing initiatives intended to educate and empower consumers to make better
          informed financial decisions.

          (2)Other duties
          The Office ofFinancial Education shall develop and implement a strategy to improve the financial
          literacy ofconsumers that includes measurable goals and objectives, in consultation with the
          Financial Literacy and Education Commission, consistent with the National Strategy for Financial
          Literacy, through activities including providing opportunities for consumers to access-
          (A)financial counseling, including community-basedfinancial counseling, where practicable;
          (B)information to assist with the evaluation ofcredit products and the understanding ofcredit
          histories and scores;
          (C)savings, borrowing, and other services found at mainstream financial institutions;
          (D)activities intended t~
          (i)prepare the consumer for educational expenses and the submission offinancial aid applications,
          and other major purchases;
          (ii)reduce debt; and
          (iii)improve the financial situation ofthe consumer;
          (E)assistance in developing long-term savings strategies; and
          (F)wealth building andfinancial services during the preparation process to claim eamed income tax
          credits and Federal benefits.
          (3)Coordination
          The Office ofFinancial Education shall coordinate with other units within the Bureau in carrying
          out its fimctions, including-
          (A)'working with the Community Affairs Office to implement the strategy to improve financial
          literacy ofconsumers; and
          (B)working with the research unit established by the Director to conduct research related to
          consumer financial education and counseling.
          (4)Report
          Not later than 24 months after the designated transfer date, and annually thereafter, the Director
          shall submit a report on its financial literacy activities and strategy to improve financial literacy of
          consumers t ~
          (A)the Committee on Banking, Housing, and Urban Affairs ofthe Senate; and
          (B)the Committee on Financial Services ofthe House ofRepresentatives.



(Page 358 of Total)                                                                                            CFPB_00071 JA353
           Case 1:25-cv-00381-ABJ Document 56-1                     Filed 03/04/25 Page 72 of 116
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 359 of 637




          From: Martinez, Adam (CFPB)
          Sent: Sunday, March 2, 2025 12:33 PM
          Cc: Paoletta, Mark (CFPB)
          Subject: All Hands Message re: Work Required by Law


          Message from Mark Paoletta, Chief Legal Officer


          On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out
          any statutorily required work, as he set forth in his February 8th email.

          On February 8, 2025, you received an email from Acting Director Vought directing you to ha lt
          several classes of work unless "required by law" or expressly approved by the Acting Director.
          On February 10, 2025, you received an email from Acting Director Vought directing you to
          reach out to me for the authorization required by the February 8 email. These measures were
          intended to ensure that new leadership could establish operational control over the agency
          while ensuring that it would continue to fulfill its statutory duties. Many of you understood this
          and continued to perform functions required by law and sought approval from me to perform
          work, which I have promptly granted.


          It has come to my attention, however, that some employees have not been performing
          statutorily required work. Let me be clear: Employees should be performing work that is
          required by law and do not need to seek prior approval to do so. If you have any questions,
          please reach out to me immediately, and I will promptly give you an answer and authorization
          if warranted. If you are aware of other employees that are needed to assist you in performing a
          statutorily required task but are not doing so, please raise this with me immediately.


          Thank you for your attention to this matter.


          Mark Paoletta
          Chief Legal Officer
          CFPB




(Page 359 of Total)                                                                             CFPB_00072 JA354
           Case 1:25-cv-00381-ABJ Document 56-1                                  Filed 03/04/25 Page 73 of 116
       USCA Case #25-5091    Document #2114200                                    Filed: 05/05/2025 Page 360 of 637

          From:              Johnson. Christopher (CFPB)
          To:                Martinez. Adam (CFPB): Carmer. Alan (CFPB)
          Cc:                Paoletta, Mark (CFPB): DL CFPB CRE FinEd FinEd All : Dorsey. Darian (CFPB)
          Subject:           RE: All Hands Message re: Work Required by Law
          Date:              Monday, March 3, 2025 8 :20:47 AM


          Thank you for looping me in, Adam. Good morning, Alan. Please note an email was shared wit h all
          CRE Staff, including you at 6AM, that you are activated for work. Specific guidance will be shared
          with Dubis Correa I this AM who will relay that in Fin Ed's Monday morning team meeting. Feel free
          to reach out to me direct ly if you have any questions.


          From: Martinez, Adam (CFPB)
          Sent: Monday, March 3, 2025 8:16 AM
          To: Carmer, Alan (CFPB)                                     ; Johnson, Christopher (CFPB)

                                                                         >; _DL_CFPB_CRE_FinEd_FinEd_AII

          Subject: RE : All Hands Message re: Work Required by Law


          Alan-

          I'd recommend that you check-in with your Associate Director this morning to
          discuss. Chris has the authority needed to continue the statutorily required work
          under his division.

          Adam

          Adam Martinez
          Chief Operating Officer

          From: Carmer, Alan (CFPB)
          Sent: Monday, March 3, 2025 3:15 AM
          To: Martinez, Adam (CFPB)
          Cc: Paoletta, Mark (CFPB)                                       ; _DL_CFPB_CRE_FinEd_FinEd_AII

          Subject: RE: All Hands Message re: Work Required by Law

          Mr. Martinez,

          I believe all the work in the Office of Financial Education is stan1to1ily authorized and mandated.
          Please make clear whether the Office of Financial Education staff should resume their assigned
          duties to improve the financial literacy of consumers. A general outline of statuto1y responsibilities
          follows:

                • 12 US. C § 5411 (c)(l) states that "conducting financial education programs" is the first of
                  several "plima1y functions" of the CFPB. This work has been halted and should resume.
                • 12 USC.§ 5493(d) requires the Office of Financial Education to develop and implement a


(Page 360 of Total)                                                                                        CFPB_00073 JA355
           Case 1:25-cv-00381-ABJ Document 56-1                               Filed 03/04/25 Page 74 of 116
       USCA Case #25-5091    Document #2114200                                 Filed: 05/05/2025 Page 361 of 637

                  strategy to improve the fmancial literacy of consumers. This work has been halted and
                  should resume.
              •   12 U.S.C. § 5493(d)(2) states the office shall implement activities in several areas including
                  financial counseling, savings, understanding credit scores, and debt strategies. This work has
                been halted and shoulcl resume.
              • 12 US. C. 5493(d)(2)(D)(W) states the office shall implement activities to "improve the
                financial situation of the consmner." This work has been haltecl ancl should resume.
              • 12 US.C. 5493(d)(3) requires staff to coordinate with other units in the bureau and
                specifically lists the Consumer Affairs Office and the research unit. This work has been
                haltecl ancl should resume.
              • (see 20 US.C § 9702) Financial Literacy and Education Commission (FLEC).
                    o 20 USC§ 9702(d) states that the Director of the CFPB serves as the co-Chair of the
                        Financial Literacy and Education Commission (FLEC) with the Treasmy Secretaty as
                        the chair.
                      o 20 US. C. § 9702(c)(l) states that the FLEC complises representatives from 23 federal
                        agencies and the White House Domestic Policy Council.
                      o 20 US. C § 9702(e) states the FLEC must hold a public meeting eve1y 4 months. The
                        last meeting was on 11/l 4/2024. Staff planning for the next meeting has been
                        halted ancl should resume.
                     o 12 US.C. § 5493(d)(2) states the Office of Financial Education must work in
                         consultation with the FLEC. This work has been haltecl ancl should resume.
              • 12 US.C. § 5493(d)(4) requires an annual repo1t to Congress on the CFPB 's strategy and
                activities to improve financial literacy. This work has been haltecl and should resume.

          I have se1ved through each change of administration in the CFPB and fully expect any new director
          or acting director to communicate new p1io1ities through management. Indeed, the Office of
          Financial Education has experienced multiple reorganizations and has been in at least 3 different
          divisions as p1i olities evolve with changes in leadership. Each reorganization was disrnptive in its
          own way, but our work was never halted entirely as it seems to be now.

          Again, please clarify that Office of Financial Education staff should resume their assigned duties to
          improve the financial literacy of consumers until new leadership is able to clearly communicate a
          change in financial education plio1ities.

          The p1ima1y statute relied upon to establish the Office of Financial Education is copied below the
          signature for reference.

          Alan S. Carmer
          Attorney-Advisor
          Office of Financial Education
          Mobile:

          Consumer Financial Protection Bureau
          consumerfinance.gov

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadve1tent disclosure is not intended to waive any p1ivileges.



(Page 361 of Total)                                                                                            CFPB_00074 JA356
           Case 1:25-cv-00381-ABJ Document 56-1                       Filed 03/04/25 Page 75 of 116
       USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025 Page 362 of 637




          12 U.S.C. § 5493(d)
          (l)Establishment
          The Director shall establish an Office ofFinancial Education, which shall be responsible for
          developing and implementing initiatives intended to educate and empower consumers to make better
          informed financial decisions.

          (2)Other duties
          The Office ofFinancial Education shall develop and implement a strategy to improve the financial
          literacy ofconsumers that includes measurable goals and objectives, in consultation with the
          Financial Literacy and Education Commission, consistent with the National Strategy for Financial
          Literacy, through activities including providing opportunities for consumers to access-
          (A)financial counseling, including community-basedfinancial counseling, where practicable;
          (B)information to assist with the evaluation ofcredit products and the understanding ofcredit
          histor;es and scores;
          (C)savings, borrowing, and other services found at mainstream financial institutions;
          (D)activities intended to-
          (i)prepare the consumer for educational e:xpenses and the submission offinancial aid applications,
          and other major purchases;
          (h)reduce debt; and
          (hi)improve the financial situation ofthe consumer;
          (E)assistance in developing long-term savings strategies; and
          (F)wealth building and financial services during the preparation process to claim earned income tax
          credits and Federal benefits.
          (3)Coordination
          The Office ofFinancial Education shall coordinate with other units within the Bureau in carrying
          out its fimctions, including-
          (A)working with the Community Affairs Office to implement the strategy to improve financial
          literacy ofconsumers; and
          (B)working with the research unU established by the Director to conduct research related to
          consumer financial education and counseling.
          (4)Report
          Not later than 24 months after the designated transfer date, and annually thereafter, the Director
          shall submit a report on its financial literacy activities and strategy to improve financial literacy of
          consumers to-
          (A)the Committee on Banking, Housing, and Urban Affairs ofthe Senate; and
          (B)the Committee on Financial Services ofthe House ofRepresentatives.




          From: Martinez, Adam (CFPB)
          Sent: Sunday, March 2, 2025 12:33 PM
          Cc: Paoletta, Mark (CFPB)
          Subject: All Hands Message re: Work Req uired by Law


          Message from Mark Paoletta. Chief Legal Officer




(Page 362 of Total)                                                                                 CFPB_00075 JA357
           Case 1:25-cv-00381-ABJ Document 56-1                     Filed 03/04/25 Page 76 of 116
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 363 of 637

          On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out
          any statutorily required work, as he set forth in his February 8th email.

          On February 8, 2025, you received an email from Acting Director Vought directing you to halt
          several classes of work unless “required by law” or expressly approved by the Acting Director.
          On February 10, 2025, you received an email from Acting Director Vought directing you to
          reach out to me for the authorization required by the February 8 email. These measures were
          intended to ensure that new leadership could establish operational control over the agency
          while ensuring that it would continue to fulfill its statutory duties. Many of you understood this
          and continued to perform functions required by law and sought approval from me to perform
          work, which I have promptly granted.

          It has come to my attention, however, that some employees have not been performing
          statutorily required work. Let me be clear: Employees should be performing work that is
          required by law and do not need to seek prior approval to do so. If you have any questions,
          please reach out to me immediately, and I will promptly give you an answer and authorization
          if warranted. If you are aware of other employees that are needed to assist you in performing a
          statutorily required task but are not doing so, please raise this with me immediately.

          Thank you for your attention to this matter.

          Mark Paoletta
          Chief Legal Officer
          CFPB




(Page 363 of Total)                                                                             CFPB_00076 JA358
           Case 1:25-cv-00381-ABJ Document 56-1                                 Filed 03/04/25 Page 77 of 116
       USCA Case #25-5091    Document #2114200                                   Filed: 05/05/2025 Page 364 of 637

          From:            Martinez. Adam (CFPB)
          To:              Adams. Danielle (CFPB): Michalosky. Martin (CFPB)
          Subject:         RE: FOIA Processing
          Dat e:           Monday, March 3, 2025 8:29:00 AM
          Attachments:     image001.png


          HI Danielle -

          Anyone involved in the FOIA process should comply with your team's request. When
          your team sends out request perhaps they can include a line that the work is legally
          required so the employee must comply.

          Let me know if that works.

          Thank you.

          Adam

          Adam Martinez
          Chief Operating Officer

          From: Adams, Danielle (CFPB)
          Sent: Monday, March 3, 2025 6:58 AM
          To: Martinez, Adam (CFPB)                                            M ichalosky, Martin (CFPB)

          Subject: RE : FOIA Processing
          Importance: High


          Adam ,


          Does your recent all hands mean that anyone who supports the FO IA Tea m will also be
          permitted to perform wo rk tasks? How shou ld I facilitate that process?


          Thanks,
          Danielle

          Danielle Duvall Adams
          she/ her/ hers
          FOIA M ~
          Mobile:. . . . . . . .

          Consumer Financial Protection Bureau
          consumerfinance.gov




(Page 364 of Total)                                                                                         CFPB_00077 JA359
           Case 1:25-cv-00381-ABJ Document 56-1                               Filed 03/04/25 Page 78 of 116
       USCA Case #25-5091    Document #2114200                                 Filed: 05/05/2025 Page 365 of 637




          cf                  Consumer Financial
                              Protection Bureau


          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadve1tent disclosure is not intended to waive any p1ivileges.




          From: Martinez, Adam (CFPB) <Adam.Martinez@cfpb.goV>
          Sent: Thursday, February 27, 2025 1:25 PM
          To: Michalosky, Martin (CFPB) <Martin.Michalosky@cfpb.gov>; Adams, Danielle (CFPB)
          <Danielle.Adams@cfpb.gov>
          Subject: FOIA Processing


          Hi Marty and Danielle -

          I just spoke with Marty and FOIA has the green light to continue processing requests.
          Anyone on your team are autho1ized to perform the work.

          Thank you.

          Adam

          Adam Martinez
          Chief Operating Officer




(Page 365 of Total)                                                                                            CFPB_00078 JA360
           Case 1:25-cv-00381-ABJ Document 56-1                                Filed 03/04/25 Page 79 of 116
       USCA Case #25-5091    Document #2114200                                  Filed: 05/05/2025 Page 366 of 637

          From:               Johnson. Christopher (CFPB)
          To:                 Martinez. Adam (CFPB)
          Subject:            FW: All Hands Message re: Work Required by Law
          Date:               Monday, March 3, 2025 8:37:35 AM


          Information share, sir. Thanks, and let me know if you have any questions. I w ill be working w ith t he
          teams throughout t he day to ensure compliance.


          From: Johnson, Christopher {CFPB)
          Sent: Monday, March 3, 2025 5:59 AM
          To: - DL- CFPB- CRE- All
          Subject: FW: All Hands Message re: Work Required by Law


          Hello CRE Tearn,


          I hope you each are doing well. I'm reaching out this morning to share that the CFPB's Chief Legal
          Officer has approved the reactivation of all CRE team members full-time in accordance with the
          guidance below. For any potential exceptions, I will reach out to share guidance directly with
          managers and section leaders t his morning. As you resume your duties and normal work schedu les,
          I'm sure questions w ill arise, please share those questions with your immediate Supervisor or
          Section leaders. We will do our best to work to obtain answers in a t imely manner. I look forward to
          connecting w ith you soon. More importantly, t hank you for your contin ued and unwavering
          commitment and service to the millions of consumers the CRE division assist each year in navigating
          an evolving financial marketplace.


          Thanks,

          Christopher Johnson
          Associat e Director I Division of Consumer Response and Education
          Office:                  I Mobile:

          Bureau of ConsU111er Financial Protection
          consumerfinance.gov



          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadve1tent disclosure is not intended to waive any privileges.




          From: Paoletta, Mark {CFPB)
          Sent: Sunday, March 2, 2025 8:11 PM
          To: Johnson, Christopher {CFPB)                                              ; Martinez, Adam {CFPB)




(Page 366 of Total)                                                                                            CFPB_00079 JA361
           Case 1:25-cv-00381-ABJ Document 56-1                               Filed 03/04/25 Page 80 of 116
       USCA Case #25-5091    Document #2114200                                 Filed: 05/05/2025 Page 367 of 637

          Subject: Re: All Hands Message re: Work Req uired by Law

          Hi Christ opher,
          Thanks for reaching out. Yes, please reactivate staff to support your work and t o reach out t o
          stakeholders.
          Thanks.
          Mark

          From: Johnson, Christopher {CFPB)
          Sent: Sunday, March 2, 2025 8:06:01 PM
          To: Martinez, Adam {CFPB)
          Cc: Paolet ta, Mark (CFPB)                                    ; Dorsey, Darian (CFPB)


          Subject: RE: All Ha nds Message re: Work Req uired by Law

          Hi Mark,


          Thank you for providing clarity about performing work required by law.


          Consistent wit h your direction and in light of our statutory obligations to conduct fina ncial educat ion
          programs (Section 1021(c)(l}) and to collect, investigate, and respond to consumer complaint s
          ((Section 1021(c)(2}), t he Division of Consumer Response and Education w ill take steps to reactivate
          all st aff f ull-time. This includes staff t hat perform statutorily mandat ed work and the small number
          of st aff that provide crit ical support for these efforts (e.g., quality assurance audit s, access
          management). I plan t o communicat e this direction to st aff early t omorrow morning.


          Those staff activated wit h your approval last Thursday (see attached) are cont inuing t hat work. From
          the complaint handling assessment, we have already determined that we have a backlog of requests
          from complaint process stakeholders, including compa nies, federa l and state agencies, congressional
          offices, and others. Consist ent wit h Acting Director's February 8th email, we are seeking your
          approval to engage these external stakeholders to address their concerns.


          Please let me know if you have questions or concerns.



          Christopher J olmson
          Associat e Director I Division of Conswner Response and Education
          Office:                  I Mobile:

          Bureau of Consumer Financial Protection
          consumerfinance.gov


          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.




(Page 367 of Total)                                                                                            CFPB_00080 JA362
           Case 1:25-cv-00381-ABJ Document 56-1                      Filed 03/04/25 Page 81 of 116
       USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 368 of 637




          From: Martinez, Adam (CFPB)
          Sent: Sunday, March 2, 2025 3:33 PM
          Cc: Paolet ta, Mark (CFPB)
          Subject: All Hands Message re: Work Required by Law


          Message from Mark Paoletta, Chief Legal Officer


          On behalf of Acti ng Director Vought, I am writ ing to you to ensure that everyone is carrying out
          any statutorily required work, as he set forth in his February 8th email.

          On February 8, 2025, you received an email from Acting Director Vought directing you t o ha lt
          several classes of work unless "required by law" or expressly approved by the Acting Director.
          On February 10, 2025, you received an email from Acting Director Vought d irect ing you to
          reach out to me for the authorizat ion required by t he February 8 email. These measures were
          intended to ensure that new leadership could establish operational control over the agency
          while ensuring that it would continue t o fulfill its st atutory duties. Many of you underst ood this
          and conti nued to perform functions required by law and sought approval from me to perform
          work, wh ich I have promptly gra nted.


          It has come t o my attent ion, however, that some employees have not been performing
          statutorily required work. Let me be clear: Employees should be performing work that is
          required by law and do not need to seek prior approval to do so. If you have any questions,
          please reach out to me immediately, and I will promptly give you an answer and authorization
          if warrant ed. If you are aware of other employees that are needed to assist you in performing a
          statutorily required task but are not doing so, please raise t his with me immediately.


          Thank you for your attention to this matter.


          Mark Paoletta
          Chief Legal Officer
          CFPB




(Page 368 of Total)                                                                               CFPB_00081 JA363
           Case 1:25-cv-00381-ABJ Document 56-1                              Filed 03/04/25 Page 82 of 116
       USCA Case #25-5091    Document #2114200                                Filed: 05/05/2025 Page 369 of 637

          From:             Martinez. Adam (CFPB)
          To:               Huggins. Cassandra (CFPB)
          Cc:               Hagins. Calvin (CFPB)
          Subject:          RE: All Hands Message re: Work Required by Law
          Dat e:            Monday, March 3, 2025 10:09 :00 AM



          Hi Casey - Good morning.

          I would highly encourage you to communicate with Mark P. regarding expectations.
          However, you are correct that the email sent out yesterday does not change the
          specific work stoppage in the bullet points issued on 8 Februa1y.

          Adam

          Adam Martinez
          Chief Operating Officer

          From: Huggins, Cassandra (CFPB)                                        >
          Sent: Monday, March 3, 2025 10:02 AM
          To: Martinez, Adam (CFPB)                            >
          Cc: Hagins, Calvin (CFPB)
          Subject: RE: All Hands Message re: Work Required by Law

          Good morning,


          I've received a number of messages from staff w ho are understandably conf used by t he information
          in this email. I would like t o get clarification on what exactly Supervision staff is expected t o be
          doing.


          The Acting Director's February 8 message direct ed t he stoppage of all supervision and examinat ion
          act ivit y, despite t he fact that t he work is required by law (12 CFR 1024, 1025, and 1026 require t he
          Bureau to conduct such supervisory activities). We've also stopped all work support ing supervision
          and examinat ion act ivity, including operational activit ies such as policy/procedure development;
          quality management reviews; systems and registration oversight; report ing, ana lytics, monitoring,
          exam prioritization/sched uling; and human capital act ivit ies that support supervision. We' ve also
          told staff to not engage in activit ies requi ring coordination wit h parties out side of the Bureau,
          including coordination wit h ot her f ederal/st at e regulatory agencies, part icipation on FFIEC t ask
          forces/subcommit t ees, or engagement wit h supervised ent it ies.


          Supervision st aff has been authorized t o work on some isolated tasks
                                      , a handful of briefings/information gathering for Sr. leadership, and
          administrat ive tasks like WebTA/Concur approval), but otherwise it is my understanding t hat they
          should continue to operate on administrative leave unless a discrete activity has been approved .
          Please confirm that the message you sent is not intended to authorize the reinstatement of
          supervision/examination activity despite the fact that the Bureau is required by law to conduct
          these activities.



(Page 369 of Total)                                                                                      CFPB 00082 JA364
           Case 1:25-cv-00381-ABJ Document 56-1                               Filed 03/04/25 Page 83 of 116
       USCA Case #25-5091    Document #2114200                                 Filed: 05/05/2025 Page 370 of 637

          Thanks,
          Casey



          Cassandra Huggins
          Principal Deputy Assistant Director I Supervision Policy & Operations
          Mobile

          Consumer Financial Protection Bureau
          consumerfinance.gov


          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadve1tent disclosure is not intended to waive any privileges.


          From: Martinez, Adam (CFPB)
          Sent: Sunday, March 2, 2025 3:33 PM
          Cc: Paoletta, Mark (CFPB)
          Subject: All Hands Message re: Work Required by Law


          Message from Mark Paoletta, Chief Legal Officer


          On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out
          any statutorily required work, as he set forth in his February 8th email.


          On February 8, 2025, you received an email from Acting Director Vought directing you t o halt
          several classes of work unless "required by law" or expressly approved by the Acting Director.
          On February 10, 2025, you received an email from Acting Director Vought directing you to
          reach out to me for the authorization required by the February 8 email. These measures were
          intended to ensure that new leadership could establish operational cont rol over the agency
          whi le ensuring that it would cont inue t o fu lfill its statut ory duties. Many of you understood this
          and continued to perform functions required by law and sought approval from me to perform
          work, which I have promptly granted.

          It has come to my attention, however, that some employees have not been perform ing
          statutorily requ ired work. Let me be clear: Employees should be perform ing work that is
          required by law and do not need to seek prior approval to do so. If you have any questions,
          please reach out to me immediately, and I will promptly give you an answer and authorization
          if warranted. If you are aware of other employees that are needed to assist you in performing a
          statutorily required task but are not doing so, please raise t his with me immediately.


          Thank you for your attention to t his matter.


          Mark Paoletta
          Chief Legal Officer

(Page 370 of Total)                                                                                            CFPB 00083 JA365
           Case 1:25-cv-00381-ABJ Document 56-1   Filed 03/04/25 Page 84 of 116
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 371 of 637

          CFPB




(Page 371 of Total)                                                    CFPB_00084 JA366
           Case 1:25-cv-00381-ABJ Document 56-1                             Filed 03/04/25 Page 85 of 116
       USCA Case #25-5091    Document #2114200                               Filed: 05/05/2025 Page 372 of 637

           From:           Pappalardo, Janis (CFPB)
           To:             Paoletta, Mark (CFPB)
           Cc:             Martinez, Adam (CFPB); Shapiro, Daniel (CFPB)
           Subject:        RE: All Hands Message re: Work Required by Law
           Date:           Monday, March 3, 2025 10:15:15 AM



          Hi Mark,

          I hope this note find you well!

          I am reaching out to ensure that RMR meets your expectations on the scope and
          implementation of your March 2 guidance and guidance we received last week from Adam
          Martinez.

          Scope: I understand that RMR is authorized to conduct all regular work related to fulfilling
          statutory obligations and/or work required by law, including regular management activities,
          albeit with limits on contact with outside parties. For example, I understand that we are
          authorized to perform work to comply with The Dodd-Frank Act and other laws and statutes,
          such as Section 502(a) of the Consumer Credit Card Market Act of 2009.

          The RMR leadership team and I have reviewed our work against provisions of Dodd-Frank and
          other statutes. I believe that virtually all our work is conducted to meet the CFPB’s statutory
          obligations. This implies that I expect we will bring virtually all RMR staff back to work.

          Implementation:

          Outside Party Communication: According to the February 27 guidance from Adam Martinez:
          “Any actions or communications with outside parties must be sent to Mark Paoletta, Chief
          Legal Officer and Daniel Shapiro, Deputy Chief Legal Officer.” Given the volume and nature of
          communications involved in carrying out our work, I understand that this is difficult to
          implement. I also understand that you recently approved Assistant Director McNamara’s
          request to conduct statutorily required market monitoring, with a cc to Adam, Daniel, and you
          on substantive matters, but not on scheduling and maintenance issues and that the Office of
          Markets will make you and Daniel aware of market monitoring meetings. We plan to apply
          this same understanding to external monitoring communications by other RMR Offices.

          I am proposing some additional implementation strategies for all RMR, below. Please let me
          know if you have any questions or concerns about these proposals.


               • That communications within the federal government, with contracted entities, and
                 within the Federal Reserve system that help us fulfill our statutory responsibilities will
                  be pre-approved and not require your involvement. For example, a regular meeting
                  with Federal Reserve system researchers about developments in risks to household


(Page 372 of Total)                                                                              CFPB_00085 JA367
           Case 1:25-cv-00381-ABJ Document 56-1                               Filed 03/04/25 Page 86 of 116
       USCA Case #25-5091    Document #2114200                                 Filed: 05/05/2025 Page 373 of 637

                    financial stability can continue.
                •   That we resume engagement with outside researchers and other parties to advance the
                    Bureau’s research responsibilities. This would include discussing research findings in
                    meetings, workshops, and conferences with other government agencies, presenting
                    research findings at academic conferences, and attending research conferences. We
                    expect to follow the usual Bureau procedures for authorizing and clearing any
                    presentations and conference attendance and will alert you and Daniel prior to any
                    presentation or attendance at a non-governmental conference.
                •   That internal reports go forward without prior approval.
                •   That we will await guidance on publishing material on the Bureau website, although
                    refreshing data on the Bureau website for the Consumer Credit Trends and Mortgage
                    Performance Trends will continue.
                •   That we will resume disseminating our research findings under the Independent
                    Research Policy. This includes resuming posting on the working paper series on Social
                    Sciences Research Network, an outlet for disclaimed research, and in proceeding with
                    academic publications.
                •   That we resume the regulatory inquiries function through which the Office of
                    Regulations responds to requests from external parties, particularly small businesses,
                    for informal guidance on regulatory matters. This is one of several tools the office uses
                    to comply with its SBREFA obligations.

          Please let me know if there is specific work that you would like us to move forward on or hold.
          Absent specific direction, I will use my discretion and best judgment to assign statutorily
          required work to staff.

          Respectfully yours,

          Jan

          --
          Janis K. Pappalardo
          Deputy Associate Director and Acting Associate Director
          Research, Monitoring, and Regulations
          Mobile:

          Consumer Financial Protection Bureau
          consumerfinance.gov


          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.




(Page 373 of Total)                                                                                            CFPB_00086 JA368
           Case 1:25-cv-00381-ABJ Document 56-1                         Filed 03/04/25 Page 87 of 116
       USCA Case #25-5091    Document #2114200                           Filed: 05/05/2025 Page 374 of 637

          From: Martinez, Adam (CFPB)                                  >
          Sent: Sunday, March 2, 2025 3:33 PM
          Cc: Paoletta, Mark (CFPB)
          Subject: All Hands Message re: Work Required by Law

          Message from Mark Paoletta, Chief Legal Officer

          On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out any
          statutorily required work, as he set forth in his February 8th email.

          On February 8, 2025, you received an email from Acting Director Vought directing you to halt several
          classes of work unless “required by law” or expressly approved by the Acting Director. On February
          10, 2025, you received an email from Acting Director Vought directing you to reach out to me for the
          authorization required by the February 8 email. These measures were intended to ensure that new
          leadership could establish operational control over the agency while ensuring that it would continue
          to fulfill its statutory duties. Many of you understood this and continued to perform functions required
          by law and sought approval from me to perform work, which I have promptly granted.

          It has come to my attention, however, that some employees have not been performing statutorily
          required work. Let me be clear: Employees should be performing work that is required by law and do
          not need to seek prior approval to do so. If you have any questions, please reach out to me
          immediately, and I will promptly give you an answer and authorization if warranted. If you are aware
          of other employees that are needed to assist you in performing a statutorily required task but are not
          doing so, please raise this with me immediately.

          Thank you for your attention to this matter.

          Mark Paoletta
          Chief Legal Officer
          CFPB




(Page 374 of Total)                                                                                 CFPB_00087 JA369
           Case 1:25-cv-00381-ABJ Document 56-1                                           Filed 03/04/25 Page 88 of 116
       USCA Case #25-5091    Document #2114200                                             Filed: 05/05/2025 Page 375 of 637

          From:                  Kamenshine, Wendy (CFPB)
          To:                    Paoletta, Mark (CFPB)
          Cc:                    Martinez, Adam (CFPB): Asar, Sharon (CFPB): Garmon, Felisa (CFPB): Milner, Heather (CFPB): Fields, John
                                 (CFPB)
          Subject:               RE: All Hands Message re: Work Required by Law
          Date :                 Monday, Maren 3, 2025 10:54:12 AM


          In accordance with the email below, the CFPB Ombudsman 's Office team will work in
          conjunction with the statute.

          The CFPB Ombudsman 's Office provides an independent, impa11ial, and confidential resource
          to info1m ally assist individuals, companies, consumer and trade groups, and others in
          resolving process issues with the CFPB.

          Best,
          Wendy
          Wendy E. Kamenshine
          Ombudsman
          CFPB Ombudsman's Office

          Tel: - - - -
          Tele~        rvice {TRS) users, dial .


          Confi dentiali ty Notice : If you received this email by m istake, you shou ld notify the send er of t he m istake and delete t he e-mail
          and any attachments. An inadvertent disclosure is not intended to waive any privileges.




          From: Martinez, Adam (CFPB)
          Sent: Sunday, March 2, 2025 3:33 PM
          Cc: Paoletta, Mark (CFPB)
          Subject: All Ha nds Message re: Work Required by Law


          Message from Mark Paoletta. Chief Legal Officer


          On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out
          any statutorily required work, as he set forth in his February 8th emai l.


          On February 8, 2025, you received an email from Acting Director Vought d irecting you to halt
          several c lasses of work unless " required by law" or expressly approved by the Acting Director.
          On February 10, 2025, you received an email from Acting Director Vought directing you to
          reach out to me for the authorization required by t he February 8 email. These measures were
          intended to ensure that new leadership cou ld establish operational control over the agency
          wh ile ensuring that it would cont inue to fu lf ill its statut ory duties. Many of you understood this
          and continued to perform functions required by law and sought approval from me to perform
          work, which I have promptly granted.


          It has come to my attention, however, that some employees have not been perform ing


(Page 375 of Total)                                                                                                              CFPB_00088 JA370
           Case 1:25-cv-00381-ABJ Document 56-1                  Filed 03/04/25 Page 89 of 116
       USCA Case #25-5091    Document #2114200                    Filed: 05/05/2025 Page 376 of 637

          statutorily required work. Let me be clear: Employees should be performing work that is
          required by law and do not need to seek prior approval to do so. If you have any questions,
          please reach out to me immediately, and I will promptly give you an answer and authorization
          if warranted. If you are aware of other employees that are needed to assist you in performing a
          statutorily required task but are not doing so, please raise this with me immediately.

          Thank you for your attention to this matter.

          Mark Paoletta
          Chief Legal Officer
          CFPB




(Page 376 of Total)                                                                          CFPB_00089 JA371
           Case 1:25-cv-00381-ABJ Document 56-1                                           Filed 03/04/25 Page 90 of 116
       USCA Case #25-5091    Document #2114200                                             Filed: 05/05/2025 Page 377 of 637

          From:                  Kamenshine, Wendy (CFPB)
          To:                    Paoletta, Mark (CFPB)
          Cc:                    Martinez, Adam (CFPB): Asar, Sharon (CFPB): Garmon, Felisa (CFPB): Milner, Heather (CFPB): Fields, John
                                 (CFPB)
          Subject:               RE: All Hands Message re: Work Required by Law
          Date :                 Monday, Maren 3, 2025 10:54:12 AM


          In accordance with the email below, the CFPB Ombudsman 's Office team will work in
          conjunction with the statute.

          The CFPB Ombudsman 's Office provides an independent, impa11ial, and confidential resource
          to info1m ally assist individuals, companies, consumer and trade groups, and others in
          resolving process issues with the CFPB.

          Best,
          Wendy
          Wendy E. Kamenshine
          Ombudsman
          CFPB Ombudsman's Office

          Tel: - - - -
          Tele~        rvice {TRS) users, dial .
          consumerfinance.gov / ombudsman
          Confi dentiali ty Notice : If you received this ema il by m istake, you shou ld notify the send er of t he m istake and delete t he e-mail
          and any attachments. An inadvertent disclosure is not intended to waive any privileges.




          From: Martinez, Adam (CFPB)
          Sent: Sunday, March 2, 2025 3:33 PM
          Cc: Paoletta, Mark (CFPB)
          Subject: All Ha nds Message re: Work Required by Law


          Message from Mark Paoletta. Chief Legal Officer


          On behalf of Acting Director Vought, I am writ ing to you to ensure that everyone is carrying out
          any statutorily required work, as he set forth in his February 8th emai l.


          On February 8, 2025, you received an email from Acting Director Vought d irecting you to halt
          several c lasses of work un less " required by law" or expressly approved by the Acting Director.
          On February 10, 2025, you received an email from Acting Director Vought directing you to
          reach out to me for the authorization required by t he February 8 email. These measures were
          intended to ensure that new leadership cou ld establish operational control over the agency
          wh ile ensuring that it would cont inue to fu lf ill its statut ory duties. Many of you understood this
          and continued to perform functions required by law and sought approval from me to perform
          work, which I have promptly granted.


          It has come to my attention, however, that some employees have not been perform ing


(Page 377 of Total)                                                                                                               CFPB_00090 JA372
           Case 1:25-cv-00381-ABJ Document 56-1                  Filed 03/04/25 Page 91 of 116
       USCA Case #25-5091    Document #2114200                    Filed: 05/05/2025 Page 378 of 637

          statutorily required work. Let me be clear: Employees should be performing work that is
          required by law and do not need to seek prior approval to do so. If you have any questions,
          please reach out to me immediately, and I will promptly give you an answer and authorization
          if warranted. If you are aware of other employees that are needed to assist you in performing a
          statutorily required task but are not doing so, please raise this with me immediately.

          Thank you for your attention to this matter.

          Mark Paoletta
          Chief Legal Officer
          CFPB




(Page 378 of Total)                                                                          CFPB_00091 JA373
           Case 1:25-cv-00381-ABJ Document 56-1                                                                                                                Filed 03/04/25 Page 92 of 116
       USCA Case #25-5091    Document #2114200                                                                                                                  Filed: 05/05/2025 Page 379 of 637

          ,,,_:             ~
          Toe:              M/!rtncz Mnrn<llBP
          Cc:               Cbel'Cl Jrsrt «:FPe);; k:wtvnft SIOI tc::I cam:,
          Sul,ject:         R!: Mw1dad Reports•()p5QUQ3
          Ona:              MOndly, Mardi ), 202$ 11:30:40 AH


          Ok thanks Adam - w ill reach out and coordinated with our offices.


          Scott


          From: Martinez, Adam (CfPB)
          Sent : Monday, March 3, 2025 10 :58 AM
          To: Lee, Scott (CFPB) _ _ _
          Cc: Chang, Jean iCfPB)-                   >; Broeksmit, Samuel (CFP8)
          Subject: RE: Mandated Reports- Ops Q2/ Q3

          HeyScott -

          'Ibank you for pulling all this together. It's helpful to see it all in one place because it really does expose the bureaucracy-w-e deal with. Wow!
          Please procero with working \\1th each Ops office to coordinate the continuation of work to respond to each of these. You may reference the legal requirement up front when
          asking for offices to perfonn the work, if necessary.
          Adam
          Adam Martinez
          Chief Operating Officer

          From: Lee, Scott (CHS)
          Sent : Monday, March 3, 2025 10:35 AM
          To:Martinez, Adam (CFPB)-
          Cc: Chang, Jean(CfPB)-                                       B~~~mit, Samuel (O:PB
          Subject: Mandated Reports- Ops 02/ 03

          Hi Adam,

          Per t he recent request - w~ve pulled a list of the mandated reports that Operations produces for Q2 - Q3. I've filtered it f rom between feb. 1S - June 30 t o limit the t imef rame down. Per t he pre'\lious order
          t o work stop; undear on the progress made on t he ones due in February and early March.


          Question for you: Given these reports are tied to a legal requirement, should we have our offices reinit.iate work on these items. If so - I can bepn reaching out to t hose offices and their POCs to have them
          begin.




                                                                                                                                                                                 -                                         -
          Scott

                OFAa
                mtuM



                OfP/CfO
                                   IDOIIT/Pml.KAllOH Tm£




                            Annual Performance Plan and Report.
                            and Budget Olle.rview (Mana_gl?CI by
                                                                                              -
                                                                                    OESOPT10NANDAC110N(51




                                                                               The report descriJes the resources
                                                                               needed to accomplish our goats and
                                                                                                                                        l.EGAI.IIEQURMENT




                                                                                                                             cmg:fCit:l~ §UU 2(ili,4J(~ - c.icfSZi!t ~ba!:I
                                                                                                                             12!2!!!de to the Director of the Office of
                                                                                                                                                                                 ORGANZATKlN




                                                                                                                                                                                 •••
                                                                                                                                                                                 0MB
                                                                                                                                                                                                       FY25PUaJCATKlN
                                                                                                                                                                                                         OUEDAlE(sl



                                                                                                                                                                                                          "2/15/2025
                                                                                                                                                                                                                         -
                                                                                                                                                                                                                         OUEDAl!
                                                                                                                                                                                                                        STAnm:JRII.Y



                                                                                                                                                                                                                             H
                                                                                                                                                                                                                                       °'"
                            05PO)                                              measure our performance aga~ st our           MiOa::£m::[r iOd 1151deil a:iges:mlbi               coogress
                                                                               strategjc: plan. Strategy owns this           fmo,ii l '2Afti:l:iDC: AliiD1 i!li:t tclmi!m gf
                                                                               docume,it. The document also inckldes         ~ Cit:f::ai;tc ,U ACi:Aiti:d b!tJtle Cj fiQQt i!l
                                                                               a budget section whidl the OCFO is            t heordin~ COUf"'"..e of1he ~            oos of
                                                                               responsible for. Budget section fulfills      tbeamtilll Sl!ll!5ils2[£:Qlli!l:Slbi.. i
                                                                               statutory requirement ot t017(a)(4)(~         i1&21fuiX!ogf1be b11d=t Cf:l:lllfSl cd:dli
                                                                               financial opera!ing plans and forecasts.      2:evious ~ar be ero>Med with the
                                                                                                                             amiilllDllil Ci:121:11l1'1CC:oe:te~ [~ ·
                                                                                                                             :tbin Cli'.li!: bi m:tli:CW!lrl;ttim:ati ttlil
                                                                                                                             govem t he l!:it![icationof strot~ic Q9;ns
                                                                                                                             aod m:lfl;icmaoct i!lfi:11mtimil




                Offl/CfO    DATAAct                                            submission of reconciliatiorls oi financial   P\Jblk Law 113·101. dated May 9, 2014               t.lS.Aspendi~gov         2/15/2025          H         CfO
                                                                               and procurement dm d'lat supports             and the official title is "'Digital
                                                                               USASpendirig.p                                Accountability and Transparency Ar:r. of
                                                                                                                             2014"
                OfP/CfO     GTAS                                               submission of monthJ)' financial and          Chapter 4700 of the ifMemrtled "Agency              0MB                      2/lB/2025          N         CfO
                                                                               budgff execution data; fulfill sta:utory      Reporting Requi:rements for me f inancial           Treasury
                                                                               requirement of 1017(a){4)(A}quarteriy         Report of the unir.ed Sta: es Go-,,emment"'
                                                                               reports of financia1condition and results
                                                                               of operations


                  CRO       GAO-fGA.CtReporti,g                                Annual report of extemal findings from        Good Atcoontirlg Obf!C!tion in                      congress                 2/28/2025          H         DD
                                                                               GAOandOIG                                     r-~1mim:m 6a (GiM:!::11:ii &:ll (e11b!i' I m        GAO
                                                                                                                             .w,w)                                               OIG



                OfP/CfO     QJarterty ...-ianciaJ Reports {CFO                 84JdC€( execution by &Jdget category,         Dodd-frank § 1017?                                   Public (poblrshecl      2/2.B/2025         N         CfO
                            Updates)                                           Division, and largestobf1,gations for each                                                           oncfpb.gov)
                                                                               qua.rter.


                OfP/ PROC   service~ntract tnwntory                            Presents an analysis on CFPB's service        fY 2010 consolidated.Appropriations Act•            0MB, MAX.GOV             2/28/2025          y         coo
                                                                               contraa inventory to detenrine if             P\Jblic Law 111•117 OMS memo, Dated
                                                                               contract labor is used appropriately and      oec 19. 2011
                                                                               the mix of Federal errp.oye,es and
                                                                               contraaors is balanced.
                OfP/CfO     Annua1Independent Performance AU!flt               Annual independent audit of the               P U'frC § 5ffiit                                    PUblic (published        2/28/2025          N         DD
                                                                               operations and budget of the Bureau.                                                              oncfpb.gO'I)
                                                                               The purpose of this audit is to prolide
                                                                               objective analyses ro improve program
                                                                               performance and operations, reduce
                                                                               costs, facilitate decision-making. ond
                                                                               contnDuteto public accounrability
                OfP/CfO     Q!Jarterty ...-ianciaJ Reports {CFO                sud~ execufion by Budget category,            cmg:fCit:!%§ 1912'                                  PUblK: (published        2/28/2025          H         CfO
                            Updates)                                           Division, and largestobf1,gations for each                                                        ondpb,c,,)




(Page 379 of Total)                                                                                                                                                                                                       CFPB_00092 JA374
           Case 1:25-cv-00381-ABJ Document 56-1                                                                                                     Filed 03/04/25 Page 93 of 116
       USCA Case #25-5091    Document #2114200                                                                                                       Filed: 05/05/2025 Page 380 of 637
                                                                   quarter.




           OFP/CfO    QJarterly fi'lancial Reports (CfO            Budge.: exeartion by &Jdget category,          Dodd.frank § 1017?                            Public(published   2/28/W2S    H     CFO
                      Updates)                                     oMSion,and large.st obligatioos for each                                                     oodpb.go-1)
                                                                   quarter.
            ocoo      federal Electronic Records and Email         Report to dete.mine how federal                The federal RecordsACt (44 u.s.c. 31)         HARA               3/1S/2025   N     coo
                      Management Maturity Mode1Report              agercies manage electronk records..




            ocoo      Records Management .5eff-ASSessment          The goaJof the setf assessmem is to            The Federal RecordsACt (44 u.s.c. 31)         HARA               3/1S/2025   H     coo
                                                                   determine v.tiether federal agerciesare
                                                                   complia.nt with statutory and regulatory
                                                                   records management requirements...




            ocoo      senior >,genqOfficial of Records             Report documents how the Bureau is             The federal RecordsACt (44 u.s.c. 31)         HARA               3/1S/2025   N     coo
                      Management Report                            managwlg RIM activities and goals
                                                                   exablished by HAAA




           Off1/Cf0   GTAS                                         submission of monthJ)' financial and           Chapter 4100 of the ifMemrtled "Agency        0MB                3/1B/2D25   N     CFO
                                                                   budgff execution data; fulfill statutory       Reporting Requirements for the f inancial     Treasury
                                                                   requirement of 1017(a){4)(A}quarteriy          Report of the unir.ed States Go...emment"
                                                                   reports of m ancia1condition and resul"tS
                                                                   of operations


           OFP/CfO    Quarterly Transfer Requests                  Letters requesting transfer of funds from
                                                                   the Fed Reserve to CfPB
                                                                                                                  lm!;ld:f:Ciin~ § 1 212!a'Cll                  •••
                                                                                                                                                                congress
                                                                                                                                                                                   3/2~W25     H     OIR




             CRO      OIG serr.ilnnual Report                      OiG Federal Resel"YE' prCMdes                  P.L. 95-4.52                                  HfSC and 8HUA      3/31/2025    y    OIR
                                                                   seminannual report of signigjcant
                                                                   aa:ivities, finds.and recommendations
                                                                   during a six rron.th period.




             OHC      Financial Literacy and Education Plan        OPMrequiresagency benefits                     Thrift 5a\llng"S Plan Open Elections Act of   a>M                3/31/2025   H     OtCO
                      (for Bureau Employees)                       representa.i\<es tosutmit an annual            2001 (Publk law 103-469)
                                                                   financial fiteracy and education plan for
                                                                   agency empbyees.




             OHC      srudent Loan Repayment lneentives            Agencies must submit an annual •Nf'Uen         S U.S.C. 5379[hl(1) and S CfR 537.U O(b)      OPM                3/31/2025    y    a,co
                                                                   repon: to the u.s. Office of Personnel
                                                                   Management (OPM) oo t heir use of
                                                                   student loan repa•1ments dul'Wlg the
                                                                   pl'eWIUs calendar year (Ct), as requr'ed
                                                                   by S U.S.C. 5379(ht.


            ocoo      Chief fOIA Officer Report                    In accordance with ttle fOIA, each             The Freedom of Information H::t (Fa,..). s    OOJ                3/31/2025    y    coo
                                                                   agency eh~ fOIA Officer must "review           u.s.c § SS2(jX2)(D~
                                                                   and report to the Attomey General,
                                                                   through the head of the agency. at such
                                                                   times and in such formats as the
                                                                   Attorney General may direct, on t he
                                                                   agency's performance in implementing
                                                                   [theFOIA).
             OHC      Annual oa:ra call for Pathways Programs      Under section 6 of EXecutive Order             5 CFR 362.109                                 a>M                411/2025     y    OtCO
                      and Early career T.iilent Hiri'lg Reponirc   14035: Diversity, Equity, Inclusion.and
                                                                   Accessibility in the federal WOrkforce,
                                                                   the eiden-Hanis Administration directs
                                                                   agencies to increase availabifrryd paid
                                                                   internships, fellowships, apprentice:s.hips,
                                                                   and other early career programs.
             OHC      Tetework Data call                           Participation in this annual SUM!'f is a       Telework EnhancementAa.of 2010, Pubfic        DOM                            H     coo
                                                                   requirement under the i°ele'N'Orli:            taw111·292
                                                                   Enhancemen;: ACt of 201(). Public Law
                                                                   111·292 (the Act and is reported Of OPM                                                                         4/10/2025
                                                                   to congress. The questions in this survey
                                                                   ask for infomm:ion aboln agencies'
                                                                   telev.-ori: program.
           OFP{(,O    GTAS                                         submis:s;on of monthly financial and           Chapter 4700 of the TfM entided "Agenq        0MB                4/18/202S   H     CFO
                                                                   budget execution data; fulfil staW"'.ory       Reportirc Requr'ements for Ole f inancial     Treasury
                                                                   requireme.nt of 1017(aR4)(Atquan:erly          Report of the uni~ SU.es Govemment"
                                                                   reportsdfinancial condition and results
                                                                   of operations
             T&I      Fiscal Year 2oxx-2oxx Guidance on            fV xx Q1 • Q3 Reporting via Cyberscope.        E:£2~ :EISM!i ~llidilas;;~ i:i Dl2111:1:i            OHS         4/18/2025    y    coo
                      Federal 1nfonnation security and Privacy                                                    wuaL                                                 0 MB
                      Management Requirements• fOJAOZ8
                      Meuics (Ql & Q3) & Chief Information
                                                                                                                  OMS M-23-03 - FY23
                      Officer Metrics(~)
                                                                                                                  {MEMQBA~QUM EQB Il:tE l::tEAQS QE
                                                                                                                  E~Cl!InlE CEf~BIMEt:m AtiQ
                                                                                                                  Alillimsl
             T&I      suengthenirig the Cybersecurity of            FY2X HVA fist report on a quan:erly basis     QMBM-19=03                                           OHS         4/18/202S    y    coo
                      Federal Agencies b'f Enhancing the High       and provide updates and modifications
                      value Asset Program                          'Via Homeland security Information
                                                                   Network {i1S!N)

             T&I      lmpl'CWC Vt.lnerabiity ldentmeation,         800 20-01 V\Jlnerability Disclosure Policy     QMB:M:20..32                                         OHS         4/18/202S    y   Oll1ER




(Page 380 of Total)                                                                                                                                                                            CFPB_00093 JA375
           Case 1:25-cv-00381-ABJ Document 56-1                                                                                                Filed 03/04/25 Page 94 of 116
       USCA Case #25-5091    Document #2114200                                                                                                  Filed: 05/05/2025 Page 381 of 637
                       Management. and Remediation              reporting via cyberscope

            ocoo       Quarterfy FOIAReport                     In accordance with ttle FOIA. me               s u .~c. § ss2(e)(s), UK>)(DJ                 OOJ                  4/25/?025     y    coo
                                                                Department oi Justice requir6 agen6es
                                                                topro.,ide quarterly reporti ng of four key
                                                                FOIA statistics so th.at they can be posted
                                                                on fOIA.gov.




             T&I       Migr.d ng to Post<tuamum                 By May 4, 20?3, and annually thereafter        M-23-02                                              OHS           5/3/2025      y    coo
                       Qyptography (IOYentO!'()                 untj ?035, o r ascfirected by superseding                                                           0 MB
                                                                guidance. agendes are direaed to
                                                                submit a prioritized inwntorv of
                                                                information systems a.nd asseu,.
                                                                excluding national security systems. that
                                                                contain CRQC-wlnerable cryptographic
                                                                systemstoONCO a.ndthe Department of
                                                                Homeland sea.int'( cybersecuriry and
                                                                lnfrastructuresecuMy/4f,et'C/ (OSA)
           OFP/CFO     DATA-'<t                                 submission of reconci&atiofls of financial     Public uw 113-101. dared May 9, 2014          VSAspencfq,gov       5/15/2025    H     CFO
                                                                and procuremecnt data di.at suppott:S          and the official title G '"'Digital
                                                                US>.Spending p                                 Accounu bility and Transparency ACt of
                                                                                                               2014"'
           OFP/CFO     GTAS                                     submission of m:mhty fina ncial and            Chapter 4 700 of the lfM entided "J4f,ency    0MB                  5/18/2025    H     CFO
                                                                budge.t execution data: fulfil starutory       Reporting Requirements for the f inancial     neasury
                                                                requirement of 1017(a)(4)(Atquarterty          Report of the uni~ Stares Govemment"'
                                                                reporu of financia1 condition and resuhs
                                                                of operations
           OFP/CFO     Q.uarterty Financial Reports (CFO        Budget exeanion by Budget category,            Dodd-frank § 1017?                             Public (published   5/30/2025    H     CFO
                       Updates)                                 Division. and larges'! o bflgations for each                                                    onctpb.go,)
                                                                quarter.


           OFP/CFO     O;oarterty Financial Reports (CFO        Budget execvtion by Budget category,           QQdtHoot § 1012'                              Public {plbfished    5/30/2025    H     CFO
                       Updates)                                 DMsicn. and larg.est o br1gatioos for each                                                   oncfpb.ga,)
                                                                quaner.
           OFP/ CFO    QJarterty fa'lanciaJ ReportS (CFO        Budge<: execution by &Jd~t category,           OOdd-frallk § 1017?                           PUblic {published    5/3(¥Z.025   H     CFO
                       Updates)                                 Division.and targes'l o bflgations for each                                                  cncfpb.go,,)
                                                                quaner.
            ocoo       Fr!anciaJ Stability 01ersight oounol     The lnterag:ency Data inventory is a           Dodd-frank wall Strfft Reform a nd            fSOC                 S/31/1D25    N     coo
                       (Fsoc) oaa ln'YEntory                    product of t he oaa COtnrnittee of the         consumer Protection ACt of 2010
                                                                Fmanci:a1 Stability oversight oouncil
                                                                (FSOC). lhe in•1entory catalogs the da!.il
                                                                colfec..ed ti( F.SOC member organiz'atioos.
                                                                The inventory contaflS information -
                                                                meudata - about eachda!.il collection.
                                                                It does not contain t he unde-.rfywlg
                                                                datasets. For eadl data collection, the
                                                                inventory has basic information, such as
                                                                a brief description of the collection,
                                                                collecting organization. and the name
                                                                and number of the form used to collect
                                                                the data.
           OfP/CFO     5emiaMual Report of Payments             J+s required by the statute., the Bureau       31 u .s.c. 1353                               OGE                  5/31/2025     y    CFO
                       Aeeepted from a Non-Federal source       must .submit to t he Director of the Office
                                                                of Government Ethics reporu d
                                                                payments of more than S?SO accepted
                                                                from non-federal sources for travel,
                                                                subsistence, and related expenses with
                                                                respect to an empfoyee'sattenda:nce at
                                                                any meeti'lg or similar function relating
                                                                to t ne otr.:ial duiies of me employee.
             T&!       Migrating to Post-Quantum                av June 4, 2023, and annually dlereafte.r      M-23-02                                              OHS           6/4/20?5      y    coo
                       Cryptography(fUnding: Estima.:es)        until 2035, o r as directed by superseding                                                          0MB
                                                                guidance, agencies are required to
                                                                submit t o OHa>and 0MB an assessment
                                                                of the funding required to migrate-
                                                                information systems and assets
                                                                inventoried under this memora~ to
                                                                post-quamum cryptography duri ng the
                                                                following fiscal year.
             T&!       u pdat e to Memorandum M-22-13,          '4f,encies rrust subrrit: mwics on             OMBM-23::16                                          0 MB          6/9/2025      y    CFO
                       Enhancing the security of die software    colte a:ed attestation letters for a11
                       .supplycharl through secure SOfN.-are    software subjea to t he requiremen.s ot
                       De'Jel:opment Practices                  M-22-18, as amended by this
                                                                memorandum., cl$ wen as the on agency
                                                                approval of P°'81MsAN:D nuni>e.r d
                                                                extensions and waivers in place at each
                                                                agency.
           OFP/CFO     GTAS                                     .submission of m:,m:bty financial and          Chapter 4700 of the lfM enutled "Ag«icy       0MB                  6/18/2025    H     CFO
                                                                budg eiJ: execution da!3; fulfill .starutory   Reporting Requlfements for t he f inancial    Treasury
                                                                requirement of 101?{a )(4)(A}quarterly         Report of the united States GcWemment"'
                                                                repom of financial condition and resuf'i:s

           OFfl/CFO    QJarterty Transfer Requests
                                                                of operotions
                                                                Letters requesting: transfer of funds from
                                                                the fed Reserve to CFPB
                                                                                                               Dodd-frank & 101?fal[1)                       ...
                                                                                                                                                             congress
                                                                                                                                                                                  6/20/2025    H     DIR


           OfP/ PROC   Federa1Activities ln'ffl'loory Report    The inventory depicts the CfP8's               federal Actiwties Inventory Reform At:t. of   congress,            6/3(¥2025     y    coo
                       (FAIR)                                   workforce by functions (or acti-.ities)        1998 (P.L 105-270) and 0MB Circular A-76      OMB, MAX.GOV
                                                                performed by Bureau empf~. The                 -OJmpetiq:iveSOurci:ng
                                                                Inventory further breaks dov.n these
                                                                actMiies inro lnherentlyGoWmmental
                                                                (activities that can only be performed by
                                                                a Federal employee) andOJrrmercial
                                                                (ACtivities that can be performed by
                                                                F-edera1 or contract emp(oyffS)
                                                                categories. The number of FUii-lime
                                                                Equiva.lenG (f"res) is also d'isplayed by
                                                                location.




(Page 381 of Total)                                                                                                                                                                            CFPB_00094 JA376
           Case 1:25-cv-00381-ABJ Document 56-1                       Filed 03/04/25 Page 95 of 116
       USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025 Page 382 of 637




         ...
          Sconlu
          Senior Advisor to the Chief()peran·n g Officer Operan·ons
          Consu.mw Financial Prolecn·o n Bur&n1 (CFPB)
                                                      4




(Page 382 of Total)                                                                        CFPB_00095 JA377
           Case 1:25-cv-00381-ABJ Document 56-1                                 Filed 03/04/25 Page 96 of 116
       USCA Case #25-5091    Document #2114200                                   Filed: 05/05/2025 Page 383 of 637

          From:             Gueye, Jafnar ( CFPB}
          To:               Chilbert, Christopher (CFPB}: Johnson. Christopher (CFPB}: Dorsey. Darian (CFPB}: Brown, Jason (CFPB}:
                            Warren, LaShaun (CFPB): Vespa-Papaleo, Frank (CFPB}: Huggins, Cassandra (CFPB}: Gelfond, Rebecca (CFPB}
          Cc:               Martinez, Adam (CFPB): Malik. Jrfan (CFPB}: Mullins, Katherine (CFPB}: Chang. Jean (CFPB}: James, Dana
                            (CFPB}; Galicki, Joshua (CFPB); Olson. Nicholas (CFPB)
          Subject:          RE: All Hands Message re: Work Required by Law
          Date:             Monday, March 3, 2025 11:39:29 AM


          Thanks Cluis,

          To add to that, we're getting a lot of requests to turn contracts back on. I will send out guidance sho1tly
          but for your awareness we are not turning back on every contract we've had. We're taking a ve1y narrow
          approach: if without the contract the Bureau can't meet a statut 01y requirement then it will be
          considered for reactivation. Meaning that a contract enhancing our ability t o meet a statuto1y
          requirement is not enough to get it back on. It needs to be the only way the bureau can currently meet tl1at
          requirement .
          Also as you're providing justifications please be prepared to have to defend those to external patties.
          We've been routinely asked to provide for naines of the people providing tl1e justificat ion.

          Respectfully,

          Jafnar

          From: Chilbert, Christopher (CFPB}
          Sent: Monday, March 3, 2025 10:22 AM
          To: Johnson, Christopher (CFPB}                                                 ; Dorsey, Darian (CFPB)
                                        ; Brown, Jason (CFPB}                                        ; Warren, Lashaun (CFPB}
                                          >; Vespa-Papaleo, Frank (CFPB}
                                                                                   ; Gelfond, Rebecca (CFPB}


          Cc: Martinez, Adam (CFPB)
          Mullins, Katherine (CFPB)
          Subject: FW: All Hands Message re: Work Required by Law


          Colleagues - As you work to restart some tasks that had stopped, p lease be aware that some
          of our T&I capacity is reduced. If there are capabilities that need to be restored, please let me
          know as soon as possib le what specifically is needed and for what purpose.
          Thanks,


          Chris Chilbert



          -      Martinez, Adam (CFPB)                                         >
          Sent: Sunday, March 2, 2025 3:33 PM
          Cc: Paolet ta, Mark (CFPB)
          Subject: All Hands Message re: Work Required by Law


          Message from Mark Paoletta. Chief Legal Officer




(Page 383 of Total)                                                                                                  CFPB_00096 JA378
           Case 1:25-cv-00381-ABJ Document 56-1                     Filed 03/04/25 Page 97 of 116
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 384 of 637

          On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out
          any statutorily required work, as he set forth in his February 8th email.

          On February 8, 2025, you received an email from Acting Director Vought directing you to halt
          several classes of work unless “required by law” or expressly approved by the Acting Director.
          On February 10, 2025, you received an email from Acting Director Vought directing you to
          reach out to me for the authorization required by the February 8 email. These measures were
          intended to ensure that new leadership could establish operational control over the agency
          while ensuring that it would continue to fulfill its statutory duties. Many of you understood this
          and continued to perform functions required by law and sought approval from me to perform
          work, which I have promptly granted.

          It has come to my attention, however, that some employees have not been performing
          statutorily required work. Let me be clear: Employees should be performing work that is
          required by law and do not need to seek prior approval to do so. If you have any questions,
          please reach out to me immediately, and I will promptly give you an answer and authorization
          if warranted. If you are aware of other employees that are needed to assist you in performing a
          statutorily required task but are not doing so, please raise this with me immediately.

          Thank you for your attention to this matter.

          Mark Paoletta
          Chief Legal Officer
          CFPB




(Page 384 of Total)                                                                             CFPB_00097 JA379
           Case 1:25-cv-00381-ABJ Document 56-1                                   Filed 03/04/25 Page 98 of 116
       USCA Case #25-5091    Document #2114200                                     Filed: 05/05/2025 Page 385 of 637

          From:               Olson. Nicholas (CFPB)
          To:                 Gueye. Jafnar (CFPB): Bolton. Nykea (CFPB): Martinez. Adam (CFPB)
          Cc:                 CFPB ReasonableAccommodations: CFPB Section508; Jones. Stacie (CFPB): Nassar. Shaba (CFPB): Galicki.
                              Joshua (CFPB)
          Subject:            RE: Request for contract reinstatement for legally/statutorily required approved DAPS work
          Date:               Monday, Maren 3, 2025 11:41:42 AM
          Attachments:        RE Entellitrak question. msg


          Nykea and all - Regarding the Entellitrak contract, Jafnar is co1Tect that it has been reinstated. See
          attached email. IfI recall conectly, this one (1) Entellitrak contract covers all applicable CFPB
          Offices (each office used to have its own separate contract). Please note that from the attached
          email, from the vendor's Team: "Tyler says that they can get eve1ything up and mnning by COB on
          Tuesday. If the sites also have SSO, it 1night take some additional steps, which could push to
          Wednesday."

          Sincerely,

          Nick Olson
          Procurement Team Lead I Office of Finance and Procurement
          Mobile:

          Consumer Financial Protection Bureau
          consumerfinance.gov


          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadve1tent disclosure is not intended to waive any privileges.


          From: Gueye, Jafnar (CFPB)
          Sent: Monday, March 3, 2025 11:33 AM
          To: Bolton, Nykea (CFPB)                                      >; Martinez, Adam (CFPB)

          Cc: CFPB ReasonableAccommodations
          CFPB Section508                                  ; Jones, Stacie (CFPB
          Nassar, Shaba (CFPB)                            ; Galicki, Joshua (CFPB)
          Olson, Nicholas (CFPB)
          Subject: RE: Request for contract reinstatement for legally/statutorily requ ired approved DAPS work

          Good morning Nykea,

          Thank you for reaching.
             • I'll double check but I thought Entellitrak was turned back on.

                • In general we are very narrowly turning back contracts (or p01tions of contracts) that directly
                  supp01t statutory requirements. In other words if without the contract the bureau would fail to
                  meet those requirements, we would turn it back on. If the contract enhances or otherwise
                  supplements our ability to meet requirements, they are not being turned back on at this stage
                  because in those cases the bureau can meet its requirement (even if minimally) without it. Those
                  contracts are subject to ftnther review in our ongoing efforts to streamline bureau operations.



(Page 385 of Total)                                                                                                    CFPB_00098 JA380
           Case 1:25-cv-00381-ABJ Document 56-1                          Filed 03/04/25 Page 99 of 116
       USCA Case #25-5091    Document #2114200                            Filed: 05/05/2025 Page 386 of 637

              • For the ones you shared: can I please get a succinct justification for each contract you are
                requesting be reinstated? Specifically can you outline for each contract what (statutorily required)
                action will not be able to be accomplished at all without the contract? I can't stress enough that this
                needs to be as specific as possible. We'll need to be prepared to h ave someone on the team defend
                this justification to external paities.

              • All PCards across the bureau have been cancelled. We've been authorized to reopen one for the
                entire bureau with a ve1y limited limit so we are triaging the requests as th ey come in. I'm using
                the saine c1ite1ia as above (i.e. directly being indispensable to meet a statuto1y requirement).

          Respectfully,

          Jafnar

          From: Bolton, Nykea (CFPB)
          Sent: Monday, March 3, 2025 11:10 AM
          To: Gueye, Jafnar (CFPB)                                 ; Martinez, Adam (CFPB)

          Cc: CFPB ReasonableAccommodations
          CFPB Sect ion508
          Nassar, Shaba (CFPB)
          Subject: Request for cont ract reinstatement for legally/statutorily required approved DAPS work



          Good morning Jafn ar,


          I am reaching out after a call I had w ith Adam last week.


          The Disa bility and Accessibility Program Sect ion (DAPS) has been given permission to resume it s
          statutorily required work. To meet t he demands of the statutes governing our work, we must have
          the resources of ou r cont racts that were recent ly terminated. I have attached the Reasonable
          Accommodat ions (cont ract budgets sat w ith OMWI and T&I if tech aligned) and 508 (contract
          budget sat w ith T&I) cont racts t hat provide services/resources we must legally provide if/when
          needed by t he Bureau st aff and public. We also would need our instance of t he Entellit rak syst em of
          record reinstated, as we are legally required to keep and ma int ain a system of record for reasonable
          accommodations (we need access t o t he dat a previously entered and moving forward need a system
          to enter data in for processing and reporting efforts).

          Can you assist us wit h identifying if we can reestablish these necessary/required cont racts?

          We are also trying to identify how we can do pcard purchases for incoming work, as well as paying
          invoices down t hat have been submitted due t o cont ract t erminations.

          We will have to identify some sort of solut ion to provide the services we must legally provide to
          individuals w it h disabilit ies here at t he Bu reau and t o public customers/users of our products and
          services, ot herwise we could incur significant risks. I know this may take t ime to figu re out, so any
          temporary solutions/processes would be helpful to identify if we can just t urn the cont racts back

(Page 386 of Total)                                                                                     CFPB_00099 JA381
           Case 1:25-cv-00381-ABJ Document 56-1                      Filed 03/04/25 Page 100 of 116
       USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025 Page 387 of 637

          on. If they cannot be re-instated, we will need to find a permanent solution as quickly as possible.

          I am happy to meet to discuss the required needs and to answer any questions.

          Thanks for your support!


          Nykea Bolton
          Section Chief, Disability and Accessibility Programs Section
          Consumer Financial Protection Bureau
          Consumerfinance.gov




(Page 387 of Total)                                                                                 CFPB_00100 JA382
           Case 1:25-cv-00381-ABJ Document 56-1                                    Filed 03/04/25 Page 101 of 116
       USCA Case #25-5091    Document #2114200                                       Filed: 05/05/2025 Page 388 of 637

          From:               Martinez. Adam (CFPB)
          To:                 Tirrell. Pax (CFPB); Rosenthal. Lisa (CFPB)
          Cc:                 Paoletta, Mark (CFPB); Huggins. Cassandra (CFPB); Hagins. Calvin (CFPB)
          Subject:            RE: All Hands Message re: Work Required by Law
          Date:               Monday, March 3, 2025 12:41:00 PM


          Pax - Please feel free to seek guidance from your supervisor and Supervision Front
          Office. Any questions or concerns you have should be shared with Casey and Calvin
          who can then advise our Chief L egal Officer receive clarification.

          Adam Maitinez
          Chief Operating Officer

          From: Ti rrell, Pax (CFPB)
          Sent: Monday, March 3, 2025 11:46 AM
          To: Martinez, Adam (CFPB)
          Cc: Paoletta, Mark (CFPB)
          Subject: RE: All Hands Message re: Work Required by Law

          M y current understanding was that supervisory work was supposed to stop.
          But under 12 USC 5514(b)(1) the Bur eau "shall require r epo1ts ai1d conduct examin ations
          on a periodic basis" of non-depository institutions. Ther efore examin ation work of non-
          depository institutions appears to be a st atutorily r equir ed functi on. Could you pl ease
          authorize me to work on scheduled examinations of non -depository i nstitutions?

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadve1tent disclosure is not intended to waive any privileges.


          From: Martinez, Adam (CFPB)
          Sent: Sunday, March 2, 2025 12:33 PM
          Cc: Paoletta, Mark (CFPB)
          Subject: All Hands Message re: Work Required by Law


          Message from Mark Paoletta. Chief Legal Officer


          On behalf of Acting Director Vought, I am w riting to you to ensure that everyone is carrying out
          any statutorily required work, as he set forth in his February 8th emai l.

          On February 8, 2025, you received an email from Acting Director Vought directing you to halt
          several classes of work unless "required by law" or expressly approved by the Acting Director.
          On February 10, 2025, you received an email from Acting Director Vought directing you to
          reach out to me for the authorization required by the February 8 email. These measures were
          intended to ensure that new leadership cou ld establish operational control over the agency
          while ensuring that it wou ld continue to fulfill its statutory duties. Many of you understood this
          and continued to perform functions requ ired by law and sought approval from me to perform
          work, which I have promptly granted.



(Page 388 of Total)                                                                                            CFPB_00101 JA383
           Case 1:25-cv-00381-ABJ Document 56-1                  Filed 03/04/25 Page 102 of 116
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 389 of 637

          It has come to my attention, however, that some employees have not been performing
          statutorily required work. Let me be clear: Employees should be performing work that is
          required by law and do not need to seek prior approval to do so. If you have any questions,
          please reach out to me immediately, and I will promptly give you an answer and authorization
          if warranted. If you are aware of other employees that are needed to assist you in performing a
          statutorily required task but are not doing so, please raise this with me immediately.

          Thank you for your attention to this matter.

          Mark Paoletta
          Chief Legal Officer
          CFPB




(Page 389 of Total)                                                                          CFPB_00102 JA384
              Case 1:25-cv-00381-ABJ Document 56-1                      Filed 03/04/25 Page 103 of 116
          USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025 Page 390 of 637


  -------------
  From:                              Paoletta, Mark (CFPB)
  Sent:                              Monday, March 03, 2025 8:07 PM
  To:                                Carmer, Alan (CFPB); Martinez, Adam (CFPB)
  Cc:                                _DL_CFPB_CRE_FinEd_FinEd_All
  Subject:                           RE: All Hands Message re: Work Required by Law


  Good evening, Alan,

  Thanks for your email. Consistent with my email, you should be performing these statutorily required duties.

  Thanks.

  Mark

  From: Carmer, Alan (CFPB)
  Sent: Monday, March 3, 2025 3:15 AM
  To: Martinez, Adam (CFPB)
  Cc: Paoletta, Mark (CFPB)                              ; _DL_CFPB_CRE_FinEd_FinEd_All

  Subject: RE: All Hands Message re: Work Required by Law

  Mr. Martinez,

  I believe all the work in the Office of Financial Education is statutorily authorized and mandated. Please make clear
  whether the Office of Financial Education staff should resume their assigned duties to improve the financial literacy of
  consumers. A general outline of statutory responsibilities follows:

      x    12 U.S.C § 5411(c)(1) states that “conducting financial education programs” is the first of several “primary
           functions” of the CFPB. This work has been halted and should resume.
      x    12 U.S.C. § 5493(d ) requires the Office of Financial Education to develop and implement a strategy to improve
           the financial literacy of consumers. This work has been halted and should resume.
      x    12 U.S.C. § 5493(d)(2) states the office shall implement activities in several areas including financial counseling,
           savings, understanding credit scores, and debt strategies. This work has been halted and should resume.
      x    12 U.S.C. 5493(d)(2)(D)(iii) states the office shall implement activities to “improve the financial situation of the
           consumer.” This work has been halted and should resume.
      x    12 U.S.C. 5493(d)(3) requires staff to coordinate with other units in the bureau and specifically lists the Consumer
           Affairs Office and the research unit. This work has been halted and should resume.
      x    (see 20 U.S.C § 9702) Financial Literacy and Education Commission (FLEC).
               o 20 USC § 9702(d) states that the Director of the CFPB serves as the co-Chair of the Financial Literacy
                   and Education Commission (FLEC) with the Treasury Secretary as the chair.
               o 20 U.S.C. § 9702(c)(1) states that the FLEC comprises representatives from 23 federal agencies and the
                   White House Domestic Policy Council.
               o 20 U.S.C § 9702(e) states the FLEC must hold a public meeting every 4 months. The last meeting was on
                   11/14/2024. Staff planning for the next meeting has been halted and should resume.
               o 12 U.S.C. § 5493(d)(2) states the Office of Financial Education must work in consultation with the
                   FLEC. This work has been halted and should resume.
      x    12 U.S.C. § 5493(d)(4) requires an annual report to Congress on the CFPB’s strategy and activities to improve
           financial literacy. This work has been halted and should resume.


                                                                1
(Page 390 of Total)                                                                                    CFPB_00103 JA385
            Case 1:25-cv-00381-ABJ Document 56-1                               Filed 03/04/25 Page 104 of 116
        USCA Case #25-5091    Document #2114200                                  Filed: 05/05/2025 Page 391 of 637
  I have served through each change of administration in the CFPB and fully expect any new director or acting director to
  communicate new priorities through management. Indeed, the Office of Financial Education has experienced multiple
  reorganizations and has been in at least 3 different divisions as priorities evolve with changes in leadership. Each
  reorganization was disruptive in its own way, but our work was never halted entirely as it seems to be now.

  Again, please clarify that Office of Financial Education staff should resume their assigned duties to improve the financial
  literacy of consumers until new leadership is able to clearly communicate a change in financial education priorities.

  The primary statute relied upon to establish the Office of Financial Education is copied below the signature for reference.

  Alan S. Carmer
  Attorney-Advisor
  Office of Financial Education
  Mobile:

  Consumer Financial Protection Bureau
  consumerfinance.gov

  Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the e-mail and any
  attachments. An inadvertent disclosure is not intended to waive any privileges.




  12 U.S.C. § 5493(d)
  (1)Establishment
  The Director shall establish an Office of Financial Education, which shall be responsible for developing and
  implementing initiatives intended to educate and empower consumers to make better informed financial decisions.

  (2)Other duties
  The Office of Financial Education shall develop and implement a strategy to improve the financial literacy of consumers
  that includes measurable goals and objectives, in consultation with the Financial Literacy and Education Commission,
  consistent with the National Strategy for Financial Literacy, through activities including providing opportunities for
  consumers to access—
  (A)financial counseling, including community-based financial counseling, where practicable;
  (B)information to assist with the evaluation of credit products and the understanding of credit histories and scores;
  (C)savings, borrowing, and other services found at mainstream financial institutions;
  (D)activities intended to—
  (i)prepare the consumer for educational expenses and the submission of financial aid applications, and other major
  purchases;
  (ii)reduce debt; and
  (iii)improve the financial situation of the consumer;
  (E)assistance in developing long-term savings strategies; and
  (F)wealth building and financial services during the preparation process to claim earned income tax credits and Federal
  benefits.
  (3)Coordination
  The Office of Financial Education shall coordinate with other units within the Bureau in carrying out its functions,
  including—
  (A)working with the Community Affairs Office to implement the strategy to improve financial literacy of consumers; and
  (B)working with the research unit established by the Director to conduct research related to consumer financial
  education and counseling.
  (4)Report
  Not later than 24 months after the designated transfer date, and annually thereafter, the Director shall submit a report on
  its financial literacy activities and strategy to improve financial literacy of consumers to—
  (A)the Committee on Banking, Housing, and Urban Affairs of the Senate; and
                                                                      2
(Page 391 of Total)                                                                                               CFPB_00104 JA386
           Case 1:25-cv-00381-ABJ Document 56-1                      Filed 03/04/25 Page 105 of 116
       USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025 Page 392 of 637
  (B)the Committee on Financial Services of the House of Representatives.




  From: Martinez, Adam (CFPB)
  Sent: Sunday, March 2, 2025 12:33 PM
  Cc: Paoletta, Mark (CFPB)
  Subject: All Hands Message re: Work Required by Law

  Message from Mark Paoletta, Chief Legal OƯicer

  On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out any statutorily
  required work, as he set forth in his February 8th email.

  On February 8, 2025, you received an email from Acting Director Vought directing you to halt several classes of
  work unless “required by law” or expressly approved by the Acting Director. On February 10, 2025, you received an
  email from Acting Director Vought directing you to reach out to me for the authorization required by the February 8
  email. These measures were intended to ensure that new leadership could establish operational control over the
  agency while ensuring that it would continue to fulfill its statutory duties. Many of you understood this and
  continued to perform functions required by law and sought approval from me to perform work, which I have
  promptly granted.

  It has come to my attention, however, that some employees have not been performing statutorily required work.
  Let me be clear: Employees should be performing work that is required by law and do not need to seek prior
  approval to do so. If you have any questions, please reach out to me immediately, and I will promptly give you an
  answer and authorization if warranted. If you are aware of other employees that are needed to assist you in
  performing a statutorily required task but are not doing so, please raise this with me immediately.

  Thank you for your attention to this matter.

  Mark Paoletta
  Chief Legal OƯicer
  CFPB




                                                             3
(Page 392 of Total)                                                                               CFPB_00105 JA387
             Case 1:25-cv-00381-ABJ Document 56-1                     Filed 03/04/25 Page 106 of 116
         USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 393 of 637


  --------------
  From:                            Paoletta, Mark (CFPB)
  Sent:                            Monday, March 03, 2025 8:11 PM
  To:                              Martinez, Adam (CFPB); Muchnik, Irina (CFPB); Chilbert, Christopher (CFPB); Malik, Irfan
                                   (CFPB)
  Cc:                              Sayre, Stephen (CFPB); Scott, Adam (CFPB)
  Subject:                         RE: All Hands Message re: Work Required by Law


  Good evening, Irina,

  Yes, I concur with Adam’s guidance.

  Thanks.

  Mark

  From: Martinez, Adam (CFPB)
  Sent: Monday, March 3, 2025 10:05 AM
  To: Muchnik, Irina (CFPB)                          ; Chilbert, Christopher (CFPB)
  Malik, Irfan (CFPB)
  Cc: Paoletta, Mark (CFPB)                            Sayre, Stephen (CFPB)                               >; Scott, Adam
  (CFPB)
  Subject: RE: All Hands Message re: Work Required by Law

  Hi Irina. Please work with Chris and Irfan to shift any resources needed to comply with the statute
  and any applicable laws/regulations. Thank you.

  Adam Martinez
  Chief Operating Officer

  From: Muchnik, Irina (CFPB)
  Sent: Monday, March 3, 2025 10:02 AM
  To: Martinez, Adam (CFPB)
  Cc: Paoletta, Mark (CFPB)                           ; Sayre, Stephen (CFPB)                               ; Scott, Adam
  (CFPB)                        >
  Subject: Re: All Hands Message re: Work Required by Law

  Hi Adam,
  Based on every email starting 2/10 the unambiguous guidance was to stop all work tasks, no stipulation
  of statue requirements was made.

  As of today, Consumer Complaint Database(CCDB) has not had been refreshed with new data since
  02/22/2025 and displays an eror banner:
  https://www.consumerfinance.gov/data-research/consumer-
  complaints/search/?chartType=line&dateInterval=Month&dateRange=3y&date received max=2025-02-
  21&date_received_min=2022-02-21&lens=Product&searchField=all&subLens=sub_product&tab=Trends


                                                             1
(Page 393 of Total)                                                                                  CFPB_00106 JA388
            Case 1:25-cv-00381-ABJ Document 56-1 Filed 03/04/25 Page 107 of 116
       USCA Case #25-5091       Document #2114200           Filed: 05/05/2025    Page 394 of 637
  Dodd Frank mandates:
  The Consumer Financial Protection Bureau (CFPB) to maintain a public database where consumer
  complaints against financial institutions are recorded and published, ensuring transparency in the
  financial marketplace; this database is commonly referred to as the "CFPB Consumer Complaint
  Database”.

  I am seeking authorization to fix underlying issue with data pipelines which load data for
  CCDB. Since the Data Products team lost all other developers when all contracts were
  canceled, I am also seeking authorization to utilize other member of D&D and EDA to assist
  as needed.

  Thanks for your prompt attention,

  Irina Muchnik



  From: Martinez, Adam (CFPB)
  Date: Sunday, March 2, 2025 at 3:33 PM
  To:
  Cc: Paoletta, Mark (CFPB)
  Subject: All Hands Message re: Work Required by Law

  Message from Mark Paoletta, Chief Legal Officer

  On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out any statutorily
  required work, as he set forth in his February 8th email.

  On February 8, 2025, you received an email from Acting Director Vought directing you to halt several classes of
  work unless “required by law” or expressly approved by the Acting Director. On February 10, 2025, you received an
  email from Acting Director Vought directing you to reach out to me for the authorization required by the February 8
  email. These measures were intended to ensure that new leadership could establish operational control over the
  agency while ensuring that it would continue to fulfill its statutory duties. Many of you understood this and
  continued to perform functions required by law and sought approval from me to perform work, which I have
  promptly granted.

  It has come to my attention, however, that some employees have not been performing statutorily required work.
  Let me be clear: Employees should be performing work that is required by law and do not need to seek prior
  approval to do so. If you have any questions, please reach out to me immediately, and I will promptly give you an
  answer and authorization if warranted. If you are aware of other employees that are needed to assist you in
  performing a statutorily required task but are not doing so, please raise this with me immediately.

  Thank you for your attention to this matter.

  Mark Paoletta
  Chief Legal Officer
  CFPB



                                                            2
(Page 394 of Total)                                                                               CFPB_00107 JA389
              Case 1:25-cv-00381-ABJ Document 56-1                   Filed 03/04/25 Page 108 of 116
          USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 395 of 637


  ------------
   From:                             Paoletta, Mark (CFPB)
  Sent:                              Monday, March 03, 2025 8:14 PM
  To:                                Pappalardo, Janis (CFPB)
  Cc:                                Martinez, Adam (CFPB); Shapiro, Daniel (CFPB)
  Subject:                           RE: All Hands Message re: Work Required by Law



  Good evening, Jan is,

  Thanks for email. Please proceed with your proposed implementation strategies.

  Thanks.

   Mark

   From: Pappalardo, Janis (CFPB)
  Sent: Monday, March 3, 2025 1
  To: Paoletta, Mark (CFPB)
  Cc: Martinez, Adam (CFPB)                              Shapiro, Daniel (CFPB)
  Subject: RE: All Hands Message re: Work Required by Law

   Hi Mark,

  I hope this note find you well !

  I am reaching out to ensure that RMR meets your expectations on the scope and implementation of your
  March 2 guidance and guidance we received last week from Adam Martinez.

  Scope: I understand that RMR is authorized to conduct all regular work related to fu lfilling statutory
  obligations and/or work required by law, including regular management activities, albeit with limits on contact
  with outside parties. For example, I understand that we are authorized to perform work to comply with The
  Dodd-Frank Act and other laws and statutes, such as Section 502(a) of the Consumer Credit Card Market Act of
   2009.

  The RMR leadershi p team and I have reviewed our work against provisions of Dodd-Frank and other
  statutes. I believe that virtually all our work is conducted to meet the CFPB's statutory obligations. This
  implies that I expect we will bring virtually all RMR staff back to work.

   Implementation:

  Outside Party Communication: According to the February 27 guidance from Adam Martinez: "Any actions or
  communications with outside parties must be sent to Mark Paoletta, Chief Legal Officer and Daniel Shapiro,
  Deputy Chief Legal Officer." Given the volume and nature of communications involved in carrying out our
  work, I understand that this is difficult to implement. I also understand that you recently approved Assistant
  Director McNamara's request to conduct statutorily required market monitoring, with a cc to Adam, Daniel,
  and you on substantive matters, but not on scheduling and ma intenance issues and that the Office of Markets


                                                             1
(Page 395 of Total)                                                                            CFPB_00108 JA390
                Case 1:25-cv-00381-ABJ Document 56-1                           Filed 03/04/25 Page 109 of 116
            USCA Case #25-5091    Document #2114200                              Filed: 05/05/2025 Page 396 of 637
  will make you and Daniel aware of market monitoring meetings. We plan to apply this same understanding to
  external monitoring communications by other RMR Offices.

  I am proposing some additional implementation strategies for all RMR, below. Please let me know if you have
  any questions or concerns about these proposals.

        •     That communications within the federal government, with contracted entities, and within the Federal
              Reserve system that help us fulfill our statutory responsibilities will be pre-approved and not require
              your involvement. For example, a regular meeting with Federal Reserve system researchers about
              developments in risks to household financial stability can continue.
        •     That we resume engagement with outside researchers and other parties to advance the Bureau's
              research responsibilities. This would include discussing research findings in meetings, workshops, and
              conferences with other government agencies, presenting research findings at academic conferences,
              and attending research conferences. We expect to follow the usual Bureau procedures for authorizing
              and clearing any presentations and conference attendance and will alert you and Daniel prior to any
              presentation or attendance at a non-governmental conference.
        •     That internal reports go forward without prior approval.
        •     That we will await guidance on publishing material on the Bureau website, although refreshing data on
              the Bureau website for the Consumer Credit Trends and Mortgage Performance Trends will continue.
        •     That we will resume disseminating our research findings under the Independent Research Policy. This
              includes resuming posting on the working paper series on Social Sciences Research Network, an outlet
              for disclaimed research, and in proceeding with academic publications.
        •     That we resume the regulatory inquiries function through which the Office of Regulations responds to
              requests from external parties, particularly small businesses, for informal guidance on regulatory
              matters. This is one of several tools the office uses to comply with its SBREFA obligations.

  Please let me know if there is specific work that you would like us to move forward on or hold. Absent specific
  direction, I will use my discretion and best judgment to assign statutorily required work to staff.

   Respectfully yours,

  Jan


  Janis K. Pappalardo
  Deputy Associate Director and Acting Associate Director
  R e s e a r c ~ n d Regulations
  Mobile:- - -

  Consumer Financial Protection Bureau
  consumerfinance.gov


  Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the e-mail and any
  attachments. An inadvertent disclosure is not intended to waive any privileges.




                                                                      2
(Page 396 of Total)                                                                                               CFPB_00109 JA391
           Case 1:25-cv-00381-ABJ Document 56-1                     Filed 03/04/25 Page 110 of 116
       USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 397 of 637
  From: Martinez, Adam (CFPB)                             >
  Sent: Sunday, March 2, 2025 3:33 PM
  Cc: Paoletta, Mark (CFPB)
  Subject: All Hands Message re: Work Required by Law

  Message from Mark Paoletta, Chief Legal OƯicer

  On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out any statutorily
  required work, as he set forth in his February 8th email.

  On February 8, 2025, you received an email from Acting Director Vought directing you to halt several classes of
  work unless “required by law” or expressly approved by the Acting Director. On February 10, 2025, you received an
  email from Acting Director Vought directing you to reach out to me for the authorization required by the February 8
  email. These measures were intended to ensure that new leadership could establish operational control over the
  agency while ensuring that it would continue to fulfill its statutory duties. Many of you understood this and
  continued to perform functions required by law and sought approval from me to perform work, which I have
  promptly granted.

  It has come to my attention, however, that some employees have not been performing statutorily required work.
  Let me be clear: Employees should be performing work that is required by law and do not need to seek prior
  approval to do so. If you have any questions, please reach out to me immediately, and I will promptly give you an
  answer and authorization if warranted. If you are aware of other employees that are needed to assist you in
  performing a statutorily required task but are not doing so, please raise this with me immediately.

  Thank you for your attention to this matter.

  Mark Paoletta
  Chief Legal OƯicer
  CFPB




                                                              3
(Page 397 of Total)                                                                               CFPB_00110 JA392
            Case 1:25-cv-00381-ABJ Document 56-1                               Filed 03/04/25 Page 111 of 116
        USCA Case #25-5091    Document #2114200                                  Filed: 05/05/2025 Page 398 of 637


  -----------------
  From:
  Sent:
                                         Huggins, Cassandra (CFPB) <
                                         Tuesday, March 4, 2025 5:13 PM
                                                                                                        >

  To:                                    Paoletta, Mark (CFPB)
  Cc:                                    Hagins, Calvin (CFPB); Martinez, Adam (CFPB); Shapiro, Daniel (CFPB); Vought, Russell
                                         (CFPB); _DL_CFPB_Supervision_ALL
  Subject:                               RE: request for clarification for Supervision staff- FW: All Hands Message re: Work
                                         Required by Law
  Attachments:                           FW: All Hands Message re: Work Required by Law


  Mark,

  I am acknowledging that I received and read your email.

  I am a aching, as requested, the email that I sent to Supervision staﬀ. I did not provide this email to the media, and I do
  not know who did.

  I did not intend to undermine the new administra on’s ability to supervise agency staﬀ- my only inten on was to ensure
  that our staﬀ did not act against the direc on in the February 8 email from Ac ng Director Vought to cease all
  supervisory and examina on ac vity. I will work with Supervision leadership to prepare the reports you have requested,
  and will request that all supervision staﬀ provide the informa on you requested, by the stated deadline.

  Thank you.

  Cassandra Huggins

  Mobile:
          -
  Principal Deputy Assistant Director | Supervision Policy & Operations



  Consumer Financial Protection Bureau
  consumerfinance.gov



  Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the e-mail and any
  attachments. An inadvertent disclosure is not intended to waive any privileges.


  From: Paoletta, Mark (CFPB) <                             >
  Sent: Tuesday, March 4, 2025 4:51 PM
  To: Huggins, Cassandra (CFPB) <                                  >
  Cc: Hagins, Calvin (CFPB) <                          >; Martinez, Adam (CFPB) <                          >; Shapiro,
  Daniel (CFPB)                              >; Vought, Russell (CFPB) <                        >;
  _DL_CFPB_Supervision_ALL                                                >
  Subject: RE: request for clarification for Supervision staff- FW: All Hands Message re: Work Required by Law

  Good afternoon, Cassandra,

  I am writing to raise significant concerns regarding an internal agency communication you apparently sent
  yesterday that directly contradicts an email from me to all CFPB staƯ about my direction for all staƯ to perform all
  statutorily required work.

                                                                      1
(Page 398 of Total)                                                                                               CFPB_00111 JA393
           Case 1:25-cv-00381-ABJ Document 56-1                       Filed 03/04/25 Page 112 of 116
       USCA Case #25-5091    Document #2114200                          Filed: 05/05/2025 Page 399 of 637
  In an email Adam Martinez sent on Sunday (March 2 nd) conveying a message from me to the entire CFPB staƯ, I
  directed ALL CFPB staƯ to perform all work required by law and that they did not need to seek prior approval to do
  so. Nothing I have said or written since then contradicts that. You reached out to me yesterday, and as I am dual
  hatted and have job duties at OMB, I was not able to review and respond to your email yesterday. But I read a news
  report in Reuters that you reportedly sent an internal agency communication claiming that “We have requested
  and received clarification that their message was not intended to authorize the reinstatement of
  supervision/examination activity, even though the Bureau is required by law to carry out these activities.”

  Importantly, you did not receive that message from me. You apparently relied on an email from Adam, but his
  email refers you to Acting Director Vought’s February 8 th email which specifically states that you are to perform any
  work “required by law.” And he encouraged you to communicate with me, and presumably, wait to hear from me
  before sending out an email that directly contradicted my message on March 2 nd to CFPB employees.

  I am concerned that you sent out an internal agency communication on such an unfounded basis that is false and
  directly contradicts my March 2nd message without first getting confirmation directly from me. Your actions
  severely undermine the Agency leadership’s ability to supervise the agency staƯ and to ensure that statutorily
  required duties are being performed.

  Moreover, your internal communication somehow made its way to the press, further undermining our eƯorts to
  supervise agency staƯ.

  Let me be clear to you and the entire supervision oƯice, which I have cc’d on this email: You are authorized and
  directed to work on matters specifically required by statute. That said, it is of course within the new leadership’s
  discretion as to what matters CFPB will focus on.

  The Bureau’s new leadership seeks to understand the status of all of the agency’s actions so it can align such
  actions to the Bureau’s new priorities consistent with law. We have been aided in doing so by reports prepared by
  the Enforcement Division, Legal Division, and OƯice of Regulations showing the status of all actions within their
  respective purview, upcoming deadlines, statutory requirements, and other relevant matters. Such information is
  vital to allowing new leadership to ensure the Bureau is faithfully executing the law. And in fact, I have approved
  numerous requests from these and other divisions to perform work that is statutorily required or mission-aligned
  with the new leadership.

  Accordingly, I am directing you to prepare a report for the Bureau’s leadership providing a description of all
  pending examination actions, including their current status. Provide the name of the lead CFPB examiner on each
  matter, and the contact information for the lead attorney for the company under examination.

  As part of this report, please flag any particular actions that you believe are specifically required by
  statute. Leadership will review it and determine which actions to continue to pursue and to close.

  Additionally, please notify every employee in your division to provide to me a written summary of the specific
  matters they are working on, with the name of the entity being examined, how the matter was commenced and
  approximately how many hours they have spent on the matter.

  Please submit your report and direct every employee in your division to submit their response to me by COB
  Monday, March 10th.

  Please confirm by 6 pm today that you have received and read this email.

  Please forward to me by 6 pm the internal agency communication you reportedly sent that is quoted in the Reuters
  news report.


                                                              2
(Page 399 of Total)                                                                                 CFPB_00112 JA394
             Case 1:25-cv-00381-ABJ Document 56-1                     Filed 03/04/25 Page 113 of 116
         USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 400 of 637
  Finally, did you provide your internal agency communication to the media or do you know who provided it? Please
  provide your answer to me by 6 pm today.

  Thank you for your prompt attention to this matter.


  Mark

  Mark Paoletta
  Chief Legal OƯicer
  CFPB



  From: Huggins, Cassandra (CFPB) <                                   >
  Sent: Monday, March 3, 2025 10:33 AM
  To: Paoletta, Mark (CFPB) <                             >
  Cc: Hagins, Calvin (CFPB) <                          >
  Subject: request for clarification for Supervision staff- FW: All Hands Message re: Work Required by Law

  Good morning Mark,

  I’ve received a number of messages from staﬀ who are understandably confused by the informa on in the email sent by
  Adam Mar nez. I would like to get clarifica on on what exactly Supervision staﬀ is expected to be doing. I did reach out
  to Adam, and although he did say that supervision/examina on ac vity is not to resume, he encouraged me to reach out
  to you directly for confirma on.

  The Ac ng Director’s February 8 message directed the stoppage of all supervision and examina on ac vity, despite the
  fact that the work is required by law (12 CFR 1024, 1025, and 1026 require the Bureau to conduct such supervisory
  ac vi es). We’ve also stopped all work suppor ng supervision and examina on ac vity, including opera onal ac vi es
  such as policy/procedure development; quality management reviews; systems and registra on oversight; repor ng,
  analy cs, monitoring, exam priori za on/scheduling; and human capital ac vi es that support supervision. We’ve also
  told staﬀ to not engage in ac vi es requiring coordina on with par es outside of the Bureau, including coordina on
  with other federal/state regulatory agencies, par cipa on on FFIEC task forces/subcommi ees, or engagement with
  supervised en es.

  Supervision staﬀ has been authorized to work on some isolated tasks (                                               ,a
  handful of briefings/informa on gathering for Sr. leadership, and administra ve tasks like WebTA/Concur approval), but
  otherwise it is my understanding that they should conƟnue to operate on administraƟve leave unless a discrete
  acƟvity has been approved. Please confirm that the message you sent is not intended to authorize the reinstatement
  of supervision/examinaƟon acƟvity and the acƟviƟes that support this funcƟon despite the fact that the Bureau is
  required by law to conduct these acƟviƟes.

  Thanks,
  Casey


  Cassandra Huggins

  Mobile:
            -
  Principal Deputy Assistant Director | Supervision Policy & Operations



  Consumer Financial Protection Bureau
  consumerfinance.gov
                                                              3
(Page 400 of Total)                                                                                 CFPB_00113 JA395
            Case 1:25-cv-00381-ABJ Document 56-1                               Filed 03/04/25 Page 114 of 116
        USCA Case #25-5091    Document #2114200                                  Filed: 05/05/2025 Page 401 of 637


  Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the e-mail and any
  attachments. An inadvertent disclosure is not intended to waive any privileges.


  From: Martinez, Adam (CFPB) <                                     >
  Sent: Sunday, March 2, 2025 3:33 PM
  Cc: Paoletta, Mark (CFPB) <                       >
  Subject: All Hands Message re: Work Required by Law

  Message from Mark Paoletta, Chief Legal OƯicer

  On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out any statutorily
  required work, as he set forth in his February 8th email.

  On February 8, 2025, you received an email from Acting Director Vought directing you to halt several classes of
  work unless “required by law” or expressly approved by the Acting Director. On February 10, 2025, you received an
  email from Acting Director Vought directing you to reach out to me for the authorization required by the February 8
  email. These measures were intended to ensure that new leadership could establish operational control over the
  agency while ensuring that it would continue to fulfill its statutory duties. Many of you understood this and
  continued to perform functions required by law and sought approval from me to perform work, which I have
  promptly granted.

  It has come to my attention, however, that some employees have not been performing statutorily required work.
  Let me be clear: Employees should be performing work that is required by law and do not need to seek prior
  approval to do so. If you have any questions, please reach out to me immediately, and I will promptly give you an
  answer and authorization if warranted. If you are aware of other employees that are needed to assist you in
  performing a statutorily required task but are not doing so, please raise this with me immediately.

  Thank you for your attention to this matter.

  Mark Paoletta
  Chief Legal OƯicer
  CFPB




                                                                        4
(Page 401 of Total)                                                                                               CFPB_00114 JA396
            Case 1:25-cv-00381-ABJ Document 56-1                               Filed 03/04/25 Page 115 of 116
        USCA Case #25-5091    Document #2114200                                  Filed: 05/05/2025 Page 402 of 637


  -----------------
  From:
  Sent:
                                         Huggins, Cassandra (CFPB) <
                                         Monday, March 3, 2025 12:13 PM
                                                                                                           >

  To:                                    _DL_CFPB_Supervision_ALL
  Subject:                               FW: All Hands Message re: Work Required by Law


  Supervision staﬀ,

  Calvin and I know that there is quite a bit of confusion surrounding the message we received from Adam Mar nez/Mark
  Paole a on March 2. We have requested and received clarifica on that their message was not intended to authorize
  the reinstatement of supervision/examina on ac vity, even though the Bureau is required by law to carry out these
  ac vi es. We are also not to resume any func ons that support the supervision/examina on program, and are not to
  communicate with par es outside of the Bureau on Bureau ma ers without receiving approval from the Chief Legal
  Oﬃcer.

  It has been communicated to me that Supervision staﬀ should con nue to operate on administra ve leave as directed
  by the Ac ng Director unless you have received express permission to work on a task. In general, this permission will
  come from Calvin, me, or your supervisor. Please do not work on anything else without authoriza on. If you have a
  ques on about whether you’ve been authorized to perform a task, please reach out to your supervisor. As a reminder,
  staﬀ have been given permission to conduct some administra ve tasks such as valida ng/cer fying mecards in WebTA
  and submi ng/approving vouchers in Concur. Some staﬀ have also been authorized to work on discrete tasks and may
  con nue to work on those as directed.

  OSPO managers- if your teams are responsible for carrying out any other statutorily-mandated ac vi es and you aren’t
  sure whether they fall under the broader umbrella of supervisory or examina on ac vity or ac vi es that support this
  func on, please send me an email with the ac vity and the specific statutory language that requires it, and I will send a
  request to the Chief Legal Oﬃcer.

  Thanks,
  Casey


  Cassandra Huggins

  Mobile:
            -
  Principal Deputy Assistant Director | Supervision Policy & Operations



  Consumer Financial Protection Bureau
  consumerfinance.gov



  Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the e-mail and any
  attachments. An inadvertent disclosure is not intended to waive any privileges.


  From: Martinez, Adam (CFPB) <                                     >
  Sent: Sunday, March 2, 2025 3:33 PM
  Cc: Paoletta, Mark (CFPB) <                       >
  Subject: All Hands Message re: Work Required by Law

  Message from Mark Paoletta, Chief Legal OƯicer
                                                                        1
(Page 402 of Total)                                                                                               CFPB_00115 JA397
           Case 1:25-cv-00381-ABJ Document 56-1                     Filed 03/04/25 Page 116 of 116
       USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 403 of 637

  On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out any statutorily
  required work, as he set forth in his February 8th email.

  On February 8, 2025, you received an email from Acting Director Vought directing you to halt several classes of
  work unless “required by law” or expressly approved by the Acting Director. On February 10, 2025, you received an
  email from Acting Director Vought directing you to reach out to me for the authorization required by the February 8
  email. These measures were intended to ensure that new leadership could establish operational control over the
  agency while ensuring that it would continue to fulfill its statutory duties. Many of you understood this and
  continued to perform functions required by law and sought approval from me to perform work, which I have
  promptly granted.

  It has come to my attention, however, that some employees have not been performing statutorily required work.
  Let me be clear: Employees should be performing work that is required by law and do not need to seek prior
  approval to do so. If you have any questions, please reach out to me immediately, and I will promptly give you an
  answer and authorization if warranted. If you are aware of other employees that are needed to assist you in
  performing a statutorily required task but are not doing so, please raise this with me immediately.

  Thank you for your attention to this matter.

  Mark Paoletta
  Chief Legal OƯicer
  CFPB




                                                            2
(Page 403 of Total)                                                                               CFPB_00116 JA398
             Case 1:25-cv-00381-ABJ Document 57-1                     Filed 03/04/25 Page 1 of 2
       USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 404 of 637


         INDEX OF EMAILS, TEXT MESSAGES, AND OTHER COMMUNICATIONS (MARCH 4, 2025)

          Exhibit     Date                                     Description
             A        2/11   Email to contracting officers with subject line “Urgent Action: Contract
                             Termination and Continuation Notifications (Emails)”
             B        2/11   “Urgent update” to contracting officers with “direction to terminate all
                             Enforcement, … Supervision, … External Affairs, … Consumer Response,
                             … [and] Office of Director” contracts
             C        2/11   Adam Martinez memorandum terminating probationary employees
             D        2/11   Notice to NCLC regarding CFPB’s “blanket Stop Work Order”
             E        2/11   Email from Adam Martinez regarding civil penalty fund and returning
                             CFPB’s money to Federal Reserve
             F        2/11   Email from Consumer Response identifying contracts that directly support
                             its statutory requirements
             G        2/12   Termination of NCLC contract
             H        2/13   Adam Martinez memorandum terminating the Student Loan Ombudsman
             I        2/13   Memo from Matthew Pfaff regarding staffing at Consumer Response
             J        2/14   Email instructing all staff to “exercise administrative leave”
             K        2/17   Email regarding closure of regional offices
             L        2/18   Email from Christopher Chilbert (CFPB Chief Information Officer)
                             declining request to fix the CFPB’s homepage
            M         2/26   Email regarding discontinuation of “Citrix Virtual Desktop”
             N        2/27   Auto-response from HR regarding “recent or impending separation”
             O        2/27   Email directing employees to retrieve personal belongings from CFPB
                             building and return CFPB equipment
             P        2/27   Email from Adam Martinez regarding “Statutory/Legal Required Work”
             Q        2/28   Email from Assistant Director of Research regarding resumption of
                             “statutory work”
             R        2/28   Emails with Francis Doe regarding statutorily mandated reports
             S        2/28   Text message telling Francis Doe to “stand down until further notice”
             T        3/1    Email to Office of Finance and Procurement inquiring about statutory
                             requirements
             U        3/3    Email to supervision examiners asking them to “refrain from all work
                             activity other than ministerial tasks” pending further guidance
             V        3/3    Email instructing supervision staff to “continue to comply with the stop work
                             order”
            W         3/3    Email notifying supervision staff that Martinez and Paoletta’s 3/2 email do
                             not authorize them to carry out activities “required by law”
             X        3/3    Email from CFPB’s CFO discussing “very narrow approach” to “turning
                             back on … contract[s]”


(Page 404 of Total)                                                                                          JA399
             Case 1:25-cv-00381-ABJ Document 57-1                  Filed 03/04/25 Page 2 of 2
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 405 of 637



             Y        3/3   Status update on Research, Monitoring, and Regulations’ ability to “comply
                            with the directive to resume statutory responsibilities”
             Z        3/3   Email about “getting the [Consumer Complaint Database] back up and
                            running”
            AA        3/3   Email to operations about “statutory requirements”
            BB        3/3   Email providing probationary employee with Notification of Termination
                            (approved on 2/13) pursuant to “E.O. 14210 and the stop work email from
                            Russ Vought”
            CC        3/3   Email providing term employee with notification of Termination (approved
                            on 2/15) pursuant to “E.O. 14210 and the stop work email from Russ
                            Vought”
            DD        3/4   Email from Christopher Chilbert declining request to fix the homepage
            EE        3/4   Email from CFO in response to request to pay for Google Analytics
                            platform, without which CFPB “will lose all historical data”
            FF        3/4   Email chain between Mark Paoletta and Cassandra Huggins about status of
                            Supervision
            GG        3/4   Screen shot of “CFPB Tip Line” taken from X on March 4 at 11:05 PM
            HH        3/4   White House statement says that “President Trump ordered the” CFPB “to
                            halt operations”




(Page 405 of Total)                                                                                      JA400
              Case 1:25-cv-00381-ABJ Document 60                  Filed 03/05/25 Page 1 of 2
       USCA Case #25-5091    Document #2114200                    Filed: 05/05/2025 Page 406 of 637



                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA

          NATIONAL TREASURY
          EMPLOYEES UNION, et al.,
                         Plaintiffs,
               v.

          RUSSELL VOUGHT, in his official capacity            Case No. 25-cv-0381-ABJ
          as Acting Director of the Consumer Financial
          Protection Bureau, et al.,

                                Defendants.


                                              NOTICE OF ERRATA

                Attached is a corrected, text-searchable version of the communications filed as an exhibit

         to ECF No. 57.


                                                             Respectfully submitted,


                                                             Dated: March 5, 2025

                                                             /s/ Deepak Gupta
                                                             Deepak Gupta (DC Bar No. 495451)
                                                             Robert Friedman (DC Bar No. 1046738)
                                                             Gabriel Chess (DC Bar No. 90019245)*
                                                             Gupta Wessler LLP
                                                             2001 K Street, NW
                                                             North Tower, Suite 850
                                                             Washington, DC 20006
                                                             (202) 888-1741

                                                             Jennifer D. Bennett (pro hac vice)
                                                             Gupta Wessler LLP
                                                             505 Montgomery Street
                                                             San Francisco, CA 94111
                                                             (415) 573-0335

                                                             Wendy Liu (DC Bar No. 1600942)
                                                             Adam R. Pulver (DC Bar No. 1020475)
                                                             Allison M. Zieve (DC Bar No. 424786)
                                                             Public Citizen Litigation Group


                                                         1
(Page 406 of Total)                                                                                          JA401
              Case 1:25-cv-00381-ABJ Document 60   Filed 03/05/25 Page 2 of 2
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 407 of 637



                                               1600 20th Street NW
                                               Washington, DC 20009
                                               (202) 588-1000

                                               Counsel for Plaintiffs

                                               * motion for admission pending

                                               Julie Wilson (DC Bar No. 482946)
                                               General Counsel
                                               Paras N. Shah (DC Bar No. 983881)
                                               Deputy General Counsel
                                               Allison C. Giles (DC Bar No. 439705)
                                               Assistant Counsel
                                               National Treasury Employees Union
                                               800 K Street, NW, Suite 1000
                                               Washington, DC 20001
                                               (202) 572-5500

                                               Counsel for Plaintiff National Treasury Employees
                                               Union




                                           2
(Page 407 of Total)                                                                        JA402
            Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 1 of 107
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 408 of 637




                                            


                                            

                                                                                   




(Page 408 of Total)                                                                 JA403
             Case 1:25-cv-00381-ABJ Document 60-1                         Filed 03/05/25 Page 2 of 107
        USCA Case #25-5091    Document #2114200                            Filed: 05/05/2025 Page 409 of 637




           Contracting Officers,
           Thank you for logging on - we really appreciate it. Please take a few minutes to read through the
           infonnation below. I am *not* "Blind Carbon Copying" (BCC'ing) you all, like I usually do. So, if you
           notice any huge "red flags" in the guidance below, please "Reply All" and Josh, Vanessa, Laurent, and/or
           I can get you answers as a group. We need to get these Tennination Notifications out ASAP.
           We have been and will be receiving infonnation on a "rolling" basis. Sho1tly, you will receive access to a
           Spreadsheet owned by Mike Gleason (copied here) that includes contract actions for CRE. We will
           receive Spreadsheets from other Offices / Divisions sho1tly. Mike G. will do his best to combine those
           Spreadsheets ifi'when possible, but since there is time sensitivity here, we are asking you to push fo1ward
           with what we have.
           Here is how we're requesting you issue Temrination for Convenience Notifications and Continuation of
           Services emails in the coming hours (ASAP):
               • The Spreadsheets you re-ceive will include contracts where a Tennination for Convenience is
                 required (denoted by a "T4C" in the "Disposition" column to the far right within the
                 Spreadsheet) as well as contracts that shall continue (again, as identified in the "Disposition"
                 column).
               • We are asking you to send a separate email for each contract that requires a Tennination
                 Notification, as well as each contract that is authorized to continue (see below for required email
                 notification wording).
                     o   We understand that "one-by-one emails" obviously means "more emails to send," but there
                         are many logistical entanglements that make sending a "BCC'' email to all vendors
                         impossible and unadvisable. In paiticular, we have already identified "overlap" where
                         some Vendors have contracts that must be Tenninated for Convenience *and* contracts that
                         will Continue (essential services or othe1wise). We anticipate additional "overlap," as well.
               • The Spreadsheets may include Vendor POCs (Contract Manager email addresses) for the contracts
                 at issue, but please confnm they are conect before sending any coll1lllunications. Please find
                 Vendor POCs in your contracts or emails, if needed.
               • For Tennination Notifications: Please create a sepai·ate "Temrination" folder within the
                 Modifications folder, ai1d save the Tenuination email in it. That way, when the fom1al
                 Modification to Tenninate for Convenience is issued at a later date, the notification is there for
                 easy reference.
               • For Continuation of Se1vices notifications: Please save the email in the Post-Awai·d folder used
                 for coll1111unications with the vendor/contractor.
               • Use the Spreadsheets to denote when you have sent the Tennination Notification or the
                 Continuation of Se1vices Notification (again, see below for required wording). The Spreadsheets
                 will have an "Email Sent to Vendor" column, where you should list "Yes" once you have sent and
                 saved the applicable email (Tennination or Continuation of Services).
                     o   We will use these Spreadsheets to Track our progress, and we will discuss these at the
                         Procurement Pipeline Meeting tomonow (Wednesday) morning.

           Reguired Email Notification Wordin2

         For contracts that require a Te1mination Notification, please send the following email (one email for each
         respective contract):
(Page 409 of Total)                                                                                                 JA404
            Case 1:25-cv-00381-ABJ Document 60-1 Filed 03/05/25 Page 3 of 107
       USCA Email
            CaseSubject:
                  #25-5091    Document
                         Termination      #2114200of the Government
                                     for Convenience       Filed: 05/05/2025      Page Contract
                                                                     – Contract # Insert 410 of 637
              Number



              Pursuant to FAR clause 52.212-4(l), the Consumer Financial Protection Bureau (CFPB) hereby
              terminates in its entirety the subject contract, effective today. As such, you are directed to
              immediately stop all work under the subject contract, terminate all subcontracts, and place no further
              orders. You are also directed to provide by electronic means similar instructions to all
              subcontractors and suppliers. You are required to keep detailed, individual records of your steps
              taken and expenditures, if any, you intend to claim as a result of the CFPB terminating this contract.
              We request that you provide within 30 days the entirety of the termination settlement proposal(s), if
              any, you will be submitting for the subject contract. Finally, it is necessary that you immediately
              confirm receipt of this termination for convenience notice via an electronic mail (e-mail) response to
              me, the Contracting Officer for the subject contract.



         For contracts that shall continue, please send the following email (one email for each respective
         contract):



              Email Subject: Continuation of Services Notification – Contract # Insert Contract Number



              You might have received a blanket Stop Work Order from the Office of Finance and Procurement
              yesterday. Please note that you are being instructed to continue work on the subject contract and
              there will not be a work stoppage. The Office of Finance and Procurement will follow up if there are
              any additional changes in direction.



         Again, thank you so much for your work on these! Please monitor your email for the first (and future)
         Spreadsheet(s) from Mike Gleason. Thank you!!



         Sincerely,

         Nick Olson

         Procurement Team Lead | Office of Finance and Procurement

         Mobile:



         Consumer Financial Protection Bureau
         consumerfinance.gov




         Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
         the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.



(Page 410 of Total)                                                                                                              JA405
            Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 4 of 107
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 411 of 637




                                            


                                            

                                                                                   




(Page 411 of Total)                                                                 JA406
            Case 1:25-cv-00381-ABJ Document 60-1                  Filed 03/05/25 Page 5 of 107
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 412 of 637




                                                                                     >; Fils, Nicole (CFPB)
                                                                                      right, Peggy (CFPB)
                                                                                     >· McKay, Crystal
                                                                                         >; Salinas, Jerry
                                                                                      1 ano, Michael (CFPB)


           c:    ar   . oar                              >; ra en . anner

          ~ Urgent Action: Contract Termination and Continuation Notifications (Emails)
          URGENT UPDATE



          Team,



          We just received direction to terminate all Enforcement (102 contracts) , Supervision (16
          contracts), External Affairs (3 contracts), Consumer Response (20 contracts), Office of Director
          (33 contracts) , and Legal Division (all except 2 contracts - FD Online Licenses and litigation
          data).

          ~·ve asked Mike to change the disposition for all these contracts in the shared sheets. We have
          some changes we'll need to make with CRE, Director's Office, and Supervision since those
          notifications went out already.



          This means we're just now waiting on decisions for the Ops contracts.



          Adding our BFS colleagues here as well.



          Thx!



          Josh




(Page 412 of Total)                                                                                           JA407
            Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 6 of 107
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 413 of 637




                                            


                                            

                                                                                   




(Page 413 of Total)                                                                 JA408
            Case 1:25-cv-00381-ABJ Document 60-1                           Filed 03/05/25 Page 7 of 107
       USCA Case #25-5091    Document #2114200                              Filed: 05/05/2025 Page 414 of 637




                                                          February 11, 2025

               MEMORANDUM FOR [EmployeeFirstName] [EmployeeLastName], [JobTitle], [Division]

               FROM:                       Adam Martinez
                                           Acting Chief Human Capital Officer
                                           Operations Division, Front Office

               SUBJECT:                    Notification of Termination During Probationary Period

               REFERENCES:                 5 U.S.C. § 7511
                                           5 U.S.C. § 3321(a)
                                           5 C.F.R. §§ 315.803 and 804
                                           5 C.F.R. § 316.304

                        This is to provide notification that I am removing you from your position of
               [JobTitle] and federal service consistent with the above references.

                       On [AppointmentDate], the agency appointed you to the position of [JobTitle]. As
               documented on your appointment Standard Form 50 (SF-50), your appointment is subject
               to a probationary/trial period. The agency also informed you of this requirement in the job
               opportunity announcement for the position.

                       Guidance from the Office of Personnel Management (“OPM”) states, “An
               appointment is not final until the probationary period is over,” and the probationary period
               is part of “the hiring process for employees.”1 “A probationer is still an applicant for a
               finalized appointment to a particular position as well as to the Federal service” 2 “Until the
               probationary period has been completed,” a probationer has “the burden to demonstrate
               why it is in the public interest for the Government to finalize an appointment to the civil
               service for this particular individual.”3
                      Unfortunately, the Agency finds that that you are not fit for continued employment
               because your ability, knowledge and skills do not fit the Agency’s current needs.
                       For these reasons, I regrettably inform you that I am removing you from your
               position of [JobTitle] with the agency and the federal civil service effective [EffectiveDate].

                      If you believe this action is being taken based on partisan political reasons or
               marital status, you have a right to file an appeal with the Merit Systems Protection Board
               (MSPB) under 5 C.F.R. § 315.806. You must file an appeal within 30 days of the effective

                 1
                    OPM, Practical Tips for Supervisors of Probationers.
                 2
                    See U.S. Merit Systems Protection Board Report to the President and Congress, The Probationary Period:
         A Critical Assessment Opportunity (August 2005)
                  3
                    Id.



(Page 414 of Total)                                                                                                          JA409
            Case 1:25-cv-00381-ABJ Document 60-1                  Filed 03/05/25 Page 8 of 107
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 415 of 637



              date of this decision or 30 days after the date of your receipt of this decision, whichever is
              later. You should review MSPB regulations at 5 C.F.R. §§ 1201.14 and 1201.24 for
              instructions on how to file an electronic appeal and content requirements of the appeal,
              respectively. For more information, please visit www.mspb.gov or contact your local
              MSPB regional or field office.

                     You will be sent a postage paid box to return your CFPB ID badge, laptop, iPhone,
              and other equipment or items owned by CPFB.

                     For questions related to employee benefits (such as continuation of coverage for
              health coverage, withdrawal of retirement contributions, etc.) or other matters associated
              with employee benefits contact CFPB_HRBenefits@cfpb.gov.

                      I appreciate your service to the Agency and wish you the greatest of success in your
              future endeavors. If you have any questions, please you may contact the CFPB Employee
              Relations team at CFPB_EmployeeRelations@cfpb.gov.




(Page 415 of Total)                                                                                            JA410
            Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 9 of 107
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 416 of 637




                                            


                                            

                                                                                   




(Page 416 of Total)                                                                 JA411
              Case 1:25-cv-00381-ABJ Document 60-1                                      Filed 03/05/25 Page 10 of 107
          USCA Case #25-5091    Document #2114200                                        Filed: 05/05/2025 Page 417 of 637
                 National
 NCLC            Consumorlaw
                 Center
                                                                                                            Katie Eelman                        >
 I  I
  Stop Work Notice - Contract
  Braden K. Sanner                                                                                                 Tue, Feb 11 , 2025 at 10:27 PM
  To:'
  Cc:


     Good Evening,



     You might have received a blanket Stop Work Order from the Consumer Financial Protection Bureau (CFPB), Office of
     Finance and Procurement yesterday, 02/10/2025. Please note that this is your official notice, in accordance with FAR
     52.242-15, with instruction to stop work on the subject contract immediately, incurring no additional costs, until otherwise
     instructed by the Contracting Officer. Fiscal Service Procurement will follow up if there are any additional changes in
     direction. This notice is effective immediately, 02/11/2025.



     Please confirm receipt of this email as soon as possible.



     Braden K. Sanner
     Supervisory Contracting Officer

     Bureau of the Fiscal Service




    -



(Page 417 of Total)                                                                                                                          JA412
https://mai1 goog1e.com/mail/u/0/?ik=c603e04c6b&view=pt&searc.h=al1&permmsgid=msg-f: 1823820621020077020&simp1=msg-f: 182382062 1020077020          1/1
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 11 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 418 of 637




                                           


                                           

                                                                                  




(Page 418 of Total)                                                                JA413
           Case 1:25-cv-00381-ABJ Document 60-1                                        Filed 03/05/25 Page 12 of 107
       USCA Case #25-5091    Document #2114200                                          Filed: 05/05/2025 Page 419 of 637



              From:            Martinez Adam (CFPBl
              To:              Bishop. James: Paoletta. Mark rcFPBl
              Cc:              Gueye, Jafnar (CFPB}; Szybala. Ju!ia (CFPBl: Young. Christopher CCEPBl
              Subject:         CPF and Funding Transfer
              Date:            Tuesday, February 11, 2025 12:36:29 PM


              Hi Dan and Mark -

              I wanted to introduce you both to Jafnar Gueye, our Chief Financial Officer. There
              are two items he is ready to assist on.

                    1. At your convenience he will be ready to provide you a briefing on the Civil
                       Penalty Fund including the contractor/vendor that serves as the Bureau's
                       intermediary and the process for disbursements of funds to consumers.
                    2. Jafnar is currently in communications with the Federal Reserve regarding the
                       Bureau's ability to return money to either Treasury or the Federal Reserve if
                       needed. He can provide you with an update and perhaps how the money is
                       transferred to us, which is unique.

             Adam

             Adam Martinez
             Chief Operating Officer




(Page 419 of Total)                                                                                                     JA414
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 13 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 420 of 637




                                           


                                           

                                                                                  




(Page 420 of Total)                                                                JA415
              Case 1:25-cv-00381-ABJ Document 60-1                      Filed 03/05/25 Page 14 of 107
          USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 421 of 637

        $#3
         $#3      3000       30 ##$#!(0! $!#0!0#!#0#
       #3
       #3          $"(20!$!(0++20,*,.0#0++3++3-/ 0"#!0 #!0
       !3
       !3          !"(20!05 60
       3
       3           )20##&05 60
       ###"3
       ###"3  4#%0#!#"0"#0#1'"'


      
      
      '(1
      &"

      Darian Dorsey
      Deputy Associate Director | Division of Consumer Response and Education
      Office:               | Mobile:
      
      &#!3
      &#!3#&'.1&"56
      "(3
      "(3,'.1&,&.991:8:;99398
      #3
      #3,.1 "&56
      3
      3 #"'#"1&'(#$&56                                         2 1 #',56
                                 2 !'1"56                                 2 &)"/1!56

      ,(3
       ,(33  3((,(#&.&%,&!"(#&#"(&((
      
         "&1
      
       ''+#&#"',!&'$#"'",)#"4
      
      '(1
      &"

      Darian Dorsey
      Deputy Associate Director | Division of Consumer Response and Education
      Office:               | Mobile:
      
      &#!3
      &#!3,.1 "&56
      "(3
      "(3,'.1&,&.991:8:;983:<
      #3
      #3''1#".56                             ## #-1"56                          >2 #"1
      56                                 2#&'.1&"56
      "1 "56                           2&&"1 ,"56                                   2
       ,"'1''"&56                                     2,+#"1 # ."56
                                  2(1#".56
      3
      3 1 #',56                               2 !'1"56                          2
        $&"1&56                            2 '1 #& 56                         2 #"'#"1
      &'(#$&56                                      2 &)"/1!56
                                    2$$ &#1 "'56
      ,(3
      ,(3  3((,(#&.&%,&!"(#&#"(&((

(Page 421 of Total)                                                                                                 JA416
           Case 1:25-cv-00381-ABJ Document 60-1                            Filed 03/05/25 Page 15 of 107
       USCA Case #25-5091    Document #2114200                              Filed: 05/05/2025 Page 422 of 637


      Deputies,


      We have a ve1y quick turnaround data call asking you to identify which of your contracts directly support
      a statuto1y requirement, meaning that we would not be able to meet a statuto1y requirement without this
      contract.
      This is similar to the data call sent earlier but applies to all of your conh·acts.
      Please look at your respective files and mark in col [F] all the contracts that fall under the criteria along
      with a brief one sentence summarizing the statutory language that supports the requirement.
      Apologies for the quick turnaround.

      Thank you

      Respectfully,

      J afnar Gu eye
      Chief Financial Officer (CFO)
      Office of Finance and Procurement




      Consumer Financial Protection Bureau
      consun1e1-fiuance.gov


      Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
      the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.




(Page 422 of Total)                                                                                                           JA417
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 16 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 423 of 637




                                           


                                           

                                                                                  




(Page 423 of Total)                                                                JA418
I  I     Case 1:25-cv-00381-ABJ Document 60-1
            National                                                    Filed 03/05/25 Page 17 of 107
NCLC USCA Case #25-5091 Document #2114200
            ConsumerLaw
            Center
                                                                                    Shennan Kavanagh
                                                                         Filed: 05/05/2025     Page 424 of 637                >
I  I
Fwd: Termination for Convenience of the Government- Contract 20343021C00006
1 message

                                                                                                 Wed, Feb 12, 2025 at 4:17 PM


 FYI on the below.

 Can someone let me know if I should respond to confirm receipt?

 Thanks!

 - - - Forwarded message -----
 From: Mark A. Board                                  >
 Date: Wed, Feb 12, 2      a :
 Subject: Termination for Convenience of the Government - Contract 20343021 C00006
 To:
 Cc:                                                  >, Sanders, Kathy (CFPB)                       >, Braden K. Sanner




 Good Afternoon,

 On 02/11/2025, you were notified to stop work. Pursuant to FAR clause 52.212-4(1), Fiscal Service Procurement on the
 behalf of the Consumer Financial Protection Bureau (CFPB) hereby terminates in its entirety the subject contract,
 effective 02/12/2025. As such, you are directed to immediately stop all work under the subj ect contract, terminate all
 subcontracts, and place no further orders. You are also directed to provide by electronic means similar instructions to
 all subcontractors and suppliers. You are required to keep detailed, individual records of your steps taken and
 expenditures, if any, you intend to claim as a result of the CFPB terminating this contract. We request that you provide
 within 30 days the entirety of the termination settlement proposal(s), if any, you will be submitting for the subject
 contract.

 Finally, it is necessary that you immediately confirm receipt of this termination for convenience notice via an electronic
 mail (e-mail) response to me, the Contracting Officer for the subject contract.




 Thanks,

 Mark Board
 Lead Contracting Officer
 Bureau of the Fiscal Service
 Office of Shared Services/DPS
 Office :




  (Page 424 of Total)                                                                                            JA419
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 18 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 425 of 637




                                           


                                           

                                                                                   




(Page 425 of Total)                                                                JA420
           Case 1:25-cv-00381-ABJ Document 60-1                         Filed 03/05/25 Page 19 of 107
       USCA Case #25-5091    Document #2114200                           Filed: 05/05/2025 Page 426 of 637

         C                    Consumer Financia
                              Protection Bureau


         1700 G Street, N.W., Washington, DC 20552


         MEMORANDUM FOR:                     JULIA BARNARD
                                             MARKETS & POLICY FELLOW (PROG MANAGER)
                                             DIRECTOR, OFF POLICY PLAN & STRAT

         FROM:                               Adam Martinez
                                             Acting Chief Human Capital Officer
                                             Operations Division, Front Office

         DATE:                               February 13, 2025

         SUBJECT:                            Termination of Temporary/Excepted Appointment

         On February 27, 2022, you were hired on a Temporary Excepted Service appointment as a/an
         MARKETS & POLICY FELLOW (PROG MANAGER) in DIRECTOR, OFF POLICY PLAN &
         STRAT, at the Consumer Financial Protection Bureau for a period not to exceed February 27,
         2026.

         The purpose of this memorandum is to notify you that your employment will be terminated
         effective at the close of business on February 13, 2025, due to Executive Order Implementing
         The President's "Department of Government Efficiency" Workforce Optimization Initiative –
         The White House dated February 11, 2025.

         If you believe this termination is being taken in whole or in part because of discrimination based
         on race, color, religion, sex, national origin, disability, age, genetic information, pregnancy
         and/or reprisal for prior EEO activity, you may file a discrimination complaint with the Agency’s
         Office of Civil Rights. To initiate the formal discrimination complaint process, you must first
         contact an EEO Counselor within forty-five (45) calendar days of the employment action or
         event you believe is discriminatory, harassing, or retaliatory. You may contact the Office of Civil
         Rights at                           or                   ,                   or              (TTY).

         If you believe this action is in retaliation for your making protected whistleblowing disclosures,
         you may also seek corrective action from the U.S. Office of Special Counsel (OSC). If you do
         so, your appeal may be limited to whether the Agency took one or more covered personnel
         actions against you in retaliation for making protected whistleblowing disclosures, and you will
         not be able to challenge the decision on other bases in that action. To seek corrective action from
         the OSC, you may submit your complaint online. More information on or about filing a
         complaint with the OSC may be found at https://osc.gov/Pages/File-Complaint.aspx. As an
         alternative, you may communicate in writing to the following address:

                                                   Complaints Examining Unit
                                                  U.S. Office of Special Counsel
                                                  1730 M Street, N.W., Suite 218
                                                   Washington, DC 20036-4505




(Page 426 of Total)                                                                                            JA421
           Case 1:25-cv-00381-ABJ Document 60-1                  Filed 03/05/25 Page 20 of 107
       USCA Case #25-5091    Document #2114200                    Filed: 05/05/2025 Page 427 of 637




         If you believe you qualify as an employee under 5 U.S.C. § 7511, you may have the right to
         appeal this action to the Merit Systems Protection Board (MPSB) no later than 30 calendar days
         after the effective date. Failure to file a timely appeal could result in dismissal of your appeal
         absent good cause. Your appeal may be made by mail, facsimile, commercial overnight delivery,
         personal delivery, or electronically at http://e-appeal.mspb.gov. A downloadable appeal form
         and additional information are also available at the MSPB website at
         https://www.mspb.gov/appeals/forms.htm. The date of filing by mail is considered to be the date
         of the postmark, the date of the filing by facsimile or electronically is the date of successful
         transmission. If the filing is by personal deliver, it shall be considered filed on the date it is
         received by the MSPB.

         The appeal should be filed with the MSPB Regional Office located closest to the employee’s
         duty station - https://www.mspb.gov/about/contact.htm.

         Any appeal to the MSPB must include the following information, which identifies the Agency
         official to whom the MSPB will send a copy of your MSPB appeal and the Acknowledgement
         Order issued on your appeal: Assistant General Counsel, Legal Division, CFPB, 1700 G Street,
         NW, Washington, DC, 20552,                                       .

         You will be sent a postage paid box to return your CFPB ID badge, laptop, iPhone, and other
         equipment or items owned by CPFB.
         For questions related to employee benefits (such as continuation of coverage for health coverage,
         withdrawal of retirement contributions, etc.) or other matters associated with employee benefits
         contact CFPB_HRBenefits@cfpb.gov.

         You can request a copy of your OPF documents from Bureau of Fiscal Services (BFS) at
                  option 4 or OPFInquiries@fiscal.treasury.gov.                                   -
         I appreciate your service to the Agency and wish you the greatest of success in your future
         endeavors. If you have any questions, please you may contact the CFPB Employee Relations team
         at CFPB EmployeeRelations@cfpb.gov.




       consumerfinance.gov


(Page 427 of Total)                                                                                           JA422
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 21 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 428 of 637




                                           


                                           

                                                                                   




(Page 428 of Total)                                                                JA423
           Case 1:25-cv-00381-ABJ Document 60-1                         Filed 03/05/25 Page 22 of 107
       USCA Case #25-5091    Document #2114200                           Filed: 05/05/2025 Page 429 of 637



          February 13, 202SI
          lnimmation Meino for the .Acting Director
                                                                                 Consumer Response &
           DOM

           SUBJECT                       - -- Staffln
                                     Divisional -· - - [8,



           Select           □ Situational    □Requestfm        ~Reply to         □ Draft          I!

           AJ)plicable      Awamtess         Directional      Inquiry ftom       Document
          '"Information                      Feedback         Director/PO        Feedback
           Type(s)                                                               Recruest     '




          ls.me,
          This-purpose of this memorandum is to provide information about ·how the staffof the,Consumer
          Re$pQnSe and F.4ucalioo Divisioa align to the Consumer financial Protection Bureau's (CFPB's)
          mtutmy obligations.

          Diytdoml'Backgnpund.
          The Comumer R.esponse and Education Division (CRE) is respocsible for executing the CFPB'.s
          first two statutory functions! (I) amductmg financial education prograam, and (2) eoU«ting.
          investigating, :and respow:ing lo oomumer complaints.. See 12 USC SSl l(cX:l}-(2). CRE is the
          public face of lbe CFPB to mdividuals and their families1 ,4e]ivcring scalable se.rvices and ·tools
          designed to empower coasumers to &bare their experiences -in the marketplace, respond to
          chaUenges. and make better informed financial decisiom.

          There are two,offices within CRE= the Office of F.inancial Education and die Office of Consumer
          Response. Fimmcial &lucation IS respomt"bfe for maoaaing a suite of~ Urm SO educational
          tools and re:souReS, distnbuting those tools to users, a n d ~ 1hc effcctiven~ of financial
          education programs. Pinaneial Bducation is also rapomible for ~ g the Directors
          mDbership in.the Financial Literacy and &htcatioq Commission. Financial Education's content
          is sornt.of the most uequently visited contmt on tbe Cm>B-'s website.,

          Omsumer Response is responsible·for amwming QWStiODS» handling complainb, and ~ g data
          and insights. Omsumer Response maoar-s the CPPB~s toll--free :number and complaint program
          &om erul-to-end. Comumer ~DSC is also responsible for &3SistiD.g complaint proccs., -
          stakeholders (e.g., icspooding to co~ional members with their cc;mstituems' COJll)laints,
          assisting QmJpany Portal ~ as they respolld to their customer's concerns) and sharing
          complain infomation wilh Fedma1 and Stato agencies.
          1be curnnt beackoant for CRE is appronmtely 150-lSS full.time employtts. The1
          fund:lonal areu lilted below aligned to statutory rapooslbiliti toW approximately 80 Co
          85.
                                                                I
                                                                    I
                                                                I
(Page 429 of Total)                                                                                             JA424
           Case 1:25-cv-00381-ABJ Document 60-1                    Filed 03/05/25 Page 23 of 107
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 430 of 637



          OIBce of Flnandll Educ:attoa
          12 USC :S493(d) requires the Di.rector to ..establish an Office of Financial F.ducation, which shall
          bo responsible for developing aod iq,lementittg imtiates intended to educate and cmpowa-
          consumers to make better informed financial dectsiom. n There is one competitive area within the
          Fmancial Education, responsible for delivering several statutory obligations:

              • Developing and implementing initiatives intended to educate and eq,ower consumers to
                make better informed financial decisions. See 12 USC S493(d)(l).
              • Developing and implementing a strategy to improve the financial literacy of consumers
                that includes meamnble goals and objectives, in consultation with the Financial Literacy
                and &hx:ation Commission.. See 12 USC S493(d)(2).
              • Coordinatin& with other units within.the Bureau in canying out its functions, including
                working with the Comrmnity Affiurs Office to implement the strategy to UJ1'fOVC financial
                literacy of consumers; aod wortiog wilh the research unit established by the Director to
                conduct rescareh related to consumer financial educaijon and coumeling. See 12 USC
                  5493(d)(3).
              • Submitting a report on its financial literacy activities and strategy to improve finaDcial
                literacy of consumers See 12 USC 549J(d)(4).

          The current headcount for this atta is 12.

          Office of Co.nsamer Response
          12 USC 5493(b)(3)(A) requires the Director to "establish a unit whose functions shall include
          establishing a single, toll•ftcc telephone number, a website, and a database ... to facilitate the
          ocotraliud collection ot: monitoring ot a n d ~ to consumer complaints regarding consumer
          financial products and or services." 12 USC S534(a) requires the CFPB "to provide a timely
          respome to consumers, in writing where appropriate, to complaints against, or inquiries
          mnceming, a covered _person." 1S USC 1681 i(c) establishes a ~ by which lhe CFPB mmt
          act and report out on certain credit .and consumer R!pOlting complaints. Consumer Response must
          coordinate with certain CFPB offices and personnel. including the Private Student Loan
          Omboomwi ~ Office of Servicemcmbcr Affairs. See 12 USC 5493(e), 12 USC S535.

          Comumer·Response bas several competitive areas:

          ColUIIIIID .Raoura Cater
          12 USC S493(b)(3)(A) di.rccts the CFPB to aeate establish a single; toll-free number. this team
          manages a Consmner Resource Center (CRC), which receives more than 40,000 calls per month.
          The rac answers consumers' inquiries, accepts and provides status updates on complaints, and
                                             as
          directs consumers resources such state and local services.

          The cunent headcount for this area is 3.

          Complaint HaNIJing
          12 USC SS34(a) requires the CFPB to timely rcspood to consumers, including any iesponses
          received by the regulator from the covered person. This team directs the complaints to companies.
          for a response.


(Page 430 of Total)                                                                                              JA425
           Case 1:25-cv-00381-ABJ Document 60-1                    Filed 03/05/25 Page 24 of 107
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 431 of 637




           The current headcount for this ar= is 7.
           P<Hflll <>,,m,tioM
           12 USC 5534{b) requires certain covered persons to provide a timely response to the regulator.
           This team is responsib e for responding to stakeholder support tickets, including ticbts submitted
           by company, congressional, and govtmJDtnt J)Ortal users.

           The current headcount for dus area is 7.

           Mosaic Prognun
           12 USC S493(b)(3)(A) directs theCFPB to ~te establish a databue to facilitate Che cent:mlized
           collection of COl11)1aints. 12 USC S493(b)(.3)(D) requim the CFPB to share consumer coq,laint
           infonnation with prudential regulators~ the Federal Trade Commission, other Federal agencies, and
           state~agencies. This teaD\ manages 1he technology dJat facilitates the handling of more than
           350;000 compJainlli per month

           The current headommt for this area is S.

           lllvatigations (R.egulido,y CtJ,npli~ °"1lplllint Moniloring, Raearch a n d ~
           E.soakaion Caw M~nt)
            12 USC SS 11(c)(2) requires -the CFPB to ''investigatett complaints. Additionally, 12 USC •
           S493(b)(3)(A) .requires the CFPB to "monitor'' complaint,. lb.is team is responsible for
           nxmitoring and investigating the more th.in three million complaints the CFPB receives amrually.
           This team conducts investigative inquiries received by the Director's Office. This team also
           conducts analyses that support the Chiefof Staff's team efforts to meet tbe publication of statutory
           repo1'1s and supports rule lookback a.uessments as required by 12 USC 5512.,I                        •

           The current headcount for this m-ea is 30.                                       ii                       J ,


           D,,t,, JJq,,ni,,g                       .                               '    iI ' I . II '
           12 USC S493{e) and 12 USC SS3S reqwres Consumer Respome , coordinate wi~ ~ Office of
           SelVi~ ~ ~ t h e Private Student~ Omb~ldsman~ ~~~Y- This team is
           responsible for working wtth these offices for their complaint DlOJ1it.o.ring wink. !                           !I ,
                                                                                I       I                        I                    I
           The current headcount for this am! is 4.                      jI    I I 11           /   1
                                                                                                             ! I
                                                                                                             I              j         1
                                                                     I              I       I           II           I            I
           Stllkelw/4er Engaganent                              I        I 111  '     ,111 '     'I '     I I
           12 USC S493(bX3)(A) directs the CFPB to ucoordinate with the Federal!Trade Ommtission or
           other Federal agencies to route complaints to such agencies, where appropriate." Additionally> 12
           USC S493(b)(3)(D) ~ the ~B_to 'isbate :<>+.~l aint infonnation ~ p ~ a l
           reguJ~ the Federal T~ ~ l O D ; otho Federal .a g~':8, ~ ~te a~es ...". This                                                   J


           team IS ffllJXJDSible for wondn,g with fedcral and state agmc1cs, mclu4,ing state Attorneys General.
                                                                                    I

           The current headcount fur fhis area is S.




(Page 431 of Total)                                                                                                                       JA426
           Case 1:25-cv-00381-ABJ Document 60-1                   Filed 03/05/25 Page 25 of 107
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 432 of 637



          a,JefofStlljfTt!IDII
         Consumer Response is respomible for publishing or -contributing to tho publication of several
         reports. Those flCP()r1s include:
             • Consumer Response Amwal Report (as requued by 12 USC S493(bX3)(D))
             • Fair Cmdit Reporting Act 61 l(e) Report (as requued by 15 USC 168li(e)(S))
             • Fair Debt Collection Practices Act Report (as required. by IS USC 1692m)
             • CFPB Semi-Annual Reports (required~ 12 USC 5496)

         This team is responsible for the production and publication of these report.,, iDcluduig any folJow..
         up ,questions ftom oversight bodies.

         The ew:reut headcount for this area is S.

         Manageme ta.ad Operations
         This ,team provided the execu.tive dinction for both offices within the division. The cmrmt
         divisional exc:cunves each have a dual role both division and ,office level executives. The office
         level executtve positions remain vacant The team.also provides centralizod support to each office
         regarding :resource managemc:ot functions including budgol, acquisition manag,mcmt, ttainin&
         management l'CJ)Ol'.tm& and coordination with inmmal and extemal stakebo)dcrs, and oversight
         bodies such as GAO and OIG.                                                   I               e




         The·ammthea&.o unt for1hisarcais S.




(Page 432 of Total)                                                                                              JA427
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 26 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 433 of 637




                                           


                                           

                                                                                   




(Page 433 of Total)                                                                JA428
           Case 1:25-cv-00381-ABJ Document 60-1                            Filed 03/05/25 Page 27 of 107
       USCA Case #25-5091    Document #2114200                              Filed: 05/05/2025 Page 434 of 637

        From: CFPB_HCSysOps
      Subject: Updated Timekeeping Instructions for PP03
         Date: February 14, 2025 at 12:27 PM
           To:
          Cc: CFPB_WorkLife


             Colleagues,

             On Monday, February 10th CFPB’s Acting Director issued guidance for Bureau staff to
             pause work tasks. In accordance with the Acting Director’s guidance employees should
             exercise administrative leave until otherwise instructed. For staff who have been asked to
             work by the Acting Director, the Chief Legal Officer, or another designee (i.e. through their
             leadership chain, etc.) they should record that time as they normally would. All time not in a
             working status should be reflected in webTA under the “Admin/Excused Absence” leave
             transaction category.

             Please refer questions to the CFPB_WorkLife@cfpb.gov
                                                  --------- -- -- box so the Office of Human
             Capital can provide clarifying guidance as needed.

             V/R

             Roland Jacob
             Human Capital Operations Manager
             Systems and Operations | Office of Human Capital
             Office:              | Mobile:

             Consumer Financial Protection Bureau
             consumerfinance.gov
             Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and
             delete the email and any attachments. An inadvertent disclosure is not intended to waive any privileges.




(Page 434 of Total)                                                                                                           JA429
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 28 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 435 of 637




                                           


                                           

                                                                                   




(Page 435 of Total)                                                                JA430
           Case 1:25-cv-00381-ABJ Document 60-1                                           Filed 03/05/25 Page 29 of 107
       USCA Case #25-5091    Document #2114200                                             Filed: 05/05/2025 Page 436 of 637

        From:                                                 ■
      Subject: Please Read: CFPB Regional Office Operating Status (Week of 2/17)
         Date: February 17, 2025 at 1:21 PM
           To:




             (This message is sent on behalf of Adam Martinez, Chief Operating Officer, for
             CFPB Regional Office Staff and Contractors)

             Dear Colleagues:

             The CFPB Regional Offices will remain closed this week (2/17-2/21). Employees
             and contractors approved to work should do so remotely unless otherwise
             instructed.

             Thank you.

             Adam

             Adam Martinez
             Chief Operating Officer

                                                             SERVE   Director's Mission
                                                              LEAD   Achievement Award
                C                Consurri1tJ FinanCJol
                                 Pra.1el:b0'\ B1.11..au
                                                          INNOVATE
                                                                     Recipient



             consumerfinance.gov

             Confidentiality Notice: If you received this email by mistake, you should notify the sender of
             the mistake and delete the email and any attachments. An inadvertent disclosure is not
             intended to waive any privileges.




(Page 436 of Total)                                                                                                        JA431
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 30 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 437 of 637




                                           


                                           

                                                                                   




(Page 437 of Total)                                                                JA432
            Case 1:25-cv-00381-ABJ Document 60-1                                                  Filed 03/05/25 Page 31 of 107
        USCA Case #25-5091    Document #2114200                                                    Filed: 05/05/2025 Page 438 of 637




     RE: AeQue Ing uthoriz tlOfl to res,airtt,e cf.gov home~e
                                                                                                                                               TO<l<1y 01 9-n-AM




                            tl'lat th~ dee on to.cf lctl! th   hbm     &e was ma~e by Acting 0lr dor V9ught, a11d It was no .In crro-rmade by the meffli>e,s
                          . e. do no have authoriUtlon t this ti        to r tore tb homepage or ngage the DOG t~am in an AA'R




     To:M~ ·oCl1                                                     Ch1lbert, Chrl op   r
     Cc:SW     da
     Subject: Reque

     Adam and Chris.

     Apologies for the onusu l email addr s. These are unusu. l t ime , • • a d I hav a request ro u ho(izatlon o work tha rm not sure shouli:I
       a dre ed ro e or the           o you o I ffgured I would keep you both In the lo.op. I h e tso cc'1:1d m, m nager for v,s1 11.lty, so rte can
     b aware·i such rorlds author1:zed.

     Bas~d onn8".-s.reports       atGav<n     iger Is now a thetRS, its ems like the OOGE Ofganiun on is targetydone wi h its tecl:)nlcat worlc at he
     agency u) "Imp~ the         u11til:y aRd eHJcieocy of governm1:1m-wicle ~oftware, 11 tworll rntr., vuc1ure, and lnformalfon l:!ICtlnOlQgy (I
     system3,''


     A .i,arto      ,swor o mpr        ngq aUI\I. heya!sodatn gedthewebsite                  deletinithehomepag fors:ome unk ownreason. lhaveheard
     vial OFPBsui wercteble to r:,ersuode them onot dele e everything en , ely (as tl)ey d d for USAID). I struggle to understand Why this
     deletion was nece sa,y atal and liy the demanded ace $S o h web sit wi h extrer urgency Lete on a Fr day night. Desi:,ite he t stated
     as!lur.lnce,sJ i se m eydid not ollo our proce es, no did they wait for on employee signingonunderoW:!r me to onboardthem into
     our web ite' Cf'1S, Wag ii.From a I unde(~tand, itseems thatthey inste dosed global dmin pf legeson ourSSOlden itypro tder o
                              m 011d make thechangi, on eir own. I havo many questions.stilt, bu I hope to bo hie to,e loret em through a
                              rather than rel ng on heareay (see below1.

     I know some teams nave bi;r.en received aut11orl2:ation to conti nue worl<lng despile the general stop•woik order from rile Act ng Director. l
     woulcf lif<e to r11questQuthoriz:.euon for two eco pos of-work:


        1. I would Uke for fTlY t~an, to r pai the ff".J bs e's homepag the rest of the dte does ram ain access{ la o he general public, bot having
           a broke homepage has p9,n ged several aspects ot our technical opera om.already:
                 a. Site c,awUQg by _se.areh Jnd1cos Uko.Googleis likely not hoppen mg.. th s II darn !!C our SEO end vis,blhty ro tbe world and ca11s.e
                    our content t() become less visible in search over tlme
                 b. I ave confirmed also hat our automated ac;cessfbllhy scanning is now malfunctioning and is unable to verify our sites             ,u
                    meets its mend 1 (16Q8 comp(i r1ce tqr aeco slb llty




(Page 438 of Total)                                                                                                                                            JA433
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 32 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 439 of 637




                                           


                                           

                                                                                  




(Page 439 of Total)                                                                JA434
           Case 1:25-cv-00381-ABJ Document 60-1                                 Filed 03/05/25 Page 33 of 107
       USCA Case #25-5091    Document #2114200                                   Filed: 05/05/2025 Page 440 of 637

           From:         Service Desk (CFPB)
           Subject:      Service Advisory: Virtual Desktop Access Unavailable After 2/28/2025
           Date:         Wednesday, February 26, 2025 10:14:16 AM




          What's Happening? The Citrix Virtual Desktop will be unavailable after Friday,
          February 28, 2025, at 11:59 PM EST.ௗ You are receiving this notification because you
          logged into the Virtual Desktop in the past 90 days. Access to the Virtual Desktop via
          https://work.cfpb.govௗandௗhttps://csf.cfpb.local will no longer be available.

          When: Friday, February 28, 2025, at 11:59 PM EST

          Need More Info? Please refer any questions or concerns regarding this event to the
          CFPB Service and Support Portal, the CFPB Service Desk at 202-435-7777 (external),
          x57777 (internal), or email ServiceDesk@cfpb.gov.




(Page 440 of Total)                                                                                              JA435
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 34 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 441 of 637




                                           


                                           

                                                                                  




(Page 441 of Total)                                                                JA436
           Case 1:25-cv-00381-ABJ Document 60-1                                           Filed 03/05/25 Page 35 of 107
       USCA Case #25-5091    Document #2114200                                             Filed: 05/05/2025 Page 442 of 637

        From: CFPBHROps CFPBHROps@fiscal.treasury.gov
      Subject: Automatic reply: question re separation papers
         Date: February 27, 2025 at 9:27 AM
           To:

             We are working diligently with the agency during this transition to provide necessary documents related to your recent or impending
             separation.

             Please provide a personal email address and updated mailing address to ensure timely and effective communications.

             All separated employees will be receiving a copy of their SF-50, Notice of Personnel Action, as well as a separation packet with information
             regarding unemployment, benefits and lump sum annual leave payment, if applicable.

             Employees will have a 31-day extension of their health insurance from the date of separation provided by your health insurance carrier at no
             cost to you. Dental and Vision benefits will terminate upon the date of separation.

             Thank you for your patience.




(Page 442 of Total)                                                                                                                                   JA437
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 36 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 443 of 637




                                           


                                           

                                                                                  




(Page 443 of Total)                                                                JA438
           Case 1:25-cv-00381-ABJ Document 60-1                                              Filed 03/05/25 Page 37 of 107
       USCA Case #25-5091    Document #2114200                                                Filed: 05/05/2025 Page 444 of 637
          :;~~::__.ial\\:kti&
          Subject: Pickup of Personal Belongings and Return of Equipment from the CFPB HO
          To:
          CC :


          Good afternoon,
          We recognize that you have personal property, work materials. and federal records in your office or cubicle. To prepare to vacate the
          building, the Operations team has packed up your personal belongings for pickup at 1700 G Street. They are working closely with your
          division's leadership to take great care with your personal property, confidential matters. federal records. and other items.

          To retrieve your personal belongings, you must schedule an appointment by emailing the following information to

                 •   Your full name
                 •   Your designee, if needed (see below for additional details)
                 •   Where your property is located (e.g. , office/cubicle number. 6 th floor locker number. pantry)
                 •   A time on March 3 rd . 41h. 5th . or 6th between 8am-4pm
                 •   Any additional details related to your personal property that can help us identify or properly handle them (e.g., medications in the
                     refrigerator that need to remain cold. personal papers that contain private information. etc.)


          If you have equipment to return to the CFPB. you may return your IT equipment and PIV card during this visit Please note that you will:
                 • Need to return all laptops. iPhones. secure thumb drives and any other equipment with an asset tag
                 • Not need to return printers. keyboard, mice, monitors, docking stations, laptop bags/backpacks, headsets, laptop locks, filing
                    cabinets, paper shredders, or cables
                 • Receive a hardware asset receipt identifying the equipment you return


          After scheduling an appointment, you will receive a confirmation email with additional details. Except in special situations, items that are not
          picked up by March 6, 2025 will be considered abandoned and will be disposed of. While we cannot ship items to you, you may designate
          another staff member with a val id identification to pick up your items on your behalf.

          If driving, consider parking at a public parking garage, on the street. or the loading dock area on F Street. The parking garage at 1700 G
          Street will not be open for these pickups.

          We recognize that this is a difficult situation and here to support your transition.




(Page 444 of Total)                                                                                                                                         JA439
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 38 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 445 of 637




                                           


                                           

                                                                                  




(Page 445 of Total)                                                                JA440
           Case 1:25-cv-00381-ABJ Document 60-1              Filed 03/05/25 Page 39 of 107
       USCA Case #25-5091    Document #2114200                Filed: 05/05/2025 Page 446 of 637
         From: Martinez, Adam (CFPB)
         Sent: Thursday, February 27, 20
           : Pappalardo, Jani CFPB)
                                >: Eps I

                                                   ond (CFPB
                                                  r, Deborah (
                                                 ; Dodd-Rami     ,



         Hi RMR Colleagues - Good afternoon.

         Thank you for your patience as we continue through transition and our new leadership's
         review of the Bureau.

         On February 8 (email attached), our Acting Director outlined several areas where work
         stoppage was being implemented at the Bureau. He did exclude areas approved by him
         or required by law. We want to ensure that you are aware that statutorily required work
         and/or work required by law are authorized.

         Your teams are authorized to continue carrying out these responsibilities. Any actions
         or communications with outside paities must be sent to Mark Paoletta, Chief Legal
         Officer and Daniel Shapiro, Deputy Chief Legal Officer.

         Should you have any questions at all, please feel free to contact our Chief Legal Officer
         as directed by the Acting Director. Alternatively, you are always welcome to reach out
         to me if needed. I am happy to share guidance provided to other leaders and employees
         regarding authorized work, including my own team.

         Thank you for your support.

         Adam

         Adam Martinez
         Chief Operating Officer




(Page 446 of Total)                                                                                  JA441
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 40 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 447 of 637




                                           


                                           

                                                                                  




(Page 447 of Total)                                                                JA442
           Case 1:25-cv-00381-ABJ Document 60-1                  Filed 03/05/25 Page 41 of 107
       USCA Case #25-5091    Document #2114200                    Filed: 05/05/2025 Page 448 of 637

        From: Brown, Jason (CFPB)
      Subject: updates
         Date: February 28, 2025 at 5:11 PM
           To: _


             Hi All,

             I believe all of you have received the direction from the COO through your section chiefs
             that we are to fulfill our statutory obligations subject to the limitations provided in the
             February 8 email from Acting Director Vought. We stopped most of our statutory work, I
             know, not because of the February 8 email, but because of the February 10 email. I
             clarified this point with the COO.

             I interpret the direction to mean that we should resume conducting research, a statutory
             responsibility. This means accessing the research servers, cleaning and analyzing data,
             and writing drafts and reviewing research. I would also include corresponding with co-
             authors as an essential research function.

             This leaves a number of questions, particularly with regards to external engagement.
             Questions about external engagement include 1) posting data to the Bureau website; 2)
             publishing Bureau research and SDR; 3) attending outside events, including research
             conferences; 4) presenting at outside events, including research conferences. In
             conjunction with the RMR FO, we are seeking guidance on these questions. There are
             specific activities I am seeking immediate approval for:
                1. Publication of the Consumer Credit Trends and Mortgage Performance Trends
                2. Permission for FHFA to field the NSMO
                3. Household Financial Stability phone call with the Federal Reserve System
                4. Consumer Finance Round Robin
                5. Boulder Conference (presenters only)
             Because we have not sought approval for anything yet, I would like to hold off for the next
             few days on seeking approval to post papers on SSRN or submit new pieces to journals. If
             you have materials already under review at journals, I encourage you to continue working
             and corresponding with the editors with the expectation that our current posture will have
             changed by the time publication is imminent.

             In other non-research responsibilities (e.g., rulemakings and exam work), there is some
             conflicting guidance about whether we should move forward or not. We are asking about
             that.

             But this leads to another question: under what conditions should someone in OR continue
             to take administrative leave, or do we take this direction as instruction to work full-time on
             research and other approved statutory responsibilities, unless there is nothing research-
             related for someone to do? How do we code WebTA at the end of the pay period? We are
             also seeking guidance on this.

             Many of you have already jumped at the chance to resume your research. Alas, many of
             you are finding that the Research Environment is not functioning as before, impairing your
             ability to fulfill our statutory research obligations. Thank you for noting the difficulties you
             are encountering and passing them on to your supervisor. I have let the CIO and COO
             know that we are encountering difficulties in resuming our statutory research obligations
             because of the functioning of the Research Environment, that we are cataloguing the
             difficulties, and that we will meet with them next week to explain our challenges so they can
             help us resolve them.


(Page 448 of Total)                                                                                        JA443
           Case 1:25-cv-00381-ABJ Document 60-1              Filed 03/05/25 Page 42 of 107
       USCA Case #25-5091    Document #2114200                Filed: 05/05/2025 Page 449 of 637
           
           I know this leaves a lot of questions unanswered, but I hope it gives you a sense of where
           we are. Please stay in communication with your supervisor so we can try to give you the
           direction you need.
           Jason Brown
           Assistant Director, Research
           Consumer Financial Protection Bureau




(Page 449 of Total)                                                                                 JA444
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 43 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 450 of 637




                                           


                                           

                                                                                  




(Page 450 of Total)                                                                JA445
           Case 1:25-cv-00381-ABJ Document 60-1                                            Filed 03/05/25 Page 44 of 107
       USCA Case #25-5091    Document #2114200                                              Filed: 05/05/2025 Page 451 of 637

        From:----1
      Subject: ~ o r K
        Date: February 28, 2025 at 10:37 AM
           To:                                                 . McNamara, John (CFPB)




            -
             Yes. John will likely be reaching ou1 to you shortly. -    has decided to retire so we need to figure out who is ava ilable to continue the
             work in his absence. I would assume that you will handle the FDCPA report bu1 let's wait to hear from John.
             Hope you are doing ok.



             From:
             Sent: Friday, February 28, 2025 10:33:38 AM
             To: McNamara, John (CFPB)
             Cc:
             Subject: Statutorily Mandated Work
             Hello,

             The other offices in RMR have received notification from their management that Adam
             Martinez changed his guidance and we are now allowed to work on statutorily mandated
             work. Will you be providing an update to Markets staff?

             If statutorily required work is going forward , I would like to know if I will continue to work on
             the Card Report and FDCPA report.




            -Best,




                                   vst I Consumer Credit, Payments, and Deposits Markets


             Consumer Financial Protection Bureau
             consumerfinance.gov

             Confidentiality Notice: liyou received this email by mistake, you should notify the sender of the mistake and
             delete the e-mail and any attachments. An inadvertent disclosme is not intended to waive any privileges.




(Page 451 of Total)                                                                                                                                        JA446
           Case 1:25-cv-00381-ABJ Document 60-1                 Filed 03/05/25 Page 45 of 107
       USCA Case #25-5091    Document #2114200                   Filed: 05/05/2025 Page 452 of 637

        From: McNamara, John (CFPB)
      Subject: FW: Statutory/Legal Required Work
         Date: February 28, 2025 at 11:20 AM
           To:


             See below from Adam Martinez. This is for your awareness, and I ask
             that you let your manager and me know of any statutorily required
             work.

             We have data collections and CARD Act for our Credit Card Team and
             the FDCPA Annual Report for our Debt Collections Team.

             More broadly we have market monitoring for all Markets teams.

             I have an email in to Adam Martinez letting him know that I plan to
             recommence work on all areas. I also have a question about what
             types of communications Mark Paoletta and Daniel Shapiro wish to be
             copied. I told Adam that I assumed they would only want to be copied
             on substantive matters and be made aware of meetings Markets was
             having with external stakeholders.

             This email is for your awareness. Stay tuned for more guidance.

             John McNamara
             Assistant Director, Consumer Credit, Payments, and Deposits Markets
             Division of Research, Monitoring & Regulations

             Consumer Financial Protection Bureau
             1700 G Street NW
             Washington, DC 20552
             Office
             Mobile




             Confidentiality Notice: If you received this email by mistake, you should notify the sender of
             the mistake and delete the e-mail and any attachments. An inadvertent disclosure is not
             intended to waive any privileges.




             From: Martinez, Adam (CFPB)
             Sent: Thursday, February 27, 2025 4:18 PM
             To: Pappalardo, Janis (CFPB) <                             ; Sokolov, Dan (CFPB)
                                      ; Epstein, Ann (CFPB)                          ; Hedgespeth,
             Grady (CFPB)                                 ; Brown, Jason (CFPB)
                                        McArdle Mark (CFPB)                               McNamara
(Page 452 of Total)                                                                                     JA447
           Case 1:25-cv-00381-ABJ Document 60-1                     Filed 03/05/25 Page 46 of 107
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 453 of 637
                                                        I   ,_, /                            IVIVI 'CCU I IQI Q.'


                                                        row
                                                             )
                                                            ;R ,
                                                    ,       I (CFPB
           Subject: Statutory/Legal Required Work

           Hi RMR Colleagues - Good afternoon.

           Thank you for your patience as we continue through transition and our new
           leadership's review of the Bureau.

           On February 8 (email attached), our Acting Director outlined several areas where
           work stoppage was being implemented at the Bureau. He did exclude areas
           approved by him or required by law. We want to ensure that you are aware that
           statutorily required work and/ or work required by law are authorized.

           Your teams are authorized to continue carrying out these responsibilities. Any
           actions or communications with outside parties must be sent to Mark Paoletta,
           Chief Legal Officer and Daniel Shapiro, Deputy Chief Legal Officer.

           Should you have any questions at all, please feel free to contact our Chief Legal
           Officer as directed by the Acting Director. Alternatively, you are always welcome to
           reach out to me if needed. I am happy to share guidance provided to other leaders
           and employees regarding authmized work, including my own team.

           Thank you for your support.

           Adam

           Adam Martinez
           Chief Operating Officer



               Mail Attachment.em(
               14 KB                       ■




(Page 453 of Total)                                                                                          JA448
           Case 1:25-cv-00381-ABJ Document 60-1                   Filed 03/05/25 Page 47 of 107
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 454 of 637

        From: McNamara, John (CFPB)
      Subject: RE: Statutorily Mandated Work
         Date: February 28, 2025 at 2:11 PM
           To:
          Cc:


             Thanks for asking. Wait for guidance. I am waiting for a response from
             Adam Martinez.



             John McNamara
             Assistant Director, Consumer Credit, Payments, and Deposits Markets
             Division of Research, Monitoring & Regulations

             Consumer Financial Protection Bureau
             1700 G Street NW
             Washington, DC 20552
             Office-
             Mobile-




             Confidentiality Notice: If you received this email by mistake, you should notify the sender of
             the mistake and delete the e-mail and any attachments. An inadvertent disclosure is not
             intended to waive any privileges.




             From:
             Sent: Friday, February 28, 2025 1:54 PM
             To: McNamara, John (CFPB)
             Cc:
             Subject: Re: Statutorily Mandated Work

             To clarify, should I get started or wait for guidance?

             From: McNamara, John (CFPB) <
             Sent: Friday, February 28, 2025 10:57 AM
             To:
             Cc:
             Subject: RE: Statutorily Mandated Work

             Stay tuned for guidance. As I see it, the FDCPA Annual Report is
             statutorily mandated work, and I would like to get started on it.




(Page 454 of Total)                                                                                     JA449
           Case 1:25-cv-00381-ABJ Document 60-1                          Filed 03/05/25 Page 48 of 107
       USCA Case #25-5091    Document #2114200                            Filed: 05/05/2025 Page 455 of 637

           John McNamara
           Assistant Director, Consumer Credit, Payments, and Deposits Markets
           Division of Research, Monitoring & Regulations

           Consumer Financial Protection Bureau
           1700 G Street NW
           Washington, DC 20552
           Office
           Mobile




           Confidentiality Notice: If you received this email by mistake, you should notify the sender of
           the mistake and delete the e-mail and any attachments. An inadvertent disclosure is not
           intended to waive any privileges.




           From:
           Sent: Friday, February 28, 2025 10:34 AM
           To: McNamara, John (CFPB)
           Cc:
           Subject:

           Hello,

           The other offices in RMR have received notification from their management that Adam
           Martinez changed his guidance and we are now allowed to work on statutorily mandated
           work. Will you be providing an update to Markets staff?

           If statutorily required work is going forward, I would like to know if I will continue to work on
           the Card Report and FDCPA report.




           ******

                                    onsumer Credit, Payments, and Deposits Markets


           Consumer Financial Protection Bureau
           consumerfinance.gov

           Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and
           delete the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.




(Page 455 of Total)                                                                                                         JA450
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 49 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 456 of 637




                                           


                                           

                                                                                  




(Page 456 of Total)                                                                JA451
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 50 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 457 of 637




(Page 457 of Total)                                                                JA452
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 51 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 458 of 637




                                           


                                           

                                                                                  




(Page 458 of Total)                                                                JA453
            Case 1:25-cv-00381-ABJ Document 60-1                     Filed 03/05/25 Page 52 of 107
        USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 459 of 637


  ---------------------
  -From: Coleman, CC (CFPB)
   Sent: Saturday, March 1, 2025 7:46 AM
  To:                                                                                               ;-

                                (CFPB) shared "OFP Statutory Requirements" with you


   Please add the statute, regulation, clause, etc. that's the authority for the process-requirement you're
   reporting.
   Regards, C

   From: Coleman, CC (CFPB)
   Sent: Friday, February 28, 2025 5:21:06 PM



                                (CFPB) shared "OFP Statutory Requirements" with you


  Hi team. Please separately send me your processes that are required by statute, regulation, or
  something else (new a d d ) . - said the spreadsheet is for OFP managers only. Need by noon Tuesday
  please so I can consolidate for COB Tuesday.
  Thanks!C

   From: Coleman, CC (CFPB)
   Sent: Friday, February 28, 2025 2:19:40 PM
                                                                                                    ;-

                                (CFPB) shared "OFP Statutory Requirements" with you

  Team, please let me mow if you can't access the file. We need to add anything that we're responsible for
  on our team that's required by statute or regulation, so certification, CPARs, etc.
  Josh said it's due by Tuesday.
  Thanks,C

   From:                                                         >
  Sent: Friday, February 28, 2025 9:24 AM
  To: Ahmad, Rumana (CFPB)                                 ; Braham, Regina (CFPB)
                                 ; Coleman, CC (CFPB)                               ; Del Toro, Vanessa (CFPB)
                                 ,>; Dunham,Tonya(CFPB)                                ; Galicki, Joshua (CFPB)
                               ; Gueye, Jafnar (CFPB)                           ; James, Dana (CFPB)
                           ; Olson, Nicholas (CFPB)                           ,>; Pichet, Laurent (CFPB)
                             _>; Velez, Freddy (CFPB)
                              (CFPB) shared "OFP Statutory Requ irements" with you




                                                            1
(Page 459 of Total)                                                                                         JA454
           Case 1:25-cv-00381-ABJ Document 60-1                                   Filed 03/05/25 Page 53 of 107
       USCA Case #25-5091    Document #2114200                                     Filed: 05/05/2025 Page 460 of 637



                                                lB

                                                            (CFPB) invited you to edit a file




                                        Here's the document that                  (CFPB) shru·ed with you.




                                      OEP Statutory Requirements




                          [J This invite will only work for you and people w ith exlsting access.




                                                                                       Share




               C ~-
                 .. r
                      1    Con,umer Fin,nQ,11
                           Protecfun Bureau




               This email is g=ernted th.rough CFPB's use of Microsoft 365 and may contain content that is controlled by
               CFPB.




                                                                       2
(Page 460 of Total)                                                                                                        JA455
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 54 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 461 of 637




                                           


                                           

                                                                                  




(Page 461 of Total)                                                                JA456
           Case 1:25-cv-00381-ABJ Document 60-1                             Filed 03/05/25 Page 55 of 107
       USCA Case #25-5091    Document #2114200                               Filed: 05/05/2025 Page 462 of 637

        From: (null)
      Subject: FW: All Hands Message re: Work Required by Law
         Date: March 4, 2025 at 3:52 PM
           To:


             From: Schroeder, John (CFPB) <
             Sent: Monday, March 3, 2025 10:13 AM
             To: _DL_CFPB_Examiners Midwest <                                                                     >
             Subject: FW: All Hands Message re: Work Required by Law

             Casey and Calvin are seeking clarity from new agency leadership re the below email, and
             will pass along direction as soon as they can receive it. In the meantime please refrain from
             all work activity other than ministerial tasks as previously approved by Adam Martinez.

             I apologize for the continued confusion being caused by multiple misleading and
             inconsistent email. Please stand by for additional direction from SPV leadership. Thank
             you.


             John J. Schroeder
             Regional Director – Midwest Region
             Supervision, Enforcement and Fair Lending
             Consumer Financial Protection Bureau

             230 South Dearborn Street, Suite 1590
             Chicago, IL 60604
             Mob:
             consumerfinance.gov
             Confidentiality Notice: The information contained in this transmittal, including attachments if any, may be
             confidential or privileged under applicable law, or otherwise may be protected from disclosure to anyone other
             than the intended recipient(s). Any review, use, distribution, or copying of the contents of this e-mail or its
             attachments by any person other than the intended recipient for any purpose other than its intended use, is
             strictly prohibited and may be unlawful. This communication is not intended as a waiver of the confidential,
             privileged or exempted status of the information transmitted. If you have received this e-mail in error, you should
             permanently delete the e-mail and any attachments. Do not save, copy, disclose, or rely on any part of the
             information contained in this e-mail or its attachments. Also immediately notify the sender of the misdirection of
             this transmittal. Your cooperation is appreciated.



             From: Martinez, Adam (CFPB)
             Sent: Sunday, March 02, 2025 3:33 PM
             Cc: Paoletta, Mark (CFPB)
             Subject: All Hands Message re: Work Required by Law

             Message from Mark Paoletta, Chief Legal Officer

             On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying
             out any statutorily required work, as he set forth in his February 8th email.

             On February 8, 2025, you received an email from Acting Director Vought directing you to
             halt several classes of work unless “required by law” or expressly approved by the Acting
             Director. On February 10, 2025, you received an email from Acting Director Vought
             directing you to reach out to me for the authorization required by the February 8 email.
             These measures were intended to ensure that new leadership could establish operational

(Page 462 of Total)                                                                                                          JA457
           Case 1:25-cv-00381-ABJ Document 60-1                    Filed 03/05/25 Page 56 of 107
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 463 of 637

           control over the agency while ensuring that it would continue to fulfill its statutory duties.
           Many of you understood this and continued to perform functions required by law and
           sought approval from me to perform work, which I have promptly granted.
           
           It has come to my attention, however, that some employees have not been performing
           statutorily required work. Let me be clear: Employees should be performing work that is
           required by law and do not need to seek prior approval to do so. If you have any questions,
           please reach out to me immediately, and I will promptly give you an answer and
           authorization if warranted. If you are aware of other employees that are needed to assist
           you in performing a statutorily required task but are not doing so, please raise this with me
           immediately.
           
           Thank you for your attention to this matter.
           
           Mark Paoletta
           Chief Legal Officer
           CFPB
           

           This message was secured by ZixCorp©.
           To reach ZixCorp, go to: -http://www.zixcorp.com/info/zixmail
                                        --------- -----------




(Page 463 of Total)                                                                                    JA458
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 57 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 464 of 637




                                           


                                           

                                                                                  




(Page 464 of Total)                                                                JA459
            Case 1:25-cv-00381-ABJ Document 60-1                      Filed 03/05/25 Page 58 of 107
        USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 465 of 637


  ----------------
  &ƌŽŵ͗^ĞůůĞƌƐ͕<ĂƚĞůǇŶ;&WͿ
  ^ĞŶƚ͗DŽŶĚĂǇ͕DĂƌĐŚϯ͕ϮϬϮϱϴ͗ϰϱD
  dŽ͗


  ^ƵďũĞĐƚ͗&t͗ĨŽůůŽǁͲƵƉŽŶYƐĂďŽƵƚŝŶĨŽƌŵĂůŐƵŝĚĂŶĐĞƚŽĞŶƚŝƚŝĞƐ

  Hi Team,

  FYSA on the note below to Casey. I will let you know what I hear back. In the meantime, please continue to
  comply with the stop work order and stand by for further instruction from me regarding whether you should engage
  in any ILSA or NMLS work. Thank you!

  Katelyn

  Katelyn Sellers




      -
  Program Director, Systems & Registrations
  Office of Supervision Examinations
  (m)


  &ƌŽŵ͗^ĞůůĞƌƐ͕<ĂƚĞůǇŶ;&WͿ
  ^ĞŶƚ͗DŽŶĚĂǇ͕DĂƌĐŚϯ͕ϮϬϮϱϴ͗ϰϮD
  dŽ͗,ƵŐŐŝŶƐ͕ĂƐƐĂŶĚƌĂ;&WͿ                               х
  ^ƵďũĞĐƚ͗Z͗ĨŽůůŽǁͲƵƉŽŶYƐĂďŽƵƚŝŶĨŽƌŵĂůŐƵŝĚĂŶĐĞƚŽĞŶƚŝƚŝĞƐ

  Hi Casey,
  Pursuant to Adam Martinez’s email yesterday, 3/2/25 regarding performing statutorily mandated work, I am
  resurfacing the email below to inquire as to whether we ever got any response from leadership. As you know, the
  SES items below are only “mandated” to the extent that exams are being performed and require technical support
  and tools. And I believe NBR would also be in the category of “supervision” class of activities that are under the
  stop work order.

  However, the NMLS and ILSA items are not related to whether exams/supervision activities are occurring, and they
  are required by statute (Secure and Fair Enforcement for Mortgage Licensing [SAFE] Act and Interstate Land Sales
  Disclosure Act, respectively).

  My team is standing by and is ready to resume minimally required work on these programs if authorized. Please
  note that a routine (daily) part of running these two programs requires external stakeholder engagement (with
  registrants, CSBS/NMLS, contractors, etc.), and we are unsure whether each instance of external outreach would
  need to be authorized.

  Thank you,
  Katelyn

  Katelyn Sellers




      -
  Program Director, Systems & Registrations
  Office of Supervision Examinations
  (m)

                                                              1
(Page 465 of Total)                                                                                           JA460
           Case 1:25-cv-00381-ABJ Document 60-1                         Filed 03/05/25 Page 59 of 107
       USCA Case #25-5091    Document #2114200                           Filed: 05/05/2025 Page 466 of 637
  &ƌŽŵ͗^ĞůůĞƌƐ͕<ĂƚĞůǇŶ;&WͿ
  ^ĞŶƚ͗tĞĚŶĞƐĚĂǇ͕&ĞďƌƵĂƌǇϱ͕ϮϬϮϱϰ͗ϭϬWD
  dŽ͗,ƵŐŐŝŶƐ͕ĂƐƐĂŶĚƌĂ;&WͿ                                    х
  Đ͗ůĞŝĐŬĞŶ͕ĂǀŝĚ;&WͿф                              х
  ^ƵďũĞĐƚ͗&t͗ĨŽůůŽǁͲƵƉŽŶYƐĂďŽƵƚŝŶĨŽƌŵĂůŐƵŝĚĂŶĐĞƚŽĞŶƚŝƚŝĞƐ
  
  ,ŝĂƐĞǇ͕
  
  dŚŝƐŵŝŐŚƚďĞŵŽƌĞƚŚĂŶǁĂƐďĞŝŶŐĂƐŬĞĚĨŽƌ͕ďƵƚƚŚĞƐǇƐƚĞŵƐͬƉƌŽŐƌĂŵƐĂƌĞƐŽŵĞǁŚĂƚĚŝīĞƌĞŶƚ͕ƐŽ/͛ŵďƌĞĂŬŝŶŐƚŚĞ
  ĞǆĂŵƉůĞƐŽƵƚƉƌŽŐƌĂŵďǇƉƌŽŐƌĂŵ͗
  
  ^ƵƉĞƌǀŝƐŝŽŶǆĂŵŝŶĂƟŽŶ^ǇƐƚĞŵ;^^Ϳ
      x dŚĞŵŽƐƚĐŽŵŵŽŶƋƵĞƐƟŽŶƐƚŚĞ^^ƚĞĂŵƌĞĐĞŝǀĞƐĨƌŽŵĞǆƚĞƌŶĂůƉĂƌƟĞƐĂƌĞĐĞŶƚĞƌĞĚĂƌŽƵŶĚƚŚĞ^ƵƉĞƌǀŝƐŝŽŶ
           WŽƌƚĂů͕ǁŚŝĐŚŝƐƚŚĞƐĞĐƵƌĞƉŽƌƚĂů^ƵƉĞƌǀŝƐŝŽŶƵƐĞƐĨŽƌƚŚĞŶƟƟĞƐƚŽƌĞƐƉŽŶĚƚŽƌĞƋƵĞƐƚƐĨƌŽŵƚŚĞǆĂŵƚĞĂŵƐ͘
           ǆĂŵƉůĞƐ͗
                o /ĨŽƌŐŽƚŵǇƉĂƐƐǁŽƌĚ͕ĐĂŶǇŽƵƌĞƐĞƚŝƚ͍
                o /ŐŽƚĂŶĞǁƉŚŽŶĞĂŶĚƚŚĞD&ŶŽůŽŶŐĞƌǁŽƌŬƐ͕ĐĂŶǇŽƵĮǆŝƚ͍
                o /ĂŵŚĂǀŝŶŐƚƌŽƵďůĞůŽŐŐŝŶŐŝŶƚŽƚŚĞƉŽƌƚĂů͕ĐĂŶǇŽƵŚĞůƉ͍
      x /ŵƉĂĐƚ͗/ĨǁĞĚŽŶŽƚĂŶƐǁĞƌƚŚĞƐĞƋƵĞƐƟŽŶƐͬƉƌŽǀŝĚĞƚŚŝƐƐƵƉƉŽƌƚŽǀĞƌĞŵĂŝů͕ƚŚĞŶƟƚǇƵƐĞƌǁŽƵůĚŶŽƚďĞĂďůĞ
           ƚŽůŽŐŝŶƚŽƚŚĞ&W^ƵƉĞƌǀŝƐŝŽŶWŽƌƚĂůĂŶĚƉƌŽǀŝĚĞŝŶĨŽƌŵĂƟŽŶƚŽƚŚĞǆĂŵƚĞĂŵƐ͕ǁŚŝĐŚǁŽƵůĚƐƚŽƉĞǆĂŵƐ
           ĨƌŽŵŵŽǀŝŶŐĨŽƌǁĂƌĚ͘
  
  EŽŶďĂŶŬZĞŐŝƐƚƌǇ;EZͿ
      x ǆĂŵƉůĞƋƵĞƐƟŽŶƐ͗
                o /ĂŵƵŶĂďůĞůŽŐŝŶƚŽŵǇEZĂĐĐŽƵŶƚ;ŝ͘Ğ͕͘ƉĂƐƐǁŽƌĚͬŵƵůƟͲĨĂĐƚŽƌĂƵƚŚĞŶƟĐĂƟŽŶ;D&ͿĞƌƌŽƌƐŽƌ/ŶĞĞĚ
                    ĐŚĂŶŐĞŵǇĞŵĂŝůĂĚĚƌĞƐƐͿ͘ĂŶ&WŚĞůƉ͍
                         /ĨǁĞĚŽŶ͛ƚƌĞƐƉŽŶĚ͕ƵƐĞƌŝƐŶŽƚĂďůĞƚŽĂĐĐĞƐƐƚŚĞŝƌEZĂĐĐŽƵŶƚĂŶĚĐĂŶŶŽƚĐŽŵƉůǇǁŝƚŚƚŚĞ
                             EZƌƵůĞ;ŝ͘Ğ͘ĐĂŶŶŽƚƐƵďŵŝƚŽƌƵƉĚĂƚĞƚŚĞŝƌƌĞƋƵŝƌĞĚĮůŝŶŐͿ
                o /ĞŶƚĞƌĞĚĂŶŝŶĐŽƌƌĞĐƚǀĂůƵĞŝŶƚŚĞĐŽŵƉĂŶǇ͛ƐŝĚĞŶƟĨǇŝŶŐŝŶĨŽƌŵĂƟŽŶ;Ğ͘Ő͕͘ƚǇƉŽŝŶED>^/Ϳ͘ĂŶ&W
                    ĐŽƌƌĞĐƚŝƚ͍
                         /ĨǁĞĚŽŶ͛ƚƌĞƐƉŽŶĚ͕ŽŵƉĂŶǇ͛ƐƵŶŝƋƵĞŝĚĞŶƟĨǇŝŶŐŝŶĨŽƌŵĂƟŽŶƌĞŵĂŝŶƐŝŶĐŽƌƌĞĐƚŝŶƚŚĞ
                             EŽŶďĂŶŬZĞŐŝƐƚƌǇĂŶĚůĞĂĚƐƚŽĚĂƚĂƋƵĂůŝƚǇŝƐƐƵĞƐŝŶ&WƵƐĞŽĨƚŚĞŝĚĞŶƟĨǇŝŶŐĚĂƚĂƚŽƐƵƉƉŽƌƚ
                             ƚŚĞ^ƵƉĞƌǀŝƐŝŽŶƉƌŽŐƌĂŵ͘
                o /ĐĂŶ͛ƚĂĐĐĞƐƐŵǇĐŽŵƉĂŶǇ͛Ɛ&WŽŶƐƵŵĞƌZĞƐƉŽŶƐĞĂĐĐŽƵŶƚ͕ŚŽǁĚŽ/ƌĞƉůǇƚŽĂĐŽŵƉůĂŝŶƚ/ƌĞĐĞŝǀĞĚ
                    ĨƌŽŵƚŚĞ&WŽŶďĞŚĂůĨŽĨĂĐŽŶƐƵŵĞƌ͍
                         /ĨǁĞĚŽŶ͛ƚƌĞƐƉŽŶĚ͕ŽŵƉĂŶǇƌĞƉƌĞƐĞŶƚĂƟǀĞĚŽĞƐŶŽƚůĞĂƌŶƚŚĞĐŽƌƌĞĐƚǁĂǇƚŽƌĞƐƉŽŶĚƚŽĂ
                             ĐŽŵƉůĂŝŶƚ͕ĂŶĚƚŚĞŝƌĐƵƐƚŽŵĞƌǁŚŽŽƌŝŐŝŶĂůůǇƐƵďŵŝƩĞĚƚŚĞĐŽŵƉůĂŝŶƚĚŽĞƐŶŽƚŐĞƚĂƌĞƐƉŽŶƐĞ
                             ƚŚƌŽƵŐŚ&W͛ƐĐŽŵƉůĂŝŶƚƐǇƐƚĞŵ͘
      x ,ŽůĚŝŶŐƐĐŚĞĚƵůĞĚĞǆƚĞƌŶĂůŵĞĞƟŶŐƐƐƚǇůĞĚĂƐ͞ŽĸĐĞŚŽƵƌƐ͟ƚŽƉƌŽǀŝĚĞŐƵŝĚĂŶĐĞĂŶĚƵƉĚĂƚĞƐĨŽƌEŽŶďĂŶŬ
           ZĞŐŝƐƚƌǇ
                o ƵƌŝŶŐƚŚĞƐĞŵĞĞƟŶŐƐǁŝƚŚƐƚĂƚĞƌĞŐƵůĂƚŽƌƐ͕ƐƚĂƚĞĂƩŽƌŶĞǇƐŐĞŶĞƌĂů͕ĂŶĚdƌŝďĂů'ŽǀĞƌŶŵĞŶƚƐ͕ƚŚĞEZ
                    ƚĞĂŵƉƌŽǀŝĚĞƐƵƉĚĂƚĞƐŽŶEZŵĞƚƌŝĐƐ;Ğ͘Ő͕͘ŶƵŵďĞƌŽĨƌĞŐŝƐƚĞƌĞĚĐŽŵƉĂŶŝĞƐ͕ŶƵŵďĞƌŽĨƌĞŐŝƐƚĞƌĞĚ
                    ŽƌĚĞƌƐͿ͕ƐŽůŝĐŝƚƐŝŶƉƵƚŽĨ͞ĚĂƚĂƐŚĂƌŝŶŐĂŶĚĚĂƚĂƵƐĞ͟ŝĚĞĂƐĨƌŽŵĂƩĞŶĚĞĞƐ͕ĂŶĚƚĂůŬƐĂďŽƵƚƐƚĞƉƐƚŽǁĂƌĚ
                    ƉŽƚĞŶƟĂůƉƵďůŝĐĂƟŽŶŝŶƚŚĞĨƵƚƵƌĞ͘
                         /ĨǁĞĚŽŶ͛ƚŚŽůĚƚŚĞƐĞŵĞĞƟŶŐƐ͕ǁŽƌŬŵĂǇƐůŽǁĚŽǁŶŽŶƚŚĞŝŵƉůĞŵĞŶƚĂƟŽŶŽĨƚŚĞEZƌƵůĞ͕
                             ŝŶĐůƵĚŝŶŐƉŽƚĞŶƟĂůƉƵďůŝĐĂƟŽŶ͘
  
  /ŶƚĞƌƐƚĂƚĞ>ĂŶĚ^ĂůĞƐĐƚ;/>^Ϳ
  ǆĂŵƉůĞƋƵĞƐƟŽŶƐĨƌŽŵĚĞǀĞůŽƉĞƌƐƚƌǇŝŶŐƚŽĐŽŵƉůǇǁŝƚŚ/>^ͬZĞŐƵůĂƟŽŶ:͗
      x /ƵƐƵĂůůǇŐĞƚĂŶĞŵĂŝůĨƌŽŵ&WĐŽŶĮƌŵŝŶŐŵǇƐƵďŵŝƐƐŝŽŶ;ŝ͘Ğ͕͘ϭͿƌĞŐŝƐƚĞƌůŽƚƐƚŽƐĞůůŝŶĂŶĞǁƐƵďĚŝǀŝƐŝŽŶ͕ϮͿ
           ĂĚĚůŽƚƐƚŽƐĞůůŝŶĂŶĞǆŝƐƟŶŐƌĞŐŝƐƚĞƌĞĚƐƵďĚŝǀŝƐŝŽŶ͕ĂŶĚͬŽƌϯͿĂŵĞŶĚŝŶĨŽƌŵĂƟŽŶƌĞŐĂƌĚŝŶŐůŽƚƐƚŽƐĞůůŝŶĂŶ

                                                               2
(Page 466 of Total)                                                                                                   JA461
              Case 1:25-cv-00381-ABJ Document 60-1                     Filed 03/05/25 Page 60 of 107
          USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 467 of 637
           ĞǆŝƐƟŶŐƌĞŐŝƐƚĞƌĞĚƐƵďĚŝǀŝƐŝŽŶͿʹĚŝĚ&WƌĞĐĞŝǀĞŵǇƐƵďŵŝƐƐŝŽŶĂŶĚͬŽƌŝƐƚŚĞƌĞĂŶǇĂĚĚŝƟŽŶĂůŝŶĨŽƌŵĂƟŽŶ/͛ŵ
           ƌĞƋƵŝƌĞĚƚŽƐƵďŵŝƚ͍
               o /ĨǁĞĚŽŶ͛ƚƌĞƐƉŽŶĚ͕ĚĞǀĞůŽƉĞƌŵĂǇƌĞĂĐŚŽƵƚƚŽŽƚŚĞƌ&WŽĸĐĞƐŽƌƉŽůŝƟĐĂůƌĞƉƌĞƐĞŶƚĂƟǀĞƐďĞĐĂƵƐĞ
                   ƚŚĞǇŚĂǀĞŶŽƚƌĞĐĞŝǀĞĚĐŽŵŵƵŶŝĐĂƟŽŶĨƌŽŵƚŚĞ&W/>^ŽĸĐĞ͘
                           
      x    tŚĂƚŝƐƚŚĞ/>^η&WŝƐĂƐƐŝŐŶŝŶŐƚŽŵǇƐƵďĚŝǀŝƐŝŽŶ͍
               o /ĨǁĞĚŽŶ͛ƚƌĞƐƉŽŶĚ͕ƚŚĞWƌŽƉĞƌƚǇZĞƉŽƌƚŵĂǇďĞŶŽŶĐŽŵƉůŝĂŶƚǁŝƚŚ/>^ͬZĞŐƵůĂƟŽŶ:ĂŶĚͬŽƌƚŚĞ
                   ƉƵƌĐŚĂƐĞƌͬĐŽŶƐƵŵĞƌĚŽĞƐŶŽƚƌĞĐĞŝǀĞŝŶĨŽƌŵĂƟŽŶŽŶƚŚĞWƌŽƉĞƌƚǇZĞƉŽƌƚĂƐƌĞƋƵŝƌĞĚďǇ
                   />^ͬZĞŐƵůĂƟŽŶ:͘
                   
      x    tŚĂƚŝƐƚŚĞĞīĞĐƟǀĞĚĂƚĞŽĨƚŚĞWƌŽƉĞƌƚǇZĞƉŽƌƚǁĞĂƌĞƌĞƋƵŝƌĞĚƚŽƉƌŽǀŝĚĞƚŽƉƵƌĐŚĂƐĞƌƐƐŽƚŚĂƚǁĞŵĂǇƐĞůů
           ƚŚĞůŽƚƐ͍
               o /ĨǁĞĚŽŶ͛ƚƌĞƐƉŽŶĚ͗
                        ĞǀĞůŽƉĞƌŵĂǇůŽƐĞŝŶĐŽŵĞďĞĐĂƵƐĞƚŚĞǇĂƌĞŶŽƚƐƵƌĞŝĨƚŚĞǇĐĂŶůĞŐĂůůǇƐĞůůƚŚĞůŽƚƐŝŶƚŚĞ
                           ƐƵďĚŝǀŝƐŝŽŶĚƵĞƚŽƉŽƚĞŶƟĂůŶŽŶͲĐŽŵƉůŝĂŶĐĞǁŝƚŚƚŚĞ/>^ͬZĞŐƵůĂƟŽŶ:͘
                        WƵƌĐŚĂƐĞƌƐŵĂǇŶŽƚƌĞĐĞŝǀĞƚŚĞWƌŽƉĞƌƚǇZĞƉŽƌƚƌĞƋƵŝƌĞĚďǇƚŚĞ/>^ͬZĞŐƵůĂƟŽŶ:ŽƌŽŶĞƚŚĂƚ
                           ĂƉƉĞĂƌƐƚŽďĞŶŽŶĐŽŵƉůŝĂŶƚ͖ƚŚŝƐĐŽƵůĚƌĞƐƵůƚŝŶĂĚĞǀĞůŽƉĞƌďĞŝŶŐƐƵĞĚďǇĂƉƵƌĐŚĂƐĞƌĚƵĞƚŽ
                           ƚŚĞWƌŽƉĞƌƚǇZĞƉŽƌƚŶŽƚďĞŝŶŐƉƌŽƉĞƌůǇĮůĞĚǁŝƚŚƚŚĞ&W͘
  
  EĂƟŽŶǁŝĚĞDƵůƟƐƚĂƚĞ>ŝĐĞŶƐŝŶŐ^ǇƐƚĞŵĂŶĚZĞŐŝƐƚƌǇ;ED>^Ϳ
  dŽĞīĞĐƟǀĞůǇŽǀĞƌƐĞĞƚŚĞĐŽŶƚƌĂĐƚďĞƚǁĞĞŶƚŚĞ&WĂŶĚƚŚĞED>^͛Ɛ^ƚĂƚĞZĞŐƵůĂƚŽƌǇZĞŐŝƐƚƌǇ͕>>;^ZZͿ͕ŽƵƌŽĸĐĞŚĂƐ
  ƚĂŬĞŶĂƉƌŽĂĐƟǀĞĂƉƉƌŽĂĐŚƚŽĐŽŵŵƵŶŝĐĂƟŶŐǁŝƚŚƚŚĞ^ZZĚƵƌŝŶŐƚŚĞĂĐŬŐƌŽƵŶĚ/ŶǀĞƐƟŐĂƟŽŶWƌŽĐĞƐƐĨŽƌŶĞǁĂŶĚ
  ƌĞŶĞǁĂůŽĨΕϭϳϳĐŽŶƚƌĂĐƚŽƌƐ;ŝŶĂĐŽŶƐƚĂŶƚƐƚĂƚĞŽĨŽŶďŽĂƌĚŝŶŐͬŽĪŽĂƌĚŝŶŐͿ͘/ŶŽƵƌĞŵĂŝůƐ͕ǁĞĐŽŵŵƵŶŝĐĂƚĞƐƵĐŚ
  ƚŚŝŶŐƐĂƐ͗ĐŽŶĮƌŵƚŚĞƌĞĐĞŝƉƚŽĨĂƌĞƋƵĞƐƚŽĨĂďĂĐŬŐƌŽƵŶĚĐŚĞĐŬ͕ĂƐŬĨŽƌŵŽƌĞŝŶĨŽƌŵĂƟŽŶƚŽĐŽŵƉůĞƚĞĂďĂĐŬŐƌŽƵŶĚ
  ĐŚĞĐŬ͕ƉƌŽǀŝĚĞƐƚĂƚƵƐƵƉĚĂƚĞƐŽŶĐĞƌƚĂŝŶŝŶĚŝǀŝĚƵĂůƐ͕ĐŽŶĮƌŵƚĞŵƉŽƌĂƌǇĂƵƚŚŽƌŝǌĂƟŽŶƚŽǁŽƌŬ͕ĂŶĚĐŽŶĮƌŵĮŶĂů
  ĂƉƉƌŽǀĂůŽĨĂƉĞƌƐŽŶďĞŝŶŐƚŚŽƌŽƵŐŚůǇǀĞƩĞĚƐŽƚŚĞǇŵĂǇĐŽŶƟŶƵĞǁŽƌŬŽŶƚŚĞƐǇƐƚĞŵ͘
          x /ĨǁĞŶŽůŽŶŐĞƌĐŽŵŵƵŶŝĐĂƚĞƚŚĞŝƚĞŵƐĂďŽǀĞ͗
                  o ^ZZ͛ƐŽǀĞƌĂůůĂďŝůŝƚǇƚŽƉĞƌĨŽƌŵƵŶĚĞƌŝƚƐĐŽŶƚƌĂĐƚǁŝƚŚ&WĐŽƵůĚďĞŶĞŐĂƟǀĞůǇŝŵƉĂĐƚĞĚ͘
                  o ^ZZŵĂǇƌĞĂĐŚŽƵƚƚŽŽƚŚĞƌ&WŽĸĐĞƐŝŶĐŽŶĨƵƐŝŽŶĂŶĚͬŽƌŵĂǇĐŽŵƉůĂŝŶƚŚĂƚ&WŝƐŶŽůŽŶŐĞƌ
                      ƉƌŽǀŝĚŝŶŐŝŶĨŽƌŵĂƟŽŶŽŶƚŚĞƉƌŽĐĞƐƐ͘
                  o ^ZZĐŽƵůĚďĞƵŶĂǁĂƌĞƚŚĂƚŝŶĨŽƌŵĂƟŽŶŝƐŵŝƐƐŝŶŐĂŶĚƚŚĞďĂĐŬŐƌŽƵŶĚŝŶǀĞƐƟŐĂƟŽŶƉƌŽĐĞƐƐŝƐ
                      ƉĂƵƐĞĚͬŝŶĚŝǀŝĚƵĂůƐǁŽƵůĚďĞĂďůĞƚŽǁŽƌŬŽŶƚŚĞƐǇƐƚĞŵĂƐŶĞĞĚĞĚďǇ&W
                  o /ŶĨŽƌŵĂƟŽŶƌĞƋƵŝƌĞĚƚŽĐŽŵƉůĞƚĞƚŚĞďĂĐŬŐƌŽƵŶĚŝŶǀĞƐƟŐĂƟŽŶƌĞŵĂŝŶƐŝŶĐŽŵƉůĞƚĞĂŶĚͬŽƌƚŚĞ
                      ďĂĐŬŐƌŽƵŶĚŝŶǀĞƐƟŐĂƟŽŶŵĂǇƟŵĞŽƵƚĂŶĚƌĞƋƵŝƌĞƌĞͲŝŶŝƟĂƟŽŶŽĨƉƌŽĐĞƐƐ͘
  
  Katelyn Sellers




      -
  Program Director, Systems & Registrations
  Office of Supervision Examinations
  (m)
  
  &ƌŽŵ͗,ƵŐŐŝŶƐ͕ĂƐƐĂŶĚƌĂ;&WͿ                                    
  ^ĞŶƚ͗tĞĚŶĞƐĚĂǇ͕&ĞďƌƵĂƌǇϱ͕ϮϬϮϱϭϭ͗ϮϱD
  dŽ͗^ĞůůĞƌƐ͕<ĂƚĞůǇŶ;&WͿ                           х͖ůĞŝĐŬĞŶ͕ĂǀŝĚ;&WͿ                           х
  ^ƵďũĞĐƚ͗ĨŽůůŽǁͲƵƉŽŶYƐĂďŽƵƚŝŶĨŽƌŵĂůŐƵŝĚĂŶĐĞƚŽĞŶƚŝƚŝĞƐ
  /ŵƉŽƌƚĂŶĐĞ͗,ŝŐŚ
  
  ,ŝ<ĂƚĞůǇŶͲtĞŚĂĚƐƵďŵŝƩĞĚƚŚĞƋƵĞƐƟŽŶƚŚĞŽƚŚĞƌĚĂǇĂďŽƵƚǁŚĞƚŚĞƌǁĞĐŽƵůĚƉƌŽǀŝĚĞĐĞƌƚĂŝŶƚǇƉĞƐŽĨŝŶĨŽƌŵĂů
  ŐƵŝĚĂŶĐĞƚŽĞŶƟƟĞƐ͘>ĞŐĂůŝƐŐŽŝŶŐƚŽƌƵŶƚŚŝƐƋƵĞƐƟŽŶƵƉƚŽƚŚĞĐƟŶŐŝƌĞĐƚŽƌ͕ďƵƚǁĂŶƚƐƐŽŵĞĞǆĂŵƉůĞƐŽĨƚŚĞƚǇƉĞƐ
  ŽĨƋƵĞƐƟŽŶƐƚŚĂƚƚǇƉŝĐĂůůǇĨĂůůŝŶƚŽƚŚĞƐĞĐĂƚĞŐŽƌŝĞƐĂŶĚƚŚĞŝŵƉĂĐƚŝĨƚŚĞƵƌĞĂƵĚŽĞƐŶŽƚƌĞƐƉŽŶĚƚŽŝƚ͘tŽƵůĚǇŽƵͬǇŽƵƌ
  ƚĞĂŵďĞĂďůĞƚŽƉƵƚƚŚĂƚƚŽŐĞƚŚĞƌ͍/ƚ͛ƐĂƟŐŚƚƚƵƌŶͲĂƌŽƵŶĚͲǁŽƵůĚŶĞĞĚŝƚďǇƚŚĞĞŶĚŽĨƚŽĚĂǇ͘
  


                                                              3
(Page 467 of Total)                                                                                                  JA462
              Case 1:25-cv-00381-ABJ Document 60-1                              Filed 03/05/25 Page 61 of 107
          USCA Case #25-5091    Document #2114200                                Filed: 05/05/2025 Page 468 of 637
      x    ŶƐǁĞƌŝŶŐƋƵĞƐƟŽŶƐĨƌŽŵƐƵƉĞƌǀŝƐĞĚĞŶƟƟĞƐƚŽƉƌŽǀŝĚĞƵƐĞƌƐƵƉƉŽƌƚĨŽƌ^ƵƉĞƌǀŝƐŝŽŶǆĂŵŝŶĂƟŽŶ^ǇƐƚĞŵ͕
           EŽŶďĂŶŬZĞŐŝƐƚƌǇ͕EĂƟŽŶǁŝĚĞDƵůƟƐƚĂƚĞ>ŝĐĞŶƐŝŶŐ^ǇƐƚĞŵ;ED>^Ϳ͕ĂŶĚ/ŶƚĞƌƐƚĂƚĞ>ĂŶĚ^ĂůĞƐĐƚ;/>^Ϳ
           ƉƌŽŐƌĂŵƐ
      x    ,ŽůĚŝŶŐƐĐŚĞĚƵůĞĚĞǆƚĞƌŶĂůŵĞĞƟŶŐƐƐƚǇůĞĚĂƐ͞ŽĸĐĞŚŽƵƌƐ͟ƚŽƉƌŽǀŝĚĞŐƵŝĚĂŶĐĞĂŶĚƵƉĚĂƚĞƐĨŽƌEŽŶďĂŶŬ
           ZĞŐŝƐƚƌǇ
  
  dŚĂŶŬƐ͕
  ĂƐĞǇ
  
  
  Cassandra Huggins

  Mobile:
           -
  Principal Deputy Assistant Director | Supervision Policy & Operations



  Consumer Financial Protection Bureau
  consumerfinance.gov



  Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the e-mail and any
  attachments. An inadvertent disclosure is not intended to waive any privileges.
  




                                                                      4
(Page 468 of Total)                                                                                                                 JA463
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 62 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 469 of 637




                                           


                                           

                                                                                  




(Page 469 of Total)                                                                JA464
            Case 1:25-cv-00381-ABJ Document 60-1                                   Filed 03/05/25 Page 63 of 107
        USCA Case #25-5091    Document #2114200                                     Filed: 05/05/2025 Page 470 of 637

    From: Huggins, Cassandra (CFPB) <                                          >
    To: _DL_CFPB_Supervision_ALL
    Subject: FW: All Hands Message r



    Supervision staff,



    Calvin and I know that there is quite a bit of confusion surrounding the message we received from Adam Martinez/Mark
    Paoletta on March 2. We have requested and received clarification that their message was not Intended to authorize
    the reinstatement of supervision/examination activity, even though the Bureau Is required by law to carry out
    these activities. We are also not to resume any functions that support the supervision/examination program, and are not
    to communicate with parties outside of the Bureau on Bureau matters without receiving approval from the Chief Legal
    Officer.



    It has been communicated to me that Supervision staff should continue to operate on administrative leave as
    directed by the Acting Director unless you have received express permission to work on a task. In general, this
    permission will come from Calvin, me, or your supervisor. Please do not work on anything else without authorization. If
    you have a question about whether you've been authorized to perform a task, please reach out to your supervisor. As a
    reminder, staff have been given permission to conduct some administrative tasks such as validating/certifying timecards in
    WebTA and submitting/approving vouchers in Concur. Some staff have also been authorized to work on discrete tasks
    and may continue to work on those as directed.



    OSPO managers- if your teams are responsible for carrying out any other statutorily-mandated activities and you aren't
    sure whether they fall under the broader umbrella of supervisory or examination activity or activities that support this
    function, please send me an email with the activity and the specific statutory language that requires it, and I will send a
    request to the Chief Legal Officer.



    Thanks,

    Casey




    Cassandra Huggins

    Principal Deputy Assistant Director I Supervision Policy & Operations

    Mobile

    Consumer Financial Protection Bureau
    consumerfinance.gov


    Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the e-mail and
    any attachments. An inadvertent disclosure is not intended to waive any privileges.




(Page 470 of Total)                                                                                                                  JA465
           Case 1:25-cv-00381-ABJ Document 60-1                     Filed 03/05/25 Page 64 of 107
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 471 of 637

    From: Martinez, Adam (CFPB)
    Sent: Sunday, March 2, 2025 3:33 PM
    Cc: Paoletta, Mark (CFPB)
    Subject: All Hands Message re: Work Required by Law



    Message from Mark Paoletta, Chief Legal Officer



    On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out any
    statutorily required work, as he set forth in his February 8th email.


    On February 8, 2025, you received an email from Acting Director Vought directing you to halt several
    classes of work unless “required by law” or expressly approved by the Acting Director. On February 10,
    2025, you received an email from Acting Director Vought directing you to reach out to me for the
    authorization required by the February 8 email. These measures were intended to ensure that new
    leadership could establish operational control over the agency while ensuring that it would continue to fulfill
    its statutory duties. Many of you understood this and continued to perform functions required by law and
    sought approval from me to perform work, which I have promptly granted.


    It has come to my attention, however, that some employees have not been performing statutorily required
    work. Let me be clear: Employees should be performing work that is required by law and do not need to
    seek prior approval to do so. If you have any questions, please reach out to me immediately, and I will
    promptly give you an answer and authorization if warranted. If you are aware of other employees that are
    needed to assist you in performing a statutorily required task but are not doing so, please raise this with me
    immediately.


    Thank you for your attention to this matter.



    Mark Paoletta

    Chief Legal Officer

    CFPB




(Page 471 of Total)                                                                                            JA466
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 65 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 472 of 637




                                           


                                           

                                                                                  




(Page 472 of Total)                                                                JA467
       USCA Case #25-5091        Document #2114200         Filed: 05/05/2025   Page 473 of 637




             Case 1:25-cv-00381-ABJ  Document 60-1        Filed 03/05/25   Page 66 of 10
                           Gueye, Jafnar (CFPB)                             11:39 AM
                           To Chilbert, Christopher ICFPB), + 14

                                                                                   l ::1
                                                                                     _,.




                 Thanks Chris,


                 To add to that, we're getting a lot of requests to turn contracts
                 back on. I will send out guidance shortly but for your awareness
                 we are not turning back on every contract we've had. We're
                 taking a very narrow approach: if without the contract the
                 Bureau can,t meet a statutory requirement then it will be
                 considered for reactivation. Meaning that a contract enhancing
                 our ability to meet a statutory requirement is not enough to get it
                 back on. It needs to be the only way the bureau can currently
                 meet that requirement.
                 Also as you're providing justifications please be prepared to have /
                 to defend those to external parties. We've been routi~ly asked
                 to provide for names of the people providing the justification.


                 Respectfully,


                 ,Jafnar




(Page 473 of Total)                                                                          JA468
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 67 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 474 of 637




                                           


                                           

                                                                                  




(Page 474 of Total)                                                                JA469
           Case 1:25-cv-00381-ABJ Document 60-1                 Filed 03/05/25 Page 68 of 107
       USCA Case #25-5091    Document #2114200                   Filed: 05/05/2025 Page 475 of 637

        From: (null)
      Subject:
         Date: March 4, 2025 at 9:57 AM
           To:


             From: Brown, Jason (CFPB) <                              >
             Sent: Monday, March 3, 2025 6:07 PM
             To: _DL_CFPB_OR <
             Subject: updates

             Hi OR,

             Just wanted to give you a status update.

             Jan submitted a proposal to Mark Paoletta outlining how RMR would comply with the
             directive to resume statutory responsibilities. She proposed that:
                  • RMR would bring nearly everyone back to work, because nearly all of RMR
                    engages in statutorily required work. Given that research responsibilities are well
                    documented in Dodd-Frank and all of the research work we do is linked to fulfilling
                    Dodd-Frank’s requirements, this would mean that anyone who could support the
                    research functions of Dodd-Frank should return to work. This is consistent with
                    what I shared last Friday.
                  • Communications within the federal government, with contracted entities, and within
                    the Federal Reserve system that help us fulfill our statutory responsibilities will be
                    pre-approved and not require involvement of the DFO.
                  • Engagement with outside researchers and other parties to advance the Bureau’s
                    research responsibilities would resume. This would include discussing research
                    findings in meetings, workshops, and conferences with other government agencies,
                    presenting research findings at academic conferences, and attending research
                    conferences. She noted that we would follow usual Bureau procedures for
                    authorizing and clearing any presentations and conference attendance and would
                    inform him and Dan Shapiro prior to any presentation or attendance at a non-
                    governmental conference.
                  • Refreshing data on the Bureau website, specifically the CCT and Mortgage
                    Performance Trends, will continue. We will await further guidance on Bureau-
                    hosted publications.
                  • Dissemination of research findings through the SSRN page and through academic
                    journals would resume.

             Jan has not received a response yet. But I will pass it on as soon as I get it. In the
             meantime, please continue (or resume) fulfilling the non-public aspects of your work to
             the extent possible.

             There are questions on timecards. We expect further guidance on Thursday.

             I know that as we are resuming our work, we are confronting a few challenges, including:
                  •Loss of personnel. The firing of much of our staff impacts our ability to complete
                   assignments as planned. We are trying to make sure we have access to the files of
                   the staff who have left. The OR management team also will be looking to reassign
                   staff from work streams that have stopped. If you find you have capacity, please
                   alert your chief. And if you need additional staff support for your projects, please

(Page 475 of Total)                                                                                    JA470
           Case 1:25-cv-00381-ABJ Document 60-1                Filed 03/05/25 Page 69 of 107
       USCA Case #25-5091    Document #2114200                  Filed: 05/05/2025 Page 476 of 637

                   alert your chief.
               •   Loss of IT resources. Several contracts that have supported our work have been
                   cancelled. We have seen some impairment in our ability to do our work, and in
                   some cases we can’t tell if the struggles we’re facing are because of cancelled
                   contracts or glitches, and the people who would ordinarily help us out have
                   themselves been terminated. Many thanks to those who have been documenting
                   your experiences and sharing workarounds. Kat has been running point on this.
                   The CIO knows we’re having issues and once we get a full picture of the situation
                   and the extent to which we cannot fulfill our responsibilities, we will share with him
                   and work with him on how to fix it.
               •   Loss of data. Several of our data contracts have been cancelled. Also, because the
                   IT systems have been in flux while data were being migrated (or even just stored),
                   there is some question as to where some of the data and how to access them.
                   Shaista will be working with the data stewards of each of our data assets to ensure
                   that the data are accessible and complete.
               •   Loss of other tools to conduct research. These include the qualitative researcher
                   contract and the lab contracts. We’re assessing how the loss of these other
                   contracts affects our ability to fulfill our duties.

           Thank you for your patience and cooperation as we try to sort all this out.

           Finally, I know many of you submitted promising work to the Consumer Finance Round
           Robin. Because of the uncertainty of our participation, the other agencies moved forward
           without including papers that were authored only by CFPB researchers. Assuming we get
           the go-ahead to continue engagements like the Round Robin, we are welcome to
           nonetheless attend. We’re looking to plan an alternate Round Robin for our submissions
           that didn’t make it on to the program.

           Jason




(Page 476 of Total)                                                                                    JA471
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 70 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 477 of 637




                                           


                                           

                       




(Page 477 of Total)                                                                JA472
           Case 1:25-cv-00381-ABJ Document 60-1                              Filed 03/05/25 Page 71 of 107
       USCA Case #25-5091    Document #2114200                                Filed: 05/05/2025 Page 478 of 637

          From:
          To:
          Subject:                 Han s Message re: Work Required by Law
          Date:              Monday, March 3, 2025 5:29:52 PM




          Per the authorization below,. is looking into getting the CCDB back up and running. As part
          of this work, we're also authorizing you and- to help assess the state of things across
          CCDB/CGGP/complaints products, identify people and resources that are remaining to
          support these platforms, and understand the backlog in light of the new state of things.


          I'm working with the other D+D leads to assess the state of work and resources more broadly,
          as Adam mentioned in his email this afternoon. A read from you,-• and- of the
          complaints portfolio will be invaluable as we figure out next steps. Reach out to me any time if
          I can be of help, provide more guidance, etc.




          •
          Thanks,




          Confidentiality otice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the email and any attachments. An inadvertent disclosure is not intended to waive any privileges.




          From:                                                                     >
          Date: Monday, March 3, 2025 at 5:04 PM




          Subject: FW: All Hands Message re: Work Required by Law

          Hi Folks,


          Below is the email thread I referenced regarding authorization to "shift any resources
          needed to comply with the statute and any applicable laws/regulations" as noted by
          AdamM.




          -
          Best,




          From:


(Page 478 of Total)                                                                                                              JA473
           Case 1:25-cv-00381-ABJ Document 60-1                                 Filed 03/05/25 Page 72 of 107
       USCA Case #25-5091    Document #2114200                                   Filed: 05/05/2025 Page 479 of 637

          Date: Monday, March 3, 2025 at 10:21 AM
          To:                                                 Chilbert, Christopher (CFPB)
          <
          Cc:                                                 >, Scott, Adam (CFPB)
                                 >
          Subject: RE: All Hands Message re: Work Required by Law

          Minus Adam and Mark,

          Irina please check with Steve once he comes online please let me know if anything is needed
          from Infrastructure or other teams to address the issue.

          Thanks,



          -
          Deputy Chief Information Officer | Technology & Innovation
          Mobile:

          Consumer Financial Protection Bureau
          consumerfinance.gov

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.
          From:                                                   >
          Sent: Monday, March 3, 2025 10:11 AM
          To: Martinez, Adam (CFPB)                               >; Chilbert, Christopher (CFPB)
                                          >; Malik, Irfan (CFPB)                        >
          Cc: Paoletta, Mark (CFPB)                            >; Sayre, Stephen (CFPB)
                                    >; Scott, Adam (CFPB)                            >
          Subject: Re: All Hands Message re: Work Required by Law




                      -
          Will do. Thanks.
          Chris and        ,
          All of the contractors are gone, am I correct?
          The first issue I see is that EXT Jenkins is returning 502. That is where the pipelines run. I
          wonder if it because some other service got shut down. I lack access privileges.




          From: Martinez, Adam (CFPB)
          Date: Monday, March 3, 2025 at 10:05 AM
                                                                          -
          would need to take a look to see if we can get it back up and I can try to take it from there.
          I don’t know how to reach him though, would need              to reach out when he is back online.


                                                                                        >

          To:                                                                   >, Chilbert, Christopher (CFPB)
          <                              >,                                                               >
          Cc: Paoletta, Mark (CFPB) <                                            >,

(Page 479 of Total)                                                                                                               JA474
           Case 1:25-cv-00381-ABJ Document 60-1                     Filed 03/05/25 Page 73 of 107
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 480 of 637

          <                         , Scott, Adam (CFPB) <
          Subject: RE: All Hands Message re: Work Required by Law

          Hi
             -    . Please work with Chris and


          Adam Martinez
          Chief Operating Officer
                                                   - to shift any resources needed to comply
          with the statute and any applicable laws/regulations. Thank you.




          From:
          Sent: Monday, March 3, 2025 10:02 AM
          To: Martinez, Adam (CFPB) <
          Cc: Paoletta, Mark (CFPB) <                                            )
          <                         >; Scott, Adam (CFPB) <                  >
          Subject: Re: All Hands Message re: Work Required by Law


          Hi Adam,
          Based on every email starting 2/10 the unambiguous guidance was to stop all work
          tasks, no stipulation of statue requirements was made.

          As of today, Consumer Complaint Database(CCDB) has not had been refreshed with
          new data since 02/22/2025 and displays an eror banner:
          https://www.consumerfinance.gov/data-research/consumer-complaints/search/?
          chartType=line&dateInterval=Month&dateRange=3y&date received max=2025-02-
          21&date_received_min=2022-02-
          21&lens=Product&searchField=all&subLens=sub product&tab=Trends

          Dodd Frank mandates:
          The Consumer Financial Protection Bureau (CFPB) to maintain a public database
          where consumer complaints against financial institutions are recorded and
          published, ensuring transparency in the financial marketplace; this database is
          commonly referred to as the "CFPB Consumer Complaint Database”.


          I am seeking authorization to fix underlying issue with data pipelines which
          load data for CCDB. Since the Data Products team lost all other developers
          when all contracts were canceled, I am also seeking authorization to utilize
          other member of D&D and EDA to assist as needed.

          Thanks for your prompt attention,



(Page 480 of Total)                                                                                  JA475
           Case 1:25-cv-00381-ABJ Document 60-1                     Filed 03/05/25 Page 74 of 107
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 481 of 637




          From: Martinez, Adam (CFPB) <Adam.Martinez@cfpb.gov>
          Date: Sunday, March 2, 2025 at 3:33 PM
          To:
          Cc: Paoletta, Mark (CFPB) <
          Subject: All Hands Message re: Work Required by Law

          Message from Mark Paoletta, Chief Legal Officer

          On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out
          any statutorily required work, as he set forth in his February 8th email.

          On February 8, 2025, you received an email from Acting Director Vought directing you to halt
          several classes of work unless “required by law” or expressly approved by the Acting Director.
          On February 10, 2025, you received an email from Acting Director Vought directing you to
          reach out to me for the authorization required by the February 8 email. These measures were
          intended to ensure that new leadership could establish operational control over the agency
          while ensuring that it would continue to fulfill its statutory duties. Many of you understood this
          and continued to perform functions required by law and sought approval from me to perform
          work, which I have promptly granted.

          It has come to my attention, however, that some employees have not been performing
          statutorily required work. Let me be clear: Employees should be performing work that is
          required by law and do not need to seek prior approval to do so. If you have any questions,
          please reach out to me immediately, and I will promptly give you an answer and authorization
          if warranted. If you are aware of other employees that are needed to assist you in performing a
          statutorily required task but are not doing so, please raise this with me immediately.

          Thank you for your attention to this matter.

          Mark Paoletta
          Chief Legal Officer
          CFPB




(Page 481 of Total)                                                                                            JA476
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 75 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 482 of 637




                                           


                                           

                       




(Page 482 of Total)                                                                JA477
                                                                 Case 1:25-cv-00381-ABJ                        Document 60-1                 Filed 03/05/25              Page 76 of 107




 (Page 483 of Total)
       From: Lee, Scott (CFPB) <
       Sent: Monday, March 3, 2025 1:52 PM
       To: Chang, Jean (CFPB)                         >; Chilbert, Christopher (CFPB) <                                              >; Essene, Ren (CFPB) <                           >; Gueye, Jafnar (CFPB)
       Martinez, Adam (CFPB) <A                         >; Michalosky, Martin (CFPB)                                               >
       Cc: Jacob, Roland (CFPB)                           >; DiPalma, Nikki (CFPB)                                            ; Switzer, Kristin (CFPB)                               James, Dana (CFPB)                             Galicki,
                                                                                                                                                                                                                                                USCA Case #25-5091




       Joshua (CFPB)                             ; Nguyen, Hoan (CFPB) <                                         >; Austin, Richard (CFPB)                                   Roth, Marianne (CFPB) <
       Subject: Operations: Statutory Requirements



       Hi all,



       We have some updated guidance on a few items:

                       1. Mandated Reports: Adam has approved (see attached) to work on all reports that fulfill a legal requirement. See below for a list of reports due through June. Please have your teams restart work on these items
                          through the normal drafting, review with stakeholders, and clearance (Ops FO and Exec. Sec.). If there are items missing from this list, please let me know.
                       2. Statutory Requirements: New guidance is instructing us to work on all statutory requirements for the Bureau. Our Ops work ties to this work (directly and indirectly). We are working (with Legal) to develop a
                          framework on what is required and how Ops work is implicated.
                                                                                                                                                                                                                                                Document #2114200




       We know there’s many questions around this – so we’re going to schedule a couple of meetings to ensure we’re all aligned on this.



       Scott




                        OFFICE            REPORT/PUBLICATION TITLE                   DESCRIPTION AND ACTION(S)                          LEGAL REQUIREMENT                      RECEIVING                FY25               DUE DATE
                       OR TEAM                                                              REQUIRED                                                                           ORGANIZATION          PUBLICATION          STATUTORILY
                                                                                                                                                                                                     DUE DATE(S)           REQUIRED
                                                                                                                                                                                                                                                Filed: 05/05/2025




                                                                                                                                                  I
                                                                                                                                                      I
                                                                                                                                                          I




                       OFP/CFO         Annual Performance Plan and Report,       The report describes the resources            Dodd-Frank §1017(a)(4)(A) - Director            FRB                     2/15/2025                 N
                                                                                                                                            I




                                       and Budget Overview (Managed by           needed to accomplish our goals and            shall provide to the Director of the Office     OMB
                                       OSPP)                                     measure our performance against our           of Management and Budget copies of the          Congress
                                                                                                                              II
                                                                                                                                                          I




                                                                                 strategic plan. Strategy owns this            financial operating plans and forecasts of
                                                                                 document. The document also includes          the Director, as prepared by the Director
                                                                                                                                         ,I
                                                                                                                                         II
                                                                                                                                          I




                                                                                 a budget section which the OCFO is            in the ordinary course of the operations of
                                                                                 responsible for. Budget section fulfills      the Bureau. S.1016 also requires that a
                                                                                 statutory requirement of 1017(a)(4)(A)        justification of the budget request of the
                                                                                                                                                      I




                                                                                 financial operating plans and forecasts.      previous year be provided with the
                                                                                                                                        I




                                                                                                                               semiannual report to Congress. (Note:
                                                                                                                               there may be other requirements that
                                                                                                                               govern the publication of strategic plans
                                                                                                                                                              I I
                                                                                                                                                                I I




                                                                                                                               and performance information)
                                                                                                                                                                                                                                                Page 483 of 637




                                                                                                                              I I I




                       OFP/CFO         DATA Act                                  Submission of reconciliations of financial    Public Law 113-101, dated May 9, 2014           USAspending.gov         2/15/2025                 N
                                                                                                                                        ffi i i i “Di i




JA478
                                                            Case 1:25-cv-00381-ABJ
                                                                     and procurement data that supports
                                                                                                Documentand60-1
                                                                                                            the officialFiled     03/05/25
                                                                                                                        title is “Digital                       Page 77 of 107
                                                                          USASpending.gov                              Accountability and Transparency Act of
                                                                                                                       2014”


                       OFP/CFO     GTAS                                   Submission of monthly financial and          Chapter 4700 of the TFM entitled “Agency   OMB                 2/18/2025   N
                                                                          budget execution data; fulfill statutory     Reporting Requirements for the Financial   Treasury
                                                                          requirement of 1017(a)(4)(A) quarterly       Report of the United States Government”
                                                                          reports of financial condition and results
                                                                          of operations




 (Page 484 of Total)
                         CRO       GAO-IG Act Reporting                   Annual report of external findings from      Good Accounting Obligation in              Congress            2/28/2025   N
                                                                          GAO and OIG                                  Government Act (GAO-IG Act) (Public        GAO
                                                                                                                       Law 115-414)                               OIG
                                                                                                                                                                                                      USCA Case #25-5091




                       OFP/CFO     Quarterly Financial Reports (CFO       Budget execution by Budget Category,         Dodd-Frank § 1017?                         Public (published   2/28/2025   N
                                   Updates)                               Division, and largest obligations for each                                                on cfpb.gov)
                                                                          quarter.



                       OFP/PROC    Service Contract Inventory             Presents an analysis on CFPB's service       FY 2010 Consolidated Appropriations Act-   OMB, MAX.GOV        2/28/2025   Y
                                                                          contract inventory to determine if           Public Law 111-117 OMB memo, Dated
                                                                          contract labor is used appropriately and     Dec 19, 2011
                                                                          the mix of Federal employees and
                                                                          contractors is balanced.


                       OFP/CFO     Annual Independent Performance Audit   Annual independent audit of the              12 USC § 5496a                             Public (published   2/28/2025   N
                                                                          operations and budget of the Bureau.                                                    on cfpb.gov)
                                                                                                                                                                                                      Document #2114200




                                                                          The purpose of this audit is to provide
                                                                          objective analyses to improve program
                                                                          performance and operations, reduce
                                                                          costs, facilitate decision-making, and
                                                                          contribute to public accountability


                       OFP/CFO     Quarterly Financial Reports (CFO       Budget execution by Budget Category,         Dodd-Frank § 1017?                         Public (published   2/28/2025   N
                                   Updates)                               Division, and largest obligations for each                                              on cfpb.gov)
                                                                          quarter.




                       OFP/CFO     Quarterly Financial Reports (CFO       Budget execution by Budget Category,         Dodd-Frank § 1017?                         Public (published   2/28/2025   N
                                                                                                                                                                                                      Filed: 05/05/2025




                                   Updates)                               Division, and largest obligations for each                                              on cfpb.gov)
                                                                          quarter.


                        OCDO       Federal Electronic Records and Email   Report to determine how federal              The Federal Records Act (44 U.S.C. 31)     NARA                3/15/2025   N
                                   Management Maturity Model Report       agencies manage electronic records.




                       Admin Ops   Records Management Self-               The goal of the self assessment is to        The Federal Records Act (44 U.S.C. 31)     NARA                3/15/2025   N
                                   Assessment                             determine whether federal agencies are
                                                                          compliant with statutory and regulatory
                                                                                                                                                                                                      Page 484 of 637




                                                                          records management requirements.




JA479
                                                               Case 1:25-cv-00381-ABJ                    Document 60-1                Filed 03/05/25                Page 78 of 107

                       Admin Ops   Senior Agency Official of Records       Report documents how the Bureau is           The Federal Records Act (44 U.S.C. 31)        NARA            3/15/2025   N
                                   Management Report                       managing RIM activities and goals
                                                                           established by NARA




 (Page 485 of Total)
                       OFP/CFO     GTAS                                    Submission of monthly financial and          Chapter 4700 of the TFM entitled “Agency      OMB             3/18/2025   N
                                                                           budget execution data; fulfill statutory     Reporting Requirements for the Financial      Treasury
                                                                           requirement of 1017(a)(4)(A) quarterly       Report of the United States Government”
                                                                           reports of financial condition and results
                                                                           of operations
                                                                                                                                                                                                      USCA Case #25-5091




                                                                                                                                           I
                                                                                                                                               I
                       OFP/CFO     Quarterly Transfer Requests             Letters requesting transfer of funds from    Dodd-Frank § 1017(a)(1)                       FRB             3/20/2025   N




                                                                                                                                      I
                                                                           the Fed Reserve to CFPB                                                                    Congress




                         CRO       OIG Semiannual Report                   OIG Federal Reserve provides                 P.L. 95-452                                   HFSC and BHUA   3/31/2025   Y
                                                                           seminannual report of signigicant
                                                                           activities, finds, and recommendations
                                                                           during a six month period.
                                                                                                                                                                                                      Document #2114200




                         OHC       Financial Literacy and Education Plan   OPM requires agency benefits                 Thrift Savings Plan Open Elections Act of     OPM             3/31/2025   N
                                   (for Bureau Employees)                  representatives to submit an annual          2004 (Public Law 108-469)
                                                                           financial literacy and education plan for
                                                                           agency employees.




                         OHC       Student Loan Repayment Incentives       Agencies must submit an annual written       5 U.S.C. 5379(h)(1) and 5 CFR                 OPM             3/31/2025   Y
                                                                           report to the U.S. Office of Personnel       537.110(b)
                                                                           Management (OPM) on their use of
                                                                           student loan repayments during the
                                                                           previous calendar year (CY), as
                                                                           required by 5 U.S.C. 5379(h).
                                                                                                                                                                                                      Filed: 05/05/2025




                        OCDO       Chief FOIA Officer Report               In accordance with the FOIA, each            The Freedom of Information Act (FOIA), 5      DOJ             3/31/2025   Y
                                                                           agency Chief FOIA Officer must “review       U.S.C § 552(j)(2)(D).
                                                                           and report to the Attorney General,
                                                                           through the head of the agency, at such
                                                                           times and in such formats as the
                                                                           Attorney General may direct, on the
                                                                           agency’s performance in implementing
                                                                           [the FOIA].

                         OHC       Annual Data Call for Pathways           Under Section 6 of Executive Order           5 CFR 362.109                                 OPM             4/1/2025    Y
                                                                                                                                                                                                      Page 485 of 637




                                   Programs and Early Career Talent        14035: Diversity, Equity, Inclusion, and
                                   Hiring Reporting                        Accessibility in the Federal Workforce,
                                                                           the Biden-Harris Administration directs




JA480
                                                               Case 1:25-cv-00381-ABJ               Document 60-1
                                                                        agencies to increase availability of paid
                                                                                                                                        Filed 03/05/25             Page 79 of 107
                                                                             internships, fellowships, apprenticeships,
                                                                             and other early career programs.


                         OHC       Telework Data Call                        Participation in this annual survey is a     Telework Enhancement Act of 2010,          OPM                           N
                                                                             requirement under the Telework               Public Law 111-292
                                                                             Enhancement Act of 2010, Public Law
                                                                             111-292 (the Act and is reported by OPM                                                                   4/10/2025
                                                                             to Congress. The questions in this
                                                                             survey ask for information about




 (Page 486 of Total)
                                                                             agencies’ telework program.


                       OFP/CFO     GTAS                                      Submission of monthly financial and          Chapter 4700 of the TFM entitled “Agency   OMB               4/18/2025   N
                                                                             budget execution data; fulfill statutory     Reporting Requirements for the Financial   Treasury
                                                                             requirement of 1017(a)(4)(A) quarterly       Report of the United States Government”
                                                                             reports of financial condition and results
                                                                                                                                                                                                       USCA Case #25-5091




                                                                             of operations


                          T&I      Fiscal Year 20XX-20XX Guidance on         FY XX Q1 - Q3 Reporting via                  FY24 FISMA Guidance is not yet released.         DHS         4/18/2025   Y
                                   Federal Information Security and          Cyberscope.                                                                                   OMB
                                   Privacy Management Requirements -                                                      OMB M-23-03 - FY23 (MEMORANDUM
                                   EO14028 Metrics (Q1 & Q3) & Chief                                                      FOR THE HEADS OF EXECUTIVE
                                   Information Officer Metrics (Q2)                                                       DEPARTMENTS AND AGENCIES)


                          T&I      Strengthening the Cybersecurity of        FY2X HVA list report on a quarterly basis    OMB M-19-03                                      DHS         4/18/2025   Y
                                   Federal Agencies by Enhancing the         and provide updates and modifications
                                   High Value Asset Program                  via Homeland Security Information
                                                                             Network (HSIN)
                                                                                                                                                                                                       Document #2114200




                          T&I      Improving Vulnerability Identification,   BOD 20-01 Vulnerability Disclosure           OMB-M-20-32                                      DHS         4/18/2025   Y
                                   Management, and Remediation               Policy reporting via Cyberscope


                       Admin Ops   Quarterly FOIA Report                     In accordance with the FOIA, the             5 U.S.C. § 552(e)(5), (j)(2)(D)            DOJ               4/25/2025   Y
                                                                             Department of Justice requires agencies
                                                                             to provide quarterly reporting of four key
                                                                             FOIA statistics so that they can be
                                                                             posted on FOIA.gov.




                          T&I      Migrating to Post-Quantum                 By May 4, 2023, and annually thereafter      M-23-02                                          DHS         5/3/2025    Y
                                                                                                                                                                                                       Filed: 05/05/2025




                                   Cryptography (Inventory)                  until 2035, or as directed by superseding                                                     OMB
                                                                             guidance, agencies are directed to
                                                                             submit a prioritized inventory of
                                                                             information systems and assets,
                                                                             excluding national security systems, that
                                                                             contain CRQC-vulnerable cryptographic
                                                                             systems to ONCD and the Department
                                                                             of Homeland Security Cybersecurity and
                                                                             Infrastructure Security Agency (CISA)

                       OFP/CFO     DATA Act                                  Submission of reconciliations of financial   Public Law 113-101, dated May 9, 2014      USAspending.gov   5/15/2025   N
                                                                             and procurement data that supports           and the official title is “Digital
                                                                                                                                                                                                       Page 486 of 637




                                                                             USASpending.gov                              Accountability and Transparency Act of
                                                                                                                          2014”




JA481
                                                            Case 1:25-cv-00381-ABJ                      Document 60-1                 Filed 03/05/25           Page 80 of 107
                       OFP/CFO   GTAS                                     Submission of monthly financial and           Chapter 4700 of the TFM entitled “Agency   OMB                 5/18/2025   N
                                                                          budget execution data; fulfill statutory      Reporting Requirements for the Financial   Treasury
                                                                          requirement of 1017(a)(4)(A) quarterly        Report of the United States Government”
                                                                          reports of financial condition and results
                                                                          of operations


                       OFP/CFO   Quarterly Financial Reports (CFO         Budget execution by Budget Category,          Dodd-Frank § 1017?                         Public (published   5/30/2025   N
                                 Updates)                                 Division, and largest obligations for each                                                 on cfpb.gov)
                                                                          quarter.




 (Page 487 of Total)
                       OFP/CFO   Quarterly Financial Reports (CFO         Budget execution by Budget Category,          Dodd-Frank § 1017?                         Public (published   5/30/2025   N
                                 Updates)                                 Division, and largest obligations for each                                               on cfpb.gov)
                                                                          quarter.
                                                                                                                                                                                                       USCA Case #25-5091




                       OFP/CFO   Quarterly Financial Reports (CFO         Budget execution by Budget Category,          Dodd-Frank § 1017?                         Public (published   5/30/2025   N
                                 Updates)                                 Division, and largest obligations for each                                               on cfpb.gov)
                                                                          quarter.


                        OCDO     Financial Stability Oversight Council    The Interagency Data Inventory is a           Dodd-Frank Wall Street Reform and          FSOC                5/31/2025   N
                                 (FSOC) Data Inventory                    product of the Data Committee of the          Consumer Protection Act of 2010
                                                                          Financial Stability Oversight Council
                                                                          (FSOC). The inventory catalogs the data
                                                                          collected by FSOC member
                                                                          organizations. The inventory contains
                                                                          information — metadata — about each
                                                                          data collection. It does not contain the
                                                                          underlying datasets. For each data
                                                                          collection, the inventory has basic
                                                                                                                                                                                                       Document #2114200




                                                                          information, such as a brief description
                                                                          of the collection, collecting organization,
                                                                          and the name and number of the form
                                                                          used to collect the data.


                       OFP/CFO   Semiannual Report of Payments            As required by the statute, the Bureau        31 U.S.C. 1353                             OGE                 5/31/2025   Y
                                 Accepted from a Non-Federal Source       must submit to the Director of the Office
                                                                          of Government Ethics reports of
                                                                          payments of more than $250 accepted
                                                                          from non-Federal sources for travel,
                                                                          subsistence, and related expenses with
                                                                          respect to an employee’s attendance at
                                                                          any meeting or similar function relating
                                                                          to the official duties of the employee.
                                                                                                                                                                                                       Filed: 05/05/2025




                         T&I     Migrating to Post-Quantum                By June 4, 2023, and annually thereafter      M-23-02                                           DHS          6/4/2025    Y
                                 Cryptography (Funding Estimates)         until 2035, or as directed by superseding                                                       OMB
                                                                          guidance, agencies are required to
                                                                          submit to ONCD and OMB an
                                                                          assessment of the funding required to
                                                                          migrate information systems and assets
                                                                          inventoried under this memorandum to
                                                                          post-quantum cryptography during the
                                                                          following fiscal year.


                         T&I     Update to Memorandum M-22-18,            Agencies must submit metrics on               OMB M-23-16                                       OMB          6/9/2025    Y
                                                                                                                                                                                                       Page 487 of 637




                                 Enhancing the Security of the Software   collected attestation letters for all
                                 Supply Chain through Secure Software     software subject to the requirements of
                                 Development Practices                    M 22 18 as amended by this




JA482
                                  Development Practices     Case 1:25-cv-00381-ABJ
                                                                     M-22-18, as amended by thisDocument 60-1                      Filed 03/05/25                 Page 81 of 107
                                                                        memorandum., as well as the on agency
                                                                        approval of POA&Ms AND number of
                                                                        extensions and waivers in place at each
                                                                        agency.


                       OFP/CFO    GTAS                                  Submission of monthly financial and          Chapter 4700 of the TFM entitled “Agency       OMB            6/18/2025   N
                                                                        budget execution data; fulfill statutory     Reporting Requirements for the Financial       Treasury
                                                                        requirement of 1017(a)(4)(A) quarterly       Report of the United States Government”
                                                                        reports of financial condition and results
                                                                        of operations




 (Page 488 of Total)
                                                                                                                                         I
                                                                                                                                             I
                       OFP/CFO    Quarterly Transfer Requests           Letters requesting transfer of funds from    Dodd-Frank § 1017(a)(1)                        FRB            6/20/2025   N




                                                                                                                                 I
                                                                        the Fed Reserve to CFPB                                                                     Congress


                       OFP/PROC   Federal Activities Inventory Report   The Inventory depicts the CFPB’s             Federal Activities Inventory Reform Act of     Congress,      6/30/2025   Y
                                                                                                                                                                                                   USCA Case #25-5091




                                  (FAIR)                                workforce by functions (or activities)       1998 (P.L. 105-270) and OMB Circular A-        OMB, MAX.GOV
                                                                        performed by Bureau employees. The           76 - Competitive Sourcing
                                                                        Inventory further breaks down these
                                                                        activities into Inherently Governmental
                                                                        (activities that can only be performed by
                                                                        a Federal employee) and Commercial
                                                                        (Activities that can be performed by
                                                                        Federal or contract employees)
                                                                        categories. The number of Full-Time
                                                                        Equivalents (FTEs) is also displayed by
                                                                        location.
                                                                                                                                                                                                   Document #2114200




       Scott Lee

       Senior Advisor to the Chief Operating Officer - Operations

       Consumer Financial Protection Bureau (CFPB)




I
                                                                                                                                                                                                   Filed: 05/05/2025
                                                                                                                                                                                                   Page 488 of 637




JA483
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 82 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 489 of 637




                                           


                                           

                       




(Page 489 of Total)                                                                JA484
           Case 1:25-cv-00381-ABJ Document 60-1            Filed 03/05/25 Page 83 of 107
       USCA Case #25-5091    Document #2114200              Filed: 05/05/2025 Page 490 of 637
         From: 'Tabitha L. Bond"
         Date: March 4, 2025 at 7:50:37 AM EST
         To:
         Subject: SF50 attached
         Reply-To:




            New ZixCorp secure email message



              Open Message



           To view the secure message, click Open Message.

           The secure message expires on May 03 , 2025 @ 11 :50 AM (GMT).

           Do not reply to this notification message; this message was auto-generated by the
           sender's security system. To reply to the sender, click Open Message.

           If clicking Open Message does not work, copy and paste the link below into your
           Internet browser address bar.



           Want to send and receive your secure messages transparently?
           Click here to learn more.




(Page 490 of Total)                                                                            JA485
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 84 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 491 of 637




                                           


                                           

                       




(Page 491 of Total)                                                                JA486
           Case 1:25-cv-00381-ABJ Document 60-1            Filed 03/05/25 Page 85 of 107
       USCA Case #25-5091    Document #2114200              Filed: 05/05/2025 Page 492 of 637




            New ZixCorp secure email message



              Open Message



           To view the secure message, click Open Message.

           The secure message expires on May 03, 2025@ 11 :50 AM (GMT).

           Do not reply to this notification message; this message was auto-generated by the
           sender's security system. To reply to the sender, click Open Message.

           If clicking Open Message does not work, copy and paste the link below into your
           Internet browser address bar.



           Want to send and receive your secure messages transparently?
           Click here to learn more.




(Page 492 of Total)                                                                            JA487
                 Case 1:25-cv-00381-ABJ Document 60-1                                                                Filed 03/05/25 Page 86 of 107
            USCA
Standard Form 50
                 Case #25-5091     Document #2114200                                                                  Filed: 05/05/2025 Page 493 of 637
Rev 7/91
U. S. Offic.e of Personnel Management                           NOTIFICATION OF PERSONNEL ACTION
FPM Supp. 296-33, Subcb. 4
                                                                                                                                                                                     4. Effective Date
                                                                                                                                                                                     02-11-2025
 FIRST ACTION
  5-A. Codo            5-B. Narurc of Action                                                                                 6-B. Nature of Action
  385                  TERM DURING PROB/fRIAL PERIOD
  5-C. Codo            5-D. Legal Authority                                                               6-C . Codo         6-D. Legal Authority
 1AM                   REG 315.804 EQ
  5-E. Code            5-F. Legal Authority                                                               6-E. Code          6-F. Legal Authority

                                                                                                          15. TO: Position Title and Number




 --
  8. Pay Plan 9. 0 cc. Code


  12A. Basic Pa

  14. Name and Location o
 CONSUMER FINANCIAL PROTECT BUREAU
                                          ganization
                                                                                                          16. Pay Plan


                                                                                                          20A. Basic Pay
                                                                                                          .00
                                                                                                                                    20B. Locality Adj .
                                                                                                                                    .00
                                                                                                          22. Name and Location of Position's Organizalion
                                                                                                                                                          19. Step or Rate   20. Total Salary
                                                                                                                                                                               .00
                                                                                                                                                                  20C. Adj. Basic Pay
                                                                                                                                                                  .00
                                                                                                                                                                                                         21. Pay Ba,i.,


                                                                                                                                                                                                20D. Other Pay
                                                                                                                                                                                                .00




  EMPLOYEE DATA
                                 3 - 10 Point/Disability        5 - 10 Point/Other
                                 4 • 10 Point/Compensable       6 - 10 Point/Componsable/30%




                                                       - -Date (Leave}


 POSITION DATA




                                                                                                                                                                             -
 34. Position Oecupied                                          35. FLSA Catego,y                         36. Appropriation Code                                             37. Bargaining Unit Status

1     1 - Competitive Se.vice 3 - SES General
       2 • Excepted Service   4 • SES ear- Reserved         -
                                                                         E-Exempt
                                                                          N • Nonexempt

                                                            39. Duty Station                   -State or Overseas Location

  40. Agency Data                   41.                                42.                         43 .                               44.


  45.Remarks
 E.O. 14210 AND THE STOP WORK EMAIL FROM RUSS VOUGHT ENTifLED "ADDffiONAL
 DIRECTIVES ON BUREAU ACTIVITIES" DTD 2/10/2025.
 HEALTH BENEFITS COVERAGE IS EXTENDED FOR 31 DAYS DURING WHICH YOU ARE
 ELIGIBLE TO CONVERT TO INDIVIDUAL POLICY ONGROUP CONTRACT .


  FORWARDING ADDRESS
  LUMP-SUM PAYMENT TO BE MADE FOR ANY UNUSED ANNUAL LEAVE.




  46. Employing Department or Agency                                                                      50. Signatum/Authentication and Title of Approving Official
 CONSUMER FINANCIAL PROTECTION BUR                                                                        ELECTRONICALLY SIGNED BY:
                                                                49. Approval Date                         ADAM MARTINEZ
                                                                02-13-2025                                ACTING CHIEF HUMAN CAPITAL OFFICER
                                                                                                                                              Editions Prior to 7/91 Are Not Usable After 6/30/93
                                                                                                                                                                          NSN 7540-01-333-6236
                                                                      1 - Employee Copy - Keep for Future Reference
(Page 493 of Total)                                                                                                                                                                              JA488
                                        0123  45ÿ
                                 Document #211420021ÿ
               Case 1:25-cv-00381-ABJ Document 60-1
                                                       57891       55
                                                             Filed 03/05/25 Page 87 of 107
   2 ÿ ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ ÿ ÿÿÿÿ ÿÿÿ
           USCA Case #25-5091                                  Filed: 05/05/2025    Page 494 of 637
                               ÿÿ!ÿ!ÿÿ" ÿ  ÿÿÿÿÿ
 2 ÿ#ÿ                                                                       U ÿafÿXÿghÿ4ÿiÿj9hkÿ
 $ÿ&'()*+ÿ,$&ÿ-./ÿ0$&ÿ/1+)2341ÿ561ÿ712+(..1'ÿ-)53(.8+9ÿ56-5ÿ()):221/;ÿ            $ÿT6(>+ÿ>61.ÿA(:2ÿY1/12-'ÿ+12J3)1ÿ41?-.ÿ:.'1++ÿA(:ÿ6-J1ÿ723(2ÿ)21/35-4'1ÿ
 $ÿ&'()*+ÿ<,$==ÿ+6(>ÿ561ÿ7(+353(.ÿ-./ÿ(2?-.3@-53(.ÿ5(ÿ>63)6ÿA(:ÿ-21ÿ-++3?.1/; +12J3)1;ÿMFÿ+(Cÿ563+ÿ/-51ÿ3+ÿ)(.+52:)51/ÿ5(ÿ3.)':/1ÿA(:2ÿ5(5-'ÿA1-2+CÿE(.56+ÿ-./
                                                                                  /-A+ÿ(Fÿ723(2ÿ)21/35-4'1ÿ)3J3'3-.ÿ-./ÿE3'35-2Aÿ+12J3)1;ÿ
 8ÿ                                                                             $ÿY:''$53E1ÿ1E7'(A11+ÿ>356ÿF1>12ÿ56-.ÿ[ÿA1-2+ÿ(Fÿ+12J3)1ÿ1-2.ÿQÿ6(:2+ÿ(Fÿ
 $ÿB61.ÿ561ÿ712+(..1'ÿ-)53(.ÿ3+ÿ-.ÿ->-2/ÿ(2ÿ4(.:+Cÿ4'()*ÿ=Dÿ+6(>+ÿ561ÿ            -..:-'ÿ'1-J1ÿ1-)6ÿ7-Aÿ7123(/\ÿ56(+1ÿ>356ÿ[ÿ(2ÿE(21ÿA1-2+ÿ4:5ÿ'1++ÿ56-.ÿ<,ÿ
 -E(:.5ÿ(Fÿ56-5ÿ(.1$53E1ÿ)-+6ÿ7-AE1.5;ÿB61.ÿ561ÿ-)53(.ÿ3+ÿ.(5ÿ-.ÿ->-2/ÿ(2ÿ A61(-:22++ÿÿ11--2).6ÿÿ07ÿ-6A(ÿ:721+2ÿ31(-/)ÿ6ÿ7-Aÿ7123(/\ÿ-./ÿ56(+1ÿ>356ÿ<,ÿ(2ÿE(21ÿA1-2+ÿ1-2.ÿlÿ
 4(.:+Cÿ4'()*ÿ<=ÿ+6(>+ÿA(:2ÿF(2E12ÿ5(5-'ÿ-..:-'ÿ+-'-2ACÿ-./ÿ4'()*ÿ=Dÿ+6(>+ÿ
 A(:2ÿ.1>ÿ5(5-'ÿ-..:-'ÿ+-'-2Aÿ84'()*ÿ=DGÿ7':+ÿ=DH9;ÿI61ÿ-E(:.5+ÿ3.ÿ4'()*+ÿ<=ÿ +$ÿ6m(   :2ÿ1-2.3.?+ÿ-./ÿ'1-J1ÿ+5-51E1.5ÿ(2ÿA(:2ÿ53E1ÿ-./ÿ-551./-.)1ÿ)-2/ÿ>3''ÿ
 -./ÿ=Dÿ/(ÿ.(5ÿÿ3.)':/1ÿ-.Aÿ(.1$53E1ÿ)-+6ÿ7-AE1.5+ÿ8+:)6ÿ-+ÿ712F(2E-.)1ÿ 4-'-.)5611;ÿÿ2-51ÿ-5ÿ>63)6ÿA(:ÿ1-2.ÿ'1-J1ÿ-./ÿA(:2ÿ):221.5ÿ:.:+1/ÿ'1-J1ÿ
                                                                                     ( >ÿ
 ->-2/+ÿ-./ÿ21)2:35E1.5ÿ(2ÿ21'()-53(.ÿ4(.:+1+9ÿ(2ÿ7-AE1.5+ÿ56-5ÿE-AÿJ-2Aÿ
 F2(Eÿ(.1ÿ7-Aÿ7123(/ÿ5(ÿ561ÿ.1K5ÿ8+:)6ÿ-+ÿ(J1253E1ÿ7-A9Cÿ(2ÿ(5612ÿF(2E+ÿ(Fÿ
 721E3:Eÿ7-A;ÿ                                                                    U ÿaVÿXÿnÿg ÿ
 $ÿ&'()*ÿ=DLÿ3+ÿ561ÿ+)61/:'1/ÿ-E(:.5ÿF(2ÿA(:2ÿ?2-/1ÿ-./ÿ+517Cÿ3.)':/3.?ÿ-.Aÿ $ÿm(:2ÿ>(2*ÿ+)61/:'1ÿ3+ÿ1+5-4'3+61/ÿ4AÿA(:2ÿ+:712J3+(2;ÿ
 +71)3-'ÿ+-'-2Aÿ2-51ÿA(:ÿ21)13J1;ÿM5ÿ/(1+ÿ.(5ÿ3.)':/1ÿ-.Aÿ'()-'35A$4-+1/ÿ7-A;ÿ $ÿLÿF:''$53E1ÿ1E7'(A11ÿ>(2*+ÿ(.ÿ-ÿ721-22-.?1/ÿ+)61/:'1/ÿ5(:2ÿ(Fÿ/:5Aÿ56-5ÿ3+ÿ
 I63+ÿ2-51ÿ(Fÿ7-Aÿ+12J1+ÿ-+ÿ561ÿ4-+3+ÿF(2ÿ/1512E3.3.?ÿA(:2ÿ2-51ÿ(Fÿ7-Aÿ:7(.ÿ :+:-''AÿQDÿ6(:2+ÿ712ÿ>11*;ÿLÿ7-25$53E1ÿ1E7'(A11ÿ6-+ÿ-ÿ721-22-.?1/ÿ
 72(E(53(.Cÿ)6-.?1ÿ5(ÿ-ÿ'(>12ÿ?2-/1Cÿ(2ÿ21-++3?.E1.5Cÿ-./ÿ3+ÿ:+1/ÿF(2ÿ7-Aÿ +)61/:'1/ÿ5(:2ÿ(Fÿ/:5Aÿ56-5ÿ3+ÿ:+:-''Aÿ415>11.ÿ<0ÿ-./ÿ[=ÿ6(:2+ÿ712ÿ>11*;ÿL.
 2151.53(.ÿ7:27(+1+;ÿ
 $ÿ&'()*ÿ=D&ÿ3+ÿ561ÿ-..:-'ÿ/(''-2ÿ-E(:.5ÿ(FÿA(:2ÿM.5123EÿN1(?2-763)ÿL/O:+5$ÿ 3>6   .512E3551.5ÿ1E7'(A11ÿ6-+ÿ.(ÿ721-22-.?1/ÿ+)61/:'1/ÿ5(:2ÿ(Fÿ/:5Aÿ-./ÿ>(2*+ÿ
                                                                                      1.ÿ.11/1/;ÿ
 E1.5ÿ(2Cÿ41?3..3.?ÿ3.ÿ<PPQCÿA(:2ÿ'()-'35A$4-+1/ÿ)(E7-2-43'35Aÿ7-AE1.5;ÿ
 $ÿ&'()*ÿ=DGÿ3+ÿA(:2ÿL/O:+51/ÿ&-+3)ÿR-ACÿ561ÿ5(5-'ÿ(Fÿ4'()*+ÿ=DLÿ-./ÿ=D&;ÿM5ÿ E(21''$ÿ5-3E1
                                                                                  $ÿY:        ÿ-./ÿ7-25$53E1ÿ1E7'(A11+ÿ>6(+1ÿ-77(3.5E1.5+ÿ-21ÿF(2ÿPDÿ/-A+ÿ(2ÿ
 +12J12+ÿ-+ÿ561ÿ4-+3+ÿF(2ÿ)(E7:53.?ÿA(:2ÿ215321E1.5ÿ41.1F35+Cÿ'3F1ÿ3.+:2-.)1Cÿ .(5;ÿ +:-''Aÿ1'3?34'1ÿ5(ÿ1-2.ÿ-..:-'ÿ'1-J1\ÿ3.512E3551.5ÿ1E7'(A11+ÿ-21ÿ
                                                                                           21ÿ
                                                                                             :
 721E3:Eÿ7-ACÿ-./ÿ+1J12-.)1ÿ7-A;ÿ
 $ÿ&'()*ÿ=DHÿ3+ÿ561ÿ5(5-'ÿ/(''-2ÿ-E(:.5ÿ(Fÿ-.AÿS151.53(.ÿL''(>-.)1+CÿT:712$ÿ $56ÿT1  -.
                                                                                       -+(.-'ÿ1E7'(A11+ÿ>(2*ÿ(.ÿ-.ÿ-..:-''Aÿ21):223.?ÿ4-+3+ÿF(2ÿ7123(/+ÿ(Fÿ'1++
                                                                                       ÿ<=ÿE(.56+ÿ1-)6ÿA1-2\ÿ561AÿE-Aÿ6-J1ÿ-ÿF:''$53E1Cÿ-ÿ7-25$53E1Cÿ(2ÿ-.ÿ
 J3+(2AÿH3FF121.53-'+Cÿ-./ÿT5-FF3.?ÿH3FF121.53-'+ÿ56-5ÿ-21ÿ'3+51/ÿ3.ÿ561ÿ21E-2*+ÿ 3.512E3
 4'()*;ÿI61+1ÿ7-AE1.5+ÿ-21ÿE-/1ÿ3.ÿ561ÿ+-E1ÿE-..12ÿ-+ÿ4-+3)ÿ7-ACÿ4:5ÿ-21ÿ $ÿo.$)-55'1'ÿ1.E7    5ÿ+)61/:'1ÿ/:23.?ÿ56132ÿ>(2*ÿ+1-+(.;ÿ
                                                                                                     '(A11+ÿ>(2*ÿ/:23.?ÿ7123(/+ÿ(Fÿ61-JAÿ>(2*'(-/ÿ-./ÿ-21ÿ3.ÿ7-Aÿÿ
 .(5ÿ-ÿ7-25ÿ(Fÿ4-+3)ÿ7-AÿF(2ÿ-.Aÿ7:27(+1+;ÿ                                       +5-5:+ÿF(2ÿ-ÿ5ÿ'1-+5ÿ0ÿE(.56+ÿ(Fÿ1-)6ÿA1-2\ÿ561AÿE-Aÿ6-J1ÿ135612ÿ-ÿF:''$53E1
                                                                                  (2ÿ-ÿ7-25$53E1ÿ+)61/:'1ÿ>61.ÿ561Aÿ-21ÿ3.ÿ7-Aÿ+5-5:+;ÿ
 U ÿVWÿXÿ2ÿ
 $ÿM/1.53F31+ÿ561ÿ.-5:21ÿ(FÿA(:2ÿ-77(3.5E1.5ÿ-./ÿ3+ÿ:+1/ÿ5(ÿ/1512E3.1ÿA(:2ÿ U ÿaaÿXÿ8Xÿpÿ8ÿU ÿ8ÿ8ÿ
 23?65+ÿ/:23.?ÿ-ÿ21/:)53(.ÿ3.ÿF(2)1ÿ8SMY9;ÿI1.:21ÿ?2(:7+ÿ-21ÿ1K7'-3.1/ÿ3.ÿE(21ÿ $ÿM./3)-51+ÿ561ÿ.:E412ÿ(Fÿ6(:2+ÿ-ÿ7-25$53E1ÿ1E7'(A11+ÿ3+ÿ+)61/:'1/ÿ5(ÿ>(2*ÿ
 /15-3'ÿ3.ÿ+:4)6-7512ÿ=0ÿ(FÿYRZÿT:77'1E1.5ÿ=P0$[[ÿ-./ÿSMYÿ3+ÿ1K7'-3.1/ÿ3.ÿ /:23.?ÿ-ÿ5>($>11*ÿ7-Aÿ7123(/;ÿ
 YRZÿT:77'1E1.5ÿ[,<$<\ÿ4(56ÿ+6(:'/ÿ41ÿ-J-3'-4'1ÿF(2ÿ21J31>ÿ3.ÿA(:2ÿ712+(..1'
 (FF3)1;ÿ                                                                         U ÿaWÿXÿ8 ÿ1ÿ
 U ÿV]ÿXÿ^ ÿ8ÿÿ_3̀ÿ                                          $ÿM/1.53F31+ÿ561ÿ1E7'(AE1.5ÿ+A+51Eÿ:./12ÿ>63)6ÿA(:ÿ-21ÿ+12J3.?ÿ$ÿ561ÿÿ
 $ÿM./3)-51+ÿ>615612ÿA(:ÿ6-J1ÿ721F121.)1ÿF(2ÿ21/:)53(.$3.$F(2)1ÿ7:27(+1+;ÿ        G(E715353J1ÿT12J3)1Cÿ561ÿcK)1751/ÿ+12J3)1Cÿ(2ÿ561ÿT1.3(2ÿcK1):53J1ÿ
                                                                                  T12J3)1ÿ8TcT9;ÿ
                                                                                  $ÿI61ÿ1E7'(AE1.5ÿ+A+51Eÿ/1512E3.1+ÿA(:2ÿ1'3?343'35Aÿ5(ÿE(J1ÿ5(ÿ(5612ÿO(4+ÿ3.
 U ÿabÿXÿ_ÿ8ÿ                                                       561ÿY1/12-'ÿ+12J3)1CÿA(:2ÿ23?65+ÿ3.ÿ/3+)37'3.-2Aÿ-./ÿ-/J12+1ÿ-)53(.+Cÿ-./ÿ
 $ÿYMGLÿ ÿ $T()3-'ÿT1):235AÿTA+51Eÿ                                               A(:2ÿ1'3?343'35AÿF(2ÿ211E7'(AE1.5ÿ3FÿA(:ÿ'1-J1ÿY1/12-'ÿ+12J3)1;ÿ
 $ÿGTÿ ÿ $G3J3'ÿT12J3)1ÿS15321E1.5ÿTA+51Eÿ
 $ÿGT$T71)ÿ            $G3J3'T12J3)1S15321E1.5TA+51EF(2'->1.F(2)1E1.5 U ÿaqÿXÿ̀9g#ÿ4rÿ
 ÿ           ÿ         ÿ-./ÿF321F3?6512ÿ712+(..1'ÿ
 $ÿYTÿ ÿ $Y(213?.ÿT12J3)1ÿS15321E1.5ÿ-./ÿH3+-43'35AÿTA+51Eÿ
                                                                                  $ÿcK1E75ÿ1E7'(A11+ÿ-21ÿ.(5ÿ)(J121/ÿ4Aÿ561ÿE3.3E:Eÿ>-?1ÿ-./ÿ(J1253E1ÿ
                                                                                  '->ÿ8561ÿY-32ÿs-4(2ÿT5-./-2/+ÿL)59\ÿ.(.1K1E75ÿ1E7'(A11+ÿÿ)(J121/;ÿ
 $YcSTÿ ÿ $Y1/12-'ÿcE7'(A11+dÿS15321E1.5ÿTA+51Eÿ
 $YcSTÿ                                                                           U ÿatÿXÿUrrÿuÿg ÿ
 ÿS1+12J1ÿ
 ÿI1)6ÿ ÿ $Y1/12-'ÿcE7'(A11+dÿS15321E1.5ÿTA+51EÿF(2ÿe-53(.-'ÿ $-ÿM)/5:1-.'5'3AF3ÿ1-+ÿE1       ÿ-ÿ4-2?-3.3.?ÿ:.35ÿ5(ÿ>63)6ÿA(:ÿ41'(.?\ÿ>615612ÿ(2ÿ.(5ÿA(:ÿ-21ÿ
                                                                                                    E412ÿ(Fÿ-ÿ'-4(2ÿ(2?-.3@-53(.;ÿG(/1ÿvwwwwvÿ3./3)-51+ÿA(:ÿ-21ÿ
 ÿ           ÿ         ÿN:-2/ÿS1+12J1ÿI1)6.3)3-.+ÿ                                1 '3
                                                                                     ?34'1 ÿ
                                                                                           4 :5ÿ.  (  5ÿ3.ÿ-ÿ4-2?-3.3.?ÿ:.35\ÿ)(/1ÿvllllvÿ3./3)-51+ÿA(:ÿ-21ÿ3.1'3?34'1
 $YcSTÿ                                                                           F( 2
                                                                                     ÿ3.)':+ 3
                                                                                             ( .  ÿ3.  ÿ-ÿ4-2?-3.3.?ÿ:.35;ÿ
 ÿLIGÿ ÿ $Y1/12-'cE7'(A11+dS15321E1.5TA+51EF(2L32I2-FF3)
 ÿ           ÿ         ÿG(.52(''12+ÿ
 $YcSTÿ                                                                           U ÿaxÿÿayÿXÿiÿgÿ
 ÿT71)ÿ ÿ $Y1/12-'ÿcE7'(A11+dÿS15321E1.5ÿTA+51EÿF(2ÿ'->ÿÿ                         $ÿM/1.53F31+ÿ561ÿ)35ACÿ)(:.5Aÿ-./ÿ+5-51ÿ(2ÿ561ÿ(J12+1-+ÿ'()-53(.Cÿ>6121ÿA(:ÿ
 ÿ           ÿ         ÿ1.F(2)1E1.5ÿ-./ÿF321F3?6512ÿ712+(..1'ÿ                    -)5:-''Aÿ>(2*;ÿ
 $YTRT                 $Y(213?.ÿT12J3)1ÿR1.+3(.ÿTA+51E
                                                                   12p5_ÿ30`1_7#23    10
 $ÿMFÿA(:2ÿ-77(3.5E1.5ÿ1.535'1+ÿA(:ÿ5(ÿ1'1)5ÿ61-'56ÿ41.1F35+ÿ(2ÿ'3F1ÿ3.+:2-.)1C
                                                                             A(:2ÿ/:1+ÿ>35661'/ÿF2(EÿA(:2ÿ+-'-2A;
 -./ÿA(:ÿ6-J1ÿ.(5ÿ411.ÿ72(J3/1/ÿE-5123-'+ÿ1K7'-3.3.?ÿ561ÿ72(?2-E+ÿ-J-3'-4'1ÿ $ÿMFÿA(:ÿ6-J1ÿz:1+53(.+ÿ(2ÿ.11/ÿE(21ÿ3.F(2E-53(.ÿ-4(:5ÿA(:2ÿ23?65+ÿ-./ÿ
 -./ÿ561ÿ1.2(''E1.5ÿF(2E+Cÿ)(.5-)5ÿA(:2ÿ712+(..1'ÿ+71)3-'3+5;ÿ                    41.1F35+Cÿ-+*ÿA(:2ÿ+:712J3+(2ÿ(2ÿA(:2ÿ712+(..1'ÿ(FF3)1;ÿ
 $m(:2ÿ712+(..1'ÿ+71)3-'3+5ÿ>3''ÿ-'+(ÿ51''ÿA(:ÿ3FÿA(:2ÿ7(+353(.ÿ3+ÿ)(J121/ÿ4Aÿ-.ÿ $ÿH1F3.353(.+ÿF(2ÿ-.Aÿ)(/1/ÿ/-5-ÿ3.ÿ&'()*+ÿ<$=QCÿ=w$[Pÿ-./ÿQ,$,DÿE-Aÿ41ÿ
 -?211E1.5ÿ415>11.ÿ-.ÿ1E7'(A11ÿ(2?-.3@-53(.ÿ8:.3(.9ÿ-./ÿ-?1.)A;ÿMFÿA(:ÿ-21ÿ F(:./ÿ3.ÿY1/12-'ÿR12+(..1'ÿZ-.:-'ÿT:77'1E1.5ÿ=P=$<;
 1'3?34'1ÿ5(ÿ-./ÿ1'1)5ÿ5(ÿO(3.ÿ-.ÿ1E7'(A11ÿ(2?-.3@-53(.CÿA(:ÿ)-.ÿ1'1)5ÿ5(ÿ6-J1ÿÿ
         3ÿ ÿÿ  ÿÿÿÿÿÿÿÿÿÿ ÿÿÿÿÿÿÿ
                                            ÿÿÿ ÿÿÿÿ
(Page 494 of Total)                                                                                                                                          JA489
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 88 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 495 of 637




                                           


                                           

                       




(Page 495 of Total)                                                                JA490
           Case 1:25-cv-00381-ABJ Document 60-1                         Filed 03/05/25 Page 89 of 107
       USCA Case #25-5091    Document #2114200                           Filed: 05/05/2025 Page 496 of 637




         From: Jeremy A. Crouse
         Date: On Monday, March 3rd, 2025 at 12:31 PM
         Subject: Separation SF50
         To:


               Good Morning,



               Attached you will find your Separation SF50 that was pulled from your eOPF.



               Thank you,



               Jeremy A. Crouse



               Jeremy A. Crouse

               Human Resources Assistant

               Bureau of the Fiscal Service
               Personnel Actions Processing Branch


               Phone:



               ***CONTROLLED UNCLASSIFIED INFORMATION***



               <image001.png>



               NOTE: Please be aware that if you email documents containing personally identifiable information
               (PII), the information may not be secure and your email may be intercepted or otherwise viewed
               against your wishes. ARC strongly encourages you not to use unsecured email as a means to
               communicate sensitive information to us. To help secure your data, please contact me and request
               that I send you an encrypted email message; you can then open and respond to the message and this
               will then encrypt your message and any attachments you send me.ė
(Page 496 of Total)                                                                                                JA491
Standard Form 50      Case 1:25-cv-00381-ABJ Document 60-1 Filed 03/05/25 Page 90 of 107
Rev. 7191
                  USCA Case #25-5091 NOTIFICATION
U.S. Offic, or Personnel 1\fanagement   Document #2114200      Filed:
                                                    OF PERSONNEL      05/05/2025
                                                                  ACTION         Page 497 of 637
FPM Su     . :96-33, Sub<:b. 4

l. Name (Last, First, Middle)                                                                                                                                                        4. Effective Date
                                                                                                                                                                                         02/13/2025

FIRST ACTION                                                                                                         SECOND ACTION
  5-A.Code                  5-B.NatureofAction                                                                      6-A. Code                  6-B.NatureofAction
     330                     REMOVAL
  5-C.Code                  5-D. Legal Authority                                                                    6-C.Code                    6-D. Legal Authority
     ZLM                     EO 14210 DTD 2/11/25
  5-E.Code                  5-F. Legal Authority                                                                    6-E.Code                    6-F. Legal Authority


                                                                                                                    15. TO: Position Tille and Number




 ■
l!A. Bask Pay
              -
8. Pay PlaD 9. <kc, Code         0. Grad• or Level 11 . Step or Rate J.:. Total Salary

                                  ■
                            l:!!I. Locality Adj.



14. Name and Location of Position's Organization
CONSUMER FINANCIAL PROTECT BUREAU
                                                      ■
                                                           1:c. Adj. Basic Pay
                                                                                                  13. Pay Basis

                                                                                                    ■
                                                                                             lID. Ofber Pay
                                                                                              .00
                                                                                                                    16. PayPlan



                                                                                                                    !DA. Basic Pay
                                                                                                                                     17. <xc. Code   18.GradeorLevd 19SteporRate :o. Total Salary/Award



                                                                                                                                                      20B. Locality Adj.
                                                                                                                                                        .00
                                                                                                                    22. Name and Location of Position's Organization
                                                                                                                                                                           20C. Adj. Bask Pay
                                                                                                                                                                                                                21. PayBasis



                                                                                                                                                                                                   20D. otber Pay
                                                                                                                                                                                                        .00



DIRECTOR




EMPLOYEE DATA
                                                                                                                    24. Tenure                                   25. Agency Use      26. Veterans Preference for RIF
              1-S~               3 -1..........~                   5-10--PoiaiJOtbK                                            0 - Naae         2- Ccmditioaal
              2- S--Paild        • -1..........1 / C - -           6i - 10--PaintJCampmsalm/JO~
                                                                                                                          I    1-PKmmHlllt      3-~                                                   X       NO
                                                                                                                    28. Annuitant Indicator
                                                                                                                      I
 30. Retirement Plan                                                     31. Service Comp. Date (Leave) 32. Work Schedule
                                                                                                                                                                                                 Biweekly
                                                                                                                       F       FULL TIME                                                         Pay Period
POSITION DATA
 34. Position Occupied
         1 - o-pmtin SNTic1-
         z --.,,.tdS<nn

 38. Duty Station Code


40. Agency Data               41.
                                    :l - SES Gmt!nl
                                    4-SESC..-R,saud




                                                                   42.
                                                                          35. FLSA Category

                                                                            I
                                                                                         E-Eumpl
                                                                                         N-N.........,i
                                                                                                                    36. Appropriation Code


                                                                         39. Duty Station (City - County -State or Overseas Location)


                                                                                                          43 .                         44.
                                                                                                                                                                                    -37. Bargaining Unit Status




 45.Remarks
  E.O. 14210 AND THE STOP WORK EMAIL FROM RUSS VOUGHT ENTITLED ADDITIONAL
  DIRECTIVES ON BUREAU ACTIVITIES DTD 02/10/2025.
  ~~~:N;A¥M£¥                            MHmt t@ ,, @Jt@ ttsa ant.




46. Emplo)ing Department or Agency                                                                                50. Signature/Authentication and Tille of Approving Oflicisl
  CONSUMER FINANCIAL PROTECTION BUR




 - -
                                                                                                                  ELECTRONICALLY SIGNED BY:
47. Agency Code             48. Personnel Office ID                 49. Approval Date                             ADA.tVI IARTINEZ
                                                                    02/15/2025                                    ACTING CHIEF HUMA.1'1/ CAPITAL OF:FlCER
  (Page 497 of Total)
5-Par! 50-316
                                                                    2 - OPF Copy - Long-Term Record - DO NOT DESTROY                                                                                               JA492
                                                                                                                                                                                    Editions Prior to 7191 Are Not Usablr Aftrr 6130193
                                                                                                                                                                                                               NSN 7540-01- 333-6:38
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 91 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 498 of 637




                                           


                                           

                       




(Page 498 of Total)                                                                JA493
           Case 1:25-cv-00381-ABJ Document 60-1                          Filed 03/05/25 Page 92 of 107
       USCA Case #25-5091    Document #2114200                            Filed: 05/05/2025 Page 499 of 637

        From: Chilbert, Christopher (CFPB)
      Subject: RE : Request to fix the consumertinance.gov homepage
         Date: March 4, 2025 at 8:45AM
           To: Scott, Adam (CFPB) Adam.Scott@clpb.gov,



             Thanks Adam ,                      . I believe it is important to restore the home page as soon
             as possible, but that is not currently authorized. It will be a priority for me once we are
             authorized to restore it.
             Thanks,

             Chris Chilbert


             From: Scott, Adam (CFPB)                                      >
             Sent: Tuesday, March 4, 2025 6:53 AM
             To:


                                                                      nee.gov homepage

             Thank you , - - I strongly agree with all of the statements you have made. I have
             added Chris and 1111 so that they may send this to leadership for approval.

             Please note, we have made this request as recently as yesterday and it was denied
             at that time.

             -Adam

             From:
             Sent: on ay,            arc 3, 2025 8:37:05


             Subject: Request to fix the consumerfinance.gov homepage

             Hey Adam and_,

             The homepage of www.consumerfinance.gov has been returning a 404 (Not Found) error
             since Feb ih _I believe this negatively impacts our statutorily mandated reporting
             requirements (eg for research) and subverts the statutorily mandated initiatives developed
             for consumer education and engagement. By returning a 404, our homepage has been
             *removed* from google search results for "cfpb" whereas previously it was above the fold
             on the first page (and usually the first result). This will negatively impact consumers,
             business groups, and government partners attempting to orient themselves on our site, as
             the homepage was specifically designed to guide these users to the information and data
             we are legally obligated to provide.

             I am therefore requesting work authorization to republish the www.consumerfinance.gov
             homepage with the content from Feb 6 th , to ensure users can find what they need on our
             website.




            -Thanks and regards,


(Page 499 of Total)                                                                                       JA494
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 93 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 500 of 637




                                           


                                           

                       




(Page 500 of Total)                                                                JA495
           Case 1:25-cv-00381-ABJ Document 60-1                        Filed 03/05/25 Page 94 of 107
       USCA Case #25-5091    Document #2114200                          Filed: 05/05/2025 Page 501 of 637




    From: Gueye, Jafnar (CFPB)
    Sent: Tuesday, March 4, 202
                                                                                 ; Galicki, Joshua (CFPB)

                                                  ; Mu
                                                   FPB                                           >; Files, Shannon
                                            I, Jonatha                                                        • James,
    Dana                                    assouni, Lauren (C
    Subject: RE: Google Cloud Platform & APls: Payment was decline



    Good morning Chris,


    I suspect for all requests I'll have ve1y similar questions as the one below so feel free to preemptively answer them
    moving f01ward. For some context in addition to the overall requirements around tightened standards for non-pay
    spending, PCards have an additional complication. There is only one Peard exception approved by GSA for the
    entire bmeau with a very limited total limit. We are triaging Peard purchases.



    For all the justifications please let me know who's name to put.

    A few questions:

        • Is this payment for services already incurred or for renewal? If renewal do we have an ability to safeguard the
          past data?
        • What is this data and what is it used for?
        • Are these records?
        • What, if any, statut01y requirement ,,vill the Bureau not be able to meet at all without this purchase? This is a
          threshold (yes/no) not a level (well/poorly) question.



    Thanks .



    Respectfully,



    Jafnar




(Page 501 of Total)                                                                                                 JA496
            Case 1:25-cv-00381-ABJ Document 60-1              Filed 03/05/25 Page 95 of 107
       USCA Case #25-5091        Document #2114200             Filed: 05/05/2025 Page 502 of 637
    From: Chilbert, Christopher (CFP
   Sent:




                                               '
                                            APls : Payment



   Jafnar- I will be passing along several requests today. In this case, we will lose all historical data on
   our Google Analytics platform if we don't pay the bill. Historically it was a pCard purchase. What do we
   need to do to pay it?

   Thanks,



    Chris Chilbert




   From: Files, Shannon (CFPB)
   Sent: Monday, March 3, 2025
   To : Chilbert, Christopher (CFP
                                B)                                  el, Jonathan (CFPB)

     '   .   ;
                                >
                                Platform & APls: Payment was declined fo



    Hi Chris,



   I don 't believe we want to lose all our historical data. This is a fairly low PCard purchase, until we
   understand what we are losing and how it might impact mission and operations, I suggest we make the
   payment if possible.



   Thank you ,



   Shannon Files
    Director of Data and Analytics I Technology and Innovation
   Consumer Financial Protection Bureau (CFPB)



    From: CFPB_DigitalAnalytics
(Page 502 of Total)                                                                                   JA497
             Case 1:25-cv-00381-ABJ Document 60-1           Filed 03/05/25 Page 96 of 107
    Date:
       USCAMonday,  March 3, 2025
              Case #25-5091       at 3:44 #2114200
                               Document   PM                 Filed: 05/05/2025 Page 503 of 637
    To: Files, Shannon CFPB




    Forwarding for awareness . We will loose all historical data if this is not update with valid
    payment.



    From: Google Payments <payments-noreply@google.com>
    Sen
    To
    Su




(Page 503 of Total)                                                                                 JA498
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 97 of 107
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 504 of 637




                                           


                                           

                       




(Page 504 of Total)                                                                JA499
             Case 1:25-cv-00381-ABJ Document 60-1                                Filed 03/05/25 Page 98 of 107
         USCA Case #25-5091    Document #2114200                                  Filed: 05/05/2025 Page 505 of 637




    From: Huggins, Cassandra (CFP
    Sent: Tuesday, M
    Ti


                                         -    -       -            -                                                              >
                                        ification for Supervision staff- F                                                        by
    Law


    Mark,

    I am acknowledging that I received and read your email.

    I am attaching, as requested, the email that I sent to Supervision staff. I did not provide this email to the
    media, and I do not know who did.

    I did not intend to undermine the new administration's ability to supervise agency staff- my only intention
    was to ensure that our staff did not act against the direction in the February 8 email from Acting Director
    Vought to cease all supervisory and examination activity. I will work with Supervision leadership to prepare
    the reports you have requested, and will request that all supervision staff provide the information you
    requested, by the stated deadline.

    Thank you.

    Cassandra Huggins
    P r i n c i p ~ a n t Director I Supervision Policy & Operations
    Mobile:- -

    Consumer Financial Protection Bureau
    consumerfinance.gov


    Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the e-mail and
    any attachments. An inadve1tent disclosure is not intended to waive any p1ivileges.

    From: Paoletta, Mark (CFPB
    Sent:    day, March
    Ti


                                              -      -            -                                                               >
                                     arification for Supervision staff- FW.                                                       by
    Law


    Good afternoon, Cassandra,



(Page 505 of Total)                                                                                                                 JA500
               Case 1:25-cv-00381-ABJ Document 60-1 Filed 03/05/25 Page 99 of 107
    I am writingCase
        USCA           #25-5091
                 to raise              Document
                          significant concerns    #2114200
                                               regarding              Filed: communication
                                                         an internal agency  05/05/2025 youPage 506 of 637
                                                                                             apparently sent
    yesterday that directly contradicts an email from me to all CFPB staff about my direction for all staff to
    perform all statutorily required work.


    In an email Adam Martinez sent on Sunday (March 2nd) conveying a message from me to the entire CFPB
    staff, I directed ALL CFPB staff to perform all work required by law and that they did not need to seek prior
    approval to do so. Nothing I have said or written since then contradicts that.¬ You reached out to me
    yesterday, and as I am dual hatted and have job duties at OMB, I was not able to review and respond to
    your email yesterday.¬ But I read a news report in Reuters that you reportedly sent an internal agency
    communication claiming that “We have requested and received clarification that their message was not
    intended to authorize the reinstatement of supervision/examination activity, even though the Bureau is
    required by law to carry out these activities.”


    Importantly, you did not receive that message from me.¬ You apparently relied on an email from Adam, but
    his email refers you to Acting Director Vought’s February 8th¬email which specifically states that you are to
    perform any work “required by law.”¬ And he encouraged you to communicate with me, and presumably, wait
    to hear from me before sending out an email that directly contradicted my message on March 2nd¬to CFPB
    employees.


    I am concerned that you sent out an internal agency communication on such an unfounded basis that is
    false and directly contradicts my March 2nd¬message without first getting confirmation directly from me.¬ Your
    actions severely undermine the Agency leadership’s ability to supervise the agency staff and to ensure that
    statutorily required duties are being performed.


    Moreover, your internal communication somehow made its way to the press, further undermining our efforts
    to supervise agency staff.


    Let me be clear to you and the entire supervision office, which I have cc’d on this email:¬ You are authorized
    and directed to work on matters specifically required by statute. That said, it is of course within the new
    leadership’s discretion as to what matters CFPB will focus on.


    The Bureau’s new leadership seeks to understand the status of all of the agency’s actions so it can align
    such actions to the Bureau’s new priorities consistent with law. We have been aided in doing so by reports
    prepared by the Enforcement Division, Legal Division, and Office of Regulations showing the status of all
    actions within their respective purview, upcoming deadlines, statutory requirements, and other relevant
    matters. Such information is vital to allowing new leadership to ensure the Bureau is faithfully executing the
    law.¬ And in fact, I have approved numerous requests from these and other divisions to perform work that is
    statutorily required or mission-aligned with the new leadership.


    Accordingly, I am directing you to prepare a report for the Bureau’s leadership providing a description of all
    pending examination actions, including their current status.¬ Provide the name of the lead CFPB examiner
    on each matter, and the contact information for the lead attorney for the company under examination.


    As part of this report, please flag any particular actions that you believe are specifically required by statute.
    Leadership will review it and determine which actions to continue to pursue and to close.


    Additionally, please notify every employee in your division to provide to me a written summary of the specific
    matters they are working on, with the name of the entity being examined, how the matter was commenced
    and approximately how many hours they have spent on the matter.


    Please submit your report and direct every employee in your division to submit their response to me by COB
    Monday, March 10th.
(Page 506 of Total)                                                                                              JA501
           Case 1:25-cv-00381-ABJ Document 60-1                    Filed 03/05/25 Page 100 of 107
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 507 of 637

    Please confirm by 6 pm today that you have received and read this email.


    Please forward to me by 6 pm the internal agency commun ication you reportedly sent that is quoted in the
    Reuters news report.


    Finally, did you provide your internal agency communication to the media or do you know who provided it?
    Please provide your answer to me by 6 pm today.


    Thank you for your prompt attention to this matter.




    Mark


    Mark Paoletta
    Chief Legal Officer
    CFPB




    From: Huggins, Cassandra (CFPB)
    Sent: Monday, March 3, 20 5 10:33
    To: Paoletta, Mark (CFPB)                              >
    Cc: Hagins, Calvin (CFPB)                              >
    Subject: request for clarifica                        - FW: All Hands Message re : Work Required by Law


    Good morning Mark,

    I've received a number of messages from staff who are understandably confused by the information in the
    email sent by Adam Martinez. I would like to get clarification on what exactly Supervision staff is expected to
    be doing. I did reach out to Adam, and although he did say that supervision/examination activity is not to
    resume, he encouraged me to reach out to you directly for confirmation.

    The Acting Director's February a message directed the stoppage of all supervision and examination activity,
    despite the fact that the work is required by law (12 CFR 1024, 1025, and 1026 require the Bureau to
    conduct such supervisory activities). We've also stopped all work supporting supervision and examination
    activity, including operational activities such as policy/procedure development; quality management reviews;
    systems and registration oversight; reporting, analytics, monitoring, exam prioritization/scheduling; and
    human capital activities that support supervision. We've also told staff to not engage in activities requiring
    coordination with parties outside of the Bureau, including coordination with other federal/state regulatory
    agencies, participation on FFIEC task forces/subcommittees, or engagement with supervised entities.

    Supervision staff has been authorized to work on some isolated tasks (unwinding the larger participants
    payments rule, a handful of briefings/information gathering for Sr. leadership, and administrative tasks like
    WebTA/Concur approval) , but otherwise it is my understanding that they should continue to operate on
    administrative leave unless a discrete activity has been approved. Please confirm that the message
    you sent is not intended to authorize the reinstatement of supervision/examination activity and the
    activities that support this function despite the fact that the Bureau is required by law to conduct
    these activities.

    Thanks,
    Casey

(Page 507 of Total)                                                                                           JA502
              Case 1:25-cv-00381-ABJ Document 60-1                               Filed 03/05/25 Page 101 of 107
       USCA    Case #25-5091
    Cassandra Huggins           Document #2114200                                  Filed: 05/05/2025 Page 508 of 637
    Principal Deputy Assistant Director | Supervision Policy & Operations
    Mobile:
    ɾ
    Consumer Financial Protection Bureau
    consumerfinance.gov

    ɾ
    Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the e-mail and
    any attachments. An inadvertent disclosure is not intended to waive any privileges.
    ¬
    From:¬Martinez, Adam (CFPB) <                                            >
    Sent:¬Sunday, March 2, 2025 3:33 PM
    Cc:¬Paoletta, Mark (CFPB) <                       >
    Subject:¬All Hands Message re: Work Required by Law¬
    ¬
    Message from Mark Paoletta, Chief Legal Officer
    ¬
    On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out any
    statutorily required work, as he set forth in his February 8th¬email.¬
    ¬
    On February 8, 2025, you received an email from Acting Director Vought directing you to halt several
    classes of work unless “required by law” or expressly approved by the Acting Director. On February 10,
    2025, you received an email from Acting Director Vought directing you to reach out to me for the
    authorization required by the February 8 email. These measures were intended to ensure that new
    leadership could establish operational control over the agency while ensuring that it would continue to fulfill
    its statutory duties. Many of you understood this and continued to perform functions required by law and
    sought approval from me to perform work, which I have promptly granted.
    ¬
    It has come to my attention, however, that some employees have not been performing statutorily required
    work. Let me be clear: Employees should be performing work that is required by law and do not need to
    seek prior approval to do so. If you have any questions, please reach out to me immediately, and I will
    promptly give you an answer and authorization if warranted. If you are aware of other employees that are
    needed to assist you in performing a statutorily required task but are not doing so, please raise this with me
    immediately.¬
    ¬
    Thank you for your attention to this matter.¬
    ¬
    Mark Paoletta
    Chief Legal Officer
    CFPB¬
    ¬




(Page 508 of Total)                                                                                                                 JA503
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 102 of 107
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 509 of 637




                                            


                                            

                       




(Page 509 of Total)                                                                 JA504
                         USCA Case #25-5091   Document #2114200   Filed: 05/05/2025   Page 510 of 637
Page 103 of 107
Filed 03/05/25
Document 60-1
Case 1:25-cv-00381-ABJ




            (Page 510 of Total)                                                                     JA505
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 104 of 107
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 511 of 637




                                            


                                            

                                                                   




(Page 511 of Total)                                                                 JA506
            Case 1:25-cv-00381-ABJ Document 60-1          Filed 03/05/25 Page 105 of 107
        USCA Case #25-5091    Document #2114200             Filed: 05/05/2025 Page 512 of 637
                                               LIVE NOW




    - - - • .- --
               -- - • - - -
                  ----             ._
                                           ----



                                   --
                                      [] -     _,_..,._

                                  -;-;-;-j r .:-..-~, 1 ~~j
                                   111
                                   Ill
                                           ~   __ .         Ill
                                                            Il l

                                   :::          I I I       :::
 -.           • -     •   ■ I
                                -------
                                - - - - - - -,==- --
                                   == •              .
                                                                              I ■•-•            .-
                                FOR YOU A
                                          March 4, 2025




 President Donald J. Trump immediately undertook a bold, necessary effort to
 downsize the federal government by ending the waste, fraud, and abuse that
 has permeated virtually all aspects of the bureaucracy - making sure
 government works for the taxpayers who fund it.
    •   President Trump established the Department of Government Efficiency
        (DOGE) to maximize government productivity and ensure the best use of
        taxpayer funds - which has already achieved billions of dollars in
        saving§ for taxpayers.
(Page 512 of Total)                                                                         JA507
           Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 106 of 107
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 513 of 637
    • President TrumpŖcommencedŖhis plan to downsize the federal
        bureaucracy and eliminate waste, bloat, and insularity.
           0   President TrumpŖorderedŖfederal workers to return to the office five
               days a week.
           0   President TrumpŖorderedŖfederal agencies hire no more than one
               employee for every four employees who leave.
           0   President TrumpŖendedŖthe wasteful Federal Executive Institute,
               which had become a training ground for bureaucrats.
           0   President TrumpŖorderedŖthe termination of all federal Fake News
               media contracts.

    • President Trump is reigning in agencies overtaken by unelected
        bureaucrats.
           0   President Trump stopped theŖwaste, fraud, and abuse within
               USAIDŖ— ensuring taxpayers are no longer on the hook for funding
               the pet projects of entrenched bureaucrats, such as sex changes in
               Guatemala.
           0   President Trump
                         TrumpŖorderedŖthe
                               orderedŖthe Consumer Financial Protection Bureau
               — the brainchild of Elizabeth Warren
                                             Warren,
                                             warren whichŖfunneledŖcash to left-
               wing advocacy groups — to halt operations.
           0   The Environmental Protection AgencyŖcanceledŖtens of millions of
               dollars in contracts to left-wing advocacy groups,ŖannouncedŖan
               investigation into a scheme by Biden EPA staffers to shield billions of
               dollars from oversight and accountability, andŖputŖ168
               “environmental justice” employees on leave.
           0   President TrumpŖreversedŖthe massiveŖover-expansionŖof the IRS
               that took place during the Biden Administration.
           0   President TrumpŖorderedŖa review of funding for all non-
               governmental organizations so taxpayers are no longer funding
(Page 513 of Total)                                                                 JA508
           Case 1:25-cv-00381-ABJ Document 60-1        Filed 03/05/25 Page 107 of 107
       USCA Case #25-5091    Document #2114200           Filed: 05/05/2025 Page 514 of 637
               those that undermine America’s interests.
                  ■   The review identified 15,000 grants worth $60 billion for
                      potential elimination.
           0   The Department of State issued a “pause” on existing foreign aid
               grants to ensure accountability and efficiency.
           0   President TrumpŖshut downŖthe wasteful Biden-era “Climate Corps”
               program.

    • President TrumpŖliftedŖlast-minute collective bargaining agreements
        issued by the Biden Administration, which sought to impede reform.




                                            News

                                      Administration

                                            Issues

                                           Contact

                                               Visit




                                      THE WHITE HOUSE

                                    1600 Pennsylvania Ave NW
                                      Washington, DC 20500




(Page 514 of Total)                                                                      JA509
            Case 1:25-cv-00381-ABJ Document 66-1                     Filed 03/07/25 Page 1 of 60
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 515 of 637


                                SUPPLEMENTAL INDEX OF EMAILS AND OTHER
                                          COMMUNICATIONS

          Exhibit     Date                                    Description
             II       2/12   Emails between Adam Martinez and OPM regarding “RIF Consulting
                             Services”
            JJ        2/14   Emails between Adam Martinez and OPM regarding CFPB’s request for an
                             exception to the “90-day rule for competitive areas” (8:28am)
            KK        2/14   Status update from Adam Martinez regarding “today’s [RIF] actions and
                             notifications to staff” (12:38pm)
            LL        2/14   Email to Adam Martinez notifying him of TRO hearing in this case in
                             planning for timing of termination notices (1:39pm)
           MM         2/14   Email urgently requesting materials for RIFs from OPM (1:44pm)
            NN        2/14   Email including list of employees to be fired (2:27pm)
            OO        2/14   Email from OPM approving request for exemption from the 60-day notice
                             requirement for RIFs (3:25pm)
            PP        2/14   Email from Adam Martinez confirming that he will be included with the
                             “next group” of RIFs (4:57pm)
            QQ        2/14   Email regarding materials for RIFs (9:56pm)
            RR        2/28   Email regarding impact of contract status on resuming work
            SS        3/5    Email regarding indefinite postponement of mandatory training
            TT               Site showing that staff are not authorized to take mandatory training
            UU        3/5    Email regarding reporting on supervision examination activity
            VV        3/5    Email regarding reporting on supervision examination activity
           WW         3/6    Email regarding reporting on supervision activity and return to
                             administrative leave
            XX        3/6    Email regarding impact of contract cancellations on Office of Markets
            YY        3/7    Email regarding impact of contract cancellation and employee terminations
                             on CARD Act analysis
            ZZ        3/7    Email from head of Office of Students team indicating that they are currently
                             unable to perform required complaint-review function




(Page 515 of Total)                                                                                          JA510
            Case 1:25-cv-00381-ABJ Document 66-1   Filed 03/07/25 Page 2 of 60
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 516 of 637




                      Exhibit II




(Page 516 of Total)                                                                JA511
                  Case 1:25-cv-00381-ABJ Document 66-1              Filed 03/07/25 Page 3 of 60
             USCA Case #25-5091    Document #2114200                Filed: 05/05/2025 Page 517 of 637



   From:                         Martinez, Adam {CFPB)
  Sent:                          Wednesday. February 12, 2025 6:S1 PM
  To:                            Gueye, Jafnar (CFPB);
  Cc:
  Subject:                       rw: Draft agreement for CFPB RIF assistance
  Attachments:                   OPM HRS - RIF Consulting Services - CFPB.pdf

   Follow Up Flag:               Follow up
   Flag Status:                  Flagged


   FYSA - Once OPM confirms, I'll sign the SOW.

  Jafnar- I went ahead and pro\-ided your name ilirectly so you can handle with your team carefully
  given the topic.

  Thank you all.

  Adam

  Adam Martinez
  Chief Operating Officer

  From: Martinez. Adam (CFPB)
  Sent: Wednesday, February 12, 2025 6:49 PM
  To: 'Parman, Jason c.'                        ; Wick, Jordan                   ; Young. Christopher




        Je            g

  Thank }"OU again for supporting us.

  We have reviewed the agreement, and we are ready to move forward Please let me know if we are
  good to sign or if you have any additional changes on your end. l've included our POC information
  bel0\-.1•

  Finance POC:
  Jafnar Gueye
   hief Financial Officer




                                                          1
(Page 517 of Total)                                                                                     JA512
             Case 1:25-cv-00381-ABJ Document 66-1                               Filed 03/07/25 Page 4 of 60
        USCA Case #25-5091    Document #2114200                                 Filed: 05/05/2025 Page 518 of 637




  Adam Martmez
  Chief Operating Officer

  Fl-om: Parman, JaMn c. l
  Sent: Wednesday, February 12, 2025 4:16 PM




                                                                                                                          -
  To : Martinez, Adam (CFPB)
  Ch rist;opher



  Subject Draft agreement for CFPB IRIFass1staoce

  Adam, Jordan. a1-,d Chris-

  Pero ur meeting, attach 1sd ptea:se •find B draft -statement of work {SOW) for restructuring ;asslstaf1t:·e s1:1fvl1c1ss,. The
  SOW 1cove1rs the rrange of actiivities we may do for 'YOlu throughout ti11e proj1ect. ,a n·d the inlii:riat ll.Jlnding 6t $i ?i ;9i5
  cover:s the activities n1ec,es;saryto 1provlde you Immediate platilning assii,stance. dec1-siofi support, afKi to piepare
  a1nd srcopethe remainiiog actiivitires in thla coming phases.

  We are glad to meet ASAP to 1refinre th,e language it needed . if thfs meets vou1r needs, -                      (oufiinaif1cial
  specialist, copied here) is ll'eady to work with yourteam to ex,ecute the agreement.

  Please review and if this meets your n,eeds .. we can connect our finance team with yo'Urs to execut& the agreement
  Feet free to contact me dir1:Jctly a-              or                     (copied here) 'with questions, of j1ust 1repiy
  to this email that you are ready to go.

  We Look ·torward to won<ing with you on this critical inritraUve.

  T anks,
  Jason

  Jason C. Parrrnan
  Deputy Associate Director
  U.S. Office of Per~onnel Mana,gement
  HR Strategy & Evaluation SOiutions




  OPM.gov



   OPM             us. Offii,; ,e;f
                   Pimonnel Mllflagement




                                                                                                                                 JA513
(Page 518 of Total)                                                  2
            Case 1:25-cv-00381-ABJ Document 66-1   Filed 03/07/25 Page 5 of 60
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 519 of 637




                      Exhibit JJ




(Page 519 of Total)                                                                JA514
            Case 1:25-cv-00381-ABJ Document 66-1                       Filed 03/07/25 Page 6 of 60
       USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025 Page 520 of 637



            F111111:
            To:
            Sulljeetl       FW:Requestfor CompAreaException
            Oaite:          Friday,Febnlary14, 20258:28:19 AH


            Thecompetitiveareas"""ere
                                    approved.
            Adam Martinez
            Chief Operating Officer

            From:Peters, Noah
            Sent:Thursday, February 13, 2025 10:12 PM
            To: Lewin, Jere




            Parman, JasonC.
            Subject:RE:Requestfor Comp Area Exception

            Jeremy-OPM has approved the competitive area exceptions.


            From:Lewin, Jeremy
            Sent:Thursday, February 13, 2025 10:10 PM




            Parman,Jason C.
            Subject:Re: Requestfor Comp Area Exception

            +Anthony, who suggested I reach out. We owe Acting Director Vought an update at 10am
            tomorrow-    do we have an ETA on an OPM response?


            Thank you!
            Jeremy


            From: Mahoney,Michael
            Date: Thursday. February 13 1 2025 at 7:17 PM
            To: Martinez, Adam (CFPB)


                                                                                                   I



(Page 520 of Total)                                                                                    JA515
            Case 1:25-cv-00381-ABJ Document 66-1                        Filed 03/07/25 Page 7 of 60
       USCA Case #25-5091    Document #2114200                          Filed: 05/05/2025 Page 521 of 637


            Subject: RE:Requestfor Comp AreaException

            Thanks


            From:Martinez,Adam(CFPB)
            Sent: Thursday, February 13, 2025 7:1S PM
            To: Mahoney, Michael




            Peters, Noah~
            Subject RE:Request for Comp kea Exception


            Hi Mike - numbers are attached.

            Adam Martinez
            Chief Operating Officer

            From:Mahoney, Michael J
            Sent:Thursday, February 13, 2025 6:31 PM
            To: Martinez, Adam (CFP




            Subject: RE;Request for Comp kea Exception


            Hi Adam,


            Could you put numbers next to the different Cas in your request?

            In other words, I'm assumingthe 1200 will be spread across the CA; can your team break that up and
           assignto eachCA

            Thanks,


            -mike


            from: Martinez,Adam(CFPB)
            Sent: Thursday, February 13, 2025 5:01 PM
            To: Mahoney, Michael




(Page 521 of Total)                                                                                              JA516
            Case 1:25-cv-00381-ABJ Document 66-1                Filed 03/07/25 Page 8 of 60
       USCA Case #25-5091    Document #2114200                  Filed: 05/05/2025 Page 522 of 637


            Peters,Noah
            Subject:Requesttor comp Area Exception

            HiMichae.1-

            Attached is CFPB's request for an exception to the 90-day rule for competitive areas.

            Piease let me knowif you have any questions or need additional information.

            Tilanky,ou.

            Adam
            Ad.amMartinez
            ChiefOperatingOfficer
               I      ,.   .I,.   t   ial Protection Bureau




(Page 522 of Total)                                                                                 JA517
            Case 1:25-cv-00381-ABJ Document 66-1                                    Filed 03/07/25 Page 9 of 60
       USCA Case #25-5091    Document #2114200                                      Filed: 05/05/2025 Page 523 of 637




                                 Consumer Fi nancial
                                 Protection B u reau


           1 7 00 G Street N W , Was h i ngto n , D . C . 20552




           Fe bru ary 13, 202 5



           TO:                   Michael J. M a honey, Office of Person nel Ma nagement

           F ROM :               Ada m Martinez, Ch ief Operating Office r/Acting Ch ief Human Ca pita l Officer
                                                                                                            Digitally signed by ADAM
           S U BJ ECT:           Establishment of Competitive Areas ADAM MARTI N EZ MARTINEZ
                                                                                                            D,ite: 2025.02 . 1 3 1 9: l 2:52 ·05'00'

           This m emora n d u m serves as th e Co nsu mer Financial P rotecti o n Bureau's ( C FP B ) re quest for a n
           exception to t h e co m petitive a rea 90-da y ru le. Please fin d t h e C F P B responses below with
           regards to our com petitive a rea s.

                     1. Identification of the proposed competitive area, including the orga nizational
                        segment, geogra phic location, a nd l i m its of the loca l comm uting area;

                         Answer: Bel ow a re t h e d ivis ions, offices and u n its that will be i m med iately
                         i m pa cted by a possible re d u ction-in-fo rce. Ad ditional com petitive a reas w i l l be
                         identified in t h e next ro u n d of d ivisions, offices, a n d/or u n its i n c l u d i ng the Division
                         of Ope rations, Division of Resea rch M o n itori ng a n d Regu latio ns, and D ivision of
                         Cons u m e r Response .

                             •    Office of t h e D i rector - 1 06 positions
                                      o Legislative Affa i rs - 4 position
                                      o Office of Pol i cy and Strategy - 1 9 positions
                                      o Offi ce of Civ i l Rights - 1 3 positions
                                      o Office of F a i r Lending a n d E q u a l O pport u n ity _ 1 7 pos it i ons
                                      o Office of t h e Directo r - 53 positions
                             •    Divisio n of Exte rnal Affa i rs - 51 positions
                                      o Co m m u n i cations - 1 6 positions
                                      o Exte rna l Affa i rs Division 1 6 positions
                                      o I ntergovernmental Affa i rs - 7 positions
                                      o Private Sector E ngage ment - 5 positions
                                      o P u b l ic E ngagement - 7 pos i tions




          consum e rfi na nce.gov


(Page 523 of Total)                                                                                                                                    JA518
            Case 1:25-cv-00381-ABJ Document 66-1                                      Filed 03/07/25 Page 10 of 60
       USCA Case #25-5091    Document #2114200                                        Filed: 05/05/2025 Page 524 of 637




                            •    Division of Supervis i on . 528 positions
                                     o S u pe rvi s i on Pol icy and O p e rations - 1 24 positions
                                     o S u pe rvision Exa m i n ations - 6 positions
                                     o Su pervision M i dwest Regi o n . 96 positions
                                     o Su pervision N o rt h east Regio n - 98 positions
                                     o Su p e rvision So u t heast Region - 1 1 o positions
                                     o Su pervision West Region - 94 positions
                            •    Division of E nfo rce ment - 283 positions
                            •    Division of Research - 1 70 positions
                                      o Com p etition a n d I n novatio n - 1 0 positions
                                      o Con su mer Pop u lations - 54 positions
                                      o M a r kets - 42 positions
                                      o Resea rc h - 64 positions
                            •    D ivision of O p e rations - 37 pos itions
                                      o Ope rati o n s Fro nt Office - 1 o positions
                                      o Ch ief Data Office r - 22 positions
                                      o Ad min istrative Operations
                                              • Events Management - 5 positions


                  2. A descri ption of h ow the proposed a rea diffe rs from the one previously
                      esta blished for the same u n it and geogra ph ic a rea;
                      Answe r: N o co m p etitive a reas we re esta b l i shed for the groups a bove. The gro u ps
                      l isted a bove i n c l u d e enti re divisi o n s, offi ce s, a n d/or u n its .

                  3. An orga n izational cha rt of the age n cy s howing the re lationsh i p between the
                      orga nizationa l com po nents with i n the competitive a rea and other com ponents in
                      the commuting a rea;
                      Answer: O rga nizat i o n a l chart atta ched.

                  4. The n umbe r of competing employees i n the proposed competitive area; Answer:

                      Approximately 1175 positions

                  5. A descri ptio n of the operation, wo rk fu nction, staff, a n d pe rsonnel ad min istration
                      of the proposed a rea a nd, where appropriate, a descri ption of how the a rea is
                      d isti ngu ished from others in these respects; a nd




           cons u m erfi nance. gov                                                                                  2


(Page 524 of Total)                                                                                                      JA519
            Case 1:25-cv-00381-ABJ Document 66-1                            Filed 03/07/25 Page 11 of 60
       USCA Case #25-5091    Document #2114200                              Filed: 05/05/2025 Page 525 of 637




                      Answer: Al l fu nctions a re u n i q u e to the specific division, office a nd/or u n it and
                      su p po rt t h at u n it' s m i ssio n .


                  6. A discussion of the circumstances that led to the proposed changes less than 90
                       days before a proposed reduction .

                      Answer: The C F P B is res p o n d i n g to Executive Ord e r l m plementing_The. President's
                      " Department o(G ove r n m e n t Efflciency"_Workfo rce_ O p t i m izatio n_ l n itia t i ve - The
                      Wh ite _H o u se dated Febru a ry 1 1, 2 02 5 a n d t h e CFPB Acti ng Di recto r' s work sto ppage
                      o rde r d ated Feb ruary 10, 202 5 .




           cons umerfi na nce. g ov                                                                                         3


(Page 525 of Total)                                                                                                             JA520
            Case 1:25-cv-00381-ABJ Document 66-1   Filed 03/07/25 Page 12 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 526 of 637




                      Exhibit KK




(Page 526 of Total)                                                                 JA521
            Case 1:25-cv-00381-ABJ Document 66-1                      Filed 03/07/25 Page 13 of 60
       USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025 Page 527 of 637



  From:                           Martinez,Adam(CFPB)
  Sent:                           Friday,February 14, 2025 12:38 PM
  To:
  Subjed:                         FW:Status


   FYSA

  Adam Martinez
  Chief Operating Officer

  From: Martinez,Adam (CFPB)
  Sent: Friday,February 14, 2025 12:34 PM
  To: You~. Christopher(CFPB)                                  Lewin, Jeremy                      Wick,Jordon
  (CFPB)
  Cc:Paoletta,Mark (CFPB)
  Subject:Status

  Good afternoon -

   My team and I had a productive conversation with 0PM this morning to work out any identified risks
   and answer follow-up questions regarding today's actions and notifications to staff. OPM shared that
  typically during the 30-day notice, employees work during this time to transfer any duties. Mark P.
  just happened to call me, and I was able to ask for clarification and expectations for the first phase of
   notifications.

  We are going to place all staff on administrati,re leave for the 30-day notice period. This will provide
  the flexibilityfor our new leadership team to call back staff to fulfill c1oseoutduties such as
  enforcement cases. If there are pockets of staff who we later determine do not need to be called back,
  we can immediately offboard them (i.e., terminate access) for the duration of the notice period.

  I will provide you all notice right before the letters go out, along with the final numbers. This will all
  be done this afternoon.

  Adam
  Adam Martinez
  ChiefOperatingOfficer




                                                          1
(Page 527 of Total)                                                                                     JA522
            Case 1:25-cv-00381-ABJ Document 66-1   Filed 03/07/25 Page 14 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 528 of 637




                      Exhibit LL




(Page 528 of Total)                                                                 JA523
               Case 1:25-cv-00381-ABJ Document 66-1                             Filed 03/07/25 Page 15 of 60
          USCA Case #25-5091    Document #2114200                                Filed: 05/05/2025 Page 529 of 637



   From:                                Ma-tinez,Adam (CFPB)
   Sent:                                Friday,February14,2025 1:39 PM
   To:
   Cc
   W>ject:                              RE:HeadsUp Re:Timing of Notices


   Thanks.

   Adam Martinez
   Chief Operating Officer

  From:
  Sent: Friday,February14, 2025 1:36 PM
  To: Martinez, Adam (CFPB)
  Cc:--
  Subject:HeadsUp Re:Timing of Notices

  Hi Adam,

  Wanted to make sure you were aware there is a hearing for a temporary restraining order or preliminary Injunction
  related to today's activities scheduledfor 2pm today. While we will continue preparing, It's just a consideration when
  deciding when to send out the notices.

   httQs:Llwww.gue_tawessler.com[we_-content[u.12,loads[202SL02/1_ROMemorandum.Qdf




  -
  consumerfinance.gov

  ConfidentialityNotice: If you received this email by mistake, you should notifythe sender of the mistake and delete the e-mail and any
  attachments. An inadvertent disclosure is not intended to waive any privileges.




                                                                     1
(Page 529 of Total)                                                                                                               JA524
            Case 1:25-cv-00381-ABJ Document 66-1   Filed 03/07/25 Page 16 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 530 of 637




                 Exhibit MM




(Page 530 of Total)                                                                 JA525
            Case 1:25-cv-00381-ABJ Document 66-1                             Filed 03/07/25 Page 17 of 60
       USCA Case #25-5091    Document #2114200                                Filed: 05/05/2025 Page 531 of 637



            From:
            To:
            Cc
            Subject:
            Date:             Friday,February
                                            14, 2025 1:44:00PM
            Attachments:      .mage001P09
                              .inage002,pog
                                        IemQlatunso
                               ~ Exceotjpn
            I111pon:ance:     High


            Thanks for everything you're doing, but we need the last set of attachments now. We cannot wait
            until COB. We also need an answer on the attached question about the guidance. Apologies, but we
            have been instructed we do not have until COB.




            Confidentiality Notice: If )OU receivedthis email by mistake,you should notifytbeseoderofthe mistakeand delete
            the e-mail and any attachments. An inadvertent disdosure is not intended to waive any prh,ileges.


            From:
            Sent:Friday, February 14, 2025 11:36 AM
                                                                              ; Parman, Jason C.




            Subject:RE: Exception Template

            Good morning,


            The following documents have been attached.
           1. MSPB Appeal Information
           2. OPM Retention Regulations
           3. Severance Pay Estimate Worksheet
           4. Unemployment Insurance
           5. CTAP, ICTAPand Reemployment Priority List (RPL}Program Information


            We are working to provide an example fa the following and will as soon ascomplete.
           1. Authorization for Release of Employment Information
           2. Acknowledgement of Receipt
           3. State Workforce Programs




(Page 531 of Total)                                                                                                          JA526
            Case 1:25-cv-00381-ABJ Document 66-1                                  Filed 03/07/25 Page 18 of 60
       USCA Case #25-5091    Document #2114200                                     Filed: 05/05/2025 Page 532 of 637




            ---
            Vo:y Respectfully,




            ~
            OPM
            •
                                 US.Officeof
                                 Personnel
                                        Management

            Follow us on 1in~ln I~             IYou.Tube




            Subject:RE: Exception Template



            I   Some people wro received this messagedon-t often get email from
                •.mQQ[t:~111

            10am would be great. Thank you.




            ~QD.S.Ym~rfinan~.e.,.gQv

            Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and deete
            the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.


            From:
            Sent: Friday, February 14, 2025 8:31 AM
           To:




            Subject:RE:Exception Template


            Good morning,

            Yes,please let us know the time and we will clear our schedules and establish a team meeting.




(Page 532 of Total)                                                                                                                JA527
                                           -----------------------------·-----·--
            Case 1:25-cv-00381-ABJ Document 66-1                                    Filed 03/07/25 Page 19 of 60
       USCA Case #25-5091    Document #2114200                                       Filed: 05/05/2025 Page 533 of 637




            ---
            VeryRespectf\.Aly,




            OPM
            •
                             US.Officeof
                             Per~mel Management

                                I~
            Followus on 1.inke.d.ln          IYQuTube


            From:
            Sent: Friday, February 14, 2025 8:26 AM




            Subject: RE: Exception Template




            I   Somepeoplewho receivedthismessagedon't often get emailfrom
                f.DllQ!tan1
                                                                                                              Learnwhy •h1<,s

            Thank you, we appreciate it. We are about to meet internally but will very likely still have questions
            where we'll need your expertise for the Notices deliverables. Does any of the team have availability
            to meet to talk through the questions for 30 mins today?




            Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
            the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.


            From:Parman, Jason
            Sent:Friday, February 14, 2025 8:19 AM




            -
(Page 533 of Total)                                                                                                                 JA528
            Case 1:25-cv-00381-ABJ Document 66-1                                 Filed 03/07/25 Page 20 of 60
       USCA Case #25-5091    Document #2114200                                    Filed: 05/05/2025 Page 534 of 637


            Yes, we can help with this. We wil get to work on scrubbing and packaging these and sending them to
            you.

            Jason


            from:
            Sent: Friday, February 14, 2025 6:48 AM




            I   Somepeoplewt,o:eceived
                                     thismessage
                                               don'toftengetemailfro~




            ·-
                   ~>orta nt
                1r11




            Do you have copies of the seven attachments referenced in the template?


           1. Acknowledgement of Receipt
           2. MSPBAppeal Information
           3. OPM Retention Regulations
           4. Severance Pay Estimate
           5. Unemployment Insurance and State Workforce Programs
           6. Authorization for Release of Employment Information
           7. CTAP,ICTAPand Reemployment Priority List {RPL)Program Information

            Although we'll be doing the severance pay estimate, a sample format would be helpful given our
            timeframes to send these out.




           -Much appreciated.




            ~Qo~umerfinance.gov

            Confidentiality Notice: If you received this email by mistake, you shou1dnotify the sender of the mistake and delete
            the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.


            From:
            Sent: Thursday, February 13, 2025 7:53 PM
            To;Martinez, Adam {CFPB)                                         1111

(Page 534 of Total)                                                                                                                JA529
            Case 1:25-cv-00381-ABJ Document 66-1                          Filed 03/07/25 Page 21 of 60
       USCA Case #25-5091    Document #2114200                             Filed: 05/05/2025 Page 535 of 637




            Subject: RE: Exception Template


            Greetings,

            Attached are templates of Reduction in Force notifications with and without Severance Pay. Please
            be mindful that this is a to be used as a guide for developing your internal RIFnotice for issuance.
            When developing your agency's RIFnotices, the team should develop standard language when
            appropriate (e.g., all notices should contain the same language on the reasons for the RIF}. It is
            recommended that you and your team have agency management, and the agency's legal staff,
            approve the notices. Finally, the team should designate staff to review and proofread each notice for
            any errors in content, format, and spelling before issuing.



            Very Respectfully,




            OPM                  US.Officeof
                                 l'ef5omel Management

            Followus on 1.inkedlnI .Iwi.tterIYQ.UTube



            From:Martinez, Adam (CFPB)
            Sent: Thursday, February 13, 2025 6:17 PM




            Subject:RE:Exception Template

            'Thankyou,-.        I'll have this over shortly. I emailed Jason separately, but who can
            we get a copy of the furlough letter/template from?

            Adam Martinez
            Chief Operating Officer

            From:-
            Sent: Thursday, February 13, 2025 5:29 PM
            To: Martinez, Adam (CFPB)




(Page 535 of Total)                                                                                                 JA530
            Case 1:25-cv-00381-ABJ Document 66-1                         Filed 03/07/25 Page 22 of 60
       USCA Case #25-5091    Document #2114200                            Filed: 05/05/2025 Page 536 of 637


            Subiect:ExceptionTemplate

            Good afternoon, Adam,

            N. requ~ted, the template for the exception to the 60-day notification is attached.
            I will send a separate email to schedule next week's meeting.


            Pleaseprovide~mail              address to include in future emails.

            Thankyou,



           -
            U.S. Officeof Per$omelManagement
            HRSolutions/FederalClassificationCenter




                             I ~formerlytwil.t.e.tllX521.(Tube
            Folowus on Unkedtn




(Page 536 of Total)                                                                                       JA531
            Case 1:25-cv-00381-ABJ Document 66-1   Filed 03/07/25 Page 23 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 537 of 637




                      Exhibit NN




(Page 537 of Total)                                                                 JA532
            Case 1:25-cv-00381-ABJ Document 66-1                            Filed 03/07/25 Page 24 of 60
       USCA Case #25-5091    Document #2114200                               Filed: 05/05/2025 Page 538 of 637



            ff'om:
            To:
            Cc:
            Subject;           a e         pu
            Date:             Friday,Februa,y14, 20252:27:41 ~
            Attadlmeitts:                          H PBAEI130QPf1.l!I~
                              L5.2LflIJlkl&s.2025·02·
                                         jj~ rt §§liM'.itioQS,?1~
                              Co[)$QIKl,)ted
                                  c.amo
                              CEJ'8  areaBeooes04

            Hi you all. The first attachment is the list. The second list contains what I think is a consolidated list
            of all the separations. Make sure the people on the second attachment aren't on the first
            attachment.

            Also, see the PDF.Make sure everyone in the orgs identified in the PDFare on the file.

            After this is done we need to verify that the fields in the forms are correct but first validate the
            population and get back to me ASAP.

            If you find issues, please email me. We do not want to bother ■ right now with this stuff. He is
            headsdown programming.




(Page 538 of Total)                                                                                                      JA533
            Case 1:25-cv-00381-ABJ Document 66-1   Filed 03/07/25 Page 25 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 539 of 637




                      Exhibit OO




(Page 539 of Total)                                                                 JA534
               Case 1:25-cv-00381-ABJ Document 66-1                  Filed 03/07/25 Page 26 of 60
          USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 540 of 637



  From:                             Martinez,Adam {CFPB)
  Sent:                             Friday,February14,2025 3:25 PM
  To:
  Subject                           FW:Requestfor Exceptionto 60 day notice
  Attachments:                         exception
                                    CFPB       to 90CA ruleSIGNED
                                                                2-14-2025,pdf;CFPBexceptn to the 60 day
                                    notice period SIGNED2-14-2025.pdf

  Follow Up Flag:                   Follow up
  Flag Status:                      Flagged



  For the file. Thanks.
  Adam Martinez
  Chief Operating Officer

  from: Mahoney, Michael J
  Sent: Friday, February 14, 2025 3:07 PM
  To: Martinez, Adam (CFPB)
  Cc:Young,Christopher (CFPB)
                                    Parman, Jason C.
  Subject: RE: Request for Exception to 60 day notice

  Aaam,

  Attached are the signed letters

  -mike


  From:Martinez,Adam (CfPB)
  Sent: Thursday, February 13, 2025 7:48 PM
  To: Peters, No
                                                                                                Wick, Jordon



  Subject: RE: Request for Exception to 60 day notice

  Thank you, Noah.

  Adam Martinez
  Chief Operating Officer

  From:Peters,Noa
  Sent: Thursday,February             •
  To: Martinez A am                                      Internet, WPI Employ
                                                                 Lewin, Jeremy



  Subject: RE:Requestfor Exceptionto 60 day notice
(Page 540 of Total)                                                                                   JA535
               Case 1:25-cv-00381-ABJ Document 66-1           Filed 03/07/25 Page 27 of 60
          USCA Case #25-5091    Document #2114200              Filed: 05/05/2025 Page 541 of 637

  Approved.

  Best,

  Noah Peters
  Senior Advisor to the Director
  U.S. Officeof PersonnelManagement
  1900 E Street, N.W. Washin ton, D.C. 20415




  From:Martinez, Adam (CFPB)
  Sent:Thursday,February13, 2025 7:30 PM
  To: Internet, WPI Employ
  Cc: Young,Christopher(CFPS)                                                               Wick,Jordon
  (CFPB)
                                   Noa
  Subiect:Requestfor Exceptionto 60 day notice

  Good evening.

  Attached is a request for the 60-day notice exception for RlF notification.

  Please let me know if you have any questions or need additional information. Thank you.

  Adam

  Adam Martinez
  Chief Operating Officer




                                                     2
(Page 541 of Total)                                                                              JA536
            Case 1:25-cv-00381-ABJ Document 66-1                    Filed 03/07/25 Page 28 of 60
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 542 of 637



                            UNITED STATES OFFICE OF PERSONNEL MANAGEMENT
                                                  Washington,
                                                           OC 20411


                                                  f ebruary14,2025

           Mr. Adam Martinez
           Chief Operating Officer/ Acting Chief Human Capital Officer
           Consumer Financial Protection Bureau
           17000 St NW
           Washington, DC 20552

           Dear Mr. Martinez:

           The Office of Personnel Management (OPM) approves, wilh one exception, the Consumer
           Financial Protection Bureau's (CFPB) February 13, 2025, request for OPM approval of an
           exception to the 60-day notice period provided given to employees selected for release through a
           reduction io force (RIF). Your request indicates that a RTFis necessary due to the impact of the
           Executive Order (EO) titled, "'Implementing The President's "Department of Government
           Efficiency" Workforce Optimization Initiative" (February l l, 2025), and the CFPB Acting
           Director's work stoppage crder dated February 10, 2025.

           OPM approves your request in accordance with 5 CfR 351.801 (b). Under this provision OPM
           may approve a notice period of less than 60 days when a RIF is caused by unforeseeable
           circumstances. lhe minimum notice period must cover at least 30 tull days. In accordance with
           the EO CFPB must act quickly to conduct a RlF of employees in the divisions. offices, and units,
           mentioned in your request, with one exception:this approval does not include the 'Office of the
           Director/Office of Civil Rights - 13 positions' indicated in your request. In a In a February l4,
           2025, meeting with OPM staff Cf'PB clarified this competitive area should be removed from the
           request. The urgency with which CFPB must comply with the EO makes the standard 60-day
           notice period impracticable. OPM is approving a notice period of 30-days f<r employees in the
           entities in your request except the Office of the Director/Office of Civil Rights.

           Please contact              hy email at                         or phone at               should
           youor staff have any questions with this respons~.

                                                       Sincerely,



                                                         Yu,,~~
                                                        Veronica E. Hinton
                                                        Associate Director
                                                        Workforce Policy and Innovation




(Page 542 of Total)                                                                                            JA537
            Case 1:25-cv-00381-ABJ Document 66-1   Filed 03/07/25 Page 29 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 543 of 637




                      Exhibit PP




(Page 543 of Total)                                                                 JA538
              Case 1:25-cv-00381-ABJ Document 66-1                Filed 03/07/25 Page 30 of 60
         USCA Case #25-5091    Document #2114200                   Filed: 05/05/2025 Page 544 of 637



  From:                          Martinez, Adam (Cf PB)
  Sent                           Friday,February14, 202S4:57 PM
  To:
  Cc:
  Subject:


  Yes. I'm dual ha:.ttedright now with Ops and OHC. 1 ""illbe on the R1Flist but in the next group.
  Adam Martinez
  ChiefOperatingOfficer

  From:111111111111111
  Sent:~56PM
  To: Martinez, Adam (CFPB)
                                                                                                 ;-



  HiAdam,

  Youshow up on the RIFreport becauseyou arein the Director'sFront Office.Areyou the only exception?




  Consumer Financial Protection Bureau
  .consumerfinance.gov




                                                         1
(Page 544 of Total)                                                                                    JA539
            Case 1:25-cv-00381-ABJ Document 66-1   Filed 03/07/25 Page 31 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 545 of 637




                      Exhibit QQ




(Page 545 of Total)                                                                 JA540
              Case 1:25-cv-00381-ABJ Document 66-1                         Filed 03/07/25 Page 32 of 60
         USCA Case #25-5091    Document #2114200                            Filed: 05/05/2025 Page 546 of 637



   From:
   Sent
   To:



   Cc:
   Subject:                         coding for separation actions


   Hi you all. Here's the proposed coding for the separation actions. Canyou please review and approve for me?

  I used auth ZLM for all three since Adam said he wanted agency cites. I could be wrong but I thought we used ZLM when
  we did Agency cites. PARremark code M499 just means the remarks are custom. The action & action reason may not be
  perfect for the situation but this information doesn't go anyway. It stays in HRCand is mostly used for reporting
  purposes.

 ~ Can you all use the action reason to determine which actions need to be changed to a NOA 330 and
  which need to be changed to a NOA 285? The RIFswill be loaded via MPI. For Tuesday,you will only have the NOA 330
  and 385.

           we will need to key these over the weekend so they are there Tuesday morning.
   Type of            NOA Auth            Par Remark     PARRemark Content      Effect Dt      Action 1    Action
   Separation                 Code        Nbr                                                              Reason1
   Term               330     ZLM         M499          EOentitled              2/13/2025      TER         Staff
   Appointments                                         "Implementing the                                  Reduction
                                                        President's "Dept of
                                                        Govt Efficiency"
                                                        Workforce
                                                        Optimization
                                                        Initiative" dtd
                                                        2/11/2025 and the
                                                        stop work email from
                                                        RussVought entitled
                                                        "Additional Directives
                                                        on Bureau Activities"
                                                        dtd 2/10/2025.
                                                         LUMP-SUM
                                                         PAYMENT TO BE
                                                         MADE FOR ANY
                                                         UNUSED
                                                         ANNUAL LEAVE
   Probation          385     ZLM        M499            EOentitled               2/11/2205    TER2        opp2
                                                         "Implementing the
                                                         President's "Dept of
                                                         Govt Efficiency"
                                                         Workforce
                                                         Optimization
                                                         Initiative" dtd
                                                         2/11/2025 and the

                                                            1
(Page 546 of Total)                                                                                               JA541
                  Case 1:25-cv-00381-ABJ Document 66-1                  Filed 03/07/25 Page 33 of 60
             USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 547 of 637
                                                           stop work email from
                                                           RussVought entitled
                                                           "Additional Directives
                                                           on Bureau Activities"
                                                           dtd 2/10/2025.
                                                           LUMP-SUM
                                                           PAYMENT TO BE
                                                           MADE FOR ANY
                                                           UNUSED
                                                           ANNUAL LEAVE
       RIF              356    ZLM         M44             EOentitled               TBD           TER1         Staff
                                                           "Implementing the                                   Reduction
                                                           President's "Dept of
                                                           Govt Efficiency"
                                                           Workforce
                                                           0 ptim izatio n
                                                           Initiative" dtd
                                                           2/11/2025 and the
                                                           stop work email from
                                                           RussVought entitled
                                                           "Additional Directives
                                                           on Bureau Activities"
                                                           dtd 2/10/2025.
                                                           LUMP-SUM
                                                           PAYMENT TO BE
                                                           MADE FOR ANY
                                                           UNUSED
                                                           ANNUAL LEA VE

   1
     This information is only in HRConnect. It doesn't display on the SF-SO,go to NFCor go to OPM. The field is used mostly
   for reporting.
   2 Ter = Termination; OPP= Probation/Trial Period




                                                               2
(Page 547 of Total)                                                                                                  JA542
            Case 1:25-cv-00381-ABJ Document 66-1   Filed 03/07/25 Page 34 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 548 of 637




                      Exhibit RR




(Page 548 of Total)                                                                 JA543
            Case 1:25-cv-00381-ABJ Document 66-1                  Filed 03/07/25 Page 35 of 60
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 549 of 637

        From:
      Subject: Return to research next steps
         Date: February 28, 2025 at 12:03 PM
           To:




             Hello all,

             ORFO just met to discuss next steps regarding yesterday’s new guidance that we should
             resume non-public statutory research work.

             Our first step is trying to figure what we can and can’t do in terms of systems access and
             data access. I have not been able to access certain systems, and I don’t believe we have
             an accurate list of what data contracts remain and how it may limit statutory research.

             So could you all please log on and send me the answers to the following questions:

                 1. Can you access all of the technical systems, including the Research Environment,
                    in the ways you normally used to do to fulfill research activities.
                 2. Can you access all of the data that you used to in order to fulfill research activities.
                 3. For those of you who are CORs/ACORs, can you report back what data contracts
                    have been cancelled.
                 4. What conferences have you been accepted to that you are waiting for guidance on
                    whether you can attend? ORFO knows about Boulder, and the Round Robin.

             Additionally, we will be seeking guidance on how to properly code timesheets.

             All Best,


             -



(Page 549 of Total)                                                                                       JA544
            Case 1:25-cv-00381-ABJ Document 66-1   Filed 03/07/25 Page 36 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 550 of 637




                      Exhibit SS




(Page 550 of Total)                                                                 JA545
             Case 1:25-cv-00381-ABJ Document 66-1                              Filed 03/07/25 Page 37 of 60
        USCA Case #25-5091    Document #2114200                                 Filed: 05/05/2025 Page 551 of 637




    From:Olstad, Per (CFPB)----
    Sent:Wednesday, March~
    To:_DL_CFPB_RMR_CP _All
    Subject: Fw: Confirming requ



    Hi all - see below re: usually required compliance trainings and deadlines ...



    Thanks,
    Per




    From:Sacco, Matthew (CFPB)
    Sent:Tuesday, March 4, 2025
    To: Olstad, Per (CFPB).
    Cc: Sacco, Matthew (C                                            FPB_Leam
    Subject: RE: Confirming requirements re: ma                     g



    Per-

            Hello, I hope that you are well. Thank you for your timely question. I'll also apologize on our collective behalf
    about any system-generated reminder emails that went out to many today ( and a few weeks ago). That was not intended,
    andwe are acting on that piece as well.



           We have extended the former March 17 due date, and have an updated News Article posted on Beam
    Announcements - FY25 Mandatory Training deadline extended until further notice



             Our current Mandatory Compliance Training (MCT) is now extended. The deadline has been postponed until
    further notice, and applies to all assigned courses in both the Know8e4 system, and the Cf PB Leaming Management
    System.



           Unless otherwise advised by Cf PB Leadership, completing these courses is not authorized work during current
    paused work status.



            If status and direction on this change, we'll provide more and updated communications, however until then
    working on these MCT courses is not authorized work.



              I hope that this helps. If you have any further questions on this, please feel free to contact me directly at
                                  or the team via
(Page 551 of Total)                                                                                                           JA546
                Case 1:25-cv-00381-ABJ Document 66-1                         Filed 03/07/25 Page 38 of 60
           USCA Case #25-5091    Document #2114200                            Filed: 05/05/2025 Page 552 of 637
    Take care,

    Matt

    Matt Sacco

    Talent Development Manager

    Office of Human Capital

    Consumer Financial Protection Bureau

    Tel:

    Mob:



    www.consumerfinance.gov




    From:Olstad, Per {CFPB)IIIIIIIIIIIIIII
    Sent Tuesday, March 4, ~
    To: CFPB Leamlllllllllllllll
    Subject:Confirm~                       atory training
    Importance: High



    Hi - On Feb 21, re: mandatory trainings, there was a directive (on Beam) to "not take these training courses" and that the
    March 17 deadline would be extended. Can you advise whether staff should resume taking the trainings and if there is a
    new deadline?



    Thank you,
    Per



    Per Olstad

    Acting Deputy Assistant Director & Senior Advisor

    Office of Consumer Populations

    Division of Research, Monitoring, and Regulations

    Consumer Financial Protection Bureau




   -www.consumerfinance.gov




    Confidentiality Notice: If you received this email by rristake, you should notify the sender of the mistake and delete the
    email and any attachments. An inadvertent disclosure is not intended to waive any privileges.
(Page 552 of Total)                                                                                                         JA547
            Case 1:25-cv-00381-ABJ Document 66-1   Filed 03/07/25 Page 39 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 553 of 637




                      Exhibit TT




(Page 553 of Total)                                                                 JA548
              Case 1:25-cv-00381-ABJ Document
3/7/25, 12:14 AM                                    66-1requirements
                                        Mandatory training   Filed 03/07/25
                                                                     remain suspendedPage 40 of 60
         USCA Case #25-5091    Document #2114200              Filed: 05/05/2025         Page 554 of 637




                                                 Please ignore any reminders.




        As previously announced, CFPB staff are not authorized to undertake annual
        mandatory training at this time. Please ignore any reminders generated
        automatically by the training platforms. We have communicated any exceptions
        directly to individuals who do have requirements.

        The CFPB will revisit mandatory training later in the fiscal year. Please direct
        questions to                        .




       Page Properties

        Owning Team
            Human Capital

        Topic
            Training




(Page 554 of Total)                                                                                      JA549
https://bcfp365.sharepoint.com/sites/beam/SitePages/Annual-training-requirements-remain-suspended.aspx       1/2
            Case 1:25-cv-00381-ABJ Document 66-1   Filed 03/07/25 Page 41 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 555 of 637




                      Exhibit UU




(Page 555 of Total)                                                                 JA550
            Case 1:25-cv-00381-ABJ Document 66-1                   Filed 03/07/25 Page 42 of 60
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 556 of 637




           From: Huggins, Cassandra (CFPB)
           Sent: Wednesday, March 5, 2025 10:01 AM
           To: _DL_CFPB_Examiners Midwest
           _DL_CFPB_NE_Region_Directory                                          ;
           _DL_CFPB_Supervision Policy                           ; _DL_CFPB_Examiners
           SE                                     ; _DL_CFPB_Examiners West

           Cc: Hagins, Calvin (CFPB)
           Subject: optional template and instructions for submitting reports on exam activity (report
           due COB 3/10)

           Regions/OSP-

           As you are likely aware, CLO Mark Paoletta has requested each member of Supervision
           to provide him with information on the exams they are currently working on. You are
           authorized to work on this assignment.

           Attached is a template that you may use to put together your response- it includes places
           to fill in all of the information that he requested. I’ve included rationale for why an event
           was scheduled, in case you aren’t sure what to put in response to that request. You can
           copy/paste to represent as many open events of each type that you need, and may
           delete any event types that you are not currently assigned to work on.

           As a reminder, this report is due COB Monday March 10. You may submit your report
           directly to Mark Paoletta, with a cc to your manager. If your manager has left the Bureau
           and you haven’t been assigned a new manager, please cc the next supervisor up in the
           management chain.

           If you are a manager who oversees others who work on exams, you may respond to the
           request with all open supervisory events that you are overseeing.

           If you are in any other role that does not actively work on individual exams (for example,
           regional analyst), please hold on submitting anything until I receive clarification from
           leadership on their expectations for staff in those roles.

           Thanks for your assistance with this request.

           Cassandra Huggins
           Principal Deputy Assistant Director | Supervision Policy & Operations



           Consumer Financial Protection Bureau

(Page 556 of Total)                                                                                   JA551
            Case 1:25-cv-00381-ABJ Document 66-1                          Filed 03/07/25 Page 43 of 60
       USCA Case #25-5091    Document #2114200                             Filed: 05/05/2025 Page 557 of 637
           Consumer Financial Protection Bureau
           consumerfinance.gov



           Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and
           delete the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.




               optional
            template.docx




(Page 557 of Total)                                                                                                         JA552
            Case 1:25-cv-00381-ABJ Document 66-1   Filed 03/07/25 Page 44 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 558 of 637




                      Exhibit VV




(Page 558 of Total)                                                                 JA553
            Case 1:25-cv-00381-ABJ Document 66-1                       Filed 03/07/25 Page 45 of 60
       USCA Case #25-5091    Document #2114200                          Filed: 05/05/2025 Page 559 of 637




          From: Huggins, Cassandra (CFPB)
          Sent: Wednesday, March 5, 2025 5:11:00 PM
          To:
          Subject: Re: optional template and instructions for submitting reports on exam activity (report due
          COB 3/10)

          -        the only item you raise that you need to be concerned with for the purposes of your
          repo1i 1s the repo1iing of approximate time spent on the exam. I would recommend you put
          your best guess as to the amount of time you spent working on each exam until the work
          stoppage in 2/10. I am not asking what they plan to do with the info1mation.

          From:
          Sent: Wednesday, March 5, 2025 5:05:26 PM
          To: Huggins, Cassandra (CFPB)                                 >
          Subject: FW: optional template and instructions for submitting reports on exam activity (report due
          COB 3/10)

          Casey,


          Please see below, particularly my 3:11pm message to Chris. There are a lot of unknows here, and I'd
          like to know if anyone has asked Mark (or others) for clarification. I am particularly concerned with
          the time allocated calculations and questions pertaining to how all of these submissions will be used.


          Thanks,




          -
          From:
          Sent: Wednesday, March 5, 2025 3:24 PM
          To: Young, Christopher (CFPB)




          Subject: RE:optional template and instructions for submitting reports on exam activity (report due
          COB 3/10)


          Chris,


          Thank you so much for sharing this information. It is helpful to know that Casey is preparing a report.


(Page 559 of Total)                                                                                                 JA554
            Case 1:25-cv-00381-ABJ Document 66-1                               Filed 03/07/25 Page 46 of 60
       USCA Case #25-5091    Document #2114200                                  Filed: 05/05/2025 Page 560 of 637

          However, that information alone is not specific enough to address my questions. As such, they still
          stand.

          Thanks,



          -
          From: Young, Christopher (CFPB)
          Sent: Wednesday, March 5, 2025 3:18 PM
          To:



          Subject: RE: optional template and instructions for submitting reports on exam activity (report due
          COB 3/10)


          Clarification—Casey is preparing a report addressing much of the information requested.

          Our job is to prepare reports including a written summary of the specific matters they are
          working on, with the name of the entity being examined, how the matter was commenced
          and approximately how many hours they have spent on the matter.  



          Christopher J Young
          Deputy Assistant Director, Supervision Division


          Consumer Financial Protection Bureau
          consumerfinance.gov

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the email and any attachments. An inadvertent disclosure is not intended to waive any privileges.


          From: Young, Christopher (CFPB)
          Sent: Wednesday, March 5, 2025 3:16 PM
          To:



          Subject: RE: optional template and instructions for submitting reports on exam activity (report due
          COB 3/10)



          -
(Page 560 of Total)                                                                                                               JA555
            Case 1:25-cv-00381-ABJ Document 66-1                               Filed 03/07/25 Page 47 of 60
       USCA Case #25-5091    Document #2114200                                  Filed: 05/05/2025 Page 561 of 637

          Casey is preparing a report asking for much of this information. We are focused on preparing a
          report that addresses the following request --

          “Additionally, please notify every employee in your division to provide to me a written
          summary of the specific matters they are working on, with the name of the entity being
          examined, how the matter was commenced and approximately how many hours they
          have spent on the matter.  

          Please submit your report and direct every employee in your division to submit their response
          to me by COB Monday, March 10th.”



          Christopher J Young
          Deputy Assistant Director, Supervision Division


          Consumer Financial Protection Bureau
          consumerfinance.gov

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the email and any attachments. An inadvertent disclosure is not intended to waive any privileges.


          From:
          Sent: Wednesday, March 5, 2025 3:11 PM
          To: Young, Christopher (CFPB)




          Subject: RE: optional template and instructions for submitting reports on exam activity (report due
          COB 3/10)

          Chris,

          Thank you so much for this clarification. Ahead of our team meeting this afternoon, I have a few
          questions:

              1. Mark’s request to capture time spent – In our conversation earlier, you requested exam start
                 dates or similar information to use as part of a determination of how much time team
                 members spent on each exam. I want you to know that I’m looking to you for the most
                 appropriate language to capture this information. I also have concerns:
                    a. What is Supervision doing to ensure the time spent calculations are based on the same
                       methodology? For example because, unlike a law firm, we don’t report our time as
                       “billable hours” every 15 minutes by case. As a result of how we DO report our time,
                       different teams could come up with vastly different totals if they’re using different

(Page 561 of Total)                                                                                                               JA556
            Case 1:25-cv-00381-ABJ Document 66-1                               Filed 03/07/25 Page 48 of 60
       USCA Case #25-5091    Document #2114200                                  Filed: 05/05/2025 Page 562 of 637

                         methods to calculate this information.
                     b. Do we know how they’re planning to use this information? If not, has anyone inquired?
              2. Mark’s request for lead examiner and lead attorney - Mark’s email also requested the
                 following: “name of the lead CFPB examiner on each matter, and the contact information for
                 the lead attorney for the company under examination.” This is not captured in Casey’s
                 template. It evidences a lack of understanding of our work and a lack of familiarity with our
                 structure.
                     a. Has anyone requested clarification on which role(s) are appropriate to list for the
                         “name of the lead CFPB examiner?” Would this be the FM, EIC, RD, OSP POC(s) [for our
                         team, analyst AND attorney], and/or Deputy Assistant Director?
                     b. Has anyone requested whether the “contact information for the lead attorney for the
                         company under examination” is requesting the entity’s contact information (e.g., CCO’s
                         name and number) or is it instead a request for our internal/lead CFPB attorney’s
                         contact information?
                      c. Do we know how they’re planning to use this information? If not, has anyone inquired?
              3. Other items
                     a. High-level information about exam scope seems useful here. I’d like to include it. We
                         can discuss more in our meeting.
                     b. I have follow-up questions regarding the individual responses. We can also discuss
                         more in our meeting.

          Thanks,



          -
          From: Young, Christopher (CFPB)
          Sent: Wednesday, March 5, 2025 1:50 PM
          To:
          Subject: RE: optional template and instructions for submitting reports on exam activity (report due
          COB 3/10)


          Thanks
                    -   . And to confirm, I’ll be preparing a report as manager of the Cross-Program
          Team and the Compliance Technology Supervision Program, and each individual team
          member will also prepare their own reports for submission.

          Christopher J Young
          Deputy Assistant Director, Supervision Division


          Consumer Financial Protection Bureau
          consumerfinance.gov

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete



(Page 562 of Total)                                                                                                               JA557
            Case 1:25-cv-00381-ABJ Document 66-1                               Filed 03/07/25 Page 49 of 60
       USCA Case #25-5091    Document #2114200                                  Filed: 05/05/2025 Page 563 of 637

          the email and any attachments. An inadvertent disclosure is not intended to waive any privileges.


          From:
          Sent: Wednesday, March 5, 2025 1:34 PM
          To: Young, Christopher (CFPB)
          Subject: RE: optional template and instructions for submitting reports on exam activity (report due
          COB 3/10)

          Chris,

          Thank you for reaching out this morning. I’m very happy to assist with fulfilling leadership’s recent
          request.

          Per our discussion:
              • We will prepare the report requested in the 3/4/2025 and 3/5/2025 messages from Mark
                Paoletta and Casey Huggins as it pertains to our team.
              • Include the future planned exams and follow-up events (planned via prioritization process),
                active exams                              consultation activities
              • Include the start date.
              • I’ll produce an initial list before our next meeting this afternoon.
              • Use Word format
          Best,



          -
          From: Young, Christopher (CFPB)
          Sent: Wednesday, March 5, 2025 11:26 AM
          To:
          Subject: Re: optional template and instructions for submitting reports on exam activity (report due
          COB 3/10)



          -        — I will ring you on Teams at 11:45 if that works.

          Christopher J Young
          Deputy Assistant Director for Supervision Policy


          Consumer Financial Protection Bureau
          consumerfinance.gov

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the email and any attachments. An inadvertent disclosure is not intended to waive any privileges.


          From:

(Page 563 of Total)                                                                                                               JA558
            Case 1:25-cv-00381-ABJ Document 66-1                       Filed 03/07/25 Page 50 of 60
       USCA Case #25-5091    Document #2114200                          Filed: 05/05/2025 Page 564 of 637

          Sent: Wednesday, March 5, 2025 11:22:57 AM
          To: Young, Christopher (CFPB)
          Subject: RE: optional template and instructions for submitting reports on exam activity (report due
          COB 3/10)

          One more heads up on this – I have some existing reports in SES that may streamline the process for
          collecting this information. They are not perfectly aligned to this ask, but they should help.


          From:
          Sent: Wednesday, March 5, 2025 11:07 AM
          To: Young, Christopher (CFPB)
          Subject: Fw: optional template and instructions for submitting reports on exam activity (report due
          COB 3/10)


          I’m awaiting your direction based on Casey’s latest email.

          From: Huggins, Cassandra (CFPB)
          Sent: Wednesday, March 5, 2025 11:00:54 AM
          To: _DL_CFPB_Examiners Midwest
          _DL_CFPB_NE_Region_Directory <                                                 ;
          _DL_CFPB_Supervision Policy <                                ; _DL_CFPB_Examiners SE
          <                                   >; _DL_CFPB_Examiners West
          <                                      >
          Cc: Hagins, Calvin (CFPB) <
          Subject: optional template and instructions for submitting reports on exam activity (report due COB
          3/10)

          Regions/OSP-

          As you are likely aware, CLO Mark Paoletta has requested each member of Supervision to provide
          him with information on the exams they are currently working on. You are authorized to work on
          this assignment.

          Attached is a template that you may use to put together your response- it includes places to fill in all
          of the information that he requested. I’ve included rationale for why an event was scheduled, in case
          you aren’t sure what to put in response to that request. You can copy/paste to represent as many
          open events of each type that you need, and may delete any event types that you are not currently
          assigned to work on.

          As a reminder, this report is due COB Monday March 10. You may submit your report directly to
          Mark Paoletta, with a cc to your manager. If your manager has left the Bureau and you haven’t been
          assigned a new manager, please cc the next supervisor up in the management chain.

          If you are a manager who oversees others who work on exams, you may respond to the request with


(Page 564 of Total)                                                                                                  JA559
            Case 1:25-cv-00381-ABJ Document 66-1                               Filed 03/07/25 Page 51 of 60
       USCA Case #25-5091    Document #2114200                                  Filed: 05/05/2025 Page 565 of 637

          all open supervisory events that you are overseeing.

          If you are in any other role that does not actively work on individual exams (for example, regional
           analyst), please hold on submitting anything until I receive clarification from leadership on their
          expectations for staff in those roles.

          Thanks for your assistance with this request.

          Cassandra Huggins
          Principal Deputy Assistant Director | Supervision Policy & Operations



          Consumer Financial Protection Bureau
          consumerfinance.gov



          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.




(Page 565 of Total)                                                                                                               JA560
            Case 1:25-cv-00381-ABJ Document 66-1   Filed 03/07/25 Page 52 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 566 of 637




                Exhibit WW




(Page 566 of Total)                                                                 JA561
            Case 1:25-cv-00381-ABJ Document 66-1                               Filed 03/07/25 Page 53 of 60
       USCA Case #25-5091    Document #2114200                                  Filed: 05/05/2025 Page 567 of 637




          From:
          Sent: Thursday, March 6, 2025 1:08 PM
          To:
          Cc:




          Subject: Recap of 3.6.25 call on Report for Exam actives due 3.10.25

          Hi
               -       ,

          Just wanted to do a brief recap of what we talked about on our team call from earlier:

               1. After we are done with providing the information for the report Casey requested yesterday
                  we are to go back on Administrative Leave. If there is a conflict, while we are completing the
                  report, that we would normally use leave for, we should check with Work Life to find the
                  appropriate leave category to use at this time.
               2. We had some discussion regarding the CSI, when sending the report to Mark P. and the report
                  should not be sent as an attachment but the report we had prepared in word should be
                  copied and pasted into the body of the email.
               3. Lastly, during the call managers received an email about the status of open events,
                  monitoring and planned events, and you would be reaching out to us individually to get a
                  status on those open events.

          Again just wanted to make sure I had the info correct.




          Examiner
          Consumer Financial Protection Bureau

          Supervision, Enforcement, Fair Lending & Equal Opportunity

          consumerfinance.gov

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.




          This message was secured by ZixCorp©.

(Page 567 of Total)                                                                                                               JA562
            Case 1:25-cv-00381-ABJ Document 66-1   Filed 03/07/25 Page 54 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 568 of 637




                      Exhibit XX




(Page 568 of Total)                                                                 JA563
            Case 1:25-cv-00381-ABJ Document 66-1                             Filed 03/07/25 Page 55 of 60
       USCA Case #25-5091    Document #2114200                                Filed: 05/05/2025 Page 569 of 637




          From: McNitt, Bryce (CFPB)
          Sent: Thursday, March 6, 2025 6:17 PM




          Subject: Status of Office of Markets Contracts


          Good Afternoon,


          ~ Markets Procurement Status - Justifications.docx

          Linked above is the last known status of all Office of Markets contracts.


          I have also copied the list into the body of the email below. Some notes:


             •   All contracts except for one have had "Termination For Convenience" (T4C) notifications sent. This
                 means the CFPB intends to cancel the contract, but for most contracts the formal modification
                 cancelling the contract has not been signed.
                    a Staff are not to log into or utilize the resources of any contract where a T4C has been
                       issued (all contracts but Inside Mortgage Finance).
             •   Inside Mortgage Finance is the only contract that was not cancelled.
             •   Bloomberg Terminal has been formally cancelled and a refund is being issued.
             •   A few contracts were cancelled in Q1 FY25, and a couple were new contracts that will not be
                 competed.
             •   Contracts that are either already fully cancelled or that were new and won't be competed are in gray in
                 the attached sheet, we will not be pursuing those.


          For those contracts that where cancellation has been initiated but not formalized, we are beginning a process
          of making a request to restore those contracts we believe to be necessary to carry out our statutorily required
          market monitoring work. We are going to start with simple bullets and iterate the list within RMR.


          In the attached document, if you believe that the data source is essential to maintain our market monitoring
          activities, please place some bulleted justification(s) in the appropriate box below the status.




(Page 569 of Total)                                                                                                         JA564
            Case 1:25-cv-00381-ABJ Document 66-1                             Filed 03/07/25 Page 56 of 60
       USCA Case #25-5091    Document #2114200                                Filed: 05/05/2025 Page 570 of 637

          We will try to get a preliminary list to Jan & Dan on Monday and iterate from there.

          Please let me know if you have any questions.

          Bryce


          Status Office of Markets Procurements as of 3/6/2025

           Contract Name                Status
           AITE                         Cancellation initiated 2/11. Formal cancellation paused until further notice.

           AURIEMMA                     Cancellation initiated 2/11. Formal cancellation paused until further notice.
           (Cardbeat)
           Auto ABS Data                Cancelled Q1 FY 25.

           CARD MAIL MONITOR            Cancellation initiated 2/11. Formal cancellation paused until further notice.
           REPORTS
           (Competiscan)
           EXPERIAN                     Cancellation initiated 2/11. Formal cancellation paused until further notice.
           VELOCITY/AUTOCOUNT

           CRA Auto-focused data        Unlikely to be competed. (New Contract)
           purchase

           MERCATOR                     Cancellation initiated 2/11. Formal cancellation paused until further notice.
           GROUP/Javelin/Escalent

           MORTGAGE DATA PRICE          Cancellation initiated 2/11. Formal cancellation paused until further notice.
           INDICES (HPI) (Black
           Knight)
           Mortgage Data - GUI          Cancelled Q1 FY 25.

           INSIDE MORTGAGE              Active
           FINANCE

           MOBILE INTELLIGENCE          Cancellation initiated 2/11. Formal cancellation paused until further notice.
           DATA

           Personal Loan Data           Cancellation initiated 2/11. Formal cancellation paused until further notice.

           Bloomberg Terminal           Formally cancelled, refund being issued.

           Elliptic (crypto)            Unlikely to be competed. (New Contract)




(Page 570 of Total)                                                                                                     JA565
            Case 1:25-cv-00381-ABJ Document 66-1   Filed 03/07/25 Page 57 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 571 of 637




                      Exhibit YY




(Page 571 of Total)                                                                 JA566
            Case 1:25-cv-00381-ABJ Document 66-1                      Filed 03/07/25 Page 58 of 60
       USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025 Page 572 of 637




          From:
          Sent: Friday, March 7, 2025 10:24 AM
          To: Timmons, Debra (CFPB)                              >
          Subject: Following up from yesterday's discussion on work tasks

          Hello,
          Summarizing what we talked about yesterday as far as work tasks:

              • While our team had planned to release the dataset that is important for the statutorily
                required Card Act Analysis on the week of February 10th into Databricks Production, we will
                not be able to do so at this time. The contractors involved in the development of the
                datasets, the data validation of the dataset, and the federal employee who promoted the
                dataset to production were all terminated during the work stoppage in the middle of finalizing
                documentation.
                    0  Status: We have granted access to the testing dataset (in staging) to the new Card Act
                       team but they cannot use this dataset for finalized analysis.
              • Also as discussed, we should not move forward with developing new platform features or
                data products (as we had been) because we need to spend time figuring out how we will
                support our statutorily required functions with dramatically less staff/contractors/fewer
                systems. You will let me know if I am required to perform this taking stock task for Databricks.

          I appreciate your leadership and support.




(Page 572 of Total)                                                                                                JA567
            Case 1:25-cv-00381-ABJ Document 66-1   Filed 03/07/25 Page 59 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 573 of 637




                      Exhibit ZZ




(Page 573 of Total)                                                                 JA568
                       Case 1:25-cv-00381-ABJ Document 66-1                                                   Filed 03/07/25 Page 60 of 60
                  USCA Case #25-5091    Document #2114200                                                      Filed: 05/05/2025 Page 574 of 637




       1llilt!:J                                                                         ~ 12Jv         ~ MorkUnread      p         [@
      Del!'!e Aic~1ve                                                                    Mo(..e.
                                                                                          "' Ii     V
                                                                                                        ~8~tegor12e •
                                                                                                        fl!follow Up-)
                                                                                                                          eJv
                                                                                                                          f:i..,
                                                                                                                                   lrn[llemve
                                                                                                                                                 lt';f,
                                                                                                                                                 a JI
                                                                                                                                                li•nslate   12 ~           Repfywnh
                                                                                                                                                                         SchedufingPoll
                                                                                                                                                                                              ~
                                                                                                                                                                                             Report
                                                                                                                                                                                            Phis~1n9
       beitle                                                                               M~ve•           Taos                                lan;~~o•    I   :Z:oom     FmdTim•        SuspmousEm...
 1
 11nplaint portal


       ~
            Hinkle,Austin (CFPB)
           Jo l
                                                                                                                                                            «) ReplyAll   L:     ForWard   I [.J□
 •                                                                                                                                                                                   Fri 3nt20<.59'11AM

1
 tD  Yov fo1Wardedth ISmessage•~,3{1/2D2S
                                        10:02AM,


~I everyone,

I was gotngthrough complalnts today and found that every attachment was inaccessible -the site gave a error that just said 'Service Error (500}'. I've flagged for Matt Pfaft, but wanted to
confirm with any of you that you are having the same issue?


Some of the companies thatwe look at complaints about regularly attach a pdf as its fuU response so tt makes it impossible to review complete lnformailon about con,piaints from those
companies.




      (Page 574 of Total)                                                                                                                                                         JA569
             Case 1:25-cv-00381-ABJ Document 67                     Filed 03/07/25 Page 1 of 60
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 575 of 637


                                SUPPLEMENTAL INDEX OF EMAILS AND OTHER
                                          COMMUNICATIONS

          Exhibit     Date                                    Description
             II       2/12   Emails between Adam Martinez and OPM regarding “RIF Consulting
                             Services”
            JJ        2/14   Emails between Adam Martinez and OPM regarding CFPB’s request for an
                             exception to the “90-day rule for competitive areas” (8:28am)
            KK        2/14   Status update from Adam Martinez regarding “today’s [RIF] actions and
                             notifications to staff” (12:38pm)
            LL        2/14   Email to Adam Martinez notifying him of TRO hearing in this case in
                             planning for timing of termination notices (1:39pm)
           MM         2/14   Email urgently requesting materials for RIFs from OPM (1:44pm)
            NN        2/14   Email including list of employees to be fired (2:27pm)
            OO        2/14   Email from OPM approving request for exemption from the 60-day notice
                             requirement for RIFs (3:25pm)
            PP        2/14   Email from Adam Martinez confirming that he will be included with the
                             “next group” of RIFs (4:57pm)
            QQ        2/14   Email regarding materials for RIFs (9:56pm)
            RR        2/28   Email regarding impact of contract status on resuming work
            SS        3/5    Email regarding indefinite postponement of mandatory training
            TT               Site showing that staff are not authorized to take mandatory training
            UU        3/5    Email regarding reporting on supervision examination activity
            VV        3/5    Email regarding reporting on supervision examination activity
           WW         3/6    Email regarding reporting on supervision activity and return to
                             administrative leave
            XX        3/6    Email regarding impact of contract cancellations on Office of Markets
            YY        3/7    Email regarding impact of contract cancellation and employee terminations
                             on CARD Act analysis
            ZZ        3/7    Email from head of Office of Students team indicating that they are currently
                             unable to perform required complaint-review function




(Page 575 of Total)                                                                                          JA570
             Case 1:25-cv-00381-ABJ Document 67   Filed 03/07/25 Page 2 of 60
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 576 of 637




                      Exhibit II




(Page 576 of Total)                                                                JA571
                Case 1:25-cv-00381-ABJ Document 67               Filed 03/07/25 Page 3 of 60
          USCA Case #25-5091    Document #2114200                 Filed: 05/05/2025 Page 577 of 637



  From:                          Martinez,Adam(CFPB)
  Sent:                          Wednesday,February12, 2025 6:51 PM
  To:                            Gueye, Jafnar (CFPB);
  Cc:
  Subject:                       PN:Draftagreementfor CFPB
                                                         RIFassistance
  Attachments:                   OPM HRS - RIF Consulting Services- CFPB.pdf

  FollowUp Flag:                 Follow up
  Flag Status:                   Flagged


   FYSA- Once OPM confirms, 1'11sign the SOW.
  J afnar - I went ahead and pro\-ided your name directly so you can handle with your team carefully
  given the topic.

  Thank you all.

  Adam

  Adam Martinez
  Chief OperatingOfficer

  From: Martinez, Adam{CFPB)
  Sent: Wednesday, February 12, 2025 6:49 PM
  To:'Parman,JasonC.'                          ; Wick, Jordan                  ; Young,Christopher




     Je              g

  Thank you again for supporting us.

  We have reviewed the agreement, and we are ready to move forward. Please let me know if we are
  good to sign or if you have any additional changes on your end. I've included our POC information
  belO\•v.

  Finance POC:
  Jafnar Gueye
   hief Financial Officer




                                                         1
(Page 577 of Total)                                                                                  JA572
               Case 1:25-cv-00381-ABJ Document 67                        Filed 03/07/25 Page 4 of 60
         USCA Case #25-5091    Document #2114200                          Filed: 05/05/2025 Page 578 of 637




  AdamMartmez
  Chief Operating Officer

  F.-om:Parman, Ja~n C.I
  Setit: Wednesday, Febrnary12, 2025 4~16PM
  To:Martlnez, Adam {CFPB)                                                                                  ; Young,
  Christopher
  1Cc:

  Subject:Draft agreement for CFPBIRII=assistaoce
                                                                                                                 -
  Adam,,Jordan. a11d Chris•

  Pero ur meeting, attached ptea:se•find a draft ~tatement of work (SOW}for restructuring •asslstaf,t·e sijtvl'f:1es,.Thi3
  SOW 1cove1rs  the 1rangeot actiivities we may do for-yo:uthroughout ti11eproj1ect.,and the inlitijatll.Jlncm,gof$i Yi ;9i5
  cover:s the activities n,ec,es:sary  lo [Provideyou Immediate planningassiistanice, dect•sion support;afl<ito piepafe
  a1ndsicope tlhe rem a iniing actiivit'i1esin th1eco ming phases.

  We are glad to meet ASAPto 1refineth1elanguage If needed ..lf tMs meets :y0u1rneeds, -                  (our ·fina1ndat
  specialist, ,copied here) is 1readytoworkwithyourteam to ex,ecutethe agreement.

  Please review and if this meets your n,eeds,,we can connect our finance team with yours to executethe agreeirnen't,
  Feel free to contact me directly a-               or                    (copied here) ·wrth questions, or j 1ust rr,rpty
  to this email that you are ready to go.

  We look ·forward to wori<ingwith you on this critical in1itrative.

  Thanks,
  Jason

  Jason C. Pa1rman
  DeputyAssociateDirector
  U.S.Office of Personnel Mana,gement
  HR Strategy & EvaluationSOiutions




  OPM.gov



   OPM
   •
                  U.S.Oflia,of
                  Ptn0nnelManagunent




                                                               2
(Page 578 of Total)                                                                                                    JA573
             Case 1:25-cv-00381-ABJ Document 67   Filed 03/07/25 Page 5 of 60
       USCA Case #25-5091    Document #2114200     Filed: 05/05/2025 Page 579 of 637




                      Exhibit JJ




(Page 579 of Total)                                                                JA574
             Case 1:25-cv-00381-ABJ Document 67                    Filed 03/07/25 Page 6 of 60
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 580 of 637



            F111111:
            To:
            Sulljeetl       FW:Requestfor CompAreaException
            Oaite:          Friday,Febnlary14, 20258:28:19 AH


            Thecompetitiveareas"""ere
                                    approved.
            Adam Martinez
            Chief Operating Officer

            From:Peters, Noah
            Sent:Thursday, February 13, 2025 10:12 PM
            To: Lewin, Jere




            Parman, JasonC.
            Subject:RE:Requestfor Comp Area Exception

            Jeremy-OPM has approved the competitive area exceptions.


            From:Lewin, Jeremy
            Sent:Thursday, February 13, 2025 10:10 PM




            Parman,Jason C.
            Subject:Re: Requestfor Comp Area Exception

            +Anthony, who suggested I reach out. We owe Acting Director Vought an update at 10am
            tomorrow-    do we have an ETA on an OPM response?


            Thank you!
            Jeremy


            From: Mahoney,Michael
            Date: Thursday. February 13 1 2025 at 7:17 PM
            To: Martinez, Adam (CFPB)


                                                                                                   I



(Page 580 of Total)                                                                                    JA575
             Case 1:25-cv-00381-ABJ Document 67                        Filed 03/07/25 Page 7 of 60
       USCA Case #25-5091    Document #2114200                          Filed: 05/05/2025 Page 581 of 637


            Subject: RE:Requestfor Comp AreaException

            Thanks


            From:Martinez,Adam(CFPB)
            Sent: Thursday, February 13, 2025 7:1S PM
            To: Mahoney, Michael




            Peters, Noah~
            Subject RE:Request for Comp kea Exception


            Hi Mike - numbers are attached.

            Adam Martinez
            Chief Operating Officer

            From:Mahoney, Michael J
            Sent:Thursday, February 13, 2025 6:31 PM
            To: Martinez, Adam (CFP




            Subject: RE;Request for Comp kea Exception


            Hi Adam,


            Could you put numbers next to the different Cas in your request?

            In other words, I'm assumingthe 1200 will be spread across the CA; can your team break that up and
           assignto eachCA

            Thanks,


            -mike


            from: Martinez,Adam(CFPB)
            Sent: Thursday, February 13, 2025 5:01 PM
            To: Mahoney, Michael




(Page 581 of Total)                                                                                              JA576
             Case 1:25-cv-00381-ABJ Document 67                Filed 03/07/25 Page 8 of 60
       USCA Case #25-5091    Document #2114200                  Filed: 05/05/2025 Page 582 of 637


            Peters,Noah
            Subject:Requesttor comp Area Exception

            HiMichae.1-

            Attached is CFPB's request for an exception to the 90-day rule for competitive areas.

            Piease let me knowif you have any questions or need additional information.

            Tilanky,ou.

            Adam
            Ad.amMartinez
            ChiefOperatingOfficer
               I      ,.   .I,.   t   ial Protection Bureau




(Page 582 of Total)                                                                                 JA577
             Case 1:25-cv-00381-ABJ Document 67                                   Filed 03/07/25 Page 9 of 60
       USCA Case #25-5091    Document #2114200                                     Filed: 05/05/2025 Page 583 of 637




                                 Consumer Fi nancial
                                 Protection B u reau


           1 7 00 G Street N W , Was h i ngto n , D . C . 20552




           Fe bru ary 13, 202 5



           TO:                   Michael J. M a honey, Office of Person nel Ma nagement

           F ROM :               Ada m Martinez, Ch ief Operating Office r/Acting Ch ief Human Ca pita l Officer
                                                                                                            Digitally signed by ADAM
           S U BJ ECT:           Establishment of Competitive Areas ADAM MARTI N EZ MARTINEZ
                                                                                                            D,ite: 2025.02 . 1 3 1 9: l 2:52 ·05'00'

           This m emora n d u m serves as th e Co nsu mer Financial P rotecti o n Bureau's ( C FP B ) re quest for a n
           exception to t h e co m petitive a rea 90-da y ru le. Please fin d t h e C F P B responses below with
           regards to our com petitive a rea s.

                     1. Identification of the proposed competitive area, including the orga nizational
                        segment, geogra phic location, a nd l i m its of the loca l comm uting area;

                         Answer: Bel ow a re t h e d ivis ions, offices and u n its that will be i m med iately
                         i m pa cted by a possible re d u ction-in-fo rce. Ad ditional com petitive a reas w i l l be
                         identified in t h e next ro u n d of d ivisions, offices, a n d/or u n its i n c l u d i ng the Division
                         of Ope rations, Division of Resea rch M o n itori ng a n d Regu latio ns, and D ivision of
                         Cons u m e r Response .

                             •    Office of t h e D i rector - 1 06 positions
                                      o Legislative Affa i rs - 4 position
                                      o Office of Pol i cy and Strategy - 1 9 positions
                                      o Offi ce of Civ i l Rights - 1 3 positions
                                      o Office of F a i r Lending a n d E q u a l O pport u n ity _ 1 7 pos it i ons
                                      o Office of t h e Directo r - 53 positions
                             •    Divisio n of Exte rnal Affa i rs - 51 positions
                                      o Co m m u n i cations - 1 6 positions
                                      o Exte rna l Affa i rs Division 1 6 positions
                                      o I ntergovernmental Affa i rs - 7 positions
                                      o Private Sector E ngage ment - 5 positions
                                      o P u b l ic E ngagement - 7 pos i tions




          consum e rfi na nce.gov


(Page 583 of Total)                                                                                                                                    JA578
             Case 1:25-cv-00381-ABJ Document 67                                      Filed 03/07/25 Page 10 of 60
       USCA Case #25-5091    Document #2114200                                         Filed: 05/05/2025 Page 584 of 637




                            •    Division of Supervis i on . 528 positions
                                     o S u pe rvi s i on Pol icy and O p e rations - 1 24 positions
                                     o S u pe rvision Exa m i n ations - 6 positions
                                     o Su pervision M i dwest Regi o n . 96 positions
                                     o Su pervision N o rt h east Regio n - 98 positions
                                     o Su p e rvision So u t heast Region - 1 1 o positions
                                     o Su pervision West Region - 94 positions
                            •    Division of E nfo rce ment - 283 positions
                            •    Division of Research - 1 70 positions
                                      o Com p etition a n d I n novatio n - 1 0 positions
                                      o Con su mer Pop u lations - 54 positions
                                      o M a r kets - 42 positions
                                      o Resea rc h - 64 positions
                            •    D ivision of O p e rations - 37 pos itions
                                      o Ope rati o n s Fro nt Office - 1 o positions
                                      o Ch ief Data Office r - 22 positions
                                      o Ad min istrative Operations
                                              • Events Management - 5 positions


                  2. A descri ption of h ow the proposed a rea diffe rs from the one previously
                      esta blished for the same u n it and geogra ph ic a rea;
                      Answe r: N o co m p etitive a reas we re esta b l i shed for the groups a bove. The gro u ps
                      l isted a bove i n c l u d e enti re divisi o n s, offi ce s, a n d/or u n its .

                  3. An orga n izational cha rt of the age n cy s howing the re lationsh i p between the
                      orga nizationa l com po nents with i n the competitive a rea and other com ponents in
                      the commuting a rea;
                      Answer: O rga nizat i o n a l chart atta ched.

                  4. The n umbe r of competing employees i n the proposed competitive area; Answer:

                      Approximately 1175 positions

                  5. A descri ptio n of the operation, wo rk fu nction, staff, a n d pe rsonnel ad min istration
                      of the proposed a rea a nd, where appropriate, a descri ption of how the a rea is
                      d isti ngu ished from others in these respects; a nd




           cons u m erfi nance. gov                                                                                  2


(Page 584 of Total)                                                                                                      JA579
             Case 1:25-cv-00381-ABJ Document 67                            Filed 03/07/25 Page 11 of 60
       USCA Case #25-5091    Document #2114200                               Filed: 05/05/2025 Page 585 of 637




                      Answer: Al l fu nctions a re u n i q u e to the specific division, office a nd/or u n it and
                      su p po rt t h at u n it' s m i ssio n .


                  6. A discussion of the circumstances that led to the proposed changes less than 90
                       days before a proposed reduction .

                      Answer: The C F P B is res p o n d i n g to Executive Ord e r l m plementing_The. President's
                      " Department o(G ove r n m e n t Efflciency"_Workfo rce_ O p t i m izatio n_ l n itia t i ve - The
                      Wh ite _H o u se dated Febru a ry 1 1, 2 02 5 a n d t h e CFPB Acti ng Di recto r' s work sto ppage
                      o rde r d ated Feb ruary 10, 202 5 .




           cons umerfi na nce. g ov                                                                                         3


(Page 585 of Total)                                                                                                             JA580
             Case 1:25-cv-00381-ABJ Document 67   Filed 03/07/25 Page 12 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 586 of 637




                      Exhibit KK




(Page 586 of Total)                                                                 JA581
             Case 1:25-cv-00381-ABJ Document 67                   Filed 03/07/25 Page 13 of 60
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 587 of 637



  From:                           Martinez,Adam(CFPB)
  Sent:                           Friday,February 14, 2025 12:38 PM
  To:
  Subjed:                         FW:Status


   FYSA

  Adam Martinez
  Chief Operating Officer

  From: Martinez,Adam (CFPB)
  Sent: Friday,February 14, 2025 12:34 PM
  To: You~. Christopher(CFPB)                                  Lewin, Jeremy                      Wick,Jordon
  (CFPB)
  Cc:Paoletta,Mark (CFPB)
  Subject:Status

  Good afternoon -

   My team and I had a productive conversation with 0PM this morning to work out any identified risks
   and answer follow-up questions regarding today's actions and notifications to staff. OPM shared that
  typically during the 30-day notice, employees work during this time to transfer any duties. Mark P.
  just happened to call me, and I was able to ask for clarification and expectations for the first phase of
   notifications.

  We are going to place all staff on administrati,re leave for the 30-day notice period. This will provide
  the flexibilityfor our new leadership team to call back staff to fulfill c1oseoutduties such as
  enforcement cases. If there are pockets of staff who we later determine do not need to be called back,
  we can immediately offboard them (i.e., terminate access) for the duration of the notice period.

  I will provide you all notice right before the letters go out, along with the final numbers. This will all
  be done this afternoon.

  Adam
  Adam Martinez
  ChiefOperatingOfficer




                                                          1
(Page 587 of Total)                                                                                     JA582
             Case 1:25-cv-00381-ABJ Document 67   Filed 03/07/25 Page 14 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 588 of 637




                      Exhibit LL




(Page 588 of Total)                                                                 JA583
                Case 1:25-cv-00381-ABJ Document 67                             Filed 03/07/25 Page 15 of 60
          USCA Case #25-5091    Document #2114200                                Filed: 05/05/2025 Page 589 of 637



   From:                                Ma-tinez,Adam (CFPB)
   Sent:                                Friday,February14,2025 1:39 PM
   To:
   Cc
   W>ject:                              RE:HeadsUp Re:Timing of Notices


   Thanks.

   Adam Martinez
   Chief Operating Officer

  From:
  Sent: Friday,February14, 2025 1:36 PM
  To: Martinez, Adam (CFPB)
  Cc:--
  Subject:HeadsUp Re:Timing of Notices

  Hi Adam,

  Wanted to make sure you were aware there is a hearing for a temporary restraining order or preliminary Injunction
  related to today's activities scheduledfor 2pm today. While we will continue preparing, It's just a consideration when
  deciding when to send out the notices.

   httQs:Llwww.gue_tawessler.com[we_-content[u.12,loads[202SL02/1_ROMemorandum.Qdf




  -
  consumerfinance.gov

  ConfidentialityNotice: If you received this email by mistake, you should notifythe sender of the mistake and delete the e-mail and any
  attachments. An inadvertent disclosure is not intended to waive any privileges.




                                                                     1
(Page 589 of Total)                                                                                                               JA584
             Case 1:25-cv-00381-ABJ Document 67   Filed 03/07/25 Page 16 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 590 of 637




                 Exhibit MM




(Page 590 of Total)                                                                 JA585
             Case 1:25-cv-00381-ABJ Document 67                            Filed 03/07/25 Page 17 of 60
       USCA Case #25-5091    Document #2114200                               Filed: 05/05/2025 Page 591 of 637



            From:
            To:
            Cc
            Subject:
            Date:             Friday,February
                                            14, 2025 1:44:00PM
            Attachments:      .mage001P09
                              .inage002,pog
                                        IemQlatunso
                               ~ Exceotjpn
            I111pon:ance:     High


            Thanks for everything you're doing, but we need the last set of attachments now. We cannot wait
            until COB. We also need an answer on the attached question about the guidance. Apologies, but we
            have been instructed we do not have until COB.




            Confidentiality Notice: If )OU receivedthis email by mistake,you should notifytbeseoderofthe mistakeand delete
            the e-mail and any attachments. An inadvertent disdosure is not intended to waive any prh,ileges.


            From:
            Sent:Friday, February 14, 2025 11:36 AM
                                                                              ; Parman, Jason C.




            Subject:RE: Exception Template

            Good morning,


            The following documents have been attached.
           1. MSPB Appeal Information
           2. OPM Retention Regulations
           3. Severance Pay Estimate Worksheet
           4. Unemployment Insurance
           5. CTAP, ICTAPand Reemployment Priority List (RPL}Program Information


            We are working to provide an example fa the following and will as soon ascomplete.
           1. Authorization for Release of Employment Information
           2. Acknowledgement of Receipt
           3. State Workforce Programs




(Page 591 of Total)                                                                                                          JA586
             Case 1:25-cv-00381-ABJ Document 67                                 Filed 03/07/25 Page 18 of 60
       USCA Case #25-5091    Document #2114200                                    Filed: 05/05/2025 Page 592 of 637




            ---
            Vo:y Respectfully,




            ~
            OPM
            •
                                 US.Officeof
                                 Personnel
                                        Management

            Follow us on 1in~ln I~             IYou.Tube




            Subject:RE: Exception Template



            I   Some people wro received this messagedon-t often get email from
                •.mQQ[t:~111

            10am would be great. Thank you.




            ~QD.S.Ym~rfinan~.e.,.gQv

            Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and deete
            the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.


            From:
            Sent: Friday, February 14, 2025 8:31 AM
           To:




            Subject:RE:Exception Template


            Good morning,

            Yes,please let us know the time and we will clear our schedules and establish a team meeting.




(Page 592 of Total)                                                                                                                JA587
                                           -----------------------------·-----·--
             Case 1:25-cv-00381-ABJ Document 67                                     Filed 03/07/25 Page 19 of 60
       USCA Case #25-5091    Document #2114200                                        Filed: 05/05/2025 Page 593 of 637




            ---
            VeryRespectf\.Aly,




            OPM
            •
                             US.Officeof
                             Per~mel Management

                                I~
            Followus on 1.inke.d.ln          IYQuTube


            From:
            Sent: Friday, February 14, 2025 8:26 AM




            Subject: RE: Exception Template




            I   Somepeoplewho receivedthismessagedon't often get emailfrom
                f.DllQ!tan1
                                                                                                              Learnwhy •h1<,s

            Thank you, we appreciate it. We are about to meet internally but will very likely still have questions
            where we'll need your expertise for the Notices deliverables. Does any of the team have availability
            to meet to talk through the questions for 30 mins today?




            Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
            the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.


            From:Parman, Jason
            Sent:Friday, February 14, 2025 8:19 AM




            -
(Page 593 of Total)                                                                                                                 JA588
             Case 1:25-cv-00381-ABJ Document 67                                Filed 03/07/25 Page 20 of 60
       USCA Case #25-5091    Document #2114200                                   Filed: 05/05/2025 Page 594 of 637


            Yes, we can help with this. We wil get to work on scrubbing and packaging these and sending them to
            you.

            Jason


            from:
            Sent: Friday, February 14, 2025 6:48 AM




            I   Somepeoplewt,o:eceived
                                     thismessage
                                               don'toftengetemailfro~




            ·-
                   ~>orta nt
                1r11




            Do you have copies of the seven attachments referenced in the template?


           1. Acknowledgement of Receipt
           2. MSPBAppeal Information
           3. OPM Retention Regulations
           4. Severance Pay Estimate
           5. Unemployment Insurance and State Workforce Programs
           6. Authorization for Release of Employment Information
           7. CTAP,ICTAPand Reemployment Priority List {RPL)Program Information

            Although we'll be doing the severance pay estimate, a sample format would be helpful given our
            timeframes to send these out.




           -Much appreciated.




            ~Qo~umerfinance.gov

            Confidentiality Notice: If you received this email by mistake, you shou1dnotify the sender of the mistake and delete
            the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.


            From:
            Sent: Thursday, February 13, 2025 7:53 PM
            To;Martinez, Adam {CFPB)                                         1111

(Page 594 of Total)                                                                                                                JA589
             Case 1:25-cv-00381-ABJ Document 67                           Filed 03/07/25 Page 21 of 60
       USCA Case #25-5091    Document #2114200                              Filed: 05/05/2025 Page 595 of 637




            Subject: RE: Exception Template


            Greetings,

            Attached are templates of Reduction in Force notifications with and without Severance Pay. Please
            be mindful that this is a to be used as a guide for developing your internal RIFnotice for issuance.
            When developing your agency's RIFnotices, the team should develop standard language when
            appropriate (e.g., all notices should contain the same language on the reasons for the RIF}. It is
            recommended that you and your team have agency management, and the agency's legal staff,
            approve the notices. Finally, the team should designate staff to review and proofread each notice for
            any errors in content, format, and spelling before issuing.



            Very Respectfully,




            OPM                  US.Officeof
                                 l'ef5omel Management

            Followus on 1.inkedlnI .Iwi.tterIYQ.UTube



            From:Martinez, Adam (CFPB)
            Sent: Thursday, February 13, 2025 6:17 PM




            Subject:RE:Exception Template

            'Thankyou,-.        I'll have this over shortly. I emailed Jason separately, but who can
            we get a copy of the furlough letter/template from?

            Adam Martinez
            Chief Operating Officer

            From:-
            Sent: Thursday, February 13, 2025 5:29 PM
            To: Martinez, Adam (CFPB)




(Page 595 of Total)                                                                                                 JA590
             Case 1:25-cv-00381-ABJ Document 67                        Filed 03/07/25 Page 22 of 60
       USCA Case #25-5091    Document #2114200                           Filed: 05/05/2025 Page 596 of 637


            Subiect:ExceptionTemplate

            Good afternoon, Adam,

            N. requ~ted, the template for the exception to the 60-day notification is attached.
            I will send a separate email to schedule next week's meeting.


            Pleaseprovide~mail              address to include in future emails.

            Thankyou,



           -
            U.S. Officeof Per$omelManagement
            HRSolutions/FederalClassificationCenter




                             I ~formerlytwil.t.e.tllX521.(Tube
            Folowus on Unkedtn




(Page 596 of Total)                                                                                      JA591
             Case 1:25-cv-00381-ABJ Document 67   Filed 03/07/25 Page 23 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 597 of 637




                      Exhibit NN




(Page 597 of Total)                                                                 JA592
             Case 1:25-cv-00381-ABJ Document 67                            Filed 03/07/25 Page 24 of 60
       USCA Case #25-5091    Document #2114200                               Filed: 05/05/2025 Page 598 of 637



            ff'om:
            To:
            Cc:
            Subject;           a e         pu
            Date:             Friday,Februa,y14, 20252:27:41 ~
            Attadlmeitts:                          H PBAEI130QPf1.l!I~
                              L5.2LflIJlkl&s.2025·02·
                                         jj~ rt §§liM'.itioQS,?1~
                              Co[)$QIKl,)ted
                                  c.amo
                              CEJ'8  areaBeooes04

            Hi you all. The first attachment is the list. The second list contains what I think is a consolidated list
            of all the separations. Make sure the people on the second attachment aren't on the first
            attachment.

            Also, see the PDF.Make sure everyone in the orgs identified in the PDFare on the file.

            After this is done we need to verify that the fields in the forms are correct but first validate the
            population and get back to me ASAP.

            If you find issues, please email me. We do not want to bother ■ right now with this stuff. He is
            headsdown programming.




(Page 598 of Total)                                                                                                      JA593
             Case 1:25-cv-00381-ABJ Document 67   Filed 03/07/25 Page 25 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 599 of 637




                      Exhibit OO




(Page 599 of Total)                                                                 JA594
                Case 1:25-cv-00381-ABJ Document 67                   Filed 03/07/25 Page 26 of 60
          USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 600 of 637



  From:                             Martinez,Adam {CFPB)
  Sent:                             Friday,February14,2025 3:25 PM
  To:
  Subject                           FW:Requestfor Exceptionto 60 day notice
  Attachments:                         exception
                                    CFPB       to 90CA ruleSIGNED
                                                                2-14-2025,pdf;CFPBexceptn to the 60 day
                                    notice period SIGNED2-14-2025.pdf

  Follow Up Flag:                   Follow up
  Flag Status:                      Flagged



  For the file. Thanks.
  Adam Martinez
  Chief Operating Officer

  from: Mahoney, Michael J
  Sent: Friday, February 14, 2025 3:07 PM
  To: Martinez, Adam (CFPB)
  Cc:Young,Christopher (CFPB)
                                    Parman, Jason C.
  Subject: RE: Request for Exception to 60 day notice

  Aaam,

  Attached are the signed letters

  -mike


  From:Martinez,Adam (CfPB)
  Sent: Thursday, February 13, 2025 7:48 PM
  To: Peters, No
                                                                                                 Wick, Jordon



  Subject: RE: Request for Exception to 60 day notice

  Thank you, Noah.

  Adam Martinez
  Chief Operating Officer

  From:Peters,Noa
  Sent: Thursday,February             •
  To: Martinez A am                                      Internet, WPI Employ
                                                                 Lewin, Jeremy



  Subject: RE:Requestfor Exceptionto 60 day notice
(Page 600 of Total)                                                                                    JA595
                Case 1:25-cv-00381-ABJ Document 67           Filed 03/07/25 Page 27 of 60
          USCA Case #25-5091    Document #2114200              Filed: 05/05/2025 Page 601 of 637

  Approved.

  Best,

  Noah Peters
  Senior Advisor to the Director
  U.S. Officeof PersonnelManagement
  1900 E Street, N.W. Washin ton, D.C. 20415




  From:Martinez, Adam (CFPB)
  Sent:Thursday,February13, 2025 7:30 PM
  To: Internet, WPI Employ
  Cc: Young,Christopher(CFPS)                                                               Wick,Jordon
  (CFPB)
                                   Noa
  Subiect:Requestfor Exceptionto 60 day notice

  Good evening.

  Attached is a request for the 60-day notice exception for RlF notification.

  Please let me know if you have any questions or need additional information. Thank you.

  Adam

  Adam Martinez
  Chief Operating Officer




                                                     2
(Page 601 of Total)                                                                              JA596
             Case 1:25-cv-00381-ABJ Document 67                     Filed 03/07/25 Page 28 of 60
       USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 602 of 637



                            UNITED STATES OFFICE OF PERSONNEL MANAGEMENT
                                                  Washington,
                                                           OC 20411


                                                  f ebruary14,2025

           Mr. Adam Martinez
           Chief Operating Officer/ Acting Chief Human Capital Officer
           Consumer Financial Protection Bureau
           17000 St NW
           Washington, DC 20552

           Dear Mr. Martinez:

           The Office of Personnel Management (OPM) approves, wilh one exception, the Consumer
           Financial Protection Bureau's (CFPB) February 13, 2025, request for OPM approval of an
           exception to the 60-day notice period provided given to employees selected for release through a
           reduction io force (RIF). Your request indicates that a RTFis necessary due to the impact of the
           Executive Order (EO) titled, "'Implementing The President's "Department of Government
           Efficiency" Workforce Optimization Initiative" (February l l, 2025), and the CFPB Acting
           Director's work stoppage crder dated February 10, 2025.

           OPM approves your request in accordance with 5 CfR 351.801 (b). Under this provision OPM
           may approve a notice period of less than 60 days when a RIF is caused by unforeseeable
           circumstances. lhe minimum notice period must cover at least 30 tull days. In accordance with
           the EO CFPB must act quickly to conduct a RlF of employees in the divisions. offices, and units,
           mentioned in your request, with one exception:this approval does not include the 'Office of the
           Director/Office of Civil Rights - 13 positions' indicated in your request. In a In a February l4,
           2025, meeting with OPM staff Cf'PB clarified this competitive area should be removed from the
           request. The urgency with which CFPB must comply with the EO makes the standard 60-day
           notice period impracticable. OPM is approving a notice period of 30-days f<r employees in the
           entities in your request except the Office of the Director/Office of Civil Rights.

           Please contact              hy email at                         or phone at               should
           youor staff have any questions with this respons~.

                                                       Sincerely,



                                                         Yu,,~~
                                                        Veronica E. Hinton
                                                        Associate Director
                                                        Workforce Policy and Innovation




(Page 602 of Total)                                                                                            JA597
             Case 1:25-cv-00381-ABJ Document 67   Filed 03/07/25 Page 29 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 603 of 637




                      Exhibit PP




(Page 603 of Total)                                                                 JA598
               Case 1:25-cv-00381-ABJ Document 67                 Filed 03/07/25 Page 30 of 60
         USCA Case #25-5091    Document #2114200                    Filed: 05/05/2025 Page 604 of 637



  From:                          Martinez, Adam (Cf PB)
  Sent                           Friday,February14, 202S4:57 PM
  To:
  Cc:
  Subject:


  Yes. I'm dual ha:.ttedright now with Ops and OHC. 1 ""illbe on the R1Flist but in the next group.
  Adam Martinez
  ChiefOperatingOfficer

  From:111111111111111
  Sent:~56PM
  To: Martinez, Adam (CFPB)
                                                                                                 ;-



  HiAdam,

  Youshow up on the RIFreport becauseyou arein the Director'sFront Office.Areyou the only exception?




  Consumer Financial Protection Bureau
  .consumerfinance.gov




                                                         1
(Page 604 of Total)                                                                                    JA599
             Case 1:25-cv-00381-ABJ Document 67   Filed 03/07/25 Page 31 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 605 of 637




                      Exhibit QQ




(Page 605 of Total)                                                                 JA600
               Case 1:25-cv-00381-ABJ Document 67                      Filed 03/07/25 Page 32 of 60
         USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025 Page 606 of 637



   From:
   Sent
   To:



   Cc:
   Subject:                         coding for separation actions


   Hi you all. Here's the proposed coding for the separation actions. Canyou please review and approve for me?

  I used auth ZLM for all three since Adam said he wanted agency cites. I could be wrong but I thought we used ZLM when
  we did Agency cites. PARremark code M499 just means the remarks are custom. The action & action reason may not be
  perfect for the situation but this information doesn't go anyway. It stays in HRCand is mostly used for reporting
  purposes.

 ~ Can you all use the action reason to determine which actions need to be changed to a NOA 330 and
  which need to be changed to a NOA 285? The RIFswill be loaded via MPI. For Tuesday,you will only have the NOA 330
  and 385.

           we will need to key these over the weekend so they are there Tuesday morning.
   Type of            NOA Auth            Par Remark     PARRemark Content      Effect Dt      Action 1    Action
   Separation                 Code        Nbr                                                              Reason1
   Term               330     ZLM         M499          EOentitled              2/13/2025      TER         Staff
   Appointments                                         "Implementing the                                  Reduction
                                                        President's "Dept of
                                                        Govt Efficiency"
                                                        Workforce
                                                        Optimization
                                                        Initiative" dtd
                                                        2/11/2025 and the
                                                        stop work email from
                                                        RussVought entitled
                                                        "Additional Directives
                                                        on Bureau Activities"
                                                        dtd 2/10/2025.
                                                         LUMP-SUM
                                                         PAYMENT TO BE
                                                         MADE FOR ANY
                                                         UNUSED
                                                         ANNUAL LEAVE
   Probation          385     ZLM        M499            EOentitled              2/11/2205     TER2        opp2
                                                         "Implementing the
                                                         President's "Dept of
                                                         Govt Efficiency"
                                                         Workforce
                                                         Optimization
                                                         Initiative" dtd
                                                         2/11/2025 and the

                                                            1
(Page 606 of Total)                                                                                               JA601
                   Case 1:25-cv-00381-ABJ Document 67                  Filed 03/07/25 Page 33 of 60
             USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 607 of 637
                                                           stop work email from
                                                           RussVought entitled
                                                           "Additional Directives
                                                           on Bureau Activities"
                                                           dtd 2/10/2025.
                                                           LUMP-SUM
                                                           PAYMENT TO BE
                                                           MADE FOR ANY
                                                           UNUSED
                                                           ANNUAL LEAVE
       RIF              356    ZLM         M44             EOentitled               TBD           TER1         Staff
                                                           "Implementing the                                   Reduction
                                                           President's "Dept of
                                                           Govt Efficiency"
                                                           Workforce
                                                           0 ptim izatio n
                                                           Initiative" dtd
                                                           2/11/2025 and the
                                                           stop work email from
                                                           RussVought entitled
                                                           "Additional Directives
                                                           on Bureau Activities"
                                                           dtd 2/10/2025.
                                                           LUMP-SUM
                                                           PAYMENT TO BE
                                                           MADE FOR ANY
                                                           UNUSED
                                                           ANNUAL LEA VE

   1
     This information is only in HRConnect. It doesn't display on the SF-SO,go to NFCor go to OPM. The field is used mostly
   for reporting.
   2 Ter = Termination; OPP= Probation/Trial Period




                                                               2
(Page 607 of Total)                                                                                                  JA602
             Case 1:25-cv-00381-ABJ Document 67   Filed 03/07/25 Page 34 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 608 of 637




                      Exhibit RR




(Page 608 of Total)                                                                 JA603
             Case 1:25-cv-00381-ABJ Document 67                  Filed 03/07/25 Page 35 of 60
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 609 of 637

        From:
      Subject: Return to research next steps
         Date: February 28, 2025 at 12:03 PM
           To:




             Hello all,

             ORFO just met to discuss next steps regarding yesterday’s new guidance that we should
             resume non-public statutory research work.

             Our first step is trying to figure what we can and can’t do in terms of systems access and
             data access. I have not been able to access certain systems, and I don’t believe we have
             an accurate list of what data contracts remain and how it may limit statutory research.

             So could you all please log on and send me the answers to the following questions:

                 1. Can you access all of the technical systems, including the Research Environment,
                    in the ways you normally used to do to fulfill research activities.
                 2. Can you access all of the data that you used to in order to fulfill research activities.
                 3. For those of you who are CORs/ACORs, can you report back what data contracts
                    have been cancelled.
                 4. What conferences have you been accepted to that you are waiting for guidance on
                    whether you can attend? ORFO knows about Boulder, and the Round Robin.

             Additionally, we will be seeking guidance on how to properly code timesheets.

             All Best,


             -



(Page 609 of Total)                                                                                       JA604
             Case 1:25-cv-00381-ABJ Document 67   Filed 03/07/25 Page 36 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 610 of 637




                      Exhibit SS




(Page 610 of Total)                                                                 JA605
              Case 1:25-cv-00381-ABJ Document 67                             Filed 03/07/25 Page 37 of 60
        USCA Case #25-5091    Document #2114200                                Filed: 05/05/2025 Page 611 of 637




    From:Olstad, Per (CFPB)----
    Sent:Wednesday, March~
    To:_DL_CFPB_RMR_CP _All
    Subject: Fw: Confirming requ



    Hi all - see below re: usually required compliance trainings and deadlines ...



    Thanks,
    Per




    From:Sacco, Matthew (CFPB)
    Sent:Tuesday, March 4, 2025
    To: Olstad, Per (CFPB).
    Cc: Sacco, Matthew (C                                            FPB_Leam
    Subject: RE: Confirming requirements re: ma                     g



    Per-

            Hello, I hope that you are well. Thank you for your timely question. I'll also apologize on our collective behalf
    about any system-generated reminder emails that went out to many today ( and a few weeks ago). That was not intended,
    andwe are acting on that piece as well.



           We have extended the former March 17 due date, and have an updated News Article posted on Beam
    Announcements - FY25 Mandatory Training deadline extended until further notice



             Our current Mandatory Compliance Training (MCT) is now extended. The deadline has been postponed until
    further notice, and applies to all assigned courses in both the Know8e4 system, and the Cf PB Leaming Management
    System.



           Unless otherwise advised by Cf PB Leadership, completing these courses is not authorized work during current
    paused work status.



            If status and direction on this change, we'll provide more and updated communications, however until then
    working on these MCT courses is not authorized work.



              I hope that this helps. If you have any further questions on this, please feel free to contact me directly at
                                  or the team via
(Page 611 of Total)                                                                                                           JA606
                 Case 1:25-cv-00381-ABJ Document 67                        Filed 03/07/25 Page 38 of 60
           USCA Case #25-5091    Document #2114200                           Filed: 05/05/2025 Page 612 of 637
    Take care,

    Matt

    Matt Sacco

    Talent Development Manager

    Office of Human Capital

    Consumer Financial Protection Bureau

    Tel:

    Mob:



    www.consumerfinance.gov




    From:Olstad, Per {CFPB)IIIIIIIIIIIIIII
    Sent Tuesday, March 4, ~
    To: CFPB Leamlllllllllllllll
    Subject:Confirm~                       atory training
    Importance: High



    Hi - On Feb 21, re: mandatory trainings, there was a directive (on Beam) to "not take these training courses" and that the
    March 17 deadline would be extended. Can you advise whether staff should resume taking the trainings and if there is a
    new deadline?



    Thank you,
    Per



    Per Olstad

    Acting Deputy Assistant Director & Senior Advisor

    Office of Consumer Populations

    Division of Research, Monitoring, and Regulations

    Consumer Financial Protection Bureau




   -www.consumerfinance.gov




    Confidentiality Notice: If you received this email by rristake, you should notify the sender of the mistake and delete the
    email and any attachments. An inadvertent disclosure is not intended to waive any privileges.
(Page 612 of Total)                                                                                                         JA607
             Case 1:25-cv-00381-ABJ Document 67   Filed 03/07/25 Page 39 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 613 of 637




                      Exhibit TT




(Page 613 of Total)                                                                 JA608
               Case 1:25-cv-00381-ABJ Document
3/7/25, 12:14 AM                                      67 requirements
                                        Mandatory training  Filed 03/07/25          Page 40 of 60
                                                                      remain suspended
         USCA Case #25-5091    Document #2114200               Filed: 05/05/2025        Page 614 of 637




                                                 Please ignore any reminders.




        As previously announced, CFPB staff are not authorized to undertake annual
        mandatory training at this time. Please ignore any reminders generated
        automatically by the training platforms. We have communicated any exceptions
        directly to individuals who do have requirements.

        The CFPB will revisit mandatory training later in the fiscal year. Please direct
        questions to                        .




       Page Properties

        Owning Team
            Human Capital

        Topic
            Training




(Page 614 of Total)                                                                                      JA609
https://bcfp365.sharepoint.com/sites/beam/SitePages/Annual-training-requirements-remain-suspended.aspx       1/2
             Case 1:25-cv-00381-ABJ Document 67   Filed 03/07/25 Page 41 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 615 of 637




                      Exhibit UU




(Page 615 of Total)                                                                 JA610
             Case 1:25-cv-00381-ABJ Document 67                   Filed 03/07/25 Page 42 of 60
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 616 of 637




           From: Huggins, Cassandra (CFPB)
           Sent: Wednesday, March 5, 2025 10:01 AM
           To: _DL_CFPB_Examiners Midwest
           _DL_CFPB_NE_Region_Directory                                          ;
           _DL_CFPB_Supervision Policy                           ; _DL_CFPB_Examiners
           SE                                     ; _DL_CFPB_Examiners West

           Cc: Hagins, Calvin (CFPB)
           Subject: optional template and instructions for submitting reports on exam activity (report
           due COB 3/10)

           Regions/OSP-

           As you are likely aware, CLO Mark Paoletta has requested each member of Supervision
           to provide him with information on the exams they are currently working on. You are
           authorized to work on this assignment.

           Attached is a template that you may use to put together your response- it includes places
           to fill in all of the information that he requested. I’ve included rationale for why an event
           was scheduled, in case you aren’t sure what to put in response to that request. You can
           copy/paste to represent as many open events of each type that you need, and may
           delete any event types that you are not currently assigned to work on.

           As a reminder, this report is due COB Monday March 10. You may submit your report
           directly to Mark Paoletta, with a cc to your manager. If your manager has left the Bureau
           and you haven’t been assigned a new manager, please cc the next supervisor up in the
           management chain.

           If you are a manager who oversees others who work on exams, you may respond to the
           request with all open supervisory events that you are overseeing.

           If you are in any other role that does not actively work on individual exams (for example,
           regional analyst), please hold on submitting anything until I receive clarification from
           leadership on their expectations for staff in those roles.

           Thanks for your assistance with this request.

           Cassandra Huggins
           Principal Deputy Assistant Director | Supervision Policy & Operations



           Consumer Financial Protection Bureau

(Page 616 of Total)                                                                                   JA611
             Case 1:25-cv-00381-ABJ Document 67                          Filed 03/07/25 Page 43 of 60
       USCA Case #25-5091    Document #2114200                             Filed: 05/05/2025 Page 617 of 637
           Consumer Financial Protection Bureau
           consumerfinance.gov



           Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and
           delete the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.




               optional
            template.docx




(Page 617 of Total)                                                                                                         JA612
             Case 1:25-cv-00381-ABJ Document 67   Filed 03/07/25 Page 44 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 618 of 637




                      Exhibit VV




(Page 618 of Total)                                                                 JA613
             Case 1:25-cv-00381-ABJ Document 67                      Filed 03/07/25 Page 45 of 60
       USCA Case #25-5091    Document #2114200                         Filed: 05/05/2025 Page 619 of 637




          From: Huggins, Cassandra (CFPB)
          Sent: Wednesday, March 5, 2025 5:11:00 PM
          To:
          Subject: Re: optional template and instructions for submitting reports on exam activity (report due
          COB 3/10)

          -        the only item you raise that you need to be concerned with for the purposes of your
          repo1i 1s the repo1iing of approximate time spent on the exam. I would recommend you put
          your best guess as to the amount of time you spent working on each exam until the work
          stoppage in 2/10. I am not asking what they plan to do with the info1mation.

          From:
          Sent: Wednesday, March 5, 2025 5:05:26 PM
          To: Huggins, Cassandra (CFPB)                                 >
          Subject: FW: optional template and instructions for submitting reports on exam activity (report due
          COB 3/10)

          Casey,


          Please see below, particularly my 3:11pm message to Chris. There are a lot of unknows here, and I'd
          like to know if anyone has asked Mark (or others) for clarification. I am particularly concerned with
          the time allocated calculations and questions pertaining to how all of these submissions will be used.


          Thanks,




          -
          From:
          Sent: Wednesday, March 5, 2025 3:24 PM
          To: Young, Christopher (CFPB)




          Subject: RE:optional template and instructions for submitting reports on exam activity (report due
          COB 3/10)


          Chris,


          Thank you so much for sharing this information. It is helpful to know that Casey is preparing a report.


(Page 619 of Total)                                                                                                 JA614
             Case 1:25-cv-00381-ABJ Document 67                              Filed 03/07/25 Page 46 of 60
       USCA Case #25-5091    Document #2114200                                 Filed: 05/05/2025 Page 620 of 637

          However, that information alone is not specific enough to address my questions. As such, they still
          stand.

          Thanks,



          -
          From: Young, Christopher (CFPB)
          Sent: Wednesday, March 5, 2025 3:18 PM
          To:



          Subject: RE: optional template and instructions for submitting reports on exam activity (report due
          COB 3/10)


          Clarification—Casey is preparing a report addressing much of the information requested.

          Our job is to prepare reports including a written summary of the specific matters they are
          working on, with the name of the entity being examined, how the matter was commenced
          and approximately how many hours they have spent on the matter.  



          Christopher J Young
          Deputy Assistant Director, Supervision Division


          Consumer Financial Protection Bureau
          consumerfinance.gov

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the email and any attachments. An inadvertent disclosure is not intended to waive any privileges.


          From: Young, Christopher (CFPB)
          Sent: Wednesday, March 5, 2025 3:16 PM
          To:



          Subject: RE: optional template and instructions for submitting reports on exam activity (report due
          COB 3/10)



          -
(Page 620 of Total)                                                                                                               JA615
             Case 1:25-cv-00381-ABJ Document 67                              Filed 03/07/25 Page 47 of 60
       USCA Case #25-5091    Document #2114200                                 Filed: 05/05/2025 Page 621 of 637

          Casey is preparing a report asking for much of this information. We are focused on preparing a
          report that addresses the following request --

          “Additionally, please notify every employee in your division to provide to me a written
          summary of the specific matters they are working on, with the name of the entity being
          examined, how the matter was commenced and approximately how many hours they
          have spent on the matter.  

          Please submit your report and direct every employee in your division to submit their response
          to me by COB Monday, March 10th.”



          Christopher J Young
          Deputy Assistant Director, Supervision Division


          Consumer Financial Protection Bureau
          consumerfinance.gov

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the email and any attachments. An inadvertent disclosure is not intended to waive any privileges.


          From:
          Sent: Wednesday, March 5, 2025 3:11 PM
          To: Young, Christopher (CFPB)




          Subject: RE: optional template and instructions for submitting reports on exam activity (report due
          COB 3/10)

          Chris,

          Thank you so much for this clarification. Ahead of our team meeting this afternoon, I have a few
          questions:

              1. Mark’s request to capture time spent – In our conversation earlier, you requested exam start
                 dates or similar information to use as part of a determination of how much time team
                 members spent on each exam. I want you to know that I’m looking to you for the most
                 appropriate language to capture this information. I also have concerns:
                    a. What is Supervision doing to ensure the time spent calculations are based on the same
                       methodology? For example because, unlike a law firm, we don’t report our time as
                       “billable hours” every 15 minutes by case. As a result of how we DO report our time,
                       different teams could come up with vastly different totals if they’re using different

(Page 621 of Total)                                                                                                               JA616
             Case 1:25-cv-00381-ABJ Document 67                              Filed 03/07/25 Page 48 of 60
       USCA Case #25-5091    Document #2114200                                 Filed: 05/05/2025 Page 622 of 637

                         methods to calculate this information.
                     b. Do we know how they’re planning to use this information? If not, has anyone inquired?
              2. Mark’s request for lead examiner and lead attorney - Mark’s email also requested the
                 following: “name of the lead CFPB examiner on each matter, and the contact information for
                 the lead attorney for the company under examination.” This is not captured in Casey’s
                 template. It evidences a lack of understanding of our work and a lack of familiarity with our
                 structure.
                     a. Has anyone requested clarification on which role(s) are appropriate to list for the
                         “name of the lead CFPB examiner?” Would this be the FM, EIC, RD, OSP POC(s) [for our
                         team, analyst AND attorney], and/or Deputy Assistant Director?
                     b. Has anyone requested whether the “contact information for the lead attorney for the
                         company under examination” is requesting the entity’s contact information (e.g., CCO’s
                         name and number) or is it instead a request for our internal/lead CFPB attorney’s
                         contact information?
                      c. Do we know how they’re planning to use this information? If not, has anyone inquired?
              3. Other items
                     a. High-level information about exam scope seems useful here. I’d like to include it. We
                         can discuss more in our meeting.
                     b. I have follow-up questions regarding the individual responses. We can also discuss
                         more in our meeting.

          Thanks,



          -
          From: Young, Christopher (CFPB)
          Sent: Wednesday, March 5, 2025 1:50 PM
          To:
          Subject: RE: optional template and instructions for submitting reports on exam activity (report due
          COB 3/10)


          Thanks
                    -   . And to confirm, I’ll be preparing a report as manager of the Cross-Program
          Team and the Compliance Technology Supervision Program, and each individual team
          member will also prepare their own reports for submission.

          Christopher J Young
          Deputy Assistant Director, Supervision Division


          Consumer Financial Protection Bureau
          consumerfinance.gov

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete



(Page 622 of Total)                                                                                                               JA617
             Case 1:25-cv-00381-ABJ Document 67                              Filed 03/07/25 Page 49 of 60
       USCA Case #25-5091    Document #2114200                                 Filed: 05/05/2025 Page 623 of 637

          the email and any attachments. An inadvertent disclosure is not intended to waive any privileges.


          From:
          Sent: Wednesday, March 5, 2025 1:34 PM
          To: Young, Christopher (CFPB)
          Subject: RE: optional template and instructions for submitting reports on exam activity (report due
          COB 3/10)

          Chris,

          Thank you for reaching out this morning. I’m very happy to assist with fulfilling leadership’s recent
          request.

          Per our discussion:
              • We will prepare the report requested in the 3/4/2025 and 3/5/2025 messages from Mark
                Paoletta and Casey Huggins as it pertains to our team.
              • Include the future planned exams and follow-up events (planned via prioritization process),
                active exams                              consultation activities
              • Include the start date.
              • I’ll produce an initial list before our next meeting this afternoon.
              • Use Word format
          Best,



          -
          From: Young, Christopher (CFPB)
          Sent: Wednesday, March 5, 2025 11:26 AM
          To:
          Subject: Re: optional template and instructions for submitting reports on exam activity (report due
          COB 3/10)



          -        — I will ring you on Teams at 11:45 if that works.

          Christopher J Young
          Deputy Assistant Director for Supervision Policy


          Consumer Financial Protection Bureau
          consumerfinance.gov

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the email and any attachments. An inadvertent disclosure is not intended to waive any privileges.


          From:

(Page 623 of Total)                                                                                                               JA618
             Case 1:25-cv-00381-ABJ Document 67                       Filed 03/07/25 Page 50 of 60
       USCA Case #25-5091    Document #2114200                          Filed: 05/05/2025 Page 624 of 637

          Sent: Wednesday, March 5, 2025 11:22:57 AM
          To: Young, Christopher (CFPB)
          Subject: RE: optional template and instructions for submitting reports on exam activity (report due
          COB 3/10)

          One more heads up on this – I have some existing reports in SES that may streamline the process for
          collecting this information. They are not perfectly aligned to this ask, but they should help.


          From:
          Sent: Wednesday, March 5, 2025 11:07 AM
          To: Young, Christopher (CFPB)
          Subject: Fw: optional template and instructions for submitting reports on exam activity (report due
          COB 3/10)


          I’m awaiting your direction based on Casey’s latest email.

          From: Huggins, Cassandra (CFPB)
          Sent: Wednesday, March 5, 2025 11:00:54 AM
          To: _DL_CFPB_Examiners Midwest
          _DL_CFPB_NE_Region_Directory <                                                 ;
          _DL_CFPB_Supervision Policy <                                ; _DL_CFPB_Examiners SE
          <                                   >; _DL_CFPB_Examiners West
          <                                      >
          Cc: Hagins, Calvin (CFPB) <
          Subject: optional template and instructions for submitting reports on exam activity (report due COB
          3/10)

          Regions/OSP-

          As you are likely aware, CLO Mark Paoletta has requested each member of Supervision to provide
          him with information on the exams they are currently working on. You are authorized to work on
          this assignment.

          Attached is a template that you may use to put together your response- it includes places to fill in all
          of the information that he requested. I’ve included rationale for why an event was scheduled, in case
          you aren’t sure what to put in response to that request. You can copy/paste to represent as many
          open events of each type that you need, and may delete any event types that you are not currently
          assigned to work on.

          As a reminder, this report is due COB Monday March 10. You may submit your report directly to
          Mark Paoletta, with a cc to your manager. If your manager has left the Bureau and you haven’t been
          assigned a new manager, please cc the next supervisor up in the management chain.

          If you are a manager who oversees others who work on exams, you may respond to the request with


(Page 624 of Total)                                                                                                  JA619
             Case 1:25-cv-00381-ABJ Document 67                              Filed 03/07/25 Page 51 of 60
       USCA Case #25-5091    Document #2114200                                 Filed: 05/05/2025 Page 625 of 637

          all open supervisory events that you are overseeing.

          If you are in any other role that does not actively work on individual exams (for example, regional
           analyst), please hold on submitting anything until I receive clarification from leadership on their
          expectations for staff in those roles.

          Thanks for your assistance with this request.

          Cassandra Huggins
          Principal Deputy Assistant Director | Supervision Policy & Operations



          Consumer Financial Protection Bureau
          consumerfinance.gov



          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.




(Page 625 of Total)                                                                                                               JA620
             Case 1:25-cv-00381-ABJ Document 67   Filed 03/07/25 Page 52 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 626 of 637




                Exhibit WW




(Page 626 of Total)                                                                 JA621
             Case 1:25-cv-00381-ABJ Document 67                               Filed 03/07/25 Page 53 of 60
       USCA Case #25-5091    Document #2114200                                  Filed: 05/05/2025 Page 627 of 637




          From:
          Sent: Thursday, March 6, 2025 1:08 PM
          To:
          Cc:




          Subject: Recap of 3.6.25 call on Report for Exam actives due 3.10.25

          Hi
               -       ,

          Just wanted to do a brief recap of what we talked about on our team call from earlier:

               1. After we are done with providing the information for the report Casey requested yesterday
                  we are to go back on Administrative Leave. If there is a conflict, while we are completing the
                  report, that we would normally use leave for, we should check with Work Life to find the
                  appropriate leave category to use at this time.
               2. We had some discussion regarding the CSI, when sending the report to Mark P. and the report
                  should not be sent as an attachment but the report we had prepared in word should be
                  copied and pasted into the body of the email.
               3. Lastly, during the call managers received an email about the status of open events,
                  monitoring and planned events, and you would be reaching out to us individually to get a
                  status on those open events.

          Again just wanted to make sure I had the info correct.




          Examiner
          Consumer Financial Protection Bureau

          Supervision, Enforcement, Fair Lending & Equal Opportunity

          consumerfinance.gov

          Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
          the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.




          This message was secured by ZixCorp©.

(Page 627 of Total)                                                                                                               JA622
             Case 1:25-cv-00381-ABJ Document 67   Filed 03/07/25 Page 54 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 628 of 637




                      Exhibit XX




(Page 628 of Total)                                                                 JA623
             Case 1:25-cv-00381-ABJ Document 67                             Filed 03/07/25 Page 55 of 60
       USCA Case #25-5091    Document #2114200                                Filed: 05/05/2025 Page 629 of 637




          From: McNitt, Bryce (CFPB)
          Sent: Thursday, March 6, 2025 6:17 PM




          Subject: Status of Office of Markets Contracts


          Good Afternoon,


          ~ Markets Procurement Status - Justifications.docx

          Linked above is the last known status of all Office of Markets contracts.


          I have also copied the list into the body of the email below. Some notes:


             •   All contracts except for one have had "Termination For Convenience" (T4C) notifications sent. This
                 means the CFPB intends to cancel the contract, but for most contracts the formal modification
                 cancelling the contract has not been signed.
                    a Staff are not to log into or utilize the resources of any contract where a T4C has been
                       issued (all contracts but Inside Mortgage Finance).
             •   Inside Mortgage Finance is the only contract that was not cancelled.
             •   Bloomberg Terminal has been formally cancelled and a refund is being issued.
             •   A few contracts were cancelled in Q1 FY25, and a couple were new contracts that will not be
                 competed.
             •   Contracts that are either already fully cancelled or that were new and won't be competed are in gray in
                 the attached sheet, we will not be pursuing those.


          For those contracts that where cancellation has been initiated but not formalized, we are beginning a process
          of making a request to restore those contracts we believe to be necessary to carry out our statutorily required
          market monitoring work. We are going to start with simple bullets and iterate the list within RMR.


          In the attached document, if you believe that the data source is essential to maintain our market monitoring
          activities, please place some bulleted justification(s) in the appropriate box below the status.




(Page 629 of Total)                                                                                                         JA624
             Case 1:25-cv-00381-ABJ Document 67                             Filed 03/07/25 Page 56 of 60
       USCA Case #25-5091    Document #2114200                                Filed: 05/05/2025 Page 630 of 637

          We will try to get a preliminary list to Jan & Dan on Monday and iterate from there.

          Please let me know if you have any questions.

          Bryce


          Status Office of Markets Procurements as of 3/6/2025

           Contract Name                Status
           AITE                         Cancellation initiated 2/11. Formal cancellation paused until further notice.

           AURIEMMA                     Cancellation initiated 2/11. Formal cancellation paused until further notice.
           (Cardbeat)
           Auto ABS Data                Cancelled Q1 FY 25.

           CARD MAIL MONITOR            Cancellation initiated 2/11. Formal cancellation paused until further notice.
           REPORTS
           (Competiscan)
           EXPERIAN                     Cancellation initiated 2/11. Formal cancellation paused until further notice.
           VELOCITY/AUTOCOUNT

           CRA Auto-focused data        Unlikely to be competed. (New Contract)
           purchase

           MERCATOR                     Cancellation initiated 2/11. Formal cancellation paused until further notice.
           GROUP/Javelin/Escalent

           MORTGAGE DATA PRICE          Cancellation initiated 2/11. Formal cancellation paused until further notice.
           INDICES (HPI) (Black
           Knight)
           Mortgage Data - GUI          Cancelled Q1 FY 25.

           INSIDE MORTGAGE              Active
           FINANCE

           MOBILE INTELLIGENCE          Cancellation initiated 2/11. Formal cancellation paused until further notice.
           DATA

           Personal Loan Data           Cancellation initiated 2/11. Formal cancellation paused until further notice.

           Bloomberg Terminal           Formally cancelled, refund being issued.

           Elliptic (crypto)            Unlikely to be competed. (New Contract)




(Page 630 of Total)                                                                                                     JA625
             Case 1:25-cv-00381-ABJ Document 67   Filed 03/07/25 Page 57 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 631 of 637




                      Exhibit YY




(Page 631 of Total)                                                                 JA626
             Case 1:25-cv-00381-ABJ Document 67                     Filed 03/07/25 Page 58 of 60
       USCA Case #25-5091    Document #2114200                        Filed: 05/05/2025 Page 632 of 637




          From:
          Sent: Friday, March 7, 2025 10:24 AM
          To: Timmons, Debra (CFPB)                              >
          Subject: Following up from yesterday's discussion on work tasks

          Hello,
          Summarizing what we talked about yesterday as far as work tasks:

              • While our team had planned to release the dataset that is important for the statutorily
                required Card Act Analysis on the week of February 10th into Databricks Production, we will
                not be able to do so at this time. The contractors involved in the development of the
                datasets, the data validation of the dataset, and the federal employee who promoted the
                dataset to production were all terminated during the work stoppage in the middle of finalizing
                documentation.
                    0  Status: We have granted access to the testing dataset (in staging) to the new Card Act
                       team but they cannot use this dataset for finalized analysis.
              • Also as discussed, we should not move forward with developing new platform features or
                data products (as we had been) because we need to spend time figuring out how we will
                support our statutorily required functions with dramatically less staff/contractors/fewer
                systems. You will let me know if I am required to perform this taking stock task for Databricks.

          I appreciate your leadership and support.




(Page 632 of Total)                                                                                                JA627
             Case 1:25-cv-00381-ABJ Document 67   Filed 03/07/25 Page 59 of 60
       USCA Case #25-5091    Document #2114200      Filed: 05/05/2025 Page 633 of 637




                      Exhibit ZZ




(Page 633 of Total)                                                                 JA628
                        Case 1:25-cv-00381-ABJ Document 67                                                  Filed 03/07/25 Page 60 of 60
                  USCA Case #25-5091    Document #2114200                                                     Filed: 05/05/2025 Page 634 of 637




       1llilt!:J                                                                         ~ 12Jv         ~ MorkUnread      p         [@
      Del!'!e Aic~1ve                                                                    Mo(..e.
                                                                                          "' Ii     V
                                                                                                        ~8~tegor12e •
                                                                                                        fl!follow Up-)
                                                                                                                          eJv
                                                                                                                          f:i..,
                                                                                                                                   lrn[llemve
                                                                                                                                                 lt';f,
                                                                                                                                                 a JI
                                                                                                                                                li•nslate   12 ~           Repfywnh
                                                                                                                                                                         SchedufingPoll
                                                                                                                                                                                              ~
                                                                                                                                                                                             Report
                                                                                                                                                                                            Phis~1n9
       beitle                                                                               M~ve•           Taos                                lan;~~o•    I   :Z:oom     FmdTim•        SuspmousEm...
 1
 11nplaint portal


       ~
            Hinkle,Austin (CFPB)
           Jo l
                                                                                                                                                            «) ReplyAll   L:     ForWard   I [.J□
 •                                                                                                                                                                                   Fri 3nt20<.59'11AM

1
 tD  Yov fo1Wardedth ISmessage•~,3{1/2D2S
                                        10:02AM,


~I everyone,

I was gotngthrough complalnts today and found that every attachment was inaccessible -the site gave a error that just said 'Service Error (500}'. I've flagged for Matt Pfaft, but wanted to
confirm with any of you that you are having the same issue?


Some of the companies thatwe look at complaints about regularly attach a pdf as its fuU response so tt makes it impossible to review complete lnformailon about con,piaints from those
companies.




      (Page 634 of Total)                                                                                                                                                         JA629
              Case 1:25-cv-00381-ABJ Document 79                     Filed 03/19/25 Page 1 of 3
       USCA Case #25-5091    Document #2114200                       Filed: 05/05/2025 Page 635 of 637



                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLUMBIA

          NATIONAL TREASURY
          EMPLOYEES UNION, et al.,

                                 Plaintiffs,
                  v.
                                                                  Case No. *+-cv-/01-ABJ
          RUSSELL VOUGHT, in his official capacity
          as Acting Director of the Consumer Financial
          Protection Bureau, et al.,

                                 Defendants.


                               NOTICE OF FILING OF AMENDED PROPOSED
                                  PRELIMINARY INJUNCTION ORDER

                Following the evidentiary hearing on March LL, MNMO, the Court urged the parties to meet

         and confer about a proposed preliminary injunction order, should the Court decide to issue one.

         The parties have conferred, and the defendants’ position is that they continue to oppose the entry

         of a preliminary injunction. They therefore declined to file a joint proposed order. Nevertheless,

         the plaintiffs have revised their proposed order in response to the Court’s and the defendants’

         comments at the March LLth hearing. That revised proposed order is attached here.

                At the hearing, the defendants’ main objection to the prior proposed order seemed to be

         that two provisions referenced the Bureau’s statutorily required functions. Tr. of Mar. LL, MNMO

         Hearing, Dkt. UV, at LLO-LLU. The plaintiffs included those references based on the defendants’ claim

         that they were now committed to the Bureau performing these functions. But although the

         defendants insist that the CFPB is performing its statutorily required functions, they also insist that

         a preliminary injunction order requiring them to do so would be “ambigu[ous].” Id. And despite

         this professed concern, the defendants also refused to identify the duties that they believe the

         Bureau is statutorily required to perform. See id.



(Page 635 of Total)                                                                                                JA630
              Case 1:25-cv-00381-ABJ Document 79                   Filed 03/19/25 Page 2 of 3
       USCA Case #25-5091    Document #2114200                     Filed: 05/05/2025 Page 636 of 637



                Still, the plaintiffs have amended their proposed order in light of the defendants’ comments.

         With respect to the work stoppage, the amended proposed order does not rely on the Bureau’s

         statutory functions. Instead, it would enjoin the enforcement of the February LN, MNMO stop-work

         order and prohibit the defendants from reinstituting a work stoppage.

                With respect to the contract termination provision, the CFPB appears to have a “master

         spreadsheet” of contracts, which contains a list of the CFPB’s contracts, their status, and a

         description of their relationship to the Bureau’s statutory functions. Tr. of Mar. LN, MNMO Hearing,

         Dkt. U^, at p.UM–U^ (defendants’ counsel asking about this spreadsheet); Dkt. cc-M, at CFPB_00117

         (internal email describing this spreadsheet). The plaintiffs have repeatedly asked for this list—to

         enable them to propose a specific list of contracts that shall not be terminated—but the defendants

         have not provided it.

                Absent this information, the amended proposed order offers another option for taking into

         account the defendants’ professed concern that they might disagree with the plaintiffs or the Court

         about which contracts enable the Bureau’s statutorily required functions. The amended order

         prohibits the wholesale cancellation of contracts, but allows the defendants to halt services under

         a contract if they determine, based on an individualized assessment of that contract, that the

         contract is unnecessary for the fulfillment of statutory functions. They may not, however, finalize

         that contract’s termination. The purpose of this amendment is to balance the need to preserve the

         court’s ability to award full relief at the end of the case—including relief that would require

         contract reinstatement—with the defendants’ asserted need to discontinue contracts that they

         believe are unnecessary to meet the agency’s statutory requirements.

                The other objection to the prior proposed order that the defendants emphasized at the

         hearing is that they would like to be able to conduct reductions in force. But the hearing confirmed




                                                          \
(Page 636 of Total)                                                                                             JA631
              Case 1:25-cv-00381-ABJ Document 79                    Filed 03/19/25 Page 3 of 3
       USCA Case #25-5091    Document #2114200                      Filed: 05/05/2025 Page 637 of 637



         that the agency continues to plan to terminate the vast majority of CFPB employees—which, as

         the government’s own witness explained, would cause irreparable harm. Tr. Mar. LN, MNMO

         Hearing, at LO^, M^M; Tr. Mar. LL, MNMO, at cL-cV. The amended proposed order, therefore, leaves in

         place the prohibition on mass terminations that was agreed upon at the beginning of this case.1

          Dated: March 19, 2025                               Respectfully submitted,

          /s/ Deepak Gupta                                     /s/ Wendy Liu
          Deepak Gupta (DC Bar No. 495451)                    Wendy Liu (DC Bar No. 1600942)
          Robert Friedman (D.C. Bar No. 1046738)              Adam R. Pulver (DC Bar No. 1020475)
          Gabriel Chess (DC Bar No. 90019245)*                Allison M. Zieve (DC Bar No. 424786)
          Gupta Wessler LLP                                   Public Citizen Litigation Group
          2001 K Street, NW                                   1600 20th Street NW
          North Tower, Suite 850                              Washington, DC 20009
          Washington, DC 20006                                (202) 588-1000
          (202) 888-1741
                                                              Counsel for Plaintiffs
          Jennifer D. Bennett (pro hac vice)
          Gupta Wessler LLP                                   Julie Wilson (DC Bar No. 482946)
          505 Montgomery Street                               General Counsel
          San Francisco, CA 94111                             Paras N. Shah (DC Bar No. 983881)
          (415) 573-0335                                      Deputy General Counsel
                                                              Allison C. Giles (DC Bar No. 439705)
          * motion for admission pending                      Assistant Counsel
                                                              National Treasury Employees Union
          Counsel for Plaintiffs                              800 K Street, NW, Suite 1000
                                                              Washington, DC 20001
                                                              (202) 572-5500
                                                              Counsel for Plaintiff National Treasury
                                                              Employees Union




                1
                   The plaintiffs have deleted the funding provision from the proposed order based on the
         dissolution of the TRO governing funding in Mayor and City Council of Baltimore v. Consumer
         Financial Protection Bureau, Civ. No. MJM-25-458. That case involved an APA challenge solely
         to the Bureau’s failure to draw funds for this quarter and the threat of returning the CFPB’s funds
         to Treasury or the Federal Reserve—not a separation of powers (or APA) challenge to the decision
         to dismantle the agency. Nevertheless, in an effort to draw as narrow a preliminary injunction as
         possible, and based on the government’s representations that it is not possible to transfer the
         CFPB’s funds to Treasury or the Federal Reserve, the plaintiffs are no longer requesting that relief
         as part of the preliminary injunction.


                                                          j
(Page 637 of Total)                                                                                             JA632
